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            EXHIBIT 2
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       In re APPLE INC. SECURITIES LITIGATION
       Expert Report of Professor Steven Grenadier



                          July 9, 2021




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I.     Qualifications

1.     I, Steven R. Grenadier, Ph.D., am the William F. Sharpe Professor of Financial
Economics at the Graduate School of Business at Stanford University. I have been a member of
the Stanford faculty since 1992 and served as the Chair of the Finance Department for over ten
years. My teaching and research focus on the area of investment analysis, including, among
other topics, portfolios, performance evaluation, and benchmarking. While at Stanford, I have
taught graduate-level courses in Investment Modeling, Portfolio Management, Real Estate
Investment, and Finance Theory. In 1987, I graduated Phi Beta Kappa and summa cum laude
from the University of California at Berkeley with a B.S. in Business Administration. In 1992, I
received my Ph.D. in Business Economics (Finance) from Harvard University.

2.     I have published numerous articles in finance and economics journals and have spoken at
numerous academic and business conferences about my research. I am the co-editor of the
Journal of Real Estate Finance and Economics, a leading academic real estate journal. My
research focuses on sophisticated valuation models of complicated financial structures and their
empirical implications. This research includes significant analysis of options. I am a former
Trustee of E*Trade Funds, Nicholas Applegate Institutional Funds, and AQR Funds. I have also
served as a Senior Consultant to Financial Engines, Inc., an online investment advisor. I
currently serve as a Senior Advisor to Cornerstone Research and as a member of the Investment
Committee of Vise, an investment management platform.
3.     My curriculum vitae, which includes a list of the publications I have authored, is included
as Appendix A. A list of my deposition and trial testimony over the last four years is included
as Appendix B.


II.    Assignment


4.     I have been asked by counsel for Apple Inc. (“Apple” or “the Company”) to review and
respond to the report of Dr. Steven Feinstein, who was retained by Lead Plaintiff Norfolk County




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Council as Administering Authority of the Norfolk Pension Fund.1 Specifically, counsel has
asked me to (i) assess the purported damages methodology provided by Dr. Feinstein, and (ii)
assess the option market efficiency analysis conducted by Dr. Feinstein.
5.       I am being compensated at my standard billing rate of $975 per hour. I have been
assisted in this matter by staff of Cornerstone Research, who worked under my direction. I
receive compensation from Cornerstone Research based on its collected staff billings for its
support of me in this matter. Neither my compensation in this matter nor my compensation from
Cornerstone Research is in any way contingent or based on the content of my opinion or the
outcome of this or any other matter.
6.       A complete list of the documents that I have considered in forming my opinions is
attached as Appendix C. My work in this matter is ongoing. The opinions presented in this
report are the result of the information available to me as of the report date. I reserve the right to
supplement or modify my opinions if new information comes to light and to respond to any
additional report(s) or opinions offered by other experts.


III.     Summary of Allegations


7.       Plaintiff alleges that Apple “issued a series of materially false and misleading statements
and omissions about the current condition of its business, in particular, demand for the
Company’s new iPhone XS, XS Max, and XR, and the strength of its business conditions in
China.”2 The alleged “misleading statements and omissions” were issued on November 1, 2018
on an earnings call announcing Apple’s Q4’18 financial results. Plaintiff is bringing “federal
securities class action on behalf of all persons and entities who purchased or otherwise acquired
the publicly traded securities of Apple Inc. … during the period from November 2, 2018 through
January 2, 2019” (the “Putative Class Period”).3




1 In re Apple Inc. Securities Litigation, Revised Consolidated Class Action Complaint for Violation of the Federal

Securities Laws, dated June 23, 2020 (“Complaint”). Expert Report of Steven P. Feinstein, Ph.D., CFA, May 5, 2021
(“Feinstein Report”).
2 Complaint, ¶ 18.
3 Complaint, ¶ 1.




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8.       As alleged in the Complaint, after market close on November 1, 2018, Apple issued a
press release announcing its financial results for the period ending September 29, 2018 and held
an earnings call where Mr. Cook was asked about trade tariffs. The Complaint states:

           When asked whether the U.S.-China trade tariffs and trade tariff threats were
           having any impact on demand for the iPhones in China, Cook assured
           investors that the only “emerging markets that [Apple was] seeing pressure in
           [were] markets like Turkey, India, Brazil, [and] Russia . . . where currencies
           ha[d] weakened.” Cook explicitly excluded China from the category of
           emerging markets experiencing these negative economic pressures and
           emphasized growth in the prior quarter (4Q18):

                     [Cook:] [I]n relation to China specifically, I would not put China in
                     that category. Our business in China was very strong last quarter. We
                     grew 16%, which we’re very happy with. iPhone, in particular, was
                     very strong double-digit growth there.4

9.       Additionally, Plaintiff alleges that Mr. Cook made a second misrepresentation about the
launch of the iPhone XS and iPhone XS Max.5 However, I understand that the Court dismissed
the statement.6 Accordingly, the only alleged misrepresentation remaining in this case is Mr.
Cook’s statement on November 1, 2018 in which he stated that he “would not put China in that
category.”7
10.      Plaintiff alleges that the statement about “the current state of Apple’s business in Greater
China and the impact of macroeconomic trends on the Company’s sales in Greater China, was
materially false and misleading when made as Defendants knew or deliberately disregarded and
failed to disclose the following true facts”8 (the “alleged True Facts”):

           True Fact #1: “the U.S.-China trade tensions and economic conditions in
           China were negatively impacting sales and demand for Apple products,
           particularly iPhones”9




4 Complaint, ¶ 18.
5 Complaint, ¶ 19.
6 Order Granting In Part And Denying In Part Defendants’ Motion To Dismiss The Revised Consolidated Class Action

Complaint, In re Apple Inc. Securities Litigation, November 4, 2020 (“Ruling on Motion to Dismiss”), p. 23.
7 Complaint, ¶ 18.
8 Complaint, ¶ 24.
9 Complaint, ¶ 24.




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          True Fact #2: “the Company had already begun to see declining traffic in
          Apple’s retail stores and those of its channel partner stores in Greater China,
          and reports of an overall contraction of the smartphone industry”10

          True Fact #3: “the Company had already, or was preparing to, cut iPhone
          production at multiple manufacturers and reduce orders from its largest
          suppliers of iPhone components for the current quarter and holiday season.”11

11.      I understand that the alleged True Fact #3 does not relate to the challenged statement.
Additionally, Plaintiff does not allege that the revenue guidance of $89 to $93 billion provided
by Apple on November 1, 2018 was false or misleading.12
12.      Plaintiff alleges that the truth was revealed over the following three alleged corrective
disclosure dates:

          November 5, 2018: “On November 5, 2018, at 4:27 a.m. ET, before the
          market opened, the Nikkei Asian Review published the Nikkei Article reporting
          that Apple told its top smartphone assemblers, Foxconn and Pegatron, to
          reduce iPhone XR production, and that Wistron, previously on standby for rush
          orders, would receive none, indicating a reduction in demand by 20-25%. …
          On the same day, RBC Capital Market issued a report titled ‘10-K Review:
          High Offbalance Sheet Commitments Indicating Multiple Ramps’ stating
          Apple’s production suspensions could indicate ‘muted’ iPhone demand.”13

          November 12, 2018: “On November 12, 2018, Wells Fargo issued a report
          titled ‘AAPL: Lumentum Cuts Revenue Outlook by 17%+ (Midpoint) on
          Apple Order Cuts.’ Lumentum, a supplier of iPhone components, issued a
          negative preannouncement due to a reduction by one of its largest customers –
          identified as Apple. The report inferred that the reduction in Lumentum
          earnings indicated a 30% reduction in Apple orders and Apple’s stock price
          would be ‘under pressure’ – i.e., decline.”14

          January 3, 2019: “In a ‘Letter from Tim Cook to Apple Investors’ Apple
          reported that its revenue for 1Q19 was approximately $84 billion, far below the
          guidance range of $89 billion to $93 billion the Company had provided on
          November 1, 2018, just eight weeks earlier. Cook’s letter attributed the miss
          almost entirely to slowing iPhone sales in China, noting that most of the
          revenue shortfall occurred in Greater China, that 100% of the year-over-year


10 Complaint, ¶ 24.
11 Complaint, ¶ 24.
12 Complaint, ¶¶ 17–26.
13 Complaint, ¶¶ 98–99.
14 Complaint, ¶ 103.




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           worldwide revenue decline occurred in Greater China, and iPhone revenue
           missed primarily due to Greater China. … During an interview with CNBC
           that evening, Cook admitted it was clear that China’s economy began to slow
           in the second half of 2018 and had been further impacted by rising trade
           tensions with the United States, including Cook’s statements indicating that,
           prior to and during the Class Period, Defendants saw declines in traffic in the
           Company’s retail stores and its channel partner stores, and reports of the
           contraction of the smartphone industry.”15


IV.      Summary of Opinions


13.      Below is a summary of my opinions in this matter. The bases for these opinions are
detailed in the sections that follow.
14.      Opinion 1: Dr. Feinstein has not shown that there is a damages methodology for Apple’s
common stock (“Apple stock” or “stock”) that measures damages consistent with Plaintiff’s
theory of liability.
15.      First, as I understand, Dr. Feinstein does not need to compute damages or assess loss
causation at this stage of litigation, but has to show that there is a damages methodology for this
matter that would apply class-wide. Instead, Dr. Feinstein proposes the “out-of-pocket damage
methodology,” which is nothing more than a general definition of damages under Rule 10b-5,
and not a methodology that one could use to calculate damages on a class-wide basis. In
addition to defining “out-of-pocket” damages, Dr. Feinstein lists a number of “standard valuation
tools” that he claims would be applicable regardless of “specific issues complicating the
quantification of artificial inflation.”16 None of the standard tools listed by Dr. Feinstein are
universally applicable in every valuation-related scenario, and Dr. Feinstein does not specify
which of these tools (if any) would be applicable in this particular case, making his so-called
“methodology” nothing more than a generic description that has not been shown as applicable in
this particular matter.
16.      Second, despite stating in his deposition that inflation can be measured by (i) looking at
the price movement at the back end when the alleged misrepresentation was corrected, or (ii)
looking at the price movement at the front end when the alleged misrepresentation was made, Dr.


15 Complaint, ¶¶ 105–106.
16 Feinstein Report, ¶ 183.




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Feinstein has not analyzed whether inflation can be measured at the back end or the front end
using an event study or any other tools that he proposed.
17.    In fact, Dr. Feinstein’s event study cannot reliably measure the change in inflation
following the alleged corrective disclosures, because the information revealed on these three
days was very different than a hypothetical but-for disclosure of the alleged True Facts on
November 1, 2018. Dr. Feinstein has not explained how an event study could take into account
information that Apple could have learned only after the alleged misrepresentation on November
1, 2018. He has also failed to explain how an event study could take into account confounding
information unrelated to the allegations that came out at the time of the alleged corrective
disclosures. Furthermore, Dr. Feinstein ignores the fact that there is an important mismatch
between the True Facts that Plaintiff alleges could and should have been disclosed and the
content of the alleged corrective disclosures. While the alleged corrective disclosures were both
quantitative and qualitative in nature, the alleged True Facts were only qualitative. For example,
after the January 2, 2019 alleged corrective disclosure date, a number of analysts indicated that
they were aware that conditions in China were impacting Apple’s business (qualitative), but
were surprised by the magnitude of the impact (quantitative).
18.    Furthermore, Dr. Feinstein’s event study cannot reliably measure the introduction of
inflation at the front end, following the alleged misrepresentation on November 1, 2018. To the
extent that Plaintiff claims that the alleged misrepresentation about Apple’s business in Greater
China inflated the stock price by conveying unexpectedly positive expectations of future cash
flows, Dr. Feinstein’s event study regression, on its own, would fail to show that the statement
inflated the stock price because it shows a statistically significant and negative residual return in
response to the November 1, 2018 earnings call. To the extent that Plaintiff alleges that Mr.
Cook’s statement was materially false and misleading because he omitted the alleged True Facts
or made misstatements that were in line with overoptimistic market expectations, thus averting a
but-for stock price decline, an event study on the alleged misrepresentation date is incapable of
showing whether the event created any inflation.
19.    Finally, while Dr. Feinstein lists valuation tools that could be used in an assessment of
inflation, he has not shown that he could use those tools to examine inflation following the




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alleged misrepresentation, or at any other time throughout the Putative Class Period. To provide
a damages methodology consistent with Plaintiff’s theory of liability, Dr. Feinstein would
need to compare Apple’s stock price with a but-for stock price had the alleged True Facts been
disclosed. To do so, Dr. Feinstein would be required to propose a methodology that (i) could
aggregate all the market views on Apple’s business in Greater China into a consensus, and (ii)
determine how the market consensus of Apple’s business in Greater China would have changed
following a hypothetical disclosure of the alleged True Facts at the start of, and on each date
during, the Putative Class Period. Dr. Feinstein would then need to be able to convert the change
in market consensus following a but-for disclosure of the alleged True Facts into the amount of
inflation in the stock price. Dr. Feinstein has not demonstrated that he has a reliable
methodology to perform these two steps of valuation analysis when calculating inflation on a
class-wide basis at the start of the Putative Class Period or throughout the Putative Class Period,
particularly given the extensiveness of the other information in the market throughout the
Putative Class Period.
20.       Opinion 2: Dr. Feinstein has failed to demonstrate that each Apple option traded in an
efficient market during the Putative Class Period.
21.       Dr. Feinstein purports to analyze market efficiency for Apple options by reviewing the
Cammer and Krogman factors specifically for the options. Dr. Feinstein claims that “the Apple
options satisfy all of the Cammer and Krogman factors, aside from the bid-ask spread factor,
which results were mixed, indicating market efficiency.”17 For the fifth Cammer factor, instead
of directly testing whether option prices incorporated new, value-relevant information about
Apple, Dr. Feinstein instead constructs a “timeseries of synthetic stock prices” based on option
prices.
22.       Dr. Feinstein’s analysis of market efficiency of Apple options is based on the assumption
that all Apple options form a single market. However, this assumption completely ignores the
substantial heterogeneity in characteristics of the Apple options, such as different option types
(i.e., call versus put options), different strike prices, different maturities, and different trading
characteristics. As a result, Dr. Feinstein’s analysis, which aggregates different options at a



17 Feinstein Report, ¶ 148.




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given point in time, has not demonstrated that each individual Apple option traded in an efficient
market.
23.    Dr. Feinstein’s analysis of Cammer factors 1–4 and the Krogman factors for Apple
options fails to take into account that Apple options each traded in a separate market, and
analysis of individual option markets demonstrates that many Apple options exhibited market
characteristics that are inconsistent with a finding of market efficiency. For example, the
average trading volume for many Apple options was low, and many Apple options traded
infrequently during the Putative Class Period. Additionally, Dr. Feinstein’s weighted average
option bid-ask spread of 12.9% is far larger than the two metrics he uses in his report to assess
market efficiency for Apple stock, and bid-ask spreads exceeded 100% for some options in the
data produced by Dr. Feinstein. The heterogeneity across option series shows that not all option
series behaved similarly, and Dr. Feinstein’s approach of aggregating option volumes and taking
an average of their bid-ask spreads fails to acknowledge the options with low liquidity and very
high transaction costs.
24.    Dr. Feinstein’s methodology for testing Cammer factor 5 has no support in peer-reviewed
literature and fails to measure whether new, value-relevant information was incorporated into the
price of each Apple option. Dr. Feinstein’s analysis of Cammer factor 5 for the Apple options
relies on an aggregate, summary measure of option prices—Dr. Feinstein’s average synthetic
stock price constructed from a combination of individual put and call prices. Dr. Feinstein then
tests whether this average synthetic stock price reacted more frequently on four event days than
on other days. First, Dr. Feinstein’s average synthetic stock price ignores the wide range of
individual synthetic stock prices in his own analysis and is constructed using assumptions that
are explicitly not valid for the Apple options. Second, Dr. Feinstein makes an unsupported
assumption that a test of the average synthetic stock price can be reliably used to derive a
conclusion about market efficiency for every individual option. Finally, Dr. Feinstein ignores
the fact that his methodology actually fails to test the majority of the Apple options altogether.
Because of these shortcomings, Dr. Feinstein’s test of Cammer factor 5 fails to show that each of
the Apple options traded in an efficient market during the Putative Class Period.
25.    Opinion 3: Dr. Feinstein has not provided a damages methodology for options that
measures damages consistent with Plaintiff’s theory of liability.




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26.      First, Dr. Feinstein’s damages approach for Apple options explicitly relies on him being
able to provide a class-wide methodology for calculating inflation in Apple’s stock price. As a
result, the issues with Dr. Feinstein’s damages approach regarding Apple stock apply equally to
options. Second, Dr. Feinstein did not perform any market efficiency analysis of individual
option prices, and only assessed whether prices of an overall portfolio, constructed from an
average of matched positions in Apple’s put and call options, reacted more frequently to news on
certain days than on other days. However, a damages methodology would need to be able to
show that each individual option fully and quickly incorporated new, value-relevant information
about Apple, which Dr. Feinstein has not addressed. Finally, option pricing requires a measure
of stock price volatility in addition to the stock price. In his discussion of damages for option
holders, Dr. Feinstein fails to provide any indication of how he would be able to account for
changes in the volatility of the Apple stock in his damages model for options. A reliable
damages methodology must set out what the but-for volatility would have been absent the
alleged misrepresentation, and Dr. Feinstein has failed to provide any methodology that would
allow him to model the but-for volatility of the Apple stock when assessing damages for the
Apple options.


V.       Background on Apple Inc. and the iPhone XR Launch

         A.       Apple Inc.

27.      Apple Inc. was established in 1977 and designs, manufactures, and markets consumer
electronics, such as mobile devices and personal computers, and sells a variety of related
software, services, and accessories.18 Apple’s top selling product line in 2018, and still today, is
the iPhone, which is a line of smartphones created by Apple that uses the iOS operating system.19
The iPhone’s net sales accounted for 63%, 62%, and 63% of total net sales for full year 2016,
2017, and 2018 respectively.20



18 Apple Inc., Form 10-K for the fiscal year ended September 29, 2018, dated November 5, 2018 (“2018 10-K”), p. 1.
19 2018 10-K, p. 1.    Apple Inc., Form 10-K for the fiscal year ended September 26 2020, dated October 30, 2020, p.
21.
20 2018 10-K, p. 24.




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28.      Apple is a global company with “reportable segments [in the] Americas, Europe, Greater
China, Japan, and Rest of Asia Pacific.”21 Greater China, which includes China, Hong Kong and
Taiwan, accounted for 22%, 20%, and 20% of total net sales, as well as 31%, 28% and 28% of
total operating income for full year 2016, 2017, and 2018 respectively.22 Additionally, China
was the only country outside of the U.S. that accounted for more than 10% of Apple’s net sales
in 2016, 2017 and 2018,23 but had been the slowest growing geography for Apple in 2016 and
2017 with Greater China revenue declining 17% and 8%, respectively.24 Even with Greater
China revenue up by 16% in 2018, analyst reports commented it was still “the slowest growth of
the company’s major geos”25 and “the weakest reported region.”26

         B.       iPhone XR Launch

29.      On September 12, 2018, Apple introduced three new iPhone models: iPhone XS, iPhone
XS Max, and iPhone XR.27 The iPhone XS and iPhone XS Max were Apple’s higher price point
iPhones, starting at $999 and $1,099 in the U.S., and became available for pre-order beginning
on September 14, 2018 and in stores beginning on September 21, 2018.28 The iPhone XR was
Apple’s lower price point new phone model, starting at $749 in the U.S., and became available
for pre-order beginning on October 19, 2018 and in stores beginning on October 26, 2018.29 This
was the first time Apple had performed a double iPhone launch with the higher price point
product launched first.30



21 2018 10-K, p. 62.
22 2018 10-K, pp. 26, 62–63.
23 2018 10-K, p. 63.
24 “Building a Valuable Services Business on Top of Apple’s Core. Initiate at Buy,” Jefferies, October 29, 2018, p. 28.

See Exhibit 9 for public press and analyst reports I cite. I attest that the public press and analyst reports are true and
correct copies obtained from: counsel, Thomson Eikon, CapIQ, Factiva, Apple Insider, The Verge, CNBC, CNET, and
9to5Mac.
25 “F4Q18 Quick Take; Solid Quarter But Guidance Reflects Uncertainty,” Cross Research, November 1, 2018, p. 1.
26 “Disappointing Dec qtr revenue outlook,” Atlantic Equities, November 2, 2018, p. 1.
27 “iPhone Xs and iPhone Xs Max bring the best and biggest displays to iPhone,” Apple Inc. Press Release,

September 12, 2018; “Apple introduces iPhone XR,” Apple Inc. Press Release, September 12, 2018.
28 “iPhone Xs and iPhone Xs Max bring the best and biggest displays to iPhone,” Apple Inc. Press Release,

September 12, 2018.
29 “Apple introduces iPhone XR,” Apple Inc. Press Release, September 12, 2018.
30 In 2017, Apple launched the iPhone 8 and 8 Plus first, followed by the more expensive iPhone X. (“The future is

here: iPhone X,” Apple Inc. Press Release, September 12, 2017; “iPhone 8 and iPhone 8 Plus: A new generation of
iPhone,” Apple Inc. Press Release, September 12, 2017; “When does Apple release new iPhones?” 9to5mac, August
15, 2018, available at https://9to5mac.com/2018/08/15/when-does-apple-release-new-iphones/, accessed on May 18,
2021.)




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30.      After iPhone XS and XS Max were launched, a public press article from Central News
Agency English News, the national news agency for the Republic of China (Taiwan),31 observed
that “many consumers were still waiting for the more affordable iPhone XR by putting their
purchase plans on hold.”32


VI.      Background on Rule 10b-5 Matters

         A.       Definition and Tests of Market Efficiency

31.      As I stated above,33 my assignment is to assess the option market efficiency analysis
conducted by Dr. Feinstein. I have not assessed Dr. Feinstein’s analysis of market efficiency for
the Apple stock.
32.      I understand that plaintiffs in a securities class action under Rule 10b-5 have the burden
to prove that the security at issue traded in an efficient market throughout the class period in
order to invoke the “fraud-on-the-market” theory of reliance. This theory holds that security
prices in an efficient market reflect all publicly available information, including the alleged
misrepresentations. Therefore, investors implicitly relied on the alleged misrepresentations when
they purchased the security because they relied on the integrity of the market price when making
the transactions.
33.      In an efficient market, security prices respond quickly and fully to new information once
it is publicly announced. Eugene Fama (“Fama”) won a Nobel Prize for his research related to
the efficient market hypothesis.34 His seminal work defines an efficient market as one in which
“prices always ‘fully reflect’ available information.”35 There are different forms of the efficient
market hypothesis. I understand that the semi-strong form, which holds that efficient markets


31 Central News Agency (CNA) English News is the English platform of Central News Agency, a news agency of the

Republic of China (ROC) (Taiwan). (“About Focus Taiwan (CNA English News),” CNA English News, available at
https://focustaiwan.tw/aboutus, accessed on June 17, 2021)
32 “Largan September sales up slightly; October figure could fall,” Central News Agency English News, October 6,

2018.
33 See ¶ 4.
34 “Eugene Fama’s Efficient Market Is a Sound Guiding Principle for Investors and Policymakers,” Forbes, October

17, 2013.
35 Eugene F. Fama, “Efficient Capital Markets: A Review of Theory and Empirical Work,” The Journal of Finance 25,

no. 2 (1970), pp. 383–417 at p. 383. I note that this definition is cited in Cammer and in the Feinstein Report ¶ 37.
Additionally, in Cammer, the Court discussed that in a developed market, any relevant information released to the
public will be traded on and reflected in the stock price quickly. See ¶ 38.




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always fully reflect all publicly available information, is the form on which the above-discussed
fraud-on-the-market theory of reliance is based.36 Fama explains:

          [S]emi-strong form tests, in which the concern is whether prices efficiently
          adjust to other information that is obviously publicly available (e.g.,
          announcements of annual earnings, stock splits, etc.) are considered.37
34.      Additionally, a standard investment textbook explains:

          The semistrong-form [efficient market hypothesis] asserts that security prices
          adjust rapidly to the release of all public information; that is, current security
          prices fully reflect all public information.38
35.      Dr. Feinstein also appears to consider the semi-strong form of market efficiency in his
report, stating that “[a]n efficient market is one which rapidly reflects new information in
price,”39 and that “[t]he fraud-on-the market premise is that the price of a security traded in an
efficient market will reflect all publicly available information about a company.”40
36.      The fundamental basis for the efficient market hypothesis is that competition among
sophisticated investors quickly eliminates opportunities to trade and profit on public information.
That competition causes security prices to react nearly instantaneously to new, value-relevant
public information.41
37.      Efficiency is not an inherent characteristic of markets. Rather, efficient markets arise
when there is a sufficiently large number of competing investors—particularly market




36 See, e.g., In re Federal Home Loan Mortgage Corp. (Freddie Mac) Securities Litigation, 281 F.R.D. 174 (2012)

(“Freddie Mac, 281 F.R.D.”), p. 177.
37 Eugene F. Fama, “Efficient Capital Markets: A Review of Theory and Empirical Work,” The Journal of Finance 25,

no. 2 (1970), pp. 383–417 at 383.
38 Frank K. Reilly and Keith C. Brown, Investment Analysis and Portfolio Management, Tenth Edition. (Mason, Ohio:

South-Western, 2012), p. 152.
39 Feinstein Report, ¶ 37 (citing Alan Bromberg and Lewis Lowenfels, Securities Fraud and Commodities Fraud,

§7.4 (Dec. 2003) and Cammer v. Bloom, 711 F. Supp. at 1276).
40 Feinstein Report, ¶ 41 (citing Amgen, Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1190, 185 L. Ed. 2d

308 (2013)).
41 For example, Greene and Watts highlight the nearly immediate response: “Our results indicate that in the

transaction time, price discovery differs for nontrading- and trading-hours announcements on the NYSE but not on
the NASDAQ. In particular, on both exchanges, the majority of the price response to nontrading-hours earnings
announcements is realized during the opening trade. However, on the NYSE, the price adjustment to trading-hours
earnings announcements is spread evenly over the first several post-announcement trades. On the NASDAQ, the
price adjustment to trading-hours earnings announcements is concentrated in the first post-announcement trade with
only slight adjustment in the next several transactions.” (Jason T. Greene and Susan G. Watts, “Price Discovery on
the NYSE and the NASDAQ: The Case of Overnight and Daytime News Releases,” Financial Management 25, no. 1,
(Spring 1996), pp. 19–42 at p. 41)




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professionals, such as institutional investors and arbitrageurs—so that any new information
concerning a security is reviewed immediately, assessed for its implications for stock price, and
fully impounded in the price through active trading by competing investors.
38.      In Cammer,42 the court discusses circumstances that can enable market efficiency—
specifically, an open and developed market. An open market is one in which competing
investors have access to the trading market. A developed market is one in which there is
sufficient trading volume and interest by active market participants who monitor the security so
that any relevant information released to the public will be traded on and reflected in the security
price quickly.43
39.      I understand that courts have discussed a number of characteristics of an efficient market.
For example, Cammer specifies five factors for a stock. The first four factors—(1) the average
weekly trading volume of the stock, (2) the number of securities analysts following and reporting
on the stock, (3) the extent to which market makers and arbitrageurs trade in the stock, and (4)
the issuer’s eligibility to file an SEC registration Form S-3—are structural factors meant to
indicate whether a sufficiently fluid and informed trading environment exists to ensure that
stocks react quickly and fully to new information that significantly alters the total mix of public
information.44 Other structural factors include the Krogman factors—(1) the company’s market
capitalization, (2) the size of the bid-ask spread, and (3) the percentage of shares available to the
public (i.e., the public float)—and the exchange on which the stock is listed.45
40.      While these structural factors provide evidence of the type of open and developed market
that could facilitate efficient trading of a stock, academics agree that the most important test of
market efficiency is a cause and effect relationship between the arrival of new, value-relevant
information regarding a company and its stock price movement—the fifth Cammer factor (i.e.,
“empirical facts showing a cause and effect relationship between unexpected corporate events or
financial releases and an immediate response in the stock price”46).47 Since prices quickly and


42 Cammer v. Bloom, 711 F.Supp. 1264 (D.N.J. 1989) (“Cammer”).
43 Cammer at p. 1276.
44 Cammer at pp. 1286–1287.
45 See, e.g., In re Initial Pub. Offering Securities Litigation, 260 F.R.D. at 94–95 (citing Krogman v. Sterritt, 202 F.R.D.

467, 478 (N.D.Tex.2001)).
46 Cammer at 1287.
47 “Under Teamsters, the most important Cammer factor is the ‘cause and effect’ factor—evidence that unexpected

corporate events or releases caused an immediate response in the price of a security. This is ‘the essence of an




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fully incorporate new information in an efficient market, an event study on daily returns is
considered an effective way to assess market efficiency.

         B.       Damages/Comcast


41.      It is my understanding that in a securities case such as the current matter, plaintiffs must
demonstrate economic loss and loss causation—that is, they must demonstrate that they incurred
actual “out-of-pocket”48 damages and that such damages arose from the revelation of the alleged
fraud and not from other factors unrelated to Defendants’ alleged misstatements and omissions.49
Put differently, plaintiffs must demonstrate that they lost money on Apple stock and establish a
causal connection between Defendants’ alleged misrepresentations and plaintiffs’ alleged
economic loss.
42.      I understand that plaintiffs typically establish economic loss in a securities matter by
demonstrating that putative class members purchased the stock at a price that was artificially
inflated due to alleged misstatements or omissions and held the stock when the stock price
declined following disclosure of the truth. I understand that, as a matter of law and economics,
the economic loss caused by the Defendants’ alleged fraud could be, at most, the price decline of
the security attributable to the revelation of the Defendants’ alleged fraud.
43.      In some situations, the price decline following an alleged corrective disclosure can be
carried backwards in time to the start of the class period, to provide an estimate of inflation
following the alleged misrepresentation (“backcasting”). However, to reliably use a backcasting


efficient market and the foundation for the fraud on the market theory.’ Teamsters, 546 F.3d at 207 (quoting Cammer
at 1287). The court stated: [‘]Without the demonstration of such a causal relationship, it is difficult to presume that the
market will integrate the release of material information about a security into its price. An event study that correlates
the disclosures of unanticipated, material information about a security with corresponding fluctuations in price has
been considered prima facie evidence of the existence of such a causal relationship.[’]” (Freddie Mac, 281 F.R.D. at
178). “The cleanest evidence on market efficiency comes from event studies, especially event studies on daily
returns. When an information event can be dated precisely and the event has a large effect on prices, the way one
abstracts from expected returns to measure abnormal daily returns is a second-order consideration. As a result,
event studies can give a clear picture of the speed of adjustment of prices to information.” (Eugene F. Fama,
“Efficient Capital Markets II,” The Journal of Finance 46, no. 5 (December 1991), pp. 1575–1617 at p. 1607) “When
the announcement of an event can be dated to the day, daily data allow precise measurement of the speed of the
stock-price response—the central issue for market efficiency.” (Eugene F. Fama, “Efficient Capital Markets II,” The
Journal of Finance 46, no. 5 (December 1991), pp. 1575–1617 at p. 1601)
48 The “out-of-pocket measure” of damages is defined as the “difference between the purchase price and the value of

the security at the date of purchase less the difference between the sale price and the value of the security at the
date of sale.” Bradford Cornell and R. Gregory Morgan, “Using Finance Theory to Measure Damages in Fraud on the
Market Cases,” UCLA Law Review 37 (1990), pp. 883–924 at p. 885 (“Cornell and Morgan (1990)”).
49 I understand that damages are subject to the Private Securities Litigation Reform Act of 1995, and certain

limitations on recoverable damages may be applicable. (Private Securities Litigation Reform Act of 1995, 15 U.S.C. §
78u–4(e))




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approach, it must be shown that the price decline following an alleged corrective disclosure (or
the portion of the price decline caused by the alleged corrective disclosure) represents the
amount of inflation that existed in the security price on the first day of the class period, and that
the amount of inflation did not change at any point during the class period, with the exception of
identified alleged corrective disclosures. In order to use price declines following corrective
disclosures to measure earlier inflation, at least two conditions must be met:
             a. First, assuming that one can isolate the stock price decline attributable to a
                 corrective disclosure (as opposed to other information released simultaneously),
                 to use that decline to measure any inflation at the time of a particular
                 misrepresentation, one must ensure that there is a match between the information
                 that was ultimately revealed in the corrective disclosure and the information that
                 was allegedly inappropriately withheld by defendants at the time of that alleged
                 misrepresentation. If there is not a match between what was ultimately disclosed
                 and what allegedly should have been said earlier, there is no reason to believe that
                 the ultimate observed stock price decline measures earlier inflation.
             b. Second, other company-specific, market, and industry conditions must be
                 sufficiently similar that one can assume that the relevant information would have
                 caused a similar price change at both points in time.

44.     Additionally, I understand that plaintiffs do not need to compute damages or assess loss
causation at this stage of litigation, but have to show that there is a damages methodology for this
matter that would apply class-wide. I understand that the Supreme Court’s 2013 ruling in
Comcast requires plaintiffs at the class certification phase to specify a class-wide damages
methodology consistent with their liability theory. Comcast states that “a model purporting to
serve as evidence of damages in this class action must measure only those damages attributable
to [Plaintiff’s liability] theory,”50 making clear that simply proposing a model that is capable of
class-wide measurement is insufficient, but plaintiffs must propose a model that is class-wide
and capable of isolating damages due to their theory of liability.




50 Comcast Corp. et al. v. Behrend et al., No. 11-864, 133 S.Ct. 1426, 2013 (“Comcast”), p. 522, emphasis added.




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VII.     Dr. Feinstein Has Not Shown That There Is a Damages Methodology for Apple’s
         Stock that Measures Damages Consistent with Plaintiff’s Theory of Liability


45.      As discussed above,51 the only alleged misrepresentation remaining in this case occurred
on November 1, 2018, when Apple released financial results for FY18 and held an earnings call
after market close.52 Plaintiff alleges that during the call, Mr. Cook made a misrepresentation
about “the current state of Apple’s business in Greater China and the impact of macroeconomic
trends on the Company’s sales in Greater China” that “was materially false and misleading when
made as Defendants knew or deliberately disregarded and failed to disclose” the following
alleged True Facts:53
             a. True Fact #1: “the U.S.-China trade tensions and economic conditions in China
                  were negatively impacting sales and demand for Apple products, particularly
                  iPhones”54
             b. True Fact #2: “the Company had already begun to see declining traffic in Apple’s
                  retail stores and those of its channel partner stores in Greater China, and reports of
                  an overall contraction of the smartphone industry”55
             c. True Fact #3: “the Company had already, or was preparing to, cut iPhone
                  production at multiple manufacturers and reduce orders from its largest suppliers
                  of iPhone components for the current quarter and holiday season.”56
46.      I understand that Plaintiff does not allege that Mr. Cook’s statement about China’s 16%
growth in Q4’18 was false or misleading or that the Q1’19 revenue guidance of $89 billion to
$93 billion provided on the earnings call was false or misleading. Therefore, the hypothetical
but-for disclosure by Mr. Cook on November 1, 2018 would have included the same Q1’19
quarterly guidance and statement about China’s Q4 growth, but would have also contained the
three alleged True Facts above.



51 See ¶¶ 7–9.
52 Apple provided the “live streaming of its Q4 2018 financial results conference call beginning at 2:00 p.m. PDT on

November 1, 2018.” (“Apple Reports Fourth Quarter Results,” Apple Inc. Press Release, November 1, 2018)
53 Complaint, ¶ 24.
54 Complaint, ¶ 24.
55 Complaint, ¶ 24.
56 Complaint, ¶ 24. As I discuss in ¶ 11, I understand that the Alleged True Fact #3 does not relate to the challenged

statement.




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47.      In his report, Dr. Feinstein does not engage with the specific facts of this case in his
discussion of damages.57 Instead, he presents the “out-of-pocket damage methodology” as a
methodology that, according him, “can be applied commonly for all Class members”58 in this
matter. In Section VII.A below, I discuss the “out-of-pocket damages methodology” described
by Dr. Feinstein and show that it is a definition and not a methodology for calculating damages.
As such, it does not show that damages can be calculated on a class-wide basis for this particular
matter. In Section VII.B, I focus on the specific facts and allegations in this case and discuss the
difficulties of measuring damages on a class-wide basis, given the mismatch between the alleged
corrective disclosures and the alleged misrepresentation. As I discuss, Dr. Feinstein’s failure to
engage in an evaluation of how inflation can be measured using an event study either on the
alleged corrective disclosure dates, or at the time of the alleged misrepresentation, demonstrates
that he has not shown that there is a damages methodology that is consistent with Plaintiff’s
theory of liability. Furthermore, Dr. Feinstein has not specified alternative valuation tools to
measure the changes in inflation following the alleged misrepresentation, or at any other time
throughout the Putative Class Period.

         A.       The “Out-of-pocket Damage Methodology” Described by Dr. Feinstein Is a
                  Definition and Not a Methodology


48.      Dr. Feinstein’s “out-of-pocket damage methodology” is simply a definition of damages,
and Dr. Feinstein does not provide a methodology that could calculate damages on a class-wide
basis in this case. Dr. Feinstein defines his “out-of-pocket damage methodology” as “the
difference between the amount of stock price inflation at purchase and the amount of inflation in
the stock price at sale or, if held, at the end of the Class Period, taking into account formulaic
prescriptions in relevant case law and statutes.”59 However, this “methodology” is nothing more




57 See Feinstein Report, Section XII.  For example, Dr. Feinstein states “To the extent that there may be specific
issues complicating the quantification of artificial inflation encountered in the execution of the out-of-pocket damage
methodology due to potentially unique facts and circumstances of this case, the standard tools of valuation analysis
can be applied as needed. Valuation tools can be applied to measure what the price of Apple stock would have been
but for the alleged misrepresentations and omissions.” (Feinstein Report, ¶ 183) However, Dr. Feinstein does not
discuss the “specific issues.”
58 Feinstein Report, ¶ 181.
59 Feinstein Report, ¶ 181.




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than a general definition of damages under Rule 10b-5, and not a methodology that one could
use to calculate damages on a class-wide basis in this particular case.
49.      As an analogy, if I am tasked to come up with a methodology for solving a particular
equation, I could say that my “methodology” is (1) recognizing that an equation involves the
same values on both sides of the equal sign; (2) sitting down at my desk with a pen and paper;
and (3) considering a number of standard formulas that would lead to a solution. However, the
description above would not actually constitute a methodology for solving the equation at hand
because it would not guarantee that a solution can be developed and it would not be instructive in
helping me solve the particular equation.
50.      Similar to the analogy above, instead of providing a class-wide damages methodology
that is consistent with Plaintiff’s theory of liability, Dr. Feinstein provides a generic description
of how “per share damages can be measured.”60 As a first step in his generic description, Dr.
Feinstein proposes to use an event study and “potentially other empirical analyses if necessary”
to determine if “the alleged misrepresentations and omissions had caused the stock price to be
artificially inflated, and if corrective disclosures caused the inflation to dissipate.”61 As a second
step, Dr. Feinstein proposes to determine the level of inflation on each day during the Putative
Class Period by “working chronologically backwards from the final corrective disclosure to the
start of the [Putative] Class Period, accounting for the alleged fraud-related residual price
declines as they occurred” (“backcasting”), adding that “[i]nflation prior to a corrective
disclosure that dissipated inflation is greater than the inflation afterward by the amount of
inflation that dissipated.”62 As a final step, Dr. Feinstein proposes calculating per share damages
as inflation at purchase less inflation at sale, subject to statutory limitations set forth in the
Private Securities Litigation Reform Act (PSLRA).63
51.      I understand that Dr. Feinstein does not need to estimate damages at this stage of the
litigation. However, based on my understanding, he does need to show that there is a common
class-wide methodology for quantification of damages for this particular case.64 Instead, Dr.


60 Feinstein Report, ¶ 186.
61 Feinstein Report, ¶ 186.
62 Feinstein Report, ¶ 186.
63 Feinstein Report, ¶ 186.
64 Comcast, pp. 515–530, pp. 515, 517.




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Feinstein claims without providing any justification that a loss causation and damages analysis in
this matter “requires the full development of the record,”65 but that no matter what the “specific
issues complicating the quantification of artificial inflation”66 may be, standard valuation tools
are still applicable. However, none of the standard tools listed by Dr. Feinstein, such as
“valuation multiple models,” “scenario analysis,” or “literature regarding valuation effects of
factors such as reputation and quality of accounting” are universally applicable in every
valuation-related scenario, and Dr. Feinstein does not specify which of these tools (if any) would
be applicable in this particular case, making his so-called “methodology” nothing more than a
generic description that has not been shown as applicable in this particular matter.67
52.      Additionally, Dr. Feinstein’s references to “the literature regarding valuation effects of
factors such as reputation and quality of accounting”68 are taken verbatim from his other class
certification reports69 and have no apparent relevance to the challenges that Dr. Feinstein faces in
the present case. For example, there are no allegations in this case related to the quality of




65 Feinstein Report, ¶ 180.
66 Feinstein Report, ¶ 183.
67 Feinstein Report, ¶ 185. I understand that Dr. Feinstein is not required to perform a detailed analysis of loss

causation or inflation at the class certification stage. However, an expert is expected to present more than a collection
of references to event study and valuation tools when discussing research methodology in my professional field,
financial economics.
68 Feinstein Report, ¶ 185.
69 For example, “Valuation analysis is undertaken continuously, every day, for virtually every publicly traded security,

and these tools address the very complexities that could potentially be encountered in the course of computing
inflation and damages. Among the commonly used valuation tools that are available to investors and analysts in real
time, and to forensic analysts when computing damages, are for example: valuation multiple models, such as those
based on earnings, EBITDA, revenue, book value, and cash flow; discounted cash flow models (DCF); return
attribution analysis; and the literature regarding valuation effects of factors such as reputation and quality of
accounting.” (Report on Market Efficiency, Professor Steve P. Feinstein, Ph.D., CFA, Monroe County Employees’
Retirement System and Roofers Local No. 149 Pension Fund v. The Southern Company, 1:17-cv-00241-MHC,
September 24, 2018, ¶ 176). Additionally, Dr. Feinstein’s discussion of backcasting and mention of generally
accepted valuation tools is taken nearly verbatim from prior reports as well. For example, “Second, an inflation ribbon
would be constructed for the stock, using generally accepted empirical analysis and valuation tools, indicating how
much artificial inflation caused by the alleged misrepresentations and omissions was in the price of the Freddie Mac
common stock on each day of the Class Period. An inflation ribbon is a time series of the difference between a
stock’s actual price observed in the marketplace, and the estimated price that the stock would have traded at each
day had there been full disclosure from the outset of the Class Period. Construction of the inflation ribbon generally
employs event study analysis, combined with widely used and generally accepted valuation tools and models. The
inflation ribbon is often constructed by working chronologically backwards from the final corrective disclosure to the
start of the Class Period, accounting for alleged fraud-related residual price declines as they occurred. Inflation prior
to a corrective disclosure that dissipated inflation is greater than the inflation afterward by the amount of inflation that
dissipated. The full array of generally accepted and widely used valuation tools can be applied, if necessary, to
calculate the but-for stock prices under the assumption of prior full disclosure. This analysis would also apply on a
class-wide basis.” (Report on Market Efficiency, Professor Steve P. Feinstein, Ph.D., CFA, Ohio Public Employees
Retirement System v. Federal Home Loan Mortgage Corporation, 4:08-cv-00160-BYP, June 7, 2017, ¶ 152)




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accounting, and Dr. Feinstein has not explained why literature on the valuation effects of
accounting would be relevant.
53.      Therefore, his generic discussion of damages falls short of demonstrating that there is a
methodology that would allow a jury to determine how damages could be calculated on a class-
wide basis in this case.

         B.        Dr. Feinstein Fails to Establish How Inflation Can Be Measured on the
                   Alleged Corrective Disclosure Dates, at the Time of the Alleged
                   Misrepresentation, or Throughout the Putative Class Period


54.      Dr. Feinstein has not demonstrated that he has a damages methodology that can
determine by how much the alleged misrepresentation impacted the price of the stock. As Dr.
Feinstein discussed in his deposition, two potential approaches one can take are to (i) look at the
price movement at the back end when the alleged misrepresentation was corrected, and (ii) look
at the price movement at the front end when the alleged misrepresentation was made.70
However, Dr. Feinstein has not analyzed whether inflation can be measured at the back end or
the front end using an event study or any other tools that he proposed.71 While he suggests tools
such as an event study and “the standard tools of valuation,”72 he fails to even entertain the
challenges in estimating inflation using an event study or other tools at the time of the alleged
corrective disclosures or alleged misrepresentation.
55.      In Section VII.B.1, I discuss Dr. Feinstein’s event study analysis on the alleged corrective
disclosure dates and show why an event study cannot reliably measure the change in inflation
following the three alleged corrective disclosure dates in this matter. Specifically, calculating
inflation based on event studies conducted on alleged corrective disclosure dates ignores the fact
that some of the information disclosed on these dates could not have been disclosed on
November 1, 2018. Furthermore, this calculation ignores other news unrelated to the allegations
released on the same day as the alleged corrective disclosure. Finally, using an event study to


70 Remote Video Deposition of Steven P. Feinstein, Ph.D., In re Apple Inc. Securities Litigation, June 16, 2021

(“Deposition of Dr. Feinstein”), (74:11–74:21).
71 For example, “[A] It’s my understanding that plaintiffs’ theory of liability is that this statement and Tim Cook’s

statement on that day inflated -- caused the stock price to be artificially inflated and had a derivative effect on the
derivatives. [Q] You have not done any analysis to determine whether Tim Cook’s statement on that day actually
inflated the stock price? [A] Right. I didn’t delve into the merits yet. I’m not sure I will ever, but as of yet, I haven’t.”
(Deposition of Dr. Feinstein, June 16, 2021 (136:5–136:15))
72 Feinstein Report, ¶¶ 183, 185.




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assess inflation ignores the fact that there is a mismatch between the information that was
disclosed on the alleged disclosure days and the True Facts as alleged by Plaintiff.
56.       In Section VII.B.2, I show why an event study cannot reliably measure the change in
inflation at the front end, following the alleged misrepresentation on November 1, 2018.
Specifically, Dr. Feinstein has not proposed how he could calculate the inflation at the front end,
given that his own event study showed a negative and statistically significant company-specific
stock price drop following the alleged misrepresentation date.
57.       Finally, in Section VII.B.3, I discuss the difficulties Dr. Feinstein faces in using
alternative valuation tools to assess inflation. In particular, Dr. Feinstein fails to demonstrate
that he has a damages methodology that can aggregate analyst views on Apple’s business in
Greater China into a consensus measure for valuation purposes. Dr. Feinstein also fails to
demonstrate that he has valuation tools to convert any change in market consensus following a
but-for disclosure of the alleged True Facts into the amount of inflation in the stock price. I
discuss these issues based on how one could assess inflation following the alleged
misrepresentation on November 1, 2018 as well as temporally throughout the Putative Class
Period.

                  1.          Dr. Feinstein’s Event Study Cannot Reliably Measure the Change in
                              Inflation following the Alleged Corrective Disclosures


58.       As discussed above, Dr. Feinstein has not proposed a methodology to isolate the portion
of the stock price decline caused by alleged corrective disclosures on the alleged corrective
disclosure dates, except for making general statements that inflation can be calculated by relying
on the “alleged fraud-related residual price declines”73 in response to the alleged corrective
disclosure dates.
59.       According to Dr. Feinstein’s event study regression analysis,74 Apple’s stock price
experienced a statistically significant decline of 7.03% following the alleged revelation of the


73 Feinstein Report, ¶ 186.
74 I use the term “event study regression” to refer to the statistical regression analysis that Dr. Feinstein performs in

Exhibit 6 of his report. For the purposes of my report, I am not critiquing his event study regression for Apple stock. I
use the term “event study” to more broadly refer to the event study regression and how to interpret the results of the
event study regression.




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truth on January 2, 2019, after accounting for market and industry movements.75 However, the
company-specific stock price decline following the January 2, 2019 alleged corrective disclosure
date does not measure a change in inflation because the information revealed to the market was
very different than what could have been disclosed on November 1, 2018. As I discuss above,
the alleged misrepresentation on November 1, 2018 was a statement by Mr. Cook about Apple’s
business in Greater China that Plaintiff alleges was misleading because it allegedly failed to
disclose (i) trade tensions and economic conditions in China, (ii) declining traffic in Greater
China and smartphone industry contraction, and (iii) supplier cuts.76 By comparison, the
information that Apple released to the market on January 2, 2019 included reduced revenue
guidance for Q1’19 of $84 billion that Cook attributed, in part, to external factors Apple faced in
China.
60.      As I discuss in Section VII.B.1.a below, Dr. Feinstein cannot assume that the Q1’19
revenue guidance provided on January 2, 2019 could have been predicted by Mr. Cook two
months earlier, without having seen how the quarter transpired. Furthermore, the information
released on January 2, 2019 also included confounding information unrelated to the allegations.
61.      Additionally, as I discuss in Section VII.B.1.b, while the alleged corrective disclosures
were both quantitative and qualitative in nature, the alleged True Facts were only qualitative. Dr.
Feinstein has not shown how much, if any, of the stock price decline on the alleged corrective
disclosure dates was caused by new information that was corrective of the alleged
misrepresentation on November 1, 2018. Dr. Feinstein’s complete disregard for this
complication and his assertions that a damages methodology is “almost statutory,” that it is
simply “prescribed by statute and case law,”77 show that he has not analyzed these specific
allegations and how damages can be computed on a class-wide basis in this matter.




75 Feinstein Report, Exhibit 8.
76 See ¶ 45. As I discuss in ¶ 11, I understand that the Alleged True Fact #3 does not relate to the challenged
statement.
77 Deposition of Dr. Feinstein, June 16, 2021 (35:7–8).




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                          a)       The stock price reaction on January 2, 2019 in response to Mr.
                                   Cook’s letter and interview was to a different set of
                                   information than the True Facts alleged by Plaintiff.


62.      The information revealed by Apple on January 2, 2019 was very different than the
alleged True Facts. Dr. Feinstein has not explained how his event study could take into account
information that Apple could have learned only after the alleged misrepresentation on November
1, 2018 and confounding information unrelated to the allegations that came out at the time of the
alleged corrective disclosures. Dr. Feinstein has not provided a methodology that would allow
one to determine how much of the stock price reaction on January 3, 2019 was due to these
confounding factors versus a but-for disclosure of the alleged True Facts.

                                   (1)      The guidance revision announced on January 2, 2019
                                            included a full quarter’s worth of sales data and
                                            reflected changes in the economic environment.

63.      I understand that plaintiffs in a Rule 10b-5 matter claim that they are damaged by an
alleged misrepresentation, and therefore, a reliable damages methodology should determine how
much an alleged misrepresentation inflated the stock price. Dr. Feinstein states that one can
measure inflation based on analyses of price changes at the back end, in response to the alleged
corrective disclosures.78 However, using these price declines can only be done if the information
contained in the alleged misrepresentation was equivalent to the information contained in the
alleged corrective disclosure. Instead, if the information contained in the alleged corrective
disclosure reflected new information that Apple learned over the course of the Putative Class
Period, one would need to provide a damages methodology that could parse out the effect of the
new information. Dr. Feinstein has not provided a damages methodology that can accomplish
this task.
64.      As I discuss above, Apple’s revised revenue guidance of $84 billion was announced on
January 2, 2019, a few days after Q1’19 had ended.79 Therefore, while Mr. Cook acknowledged




78 See ¶ 54.
79 Apple Inc., Form 10-Q for the fiscal quarter ended December 29, 2018, dated January 30, 2019.   See ¶ 12.




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that he had not “seen the December number yet,”80 at the time of the announcement, Apple
would have experienced a full quarter’s worth of iPhone sales in China and other markets
(October, November, and December). By comparison, at the time of the alleged
misrepresentation on November 1, 2018, Apple was only one third through the quarter. Dr.
Feinstein cannot assume that the Q1’19 revenue guidance provided on January 2, 2019 could
have been predicted by Mr. Cook two months earlier, without having seen how the quarter
transpired. Apple did not yet have information on actual iPhone sales in China (and elsewhere)
for the majority of the quarter at the time of the November 1, 2018 earnings announcement.
Furthermore, at the time of the November 1, 2018 earnings release, Apple had only just started
selling the iPhone XR in stores a week earlier, and this model had only been available for pre-
sale for approximately two weeks.81 As a result, this limited sales window of iPhone XR sales
meant that Apple had less than a month of data for understanding sales in China for the iPhone
XR. There is no basis for Dr. Feinstein to assume that the disclosure on January 2, 2019 based
on three months of actual sales data could be equivalent to the disclosure of the alleged True
Facts early in the quarter during the November 1, 2018 earnings announcement. This is
especially troublesome because Plaintiff points to Mr. Cook’s January 2, 2019 interview on
CNBC where Mr. Cook stated that November was “particularly bad,” and that December would
likely be bad too.82

65.     Further complicating the process of using the price decline on January 3, 2019 to measure
inflation is the fact that Apple’s business in Greater China was subject to external pressure from
sources outside Apple’s control. For example, in Mr. Cook’s January 2, 2019 CNBC interview,
when asked about Apple’s disappointing performance in China, Mr. Cook responded that “my
sense is the much larger issue [in China] is the slowing of the economy and then this -- the trade
tension.”83 Even if Mr. Cook may have had more insight into Apple’s expected future
performance in China than the market did on November 1, 2018, Dr. Feinstein has not explained



80 “CNBC Exclusive: CNBC Transcript: Apple CEO Tim Cook Speaks with CNBC’s Josh Lipton Today,” CNBC,

January 2, 2019, available at https://www.cnbc.com/2019/01/02/cnbc-exclusive-cnbc-transcript-apple-ceo-tim-cook-
speaks-with-cnbcs-josh-lipton-today.html, accessed on June 23, 2021.
81 See ¶ 29.
82 Complaint, ¶ 36.
83 “CNBC Exclusive: CNBC Transcript: Apple CEO Tim Cook Speaks with CNBC’s Josh Lipton Today,” CNBC,

January 2, 2019, available at https://www.cnbc.com/2019/01/02/cnbc-exclusive-cnbc-transcript-apple-ceo-tim-cook-
speaks-with-cnbcs-josh-lipton-today.html, accessed on June 23, 2021.




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how Mr. Cook could have perfectly predicted how the economy and trade war would affect
Apple’s business in Greater China over the following two months. Furthermore, to the extent
Apple learned new information about the economic conditions and trade war after the November
1, 2018 alleged misrepresentation, I understand that Mr. Cook was not obligated to provide
updated guidance based on new events or changes, and thus, any impact of these factors on the
revised Q1’19 revenue guidance would be a confounding factor. Dr. Feinstein has not provided
any discussion showing that he analyzed the potential impact of these events, and will have
difficulty demonstrating that a damages methodology exists that is capable of accounting for
these facts when estimating damages.
66.      As an example of external pressure, Plaintiff claims that one of the alleged True Facts
was that Apple was being negatively impacted by economic conditions in China.84 However, if
the economic conditions in China in November and December turned out to be worse than what
was expected at the time of the alleged misrepresentation, Mr. Cook could not have known that
the deterioration would occur. Thus, Mr. Cook could not have known how this would ultimately
impact Apple’s business in Greater China when the alleged misrepresentation was made.
Multiple analyst reports reference data from the Caixin China General Manufacturing Purchasing
Managers’ Index (“PMI”) survey when discussing the health of the Chinese economy.85 The
PMI is based on a survey that includes purchasing executives from over 500 companies that
Caixin describes as “one of the first available indicators every month of the strength of the
Chinese economy.”86 Credit Suisse confirmed the importance of this indicator, stating that
“China PMI is a widely followed indicator and broad measure of Chinese economic activity.”87
PMI data in Exhibit 1 demonstrate that the PMI fell below 50 at the end of 2018, indicating that
purchasing executives in Chinese manufacturing companies understood that there was a
“softening in the health of China’s manufacturing sector.”88 Caixin states that the responses are




84 See ¶ 45.
85 See ¶ 67.
86 “Caixin Manufacturing PMI,” Caixin, available at https://www.caixinglobal.com/caixin-manufacturing-pmi/, accessed

on June 16, 2021.
87 “AAPL Guidance Cut Could Bring License Renewal Risk Into Sharper Focus,” Credit Suisse, January 3, 2019, p. 5.
88 “Caixin China General Manufacturing PMI(January 2019),” Caixin, May 21, 2019.




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collected in the middle of the month, so the January data point would capture how consensus
evolved at the end of the Putative Class Period from the second half of December into January.89
67.      Furthermore, according to the PMI, the economic conditions in China at the end of 2018
were worse than what had been forecasted by economists. If economists were surprised by how
weak the economy in China was at the end of the year, it is not evident how Mr. Cook could
have known two months earlier by how much Apple would end up being affected by conditions
in China. I demonstrate this in Exhibit 2 which includes PMI forecasts from “economists polled
by Reuters” and shows that the low PMI in December 2018 and January 2019 was worse than
what was expected. Analyst report commentary following the January 2, 2019 alleged corrective
disclosure date echoed this, with Credit Suisse stating PMI “has tapered off in the last few
months.”90 Similarly, an FBN analyst report discussed the PMI, stating that the weakness in the
month of December was below the level that the market was expecting.91
68.      In Section VII.B.3.b below, I summarize market commentary discussing effects of the
trade war on smartphone shipments in general and Apple’s sales in China in particular during the
Putative Class Period as it related to the alleged True Facts.92 As shown there, commentary
documented a deteriorating effect on Apple. Dr. Feinstein cannot assume that Mr. Cook could
foresee the deterioration of the trade war and its effects on Apple on November 1, 2018.

                                    (2)      Dr. Feinstein fails to address how he will account for
                                             confounding information released on the alleged
                                             corrective disclosure dates.

69.      Dr. Feinstein suggests that one can use the portion of the stock price declines in response
to the alleged corrective disclosures to determine the stock price response to a hypothetical



89 “The report is based on data compiled from monthly replies to questionnaires sent to purchasing executives in over

500 manufacturing companies. Survey responses reflect the change, if any, in the current month compared to the
previous month based on data collected mid-month.” (“Caixin Manufacturing PMI,” Caixin, available at
https://www.caixinglobal.com/caixin-manufacturing-pmi/, accessed on June 16, 2021)
90 “AAPL Guidance Cut Could Bring License Renewal Risk Into Sharper Focus,” Credit Suisse, January 3, 2019, pp.

2, 5.
91 “Economic weakness in emerging markets. AAPL noted that emerging market economic weakness turned out to

have a significantly greater impact than expected. This is in line with recent macro reports. For example, the Caixin
China General Manufacturing PMI hit 49.7 (below 50 indicates a decline) in Dec. 2018, down from 50.2 in November
and below market consensus of 50.1.” (“AAPL: Large Deceleration in Sales to China, but Large Stock Decline
Creates Value – Lowering PT to $190,” FBN, January 3, 2019, p. 1)
92 See ¶¶ 130–143.




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disclosure of the alleged True Facts at the start of the Putative Class Period.93 However, any new
information Apple learned during the Putative Class Period, even about Apple’s business in
Greater China that could not have been known and disclosed at the start of the Putative Class
Period, was confounding. Furthermore, not all information that became available on an alleged
corrective disclosure date is necessarily “fraud-related,” and as Dr. Feinstein states, one would
need to control “for potentially non-fraud-related information,”94 or “confounding” information,
that impacted the stock price on the alleged corrective disclosure dates. Despite recognizing the
potential for confounding information in his report, Dr. Feinstein failed to address how he would
identify and control for non-fraud related information as part of his damages methodology.95
70.      As an example of confounding news, on January 2, 2019, Mr. Cook stated in his letter to
investors that in Q1’19 Apple faced unforeseen challenges related to the upgrade of iPhones in
developed economies that contributed to the reduced revenue guidance:

           In addition, [emerging market challenges] and other factors resulted in fewer
           iPhone upgrades than we had anticipated. These last two points have led us to
           reduce our revenue guidance […] While Greater China and other emerging
           markets accounted for the vast majority of the year‑over‑year iPhone revenue
           decline, in some developed markets, iPhone upgrades also were not as strong
           as we thought they would be. While macroeconomic challenges in some
           markets were a key contributor to this trend, we believe there are other factors
           broadly impacting our iPhone performance, including consumers adapting to a
           world with fewer carrier subsidies, US dollar strength‑related price increases,
           and some customers taking advantage of significantly reduced pricing for
           iPhone battery replacements.96
71.      Additionally, I understand that the first complaint in this case was filed by a prior named
plaintiff on April 16, 2019. This prior complaint claimed that “Apple common stock plunged” in
part due to the announcement from Mr. Cook that “emphasized the negative impact the battery
replacement program had had on the pace of phone replacements during 1Q19.”97 However, in


93 Feinstein Report, ¶ 186.
94 Feinstein Report, ¶ 186.
95 “[Q] If the court were to conclude that an alleged corrective disclosure date contained confounding news that was

released same tame during the day, how would an event study analysis disentangle the effects of multiple pieces of
news released at the same time? [A] Well, I don't think a -- I don’t think I would rely on the event study to do the
disentangling. I would rely on some of these tools to do the disentangling of the attribution analysis.” (Deposition of
Dr. Feinstein, June 16, 2021 (144:6–144:14))
96 “Letter from Tim Cook to Apple Investors,” Apple Inc. Press Release, January 2, 2019.
97 City of Roseville Employees’ Retirement System vs. Apple Inc., Complaint for Violations of the Federal Securities

Laws, dated April 16, 2019, ¶¶ 37–38.




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the operative Complaint, Plaintiff does not allege that any information about the battery
replacement program or pace of iPhone replacements was corrective of the prior
misrepresentation about Apple’s business in Greater China. Therefore, given that the prior
named Plaintiff claimed this confounding information impacted the stock price, a reliable
damages methodology would provide the ability to account for the impact of this confounding
news.
72.      Furthermore, securities analysts and public press discussed the impact of the iPhone
replacement rate on Apple’s performance. For example, an Atlantic Equities analyst report
stated that while the macro weakness in China was a “transitory” concern, the iPhone
replacement activity was more “structural.” While a transitory concern would impact the
company in the short-term, a structural concern is potentially a long-term headwind that could
continue to impact the Company. The report stated:

           Apple lowered its Q1 revenue guidance to ~$84bn from $89-$93bn. … with
           the company citing macro weakness in China and lower iPhone replacement
           activity as the main reasons for the shortfall. While the former should
           ultimately prove transitory, the latter appears more structural, reflecting both
           the mature nature of the smartphone market and Apple potentially having
           reached the limits of its pricing power.98
73.      A J.P. Morgan analyst report stated that the elongating replacement cycle was affecting
developed markets, leading to lowered guidance:

           Apple’s iPhone shipment volumes continued to be challenged by the
           worsening macro weakness in emerging markets (particularly China), and by
           elongating replacement cycles in developed markets, the combination of which
           led to a substantial -8% revision to F1Q19 (Dec-end) revenue guidance.99
74.      A UBS analyst report also discussed the impact of a longer replacement cycle in
developed markets:

           We forecast iPhone revenue to decline 12% in F19 driven by roughly 15%
           decline in units partially offset by 5% growth in ASPs. Macro uncertainties
           are impacting demand in emerging markets and developed markets are seeing


98 “Q1 Guidance cut highlights structural challenges,” Atlantic Equities, January 3, 2019, p. 1.
99 “iPhone Volume Woes Continue on Cyclical Headwinds; Remain OW on Services Transformation

& Leverage of Installed Base,” J.P. Morgan, January 3, 2019, p. 1.




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           elongating replacement cycle due to lower carrier subsidies and battery
           replacements.100
75.      Additionally, a Bloomberg article cited in the Complaint stated that Apple overestimated
iPhone upgrades in markets outside China:

           In his letter, Cook said in some established markets outside of China, iPhone
           “upgrades also were not as strong as we thought they would be.” (Upgrades are
           people with older-model iPhones opting to buy new models.)101
76.      When asked about this piece of confounding news in deposition, Dr. Feinstein stated that
it was small relative to the issues Apple faced in China, and that one would be able to parse out
the confounding news because Apple had done this attribution analysis for their revised Q1’19
guidance.102 However, Dr. Feinstein’s response focused on the revised Q1’19 guidance, and
ignored the fact that, as the Atlantic Equities report stated, the elongated replacement cycle may
have had longer lasting effects than issues related to China. A stock price reflects the sum of
discounted values of expected future cash flows,103 so while China may have been a larger factor
for revenue in Q1’19, Dr. Feinstein ignores that the replacement cycle activity may have had a
larger long-term impact. Simply looking at attribution analysis for Q1’19 results would not be
sufficient to parse the impact of the confounding news.
77.      Furthermore, following the January 2, 2019 announcement, securities analysts at
Canaccord Genuity lowered their FY19 unit sale forecast from 208.4 million units to 180.3
million units, or by 28.1 million units.104 It is worth noting that Canaccord Genuity’s forecast of



100 “Services Good, But China Headwinds Intensifying; Cutting Target On Negative Pre,” UBS, January 3, 2019, p. 2.
101 Complaint, ¶ 86, emphasis in original.
102 “[Q] Do you have any reason to believe that plaintiffs were incorrect to conclude that the information related to the

battery replacement cycle impacted stock price on January 3, 2019? … [A] Well, in terms of order of magnitude, we
know that Tim Cook said that the miss, the disappointing quarterly revenue number was attributable all to iPhones
and mostly to China. … We know it's going to be small because Tim Cook himself said it was mostly China. So
iPhones outside of China is going to be small, but, you know, there are tools for figuring out how much of the drop
was caused by that. … So it's possible. How do I know it's possible to parse it out and do the actual analysis? Tim
Cook said so. He said that the miss is entirely attributable to iPhones and mostly attributable to China. That means
they did an attribution analysis. They were able to parse it out. They know the causes.” (Deposition of Dr. Feinstein,
June 16, 2021 (148:1–151:21))
103 “[I]n an efficient market it is not possible to find expected returns greater (or less) than the risk-adjusted

opportunity cost of capital. This implies that every security trades at its fundamental value, based on future cash
flows … and the opportunity cost of capital.” (Richard Brealey, Stewart Myers, and Franklin Allen, Principles of
Corporate Finance, Tenth Edition (McGraw Hill, 2011), p. 321.
104 “Surveys indicated soft smartphone and overall iPhone demand; lowering estimates,” Canaccord Genuity,

November 28, 2018, p. 3; “Weak iPhone sales result in $7B shortfall to Q1/ F’19 guidance; lowering estimates and PT
to $190,” Canaccord Genuity, January 2, 2019, p. 3.




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iPhone unit sales for China in FY19 was only reduced by 6.6 million units, from 48.7 million
units to 42.1 million units.105 Based on this forecast, the reduction in iPhone unit sales in China
represents only 23% of the total reduction in FY19 iPhone unit sales, implying that the
Canaccord Genuity analysts were reacting largely to information that affected Apple’s global
iPhone sales instead of sales in China specifically. Neither Dr. Feinstein nor the Plaintiff have
demonstrated how a hypothetical statement on November 1, 2018 about Apple’s business in
Greater China would reveal the same information as what was revealed on January 2, 2019 that
caused a reduction in the global ex-China iPhone unit forecast.

78.     Additionally, Dr. Feinstein has not discussed how he will account for the stock price
effect of confounding news released on November 5, 2018 and November 12, 2018.106 Plaintiff
alleges that the misrepresentation on November 1, 2018 was about “the current state of Apple’s
business in Greater China and the impact of macroeconomic trends on the Company’s sales in
Greater China.”107 In contrast, Plaintiff alleges that the corrective information revealed to the
market on November 5, 2018 was that Apple had told its suppliers to reduce iPhone XR
production which “indicat[ed] a reduction in demand by 20-25%,”108 and on November 12, 2018
was that Wells Fargo “inferred that the reduction in Lumentum earnings indicated a 30%
reduction in Apple orders and Apple’s stock price would be ‘under pressure.’”109 Dr. Feinstein
has not shown that the information contained in the alleged corrective disclosures (production
cuts and overall demand) matches the information contained in the alleged misrepresentation (a
statement about Apple’s business in Greater China). Dr. Feinstein has not provided any
discussion of the methodology he will use to analyze and account for this mismatch between the
alleged misrepresentation and the alleged corrective disclosures.
79.     As discussed above, Dr. Feinstein has not provided a methodology that could remove the
stock price effect of any of the confounding news on the alleged corrective disclosure dates, and
therefore, he has not shown he can provide a reliable damages methodology.




105 “Surveys indicated soft smartphone and overall iPhone demand; lowering estimates,” Canaccord Genuity,

November 28, 2018, p. 3; “Weak iPhone sales result in $7B shortfall to Q1/ F’19 guidance; lowering estimates and PT
to $190,” Canaccord Genuity, January 2, 2019, p. 3.
106 As I discuss in ¶ 11, I understand that the Alleged True Fact #3 does not relate to the challenged statement.
107 Complaint, ¶ 24.
108 Complaint, ¶ 98.
109 Complaint, ¶ 103.




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                            b)      The stock price reactions on November 5, 2018, November 12,
                                    2018, and January 3, 2019 were in response to quantitative and
                                    qualitative information, whereas the alleged True Facts were
                                    only qualitative.

80.      Dr. Feinstein also ignores the fact that there is an important mismatch between the
alleged True Facts that could and should have been disclosed and the content of the disclosures.
As I discuss above,110 in addition to the final alleged corrective disclosure date of January 2,
2019, Plaintiff alleges that the truth was partially revealed on November 5, 2018 and November
12, 2018. Plaintiff alleges new information disclosed on these two days revealed that (i) Apple
manufacturers had faced production cuts, and (ii) that the production cuts indicated a 20-30%
reduction in demand.111 Importantly, the information Plaintiff points to on November 5, 2018
and November 12, 2018 as correcting the alleged misrepresentation contained both a qualitative
aspect (that production cuts had occurred) and a quantitative aspect (the size of the production
cuts). Similarly, on January 3, 2019, Plaintiff also points to an aspect of the corrective
information that is qualitative (iPhone sales in China) and an aspect of the corrective information
that is quantitative (revenue guidance of $84 billion).112
81.      In contrast, Plaintiff alleges that on November 1, 2018, Mr. Cook should have disclosed
the alleged True Facts about (i) trade tensions and economic conditions in China, (ii) declining
traffic in Greater China and smartphone industry contraction, and (iii) supplier cuts.113 The
alleged True Facts are entirely qualitative statements, so a but-for disclosure of the alleged True
Facts would have only provided the market with qualitative information. However, the
information released on the three alleged corrective disclosure dates that the stock price
ultimately reacted to contained a qualitative and a quantitative component:

           November 5, 2018: “On November 5, 2018, at 4:27 a.m. ET, before the
           market opened, the Nikkei Asian Review published the Nikkei Article reporting
           that Apple told its top smartphone assemblers, Foxconn and Pegatron, to
           reduce iPhone XR production, and that Wistron, previously on standby for



110 See Section III.
111 Complaint, ¶¶ 98–104.
112 See ¶ 12.
113 See ¶ 45. As I discuss in ¶ 11, I understand that the Alleged True Fact #3 does not relate to the challenged

statement.




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           rush orders, would receive none, indicating a reduction in demand by 20-
           25%.”114

           November 12, 2018: “On November 12, 2018, Wells Fargo issued a report
           titled ‘AAPL: Lumentum Cuts Revenue Outlook by 17%+ (Midpoint) on
           Apple Order Cuts.’ Lumentum, a supplier of iPhone components, issued a
           negative preannouncement due to a reduction by one of its largest customers –
           identified as Apple. The report inferred that the reduction in Lumentum
           earnings indicated a 30% reduction in Apple orders and Apple’s stock price
           would be ‘under pressure’ – i.e., decline – as a result.”115

           January 3, 2019: “In a ‘Letter from Tim Cook to Apple Investors’ Apple
           reported that its revenue for 1Q19 was approximately $84 billion, far below
           the guidance range of $89 billion to $93 billion the Company had provided on
           November 1, 2018, just eight weeks earlier. Cook’s letter attributed the miss
           almost entirely to slowing iPhone sales in China, noting that most of the
           revenue shortfall occurred in Greater China, that 100% of the year-over-year
           worldwide revenue decline occurred in Greater China, and iPhone revenue
           missed primarily due to Greater China. … During an interview with CNBC
           that evening, Cook admitted it was clear that China’s economy began to slow
           in the second half of 2018 and had been further impacted by rising trade
           tensions with the United States, including Cook’s statements indicating that,
           prior to and during the Class Period, Defendants saw declines in traffic in the
           Company’s retail stores and its channel partner stores, and reports of the
           contraction of the smartphone industry.”116

82.      Dr. Feinstein has not addressed the qualitative nature of the alleged True Facts or how the
quantitative information disclosed on each of the alleged corrective disclosure dates could match
the qualitative alleged but-for disclosure of the alleged True Facts.
83.      Furthermore, following the January 2, 2019 alleged corrective disclosure date, a number
of analysts stated that they already knew that Apple was facing challenging conditions in China,
but were surprised by the size of the guidance reduction. This is consistent with the discussion
below where analyst reports stated before January 2, 2019 that external negative factors, such as
the trade war and economic conditions, were impacting Apple’s business in Greater China.117
This would suggest that a number of analysts were aware that conditions in China were



114 Complaint, ¶ 98, emphasis added.
115 Complaint, ¶ 103, emphasis added.
116 Complaint, ¶¶ 105–106, emphasis added.
117 See Section VII.B.3.b.




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impacting Apple’s business (qualitative), but were surprised by the magnitude of the impact
(quantitative). For example, on January 2, 2019, the Bank of America analyst report stated that
the previous Bank of America downgrade of Apple was based on a weaker China, but that
demand continued to deteriorate:

          Although the trade tensions with China could ease in 1H19, the broader
          demand weakness and slower upgrade cycles are likely to push units much
          lower in F19 (we now model 181mn units down from 210mn previously). Our
          downgrade late last year was predicated on a weaker China but demand seems
          to have deteriorated materially over the past two months.118
84.     On January 2, 2019, the BMO analyst report stated that BMO was already cautious on
China, but the surprise was the size of the weakness:

          We had been cautious on the new iPhone products as well as on Apple’s China
          business, but the weakness is much more pronounced than we expected.119
85.     This is also consistent with the discussion in the Complaint, which states that “a slew of
analysts and media outlets expressed shock at the magnitude and severity of the Company’s
negative performance,”120 and demonstrates that a number of analysts reacted to the magnitude of
the guidance revision, and not the fact that Apple was facing challenging conditions in China.

86.     Dr. Feinstein will have difficulty providing a methodology that would allow one to use
the combined stock price declines on November 5, 2018, November 12, 2018, and January 3,
2019 in response to statements containing qualitative and quantitative information to estimate
how the stock price would have responded to a hypothetical but-for disclosure of the alleged
qualitative True Facts on November 1, 2018. Dr. Feinstein’s event study and backcasting
approach would only be appropriate if he could demonstrate that the stock price declines on the
three alleged corrective disclosure dates in response to statements containing qualitative and
quantitative information would be identical to the hypothetical stock price decline on November
1, 2018 in response to Plaintiff’s qualitative alleged True Facts. Furthermore, Dr. Feinstein has




118 “Rare neg pre: cut to guide on weak China, iPhones; Services better. PO to $195,” Bank of America Merrill Lynch,

January 2, 2019, p. 1.
119 “Another Shoe Drops; Lowering Estimates, Target,” BMO Capital Markets, January 2, 2019, p. 3.
120 Complaint, ¶ 84.




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not presented a methodology that can translate the specific qualitative language of the alleged
True Facts into a quantitative stock price drop.

                   2.       Dr. Feinstein’s Event Study Cannot Reliably Measure the Change in
                            Inflation following the Alleged Misrepresentation on November 1,
                            2018


87.       During his deposition, Dr. Feinstein testified that a possible way to determine by how
much an alleged misrepresentation impacted the price of the stock is to look at the price
movement at the front end when the alleged misrepresentation was made.121 However, as I
discuss below, an event study alone is not sufficient to measure the change in inflation
introduced by an alleged misstatement or an alleged omission.
88.       From the view of an economist, a stock price can potentially become inflated due to a
misrepresentation that can take the form of an omission, a misstatement, or both. I understand
that securities law distinguishes between the two possibilities. First, a misstatement can impact
the stock price and introduce inflation by positively changing preexisting expectations. Second,
the misstatement can maintain an already overoptimistic view of the company’s business.
Alternatively, an omission can hide problems in a company’s business. In order for a price-
maintaining misstatement or an omission to introduce inflation, a hypothetical but-for disclosure
must change the market’s perception of the business. However, if an alleged inflation-
introducing misrepresentation did not or a hypothetical but-for disclosure would not have
changed the market’s view, then there is no reason to conclude that the alleged misrepresentation
introduced inflation.
89.       Dr. Feinstein’s event study regression shows a statistically significant negative company-
specific stock price decline in response to the November 1, 2018 earnings call.122 Dr. Feinstein
would have to incorporate this fact into his analysis if he were to calculate inflation based on
Apple’s stock price movement on November 2, 2018, at the front end of the Putative Class
Period.



121 See ¶ 54.
122 Dr. Feinstein’s event study regression indicates a statistically significant residual return of -6.25%. (Feinstein

Report, Exhibit 8)




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90.      During his deposition, Dr. Feinstein stated that while he had not done a loss causation
analysis, he understood “the plaintiffs’ theory is that the statement is a misrepresentation and
there are also omissions that caused the security price to be inflated, artificially inflated” but that
he had not delved “into the merits to see if they’re right or wrong.”123 To the extent that Plaintiff
claims that the alleged misrepresentation about Apple’s business in Greater China inflated the
stock price at the time the statement was made by conveying unexpectedly positive expectations
of future cash flows, Dr. Feinstein’s event study regression, on its own, would fail to show that
the statement inflated the stock price because it shows a statistically significant and negative
residual return in response to the November 1, 2018 earnings call.124
91.      To the extent that Plaintiff alleges that Mr. Cook’s statement was materially false and
misleading because he omitted the alleged True Facts or made misstatements that were in line
with overoptimistic market expectations, thus averting a but-for stock price decline, an event
study analysis on the alleged misrepresentation date is incapable of showing whether the event
created any inflation. In order to demonstrate that he has a damages methodology that measures
damages corresponding to Plaintiff’s theory of liability, Dr. Feinstein would have to propose a
methodology that explains how to convert the information in the alleged misrepresentation to a
measure of inflation. As I show in the next section, Dr. Feinstein’s generic discussion of
alternative valuation tools provides no assurance that these tools can be applied to address
damages calculations in this case.

                   3.       Dr. Feinstein has not Specified Alternative Valuation Tools to
                            Measure Inflation Following the Alleged Misrepresentation, or at any
                            other Time Throughout the Putative Class Period


92.      As I discuss in the sections above, Dr. Feinstein’s event study cannot reliably measure the
change in inflation following the alleged misrepresentation. It also cannot reliably measure the
change in inflation following the alleged corrective disclosures due to (i) the fact that the stock
price reacted to a different set of information than the alleged True Facts, and (ii) the fact that
both quantitative and qualitative information was released on the alleged corrective disclosure



123 Deposition of Dr. Feinstein, June 16, 2021 (138:4–138:9).
124 Feinstein Report, Exhibit 8.




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dates, whereas the alleged True Facts were only qualitative. This is concerning, because Dr.
Feinstein has also failed to specify what other tools beyond an event study could be used to
examine inflation following the alleged misrepresentation, or at any other time throughout the
Putative Class Period.
93.      An event study allows one to rely on the market’s assessment of information, thereby
bypassing the complexity of performing one’s own assessment of price. If one cannot rely on
the market’s assessment by conducting an event study, a more complex analysis of price
formation may need to be conducted. Instead of specifying the tools needed for this analysis, Dr.
Feinstein puts forth generic statements such as “[t]o the extent that there may be specific issues
complicating the quantification of artificial inflation encountered in the execution of the out-of-
pocket damage methodology due to potentially unique facts and circumstances of this case, the
standard tools of valuation analysis can be applied as needed,”125 and lists tools that he states are
“commonly used”:

           Among the commonly used valuation tools that are available to investors and
           analysts in real time, and to forensic analysts when computing damages, are,
           for example: valuation multiple models, such as those based on earnings,
           earnings before interest, tax, depreciation and amortization (EBITDA),
           revenue, book value, and cash flow; discounted cash flow (DCF) models;
           scenario analysis, and the literature regarding valuation effects of factors such
           as reputation and quality of accounting.126

94.      However, merely listing commonly used valuation tools is not sufficient to provide a
damages methodology consistent with Plaintiff’s theory of liability. In order to compare Apple’s
stock price with a but-for stock price had the alleged True Facts been disclosed, Dr. Feinstein
would first need to apply a reliable method for assessing the difference between what the market
knew and what the market would have known in the but-for world. This is difficult, because
every market participant would have incorporated available information differently and come to
their own conclusions, meaning there is no single readily available measure of how the market as
a whole would have viewed Apple’s business in Greater China. Dr. Feinstein would be required
to propose a methodology that (i) could aggregate all the market views on Apple’s business in


125 Feinstein Report, ¶ 183. As discussed above (fn. 69), Dr. Feinstein’s discussion of valuation tools in this report

matches almost word-for-word his discussion in other reports.
126 Feinstein Report, ¶ 185.




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Greater China into a consensus, and (ii) determine how the market consensus of Apple’s
business in Greater China would have changed following a hypothetical disclosure of the alleged
True Facts at the start of, and on each date during, the Putative Class Period. Dr. Feinstein
would then need to be able to convert the change in market consensus following a but-for
disclosure of the alleged True Facts into the amount of inflation in the stock price.
95.     Dr. Feinstein has not demonstrated that he has a reliable methodology to perform these
two steps of valuation analysis when calculating inflation on a class-wide basis at the start of the
Putative Class Period or throughout the Putative Class Period. Section VII.B.3.a below starts
with showing that analyst reports and public press discussed headwinds in China before the
alleged misrepresentation. It then proceeds with demonstrating that analysts had a wide range of
views about Apple’s business in Greater China both before and immediately after the alleged
misrepresentation, and that Dr. Feinstein fails to demonstrate that he has a damages methodology
that can aggregate analyst views on Apple’s business in Greater China into a consensus measure
for valuation purposes in the actual world, much less in the but-for world. It concludes with
showing that Dr. Feinstein fails to demonstrate that he has valuation tools to convert any change
in market consensus following a but-for disclosure of the alleged True Facts into the amount of
inflation in the stock price.
96.     Section VII.B.3.b adds a temporal dimension to Dr. Feinstein’s challenge of presenting a
reliable methodology for calculating stock price inflation based on “valuation tools.” It starts
with showing that the mix of information in the market changed over the Putative Class Period.
As discussed below, one example of this change is that market participants analyzed third party
data and information to understand Apple’s business in Greater China as the Putative Class
Period progressed. This section proceeds with demonstrating that, by the January 2, 2019
alleged corrective disclosure date, information regarding each of the alleged True Facts was
discussed by market participants. It concludes with discussing Dr. Feinstein’s failure to
demonstrate that his proposed set of valuation tools can measure the impact on inflation of the
but-for disclosure of the alleged True Facts, given the extensiveness of the other information in
the market throughout the Putative Class Period.

                        a)      Dr. Feinstein fails to demonstrate that his proposed set of
                                valuation tools can measure the impact on inflation of the but-




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                                   for disclosure of the alleged True Facts at the start of the
                                   Putative Class Period.


97.     Any methodology for calculating inflation at the start of the Putative Class Period must
begin with an assessment of what was known about the alleged True Facts. It then needs to be
able to quantify how, if at all, the challenged statement affected market expectations of Apple’s
future cash flows in the actual world and how, if at all, the hypothetical disclosure of the alleged
True Facts would affect market expectations in the but-for world. Finally, the methodology
needs to be able to convert any changes in market expectations into changes of the stock price.
98.     Dr. Feinstein fails to demonstrate that his proposed set of valuation tools can measure the
impact on inflation of the but-for disclosure of the alleged True Facts at the start of the Putative
Class Period. First, he provides no baseline of what the market already knew about the alleged
True Facts before the start of the Putative Class Period. Second, Dr. Feinstein has not shown that
he has a methodology to aggregate analyst views on Apple’s business in Greater China into a
consensus measure for valuation purposes in the actual world, much less in the but-for world.
Third, Dr. Feinstein fails to demonstrate that he has valuation tools to convert any change in
market consensus following a but-for disclosure of the alleged True Facts into the amount of
inflation in the stock price.
99.     As an initial matter, in order to understand whether an alleged misrepresentation changed
the mix of information in the market and thus affected market expectations of Apple’s future
cash flows, one must examine the mix of information before the alleged misrepresentation. Dr.
Feinstein provides no baseline of what the market already knew about the alleged True Facts
before the start of the Putative Class Period. As I discuss below, analyst reports and public press
commentary show that the market was aware of headwinds in China and their potential impact
on Apple’s business before November 1, 2018.
100.    On October 15, 2018, an article in The Verge127 stated that consumer demand for
smartphones was declining and could impact Apple:

          The smartphone market in China is only going to slump further … During the
          Golden Week in China this October, a week where many employees get time


127 The Verge is a multimedia platform focused on technology related topics. (The Verge “About the Verge,” The

Verge, available at https://www.theverge.com/about-the-verge, accessed on June 17, 2021).




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          off to travel and recuperate and where retail business often rises, many
          smartphone shops in Guangzhou, a major southern city, still remained half full
          or empty. Shop clerks stood by the entrances in pairs, their eyes flickering
          around for potential customers … there are “multiple signs of rapidly slowing
          consumer demand in China which we believe could easily affect Apple’s
          demand there this fall.”128

101.    On October 16, 2018, an AppleInsider129 article stated that smartphone shipments for
Q4’18 were decelerating due to the trade war:

          Parts of the supply chain are tempering their expectations on iPhone sales for
          the remainder of 2018, a [DigiTimes Research] report claims, with weak sales
          said to be feared by suppliers based in Taiwan, despite the impending launch
          of the iPhone XR … It is also believed the ongoing trade war between the
          United States and China will impact overall smartphone demand, with
          shipments in the fourth quarter of 2018 already said to be decelerating.130

102.    On October 22, 2018, a securities analyst report from Rosenblatt Securities stated that
Rosenblatt was expecting Apple to lower iPhone XR production for November and December:

          We believe iPhone XS and iPhone XS Max preorders have been generally
          stronger in the US than in China, while preorders for the iPhone XR have been
          stronger in China than in the US. We have been tracking iPhone XR preorder
          data in China, and our tracks indicate overall iPhone XR pre-registrations in
          China are ~2 million units for the first three days (Combining 900K+ from
          JD.Com [JD: NR], 600K+ from Suning.Com [002024.SHE: NR], and Chinese
          operator retail channels). iPhone XR pre-orders are similar to iPhone 8/8+
          preorders in China last year, and slightly better than the 1.5 million XS/Max
          preorders in China. This is not a very exciting result. We will continue to
          track pre-order volumes in China, but so far, we believe iPhone XR demand
          may be lower than our previous estimates. We believe Apple will likely




128 “China’s smartphone sales slowdown could hurt Apple’s bottom line, Goldman says,” The Verge, October 15,

2018, available at https://www.theverge.com/2018/10/15/17979004/apple-chinas-smartphone-market-sales-
slowdown-goldman-sachs, accessed on May 21, 2021.
129 AppleInsider is a website that provides news related to Apple and Apple products. (AppleInsider,

https://appleinsider.com/, accessed June 17, 2021)
130 “Apple supply chain wary of reduced iPhone orders for Q4,” Apple Insider, October 16, 2018, available at

https://appleinsider.com/articles/18/10/16/apple-supply-chain-wary-of-reduced-iphone-orders-for-q4, accessed on
July 6, 2021.




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          adjust down its iPhone XR production for November and December by about
          3-4 million units.131
103.    On October 23, 2018, a Yicai Global132 article stated that early sales data show a lack of
enthusiasm from consumers for iPhone XR:

          Apple has reserved most of its initial supply of iPhone XRs for China, which
          signals high hopes for the market despite lackluster pre-sales on the release day
          Sept. 21. The first batch of iPhone XR supply is expected to be at least three
          million units, of which China takes up two million handsets, tech news outlet
          Tencent reported today. The country's first-day pre-sales were less than one
          million, showing a lack of enthusiasm from consumers. Chinese buyers
          preferred domestic brands amid generally slowing handset sales in September,
          as the state-backed China Academy of Information and Communications
          Technology said in a report published on Oct. 15.133

104.    On October 24, 2018, an article in Theflyonthewall.com stated that 20 of the 44
participants surveyed by OTR Global indicated that they expected Apple’s market share to be
down,134 especially in China:

          Apple iPhones receiving mixed feedback from smartphone buyers, says OTR
          Global[.] Analysts at OTR Global noted that Apple’s recently launched
          iPhones are seeing mixed feedback from leading smartphone buyers, reporting
          that 26 of 43 hardware buyers, product managers, heads of distribution and
          management directors polled expect lower Q4 volumes for the new models
          compared to iPhone 8/8 Plus and X in Q4 of last year. 20 of 44 sources see
          Apple’s Q3 market share being down quarter-over-quarter, especially in China
          and Europe, OTR Global added.135




131 “Earnings Preview, iPhone XR Preorders Weaker than Expected, Reducing our XR Shipment Estimates, iPhone

Max Production Increases Expected for the Holiday Season, iPad Pro and New MacBook Production Ramp,”
Rosenblatt, October 22, 2018, p. 1, emphasis added.
132 Yicai Global is the English-language news service of Yicai Media Group, the financial news arm of Shanghai

Media Group, a Chinese media company. (“About Us,” Yicai Global, available at https://www.yicaiglobal.com/about,
accessed on June 1, 2021)
133 “Apple to Send Two-Thirds of 3 Million iPhone XRs to China,” Yicai Global, October 23, 2018.
134 Theflyonthewall consolidates real-time news related to stocks, including “Wall Street research, company

announcements, regulatory filings, market rumors, media reports, and much more,” and whose releases are
distributed through Factiva. (“About the Fly,” TheFlyontheWall, available at http://theflyonthewall.com/about/,
accessed on June 17, 2021); OTR Global is a research company that provides “marketplace and channel intelligence
to institutional investors.” (“Who We Are,” OTR Global, available at https://www.otrglobal.com/who-we-are, accessed
on June 17, 2021).
135 “Apple iPhones receiving mixed feedback from smartphone buyers, says...,” Theflyonthewall.com, October 24,

2018.




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105.    On October 25, 2018, a Barron’s magazine article stated that economic concerns continue
to worsen in the Chinese economy, and this would not be helpful for Apple:

          Despite the rising profit forecasts, the [Goldman Sachs securities] analyst
          reiterated his Neutral rating for Apple's stock due to concerns about China’s
          economy. “Macro data points out of China continued to weaken in October,”
          he wrote. “We find it hard to believe that the weaker consumer environment,
          should it persist, is going to be helpful to Apple.” Earlier this week, Nomura
          Instinet and Rosenblatt Securities also said the cheaper iPhone XR model was
          performing slightly worse than their expectations.136

106.    On October 29, 2018, South China Morning Post, a Chinese print and online newspaper,
released an article stating that Apple was losing some Chinese customers to local brands in a
show of patriotic support in response to the trade war:137

          The Cupertino, California-based company, which failed to attract public
          attention with its flagship iPhone XS debut in China last month due to high
          pricing and innovation issues, is also caught in the middle of the trade war
          between the US and China which has prompted some Chinese buyers to turn to
          local brands in a patriotic show of support.138
107.    The same article stated that crowds at Apple stores for the iPhone XS launch were
smaller than during previous launches:

          When the iPhone XS debuted in China in September, only a handful of people
          queued up outside Apple Stores across mainland China, according to photos
          circulated on social media - in contrast to the large crowds seen at earlier
          iPhone launches in the country.139

108.    Once the baseline of what was already known in the market about the alleged True Facts
is established, any methodology for calculating inflation needs to be able to quantify how, if at
all, the challenged statement affected market expectations of Apple’s future cash flows in the
actual world and how, if at all, a hypothetical disclosure of the alleged True Facts would affect
market expectations in the but-for world. As I discuss below, Dr. Feinstein has not shown that


136 “Apple Earnings May Rise on Better iPhone XS Max Sales -- Barrons.com,” Dow Jones Newswires, October 25,

2018.
137 South China Morning Post describes itself as “Hong Kong’s premier English language newspaper.” (“News

Division,” South China Morning Post, available at https://corp.scmp.com/our-business/news/, accessed on June 23,
2021)
138 “Apple CEO Tim Cook hints at popularity of new lower cost iPhone XR in China,” scmp.com, October 29, 2018.
139 “Apple CEO Tim Cook hints at popularity of new lower cost iPhone XR in China,” scmp.com, October 29, 2018.




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he has a methodology to aggregate analyst views on China into a consensus measure for
valuation purposes in the actual world, much less in the but-for world. The challenge Dr.
Feinstein faces here is that analyst report commentary shows that analysts had a wide range of
views about Apple’s business in Greater China following the alleged misstatement. Both prior to
and immediately following the November 1, 2018 earnings call, some analyst reports expressed
concern, while others expressed optimism, about Apple’s ability to perform in the region.
Furthermore, many analyst reports did not comment on China, while others commented on China
generally, or only reiterated Mr. Cook’s statement about China’s historical growth without
providing any commentary about China’s future growth.
109.    As demonstrated in Exhibit 3, analyst reports indicate that the market had a wide range
of views regarding Apple’s business in Greater China both before and immediately after
November 1, 2018. Dr. Feinstein will have difficulty accounting for the wide range of views, let
alone converting these qualitative views into a quantitative measure of the value impact on the
stock price that reflects the long term impact on expected future cash flows, a challenge I discuss
further at the end of this section. Furthermore, Dr. Feinstein would need to be able to show that
one could determine by how much the views would have been different under a but-for
disclosure of the alleged True Facts. He has not demonstrated that he has tools to perform this
step of inflation analysis.
110.    The alleged misrepresentation on November 1, 2018 was a statement by Mr. Cook in
response to a question from the Bank of America Merrill Lynch analyst, Wamsi Mohan.140 The
analyst published a report the day following the call that lowered the price target and stated that
China had a strong Q3, but that emerging weakness could put pressure on China in the near
future. This report followed the Bank of America Merrill Lynch report three days before the
earnings call where the analyst lowered the iPhone unit forecast due to risk from China.

          October 29, 2018: [W]e lower our iPhone estimates for the Dec quarter and
          for F19 to account for a slowdown in China (double digit unit decline although



140 “Tim, there has been some real deceleration in some of these emerging markets, partly driven by some concerns

around some of the rules the administration is contemplating and partly driven by things that are more specific to
China, for instance, like some of the regulations around gaming. So can you talk about how you see the trajectory
there for the business and what you think of the initiatives of some companies like Netflix and Fortnite trying to
bypass the App Store around subscriptions? And I have a follow-up.” (Q4’18 Earnings Call)




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           ASP drives rev growth) and for broader FX headwinds. … The dollar
           strengthened significantly against the Chinese RMB (Fig 4) at a time when
           iPhone ASPs have increased significantly (Fig 5). During the past cycle of a
           strengthening dollar (2015-2016), China iPhone units declined 20% and
           overall Apple China sales declined 24% y/y (Fig 2).141

           November 2, 2018: Most troublesome near-term trends[:] We are concerned
           by: … (2) China was strong in C3Q but emerging signs of weakness could
           pressure the next few quarters.142
111.    As I discuss above, only new value-relevant information that is unexpected will affect a
company’s stock price in an efficient market. Given the fact that the Bank of America Merrill
Lynch analyst stated that he was aware of potential headwinds in China before the call, and
discussed concerns in China and lowered the price target after the call, it is not clear whether a
hypothetical disclosure of the alleged True Facts would have changed the analyst’s view on
Apple. Dr. Feinstein has not provided a damages methodology that is capable of addressing this
problem.

112.    In another example, a week before the earnings call, the Goldman Sachs analyst report
discussed weakness in the Chinese market, and that Apple would likely provide conservative
guidance for Q1’19:

           October 24, 2018: We continue to believe that China and possibly widening
           consumer weakness represent unit risk for Apple … in the December quarter
           … given market conditions in China and expanding uncertainty around trade
           and macro we believe Apple is likely to lean conservatively on their guidance
           for FQ1 to Dec and to then hope things improve before the critical holiday
           buying season.143

113.    Following the call, the Goldman Sachs analyst report stated that despite Apple’s
discussion of China’s strength in Q4’18, they expected some weakness from China in Q1’19:

           November 1, 2018: The company said they did not see weak consumer
           demand in China in FQ4 but we believe FQ1 guidance may still assume some


141 “Lowering estimates to account for China risk, FX headwinds,” Bank of America Merrill Lynch, October 29, 2018,

p. 1.
142 “Long term winner but near term headwinds, Downgrading to Neutral,” Bank of America Merrill Lynch, November

2, 2018, p. 1.
143 “iPhone Mix Trending Better; Increasing ASPs. China/Macro unit risk remains. Reiterate Neutral,” Goldman

Sachs, October 24, 2018, p. 1.




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           potential for weaker demand there given ongoing macro uncertainty. … While
           Apple indicated China was fine in FQ4 to Sept for them we believe the
           company likely sees some demand risk there in the December quarter.144

114.    Given that Goldman Sachs wrote that the guidance “may still assume” some weakness in
China, Dr. Feinstein would need to provide a methodology that would capture how a disclosure
of the alleged True Facts would affect Goldman Sachs’s expectations, as well as the market
expectations, and hence the stock price.
115.    Additionally, some analyst reports discussed Apple’s Q4’18 growth rate in China without
discussing their views on future performance. For example, Nomura’s discussion of China was
limited:

           We note that sales grew y-y across all regions, with Americas +19%, Europe
           +18% and Greater China +16% y-y.145

116.    In contrast to the Goldman Sachs and Nomura commentary above, analysts from
Bernstein do appear to have specifically referenced Mr. Cook’s statement on Apple’s business in
Greater China in their report following the November 1, 2018 earnings call. A week before the
earnings call, Bernstein wrote that while Apple had seen growth in China historically, non-
Chinese smartphone sales may have deteriorated in calendar Q3’19, and that an escalation in the
trade war could affect Apple:

           Health of China. Greater China represents ~20% of Apple's revenue and has
           grown in each of the past 4 quarters, driven by (1) iPhone and (2) Services,
           which were listed by Apple as the main reasons revenue grew in Greater China
           in the first 9 months of FY18 and in Q1 18 (Exhibit 18). Monthly Chinese
           government data suggests that year-over-year unit demand from non-Chinese
           smartphone manufacturers in the mainland may have decelerated in CQ3 18
           (down -20%+ year-over-year) after four consecutive quarters of relatively flat
           unit demand from foreign OEMs.

           Trade war. Apple is an important staple for both the Chinese and US
           economies … While neither side wants to hurt Apple, it is possible that if the
           trade war escalates, Apple could be collateral damage.146


144 “FQ4’18 Wrap: Guidance weak on EM and FX weakness; ASPs higher,” Goldman Sachs, November 1, 2018, pp.

1, 3.
145 “Implications of Apple’s 4QFY18 results,” Nomura, November 2, 2018, p. 1.
146 “AAPL: Q4 18 Preview - Expect upside to ASPs, but iPhone unit growth in FY 19 most likely to shape investor

sentiment,” Bernstein, October 24, 2018, p. 4, emphasis in original.




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117.     Following the call, an analyst report by Bernstein stated:

             While Apple executives indicated that there was increased macro uncertainty
             in emerging markets, the company did not appear uniquely concerned about
             China, which grew a healthy 16% in Q4 – executives commented to us that
             Apple continues to enjoy a richer mix of higher-priced devices in China,
             suggesting that ASPs for iPhone may have been up 35%+ YoY.147

118.     In addition, Bernstein lowered their FY19 revenue estimate by $7 billion, and lowered
their FY19 EPS estimate by $0.67, citing the Q1’19 guidance as a contributing factor.148 If Dr.
Feinstein were to use the analysis in this Bernstein report, he would need to determine by how
much a but-for disclosure of the alleged True Facts would have changed the analysts’ opinion of
Apple’s business given the Bernstein analysts were already lowering their estimates. Dr.
Feinstein has not explained how he would convert any change in analyst opinion into a
quantitative measure of inflation, either by analyzing the effect on the stock price directly or by
utilizing expected future cash flows as part of a valuation methodology.
119.     Additionally, many analysts did not comment on China or emerging markets in their
reports following the November 1, 2018 earnings call.149 Dr. Feinstein has not provided a
methodology that would allow one to determine how Mr. Cook’s statement affected their view of
Apple’s business in Greater China. Furthermore, during the Putative Class Period, very few
analyst reports provided estimates for iPhone sales in China specifically, which was true before
and after the earnings call as well.
120.     Dr. Feinstein suggests that a damages calculation will “likely depend, in part, on the
completion of discovery and full development of the record in this case.”150 However, Dr.
Feinstein cannot simply assume that discovery would provide estimates of changes of market
expectations in response to alternative disclosures. In fact, Dr. Feinstein fails to explain what


147 “AAPL:    Q4 18 Debrief - How much might iPhone units decline in FY19? The world may never know,” Bernstein,
November 2, 2018, p. 3.
148 “Dec quarter typically a barometer for full year iPhone sales. Lowering FY 19 estimates. Importantly, iPhone units

typically follow a fairly predictable seasonal pattern after the December quarter (Exhibits 9 and 10). The result is that
even after assuming revenues at the very high end of Apple's guidance for FY Q1, and modeling historical unit
seasonality thereafter, our FY 19 revenues fall by $7B (or nearly 3%) to $284B, and our EPS falls by 5% to $13.48.
We suspect more modest declines from consensus (where previous estimates were $281B/$13.64), but believe that
our estimates were more aligned with buyside sentiment and models.” (“AAPL: Q4 18 Debrief - How much might
iPhone units decline in FY19? The world may never know,” Bernstein, November 2, 2018, p. 3)
149 For example, see “Less Revenue and Fewer Disclosures; Lowering Estimates, Target,” BMO Capital Markets,

November 2, 2018; “Apple Reduces Disclosure; Typically Not A Good Sign, ” BTIG, November 1, 2018.
150 Feinstein Report, ¶ 189.




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information could be obtained during discovery that would provide any additional insight into
how the market would react to a but-for disclosure of the alleged True Facts that are explicitly
specified in the Complaint. Dr. Feinstein already has access to publicly available data in the
form of public press, analyst reports, and stock and option pricing and trading data. These
publicly available data provide information that reflects how the market reacted to actual
disclosures by Apple. By comparison, non-publicly available information obtained from Apple
would not include information on how the market would react to the disclosure of the alleged
True Facts since the information is not public. Therefore, it is unclear what Dr. Feinstein hopes
to gain from further discovery in terms of being able to quantify damages in this particular case.
121.     Assuming that Dr. Feinstein can somehow aggregate analyst commentary on near-term
trends of Apple’s business in Greater China into consensus measures for valuation purposes in
both the actual and the but-for world, he would face another challenge. In an efficient market, a
company’s stock price changes with public disclosure of new and unexpected information that
affects future expected cash flows or their discount rate.151 Given that the stock price in an
efficient market reflects expected future cash flows over a long horizon, it would not be
sufficient for Dr. Feinstein to analyze analyst commentary about near-term trends in Apple’s
business in Greater China to make conclusions about how the stock price would be affected.
Instead, Dr. Feinstein would need to determine how market consensus would be affected in the
long-term by a hypothetical disclosure of the alleged True Facts during the Putative Class Period.
Dr. Feinstein fails to demonstrate that he has tools to convert any change in market consensus
following a but-for disclosure of the alleged True Facts into the amount of inflation in the stock
price.



                       b)      Dr. Feinstein fails to demonstrate that his proposed set of
                               valuation tools can measure the impact on inflation of the but-




151 See fn. 103.




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                                 for disclosure of the alleged True Facts after the start of the
                                 Putative Class Period.

122.      As I discussed below, Dr. Feinstein would continue facing challenges in applying
unspecified valuation tools to analyze inflation after the start of the Putative Class Period. This
section starts with showing that the mix of information in the market changed over the Putative
Class Period. One example of this change is that market participants analyzed third party data
and information to understand Apple’s business in Greater China as the Putative Class Period
progressed. This section proceeds with demonstrating that, by the January 2, 2019 alleged
corrective disclosure date, information regarding each of the alleged True Facts was discussed by
market participants. It concludes with discussing Dr. Feinstein’s failure to demonstrate that his
proposed set of valuation tools can measure the impact on inflation of the but-for disclosure of
the alleged True Facts, given the extensiveness of the other information in the market throughout
the Putative Class Period.
123.      During the Putative Class Period, securities analysts relied on a variety of methods to
understand the state of Apple’s business in Greater China, such as reviewing delivery times for
the iPhone, analyzing the iPhone supply chain, reviewing third-party sales data, and analyzing
search engine results. As I demonstrate below, analysts state that these methods provided insight
into the challenges that Apple was facing with iPhone sales in China during the Putative Class
Period.
124.      For example, a Raymond James analyst report on November 6, 2018 included analysis of
delivery times during the iPhone XR launch, discussing concerns about the short delivery times:

           Similarly, we’ve been concerned about the short delivery times during the
           iPhone Xr preorders – customers never had to wait for a phone from preorders
           until launch, and that’s the first time that’s ever happened.152
125.      A Guggenheim analyst report on November 14, 2018 included analysis of the Apple
supply chain, stating that supplier cuts indicated that the risk of even softer iPhone demand was
growing, with downside in China:

           Following early supply-chain cuts, exemplified by Corning’s (GLW) softer
           Q4E Gorilla Glass guide back in Oct, and now 3D sensing laser supplier


152 “Semi Mailbag: Apple Rundown Edition," Raymond James, November 6, 2018, p. 1.




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          Lumentum (LITE) and LCD supplier Japan Display (6740-TKS) both warning
          just this week, we now estimate iPhone units -5%Y/Y in FY19E vs. flat Y/Y in
          FY18, BUT unlike last year do NOT see ASP increases providing enough
          offset, with our forecast that blended iPhone ASPs increase only +3%Y/Y,
          leaving iPhone revenues -2%Y/Y. Moreover, we see growing risk of even
          softer iPhone unit demand, with downside in China, India and other emerging
          markets, where Apple may need to start considering lower price points.153
126.    A JL Warren analyst report on November 20, 2018 discussed lower than expected iPhone
XR sales in China, and that retailers were offering discounts on the iPhone XR:

          We believe that much of the XR unit built and shipment cuts in CQ4 is being
          driven by the lower than expected sales in China … We are seeing retail
          discounts ranging from []4% to 6% for iPhone XR right out of [the] gate being
          offered by online third party sellers on JD and Taobao, as well as by Chinese
          telecom carriers. As a comparison, during the same window after the launch
          last year, iPhone X was sold at 1-3% premium by the same group of online
          resellers … After ~10mm unit cut in XR sales over past couple of weeks, XR
          is estimated to be ~42% CQ4 2018/FQ2 2019 total sales.154

127.    A Morgan Stanley analyst report on December 7, 2018 provided charts with third-party
data from IDC, and stated that the lengthening of the iPhone replacement cycle in China was
more pronounced than other geographies.155
128.    A Longbow analyst report on December 7, 2018 included analysis on Baidu search
results, stating that weak Baidu search results suggested that weak demand in China was
contributing to the declining iPhone orders:

          The drivers of the declining iPhone orders are not 100% clear, but weaker
          China demand appears to be a component. November Baidu iPhone searches
          (p. 2 with 0.83 correlation to China iPhone shipments) fell -53% year over year
          (2-year stacked +14%) post a -55% decline for October (2-year stacked -
          23%).156

129.    Again, Dr. Feinstein provides no baseline of what the market already knew about the
alleged True Facts at each point of the Putative Class Period, a necessary first step for any


153 “AAPL – Downgrade to NEUTRAL as ASPs No Longer Enough,” Guggenheim, November 14, 2018, p. 1.
154 “iPhone XR Cuts; India Production for the US Shipments,” JL Warren, November 20, 2018, p. 1.
155 “China Smartphone Market to Blame for Weak iPhone Data; Wearables and Services Provide an Offset,” Morgan

Stanley, December 7, 2018, pp. 1, 3.
156 “AAPL (NEUTRAL):  Forecasting a 3% FY19 iPhone Shipment Decline as Outlooks Remain Fluid,” Longbow
Research, December 7, 2018, p. 1.




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methodology for calculating inflation. Dr. Feinstein also has not shown that he has a
methodology to aggregate analyst views on China into a consensus measure for valuation
purposes in the actual world, much less in the but-for world throughout the Putative Class
Period. His challenge is amplified with the passage of time. Plaintiff’s theory of liability
assumes that the stock price declines on the alleged corrective disclosure dates revealed the truth
that Mr. Cook allegedly withheld on November 1, 2018 by not disclosing the three alleged True
Facts. However, prior to and during the Putative Class Period, I have identified a number of
public press articles and analyst reports that discussed each of the three alleged True Facts,
indicating that many participants in the market acknowledged that these were challenges Apple
was facing during the quarter. I provide examples of analyst reports and public press discussing
the alleged True Facts below.

                                (1)    Alleged True Fact #1 – Trade tensions and economic
                                       conditions in China

130.     Plaintiff alleges that Mr. Cook concealed that “the U.S.-China trade tensions and
economic conditions in China were negatively impacting sales and demand for Apple products,
particularly iPhones.”157 However, a number of public press articles and analyst reports
discussed the trade tensions and economic conditions in China and their impact on Apple’s
business in Greater China and iPhone sales.
131.     Section VII.B.3.a above provides examples of such discussion prior to the start of the
Putative Class Period. For instance, on October 16, 2018, an AppleInsider article stated that
smartphone shipments for Q4’18 were already decelerating due to the trade war.158 On October
25, 2018, a Barron’s magazine article stated that economic concerns continue to worsen in the
Chinese economy, and this would not be helpful for Apple.159 On October 29, 2018, a South
China Morning Post article stated that Apple was losing some Chinese customers to local brands
in a show of patriotic support in response to the trade war.160




157 Complaint, ¶ 24.
158 See ¶ 101.
159 See ¶ 105.
160 See ¶ 106.




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132.    Additionally, on November 12, 2018, a Dow Jones Institutional News article reported
that J.P. Morgan lowered its earnings estimate for Apple due to weaker a weaker macro-
economic environment in countries like China, which was driving softer consumer confidence:

          Shares of Apple Inc. (AAPL) fell 0.7% in premarket trade Monday, after J.P.
          Morgan cut its earnings estimates on the technology giant, citing new forecasts
          for modest declines in iPhone shipments for this year and next. Analyst Samik
          Chatterjee cut his stock price target, for the second time this month, to $266
          from $270, but kept his rating at overweight. He said the lower earnings
          outlook is because of a weaker macro-economic environment in emerging
          markets, such as China, which is driving softer consumer confidence in certain
          countries, and a stronger U.S. dollar, which is making iPhones more expensive
          in foreign currencies.161
133.    On November 12, 2018, an article on AppleInsider162 reported that the TF Securities
analyst cut iPhone XR expectations by 30% on concerns that weak consumer confidence and a
possible trade war could impact demand:

          Ming-Chi Kuo has cut expectations for sales of the iPhone XR for the next
          year by 30 percent to 70 million, based on a possibility of a trade war with
          China, and other factors possibly weighing on sales … Ming-Chi Kuo of TF
          Securities has advised investors that there are three factors that are holding
          down iPhone XR demand world-wide. The first, blanket, reason is the
          negative impact on consumer confidence that a possible trade war could have,
          particularly in the Chinese market.163
134.    On December 12, 2018, a South China Morning Post164 article stated that the trade war
was pushing some Chinese customers to local brands as a result of nationalist sentiment:

          A mainland court order instructing Apple to stop sales of some []iPhones in the
          country raises the ante for the United States technology giant in one of its
          biggest markets amid revenue pressures and []declining smartphone growth
          globally … The court order comes amid the ongoing US-China trade war and


161 “Update: Apple's Stock Slips After J.P. Morgan Trims Price Target Again -- MarketWatch,” Dow Jones Institutional

News,” November 12, 2018.
162 AppleInsider is a website that provides news related to Apple and Apple products. (AppleInsider,

https://appleinsider.com/, accessed on June 17, 2021)
163 “iPhone XR sales estimates slashed by Ming-Chi Kuo, as trade war headwinds swirl,” Apple Insider, November

12, 2018, available at https://appleinsider.com/articles/18/11/12/iphone-xr-sales-estimates-slashed-by-ming-chi-kuo-
similar-to-his-iphone-x-prognostications, accessed on July 6, 2021.
164 The South China Morning Post is a news media company based in Hong Kong that reports on China and Asia.

(“About Us,” South China Morning Post, available at https://corp.scmp.com/about-us/, accessed on June 21, 2021)




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          rising nationalist sentiment among mainland consumers, with more turning to
          local smartphone brands such as Huawei.165
135.    On December 23, 2018, a Digit166 article stated that the trade war was impacting Apple in
China, “one of [their] most lucrative markets:”

          Canadian authorities had earlier detained Huawei CFO Meng Wanzhou at the
          behest of American authorities … While the politicians resort to their own
          methods of settling the matter, companies in China are offering incentives to
          those employees who choose to buy Huawei smartphones instead of iPhones.
          It was inevitable that the trade war between the United States and China would
          come to impact Apple, which has its biggest manufacturing unit in China not
          to mention, one of the most lucrative markets.167

                                   (2)      Alleged True Fact #2 – Declining traffic in Greater
                                            China and smartphone industry contraction

136.    Plaintiff alleges that Mr. Cook concealed that “the Company had already begun to see
declining traffic in Apple’s retail stores and those of its channel partner stores in Greater China,
and reports of an overall contraction of the smartphone industry.”168 However, a number of
public press articles and analyst reports discussed declining store traffic and sales and their
impact on Apple’s business in Greater China and iPhone sales.
137.    Section VII.B.3.a above provides examples of such discussion prior to the start of the
Putative Class Period. For instance, on October 15, 2018, an article from The Verge stated that
consumer demand for smartphones was declining and could impact Apple.169 On October 23,
2018, a Yicai Global article stated that early sales data show a lack of enthusiasm from
consumers for iPhone XR.170 On October 29, 2018, a South China Morning Post article stated
that crowds at Apple stores for the iPhone XS launch were smaller than during previous
launches.171


165 “Qualcomm suit threatens iPhone sales in China,” South China Morning Post, December 12, 2018.
166 Digit is an Indian technology magazine that provides information about technology and gadgets. (“Who Is Digit

and What Do We Do?,” Digit, available at https://www.digit.in/about-us/, accessed on June 21, 2021)
167 “Apple could cut iPhone production yet again with the iPhone XR to take the biggest hit,” Digit, December 23,

2018.
168 Complaint, ¶ 24.
169 See ¶ 100.
170 See ¶ 103.
171 See ¶ 107.




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138.    Additionally, on November 2, 2018, a CNET172 article highlighted Strategy Analytics and
IDC reports, which discussed a declining worldwide smartphone market, with IDC pointing to
China as one of the key factors behind the decline:

          The worldwide smartphone slump is officially a year old. Global shipments of
          smartphones tumbled to 360 million units in the third quarter, an 8 percent
          annual decline, market researcher Strategy Analytics said Thursday. The
          results mark the fourth-straight quarter that smartphone shipments have
          declined … [M]arket researcher IDC issued its own numbers for the third
          quarter, which largely match those of Strategy Analytics. It pointed to China,
          the world’s largest market for smartphones, and to Samsung as key factors in
          the decline for the period.173
139.    On November 9, 2018, Dow Jones Industrial News reported that Skyworks Solutions, a
wireless chip maker, provided disappointing December quarter sales guidance due to a
conservative stance on iPhone units and China:

          Wall Street analysts believe weaker than expected iPhone demand is hurting
          Skyworks Solutions (SWKS). The wireless chip maker’s stock was down
          8.6% to $76.25 on Friday, after it gave a December quarter sales guidance
          range of $1.01 billion at the midpoint versus $1.07 billion Wall Street
          consensus, according to FactSet. … “We are trimming our 2019 model due to a
          more conservative stance on iPhone units and China over the next couple of
          quarters,” [the D.A. Davidson analyst] wrote Friday. “High-end smartphone
          unit softness and geopolitical uncertainty continues to be an overhang for
          SWKS and its peers.” The company makes radio frequency semiconductors,
          which enable smartphones to communicate with wireless networks. It is
          widely believed by industry analysts that Apple is Skyworks' large customer,
          accounting for 35% to 40% of its annual revenue.174
140.    On November 14, 2018, a Dow Jones Institutional News article stated that UBS and
Guggenheim securities analysts lowered their price target/rating, with UBS stating that
consumers were opting for Chinese smartphones instead of the iPhone XR:



172 CNET is a media website that reports on technology, culture and science.(“About Us,” CNET, available at
https://www.cnet.com/about/, accessed on June 23, 2021)
173 “Global smartphone shipments post fourth straight down quarter,” CNET, November 2, 2018, available at

https://www.cnet.com/news/global-smartphone-shipments-post-fourth-straight-down-quarter/, accessed on June 30,
2021.
174 “Analysts Blame iPhone Demand for Apple-Supplier Skyworks' Gloomy Forecast -- Barrons.com,” Dow Jones

Institutional News, November 9, 2018.




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            Apple falls 1.75% as Wall Street analysts turn bearish on the company’s
            prospects over the next year. UBS cuts its target for Apple to $225 from $240,
            and Guggenheim downgrades the company to neutral. Both firms point to
            weak demand for the iPhone XR. UBS says its analysis of the supply chain
            shows many consumers in China were opting for high-end models from
            Chinese smartphone companies rather than the XR.175
141.       On November 16, 2018, a Cleveland Research analyst report stated that a portion of the
iPhone XR sale weakness was due to weak smartphone market conditions:

            Work suggests growth of the iPhone installed base, with a portion of the weak
            XR sales opting for older iPhones, and some other portion of the weakness
            attributable to weaker market conditions for smartphones.176
142.       On November 20, 2018, a Central News Agency English News177 article attributed the
iPhone XR weakness to reduced shipments to China:

            “Apple is a very important client to Hon Hai,” Concord Securities analyst
            Kerry Huang said. “It was no surprise that the report on the order reduction for
            the new iPhones prompted investors to dump the stock and other Apple
            suppliers in Taiwan.” The Wall Street Journal reported Monday that due to
            weaker than expected demand for the three new iPhones, which were unveiled
            in September, Apple has cut orders to its suppliers, in particular for the more
            affordable iPhone XR model, in recent weeks. “I think the weaker than
            expected demand for the new iPhones came from lower shipments to China,
            dealing a big blow to Apple and its suppliers like Hon Hai,” Huang said.178
143.       On December 25, 2018, a Yicai Global179 article stated that Apple iPhone sales were
falling:

            American smartphone maker Apple is offering special trade-in discounts on its
            latest handsets in China as it looks to compete harder against rising domestic
            brands. … “Apple is facing fierce competition around the world … The


175 “Apple Falls Further As Wall Street Sounds Alarm on iPhone XR -- Market Talk,” Dow Jones Institutional News,

November 14, 2018.
176 “AAPL: Reducing iPhone Units by 10M in FY19 – Hearing ~20M Decline in XR Units & 10M Increase to Legacy

Units,” Cleveland Research, November 16, 2018, p. 2.
177 Central News Agency (CNA) English News is the English platform of Central News Agency, a news agency of the

Republic of China (ROC) (Taiwan). (“About Focus Taiwan (CNA English News),” CNA English News, available at
https://focustaiwan.tw/aboutus, accessed on June 17, 2021)
178 “Hon Hai shares tumble on iPhone order cut report,” Central News Agency English News, November 20, 2018.
179 Yicai Global is the English-language news service of Yicai Media Group, the financial news arm of Shanghai

Media Group, a Chinese media company. (“About Us,” Yicai Global, available at https://www.yicaiglobal.com/about,
accessed on June 1, 2021)




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           company noticed sales falling over the past two years so increased prices, but
           with the growth of Chinese brands, sales have declined further and Apple can’t
           sustain its profit levels with high prices.”180

                                    (3)       Alleged True Fact #3 – Supplier Cuts181

144.     Plaintiff alleges that Mr. Cook concealed that “the Company had already, or was
preparing to, cut iPhone production at multiple manufacturers and reduce orders from its largest
suppliers of iPhone components for the current quarter and holiday season.”182 However, as
Plaintiff alleges, the market was made aware that Apple had cut production at multiple suppliers
based on the November 5, 2018 and November 12, 2018 alleged corrective disclosures.183
Moreover, public press discussed additional cuts at suppliers.
145.     For example, as I show in Section VII.B.3.a, already on October 22, 2018, before the start
of the Putative Class Period, a Rosenblatt report stated that Rosenblatt was expecting Apple to
lower iPhone XR production for November and December.184
146.     Additionally, on November 5, 2018, Yicai Global185 reported the order cut for major
Apple suppliers like Foxconn and Pegatron, as well as suspended production from various
iPhone parts suppliers:
         Apple has slashed its iPhone XS/MAX orders from Foxconn by 10 percent while another
         Taiwan-based supplier Pegatron also suffered a 10 percent order loss on the iPhone XR,
         according to Mobile No. 1 Research Institute, a Chinese website focusing on research of
         the mobile phone industrial chain. Foxconn, the world's largest contract electronics
         manufacturer, which relies heavily on Apple, may be the first to be impacted.

         [i]Phone parts suppliers also face a bleak period. Some have even suspended production
         temporarily in the first quarter since orders for parts of the iPhone X, iPhone 8 and
         iPhone 8 Plus were 15 to 30 percent lower than expected. Some upstream supply chain
         manufacturers who produce memory chips, camera modules, and 3D sensor modules for



180 “Apple Hikes Trade-In Value of Older Handsets to Spur China Sales,” Yicai Global, December 25, 2018.
181 As I discuss in ¶ 11, I understand that the Alleged True Fact #3 does not relate to the challenged statement.

Nevertheless, even if alleged True Fact #3 were related to the challenged statement, by the January 2, 2019 alleged
corrective disclosure date, information regarding alleged True Fact #3 was discussed by market participants.
182 Complaint, ¶ 24.
183 Complaint, ¶¶ 98–104.
184 See ¶ 102.
185 Yicai Global is the English-language news service of Yicai Media Group, the financial news arm of Shanghai

Media Group, a Chinese media company. (“About Us,” Yicai Global, available at https://www.yicaiglobal.com/about,
accessed on June 1, 2021)




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        iPhones have also been asked to control their inventory to tackle the impact of declining
        orders.186

147.    On November 5, 2018, AppleInsider187 reported the production cut at iPhone’s assembly
partners:
        Apple, after seeing allegedly poor demand for the iPhone XR, has reportedly told
        assembly partners Foxconn and Pegatron to stop any preparations the firms are making
        for new smartphone production lines specifically for the recently-launched model …
        While the manufacturing of major products could prompt an expansion of production to
        cope with increased demand, similar plans to do the same for the new iPhone are said to
        have been scrapped … Third iPhone assembly partner Wistron was also previously asked
        to stand in for a rush of orders if necessary, but the supply chain source suggests no
        orders will be provided to the company over the holidays.188

148.    On November 6, 2018, Central News Agency189 reported the disappointing sales figures
for an Apple camera lenses supplier amid the concerns of lower than expected global demand for
the new iPhone models:
        Shares of Largan Precision Co., a supplier of smartphone camera lenses to Apple Inc.,
        plunged Tuesday morning after the company reported disappointing sales figures for
        October, usually the peak season for the global high-tech sector, dealers said. The sell-
        off suffered by Largan spread to other Taiwanese suppliers to Apple amid rising concerns
        of lower than expected global demand for the new iPhone models unveiled in September
        that could push down shipments … Apple accounts for about 40 percent of Largan’s total
        sales … Largan anticipated that sales could continue to fall in November as some of its
        clients are cutting back their orders.190

149.    On November 7, 2018, Global Times191 wrote about the alleged production line cut for
iPhone XR:




186 “China’s Sluggish New iPhone Sales May Force Layoffs at Foxconn,” Yicai Global, November 5, 2018.
187 AppleInsider is a website that provides news related to Apple and Apple products. (AppleInsider,

https://appleinsider.com/, accessed on June 17, 2021)
188 “iPhone XR demand reportedly forcing Apple to cut production expansion plans,” Apple Insider, November 5,

2018, Malcolm Owen, November 5, 2018, available at https://appleinsider.com/articles/18/11/05/iphone-xr-demand-
reportedly-forcing-apple-to-cut-production-expansion-plans, accessed on July 6, 2021.
189 Central News Agency (CNA) English News is the English platform of CNA, a leading news agency of the Republic

of China (ROC) (Taiwan). (“About Focus Taiwan (CNA English News),” CNA English News, available at
https://focustaiwan.tw/aboutus, accessed on June 21, 2021)
190 “Largan dives; selling spreads to other ‘Apple concept stocks’,” Central News Agency English News, November 6,

2018.
191 Global Times is an English-language Chinese newspaper. (“About Us,” Global Times, available at

https://www.globaltimes.cn/about-us/, accessed on June 22, 2021)




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        Apple Corporation has reportedly told its major smartphone assemblers in China to cut
        down production lines for the new iPhone XR. The decision comes after the company’s
        smartphone global shipments in the third quarter almost stayed the same year-on-year.192

150.    On November 12, 2018, Dow Jones Newswire Chinese (English) confirmed the alleged
production cut from Apple suppliers:
       [According to Longbow Research,] checks with Apple suppliers last week revealed order
       cuts of 20% to 30% for the iPhone XR and XS Max, while older iPhone models such as
       the 8 and the 8 Plus had order increases of 20% to 25% … the cuts on the XR and XS
       Max represent a reduction of more than 12 million units, while the production increase on
       older models is more than 3 million units.193

151.    On November 12, 2018, Reuters reported the warnings issued by many iPhone suppliers
regarding the weakness in iPhone sales:
        [T]hree suppliers issued warnings on results that pointed to weakness in iPhone sales …
        Lumentum Holdings Inc [], the main supplier of the Face ID technology in the latest
        generation of iPhones, cut $70 million off its forecasts for revenue … Screen maker
        Japan Display Inc [] cited lower smartphone demand in cutting its own outlook, while
        British chipmaker IQE Plc [] also said it expects a material reduction in its financial
        performance in the current year.194
152.    On December 4, 2018, an Oppenheimer analyst report stated that the production cuts
were “widely publicized” and that the “iPhone weakness has been well established:”

          Investors may be surprised by the magnitude [of Cirrus Logic’s revenue
          revision]; however, iPhone weakness has been well established over the past
          few weeks as fellow Apple suppliers have reduced estimates. … Apple (82%
          of revs) remains CRUS’s flagship customer. Widely publicized iPhone
          production cuts have echoed through the Apple supply chain.195

153.    In summary, Dr. Feinstein needs to demonstrate that his proposed set of valuation tools
can measure the impact on inflation of the but-for disclosure of the alleged True Facts, given the
extensiveness of the information in the market throughout the Putative Class Period. However,
Dr. Feinstein has not addressed this information at all, nor has he explained which valuation
tools are capable of performing the but-for valuation analysis.


192 “Apple reportedly cuts production line plans for iPhone XR to maintain revenue growth,” Global Times, November

7, 2018.
193 “Apple Is Slashing iPhone Production Orders for Its New Models, Analyst Says -- Barrons,” Dow Jones Newswires

Chinese (English), November 12, 2018.
194 “Apple shares drop on iPhone suppliers’ warnings,” Reuters News, November 12, 2018.
195 “The Apple Continues Biting Back,” Oppenheimer, December 4, 2018, p. 1.




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VIII. Dr. Feinstein has Failed to Demonstrate that Each Relevant Apple Option Traded in
      an Efficient Market during the Putative Class Period

154.     In this section, I describe Dr. Feinstein’s analysis of Apple options and show why he has
failed to demonstrate that the options traded in efficient markets. First, in Section VIII.A, I
provide an overview of equity options and discuss market efficiency in the context of equity
options. In Section VIII.B, I provide an overview of Dr. Feinstein’s analysis of market
efficiency for Apple options. In Section VIII.C, I discuss why Dr. Feinstein’s analysis and
conclusions regarding the option market in aggregate is inappropriate, given the substantial
differences between individual options that traded during the Putative Class Period. In Section
VIII.D I discuss Dr. Feinstein’s analysis of Cammer factors 1–4 and Krogman factors and show
that contrary to Dr. Feinstein’s assertions, his conclusions based on these factors do not apply to
all Apple options.196 Lastly, in Section VIII.E, I discuss Dr. Feinstein’s analysis of the fifth
Cammer factor and show why it fails to demonstrate that individual options responded to new,
value-relevant information about Apple.

         A.        Overview of Equity Options

                   1.       Option Characteristics

155.     Options are derivative securities that give the option purchaser the right to buy or sell a
particular underlying asset at a pre-specified price during a particular period in time, in exchange
for an upfront payment.197 The option purchaser is not obligated to buy or sell the underlying
asset, however, and can choose not to exercise the right to buy or sell if it is not advantageous.198
The option seller (or writer) takes the other side of the transaction, receives the upfront payment,
and is obligated to buy or sell the asset at the pre-specified price if the purchaser chooses to
exercise the option.199 Often the underlying asset is a share of a particular common stock, such




196 I consider the set of Apple options that, I understand, would be potentially eligible to be a part of the class in this

matter as those that expired after the first alleged corrective disclosure date, November 5, 2018, and had trading
volume greater than zero during the Putative Class Period (the “Relevant Options”).
197 John C. Hull, Options, Futures, and other Derivatives, Eighth Edition (Boston, MA: Prentice Hall, 2012) (“Hull”), p.

194.
198 Hull, p. 194.
199 Hull, p. 196.




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as Apple in this instance. For the Apple options at issue here, one option contract confers the
right to buy or sell 100 shares of Apple stock.200
156.      There are two types of options relevant to this case, calls and puts.201 Calls provide the
option purchaser the right to buy the underlying asset at the pre-specified price, while puts
provide the right to sell the underlying asset at the pre-specified price.202
157.      The pre-specified purchase or sale price is called the “strike price” or “exercise price.”203
Options can be distinguished by whether it would be advantageous for the purchaser to exercise
the option at the current level of the underlying stock price. A call option is “in-the-money” if
the underlying stock price is greater than the strike price, “at-the-money” if the stock price and
strike price are equal, and “out-of-the-money” if the stock price is less than the strike price.204
By contrast, a put option is “in-the-money” when the underlying stock price is less than the strike
price, “at-the-money” if the stock price and strike price are equal, and “out-of-the-money” if the
stock price is greater than the strike price.205
158.      Options have a “maturity date” or “exercise date,” which defines when the option can be
exercised.206 The two most common types of equity options are “European” and “American”
options. European options can only be exercised at the maturity date, whereas American options
can be exercised at any time up to or on the maturity date.207 The Apple options in this matter are
American options.208
159.      An option’s value depends on six factors: the current price of the underlying stock, the
strike price of the option, the time to maturity, the volatility of the underlying stock price, the
risk-free rate, and any expected dividends.209 Changes in any of these factors over time can
affect the value of an option. All else equal, an option (either a call or a put) becomes more




200 Hull, pp. 199–200.
201 Hull, p. 194.
202 Hull, p. 194.
203 Hull, p. 194.
204 Hull, p. 201.
205 Hull, p. 201.
206 Hull, p. 194.
207 Hull, p. 194.
208 Hull, pp. 199–200.  Dr. Feinstein’s data indicates the style of all options in his analysis is “A,” which indicates that
the options are American (EXP_FEINSTEIN000001.XLSX; “IVolatility US Historical Intraday Options/Stocks Data
Guide,” IVolatility.com).
209 Hull, p. 214.




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valuable when the volatility of the underlying stock price increases because the option is more
likely to end up in the money when volatility is higher.210
160.      A unique combination of option type (call or put), strike price, and maturity date defines
an “option series.”211 Options can provide a wide range of payoffs to investors, depending on
whether the option is a call or a put, the strike price of the option, and the option’s maturity date.
As a result, different investors will choose to trade in different option series based on the nature
of the payoffs and the investors’ investment goals and trading strategies.
161.      For example, suppose the current stock price is $100, and consider a call with a strike
price of $150 and a maturity of one month. This call allows an investor to bet that the stock
price will increase substantially in the near future, as the call only pays out if the stock price ends
up above $150, which is typically unlikely. Because it is unlikely that the stock price will rise
that quickly, the investor will be able to purchase the call for a low price and will realize a
substantial return in the event that the stock price does exceed $150. If the stock price does not
exceed $150, then the call becomes worthless and the investor loses the entirety of the call’s
purchase price.
162.      Suppose instead that the stock price is $100 and the investor purchases a put with a strike
price of $100 and a maturity of one year. Because the stock price is near the strike price and the
maturity is long, it is more likely that the option will end up in the money and will be
exercisable. This means that the put option has more value now, and the investor will pay more
to purchase it. The higher cost is justified because the put provides a greater payoff to the
investor in the event that the stock price declines from its current level.


                    2.   Put-Call Parity

163.      The value of call and put options of a given strike price and maturity are connected to the
underlying stock price by a relationship called “put-call parity.” In the case of European options,
which can only be exercised at the maturity date, a combination of a long position in a call
option, a short position in a put option with the same maturity and strike price, and a cash



210 Hull, p. 215–216.
211 Hull, p. 201.




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position equivalent in value to the strike price at the maturity date will lead to a payoff structure
that exactly matches that of the underlying stock.212 Because the payoffs from owning the stock
are the same as the payoffs from owning a portfolio of the call position, put position, and cash,
the value of the call and put are linked to that of the underlying stock price. If put-call parity
does not hold and trading costs are low, it is possible for investors to make a risk-free profit by a
combination of buying and selling the call, put, and stock and borrowing or lending cash.
164.     For American options, which can be exercised at any point up to the maturity date instead
of only at the maturity date, the put-call parity relationship no longer holds. Instead, American
put-call parity implies a range of valid prices for the call and put options.213 This range provides
an upper and lower bound on a combination of the call and put prices such that there are no
opportunities to make risk-free profits from buying and selling the call, put, and underlying
stock.214


                   3.       Market Efficiency of Equity Options


165.     The concept of market efficiency discussed in Section VI.A applies equally to Apple
stock and to each of the Apple option series. In other words, the market for an option is efficient
if the price of the option rapidly and fully reflects new, value-relevant information as a result of
investor competition to take advantage of perceived mispricing.
166.     As described above in Section VIII.A.1, options are securities with different
characteristics, such as different payouts and riskiness, from the underlying common stock.
Furthermore, because options are derivative securities, their value is dependent on other factors,
such as stock price volatility and interest rates, in addition to the price of the underlying common
stock.215
167.     Consequently, because of these differences between options and stock, market efficiency
for the Apple stock does not automatically translate into market efficiency for the option

212 Hull, p. 221–222.   This assumes that the stock does not pay dividends prior to the options’ maturity date. In the
case of a dividend-paying stock, put-call parity still holds, but the cash position also reflects the value of the dividends
expected to be paid during the options’ life.
213 Hull, p. 224.
214 For American put-call parity on a stock that pays dividends, such as Apple, the call price less the put price must be

greater than or equal to the stock price less the strike price less the present value of dividends paid during the
options’ life, and the call price less the put price must also be less than or equal to the stock price less the present
value of the strike price. (Hull, p. 224)
215 See Section VIII.A.1; Hull, p. 214.




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markets. It is possible that the market for a stock is efficient, while markets for options on the
stock are not. Furthermore, there can be hundreds of unique option series for a particular
company (as is the case for Apple during the Putative Class Period), and while some of those
options may have traded efficiently, others may not. Therefore, it is important for Plaintiff to
demonstrate that each individual Apple option traded in an efficient market throughout the
Putative Class Period.

         B.       Summary of Dr. Feinstein’s Options Efficiency Analysis

168.     In his report, Dr. Feinstein purports to analyze market efficiency for Apple options by
reviewing the Cammer and Krogman factors specifically for the options. Dr. Feinstein claims
that “the Apple options satisfy all of the Cammer and Krogman factors, aside from the bid-ask
spread factor, which results were mixed, indicating market efficiency.”216
169.     Regarding Cammer factors 1–4 and the Krogman factors, Dr. Feinstein asserts that all of
these factors except bid-ask spreads are supportive of a finding of market efficiency. In
particular, for the Cammer factors, Dr. Feinstein finds that in total across all Apple options,
average daily trading volume was approximately 676,000 contracts, which he claims “represents
trading in 67.6 million shares of the Apple stock.”217 Dr. Feinstein claims that analyst coverage
of Apple stock “served the Apple options market by disseminating and digesting” information
about the company.218 Regarding market makers, Dr. Feinstein could not find information about
the number of option market makers. Instead, he claims that because the options were exchange-
listed, they should be presumed to be efficient.219 Finally, Dr. Feinstein asserts that Apple’s
eligibility to file SEC Form S-3 means that participants in the option markets could also access
Apple’s financial information.220




216 Feinstein Report, ¶ 148. Based on my review of Dr. Feinstein’s report, he has conducted his analysis of the

Cammer 1–4 and Krogman factors on all options that traded during the Putative Class Period. This set includes
options that expired prior to the first alleged corrective disclosure date, which I understand would not be eligible to
form part of the class. For the purposes of my analysis of the Cammer 1–4 and Krogman factors, I focus only on the
Relevant Options. See ¶ 174.
217 Feinstein Report, ¶ 151.
218 Feinstein Report, ¶ 149.
219 Feinstein Report, ¶¶ 153–154.
220 Feinstein Report, ¶ 150.




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170.      For the Krogman factors, Dr. Feinstein does not discuss market capitalization or float for
the Apple options but instead claims that average daily open interest, the quantity of outstanding
options contracts, was 3.8 million contracts, which reference 376.9 million shares or $66.6
billion of Apple stock.221 Last, for bid-ask spreads, Dr. Feinstein finds that the average
percentage bid-ask spread for Apple options was 12.9%.222 Dr. Feinstein also compares the
average option dollar bid-ask spread to the price of Apple stock and finds that as a percent of the
average stock price, the average option bid-ask spread is 0.17%.223
171.     For the fifth Cammer factor, instead of directly testing whether option prices incorporated
new, value-relevant information about Apple, Dr. Feinstein instead constructs a “timeseries of
synthetic stock prices” based on option prices.224 This “synthetic stock price” is derived using
the assumption that the option prices satisfy the put-call parity relationship for European
options.225 Dr. Feinstein calculates synthetic stock bid and ask prices from option prices for each
combination of option strike price and maturity, then takes an arithmetic average across all of the
individual synthetic stock bid and ask prices on a given day for call and put option pairs where
both options have non-zero trading volume to generate an average synthetic stock bid and ask
price. In conducting this analysis, Dr. Feinstein omits option pairs where one or both options
have zero trading volume.226 Once Dr. Feinstein has these average synthetic stock bid and ask
prices, he again takes an arithmetic average of the daily bid and ask prices to arrive at one final
synthetic stock price for each day.227
172.     Dr. Feinstein then performs an event study regression analysis of the synthetic stock price
to determine the set of dates on which the synthetic stock “return” was statistically significant.228
Finally, Dr. Feinstein applies a “collective test” to measure whether a statistically significant
synthetic stock price reaction was more frequently observed on the four earnings announcement
days (February 2, 2018, May 2, 2018, August 1, 2018, and November 2, 2018) relative to all


221 Feinstein Report, ¶ 152.
222 Feinstein Report, ¶ 157.
223 Feinstein Report, ¶ 157.
224 Feinstein Report, ¶ 162.
225 Feinstein Report, ¶¶ 162, 164–165. The formulas Dr. Feinstein uses to create his synthetic stock price are

identical to the put-call parity formula Hull provides for European options, and not the formula Hull provides for
American options. (Feinstein Report, ¶¶ 164,165; Hull, pp. 230, 231)
226 Feinstein Report, ¶ 166.
227 Feinstein Report, ¶ 166.
228 Feinstein Report, ¶¶ 166–167.




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other days during the “Examination Period,” which covers January 2, 2018 to January 2, 2019.229
Of the four earnings announcement days in Dr. Feinstein’s test, three occur before the start of the
Putative Class Period, with the November 2, 2018 earnings announcement being the only one in
the Putative Class Period. Dr. Feinstein also finds that the synthetic stock price exhibited a
statistically significant reaction on January 3, 2019, the day after Apple’s earnings
preannouncement, which took place after the market closed on January 2, 2019.230

         C.        Dr. Feinstein’s Options Analysis Fails to Account for the Differing
                   Characteristics of the Apple Options and Differences Between the Markets
                   Where Individual Options Traded


173.     In applying Cammer and Krogman factors collectively across all options, Dr. Feinstein’s
analysis of the Apple options is based on the assumption that all Apple options form a single
market. Dr. Feinstein also reiterated this belief in his deposition.231 This assumption completely
ignores the substantial heterogeneity in characteristics of the Apple options, such as different
option types (i.e., call versus put options), different strike prices, and different maturities, which
may lead to very different investment risks and payouts across the range of options.
174.     I understand that the option series that would potentially be eligible to be a part of the
class in this matter are those that expired after the first alleged corrective disclosure date,
November 5, 2018, and that had trading volume greater than zero during the Putative Class
Period. I refer to these options as the “Relevant Options.” Using Dr. Feinstein’s options dataset,
Exhibit 4 provides a summary of the Relevant Options, illustrating substantial heterogeneity in
the characteristics of the options.232 Specifically, there were 2,282 distinct options, with 1,250


229 Feinstein Report, ¶¶ 124, 167–173.
230 Feinstein Report, ¶ 174.
231 “[Q] I guess what I'm trying to understand is given the variation in options contracts, how you can consider that

they're being traded on a single market. … [A] Sure. All of the calls, regardless of whether -- what the strike price is
or what the expiration is are functions of Apple stock price, and all of the calls have a payoff diagram of the same
form, that the payoff diagram -- or the payoff formula exercised is the maximum of the stock price minus the strike
price or zero. All of them. All of the puts have the exact, same payoff function at their expiration. At their respective
expirations their payoff is the stock price minus the strike price or zero. So they all have the same functional form.
They differ in the specifics as to what that ‘X’ is, the ‘X’ is the strike price or what day they expire, but they all have the
exact, same functional form. The markets are made by the same market makers. They’re all functions of Apple
stock. And for a reasonable extent, for reasons we just talked about, they’re reasonable substitutes, one for the
other. Someone looking to buy into Apple by buying call options might consider the ‘at the money call,’ the ‘just out of
the money call,’ the ‘just in the money call,’ and look to see where they think they get the best pricing or the most
liquidity or the -- depending if they want to hold it to expiration, the best profit potential. So they have more in
common than differences.” Deposition of Dr. Feinstein, June 16, 2021 (86:5-87:15).
232 EXP_FEINSTEIN000001.XLSX.




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unique combinations of strike price and expiration dates, spanning 148 different strike prices
ranging from $2.50 to $440, and 22 different maturity dates ranging from November 9, 2018 and
January 15, 2021. These different strike prices and maturities result in vastly different option
payoffs depending on the value of the underlying stock.
175.     Dr. Feinstein’s choice to consider Apple options in aggregate, rather than individually,
leads him to ignore differences in the trading characteristics of individual option markets. There
are a number of issues with this.
176.     First, as I discuss in Section VIII.D.7, while Dr. Feinstein finds that the average Apple
option bid-ask spread is 12.9%, some of the options have bid-ask spreads far in excess of 12.9%,
with one as high as 195%.233 Large bid-ask spreads make it more costly to exploit arbitrage
opportunities and increase the risk that the price of an option does not adjust to new information
quickly, given the cost associated with trading the options. This demonstrates why each
individual option would need to be analyzed separately as opposed to as part of an average.
Furthermore, the large bid-ask spreads directly contradict Dr. Feinstein’s assertion that if there is
an inefficiency in trading the options, investors and professional investors would be able to
exploit it.234
177.     In deposition, Dr. Feinstein provided an analogy of a Toyota dealership to attempt to
demonstrate that all of the Apple options could be considered part of the same market. In his
analogy, Dr. Feinstein claimed that one could make inferences about the market for all cars
traded in a dealership by looking at the efficiency of the market of larger Toyota sedans and
Toyota Corolla together.235 This analogy further illustrates the significant flaw in Dr. Feinstein’s
definition of a market. Specifically, if a Toyota Corolla is a commonly traded car, Toyota
dealers may all offer a very similar markup on Corollas. However, that does not necessarily


233 Feinstein Report, ¶ 157; Exhibit 6.
234 “It’s not a secret, well-known – it’s not a secret, unknown back water of a market. If there was an inefficiency in

the Apple market, there’s thousands of investors and professional investors and traders that would jump on it and
make that money. If they saw something out there for sale that was too cheap, they’d buy it. If they saw something
that was too expensive, they’d sell it. If they saw information that was being ignored and that made the price either
too high or too low, they’d execute the trade. So that would push that information into the price.” (Deposition of Dr.
Feinstein, June 16, 2021 (107:16–108:3)).
235 “[A] If what you want to know is does this dealer run an efficient business, you want to see how they sell pickup

trucks and you want to see how they sell Corollas. If we want to see if the market for Apple options is efficient, we
can look at the whole range of Apple options. … [Q] And just to go back to your analogy, they trade in the same
market in the same way that a Toyota pickup truck and a Toyota sedan hybrid is sold by the same dealer; is that -- [A]
No. It's more of a Toyota Corolla versus a larger Toyota sedan.” Deposition of Dr. Feinstein, June 16, 2021 (88:18–
89:24).




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mean that the market for a more expensive Toyota sedan with limited production would also
have similarly low markups. On the contrary, it may be the case that dealers offer a higher
markup on those less transacted vehicles. Therefore, inferring efficiency of the market for all
Toyota sedans based on observing trading behavior of Toyota Corollas may not be valid. Yet
this is exactly what Dr. Feinstein does with Apple options—he infers market efficiency for all
Apple options based on observing the average characteristics of the options or the characteristics
of all options in aggregate.
178.     Third, in Dr. Feinstein’s deposition, he claimed that Apple options are similar in that the
payoff for all options has the same functional form, and therefore, should be considered to be
traded in a single market.236 For example, Dr. Feinstein stated that all call options have a payoff
formula at the time of exercise, which is the “maximum of the stock price minus the strike price
or zero,”237 and are all derivatives of Apple stock.238 However, options involve non-linear
payoffs, so investors can achieve very different goals based on the strike price and maturity of
their option. On one extreme, an investor who purchased an Apple call option with a strike price
of $2.50 was purchasing an option with a payoff that was very similar to Apple stock, which
ranged in price from $147 to $210 during the Putative Class Period.239 On the other extreme, an
investor who purchased an Apple call option with a strike price of $440, more than double the
stock price, was essentially buying a lottery ticket with the hopes that Apple’s stock price
skyrockets.240 However, in both situations, the underlying security (Apple stock) was the same.
Dr. Feinstein has not shown how one can use a finding on market efficiency for the average
option to make a conclusion about either of these far out-of-the-money or far in-the-money
options, which serve very different purposes.241



236 Deposition of Dr. Feinstein, June 16, 2021 (86:5–86:20).
237 Deposition of Dr. Feinstein, June 16, 2021 (85:14–20).
238 Deposition of Dr. Feinstein, June 16, 2021 (86:4).
239 See Exhibit 4.
240 Trading occurred in Apple options with strike prices of both $2.50 and $440 during the Putative Class Period. See

Exhibit 4.
241 While I have discussed the two extreme scenarios, the same argument applies to options across the entire

spectrum of strike prices. It also applies to options across the spectrum of maturities. Indeed, a call with a strike
price $5 higher than the trading price and expiring later in the day may not be worth much because it is relatively
unlikely that the stock price will move by $5 before its expiration. At the same time, a call with the same strike price
and a two-year maturity will be worth a lot more because it is much more likely that the stock price will increase by
more than $5 over a two-year period.




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179.     Ignoring differences in payoffs and trading characteristics across the different sets of
options could lead to erroneous conclusions regarding efficiency of some options based on
observing other options. Dr. Feinstein ignores these differences entirely in his report. When
asked in deposition, the only explanation that he provided regarding why all Apple options trade
in the same market was to say that all options are derivatives of the Apple stock and that all
options are traded by the same market makers.242 Neither of these statements can explain why
there are such large differences in trading costs and trading frequency across Apple options,
something that Dr. Feinstein has chosen to disregard. As a result, Dr. Feinstein has not
demonstrated that each individual Apple option traded in an efficient market.

         D.       Dr. Feinstein’s Flawed Application of Cammer Factors 1-4 and the Krogman
                  Factors to the Apple Options Does Not Support a Conclusion of Market
                  Efficiency and Fails to Consider the Actual Characteristics of the Options

180.     Dr. Feinstein’s analysis of Cammer Factors 1–4 and the Krogman Factors for Apple
options fails to take into account that Apple options each traded in a separate market. As
discussed below, analysis of individual option markets demonstrates that many Apple options
exhibited market characteristics that are inconsistent with a finding of market efficiency.
Furthermore, many aspects of Dr. Feinstein’s Cammer and Krogman Factor analysis and
conclusions he bases on the analysis are simply incorrect as a matter of economics.


                  1.       Cammer Factor 1: Trading Volume

181.     Dr. Feinstein claims that the daily average trading volume of all Apple options combined,
when converted into the number of shares of Apple stock represented by the options, exceeded
that of the Apple stock.243 However, Dr. Feinstein has failed to explain why the combined
volume across all options is the appropriate metric to analyze option market efficiency or why
option volume should be converted into shares of the Apple stock. As discussed above, even
though options are claims on the same security, they are different claims with different terms and
potentially different market characteristics. By failing to disaggregate these options into




242 Deposition of Dr. Feinstein, June 16, 2021 (86:5–86:20).
243 Feinstein Report, ¶ 151.




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different markets, Dr. Feinstein’s report fails to recognize that many individual options had low,
or on certain days, no trading volume during the Putative Class Period, far below the trading
volume of the Apple stock.
182.     As Exhibit 5 shows, trading volume for many of the individual Relevant Options on
Apple stock during the Putative Class Period was low.244 Overall, the average daily trading
volume for call options was 691 contracts, while for put options it was 573 contracts, where each
contract represents 100 shares of stock of Apple. Beyond the average volume, many of the
Apple options saw very little trading. For instance, 75% of the Apple call options had daily
trading volume of 297 contracts or fewer during the Putative Class Period, and daily trading
volume for the median call option was 45 contracts. Similarly, 75% of the Apple put options had
daily trading volume of 283 contracts or fewer during the Putative Class Period, and daily
trading volume for the median put option was 52 contracts.
183.     Aside from low trading volume, the Relevant Options also traded infrequently during the
Putative Class Period. As shown in Exhibit 5, across all call options, on average, a call option
did not trade at all on 35% of trading days in the Putative Class Period (for put options, the
number is 31%). In addition, the least liquid 10% of call options did not trade on 86% or more
of trading days during the Putative Class Period, and similarly, the least liquid 10% of put
options did not trade on 90% or more of trading days during the Putative Class Period. Dr.
Feinstein has not explained how he can assume that an option is traded in an efficient market
when the option traded on less than 10% of days during the Putative Class Period.
184.     The low trading volume observed for individual Apple options implies that it may be
difficult for market participants to take advantage of option prices that do not fully reflect
publicly available information or differences between the prices of Apple stock and options.
Arbitrageurs may not be able to take advantage of the mispricing if the market is not liquid
enough for them to trade quickly in and out of positions, when faced with the risk of adverse
price movement. This could present an impediment to the market efficiency of the Apple


244 In deposition, Dr. Feinstein agreed that many of the Apple options have little or no trading volume.      He describing
the distribution of volume across strike prices as “almost like a bell curve … [m]ost of the volume, most of the trading
is going to be at the money.” Deposition of Dr. Feinstein, June 16, 2021 (94:23–95:1). Indeed, when asked whether
he could conduct a test of efficiency on individual synthetic stock prices, Dr. Feinstein conceded “certain of the
contracts would have enough consistent trading volume where you can, but some of the contracts you would not be
able to do that … [if] you’re trying to run a regression using prices just from one option, it’s likely there would be holes
in the data. There would be days on which there was no trading.” Deposition of Dr. Feinstein, June 16, 2021
(103:17–104:13).




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options because potential arbitrageurs may be deterred by this risk and would not trade to reduce
the mispricing in the market. As discussed in Section VIII.D.7 below, they can further be
deterred by high transaction costs.
185.     Furthermore, Dr. Feinstein’s synthetic stock price is calculated using quoted bid and ask
prices. This is a different approach than the one Dr. Feinstein took in the stock analysis of
Cammer factor 5, which used end of day trade prices instead of quoted prices. When Dr.
Feinstein was asked in his deposition if he could have used option transaction prices to create the
synthetic stock price, he responded:

           I’d have to think about it. I think you could. I’d have to study the properties
           of that test. Also, you have an issue with synchroneity. If we use end of day
           bids and end of day asks, we know the price the sell is to the market and we
           know it’s an end of day price. If we use actual trading price, the last trading
           price, the last trading price might be earlier in the day before some information
           came out, and you wouldn't want to do that.245

186.     According to Dr. Feinstein, his use of quotes instead of trading prices is required to
address asynchronous trading, in which the last trade may occur earlier in the day, before new
information entered the market. However, the fact that Dr. Feinstein is concerned that there are
options for which there are no reliable trade prices to use for his test purporting to demonstrate
market efficiency highlights the fact that there are important frictions in the option markets, as
many of the options with lower trading volumes may be less liquid. Consequently, the Apple
options need to be analyzed individually as opposed to in an aggregated form.

                  2.       Cammer Factor 2: Analyst Coverage

187.     Dr. Feinstein claims that 28 analyst firms covered Apple and that the “analyst reports
served the Apple option market by disseminating and digesting Company information.”246
However, analyst reports are not typically at the level of options, and analysts generally do not
provide specific analysis of option markets or of all of the factors that influence option prices.
The analyst reports I reviewed for Apple did not cover Apple options. Dr. Feinstein states that



245 Deposition of Dr. Feinstein, June 16, 2021 (124:20–125:3).
246 Feinstein Report, ¶ 149.




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“Barber et al. [1994] found that coverage by one or two analysts strengthened the presumption of
efficiency for a publicly traded stock,” but he does not cite to any analyst reports in his report
that cover Apple options.247


                    3.        Cammer Factor 3: Market Makers

188.       Dr. Feinstein was unable to locate the number of market makers and instead relied on
market makers trading the stock.248 He does not provide any evidence that the same number of
market makers would have traded the options as the stock.


                    4.        Cammer Factor 4: Form S-3 Eligibility

189.       Dr. Feinstein claims that S-3 eligibility implies that stock investors were regularly
provided with financial information.249 It is unclear how this argument applies to option markets
given that options are different securities from the stock and, as discussed above, have prices that
depend on more than the stock price.


                    5.        Krogman Factor 1: Market Capitalization

190.       Market capitalization in the context of stock is a measure of a company’s total value
based on the number of shares outstanding and the share price. In the context of options, market
capitalization is less applicable because the total pool of outstanding options can increase or
decrease over time as options positions are opened and closed by investors.250
191.       Despite this, Dr. Feinstein takes an average of the total number of option contracts
outstanding in all markets (the open interest) across days in the Putative Class Period, converts
this figure to the number of underlying shares represented by the options, and multiplies this by
the average price of Apple stock instead of by a measure of option prices. He then compares this
calculated number to the market capitalization of the stocks on US exchanges and finds that it is
high.251


247 Feinstein Report, ¶ 62.
248 Feinstein Report, ¶ 154.
249 Feinstein Report, ¶¶ 79, 150.
250 Hull, p. 204.
251 Feinstein Report, ¶ 152.




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192.     Dr. Feinstein provides no justification for why it is appropriate to consider the value of
claims on Apple stock, as opposed to the value of the options themselves, many of which are
worth far less than the stock. There are at least two issues with this exercise that render it
flawed. First, not all of the Apple options are in the money at a given point in time, so it would
be erroneous to treat all options as if their holders would convert options to claims on the
underlying stock with certainty. Second, even for options that are in the money, an investor who
exercises such an option would still be obligated to buy or sell the Apple stock at the strike price
of the option. This means that the investor would not receive the full value of the underlying
stock but rather the net difference between the stock price and the strike price, which can be
substantially less than the stock price. Had Dr. Feinstein analyzed the actual value of Apple
options outstanding, he would have found that the actual value of Apple options outstanding
during the Putative Class Period was far less than the $66.6 billion he claims.252
193.     Moreover, consistent with the rest of his option analyses, Dr. Feinstein inappropriately
aggregated data for separate option series. Using Dr. Feinstein’s data, I recalculated the average
open interest for individual option series. As shown in Exhibit 4, during the Putative Class
Period, the Relevant Options had a mean daily open interest of 2,605 contracts, and a median
daily open interest of only 412 contracts, indicating that open interest was highly concentrated in
certain option series.253 The heterogeneity of open interest in each option series is further support
why Dr. Feinstein should look at each option series individually, and should not take an average
of the options and ignore the heterogeneity.


                  6.       Krogman Factor 2: Public Float

194.     To the extent that public float, or the quantity of a security that is not held by insiders, is
a relevant metric for assessing the efficiency of the markets in which the Apple options traded,
then the discussion above regarding market capitalization also applies to the options. Individual
Apple options have low open interest relative to the 4.7 billion average number of Apple stock



252 Feinstein Report, ¶ 152.
253 The mean and median daily open interest is calculated across all options and trading dates during the Putative

Class Period. Alternatively, if average daily open interest is calculated for each of the 2,282 relevant option
individually, the mean option has an average open interest of 2,172 contracts and the median option has an average
open interest of 357 contracts.




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shares outstanding that Dr. Feinstein cites,254 meaning that public ownership of individual options
is also relatively low, by Dr. Feinstein’s own standards.


                  7.          Krogman Factor 3: Bid-Ask Spreads

195.     As Dr. Feinstein agrees, bid-ask spreads in Apple options were high during the Putative
Class Period.255 Indeed, Dr. Feinstein’s weighted average option bid-ask spread of 12.9% is far
larger than the two metrics he uses in his report to assess market efficiency for Apple stock: the
0.01% average bid-ask spread for Apple stock, and the 0.7% average bid-ask spread for all
stocks traded on US exchanges.256 High bid-ask spreads, such as those found in the markets for
Apple options, indicate that it is especially costly to trade in these markets. For example, using
Dr. Feinstein’s average bid-ask spread of 12.9%, an investor who bought and then immediately
sold an option would have lost 13 cents per dollar of investment in transaction costs. High bid-
ask spreads can also make it challenging for investors to take advantage of arbitrage
opportunities resulting from incorrect option prices because high transaction costs reduce the
profitability of the arbitrage.257 In other words, options can be mispriced relative to one another
or relative to the stock, but investors may be unable to arbitrage away the incorrect prices
because of transaction costs.

196.     In addition to reporting the average option percentage bid-ask spread relative to option
prices, Dr. Feinstein also computes a second, incorrect, bid-ask spread metric by comparing the
dollar bid-ask spreads of the Apple options against the price of the Apple stock rather than
against the option prices themselves. Because the underlying stock price is typically much
greater than the option price, this mechanically reduces the resulting bid-ask spread. Dr.
Feinstein claims that one method produces bid-ask spreads that are “large relative to the bid-ask


254 Feinstein Report, ¶ 87.
255 Feinstein Report, ¶ 158. I note that the average bid-ask spread for the options of 12.9% reported by Dr. Feinstein

exceeds the 5.6% bid-ask spread found by the Krogman court to “suggest[] market inefficiency.” (Krogman v. Sterritt,
202 F.R.D. 467 (N.D. Tex. 2001))
256 Feinstein Report, ¶¶ 90, 157.
257 “In an efficient market, if prices get out of line, then arbitrage forces them back. The arbitrageur buys the

underpriced securities (pushing up their prices) and sells the overpriced securities (pushing down their prices). The
arbitrageur earns a profit by buying low and selling high and waiting for prices to converge to fundamentals. Thus
arbitrage trading is often called convergence trading. In practice arbitrage is harder than it looks. Trading costs can
be significant and some trades are difficult to execute.” (Richard A. Brealey, Stewart C. Myers, and Franklin Allen,
Principles of Corporate Finance, Tenth Edition (New York, NY: McGraw Hill, 2011), p. 327)




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spreads observed for all common stocks” and the other does not.258 However, this approach of
normalizing by stock price is simply incorrect because the proper measure of bid-ask spreads is
against the asset actually being traded, not against some other asset with a higher price. Indeed,
bid-ask spread measures the cost of a round-trip trade (i.e., buy-sell or sell-buy trade) in the asset
being traded.
197. Dr. Feinstein also claims that wide bid-ask spreads are due to the fact that the options are
in effect a leveraged investment in Apple stock.259 However, even for Apple options that were
in-the-money (and therefore exhibited price dynamics most similar to that of Apple stock), bid-
ask spreads were high. As shown in Exhibit 6, Dr. Feinstein’s data indicate that bid-ask spreads
averaged 5% across both calls and puts that were in-the-money, and the bid-ask spread exceeded
8% for 10% of in-the-money options. The average bid-ask spread for in-the-money options was
approximately 500 times higher260 than the bid-ask spread on Apple stock and approximately 7
times higher261 than the average bid-ask spread for all stocks traded on US exchanges.
198.     Moreover, the average option bid-ask spread reported by Dr. Feinstein, while high itself,
obscures the fact that bid-ask spreads for individual Relevant Options exceeded the average by a
large amount. Exhibit 6 shows that 10% of call option series in the Putative Class Period have
bid-ask spreads exceeding 74%, while 10% of put option series in the Putative Class Period have
bid-ask spreads exceeding 62%. Furthermore, bid-ask spreads exceeded 100% for some options
in the data produced by Dr. Feinstein. In other words, trading the option would require an
investor to spend a substantial amount on transaction costs—in some cases investors would
spend more on transaction costs than on the option itself. These high bid-ask spreads in
individual option markets further undermine Dr. Feinstein’s conclusion that all Apple options
traded in efficient markets during the Putative Class Period. The heterogeneity of bid-ask
spreads across option series is further support that not all option series behaved similarly, and Dr.




258 Feinstein Report, ¶¶ 157, 158.
259 Feinstein Report, ¶ 155.
260 The average bid-ask spread for in-the-money options of 5% (Exhibit 6) is approximately 500 times larger than the

0.01% average bid-ask spread for Apple stock that Dr. Feinstein calculates (Feinstein Report, ¶¶ 90).
261 The average bid-ask spread for in-the-money options of 5% (Exhibit 6) is approximately 7 times larger than the

0.70% average bid-ask spread for all stocks traded on US exchanges that Dr. Feinstein calculates (Feinstein Report,
¶¶ 90).




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Feinstein’s approach of taking an average of their bid-ask spreads fails to acknowledge the
options with very high transaction costs.

199.     Finally, in deposition, Dr. Feinstein claimed that trades between institutional investors
and especially market makers were taking place at prices corresponding to narrower spreads than
his data shows.262 However, this statement is entirely unsupported. In fact, Dr. Feinstein did not
even identify how many market makers traded Apple options, let alone analyze their bid-ask
spreads corresponding to prices at which they transacted with each other.263 Moreover, even if it
were true that market makers were able to trade with one another at lower transaction cost, it is
still the case that the transaction costs to investors buying and selling options on Apple stock
would reflect the bid-ask spreads discussed by Dr. Feinstein in his report. In fact, it is unclear
why transaction costs of trades between market makers would be relevant for determination of
bid-ask spreads at all. Dr. Feinstein does not discuss bid-ask spreads corresponding to trades
between market makers in his discussion of Apple stock. Furthermore, it is my understanding
that the relevant bid-ask spreads as discussed in the Krogman v. Sterritt matter are spreads
reflecting transaction costs of investors: “The bid-ask spread is the difference between the price
at which investors are willing to buy the stock and the price at which current stockholders are
willing to sell their shares.”264 Therefore, it is unclear why Dr. Feinstein’s speculative statement
regarding transaction costs of trades between market makers would be relevant to his discussion
of bid-ask spreads.

         E.       Dr. Feinstein’s Analysis of Cammer Factor 5 for the Apple Options Fails to
                  Demonstrate a Cause-and-Effect Relationship between New, Value-Relevant
                  Information and Individual Option Prices


200.     Beyond Dr. Feinstein’s flawed analysis of Cammer factors 1–4 and the Krogman factors
discussed above, his methodology for testing Cammer factor 5 has no support in peer-reviewed
literature and fails to measure whether new, value-relevant information was incorporated into the
price of each Apple option. As described above in Section VIII.B, Dr. Feinstein’s analysis of



262 Deposition of Dr. Feinstein, June 16, 2021 (112:25–113:13).
263 Feinstein Report, ¶ 154 “While I was unable to locate information quantifying the number of market makers who

traded Apple options, the exchange listing, the high reported volume, and the large number of market makers
identified for the common stock suggest a high number of market makers for the options.”
264 Krogman v. Sterritt, 202 F.R.D. 467 (N.D.Tex.2001) at 478.




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Cammer factor 5 for the Apple options relies on an aggregate, summary measure of option
prices—Dr. Feinstein’s average synthetic stock price constructed from individual put and call
prices. I am not aware of any support for this purported test of market efficiency of individual
option series in peer-reviewed academic literature, and Dr. Feinstein was not able to provide any
when asked about it during deposition.265
201.     Dr. Feinstein’s use of an average measure of option prices ignores the wide range of
variation in individual option prices that is observed in his own individual synthetic stock prices.
Dr. Feinstein does not even attempt to reconcile this variation in prices with implications for
market efficiency. Furthermore, Dr. Feinstein’s option summary measure is constructed using
assumptions that are explicitly not valid for the Apple options, since they are American and not
European. Instead of analyzing the individual Apple options at issue in this matter, Dr. Feinstein
makes an unsupported assumption that a test of an average measure of option prices can be
reliably used to derive a conclusion about market efficiency for every individual option. This
fallacy is similar to asserting that it does not matter if some options underreacted to new value-
relevant information while others overreacted to such information as long as such inefficient
option price reactions averaged out across a large set of contracts. Moreover, in reality, Dr.
Feinstein’s test fails to include the majority of the Apple options altogether because they were
not traded on his event days. Because of these shortcomings, Dr. Feinstein’s test of Cammer
factor 5 fails to show that each of the Apple options traded in an efficient market during the
Putative Class Period.

                  1.        Dr. Feinstein’s Test of Cammer Factor 5 Has No Support in Peer-
                            Reviewed Literature

202.     Dr. Feinstein’s test of Cammer factor 5 is flawed because it ignores the wide range of
individual synthetic options and fact that the Apple options are American. As I discuss in
Section VIII.B, Dr. Feinstein’s test of Cammer factor 5 involves two main steps. First, Dr.
Feinstein creates a daily average synthetic bid price and ask price across all option pairs where
each option has non-zero trading volume, using the European put-call parity relationship, and


265 “[Q] Just to confirm, you’re not aware of any peer reviewed academic paper that has applied this methodology

specifically to test efficiency for options? [A] Correct.” (Deposition of Dr. Feinstein, June 16, 2021 (124:1-124:6))




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then takes the midpoint between the average synthetic bid price and ask price to calculate an
average synthetic stock price that summarizes the entire portfolio of individual options.266
Second, Dr. Feinstein performs an event study regression using the average synthetic stock price
that compares the fraction of statistically significant event days versus non-event days.267 As
with the Apple stock, Dr. Feinstein uses three earnings announcements prior to the start of the
Putative Class Period and one announcement at the start of the Putative Class Period as his event
days.268

203.       First, the construction of Dr. Feinstein’s average synthetic stock price poses problems for
his analysis because it averages over a wide range of individual synthetic stock prices. In fact,
disaggregating Dr. Feinstein’s average synthetic price into the individual synthetic prices
associated with each option pair shows that there is a wide range of individual synthetic stock
prices, with deviations from the Apple stock price exceeding 10% in some cases.269 Exhibit 7
plots these deviations between the individual synthetic prices and Apple’s stock during his
Examination Period. By averaging across the synthetic stock prices, Dr. Feinstein ignores the
wide range of individual synthetic stock prices. This wide range of individual synthetic stock
prices suggests that Dr. Feinstein’s averaging methodology does not accurately represent
individual option prices. Furthermore, Dr. Feinstein uses quotes, which can become stale,
instead of transaction prices to derive these individual synthetic stock prices, due to a lack of
frequent trading in many of the options. Therefore, Dr. Feinstein’s test of option market
efficiency is not even based upon actual prices that putative class members may have transacted
at, which is different from his methodology in analyzing the common stock.
204.       Another important problem with Dr. Feinstein’s analysis is that the individual synthetic
stock prices created by Dr. Feinstein, based on the call and put options, are not equivalent to
Apple’s stock price. The reason for this is that the put-call parity relationship described by Dr.
Feinstein applies to European options, and not to American options.270 However, if the options


266 Feinstein Report, ¶ 166.
267 Feinstein Report, ¶¶ 167, 171–173.
268 Feinstein Report, ¶ 172, Exhibit 12.
269 Deviations of this size are larger than the synthetic stock price residual returns of -2.91%, -2.31%, and -7.11% that

Dr. Feinstein finds on the November 5, 2018, November 12, 2018, and January 3, 2019 alleged corrective disclosure
dates, respectively. (Feinstein Report, Exhibit 13)
270 For example, Dr. Feinstein claims that “if an investor were to sell a synthetic share of Apple stock, that investor

would need to sell a call option at its bid price, buy a put option at its ask price, and borrow the present value of the




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are American, this relationship will no longer hold if it is optimal for the holder of the call or put
option to exercise the option early. Therefore, the individual synthetic prices calculated by Dr.
Feinstein are not valid for Apple, because the Apple options are American, while the put-call
parity relationship described by Dr. Feinstein only applies to European options.
205.     Dr. Feinstein admitted in deposition that the put-call parity relationship he uses does not
hold for American options, stating that “there may be some small slippage owing to the value of
the American feature,” and that put-call parity does not apply to American options without an
adjustment.271 However, Dr. Feinstein does not make any adjustment, claiming instead that any
“slippage” will be addressed in his regression.

           [Q] Okay. And what adjustments have you made to the standard put call parity
           to apply it to American options here? [A] Like I said, I didn’t need to. If
           there’s some small deviation from the measured synthetic stock price in this
           methodology, that will decay at a fairly constant rate, and therefore, be
           accounted for or appropriately addressed and eliminated in the regression
           analysis. So there’s no adjustment necessary.272
206.     Dr. Feinstein assumes the “slippage” will be small, and that running a regression on the
average synthetic stock price will eliminate its effect. However, Dr. Feinstein has not explained
what basis he has for making the assumption that treating Apple options as European options,
even though they are American, will not meaningfully impact his ability to extrapolate his results
to each Apple option series. Additionally, as discussed above, Dr. Feinstein has done nothing in
his report to account for the wide variation in individual synthetic stock prices in his own
analysis, whether that variation is driven by the quality of the data he uses or by his failure to
account for the actual characteristics of the Apple options.




strike price and anticipated dividends (‘synthetic bid price’).” Feinstein Report, ¶ 165. This is true for European
Options. (Hull, p. 222.)
271 Deposition of Dr. Feinstein, June 16, 2021 (121:16–122:12).
272 Deposition of Dr. Feinstein, June 16, 2021 (122:13–122:22).




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                 2.       Dr. Feinstein Erroneously Relies on an Aggregated Synthetic Stock
                          Price to Derive Conclusions about Individual Options

207.    As described above, Dr. Feinstein’s average synthetic stock price is created by combining
call and put prices for individual option series across all options on the day into an average
synthetic bid and synthetic ask price, and then taking the midpoint of the two to calculate the
average synthetic stock price.273 Dr. Feinstein then assumes that if the combination of puts and
calls that forms the average synthetic stock price reacts more frequently on earnings days relative
to other days, then all individual options comprising that average combination must trade in
efficient markets. However, by aggregating all the options together, his test cannot demonstrate
whether the prices of individual options reacted rapidly to new, value-relevant information about
Apple throughout the entire Putative Class Period.
208.    As an analogy, consider whether a test showing that the Russell 2000 as a whole
exhibited a statistically significant reaction to a certain piece of information would be evidence
that every individual company comprising the index also reacted to that information. Dr.
Feinstein was asked this during his deposition, and he stated that this test would show “evidence
that [constituent] stocks trade[d] efficiently”:

          [Q] If you were to run an event study analysis on Russell 2000 index and find
          that the index reacted to [market-wide] news, could you conclude that the
          market for every stock in the index was efficient? … [A] Well, I think it would
          tell you that that’s evidence that stocks trade efficiently. [Q] That each
          individual stock in the Russell 2000 trade efficiently if the average does? [A]
          If the average does, it tells you that efficiency is more the rule than the
          exception.274

209.    The idea that one can infer market efficiency of individual stocks based on the
performance of an entire index highlights one of the shortcomings of Dr. Feinstein’s event study
analysis of options. It could be the case that a subset of constituents in the Russell 2000 index
experienced a reaction to the market-wide news while the rest of the constituents did not. Yet
Dr. Feinstein would still conclude that if the overall index reacted, the constituent “stocks trade
efficiently.” The same would apply to the Apple options. Observing a reaction of the average



273 See ¶¶ 171-172.
274 Deposition of Dr. Feinstein, June 16, 2021 (129:2-129:24), emphasis added.




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synthetic price does not show that all underlying options reacted to the news at issue. Notably,
even in the example of Russell 2000, Dr. Feinstein cannot rule out “exceptions” for individual
Russell 2000 stocks based on findings of a hypothetical event study analysis. Yet, after
performing an analogous test for Apple options, Dr. Feinstein concludes that every single Apple
option traded in an efficient market based on his finding that a synthetic stock price portfolio
constructed from thousands of option series reacted more frequently on earnings days than on
other days.
210.     Dr. Feinstein stated that “there’s much more similarity among Apple options that might
differ by dollar -- you know, a couple dollars in strike price or by a month in expiration date.”275
However, as shown in Exhibit 4, the strike price of Apple options differed by hundreds of
dollars and the expiration date varied by up to two years. Dr. Feinstein has not explained how he
can opine, without performing any analysis, that Apple options are similar enough that he can
analyze an average of the options and, based on an analysis of averages, reach a conclusion about
individual options on Apple stock.

                  3.       Dr. Feinstein’s Test of Cammer Factor 5 Fails to Assess Market
                           Efficiency for the Majority of Apple Options

211.     Dr. Feinstein’s construction of an average synthetic stock price from individual option
pairs also obscures the fact that the set of option pairs used in the analysis changes over time as
options reach their maturity dates and new options are created with different strike prices and
maturity dates. This means that the individual option pairs comprising the average synthetic
stock price that “reacts” on earnings dates are not necessarily the same as the options that make
up the average synthetic stock price on other dates. Of the options in Dr. Feinstein’s synthetic
stock price, only 1.6% traded on all four earnings announcement days used in his test. In fact,
62.1% of Apple options pairs included in Dr. Feinstein’s synthetic stock price series (and 58.1%
of those during the Putative Class Period), never traded on any of the earnings announcement




275 Deposition of Dr. Feinstein, June 16, 2021 (130:2-130:5).




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dates used in Dr. Feinstein’s collective test analysis.276 As a result, Dr. Feinstein concluded that
all options react to new information despite only testing a minority of Apple options.
212.     In his deposition, Dr. Feinstein claimed that by equal-weighting across option prices, he
was able to conclude that out-of-the-money options (which may be less heavily traded) were
traded in efficient markets.277 However, under Dr. Feinstein’s methodology of constructing his
average synthetic stock price, only options with non-zero trading volume are included.
Therefore, equal-weighting only ensures that options with less volume (but not zero volume) are
represented in the synthetic stock price. Options that do not trade on a particular day are still
excluded from the average synthetic stock price for that day, even if they trade on other days.
213.     Furthermore, because Dr. Feinstein’s test only considers four event days, many option
prices enter the average synthetic stock price only on non-news days, not on any of the event
days. Therefore, Dr. Feinstein never actually tests whether these options reacted to new
information, yet still assumes that his findings for the average synthetic stock price apply to all
Apple options, including those that did not trade on any event day. Consequently, Dr. Feinstein
is extending a conclusion of market efficiency to options that did not and could not have shown a
price reaction on the very days he considers in his test. Additionally, three of the four event days
are prior to the start of the Putative Class Period. Even if an option traded on one or more of
those three event days, but not the November 2, 2018 event day, Dr. Feinstein’s test would not
analyze if that option reacted to information during the Putative Class Period.




276 This occurs either because the option expired before the first earning announcement date, the option’s first and

last trading date were between earnings announcements, or the option was in existence but did not trade on the
earnings announcement’s impact date. Additionally, Dr. Feinstein’s synthetic stock price is created using daily prices
for option pairs where both options have positive trading volume on a given day. If only one of the call or put in an
option series has positive volume on a particular day, that option will not be captured in Dr. Feinstein’s test. Of all
Apple option pairs included in Dr. Feinstein’s synthetic stock price series, 28.4%, 5.4%, and 2.4% traded on only 1, 2,
and 3 of the earning announcement dates, respectively.
277 “[Q] Are the markets for out of the money options less efficient than at the money? [A] I didn't see any evidence of

that here. [Q] And what would you look for to determine if that were the case -- or I should say what did you look for?
[A] I combined all the options on an equal weighted basis and found that on an equal weighted basis every -- for
every strike price that could be included in that base price, that price was moving as if it was absorbing information.
The evidence shows that a combination of all the options that trade on any particular day, that combination was
moving as if the prices were absorbing available information, and in a very startling way. They were significant on the
very same three earnings announcements out of four that the underlying stock was. And for 14 of the other -- 13 to
14 of the other days, they were significant on the exact, same 13 or 14 days where there was significance in the stock
market. [Q] Right. So you looked at the average, but you did not look at specific -- you did not specifically look at out
of the money options to determine how they moved? [A] Right. I looked at the out of the money options by
combining them on an equal weighted basis with all the others.” Deposition of Dr. Feinstein, June 16, 2021 (95:13-
97:16).




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IX.      Dr. Feinstein Has Not Provided a Damages Methodology for Options that Measures
         Damages Consistent with Plaintiff’s Theory of Liability


214.     Dr. Feinstein’s discussion of damages for Apple options consists of one paragraph, in
which he claims that “the out-of-pocket damage methodology can be applied to compute
damages sustained by Class members who purchased Apple call options or wrote Apple put
options during the Class Period” by calculating the effects of stock price inflation on the price of
Apple calls and puts using “option pricing formulas, such as the Black-Scholes formula.”278
215.     In the first place, Dr. Feinstein’s damages approach for Apple options explicitly relies on
him being able to provide a class-wide methodology for calculating inflation in Apple’s stock
price.279 As a result, the issues with Dr. Feinstein’s damages approach regarding Apple stock
raised in Section VII above apply equally to options.
216.     Furthermore, Dr. Feinstein fails to test market efficiency of any of the Apple options. As
he readily admits in his report, at best, he only tests efficiency for an average of synthetic option
pairs on Apple. During the Putative Class Period, there were 2,282 distinct Relevant Options
across 1,250 unique combinations of strike price and expiration dates (see Exhibit 4). Dr.
Feinstein did not perform any market efficiency analysis of individual option prices, and only
assessed whether prices of an overall portfolio, constructed from an average of matched positions
in Apple’s put and call options, reacted more frequently to news on certain days than on other
days. However, a damages methodology needs to be able to determine damages for each
individual option, not an average or portfolio of options. A damages methodology would need to
be able to first establish that each individual option fully and quickly incorporated new, value-
relevant information about Apple. Without this, Dr. Feinstein has not demonstrated how one
could determine if the individual option prices reflected the value of the alleged
misrepresentation. Because he has not performed such an analysis, Dr. Feinstein has not
demonstrated that he will be able to calculate inflation or assess damages individually for each
Apple option at issue.
217.     Finally, option pricing requires a measure of stock price volatility in addition to the stock
price. In his discussion of damages for option holders, Dr. Feinstein fails to provide any


278 Feinstein Report, ¶ 187.
279 Feinstein Report, ¶ 187.




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indication of how he would be able to account for changes in the volatility of Apple stock in his
damages model for options. As described above in Section VIII.A.1, the price of an option
depends not just on the stock price, but also on the volatility of the underlying stock price (along
with other factors such as time to maturity and the risk-free interest rate). 280 The volatility of the
underlying stock price is a key input in the valuation of options, because the payoff of an option
depends on how much the underlying stock price moves. If volatility of the stock price
increases, it is more likely that an option will end up in the money, so the price of the option will
also increase. As shown in Exhibit 8, the volatility of Apple stock changed considerably
throughout the Putative Class Period, meaning that, even if stock price inflation were constant
throughout the Putative Class Period, option inflation would have varied over time with
volatility.
218.      Because the volatility of Apple stock is an important input into the valuation of options, a
reliable damages methodology must set out what the but-for volatility would have been absent
the alleged misrepresentation. The volatility of Apple stock could have changed over the
Putative Class Period because of new information unrelated to the allegations. The volatility of
Apple stock could also have been different under a hypothetical earlier disclosure of the alleged
True Facts. Dr. Feinstein fails to account for such issues in his purported damages methodology.
In sum, Dr. Feinstein has not provided any methodology that would allow him to model the but-
for volatility of the Apple stock when assessing damages for the Apple options. Consequently,
he has not shown how his methodology would reliably calculate damages for options holders in
this matter.281




280 Hull, p. 214.
281 Additionally, as Dr. Feinstein stated in his deposition, it is not uncommon for investors to trade options in complex

strategies and use options for hedging. Deposition of Dr. Feinstein, June 16, 2021 (157:8–157:20). As a result,
investors may hold a mix of options that may be both damaged and benefit from the alleged inflation. Any damages
methodology must explain how it will account for investors with multiple, potentially offsetting, positions in the stock
and options. One would need to assess an investor’s total exposure across all positions that form a particular trading
strategy and calculate damages based on that net position, instead of calculating damages for each stock and option
separately.




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                           Executed this 9th of July, 2021




                           ___________________________________
                              Expert Name




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                                                                          APPENDIX A


                                  Curriculum Vitae
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CURRENT POSITIONS
    William F. Sharpe Professor of Financial Economics, Graduate School of Business,
    Stanford University

FIELDS OF SPECIALIZATION
     Corporate Finance
     Asset Pricing
     Portfolio Management
     Options
     Real Estate

DOCTORAL STUDIES
    Harvard Business School/Harvard Graduate School of Arts and Science
          Ph.D. in Business Economics, November 1992
          Concentration in Capital Markets and Corporate Finance

      Dissertation: Real Estate Markets
             Committee Chairman: Robert C. Merton

UNDERGRADUATE EDUCATION
    University of California at Berkeley
          B.S. 1987 - Summa cum laude

HONORS
    The article “The Strategic Exercise of Options: Development Cascades and Overbuilding
    in Real Estate Markets,” was nominated for the Smith Breeden Prize of the Journal of
    Finance in 1997

      1994 Best Paper Award from the American Real Estate and Urban Economics
      Association and the American Institute of Individual Investors

      1993 Best Dissertation Award from the American Real Estate and Urban Economics
      Association

      National Doctoral Fellowship Recipient: American Assembly of Collegiate Schools of
      Business

      Phi Beta Kappa




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                                                                             APPENDIX A


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WORKING PAPERS
    “Capital budgeting and Real Options: The Case of Concealed Investment Projects,” with
    Andrey Malenko.

      “Sandbagging Real Options,” with William Cong.

EDITORIAL RESPONSIBILITIES
     Editor, Journal of Real Estate Finance and Economics, 1996-
     Associate Editor, Journal of Economic Dynamics and Control, 2003-2010

PROFESSIONAL ACTIVITIES
    Chairman of the Finance Department, Graduate School of Business, Stanford University:
          2003-2006, 2011-2019




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                                                                         APPENDIX A


       Trustee of AQR Funds: 2008-2011
       Trustee of E*Trade Funds: 1999-2009
       Senior Consultant: Financial Engines, Inc.: 1997-2019
       Trustee of Nicholas Applegate Institutional Funds: 2007-2010
       Member of the Stanford University Retirement Program Investment Committee, 2005-
              2011
       Consultant to Applied Materials
       Consultant to Shell Capital
       Consultant to Zevenbergen Capital

TEACHING EXPERIENCE
    Private Equity & Investment Seminar: 2018-
    Investment Management and Entrepreneurial Finance: 2018-
    Modeling for Investment Management: 2009-
    Critical Analytical Thinking: 2010-2012
    Portfolio Management: 1992-2006
    Essentials of Real Estate Investment: 1994-2009
    Foundations of Financial Economics: 1995-1997, 2006-
    Finance Core: 1993

PRESENTATIONS
     Brigham Young University
     Carnegie Mellon University
     Columbia University (2 seminars)
     Harvard Business School (2 seminars)
     Massachusetts Institute of Technology
     Northwestern University (2 seminars)
     Ohio State University
     Southern Methodist University
     Stanford University
     University of British Columbia (2 seminars)
     University of California at Berkeley (3 seminars)
     University of California at Los Angeles (3 seminars)
     University of Chicago (2 seminars)
     University of Connecticut (3 seminars)
     University of Illinois
     University of Minnesota
     University of Oregon
     University of Pennsylvania (3 seminars)
     University of Rochester
     University of Southern California
     University of Texas at Austin
     University of Utah
     University of Wisconsin (2 seminars)
     Yale University (2 seminars)




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                                         Appendix B
                                 Steven Grenadier
                      Prior Testimony in Previous Four Years

Mary Bell, Janice Grider, Cindy Prokish, John A. Hoffman, and Pamela M. Leinonen v. ATH Holding
Company, LLC, Board of Directors of ATH Holding Company, LLC, and Pension Committee of ATH
Holding Company, LLC, Case No. 1:15-cv-02062-TWP-MPB (U.S. District Court Southern District of
Indiana, Indianapolis Division). Deposition: September 2018.

Move, Inc. v. Citigroup Global Markets, Inc., Case No. 08-0335 (State of California, LA Division).
FINRA Dispute Resolution Testimony: December 2018.

Duane & Virginia Lanier Trust, et al., v. SandRidge Mississippian Trust I, et al., Case No. 5:15-cv-
00634-G (U.S. District Court Western District of Oklahoma). Deposition: June 2019.

In re SandRidge Energy, Inc. Securities Litigation, Case No.: 5:12-cv-01341-G (U.S. District Court
Western District of Oklahoma). Deposition: June 2019.

MBIA Insurance Corporation v. Credit Suisse Securities (USA) LLC, DLJ Mortgage Capital, Inc. and
Select Portfolio Servicing, Inc., Case No. 603751/2009 (Supreme Court of The State Of New York
County Of New York). Trial Testimony: August 2019.

Benjamin Reetz v. Lowe’s Companies, Inc., et al., Case No.: 5:18-cv-00075-KDB-DCK (U.S. District
Court Western District Of North Carolina, Statesville Division). Deposition: November 2020.

Fredric A. Guenther, et al. vs. BP Retirement Accumulation Plan, et al., Case No.: 4:16-cv-00995 (U.S.
District Court Southern District of Texas, Houston Division). Deposition: December 2020.




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Academic Articles

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            Damages in Fraud on the Market Cases,” UCLA Law Review Vol. 37, 1990, pp. 883–
            924.
           Fama, Eugene F., “Efficient Capital Markets II,” Journal of Finance, Vol. 46, No. 5,
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           Fama, Eugene F., “Efficient Capital Markets: A Review of Theory and Empirical
            Work,” Journal of Finance, Vol. 25, No. 2, 1970, pp. 383–417.
           Greene, Jason T. and Susan G. Watts, “Price Discovery on the NYSE and the
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Analyst Reports

           Analyst reports obtained from counsel, Thomson Eikon, and CapIQ during the period
            of September 2018 to February 2019 from the following contributors: Acquisdata,
            Argus Research, Atlantic Equities, Baird, Bank of America, Bernstein, BMO, BTIG,
            BWS Financial, Canaccord Genuity, Citi, Cleveland Research, Credit Suisse,
            Crispidea, Cross Research, D.A. Davidson, Daiwa, Elazar, FBN, Goldman Sachs,
            Guggenheim, HSBC, Jefferies, JLWC, JP Morgan, KeyBanc, KTB, Longbow
            Research, Loop Capital, Macquarie Group, Maxim Group, Monness Crespi Hardt,
            Morningstar, Morgan Stanley, Needham & Company, Nomura, Oppenheimer, Piper
            Sandler, Raymond James, RBC, Rosenblatt, TF International, Tigress, Trefis, UBS,
            Wedbush, Wells Fargo, Wolfe, and Yuanta.
           Analyst reports included in Exhibit 1 (“Documents and Other Information
            Considered”) of Dr. Feinstein’s report dated May 5, 2021.

Books

           Hull, John C., Options, Future, and other Derivatives, 8th Ed., Prentice Hall,
            Hoboken, NJ, 2012.
           Reilly, Frank K. and Keith C. Brown, Investment Analysis and Portfolio
            Management, 10th ed., South Western, Mason, OH, 2012.




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            Finance, 10th ed., McGraw Hill, New York, NY, 2011.

Conference Calls

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           Apple Inc. Special Event, “Edited Transcript,” September 12, 2018.
           Apple Inc. Special Event, “Edited Transcript” October 30, 2018.
           Q4 2018 Apple Inc. Earnings Call, “Edited Transcript,” November 1, 2018.
           Q1 2019 Apple Inc. Earnings Call, “Edited Transcript,” January 29, 2019.

Data

           CRSP
           Refinitiv

Depositions

           Deposition of Steven P. Feinstein, June 16, 2021.

Bates-Stamped Materials

           EXP_FEINSTEIN0000001.XLSX.
           EXP_FEINSTEIN0000002.XLSX.

Expert Reports

           Expert Report of Professor Steve P. Feinstein, PH.D., CFA, Ohio Public Employees
            Retirement System vs. Federal Home Loan Mortgage Corporation, June 7, 2017.
           Expert Report of Professor Steve P. Feinstein, PH.D., CFA, Monroe County
            Employees’ Retirement System, et al. vs. The Southern Company, et al., September
            24, 2018.
           Expert Report of Professor Steve P. Feinstein, PH.D., CFA, In Re Apple Inc.
            Securities Litigation, May 5, 2021, including material produced by Dr. Feinstein and
            all documents considered therein.




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Public Press

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          lead paragraph, and “iPhone” and (“China” or “Chinese”) anywhere in the text
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          publications and wires including Dow Jones Institutional News, Dow Jones
          Newswires, PR Newswire, Business Wire, Barron’s, Far Eastern Economic Review,
          Financial Times – Print and Online (ft.com), Forbes, Investor's Business Daily,
          Reuters News, The Economist (United Kingdom), The New York Times, and The
          Wall Street Journal; Chinese Publications including Central News Agency English
          News, China Daily, Global Times, People’s Daily Online, South China Morning Post,
          scmp.com, Xinhua News Agency, and Yicai Global; Factiva’s technology sources;
          and Theflyonthewall.com.
         “Eugene Fama’s Efficient Market Is a Sound Guiding Principle for Investors and
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         “China Feb factory growth picks up to 6-month high - Caixin PMI,” Reuters, March
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     sales-slowdown-goldman-sachs.
    “Apple supply chain wary of reduced iPhone orders for Q4,” Apple Insider, October
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    “Global smartphone shipments post fourth straight down quarter,” CNET, November
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     straight-down-quarter/.
    “iPhone XR demand reportedly forcing Apple to cut production expansion plans,”
     Apple Insider, November 5, 2018, https://appleinsider.com/articles/18/11/05/iphone-
     xr-demand-reportedly-forcing-apple-to-cut-production-expansion-plans.
    “iPhone XR sales estimates slashed by Ming-Chi Kuo, as trade war headwinds swirl,”
     Apple Insider, November 12, 2018, https://appleinsider.com/articles/18/11/12/iphone-
     xr-sales-estimates-slashed-by-ming-chi-kuo-similar-to-his-iphone-x-prognostications.
    “China Nov factory activity up a touch but client demand ebbs - Caixin PMI,”
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    “China December factory activity shrinks for first time in 19 months - Caixin PMI,”
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     Josh Lipton Today,” CNBC, January 2, 2019,
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     cook-speaks-with-cnbcs-josh-lipton-today.html.
    “Caixin Jan mfg PMI suggests smaller firms still struggling,” Reuters, February 1,
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    “Caixin China General Manufacturing PMI(January 2017),” Caixin, May 20, 2019.
    “Caixin China General Manufacturing PMI(February 2017),” Caixin, May 20, 2019.
    “Caixin China General Manufacturing PMI(March 2017),” Caixin, May 20, 2019.
    “Caixin China General Manufacturing PMI(April 2017),” Caixin, May 20, 2019.
    “Caixin China General Manufacturing PMI(May 2017),” Caixin, May 20, 2019.
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        “Caixin China General Manufacturing PMI(July 2017),” Caixin, May 20, 2019.
        “Caixin China General Manufacturing PMI(August 2017),” Caixin, May 20, 2019.
        “Caixin China General Manufacturing PMI(September 2017),” Caixin, May 20,
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        “Caixin China General Manufacturing PMI(March 2018),” Caixin, May 20, 2019.
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        “Caixin China General Manufacturing PMI(November 2018),” Caixin, May 21, 2019.
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Case Documents

        City of Roseville Employees’ Retirement System vs. Apple Inc., Complaint for
         Violations of the Federal Securities Laws, dated April 16, 2019.
        In Re. Apple Securities Litigation, Revised Consolidated Class Action Complaint for
         Violation of the Federal Securities Laws, June 23, 2020.
        In Re. Apple Securities Litigation, Order Granting in Part and Denying in Part
         Defendants’ Motion to Dismiss the Revised Consolidated Complaint, November 4,
         2020.




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Legal Opinions

         Cammer v. Bloom, 711 F.Supp. 1264 (D.N.J. 1989).
         Comcast Corp. et al. v. Behrend et al., No. 11-864, 133 S.Ct. 1426, 2013.
         In re Federal Home Loan Mortgage Corp. (Freddie Mac) Securities Litigation, 281
          F.R.D. 174 (2012).
         In re Initial Pub. Offering Securities Litigation, 260 F.R.D.
         Krogman v. Sterritt, 202 F.R.D.

SEC Filings

         Apple Inc., Form 10-K for the fiscal year ended September 29, 2018, dated
          November 5, 2018.
         Apple Inc., Form 10-Q for the fiscal quarter ended December 29, 2018, dated January
          30, 2019.
         Apple Inc., Form 10-Q for the fiscal quarter ended March 30, 2019, dated May 10,
          2019.
         Apple Inc., Form 10-Q for the fiscal quarter ended June 29, 2019, dated July 31,
          2019.
         Apple Inc., Form 10-K for the fiscal year ended September 28, 2019, dated October
          31, 2019.
         Apple Inc., Form 10-K for the fiscal year ended September 26 2020, dated October
          30, 2020.

Press Releases

         “iPhone 8 and iPhone 8 Plus: A New Generation of iPhone,” Apple Inc. Press
          Release, September 12, 2017.
         “The Future is Here: iPhone X,” Apple Inc. Press Release, September 12, 2017.
         “Apple introduces iPhone XR,” Apple Inc. Press Release, September 12, 2018.
         “iPhone Xs and iPhone Xs Max Bring the Best and Biggest Displays to iPhone,”
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         “Apple Reports Fourth Quarter Results,” Apple Inc. Press Release, November 1,
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         “Letter from Tim Cook to Apple Investors,” Apple Inc. Press Release, January 2,
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Websites

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           https://focustaiwan.tw/aboutus.
          “About the Fly,” TheFlyontheWall, http://theflyonthewall.com/about/.
          “About the Verge,” The Verge, https://www.theverge.com/about-the-verge.
          “About Us,” CNET, https://www.cnet.com/about/.
          “About Us,” Global Times, https://www.globaltimes.cn/about-us/.
          “About Us,” South China Morning Post, available at https://corp.scmp.com/about-us/.
          “About Us,” Yicai Global, https://www.yicaiglobal.com/about.
          “AppleInsider,”AppleInsider, https://appleinsider.com/.
          “Caixin Manufacturing PMI,” Caixin, https://www.caixinglobal.com/caixin-
           manufacturing-pmi/.
          “IVolatility US Historical Intraday Options/Stocks Data Guide,” IVolatility.com,
           https://www.ivolatility.com/doc/Intraday%20data%20guide%20Jan17.pdf.
          “News Division,” South China Morning Post, https://corp.scmp.com/our-
           business/news/.
          “Who Is Digit and What Do We Do?” Digit, available at https://www.digit.in/about-
           us/.
          “Who We Are,” OTR Global, https://www.otrglobal.com/who-we-are.

Miscellaneous Documents

          Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u–4(e).




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                                    Exhibit 1
      Caixin China General Manufacturing Purchasing Managers' Index ("PMI")
                           January 2017 – January 2019
PMI
52




51




50




49




48
        Jan         Feb         Mar         Apr         May         Jun          Jul        Aug         Sep         Oct         Nov         Dec         Jan

                                   January 2017 – January 2018                            January 2018 – January 2019
Source: Caixin

Note: The Caixin China Report on General Manufacturing is "based on data compiled from monthly replies to questionnaires sent to purchasing executives in over 500
manufacturing companies. Survey responses reflect the change, if any, in the current month compared to the previous month based on data collected mid-month." An
index reading above 50 indicates an increase in the health of China’s manufacturing sector and below 50 indicates an overall decrease. Purchasing Managers' Index is
seasonally adjusted.


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                                Exhibit 2
Caixin China General Manufacturing Purchasing Managers' Index ("PMI") and
                               Consensus
                       January 2018 – January 2019
PMI
52




51                                                                              Consensus PMI




50




                                                                                                                                Actual PMI

49




48
        Jan         Feb         Mar         Apr         May         Jun          Jul        Aug         Sep         Oct         Nov         Dec         Jan


Source: Caixin; Reuters

Note: The Caixin China Report on General Manufacturing is "based on data compiled from monthly replies to questionnaires sent to purchasing executives in over 500
manufacturing companies. Survey responses reflect the change, if any, in the current month compared to the previous month based on data collected mid-month." An
index reading above 50 indicates an increase in the health of China’s manufacturing sector and below 50 indicates an overall decrease. Purchasing Managers' Index is
seasonally adjusted. The consensus data is from "economists polled by Reuters."


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                                                             Exhibit 3
                                                            Apple Inc.
                         Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
                                  Before and After the November 1, 2018 Earnings Announcement[1]


        Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                             Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Argus Research                                                                                           Argus Research
Report not available.                                                                                    Despite mounting concerns over tariffs, Apple's China business continues to recover, based on high-end
                                                                                                         appetite for the new phones; China revenue rose 16%. Rest of Asia was up 22%.

                                                                                                         Based on new features, we believe the new phones could prompt a strong upgrade cycle worldwide. We
                                                                                                         also believe the wide range of price points enhances Apple's ability to compete in emerging and frontier
                                                                                                         markets and in China, where the iPhone in recent years has lost ground to high-quality, low-price rivals such
                                                                                                         as Xiaomi and Oppo. Finally, the variety of phones at a broad range of price points may enable Apple to
                                                                                                         finally boost unit sales on an annual basis. iPhone revenue growth in recent quarters has nearly all come
                                                                                                         from ASP increases.
                                                                                                         ("Analyst's Notes," Argus Research, November 2, 2018)
Atlantic Equities                                                                                        Atlantic Equities
Report not available.                                                                                    Geographically, Greater China was the weakest reported region (16% YoY), though management
                                                                                                         highlighted greater weakness in other EMs, particularly India (flat) and Brazil (down), a trend that seems
                                                                                                         likely to continue near-term.
                                                                                                         ("Disappointing Dec qtr revenue outlook," Atlantic Equities, November 2, 2018)
Baird Equity Research                                                                                    Baird Equity Research
Investment Thesis                                                                                        China solid. Greater China revenue of $11.4 billion grew 16% YOY and 19% sequentially, though it was the
China improving. Greater China revenue grew 19% YOY in FQ3, following 21% growth last quarter.           slowest growing region.
("Apple, Inc. (AAPL) New iPad Pros and Macbook Air Look Solid, October 30, 2018, emphasis in original)
                                                                                                         Investment Thesis
                                                                                                         China improving. Greater China revenue grew 16% YOY in FQ4 and the full fiscal year.
                                                                                                         ("Macro Pressures, but Also Silver Linings," Baird Equity Research, November 2, 2018, emphasis in
                                                                                                         original)




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                                                              Exhibit 3
                                                             Apple Inc.
                          Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
                                   Before and After the November 1, 2018 Earnings Announcement[1]


          Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Bank of America                                                                                                Bank of America
Material room for growth in emerging markets                                                                   We downgrade Apple to Neutral from Buy... China was strong in C3Q but emerging signs of weakness
Our survey points to a significant opportunity for growth in both China and India... 33% of respondents in     could pressure the next few quarters...
India intend to upgrade in 2018 vs. 21% in China... In our view, Apple continues to have strong potential in
China and India over the long term.                                                                            While [service] revenue growth was strong in the Sep quarter, we remain concerned about App Store
("Global RIWI smartphone survey Oct update – iPhone upgrade interest rising," Bank of America, October 9,      revenue slowdown in China in October, partly related to slowdown in approval for new games, and partly
2018, emphasis in original)                                                                                    due to macroeconomic and political issues and lower consumer confidence.

Lowering iPhone units on risk from a weaker China                                                              Greater China up 16% from last year; Deceleration likely in F1Q19
Apple reports F4Q18 (Sep qtr) on Thurs, Nov 1. We expect results to come in above consensus. However,          Greater China (China, Hong Kong, Taiwan) revenue increased 16% year over year to $11.4bn, which was
we lower our iPhone estimates for the Dec quarter and for F19 to account for a slowdown in China (double       slightly lower than the 19% y/y growth reported last quarter. This is the fifth consecutive quarter of double
digit unit decline although ASP drives rev growth) and for broader FX headwinds.                               digit growth in China, but we expect meaningful deceleration heading into the December quarter.
                                                                                                               ("Long term winner but near term headwinds, Downgrading to Neutral Rating," Bank of America, November
Data points suggest some near-term weakness                                                                    2, 2018, emphasis in original)
The dollar strengthened significantly against the Chinese RMB at a time when iPhone ASPs have increased
significantly. During the past cycle of a strengthening dollar (2015-2016), China iPhone units declined 20%
and overall Apple China sales declined 24% y/y.

Lowering estimates heading into earnings
We lower our iPhone estimates for the Dec quarter and for F19 to account for overall macroeconomic
weakness and for a slowdown in China.
("Lowering estimates to account for China risk, FX headwinds," Bank of America, October 29, 2018,
emphasis in original)

While we are cautious on headwinds from weaker China and FX (we cut estimates, PO yesterday), we
reiterate Buy on strong growth in Services, strong capital return and large cash balance... We rate Apple a
Buy on potential upside from 1) growth in the services business that will drive higher margins, 2) continued
long-term opportunity in emerging markets including China...
("Compelling new products should drive upside to ASPs," Bank of America, October 30, 2018)




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                                                             Exhibit 3
                                                            Apple Inc.
                         Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
                                  Before and After the November 1, 2018 Earnings Announcement[1]


        Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Bernstein                                                                                                   Bernstein
[W]e encourage investors to continue monitoring (1) services growth, (2) Greater China performance and      Surprisingly, Apple executives did not appear uniquely concerned about China, which grew 16% in Q4 – in
commentary, (3) FY19 tax rate, (4) the ongoing trade war, and (5) progress in share buybacks...             part due to a continued very rich mix of iPhones.

Health of China. Greater China represents ~20% of Apple's revenue and has grown in each of the past 4       While Apple executives indicated that there was increased macro uncertainty in emerging markets, the
quarters, driven by (1) iPhone and (2) Services, which were listed by Apple as the main reasons revenue     company did not appear uniquely concerned about China, which grew a healthy 16% in Q4 – executives
grew in Greater China in the first 9 months of FY18 and in Q1 18 (Exhibit 18). Monthly Chinese government   commented to us that Apple continues to enjoy a richer mix of higher-priced devices in China, suggesting
data suggests that year-over-year unit demand from non-Chinese smartphone manufacturers in the              that ASPs for iPhone may have been up 35%+ YoY.
mainland may have decelerated in CQ3 18 (down -20%+ year-over-year) after four consecutive quarters of
relatively flat unit demand from foreign OEMs.                                                              Strong Q4 in China, good reception on new phones… During the earnings call Q&A, management struck
                                                                                                            us as surprisingly forthcoming about macroeconomic uncertainty within emerging markets, admitting for
Trade war. Apple is an important staple for both the Chinese and US economies... While neither side wants   instance that Apple's business had weakened substantially in India (disclosed to be "flat" year-over-year),
to hurt Apple, it is possible that if the trade war escalates, Apple could be collateral damage.            Brazil (disclosed to be "down somewhat"), Turkey, and Russia. Nonetheless, management was adamant
("AAPL: Q4 18 Preview - Expect upside to ASPs, but iPhone unit growth in FY 19 most likely to shape         about differentiating between these weaker markets and China, which still grew +16% year-over-year –
investor sentiment," Bernstein, October 24, 2018, emphasis in original)                                     including "strong double digit" iPhone revenue growth. Given that Chinese government data has pointed to -
                                                                                                            20%+ year-over-year declines in smartphone unit sales from non-Chinese manufacturers within recent
                                                                                                            months, this suggests that Apple may have seen ASP growth of 35%+ year-over-year during FQ4, likely due
                                                                                                            to good customer reception of the high-end, large-screen iPhone XS and XS Max.

                                                                                                            China tariffs. Arguably, tariffs were an elephant in the room during the FQ4 earnings call, as Tim Cook
                                                                                                            avoided making any explicit comments on the risks of an escalating trade war / supply chain disruption in
                                                                                                            China. We note that as recently as this week, Bloomberg reported U.S. intent to announce tariffs on
                                                                                                            iPhones (along with virtually all other remaining non-tariffed Chinese-made goods) as early as this
                                                                                                            December. While the exact impact of a hypothetical ~10% U.S. tariff on iPhones remains unclear (note that
                                                                                                            nearly all competing smartphones would be affected as well), ultimately, price elasticity only works in a
                                                                                                            single direction. Moreover, we continue to believe that the biggest risk from a trade war with China is not
                                                                                                            necessarily tariffs on Apple products, but rather China placing restrictions or controls on Apple's business
                                                                                                            that could undermine it.
                                                                                                            ("AAPL: Q4 18 Debrief - How much might iPhone units decline in FY19? The world may never know,"
                                                                                                            Bernstein, November 2, 2018, emphasis in original)

BMO Capital Markets                                                                                         BMO Capital Markets
Chinese economy and Apple's performance in China not discussed.                                             Chinese economy, Apple's performance in China, and emerging markets not discussed.
("More New Products Announced," BMO Capital Markets, October 30, 2018)                                      ("Less Revenue and Fewer Disclosures; Lowering Estimates, Target," BMO Capital Markets, November 2,
                                                                                                            2018)

BTIG                                                                                                        BTIG
Report not available.                                                                                       Chinese economy, Apple's performance in China, and emerging markets not discussed.
                                                                                                            ("Apple Reduces Disclosure; Typically Not A Good Sign," BTIG, November 1, 2018)




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Canaccord Genuity                                                                                              Canaccord Genuity
Report not available.                                                                                          Chinese economy, Apple's performance in China, and emerging markets not discussed.
                                                                                                               ("Solid Q4/F18; long-term positive thesis intact - reiterate BUY and $250 PT," Canaccord Genuity,
                                                                                                               November 1, 2018)

Citi Research                                                                                                  Citi Research
The worse potential outcome would be a scenario if the China government forbids or discourages purchase        Geographically sales grew double digits year over year in all major regions (Japan +34%, Rest of Asia Pac
on iPhones or Apple products in China. At this point there is no evidence of this risk occurring but we note   +22%, Americas +19%, Europe +18% and Greater China +16%).
China represents approximately 20% of Apple’s total sales.
                                                                                                               We rate Apple shares Buy. While we acknowledge smartphone growth remains tempered, we continue to
As the smartphone market in China has slowed down, most vendors including Chinese players have                 see positive tailwinds for Apple's fundamental growth drivers including ASP premiumization cycle, significant
aggressively expanded in India...                                                                              EPS impact from corporate tax reform and capital returns, continued revenue and gross margin contribution
("Consensus Is Missing This; 5 Reasons to Buy Apple Stock," Citi, October 8, 2018)                             from services and AppStore, push into Enterprises and emerging markets especially India.
                                                                                                               ("Leaving Investors Speechless with a -7% Stock Drop Heading into Christmas!" Citi Research, November
We are particularly cautious on the China market given lackluster sell-through data, as well as in APAC (ex    2, 2018)
Japan) and Latin America which are facing headwinds from weak currencies.

Lackluster China smartphone market – China smartphone sell-through data remains weak. Per Sigmaintell,
sell-through in Aug declined 6% yoy. Jul and Aug cumulatively dropped by 7% yoy. We estimate sell-
through in China’s “Golden Week” holiday in Oct was down about 10% yoy. Market share of top-4 Chinese
smartphone OEMs grew to 75% in Aug vs. 62% one year ago and 70% in 2Q18.

Smartphone Model Update
We revise down our 2018E and 2019E global smartphone shipment forecasts by 0.9% and 2.6% to
1,460mn and 1,480mn units. We are particularly cautious on the China market given lackluster sell-through
data, as well as APAC (ex Japan) and Latin America which are facing headwinds from weak currencies.
Our new forecast suggests a 0.4% decline in units in 2018E and slow growth in 2019E. We also launched
our 2020E and 2021E forecasts, with an anticipated demand recovery driven by 5G launch.
("Global Smartphones Trimming Our Global Smartphone Forecasts; Innovation Lab Data Points to No
iPhone “Super Cycle” This Year," Citi, October 15, 2018, emphasis in original)


Credit Suisse                                                                                                  Credit Suisse
Apple business likely suffered from ASP/GM pressure in 2H18... High-power slowdown likely due to China         Chinese economy, Apple's performance in China, and emerging markets not discussed.
macro concerns and trade war but we expect long-term GM improvement...                                         ("Apple behind us, A fresh start," Credit Suisse, November 2, 2018)

High-power revenue slowdown was mainly due to China macro concerns and indirect impact from trade war
which are unlikely to recover in the coming quarters, but we still see potential GM improvement in the long-
run given more adoption of self-developed laser source, larger production scale, and higher bargaining
power with IPG.
("3Q18 sales/GM missed and 4Q18 guidance below due to Apple/macro impact," Credit Suisse, October 22,
2018)




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Cross Research                                                                                                        Cross Research
While we are watching smartphone demand in China, we expect iPhone demand to remain solid (especially                 We note Greater China revenue was up 16% y/y, the slowest growth of the company's major geos, albeit
y/y) as Chinese customers tend to buy the high-end of Apple’s line-up (which wasn’t available until 11/3 last         still strong.
year).                                                                                                                ("F4Q18 Quick Take; Solid Quarter But Guidance Reflects Uncertainty," Cross Research, November 1,
("F4Q18 Preview; Solid Quarter Expected, Benefit From Earlier XS Launch," Cross Research, October 18,                 2018)
2018)
                                                                                                                      Understanding China
                                                                                                                      Greater China revenue was up 16% y/y including strong double-digit growth in iPhone and Other revenue.
                                                                                                                      Management noted the Chinese App Store did see a slow down related to the change in game approvals,
                                                                                                                      although we believe revenue was still up double digits supported by growth in the iPhone installed base.
                                                                                                                      Chinese iPhone revenue was up more than 20% y/y and we assume mix shifted to the high-end Xs and Xs
                                                                                                                      Max, similar to prior launches. Regarding macro headwinds, management did not call out any specific
                                                                                                                      impact in the quarter or next quarter related to China-US trade tensions and noted its supply chain is spread
                                                                                                                      across many regions around the world.
                                                                                                                      ("F4Q18 Review; Focusing Attention On Services, Limiting Hardware Disclosure," Cross Research,
                                                                                                                      November 1, 2018, emphasis in original)
D.A. Davidson                                                                                                         D.A. Davidson
Greatest Risk: AAPL and LOGI                                                                                          We also consider the 16.4% revenue growth for its greater China region as also remarkable given some
Apple and Logitech topped our list as China plays a significant role for both when it comes to the                    investors were concerned about slowing growth for that region and given, again, the aforementioned trade
manufacturing of its products and both have more than 60% of sales coming from outside the U.S. For its               war between the U.S. and China. The results suggest to us that Apple's management is doing an amazing
part, Apple has dodged the bullet, to date, as its most important product, smartphones, have not been                 job of walking the tight rope - managing its supply chain, with a heavy usage of China for, at least, assembly
included in the first two rounds of tariffs.                                                                          and offering Chinese consumers products they desire. That said, we still see China as representing the
("CT Scan: Measuring Currency and Tariff Risks," D.A. Davidson, October 24, 2018, emphasis in original)               single greatest risk to shares and will be monitoring tariffs closely, especially in the event the next round is
                                                                                                                      EVERYTHING out of China.
While we see China as the single biggest risk to shares, from both a tariff-related standpoint and when               ("Selling Products at Higher Prices Is a Great Thing; BUY," D.A. Davidson, November 2, 2018)
considering more than 20% of its sales come from China, we believe there opportunities for the company to
manage the situation. Therefore, we are reiterating our BUY rating and $265 price target on AAPL...

On the call, we will be listening for: Management’s comments on the escalating trade war between the
U.S. and China, and its strategy if additional tariffs are enacted. In particular, if any of its suppliers are able
to move operations out of China following reports by Nikkei that GoerTek is planning to move operations to
Vietnam.
("High ASPirations for the iPhone; BUY," D.A.Davidson, October 25, 2018, emphasis in original)

As we have stated previously, we see China-related risks as having the most potential to slow Apple's
momentum, both from tariffs and when considering roughly 20% of its sales come from consumers in China,
which could be at risk in the event a prolonged trade war results in protectionist purchasing by consumers.
("Apple's New AMPed Product Line Up; BUY," D.A. Davidson, October 31, 2018)

Daiwa Capital Markets                                                                                                 Daiwa Capital Markets
Report not available.                                                                                                 Revenue also grew across geographies, and notably growth in the Americas up 19%, Greater China 16%
                                                                                                                      and Europe in 18%, Japan 34%, but there was weakness in Turkey, Russia, India and Brazil.
                                                                                                                      ("Good, above guidance 4Q, but weaker q/q momentum," Daiwa Capital Markets, November 1, 2018)




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Elazar                                                                                                         Elazar
Report not available.                                                                                          Report not available.
FBN Securities                                                                                                 FBN Securities
Report not available.                                                                                          [A]lthough many investors are concerned about AAPL’s China business, the Greater China segment grew
                                                                                                               by 16% Y/Y (down only slightly from 19% Y/Y growth in FQ3) against a tougher Y/Y comparison.
                                                                                                               ("AAPL: Buy on Pullback as Somewhat Weak FQ1 Guidance Partly Caused by Timing of New iPhones,"
                                                                                                               FBN Securities, November 2, 2018)
Goldman Sachs                                                                                                  Goldman Sachs
There are multiple signs of rapidly slowing consumer demand in China which we believe could easily affect      Apple reported strong FQ4 revenue, but missed on FQ1 guidance due to weakness in EMs and adverse
Apple’s demand there this Fall.                                                                                currency movements. The company said they did not see weak consumer demand in China in FQ4 but we
                                                                                                               believe FQ1 guidance may still assume some potential for weaker demand there given ongoing macro
China macro indicators weakening substantially. Macro data points out of China have weakened                   uncertainty.
substantially, as PMI dropped to 50.8 in September from 51.3 in August and 51.5 in June, Auto sales
deteriorated to -12% Y/Y in September vs. -4% Y/Y in August and July, and early Golden week indications        FQ1’19 Guidance Miss Due to EMs... We believe consumer weakness in markets such as Turkey, Russia,
are lackluster.                                                                                                India, Brazil and possibly China is driving the weaker guidance. Turkey, Russia, India and Brazil alone
("China slowdown raises EPS risk for Apple. We provide sensitivity analysis to various outcomes,"              contributed 6% of total iPhone units in FQ1’18.
Goldman Sachs, October 14, 2018, emphasis in original)
                                                                                                               No Signs of Weakness in China. Revenue in Greater China grew 16% Y/Y in FQ4’18 to $11.4bn and
China Market Weakness. We flagged potential weakness n in the Chinese smartphone market and laid               management commented that they have not seen any signs of weakness in China through the end of
out Apple’s EPS sensitivity scenarios in our recent report... Growth in the 6”+ smartphone category could be   September. We believe the high end smartphone market remained strong during Q3, while the low/mid end
an offsetting tailwind for Apple but the potential to materially beat consensus with December guidance may     category deteriorated. We believe Golden week smartphone sales in early October were down about 20%
be somewhat lower due to recent macro issues.                                                                  Y/Y with Apple also seeing some weakness in that holiday but this was before the popular XR launched.
("Apple Inc. (AAPL): FQ4’18 Preview: China impact on guidance is the main focus," Goldman Sachs,               While Apple indicated China was fine in FQ4 to Sept for them we believe the company likely sees some
October 15, 2018, emphasis in original)                                                                        demand risk there in the December quarter.
                                                                                                               ("FQ4’18 Wrap: Guidance weak on EM and FX weakness; ASPs higher," Goldman Sachs, November 1,
We continue to believe that China and possibly widening consumer weakness represent unit risk for Apple        2018, emphasis in original)
in the December quarter... given market conditions in China and expanding uncertainty around trade and
macro we believe Apple is likely to lean conservatively on their guidance for FQ1 to Dec and to then hope
things improve before the critical holiday buying season.

China Continues to Weaken. Macro data points out of China continued to weaken in October.

Chinese Smartphones declined 15% in Q3. In our recent n smartphone model update, we reduced our
estimates for Chinese smartphones for H2’18 and 2019 due to end market weakness. Though most of the
smartphone weakness in China is in the mid and lower range we find it hard to believe that the weaker
consumer environment, should it persist, is going to be helpful to Apple.
("iPhone Mix Trending Better; Increasing ASPs. China/Macro unit risk remains. Reiterate Neutral," Goldman
Sachs October 24 2018 emphasis in original)




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Guggenheim Securities                                                                                            Guggenheim Securities
China comps get tougher again now starting in the Sep-qtr, as revs were +12%Y/Y in Sep-17 after 6                By geo, Americas revs were +19%Y/Y, Europe +18%Y/Y and China held solid at +16%Y/Y even as it
preceding quarters of 10-33%Y/Y declines, which could add to growing new concerns already surrounding            now returns to tougher Y/Y comps (e.g., China revs were +12%Y/Y in Sep-17 after 6 preceding quarters of
trade; but we believe bigger iPhone screens should still be a bigger hit in China than the past few              10-33%Y/Y declines), with China iPhone revs up >20%Y/Y. Apple did, however, call out macro weakness it
generations.                                                                                                     now sees in some other emerging markets, including Turkey, Brazil, Russia and India (e.g., where revs were
("AAPL – Dec Qtr Consensus Looks Too Low," Guggenheim, October 18, 2018, emphasis in original)                   just flat Y/Y), compounded by the stronger USD.
                                                                                                                 ("AAPL – May Want its Growth-via-ASP Strategy to be Less Obvious," Guggenheim Securities, November
                                                                                                                 1, 2018, emphasis in original)
Jefferies                                                                                                        Jefferies
China is the clear risk to our call. A trade war with China would have a material negative impact on sales.      Holiday quarter outlook is below Street. Four reasons. 1) iPhone ASP was elevated in F'4Q due to XS
("Building a Valuable Services Business on Top of Apple's Core. Initiate at Buy," Jefferies, October 29,         and XS Max, while lower-priced XR launches in F'1Q. 2) Strong dollar; FX is a $2B headwind. 3) higher
2018, emphasis in original)                                                                                      uncertainty given all the new products and 4) softness in emerging markets like Russia and Brazil.

                                                                                                                 Our PT of $265 is derived by a DCF (8% WACC) and implies 19x our 2019 EPS, supported by a SOTP and
                                                                                                                 multiples... Risks include a trade war with China, consumer pushback against higher ASP, competitive
                                                                                                                 services diluting the value of Apple's ecosystem, and a strengthening dollar.
                                                                                                                 ("New Disclosure Will Shift Focus to Services Margin, Away from iPhone Units," Jefferies, November 2,
                                                                                                                 2018, emphasis in original)
J.P. Morgan                                                                                                      J.P. Morgan
Increase in competitive pressures in international markets                                                       [M]acro risks are noteworthy at this time for a global business, driving greater conservatism than
Apple is increasingly participating in international markets, such as China and India, where local players,      usual in F1Q guidance. While we believe that there is not much of a shortfall relative to guidance when it
which are better situated, could leverage their position and pull on levers such as pricing to make the market   comes to F1Q, it is important to remember that the firm has to navigate and execute amidst higher macro
more competitive. In addition, tariffs enacted by local governments may further hurt Apple’s ability to          risks, particularly as relates to a softer outlook for emerging market growth, weakening EM currencies
effectively compete in international markets.                                                                    necessitating price increases, as well as softening consumer confidence in that backdrop. For example,
("Investor Feedback on Our Recent Initiation," J.P. Morgan, October 10, 2018, emphasis in original;              Apple cited pressures in emerging markets including Turkey, Brazil, India and Russia and challenges in
"Brooklyn Launches Focus on Installed Base Upgrade with iPad Pro and New Customers with MacBook                  growth following price increases. Separately, while Apple continues to see solid growth in EM countries like
Air," J.P. Morgan, October 31, 2018, emphasis in original)                                                       China (+16% y/y in F4Q), it is facing regulatory hurdles relative to growth for the App Store. Net, we believe
                                                                                                                 the F1Q guidance embeds a higher degree of conservatism relative to headwinds from emerging risks,
                                                                                                                 which are hard to quantify, and thus an unusually wide range for the F1Q revenue outlook.

                                                                                                                 Increase in competitive pressures in international markets
                                                                                                                 Apple is increasingly participating in international markets, such as China and India, where local players,
                                                                                                                 which are better situated, could leverage their position and pull on levers such as pricing to make the market
                                                                                                                 more competitive. In addition, tariffs enacted by local governments may further hurt Apple’s ability to
                                                                                                                 effectively compete in international markets.
                                                                                                                 ("Growth Fundamentals Intact, Despite Softer Revenue Guide on FX Headwind and Conservatism Related
                                                                                                                 to Macro Risks," J.P. Morgan, November 2, 2018, emphasis in original)

KeyBanc Capital Markets                                                                                          KeyBanc Capital Markets
Chinese economy and Apple's performance in China not discussed.                                                  Chinese economy, Apple's performance in China, and emerging markets not discussed.
("AAPL: iPhone Pricing Should Drive GM% Expansion," KeyBanc Capita Markets, October 21, 2018)                    ("AAPL: Units May Not Matter, but Price Does," KeyBanc Capita Markets, November 1, 2018)




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Longbow Research                                                                                          Longbow Research
Google and Baidu Search Trends. Longbow’s 10/10 update noted Google and Baidu search trends               Chinese economy, Apple's performance in China, and emerging markets not discussed.
continue to demonstrate slowing momentum, which is unsurprising given the iterative new model launches.   ("AAPL (NEUTRAL): Focus on How Much, Not How Many," Longbow Research, November 2, 2018)
Baidu searches have an R= 0.77 and an R2= 0.60 to APPL’s China sales and a R=0.80 and R2 = 0.64 to
IDC’s estimate of AAPL iPhone shipments into China.
("AAPL (NEUTRAL): Shifting iPhone ASPs and Shipment Forecasts," Longbow Research, October 17,
2018, emphasis in original)
Loop Capital Market                                                                                       Loop Capital Market
Report not available.                                                                                     Revenue guidance would have been at least in line excluding a handful of transitory items that arose.
                                                                                                          Specifically, FX revenue translation headwind, USD strength impacting demand in India, Brazil, Russia,
                                                                                                          Turkey (etc.), production constraints for some of AAPL’s new products (i.e., watches and AirPods), and
                                                                                                          some macro demand stall / impact.
                                                                                                          ("Look Under The Layers And Buy Any Pullback," Loop Capital Markets, November 2, 2018, emphasis in
                                                                                                          original)
Macquarie Research                                                                                        Macquarie Research
Chinese economy and Apple's performance in China not discussed.                                           China – Greater China revenue grew 16% to $11.4B, the fifth straight quarter of double digit growth. Apple
("U.S. Large-Cap Internet 3Q’18 Preview: Not for the Faint of Heart," Macquarie Research, October 24,     noted that the Other Products category was a bit stronger than the overall company number of 31% growth.
2018; "Apple (AAPL US) Impressive Hardware Refresh," Macquarie Research, October 31, 2018)                iPhone also saw double-digit growth.

                                                                                                          Double-digit growth in all geographic segments, mixed results at a country level... Apple noted that the
                                                                                                          Emerging Markets they are seeing pressure in are markets like Turkey, India, Brazil, and Russia, where
                                                                                                          currencies have weakened over the recent period.
                                                                                                          ("F4Q’18: Increased Uncertainty; Services Key," Macquarie Research, November 2, 2018, emphasis in
                                                                                                          original)
Maxim Group                                                                                               Maxim Group
Report not available.                                                                                     Chinese economy, Apple's performance in China, and emerging markets not discussed.
                                                                                                          ("Guidance and No More Unit Disclosures Indicate that iPhone Installed Base Growth is Likely Slowing to
                                                                                                          Low-Single Digits," Maxim Group, November 2, 2018)
Monness Crespi Hardt                                                                                      Monness Crespi Hardt
Chinese economy and Apple's performance in China not discussed.                                           Macro Commentary a Bit More Cautious. The call was filled with more macro concerns than during
("Amidst the Tech Wreck, Apple on Tap with a Fresh Portfolio for the Holiday Season," Monness Crespi      recent quarterly gatherings with Apple calling out weakness in a handful of developing countries with their
Hardt, October 29, 2018; "Taking the Apple Magic to Brooklyn and Strengthening Portfolio Ahead of         own dynamics, combined with the headwind of weakening currencies outside the U.S. that will hit sales by
Holidays," Monness Crespi Hardt, October 31, 2018)                                                        ~$2 billion YoY in 1Q:FY19 and supply/demand imbalances are possible.
                                                                                                          ("Puts and Takes but Planet Apple Remains a Shining City on a Hill in a Volatile Tech World," Monness
                                                                                                          Crespi Hardt, November 2, 2018, emphasis in original)




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Morgan Stanley                                                                                                       Morgan Stanley
[T]here are a few dynamics this quarter that may limit the ability to further raise full year estimates. The first   The majority of growth comes from services but hardware grows slightly as replacement cycles level off
is the impact from US/China tariffs and Intel CPU shortages on 2018 guidance, after some hardware OEM's              earlier than in the base case and Apple continues to gain new users in markets like China and India.
called these issues out as headwinds to 4Q18 growth and margins. While management specifically noted                 ("Strong ASPs and Services With a Dose of Macro Uncertainty," Morgan Stanley, November 2, 2018)
the pockets of supply chain dislocation called out in 2Q were not a result of US/China tariffs, this was prior to
the US administration announcing additional tariffs on some $200B of goods in September. Second, the
USD continued to strengthen in 3Q, and we wouldn't be surprised if management revised their expectations
for a 30bps FX tailwind in 2018 lower.
("What Investors Are Asking: Expectations Into Earnings," Morgan Stanley, October 25, 2018)

Morningstar                                                                                                          Morningstar
Report not available.                                                                                                When assessing Apple’s forward prospects, we think its premium status has driven a more amplified
                                                                                                                     bifurcation of the smartphone market with the iPhone XS/XS Max poised to dominate the high end of the
                                                                                                                     spectrum. Meanwhile, we believe the firm’s lower-end devices will lose share in emerging market regions
                                                                                                                     where the iOS allure is less pronounced and users are more cost-conscious.
                                                                                                                     ("No Disputing Apple iPhone Hegemony, But Decision to Mask Units Is Dubious; Shares Fairly Valued,"
                                                                                                                     Morningstar, November 1, 2018)
Needham & Company                                                                                                    Needham & Company
Report not available.                                                                                                Economic Weakness. If macro economies slow owing to Brexit or China, etc AAPL’s premium price point
                                                                                                                     may lower its device sales. That is, AAPL’s replacement cycles may elongate if macro economies slow.

                                                                                                                     China is the question that generates the most debate. Although greater China reported double digit growth
                                                                                                                     in FY2Q18, risks to AAPL in China appear to be rising.
                                                                                                                     ("Not a Hardware Company. Buy AAPL on Weakness," Needham & Company, November 2, 2018,
                                                                                                                     emphasis in original)

Nomura                                                                                                               Nomura
Chinese economy and Apple's performance in China not discussed.                                                      Apple… released 4QFY18 (Sep-Q) results… We note that sales grew y-y across all regions, with Americas
("X-Ray on XR: Shipment Times Consistent," Nomura, October 21, 2018; "Apple Peels: Telco DPs,                        +19%, Europe +18% and Greater China +16% y-y.
Shipment Times," Nomura, October 28, 2018; "New Macs / iPads, Same Playbook," Nomura, October 30,                    ("Implications of Apple’s 4QFY18 results," Nomura, November 2, 2018)
2018)
Oppenheimer & Co                                                                                                     Oppenheimer & Co
Report not available.                                                                                                While Greater China delivered a respectable 16% Y/Y sales growth, all other regions grew faster.

                                                                                                                     Greater China: Management indicated that the 16% Y/Y growth was driven by non-iPhone products,
                                                                                                                     although iPhone did deliver double-digit growth. A slowdown in the supply of new mobile games in
                                                                                                                     mainland China also contributed to this region's relatively slower growth compared to rest of the world.

                                                                                                                     Downside Scenarios
                                                                                                                     iPhone sales decline Y/Y in FY18 due to weak Greater China sales and lack of switchers and upgraders.
                                                                                                                     ("Attention Shifting To Experience from Hardware, Apple Changing the Game for Itself and Analysts,
                                                                                                                     Oppenheimer & Co, November 2, 2018, emphasis in original)




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                                                               Exhibit 3
                                                              Apple Inc.
                           Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
                                    Before and After the November 1, 2018 Earnings Announcement[1]


        Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                      Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Piper Jaffray                                                                                                     Piper Jaffray
Chinese economy and Apple's performance in China not discussed.                                                   [E]merging markets are not performing as well as anticipated in the current environment.
("Teen Survey: iPhone Ownership Flat, But Intent to Buy Rises; Reit OW & 250 PT," Piper Jaffray October           ("Solid Sept Qtr, But Outlook & Less Disclosure Disappoint; Maintain OW & $250 PT," Piper Jaffray,
22, 2018)                                                                                                         November 2, 2018)

Raymond James & Associates                                                                                        Raymond James & Associates
Chinese economy and Apple's performance in China not discussed.                                                   Chinese economy, Apple's performance in China, and emerging markets not discussed.
("F4Q18 Preview: As Good as It Gets?," Raymond James & Associates, October 25, 2018)                              ("FX Headwinds; No Longer Disclosing Unit Sales," Raymond James & Associates, November 2, 2018)

RBC Capital Markets                                                                                               RBC Capital Markets
Investor Focus Points… China: Investors would also look for new iPhone sales and services                         AAPL reported modest upside to Sept-qtr results with no notable slowdown from China as better iPhone
performance in China.                                                                                             ASP’s and stable GM’s enabled revenue and EPS upside vs. expectations. The disappointment from this
("Sep-Qtr Preview and "Cheat Sheets" - Stable Fundamentals in a Shaky Market?" RBC Capital Markets,               print will be A) their decision to stop providing iPhone units/ASP information going forward and B) Dec-qtr
October 30, 2018, emphasis in original)                                                                           gross-margin guide was underwhelming vs. expectations given memory tailwinds.
                                                                                                                  ("Privacy Commitment Now Extends To iPhone Unit Disclosure Apparently," RBC Capital Markets,
                                                                                                                  November 1, 2018)
Rosenblatt Securities                                                                                             Rosenblatt Securities
We continue to have concerns of China consumer spending confidence declines impacting overall iPhone              Chinese economy, Apple's performance in China, and emerging markets not discussed.
sales in China, however.                                                                                          ("C4Q Guidance Reflects our Cautious View on Weaker than Expected Sell Through and Production
                                                                                                                  Reductions for iPhone XS/XR, Downgrade to Neu-tral, Maintain our Price Target," Rosenblatt, November 2,
We believe iPhone XS and iPhone XS Max preorders have been generally stronger in the US than in China,            2018)
while preorders for the iPhone XR have been stronger in China than in the US. We have been tracking
iPhone XR preorder data in China, and our tracks indicate overall iPhone XR pre-registrations in China are
~2 million units for the first three days... iPhone XR pre-orders are similar to iPhone 8/8+ preorders in China
last year, and slightly better than the 1.5 million XS/Max preorders in China. This is not a very exciting
result. We will continue to track pre-order volumes in China, but so far, we believe iPhone XR demand may
be lower than our previous estimates. We believe Apple will likely adjust down its iPhone XR production for
November and December by about 3-4 million units.

iPhone XS Max
We believe Apple recently increased iPhone XS Max production by 2-3 million units (most are 512G models)
for C4Q, attributing to the holiday season inventory build. However, this week we are seeing XS Max sell-
through cool down in China. Our thoughts are that this cool down is attributable to consumers waiting for
the release of the iPhone XR next weekend. We previously estimated around 15 million units would be
shipped in 2H18 but are now increasing our estimates to 17.5 million units for iPhone XS Max shipments for
the 2nd half of this year.
("Earnings Preview, iPhone XR Preorders Weaker than Expected, Reducing our XR Shipment Estimates,
iPhone Max Production Increases Expected for the Holiday Season, iPad Pro and New MacBook Production
Ramp," Rosenblatt Securities, October 22, 2018, emphasis in original)




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                                                            Exhibit 3
                                                           Apple Inc.
                        Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
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         Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]             Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
TFI International Securities                                                              TFI International Securities
Report not available.                                                                     Chinese economy, Apple's performance in China, and emerging markets not discussed.
                                                                                          ("C4Q Guidance Reflects our Cautious View on Weaker than Expected Sell Through and Production
                                                                                          Reductions for iPhone XS/XR, Downgrade to Neu-tral, Maintain our Price Target," TFI International
                                                                                          Securities, November 1, 2018)
Tigress                                                                                   Tigress
Report not available.                                                                     Report not available.
Trefis                                                                                    Trefis
Report not available.                                                                     LOWER PRICED PRODUCTS COULD HURT MARGINS – While Apple's flagship devices such as the
                                                                                          (iPhone X and iPad Pro) are getting more expensive, the company has also been rolling out more affordable
                                                                                          products, such as the iPhone SE ($350) and the new iPad ($330). Apple has also been increasing sales to
                                                                                          emerging markets such as China and India and there is a possibility that the growing strength of the U.S.
                                                                                          dollar could put pressure on the company's margins.
                                                                                          ("ANALYSIS for NASDAQ : AAPL," Trefis, November 4, 2018, emphasis in original)




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                                                               Exhibit 3
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        Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                      Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
UBS                                                                                                                UBS
Per Gartner, iPhone shipments in Greater China are 22% of total iPhone shipments so far in F18, down from          Risks to our Apple thesis include... macro weakness dampening product demand, especially in China...
23% in F17 and 31% in F15. Apple should be able to stem the downward pressure and may see some                     ("It's The End of iPhone Units As We Know It, And It Might Ultimately Be Just Fine," UBS, November 2,
growth given a penchant for larger screen phones and dual-sim cards also a big selling point, albeit offset        2018)
by unfavorable factors such as competition and macro trade issues.
("Apple Inc. Demand Looks Solid, Especially iPhone Xs Max; Remain Bullish on iPhone Units and ASPs,"
UBS, October 8, 2018)

Flattish demand in Western regions; China could be better
We analyzed the data to gauge consumer interest in new iPhones at the time when the product starts
shipping... The data suggests consumer interest in iPhone Xs and Xs Max is similar to that in iPhone X, 8
and 6s but below iPhone 7 at the time of respective shipment dates in the U.S.... Interestingly, iPhone Xs
and Xs Max interest is higher in Hong Kong compared to iPhone 8, which supports our view that China
would be less of a drag and could see some growth.

The decline in consumer interest level for iPhone Xs and Xs Max versus iPhone 8 and X is much smaller
than the decline in iPhone 8 and X versus iPhone 7... This supports our view that iPhones could do slightly
better in China this year and there could be some upside to our -3% estimate. Having said that, China is the
greatest unknown given macro uncertainties.

Limited Direct Impact from Tariffs
At the moment, we see limited risk of Chinese government action that would hurt the sales of Apple
products in China. Retaliation to US tariffs by the Chinese government has been more focused on politically
sensitive US exports such as soybeans and other agricultural commodities. We believe that (1) the US is
unlikely to impose tariffs on consumer electronics imports from China, such as smartphones by Huawei,
thereby taking the bull's eye off of iPhones being sold in China, and (2) Chinese retaliation to US tariffs will
not be proportional.

Risks to our Apple thesis include... macro weakness dampening product demand, especially in China...
("Apple Inc. FQ4:18 (Sep) Earnings Preview: Survey Work Supports Very Strong iPhone ASP Narrative,"
UBS, October 29, 2018, emphasis in original; "Pushing the Price Narrative In More Categories;
Line-Up Now Fully Refreshed," UBS, October 30, 2018, emphasis in original)




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                                                              Exhibit 3
                                                             Apple Inc.
                          Analyst Commentary on the Chinese Economy and Apple’s Business in Greater China
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          Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                 Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Wedbush Securities                                                                                             Wedbush Securities
Looking out into FY19; China consumer demand a key driver... The main swing factor in our opinion looking      Is China a growth tailwind or headwind for Apple in 2019 and beyond?
ahead is China (was up 19% year over year in June/FY3Q) as we estimate over a 100 million iPhone               The China region grew 16% year over year this quarter, in line with our expectations. While competition
installed base in this key region, with over half of these consumers due for an upgrade during the course of   from lower cost smartphones remain an issue for Apple in China, the underlying growth opportunity out of
FY19. In particular, we estimate between 60 million and 70 million Chinese iPhones will be in the “upgrade     this region is massive as we estimate between 60 million and 70 million iPhones are due for an upgrade
window” over the coming year with iPhone’s next generation trifecta of smartphones as a major potential        over the next 12 months.
product catalyst in the all important Chinese market, which could see a renaissance of growth on the horizon
for Apple despite lingering worries around the overall China market given current tariff/trade tensions. To    A Closer Look at FY4Q18 (September) Results
this point, as China trade worries appear to now be in negotiation mode the biggest lingering worry for the    Geographic Breakdown... China came in at $11.4 billion growing 16% y/y from $9.8 billion last year.
Street is around any possible supply chain disruption that could cause a speed bump for Apple/iPhones
heading into this major product cycle. We believe this issue so far is contained however will be a key         Risks to the Attainment of Our Price Target and Rating
dynamic we will be keeping a very close eye heading into the September quarter as the initial demand and       ... Success of Apple's product strategy in China, which remains a key growth driver for the coming years and
ASPs appear to be trending above expectations with a healthy pipeline of customers poised to upgrade over      could be impaired by lower priced smartphones and competition. China macro/tariffs issue remain a long-
the next few quarters.                                                                                         term risk.
("Cook & Co. Focused on Services Gold Mine; iPhone Cycle Humming-Initiating at OP," Wedbush                    ("Cook Pulls the Plug on Metrics in a Houdini Like Move; Bullish Thesis Unchanged," Wedbush Securities,
Securities, October 18, 2018)                                                                                  November 2, 2018, emphasis in original)

We continue to believe XR will be a linchpin around Cupertino’s success in further penetrating the China
consumer market over the next year with our estimates that roughly 60 million to 70 million iPhones in this
key region are in the window of opportunity to upgrade.

The main swing factor in our opinion looking ahead is China (was up 19% year over year in June/FY3Q) as
we estimate over a 100 million iPhone installed base in this key region, with over half of these consumers
due for an upgrade during the course of FY19. In particular, we estimate between 60 million and 70 million
Chinese iPhones will be in the “upgrade window” over the coming year with iPhone’s next generation trifecta
of smartphones as a major potential product catalyst in the all important Chinese market, which could see a
renaissance of growth on the horizon for Apple, despite lingering worries around the overall China market
given current tariff/trade tensions.
("The Drum Roll Begins for iPhone December Guidance; Tea Leaves Positive So Far," Wedbush Securities,
October 29, 2018)
Wells Fargo                                                                                                    Wells Fargo
Report not available.                                                                                          Cautious Emerging Macro Commentary: While Apple reported continued strong growth in China (+16%
                                                                                                               y/y in F4Q18; iPhone +DD%), the company’s commentary was relatively cautious on emerging market
                                                                                                               demand given the strengthening U.S. Dollar.

                                                                                                               Geographical: Apple reported +16% yr/yr growth in China vs. +19% in the prior quarter. Apple also saw
                                                                                                               strength in Japan at +34% yr/yr – the company’s fastest yr/yr growth since F4Q13. The company cited
                                                                                                               pressure in emerging markets such as Brazil, India, Turkey, and Russia.

                                                                                                               When asked about trade friction with China and the potential for the supply chain to be moved out of China
                                                                                                               management said that its manufacturing base was wide and that it was optimistic on trade talks moving
                                                                                                               forward.
                                                                                                               ("AAPL: Solid Results Overshadowed By Pulled Unit Disclosures + Macro Angst," Wells Fargo, November
                                                                                                               1, 2018, emphasis in original)




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                                                               Exhibit 3
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        Analyst Report Commentary Before the November 1, 2018 Earnings Announcement[2]                                       Analyst Report Commentary After the November 1, 2018 Earnings Announcement[3]
Wolfe Research                                                                                                      Wolfe Research
Report not available.                                                                                               Report not available.

Yuanta                                                                                                              Yuanta
Report not available.                                                                                               Apple indicated the revenue guidance range reflects 1) different new iPhones launch time vs last year; 2)
                                                                                                                    almost US$2 billion from foreign exchange headwinds; 3) uncertainty around the supply & demand balance
                                                                                                                    for new products ramp up; and 4) some macroeconomic uncertainty, particularly in emerging markets. With
                                                                                                                    the weak guidance, Apple shares were down 6% in after-hours trading.
                                                                                                                    ("APPL (APPL US) – FY4Q18 results, guidance and implications," Yuanta, November 2, 2018)




Note:
[1] Quotes include analyst commentary, such as risk disclosures that may have been included in prior reports. Commentary about the iPhone App Store and gaming are not included.
[2] Based on analyst reports between 10/1/18 and 10/31/18.
[3] Commentary includes discussion of emerging markets.




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                   Exhibit 4
                  Apple Inc.
    Summary Statistics for Relevant Options[1]
               11/2/18 – 1/2/19
    Number of Relevant Options[2]                                                   2,282
                                                      [3]
    Unique Strike Price-Expiration Combinations                                     1,250

    Number of Unique Strike Prices                                                    148
    Option Strike Price Range                                           $2.50 – $440.00
    Apple Stock Price Range                                          $146.83 – $209.95

    Number of Unique Expiration Dates                                                   22
    Option Expiration Date Range                                       11/9/18 – 1/15/21

    Average Daily Open Interest per Relevant Option[4]                              2,605
                                                            [4]
    Median Daily Open Interest per Relevant Option                                    412
  Source: Complaint dated 6/23/20; EXP_FEINSTEIN0000001.xlsx
  Note:
  [1] Statistics are based on the set of Relevant Options, which are those with (1) expiration date
      on or after 11/5/18, the first alleged corrective disclosure date, and (2) positive trading
      volume on at least one day during the Putative Class Period (11/2/18 – 1/2/19).
  [2] Call and put options with the same strike price and expiration are counted separately.
  [3] Call and put options with the same strike price and expiration are counted together.
  [4] Calculated across all options and trading dates.




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                                         Exhibit 5
                                         Apple Inc.
                       Trading Summary Statistics for Relevant Options[1]
                                      11/2/18 – 1/2/19

                                        Min                     Mean           Max             10%           25%           50%           75%           90%
Average Daily Trading Volume (Option Contracts)
Call                                     0                       691         31,296              1             6            45            297         1,673

Put                                                 0            573         18,245              1             7            52            283         1,403

Percent of Days with No Trading
Call                                                0%          35%            98%              0%            0%           26%           66%           86%

Put                                                 0%          31%            98%              0%            0%           15%           62%           90%


 Source: Complaint dated 6/23/20; EXP_FEINSTEIN0000001.xlsx
 Note:
 [1] Statistics are based on the set of Relevant Options, which are those with (1) expiration date on or after 11/5/18, the first alleged corrective disclosure
     date, and (2) positive trading volume on at least one day during the Putative Class Period (11/2/18 – 1/2/19). For each option, the start of the analysis
     period is the earliest day between 11/2/18 and 1/2/19 for which there is a non-zero bid or ask price in EXP_FEINSTEIN0000001.xlsx, and the end of
     the analysis period is the earlier of the option expiration date and 1/2/19.




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                                         Exhibit 6
                                         Apple Inc.
                       Trading Summary Statistics for Relevant Options[1]
                                      11/2/18 – 1/2/19

                                                   Min           Mean           Max            10%           25%           50%            75%          90%
Average Bid-Ask Spread[2]
Call
In-the-Money[3]                                     1%             5%          35%               3%           3%             4%           7%            9%
Out-of-the-Money[4]                                 1%            39%         195%               6%          11%            28%          57%           87%
Total                                               1%            27%         195%               3%           5%            10%          38%           74%

Put
In-the-Money[3]                                     1%             5%          83%               3%           3%             4%           6%            8%
Out-of-the-Money[4]                                 2%            32%         177%               6%          11%            23%          44%           75%
Total                                               1%            22%         177%               3%           4%             9%          30%           62%


 Source: Complaint dated 6/23/20; EXP_FEINSTEIN0000001.xlsx
 Note:
 [1] Statistics are based on the set of Relevant Options, which are those with (1) expiration date on or after 11/5/18, the first alleged corrective disclosure
     date, and (2) positive trading volume on at least one day during the Putative Class Period (11/2/18 – 1/2/19). For each option, the start of the analysis
     period is the earliest day between 11/2/18 and 1/2/19 for which there is a non-zero bid or ask price in EXP_FEINSTEIN0000001.xlsx, and the end of
     the analysis period is the earlier of the option expiration date and 1/2/19.
 [2] Bid-ask spread is calculated as the difference between the ask and bid prices divided by the mid price. Days with a bid or ask price of zero are
     excluded from the average calculation.
 [3] For option series that alternate between in- and out-of-the-money, summary statistics are calculated based on the days the option series is in-the-
     money. At-the-money options are grouped with in-the-money options.
 [4] For option series that alternate between in- and out-of-the-money, summary statistics are calculated based on the days the option series is out-of-the-
     money. At-the-money options are grouped with in-the-money options.




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                                                             Exhibit 7
                                                            Apple Inc.
                                    Deviation of the Individual Option Synthetic Prices from
                                                      the Actual Stock Price
                                                         12/29/17 – 1/4/19
         Percent Deviation
         from Actual Stock Price


 2.0%



 0.0%



 -2.0%



 -4.0%



 -6.0%



 -8.0%



-10.0%



-12.0%

    12/29/17             2/4/18           3/13/18           4/19/18           5/26/18           7/2/18            8/8/18           9/14/18          10/21/18          11/27/18              1/4/19

                                                                                                Date

         Source: CRSP; EXP_FEINSTEIN0000002.xlsx
         Note:
         Percent deviation from the actual stock price is calculated as Dr. Feinstein's synthetic stock price minus the actual stock price over the actual stock price. Each
         observation represents an individual option pair (the put and the call with a unique expiration date and strike price) on each day. Dr. Feinstein calculates the synthetic
         stock price as the mid-point of the synthetic bid and synthetic ask stock prices. For each pair of options, he calculates the synthetic bid price as the call bid price less the
         put ask price plus the discounted strike price and discounted expected dividends using the broker dealer rate, and he calculates the synthetic ask price as the call ask
         price less the put bid price plus the discounted strike price and discounted expected dividends using the risk-free rate.




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                                                                                 Exhibit 8
                                                                                Apple Inc.
                                                                            Implied Volatility
                                                                             7/2/18 – 6/28/19
Implied Volatility                                                   Putative Class Period
50                                                                     11/2/18 – 1/2/19


45


40


35


30


25


20


15


10


 5


 0
 7/2/18              8/7/18          9/12/18          10/18/18          11/23/18          12/29/18   2/3/19   3/11/19   4/16/19   5/22/19    6/28/19

 Source: Refinitiv; Complaint dated 6/23/20
 Note: For each day, the implied volatility of the 30-day at-the-money call option is plotted.



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                                                                                                                       Exhibit 9
5/18/2021                                                  When does Apple release new iPhones? - 9to5Mac




     Exclusives        Guides          Mac           iPhone              Watch      iPad        Music          TV


                                                 Get started with

     Get fast Internet                           Xfinity Internet
                                                                                 Online                 Get It Now

     for your life.
                                                 $
                                                     29       99
                                                              a mo./
                                                               12 mos.
                                                 No term contract, with auto
                                                 pay and paperless billing
                                                                                 Exclusive
                                                                                 Oϙer
                                                                                                               Equipment, taxes and other charges extra,
                                                                                                            and subj. to change. See disclaimer for details.



  AUGUST 15, 2018


  When does Apple release new iPhones?
  Zac Hall - Aug. 15th 2018 9:17 am PT  @apollozac




                                                  41 Comments                  

  iPhone buying decisions vary from person to person, and not everyone cares about having the latest
  version. This works for a lot of consumers since you can generally buy any modern iPhone and have a
  positive experience — especially if you’re upgrading after a few generations.

  Every summer I hear from family members who are super excited that they just bought a new iPhone. If I
  mention that a new model is just around the corner and we even have an idea about what will be different,
  it never changes their buying decision. That can be hard for me to understand, but it works for a lot of
  people. Just look at Apple’s iPhone sales numbers during the quarter before a new model is introduced.

  If you do care about buying the latest iPhone as soon as it comes out, it’s not too hard to guess when new
  iPhones will be introduced based on recent launches.

https://9to5mac.com/2018/08/15/when-does-apple-release-new-iphones/                                                                                            1/7


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                                                                                                               Exhibit 9
5/18/2021                                                When does Apple release new iPhones? - 9to5Mac




     Exclusives        Guides          Mac         iPhone             Watch      iPad         Music       TV




  A lot of Apple products like Macs and iPads are updated on very different cycles, but Apple Watches and
  iPhones have historically stuck to the same pattern in recent years. New hardware is introduced around
  September and launches shortly after. The iPhone X was an exception last year with an early November
  debut, but we don’t expect that to happen again this year.

  iPhones used to debut in the summer, but that changed in 2011 when the iPhone 4 wasn’t replaced by the
  iPhone 4s until October. Apple released the white version much later than expected that year and added
  Verizon as the second carrier in the US mid-cycle before introducing the next model.

  Since then, iPhone event invitations have been sent to the press in late August, new iPhones have been
  introduced in early September (usually followed by a pre-order period), new versions of iOS are released,
  then new iPhones hit the market before the end of the month.




  Here are the relevant dates I’ve been collecting every year for Apple’s timeline:

            iPhone 8, iP
                      iPhone 8 Plu
                                 us, iP
                                     iP h o n e X
                 In
                  nvite 8/31/2017
                 Event 9/12/2017
                 Preorder 9/15/2017
                 iOS 11 9/19/2017
                 Launch (iPhone 8, iPhone 8 Plus) 9/22/2017
                 Launch (iPhone X) 11/3/2017
https://9to5mac.com/2018/08/15/when-does-apple-release-new-iphones/                                                         2/7


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                                                                                                               Exhibit 9
5/18/2021                                                When does Apple release new iPhones? - 9to5Mac



                       8/29/2016
     Exclusives        9/7/2016Mac
                    Guides                         iPhone             Watch      iPad         Music       TV
                Preorder 9/9/2016
                iOS 10 9/13/2016
                Launch 9/16/2016
         iPhone 6s, iPiPhone 6s Plu    us
                In
                 nvite 8/27/2015
                Event 9/9/2015
                Preorder 9/12/2015
                iOS 9 9/16/2015
                Launch 9/25/2015
         iPhone 6, iPiPhone 6 Plu    us
                In
                 nvite 8/28/2014
                Event 9/9/2014
                Preorder 9/12/2014
                iOS 8 9/17/2014
                Launch 9/19/2014
         iPhone 5s, iPiP h o n e 5 c
                Event 9/10/2013
                iOS 7 9/18/2013
                Launch 9/20/2013
         i Pho ne 5
                Event 9/12/2012
                iOS 6 9/19/2012
                Launch 9/21/2012

  Pending any unexpected curveballs this year, we’ll likely know the iPhone event date in the next two weeks
  (andÁpurely a guess but I’m expecting Wednesday, September 12, not Tuesday this year considering the
  signi¦cance of September 11). Hopefully that means we see new iPhones (and Apple Watches!) hit the
  market before the end of next month.

  There has been at least one report that the mid-sized, entry priced iPhone won’t hit the market until some
  time in October, but the new OLED models aren’t expected to be later this year like last year.




https://9to5mac.com/2018/08/15/when-does-apple-release-new-iphones/                                                         3/7


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                                                                                                               Exhibit 9
5/18/2021                                                When does Apple release new iPhones? - 9to5Mac

  For customers on annual upgrade plans, replacing an iPhone X that was bought in November with a
  newer version in September this year could mean paying up a little more than usual upfront however.
     Exclusives        Guides          Mac         iPhone             Watch      iPad         Music       TV
  A lot of annual upgrade plans are designed around making the equivalent of twelve monthly payments
  and trading in the old iPhone to upgrade. It’s possible Apple’s iPhone Upgrade Program will consider this
  and make an exception for upgraders this year, but we don’t know for sure yet how Apple and carrier
  upgrade plans will behave if the new §agship comes out 10 or 11 months after the last §agship.




                                                                                      The Best Phones For
                                                                                      Seniors

                                                                                      Senior discounts on these top rated cell
                                                                                      phones. See how to save




      Senior Lifestyle                                                                                                 Open


  At any rate, the new models are just around the corner so we’ll have answers to all our questions soon!




  Rela
     ated Stori
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               es:

            2018 OLED iPhones to support Apple Pencil, with 512GB top tier – Trendforce
            New report says 6.1-inch 2018 iPhone to come in white, black, yellow, orange, blue, more –Ábut no
            red
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               100  ew iiOS
                   new   OS 12 ffeatures
                            12   eatures / c hanges!
                                           changes!


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                                                                                                                 Exhibit 9
5/18/2021                                                When does Apple release new iPhones? - 9to5Mac

                          Introduced in 2007 by Steve Jobs, iPhone is Apple's §agship iOS device and easily its most
                          popular product around the world. The iPhone runs iOS and includes a large collection of
                          mobile apps through the App Store.
     Exclusives        Guides       Mac       iPhone        Watch       iPad       Music        TV



                           iPhone event




      About the Author
                           Zac Hall
                            @apollozac
                           Zac covers Apple news, hosts theÁ9to5Mac Happy HourÁpodcast, and created
                           SpaceExplored.com.




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                young enough to witness or read about its unveiling have either
                passed away or are very old.
                35 △     ▽ 1 • Share ›




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                                                                      Exhibit 9
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SE

HD Largan September sales up slightly; October figure could fall

BY

WC 587 words

PD 06 Oct 2018

SN Central News Agency English News

SC CNAENG

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LP

Taipei, Oct. 6 (CNA) Largan Precision Co., a Taiwan-based smartphone camera lens
supplier to Apple Inc., posted a less than 1 percent month-on-month increase in
sales for September.Amid concerns over the shipments of the latest new iPhones
Apple unveiled in September, Largan said it posted NT$5.52 billion (US$179 million)
in consolidated sales for September, up only 0.19 percent from August.




TD

But the latest sales were a new high since November 2017, when the company's
revenue stood at NT$5.62 billion.



The September figure was also up 1.38 percent from a year earlier, Largan said.



Largan explained that due to weaker-than-expected demand from its major clients,
its sales for October could fall compared to September.



In the third quarter of this year, Largan's consolidated sales rose 33 percent from
a quarter earlier to NT$16.33 billion, and also grew 9 percent from a year earlier.



The sales growth in the July-September period reflected peak season effects, but
market analysts said the increase seemed unsatisfactory to the market since Largan
received lower-than-expected orders from Apple as well as Chinese smartphone
brands.



Apple launched three new iPhones last month. The more expensive iPhone XS and
iPhone XS Max went on sale globally on Sept. 21. The mid-range iPhone XR is
scheduled to hit the market later this month.

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                                                                      Exhibit 9

Analysts said many consumers were still waiting for the more affordable iPhone XR
by putting their purchase plans on hold, so Largan's sales growth momentum was
expected to not accelerate until November.



In September, 20 megapixel lenses or more advanced devices which command a higher
profit margin accounted for 10-20 percent of Largan's total sales, 10 megapixel
lenses made up 60-70 percent of total sales and 8 megapixel lenses represented 10-
20 percent of the total, the company said.



In the first nine months of this year, Largan's consolidated sales rose 1 percent
from a year earlier to NT$37.51 billion.



Largan has scheduled an investor conference for Oct. 11 to release its third
quarter results and give sales guidance for the fourth quarter and even a market
forecast for next year.



Analysts said the upcoming investor conference has been watched closely by
investors, who have seen Largan shares taking a beating in recent sessions on the
Taiwan Stock Exchange.



On Friday, Largan shares shed 7.28 percent to end at NT$3,440.00 on the Taiwan
Stock Exchange amid concerns over sales of new iPhones as well as more fund
outflows from the region at a time of a stronger U.S. dollar.



Since the beginning of this year, Largan shares have lost more than 14 percent in
value. Still, the stock remains the most expensive one in the local equity market.



Meanwhile, Catcher Technology Co., a metal casing maker for Apple, posted NT$9.24
billion in consolidated sales for September, up 10.7 percent from a month earlier
but down 19.3 percent from a year earlier.



In the third quarter, Cather's consolidated sales totaled NT$25.09 billion, up 20.9
percent from a quarter earlier, but down 8.5 percent from a year earlier.



In the first nine months of this year, Catcher generated NT$66.25 billion in
consolidated sales, up 9.5 percent from a year earlier. (By Han ting-ting, Jiang
Ming-yan and Frances Huang) Enditem/cs




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                                                                                                                     Exhibit 9
5/21/2021                           China’s smartphone sales slowdown could hurt Apple’s bottom line, Goldman says - The Verge




   APPLE      BUSINESS     US & WORLD
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   China’s smartphone sales slowdown could hurt
   Apple’s bošom line, Goldman says
   By Shannon
           o Liao
                o @Shannon_Liao
                        o     o             O
                                            Oct 15, 2018, 2:47pm EDT




  Illustration
            o by Alex Castro
                           o / The V
                                   Verge




   The smartphone
              o market in China is only
                                   o    going
                                         o    to
                                               o slump further, Goldman
                                                                 o      Sachs
   predicted in an investor
                         o note
                            o ono Sunday. Sales could
                                                 o    drop
                                                        o an estimated 15 percent year
   over year this autumn as companies
   o                         o        like Huawei, Oppo,
                                                   O o Vivo,
                                                          o and Apple struggle to
                                                                                o find
   interested customers,
                  o      Goldman
                          o      said.


https://www.theverge.com/2018/10/15/17979004/apple-chinas-smartphone-market-sales-slowdown-goldman-sachs                             1/2


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                                                                                                                     Exhibit 9
5/21/2021                           China’s smartphone sales slowdown could hurt Apple’s bottom line, Goldman says - The Verge

   Like consumers
         o        in the US, phone
                               o owners
                                   o    in China often
                                                 o     keep older
                                                            o     models
                                                                   o     of
                                                                         o
   smartphones
          o    for
                o oover a year and don’t
                                    o trade in their phones
                                                       o    for
                                                             o the latest model,
                                                                           o
   contributing
    o           to
                 o the weak sales numbers. Goldman
                                            o      analyst Rod
                                                            o Hall predicts Apple will
   sell 13 million
                o iPhones
                     o    in China during the holiday
                                               o      season,
                                                          o oro 3 percent less than last
   year.

   During the Golden
               o     Week in China this October,
                                        O o      a week where many employees
                                                                       o     get time
   off to
   o    o travel and recuperate and where retail business often
                                                          o     rises, many smartphone
                                                                                   o
   shops
     o in Guangzhou,
                 o a major
                        o southern
                           o       city, still remained half full or
                                                                  o empty. Shop
                                                                             o clerks
   stood
     oo by the entrances in pairs, their eyes flickering around
                                                           o    for
                                                                 o potential
                                                                    o        customers.
                                                                                 o


   CHINESE SMARTPHONE
                  O SHIPMENTS DECLINED THIS YEAR FOR
                                                  O THE FIRST TIME IN A WHILE
          o shipments in China saw a big decline this year, after several years of
   Smartphone                                                                   o
   positive
    o       growth.
              o     Analysts from
                               o Canalys said earlier that vendors
                                                               o are imitating each
   others’ products
   o         o      and marketing strategies in a bid to
                                                       o stay on
                                                              o top
                                                                 o of
                                                                    o the competition.
                                                                           o       o

   Hall said that there are “multiple signs of
                                            o rapidly slowing
                                                        o     consumer
                                                               o       demand in China
   which we believe could
                     o    easily affect Apple’s demand there this fall.” Still, consumers
                                                                                 o        in
   China might be interested in the iPhone
                                       o XS Max and XR’s larger screens, which could
                                                                                o
   potentially
    o          offset
               o      the negative predictions.
                                           o    After all, larger screens would
                                                                           o    make gaming
   more
    o convenient,
        o         and the number of
                                 o Chinese mobile
                                            o                 o up exponentially
                                                  gamers has gone     o
   over time.
   o




https://www.theverge.com/2018/10/15/17979004/apple-chinas-smartphone-market-sales-slowdown-goldman-sachs                             2/2


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7/6/2021                                           Apple supply chain wary of reduced iPhone orders for Q4 | AppleInsider


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   Apple supply chain wary of reduced
   iPhone orders for Q4
                   (https://appleinsider.com/editor/Malcolm+Owen) By Malcolm Owen

   (https://appleinsider.com/editor/Malcolm+Owen)
              Oct 16, 2018




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https://appleinsider.com/articles/18/10/16/apple-supply-chain-wary-of-reduced-iphone-orders-for-q4                                       1/12


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   Parts of the supply chain are
                             are
                               e tempering
                                 tempeՁHTTPSջ//APPLEINSIDER.COMՂ
                                           their expectations on iPhone sales for the
                                                                                                                                               
   remainder of 2018, a report claims, with weak sales said to be feared by suppliers
   based in Taiwan, despite the impending launch of the iPhone XR.


    After the release of the iPhone XS and iPhone XS Max, and ahead of the
    upcoming opening of preorders for the iPhone XR
    (https://appleinsider.com/articles/18/10/15/iphone-upgrade-program-pre-
    approvals-for-iphone-xr-start-monday), Apple's suppliers can usually expect a
    high number of orders in anticipation of the holiday shopping season. This
    apparently hasn't stopped suppliers from exercising caution over the imminent
    introduction of a lower-cost model.

    Industry sources of DigiTimes suggest
    (https://digitimes.com/news/a20181015PD202.html) that if sales of the iPhone XR
    fail to stimulate overall demand for iPhones, Apple could slow down its pace of
    orders from suppliers, in turn damaging revenue.

    Suppliers are already expecting to post weak sales in the fourth quarter of 2018
    the report claims, with TSMC thought to generate "lower-than-expected
    revenues" in the fourth quarter, potentially forcing the chip foundry to revise its
    sales guidance for all of 2018 to a lower level.

    In the case of Apple camera lens supplier Largan Precision, the company recently
    disclosed its shipments are expected to decrease in October, followed by another
    drop in November, similar to what happened at the end of 2017. The projected
    level of orders in December is "still unclear" for the lens firm.



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    It is also believed the ongoing trade war between the United States and China will
    impact overall smartphone demand, with shipments in the fourth quarter of 2018
    already said to be decelerating (https://appleinsider.com/articles/18/10/15/iphone-
    sales-may-be-taking-big-hit-in-china-because-of-weak-smartphone-market).

    At present, it isn't clear why the alarm from the component manufacturers is
    happening. At first glance, the order drops do not appear to be any more
    pronounced than in previous years, with normal seasonal decreases in orders.

    The supply chain report seems to go against statements made by analyst Ming-
    Chi Kuo predicting higher-than-anticipated demand
    (https://appleinsider.com/articles/18/10/15/iphone-xr-will-propel-not-just-holiday-
    iphone-sales-but-drive-early-2019-to-new-heights) for the iPhone XR, with Apple
    expected to have about 38 million units ready in time for holiday sales. The strong
    demand leads Kuo to believe the model will defeat a "low seasonality" after the
    holiday quarter, with a 30 percent drop in sales in the new year rather than a near
    50-percent drop saw by the iPhone 8.

    Kuo also changed his estimated overall iPhone shipments for the quarter from 80
    million to 83 million. Before the iPhone XS and iPhone XR release, DigiTimes
    Research anticipated (https://appleinsider.com/articles/18/09/13/iphone-xs-
    iphone-xr-shipments-forecast-to-top-85m-by-end-of-2018-most-being-xr)
    shipments for the quarter of over 85 million units.




https://appleinsider.com/articles/18/10/16/apple-supply-chain-wary-of-reduced-iphone-orders-for-q4                                       3/12


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   destination)


                                                                  Compared: Beats Studio Buds vs AirPods,
                                                                  AirPods Pro, and Powerbeats Pro
                                                                  (https://appleinsider.com/articles/21/06/15/compa
                                                                  beats-studio-buds-vs-airpods-airpods-pro-and-
                                                                  powerbeats-pro)


   (https://appleinsider.com/articles/21/06/15/compared-
   beats-studio-buds-vs-airpods-airpods-
   pro-and-powerbeats-pro)


                                                                  Shortcut door status notification, new Aqara
                                                                  switch, & more on HomeKit Insider
                                                                  (https://appleinsider.com/articles/21/06/28/shortc
                                                                  door-status-notification-new-aqara-switch-
                                                                  more-on-homekit-insider)


   (https://appleinsider.com/articles/21/06/28/shortcut-
   door-status-notification-new-aqara-
   switch-more-on-homekit-insider)




https://appleinsider.com/articles/18/10/16/apple-supply-chain-wary-of-reduced-iphone-orders-for-q4                                       8/12


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Equity Research

Company                                            Ra ng            Price Target                October 22, 2018
Apple Inc.                                         Buy              $200
                                                                                               Price at Oct 19, 2018 (USD)               219.31
Ticker                                             North America    Sector
                                                                                               Market Cap                                 1.59B
AAPL                                               United States    Technology
                                                                                               52-week range                      150.24-233.47
Earnings Preview, iPhone XR Preorders Weaker than Expected, Reducing our
                                                                                               Volume (ADV– 3 months)                  31.19 M
XR Shipment Es mates, iPhone Max Produc on Increases Expected for the
                                                                                               Source: S&P Capital IQ
Holiday Season, iPad Pro and New MacBook Produc on Ramp
Rosenbla Roundup
                                                                                                Jun Zhang
Apple will report their C3Q18 earnings on November 1. We believe the company will               China Telecom and IT
                                                                                                212 607-3180
report revenues and earnings that are in line with our forecasts ($61.0 billion, $2.65)
                                                                                                jzhang@rblt.com
and guide inline or slightly be er than our C4Q es mates ($91.2 billion, $4.71). We
believe the be er than expected guide will be due to new product releases (iPad Pro,
MacBook) for the holiday season, as well as the increasing ASP of the new iPhone                Company Summary:
                                                                                                Apple Inc. designs, manufactures, and markets
models.
                                                                                                mobile communica on and media devices,
                                                                                                personal computers, and portable digital music
Comparing this year to last, we believe the ASP for the iPhone model may increase $80           players worldwide. The company also sells
y/y. Apple’s produc on increase for the iPhone 7/7+ in C3Q17 led to a lower ASP in              related so ware, services, accessories, net-
2H17. In addi on, we believe the 512G iPhone model will account for 40-50% of total             working solu ons, and third-party digital con-
new model sales in 2018, while the older models become a smaller mix of total sales.            tent and applica ons.

We con nue to have concerns of China consumer spending confidence declines im-
pac ng overall iPhone sales in China, however.
                                                                                                Apple (AAPL) Price Chart – 1 Yr
iPhone Preorders and Shipments
iPhone XR preorders have been weaker than our expecta ons, but slightly be er than
iPhone XS and iPhone XS Max preorders. In our Apple note on September 17, we be-
lieved combined iPhone XS and iPhone XS Max preorders were ~10 million in the first
three days. Based on the iPhone XR currently having only one week wait me in China
and no wait me in the US and other major markets, we believe XR preorders will
equate to less than or equal to 12 million units.
A er the first day of preorders for the iPhone XR, we now believe ini al iPhone XR              Chart Source: Trading View
sales could be weaker than our previous expecta ons. We es mate shipments of 12
million iPhone XR units to retail channels before October 26. We are also reducing our
iPhone XR shipments from 50 million units to 46 million units for the second half of
this year.
We believe iPhone XS and iPhone XS Max preorders have been generally stronger in
the US than in China, while preorders for the iPhone XR have been stronger in China
than in the US. We have been tracking iPhone XR preorder data in China, and our
tracks indicate overall iPhone XR pre-registra ons in China are ~2 million units for the
first three days (Combining 900K+ from JD.Com [JD: NR], 600K+ from Suning.Com
[002024.SHE: NR], and Chinese operator retail channels). iPhone XR pre-orders are
similar to iPhone 8/8+ preorders in China last year, and slightly be er than the 1.5
million XS/Max preorders in China. This is not a very exci ng result. We will con nue
to track pre-order volumes in China, but so far, we believe iPhone XR demand may be
lower than our previous es mates. We believe Apple will likely adjust down its iPhone
XR produc on for November and December by about 3-4 million units.




1        PLEASE SEE LAST PAGE FOR IMPORTANT DISCLOSURES                                    Rosenbla Securi es, 40 Wall St, New York, NY 10005

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                                                                                                             Exhibit 9
Jun Zhang                                              October 22, 2018
China Telecom and IT                                   Technology– Apple
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iPhone XS
We remain cau ous on iPhone XS sales, as well as older model sales, in the second half of this year. Despite our con-
cerns for weak XS sales, we are not making any changes to our iPhone XS produc on es mates before the holiday
season. However, we do expect some iPhone XS produc on cuts around the holiday season due to sell-through data
con nuing to be weak. We s ll es mate 15 million iPhone XS shipments for 2nd half of this year but expect there
might be a ~4-5 million produc on reduc on coming around holiday seasons.
iPhone XS Max
We believe Apple recently increased iPhone XS Max produc on by 2-3 million units (most are 512G models) for C4Q,
a ribu ng to the holiday season inventory build. However, this week we are seeing XS Max sell-through cool down in
China. Our thoughts are that this cool down is a ributable to consumers wai ng for the release of the iPhone XR next
weekend. We previously es mated around 15 million units would be shipped in 2H18 but are now increasing our
es mates to 17.5 million units for iPhone XS Max shipments for the 2nd half of this year.
iPad Pro and iWatch
We believe the new iPad Pro will start to ramp in October, and the iPad will see a significant increase in ASP. Our
thoughts are that the new design of the iPad Pro will drive the new iPad upgrade cycle. In addi on, iWatch sales con-
 nue to be strong, which should help C4Q guidance.
Apple Supply Chain
We believe there are risks for the Apply supply chain in the la er part of C4Q due to Chinese demand so ness having
meaningful impacts on Apple’s new model sell-through over the course of the next few quarters. In addi on, we be-
lieve companies in the Apple supply chain will face risks due to weak sales for the iPhone XS and older models of the
iPhone.
Final Thoughts
In summary, we believe Apple will report in line revenue and earnings for C3Q, and guide C4Q in line or slightly above
both our and consensus ($61.5 billion, $2.78) es mates. We are more cau ous on supply chain names, as we believe
there are significant risks from iPhone XS produc on cuts around the holiday season. We maintain our Buy ra ng on
Apple stock, as we believe the iPhone Max, iWatch, and iPad Pro will provide upside to gross margins.




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October 22, 2018
Technology– Apple




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performance will be in line with the average return of others in its industry over the following 12 months.]

Price Chart:




Price Targets: Please refer to the model for important informa on regarding valua on and the Analyst’s method for determining Price Targets, as well as risk factors that may impede
achievement of said target.
        Date       Rating Share Price       Price Target        Date    Rating    Share Price       Price Target           Date   Rating Share Price Price Target             Date     Rating       Share Price       Price Target
    8-Sep-16     Neutral $   108.36     $       102.00      8-Sep-17   Neutral   $   161.26     $       150.00        28-Nov-17    Buy $ 174.09 $ 180.00                 18-Jun-18      Buy     $      188.84     $       180.00
  12-Sep-16      Neutral $   103.13     $       102.00     13-Sep-17   Neutral   $   160.86     $       150.00         4-Dec-17    Buy $ 171.05 $ 180.00                  26-Jul-18     Buy     $      194.82     $       180.00
  15-Sep-16      Neutral $   111.77     $       102.00     15-Sep-17   Neutral   $   158.28     $       150.00        26-Dec-17    Buy $ 175.01 $ 180.00                  1-Aug-18      Buy     $      190.29     $       200.00
  16-Sep-16      Neutral $   115.57     $       102.00     20-Sep-17   Neutral   $   158.73     $       150.00        18-Jan-18    Buy $ 179.10 $ 180.00                 13-Sep-18      Buy     $      221.07     $       200.00
  16-Sep-16      Neutral    114.81*     $       102.00     25-Sep-17   Neutral   $   151.89     $       150.00        19-Jan-18    Buy $ 179.26 $ 180.00                 14-Sep-18      Buy     $      226.41     $       200.00
  30-Sep-16      Neutral $   112.18     $       102.00     26-Sep-17   Neutral   $   150.55     $       150.00        26-Jan-18    Buy $ 171.11 $ 180.00                 17-Sep-18      Buy     $      223.84     $       200.00
   21-Oct-16     Neutral $   117.06     $       102.00     11-Oct-17   Neutral   $   155.90     $       150.00        31-Jan-18    Buy $ 166.97 $ 180.00                 24-Sep-18      Buy     $      217.66     $       200.00
   26-Oct-16     Neutral $   118.25     $       102.00     18-Oct-17   Neutral   $   160.47     $       150.00         2-Feb-18    Buy $ 167.78 $ 180.00                 22-Oct-18      Buy     $      219.31     $       200.00
    7-Dec-16     Neutral $   109.95     $       102.00     20-Oct-17   Neutral   $   155.98     $       150.00         9-Feb-18    Buy $ 155.15 $ 180.00
    1-Feb-17     Neutral $   121.35     $       102.00     26-Oct-17   Neutral   $   156.41     $       150.00         7-Mar-18    Buy $ 176.67 $ 180.00
  28-Mar-17      Neutral $   140.88     $       120.00     27-Oct-17   Neutral   $   157.41     $       150.00        16-Mar-18    Buy $ 178.65 $ 180.00
   3-May-17      Neutral $   147.51     $       120.00     30-Oct-17   Neutral   $   163.05     $       150.00        28-Mar-18    Buy $ 168.34 $ 180.00
  26-May-17      Neutral $   153.87     $       120.00      3-Nov-17     Buy     $   168.11     $       180.00         2-May-18    Buy $ 169.10 $ 180.00
    2-Aug-17     Neutral $   150.05     $       150.00      6-Nov-17     Buy     $   172.50     $       180.00        14-May-18    Buy $ 188.59 $ 180.00
  21-Aug-17      Neutral $   157.50     $       150.00     21-Nov-17     Buy     $   169.99     $       180.00        30-May-18    Buy $ 187.90 $ 180.00
* Price as of 12:00 PM EDT

Source: S&P Capital IQ

Rosenbla Securi es Equity Research Ra ngs Distribu on, as of October 22, 2018

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Technology– Apple




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SE Business

HD Apple to Send Two-Thirds of 3 Million iPhone XRs to China

BY Liao Shumin

WC 283 words

PD 23 Oct 2018

SN Yicai Global

SC YICAIG

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LP

(Yicai Global) Oct. 23 -- Apple has reserved most of its initial supply of iPhone
XRs for China, which signals high hopes for the market despite lackluster pre-sales
on the release day Sept. 21.The first batch of iPhone XR supply is expected to be
at least three million units, of which China takes up two million handsets, tech
news outlet Tencent reported today.




TD

The country's first-day pre-sales were less than one million, showing a lack of
enthusiasm from consumers. Chinese buyers preferred domestic brands amid generally
slowing handset sales in September, as the state-backed China Academy of
Information and Communications Technology said in a report published on Oct. 15.



Industry analysts predict that the iPhone XR, with a minimum price of CNY6,499
(USD940), will become the most popular of the latest three releases. The model is
also more affordable than the iPhone XS and XS Max.



Priced at CNY12,799 (USD1,870) in China, the iPhone XS MAX 512G is so far the most
costly of its smartphones sold in the country and is almost a third more expensive
than the same handsets marketed in the US.



Apple's official purchase page shows that the iPhone XR would be available on the
official launch day of Oct. 26 while its delivery time is now changed to "one to
two weeks." Alibaba’s shopping platform Tmall also says that it will be shipped in
17 days. The prolonged delivery time could be a signal of strong demand while it
may also speak for hunger marketing.



Editor: Emmi Laine



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SE

HD 09:24 EDT Apple iPhones receiving mixed feedback from smartphone buyers, says...

BY

WC 105 words

PD 24 Oct 2018

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LP

09:24 EDT Apple iPhones receiving mixed feedback from smartphone buyers, says OTR
GlobalAnalysts at OTR Global noted that Apple's recently launched iPhones are
seeing mixed feedback from leading smartphone buyers, reporting that 26 of 43
hardware buyers, product managers, heads of distribution and management directors
polled expect lower Q4 volumes for the new models compared to iPhone 8/8 Plus and X
in Q4 of last year. 20 of 44 sources see Apple's Q3 market share being down
quarter-over-quarter, especially in China and Europe, OTR Global added.OTRG




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                                                                                                                                           24 October 2018
                                                                                                                                         Exhibit  9
                                                                                                              24 October 2018
                                                                                                              Target Price Change

                                                                                                              A.M. (Toni) Sacconaghi, Jr.
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     Apple Inc
                                                                                                              Daniel Chen
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     Rating
                                                                                                              daniel.chen@bernstein.com
     Market-Perform                                                                                           Corry Wang
     Target Price                                                                                             +1-212-756-4113
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            AAPL                              225.00 USD (200.00 OLD)




     AAPL: Q4 18 Preview - Expect upside to ASPs, but iPhone unit
     growth in FY 19 most likely to shape investor sentiment
     We are raising our FY Q4 and FY 19 revenue and EPS estimates, largely due to richer ASP                  Close Date                                    23-Oct-2018
     assumptions for iPhone and Watch. While Q4 18 results are not important on a standalone                  AAPL Close Price (USD)                                222.73
     perspective, we are ahead of both consensus and guidance largely due to iPhone ASPs.                     Target Price (USD)                                    225.00
     Overall, we forecast Q4 18 iPhone ASPs of $800, vs consensus at $741, resulting in revenues              Upside/(Downside)                                        1%
     of $63.3B vs consensus at $61.3B and EPS of $2.90 vs consensus at $2.77.
                                                                                                              52-Week Low                                           150.24
     For FY 19, we expect flattish iPhone unit growth and gross margins YoY, but expect notably               52-Week High                                          233.47
     higher iPhone ASPs ($813 vs. $775), which leads our revenue and EPS estimates to be above                SPX                                              2,740.69
     consensus forecasts ($291.3B, $14.15 vs. $280.6B, $13.64). That said, we believe that                    FYE                                                      Sep
     iPhone unit growth is likely to be the critical metric for investors going forward. We see the           Indicated Div Yield                                    1.3%
     stock likely continuing to outperform if iPhone units can grow in FY 19, and the stock
                                                                                                              Market Cap (USD) (B)                                   1,076
     underperforming if units are down 3% or more. Given that we believe consensus iPhone ASPs
                                                                                                              EV (USD) (M)                                         946,626
     are too low for Q4 and Q1, we believe that Apple could potentially guide Q1 in line or above
     consensus revenues of $92.7B (we are at $95.9B). We would view guidance for sequential
                                                                                                              Performance                 YTD       1M       6M       12M
     revenue growth of >50% as pointing to flattish iPhone unit growth or better.
                                                                                                              Absolute (%)               31.6       2.3     34.8      42.6
     In addition to guidance, we encourage investors to focus on (1) services growth (we forecast             SPX (%)                       2.5    (6.5)     2.6       6.9
     17% in Q4), (2) Greater China performance and commentary, (3) FY19 tax rate (we forecast an
                                                                                                              Relative (%)               29.1       8.8     32.2      35.8
     increase to 17%), (4) the ongoing trade war, and (5) share repurchases ($20B+ per qtr.).

     Investment Implications                                                                                            Analyst Page
                                                                                                                                                           Bernstein
                                                                                                                                                           Events
     On net, we remain constructive on Apple in the near-term, largely because revenue and EPS
     estimates appear too conservative; that said, we note that the stock trades at a 5-year high on                    Company
     most valuation metrics, and believe iPhone unit growth in FY 19 will likely be the key driver of                   Page
     investor sentiment. We raise our price target to $225 on account of our higher, rolled forward
     EPS estimates and continue to rate Apple Market-Perform.


      EPS Adjusted          F17A      F18E      F19E    Financials               F17A      F18E     F19E    CAGR     Valuation Metrics            F17A      F18E    F19E

      AAPL (USD)             9.21     11.89     14.15   Gross Margin (%)        38.47      38.39    38.63            P/E Adjusted (x)             24.19    18.73 15.74

      OLD                             11.79     13.65   Operating Margin (%)    26.76      26.67    26.56            REL P/E Adjusted (x)          1.14     1.09     1.01

      SPX                  129.17    158.96    175.22   EPS Growth (%)          10.85      29.12    19.01




      See Disclosure Appendix of this report for important disclosures and analyst certifications                              www.bernsteinresearch.com

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                                                                                                                                          Exhibit 9
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          TICKER TABLE
                                              23 Oct 2018                        TTM                   EPS Adjusted                      P/E Adjusted
                                                  Closing         Target          Rel.
           Ticker              Rating                Price         Price         Perf.         2017A      2018E       2019E      2017A      2018E       2019E
           AAPL                    M    USD        222.73         225.00     35.8%       USD      9.21      11.89      14.15      24.19      18.73       15.74
                    OLD                                           200.00                                    11.79      13.65
           SPX                                   2,740.69                                      129.17      158.96     175.22      21.22      17.24       15.64

          TARGET PRICE CHANGE / ESTIMATE CHANGE IN BOLD                                   O - Outperform, M - Market-Perform, U - Underperform, N – Not Rated




          DETAILS
          Apple reports its FQ4 18 (September quarter) results on Thursday, November 1st after the close. Investors can dial into the
          conference call at (877) 419-6600 or (719) 325-4900.
          While Q4 18 results are not important on a standalone perspective, we are ahead of both consensus and guidance on EPS largely
          due to iPhone ASPs. Overall, we forecast Q4 18 iPhone ASPs of $800, vs consensus at $741, resulting in revenues of $63.3B vs
          consensus at $61.3B and EPS of $2.90 vs consensus at $2.77 (Exhibit 1).
          ª      iPhone units and ASPs. We believe that iPhone units followed Apple's usual seasonal pattern in FQ4, as it has generally
                 done historically (E
                                    Exhibit 2), and forecast a seasonal channel build of 2M units to 18.6 Million (E
                                                                                                                   Exhibit 3). Overall, we see Q4
                 iPhone units relatively flat on a sell-through basis (E
                                                                       Exhibit 4) and are in-line with consensus on iPhone units (46.75M vs
                 consensus at 47.59M). The more controversial question is ASPs. We believe that N-gen models are typically ~30-40% of
                 iPhone sales in the quarter, based on our analysis of first weekend sales data when Apple used to provide the data (E     Exhibit
                 5). Given that Apple has changed its SKU strategy and pricing yet again (with an initial launch of the iPhone 10Max and
                 10S, we estimate that ASPs could be significantly higher than consensus – we forecast ASPs of $800 (vs consensus at
                 $741 and +29% YoY – Exhibits 6 and 7) and note that it could be higher based on what we view as somewhat conservative
                 mix assumptions (Exhibit 8).
          ª      Revenue. We forecast FQ4 revenue forecast of $63.3B, above both consensus at $61.3B and Apple's guidance of $60B -
                 $62B. Apple hedges currency, and we do not believe that recent dollar strength had a major impact on Apple in the quarter
                 (E
                  Exhibit 9). In addition to iPhone revenue of $37.4B (46.75M units at $800 ASP), we forecast services revenue of $10.0B
                 (up 17% as reported and +27% after adjusting for a $640M one-time licensing payment in Q4 17) – broadly in-line with
                 consensus at $10.1B. While Apple refreshed its MacBook Pro on July 12th, it was not the complete overhaul of the
                 MacBook and iMac line-up that was expected in the quarter. We modestly reduce our Mac sales forecast to $6.87B (vs
                 consensus at $6.95B). Relative to consensus, we are 3.6% lower on units at 4.74M and 2.6% higher on ASPs at $1,450.
                 Given that no new iPad was introduced at the September product launch as many had expected, we modestly reduce our
                 Q4 revenue estimate on iPad to $4.4B on 10.4M units (ASP of $425) vs consensus at $4.7B on 10.5M units (ASP of $446).
                 We raise our estimate on other products to $4.6B from $4.1B on higher ASPs and units from the Watch Series 4 launch.
          ª      Gross margin. We model FQ4 gross margin of 38.5%, which is up 13 bps sequentially and up 56 bps YoY. We are at the
                 high end of the 38%-38.5% guidance range and modestly above consensus at 38.2%.
          ª      EPS. We forecast FQ4 EPS of $2.90 –higher than consensus at $2.77, and above Apple's implied guidance of ~$2.65 to
                 $2.86. We are ahead of consensus primarily due to higher iPhone ASPs and modestly better gross margins.


          Investor focus is now on FY19, and what guidance for Q1 (Dec quarter) might suggest. For FY 19, we expect flattish iPhone unit
          growth and gross margins YoY, but expect notably higher iPhone ASPs ($813 vs. $775), which leads our revenue and EPS
          estimates to be above consensus forecasts ($291.3B, $14.15 vs. $280.6B, $13.64). That said, we believe that iPhone unit
          growth is likely to be the critical metric for investors going forward. We see the stock likely continuing to outperform if iPhone
          units can grow in FY 19, and the stock underperforming if units are down 3% or more. Given that we believe consensus is too low
          on iPhone ASPs in Q4 and Q1, we believe that Apple could potentially guide inline to above consensus revenues of $92.7B (we are
          at $95.9B). We would view guidance for sequential revenue growth of >50% as pointing to flattish iPhone unit growth or better,
          and expect GM guidance of 38% to 38.5%, in line with consensus.




          U.S. IT HARDWARE                                                                                                                   BERNSTEIN          2



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                                                                                                                             Exhibit 9
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          ª    FY 19 expectations – strong ASPs again for iPhone… For FY 19, we have raised our estimates largely due to higher
               expected iPhone and Watch ASPs, are and above consensus on revenues ($291.3B vs. $280.6B) and EPS ($14.15 vs.
               $13.64). We forecast flat iPhone units (218M), Services revenue growth of +18%, relatively flat gross margins (38.6%, up
               16 bps) and iPhone ASPs of $813, vs. consensus $775 (E     Exhibit 1 again). We have built a pricing model and sensitivity
               analysis (soft copy available for clients upon request) to model ASPs for FY 19 – the punchline is that even assuming a
               relatively strong mix shift to the iPhone XR (45% of total units, vs. 10% for the XS and 20% for the XS Max), our ASPs are
               5% above consensus and are up 6% YoY (E      Exhibits 10-12). We see a reasonable possibility that iPhone pricing could be
               higher than we model.
          ª    But iPhone units likely still matter most. Apple's stock has enjoyed significant multiple expansion year-to-date, fueled in
               part by the belief that the company has pricing power, due to its strong brand, attractive product set, and powerful
               ecosystem. That said, we believe that investor sentiment will ultimately be shaped by iPhone unit growth, as the buyside
               debate around iPhone ASPs appears centered on the magnitude of the increase, rather than whether prices will increase or
               not. In a nutshell, we contend that if iPhone units up (even nominally) in FY 19, the stock will likely continue to fare well, with
               investors taking comfort in Apple's brand and pricing power. That said, if iPhone units decline (say 3% or more) in FY 19,
               that thesis may unravel, as investors question whether Apple's ability to take price has reached its limit and whether
               declining units could impact downstream services revenues. We note that Apple did experience some pronounced price
               elasticity at both the high end and low end of its iPhone product line-up last year, and we expect it could see the same
               again this year.1
          ª    Guidance historically a good indicator on cycle strength... Importantly, Apple's guidance for the FY Q1 is likely to provide
               clues to how strong the iPhone cycle might be. Historically, we note that FQ1 YoY revenue and gross margin guidance has
               been a good leading indicator of Apple's fiscal year performance, in part because iPhone sales typically follow a relatively
               predictable seasonal pattern following the December quarter. In 5 out of the 6 latest iPhone launches (i.e., since Apple
               began its September release schedule), FQ1 guidance dictated Apple's full fiscal year revenue and gross margins
               directionally (E
                              Exhibits 13 and 14). Recall that Apple typically guides conservatively and last missed the midpoint of its GM
               guidance in Q2 13 (E Exhibit 15).
          ª    … but ASP uncertainty may make it tough to get a read on iPhone units. The challenge is that iPhone's ASPs are not only
               expected to increase YoY in Q1, but the timing of the XR launch makes it difficult to gauge with high confidence what ASPs
               might be like in FQ1. Accordingly, given that Apple only provides revenue guidance, it may be difficult to impute with
               confidence what iPhone units for December might be, and how they compare YoY. On net, we believe that revenue
               guidance that is up 50% or more sequentially (i.e., $95B+ according to our models) would likely point to flat to up iPhone
               units YoY. For gross margins, we expect Apple to guide to 38% to 38.5%, in line with recent quarters (Exhibit 16).


          In addition to guidance, we encourage investors to continue monitoring (1) services growth, (2) Greater China performance and
          commentary, (3) FY19 tax rate, (4) the ongoing trade war, and (5) progress in share buybacks.
          ª    Services growth. We expect another strong quarter for Apple's services business and forecast revenue to grow 17% YoY
               or 27% after adjusting for the $640M one-time benefit from a new Google contract in Q417. Nonetheless, 27% reflects a
               modest deceleration from Q3 18's 31% growth (28% after adjusting for a $236M one-timer related to the resolution of a
               lawsuit), and 31% growth in FQ1 18 (E  Exhibit 17). Within Services, we see growth yet again driven by Licensing, iCloud,
               Music, App Store, and Apple Care. We estimate that Licensing is ~19% of Apple's services revenue and very high margin
               (perhaps all profits) – growing at ~50% YoY due to an agreement to make Google the default search engine for Siri and
               Spotlight last year and Apple's small, but fast growing advertising business.2 We note that Google reports earnings on
               October 25th (tomorrow) after the market close, and we encourage investors to monitor TAC expense and guidance closely
               on their earnings call. Beyond Licensing, we model 23% AppStore growth – a modest deceleration from ~+25% in recent
               quarters on a tough (+~40%) compare.




          1 For details, see: AAPL: Yes, iPhones do appear to be price elastic; will Apple have enough low-end price points in

          FY19 to ensure unit growth?
          2
            For details, see: AAPL: What happened with Services Growth in FY Q2? and Apple: Advertising - The next multi-billion
          dollar services business? A deep dive



          U.S. IT HARDWARE                                                                                                       BERNSTEIN       3



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                                                                                                                           Exhibit 9
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          ª      Health of China. Greater China represents ~20% of Apple's revenue and has grown in each of the past 4 quarters, driven by
                 (1) iPhone and (2) Services, which were listed by Apple as the main reasons revenue grew in Greater China in the first 9
                 months of FY18 and in Q1 18 (E Exhibit 18). Monthly Chinese government data suggests that year-over-year unit demand
                 from non-Chinese smartphone manufacturers in the mainland may have decelerated in CQ3 18 (down -20%+ year-over-
                 year) after four consecutive quarters of relatively flat unit demand from foreign OEMs. Similarly, Tencent reported weak
                 smartphone gaming revenue in China in its CQ2 18 earnings release (~50% deceleration in growth) - (E    Exhibit 19), which
                 could portent to weak App Store sales in China. We estimate that China might account for ~1/3 of Apple App Store
                 revenue, with games accounting for perhaps 75%+ of that, meaning that Chinese gaming might account for ~$3B of
                 Services revenue each year or ~9% of total Services revenue. In other words, if Tencent's3 CQ2 gaming weakness was
                 indicative of Apple's gaming revenue in China, FQ3 gaming might have been up to a ~450 bps sequential headwind to
                 Apple's services growth. While Tencent cites short-term factors in its CQ2 weakness (timing of game launches, etc.) and
                 they have not reported CQ3 18 earnings yet, prolonged weakness in gaming could be a material headwind to Apple's all-
                 important services revenue growth.
          ª      Tax rate. Following tax reform, Apple's guided tax rate declined from 25.5% in FQ1 18 to 15% starting in FQ2 18.
                 However, similar to other companies with a fiscal year end that does not align with the calendar year, Apple will begin
                 paying US GILTI tax effective FQ1 19. That means that foreign earnings will see a minimum tax rate, which for relatively
                 asset-light businesses like Apple's is likely amount to 10.5% - half of the US rate. The upshot is that Apple paid just 3.7%
                 of foreign pre-tax earnings in FY17, meaning its tax rate could rise ~7% on ~70% of its earnings – up to a 4 to 5 point
                 increase in its overall tax rate. That said, we believe management can find ways to minimize the impact of GILTI and note
                 that Apple reported taxes in FQ2 and FQ3 was below its guided 15% (it reported 14.5% and 13.3% tax rate, respectively).
                 Overall, we model a 17% tax rate going forward but encourage investors to monitor the guided rate for FQ1 19.
          ª      Trade war. Apple is an important staple for both the Chinese and US economies. In China, Apple indirectly supports an
                 estimated ~2M to 3M employees through Foxconn and the broader supply chain. Apple also generates an estimated ~13%
                 of its revenue from Mainland China. In the USA, Apple is the largest company by market cap, a leading tax payer, employs
                 80K workers and claims to support 450K jobs in the USA via its supply chain.4 We believe that only Mac Mini, Airport
                 routers, tech accessories like Magic Mouse and various chargers, and leather accessories are thus far impacted by the
                 tariff. These collectively result in just ~1% of Apple's revenue being hit by a 10% duty. While neither side wants to hurt
                 Apple, it is possible that if the trade war escalates, Apple could be collateral damage.
          ª      Share buybacks. Apple and Warren Buffett collectively accounted for ~7%+ of trading volume in each of the past 2
                 quarters. These share purchases have resulted in a strong buy-bid under the stock.5 Apple still had $190B left in its
                 buyback program as of the end of Q2 18, and management suggested ~$20B per quarter may be a minimum buyback
                 level in the coming quarters, but the company would be opportunistic (E
                                                                                       Exhibit 20).


          On net, we remain constructive on Apple in the near-term and see several puts and takes. On one hand, we think FY19 consensus
          estimates are too low, other products and services revenue continue to rip, Apple is increasingly viewed as a consumer brand by
          many investors, which could justify a multiple re-rating, and the company continues to buyback $20B+ of shares per quarter. On
          the other hand, Apple trades at the high end of its historical trading multiple, the iPhone business is mature and still accounts for
          60% of Apple's revenue/profits, and it is unclear whether FY19 iPhones will have a catalyst (egg, ASPs or 5G). We raise our price
          target to $225 on account of our higher, rolled forward EPS estimates and continue to rate Apple market-perform.
          ª      Puts. On the one hand, we are ~4% above consensus on EPS in FY19 ($14.15 vs $13.64) and believe that consensus
                 estimates are likely to increase due to higher ASPs. Apple has also seen strong success in non-iPhone hardware products,
                 many of which will be aided in FY19 by product refreshes. On the product refresh side, Apple Watch Series 4 is a new form
                 factor with higher ASPs, a bezel-less iPad Pro and redesigned MacBook Air / iMac are expected to be launched next week,
                 and many expect an update to the popular AirPods. Apple is also slated to release its wireless charging pad and launch
                 original content and/or a streaming service in early 2019. Meanwhile, Apple's high-margin Services business is now ~14%
                 of sales and an estimated ~25% of gross profit, and it continues to grow at a strong double-digit pace as ARPU grows

          3
              Tencent not covered by Bernstein
          4
              For details, see: IT Hardware: What happens to Apple in a trade war?

          5
              For details, please see: AAPL: Active investors have been shying away, but the stock has ripped... why?



          U.S. IT HARDWARE                                                                                                    BERNSTEIN       4



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                    (E
                     Exhibit 21), allowing it to offset a potential modest decline in iPhone revenue down the line. Apple also has enough cash to
                    continue to aggressively repurchase its shares for another 8 quarters, and the company is increasingly viewed as a
                    consumer brand given its recent pricing power and success in launching non-iPhone products and services.
          ª         Takes. On the other hand, Apple trades at the high end of its historical trading multiple - 16.6x consensus and 15.7x our
                    NTM earnings estimates – much higher than the historical average P/FE multiple of 13.8x. Similarly, Apple trades at 1.06x
                    consensus relative P/FE and 1.00x our estimate. On a FCF basis, Apple trades at ~16.9x NTM consensus FCF – much
                    higher than the 5-year average of 13.2x. Each of these valuation metrics are the highest in over 5 years – even higher than
                    Apple during the hugely successful iPhone 6 cycle (EExhibits 22 to 24). Moreover, Apple's iPhone business is still ~60% of
                    revenue and profits, and appears to be mature – units have been flat-to-down since CY15 during the iPhone 6 cycle
                    (E
                     Exhibit 25). Moreover, Apple's installed base growth is plateauing, which is potentially a headwind to Services growth
                    (E
                     Exhibit 26).
          ª         Price target. We raise our price target to $225. Since we last set our target price based on FY$200 on 7/31/18, our NTM
                    EPS estimate has increased by ~11%+, in part due to roll forward of timing and in part due to an increase in our estimates.
                    Our revised target price of $225 reflects an FY19 P/FE number of ~16x.



          EXHIBIT 1: AAPL: Bernstein vs. Consensus ($M, except per share)
              Consensus as of:                                                                    1                              1                        2                        3                        4                        5                              2
                   10/23/2018    FQ417     FY17      FQ318                 FQ418E                               FY18E                        FQ119E                   FQ219E                   FQ319E                   FQ419E                     FY19E
                                 Actual   Actual    Bernstein Bernstein   Cons.      Guidance         Bernstein         Cons.        Bernstein    Cons.       Bernstein    Cons.       Bernstein    Cons.       Bernstein    Cons.       Bernstein         Cons.
          Mac Revenue            7,170    25,850      5,330     6,873     6,946                        24,946       25,008             7,383      6,947         5,781      5,680         5,371      5,458         6,636      6,852        25,170       24,889
              Y/Y Change         24.9%    13.2%      -4.7%     -4.1%      -3.1%                        -3.5%            -3.3%          7.1%       0.8%         -1.2%       -2.9%         0.8%       2.4%         -3.4%       -1.3%         0.9%            -0.5%
          iPhone Revenue         28,846   141,319    29,906    37,401     35,284                      166,915       164,809           63,426     62,231        42,601     40,121        33,143     31,521        38,093     36,115       177,263       169,806
              Y/Y Change         2.4%      3.4%      20.4%     29.7%      22.3%                        18.1%        16.6%              3.0%       1.1%         12.0%       5.5%         10.8%       5.4%          1.9%       2.4%          6.2%            3.0%
          iPad Revenue           4,831    19,222      4,741     4,419     4,667                        19,135       19,397             6,176      5,749         4,214      4,037         4,830      4,611         4,449      4,363        19,669       18,854
              Y/Y Change         13.5%     -6.8%     -4.6%     -8.5%      -3.4%                        -0.5%            0.9%           5.4%       -1.9%         2.5%       -1.9%         1.9%       -2.7%         0.7%       -6.5%         2.8%            -2.8%
          Services Revenue       8,501    29,980      9,548     9,976     10,139                       37,185       37,359            10,245     10,501        10,832     11,011        11,015     11,371        11,801     12,309        43,893       44,950
              Y/Y Change         34.4%    23.1%      31.4%     17.3%      19.3%                        24.0%        24.6%             20.9%      24.0%         17.9%      19.8%         15.4%      19.1%         18.3%      21.4%         18.0%        20.3%
          Other Revenues         3,231    12,877      3,740     4,624     4,292                        17,804       17,843             8,641      7,275         5,792      4,739         5,044      4,532         5,786      5,152        25,263       22,076
              Y/Y Change         36.2%    15.7%      36.7%     43.1%      32.8%                        38.3%        38.6%             57.4%      32.5%         46.6%      19.9%         34.9%      21.2%         25.1%      20.0%         41.9%        23.7%
          Revenue ($M)           52,579   229,248    53,265    63,292     61,328     $60-$62B         265,984       264,417           95,870     92,702        69,219     65,588        59,402     57,494        66,766     64,791       291,258       280,575
              Y/Y Change         12.2%     6.3%      17.3%     20.4%      16.6%     14.1%-17.9%        16.0%        15.3%              8.6%       5.0%         13.2%       7.3%         11.5%       7.9%          5.5%       5.6%          9.5%            6.1%


          Gross Margin           37.9%     38.5%     38.3%     38.5%      38.2%     38.0%-38.5%        38.4%            38.3%         38.6%      38.6%         38.5%      38.3%         38.7%      38.3%         38.8%      38.3%         38.6%            38.2%
              Y/Y Change         (11)bp    (61)bp    (17)bp     56 bp     32 bp       9 - 59 bp         (8)bp           (17)bp         15 bp      20 bp         15 bp      2 bp         38 bp      (21)bp        37 bp       10 bp        16 bp            (7)bp
          Operating Margin       25.0%     26.8%     23.7%     25.5%      25.2%     24.6%-25.7%        26.7%            26.6%         29.6%      29.6%         25.8%      25.8%         23.8%      23.6%         25.5%      25.1%         26.6%            26.4%
              Y/Y Change         (15)bp   (107)bp     (4)bp     56 bp     27 bp     -35 to 75 bp       (10)bp           (13)bp        (20)bp     (17)bp        (23)bp     (21)bp         14 bp     (193)bp        2 bp       (8)bp        (20)bp           (24)bp


          EPS ($)                 2.07     9.21       2.34      2.90       2.77      2.65-2.86          11.89           11.74          5.03       4.92          3.25       3.12          2.64       2.58          3.23       3.10          14.15           13.64
              Y/Y Change         23.7%    10.9%      40.4%     40.1%      33.9%        33.2%           29.1%        27.5%             29.2%      26.5%         19.1%      14.6%         12.9%      10.3%         11.6%      11.9%         19.0%        16.2%


          Mac Units (000)        5,386    19,251      3,720     4,740     4,916                        17,650       17,777             5,572      4,871         4,282      3,905         3,906      3,850         4,740      4,801        18,500       17,399
              Y/Y Change         10.2%     4.1%      -13.3%    -12.0%     -8.7%                        -8.3%            -7.7%          9.0%       -4.7%         5.0%       -4.2%         5.0%       3.5%          0.0%       -2.3%         4.8%            -2.1%
              Implied ASP ($)    1,331    1,343      1,433     1,450      1,413                        1,413        1,407             1,325      1,426         1,350      1,455         1,375      1,418         1,400      1,427         1,361        1,431
          iPhone Units (000)     46,677   216,756    41,300    46,752     47,592                      217,585       218,225           75,738     77,854        53,016     52,801        41,883     42,241        47,328     47,924       217,964       219,060
              Y/Y Change         2.6%      2.3%       0.7%      0.2%      2.0%                          0.4%            0.7%          -2.0%       0.7%          1.5%       1.1%          1.4%       2.3%          1.2%       0.7%          0.2%            0.4%
              Implied ASP ($)    618       652        724       800       741                           767             755            837        799           804        760           791        746           805        754           813             775
          iPad Units (000)       10,326   43,753     11,553    10,398     10,466                       44,234       44,466            13,725     13,198         9,470      9,262        11,364     11,017        10,228     10,057        44,787       43,432
              Y/Y Change         11.4%     -4.0%      1.1%      0.7%      1.4%                          1.1%            1.6%           4.2%       0.2%          3.9%       1.6%         -1.6%       -4.6%        -1.6%       -3.9%         1.3%            -2.3%
              Implied ASP ($)    468       439        410       425       446                           433             436            450        436           445        436           425        419           435        434           439             434
          Watch Units (000)      3,500    13,200      3,335     5,503     4,764                        20,388       20,113            10,730      7,786         6,438      4,965         4,700      4,820         6,815      5,476        28,683       23,861
              Y/Y Change         48.4%    42.6%      45.0%     57.2%      36.1%                        54.5%        52.4%             53.3%      11.2%         41.5%       9.1%         40.9%      44.5%         23.8%      14.9%         40.7%        18.6%
              Implied ASP ($)    470       468        460       480       446                           465             438            545        457           530        483           510        456           500        445           525             431



          Source: FactSet consensus, Bernstein estimates




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                                                                                                                                                                                                    Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                                               24 October 2018




          EXHIBIT 2: AAPL: iPhone Sell-in Seasonality
                                         iPhone Unit Seasonality                                                                                                   iPhone Unit Sales

                                       Q1              Q2             Q3              Q4          Y/Y                                                      Q1               Q2              Q3               Q4             Year
                          2011         15.1%           14.9%           9.1%       (16.1%)         80.8%                                         2011      16,235           18,647         20,338           17,073           72,293
                          2012        101.5%            1.9%         (25.8%)        3.4%          69.3%                                         2012      34,398           35,064         26,028           26,910          122,400
                          2013         77.6%          (21.7%)        (16.5%)        8.2%          22.8%                                         2013      47,789           37,430         31,241           33,797          150,257
                          2014         51.0%          (14.3%)        (19.5%)       11.6%          12.6%                                         2014      51,025           43,719         35,203           39,272          169,219
                          2015         89.6%          (17.9%)        (22.3%)        1.1%          36.6%                                         2015      74,468           61,170         47,534           48,046          231,218
                          2016         55.6%          (31.5%)        (21.1%)       12.7%          (8.4%)                                        2016      74,779           51,193         40,399           45,513          211,884
                          2017         59.7%          (30.2%)        (19.2%)       13.8%          (0.3%)                                        2017      72,698           50,763         41,026           46,677          211,164
                          2018         65.6%          (32.5%)        (20.9%)       13.2%           3.0%                                         2018      77,316           52,217         41,300           46,752          217,585
          Full Refresh Avg.           60.5%           (13.7%)        (12.2%)          1.7%        35.0%                       Full Refresh Avg.           52,797           42,003         35,035            36,398         166,233
          S-Cycle Avg                 69.4%           (14.6%)        (22.1%)          9.2%        24.5%                       S-Cycle Avg                 53,401           43,325         33,877            37,232         167,834
          Hist. Avg.                  64.5%           (16.4%)        (17.0%)          6.0%        27.1%                       Hist. Avg.                  56,088           43,775         35,384            38,005         173,252
          3Y Avg.                     68.3%           (26.5%)        (20.9%)          9.2%         9.3%                       3Y Avg.                     73,982           54,375         42,986            46,745         218,089

          Note: FQ1 17 / FY17 and FQ1 12/FY12 are adjusted for an extra week in the quarter
          Source: Company filings



          EXHIBIT 3: AAPL: iPhone Change in Channel Inventory (thousands of units)

                                                              Sequential Change in iPhone Channel Inventory

                                                                                                                                                                                         4,200

                                              3,300                                                                   3,300
                                                                                                                                               2,500
                                                                                                              2,000                                                                                                2,000
                      1,500                                                                                                                                                      1,300
                              1,000                   1,000                                   1,000                                                    1,200
              800                                                              950
                                                              100


                                                                      (150)           (200)
                                      (600)                                                           (600)                   (450)
                                                                                                                                                               (1,250)
                                                                                                                                                                                                 (1,800)


                                                                                                                                                                        (3,300)                           (3,500)
                                                                                                                                      (4,000)
               4Q12



                               2Q13



                                               4Q13




                                                                       3Q14



                                                                                       1Q15



                                                                                                       3Q15

                                                                                                               4Q15



                                                                                                                               2Q16



                                                                                                                                                4Q16




                                                                                                                                                                          3Q17



                                                                                                                                                                                          1Q18



                                                                                                                                                                                                            3Q18

                                                                                                                                                                                                                    4Q18
                       1Q13



                                       3Q13



                                                       1Q14

                                                              2Q14



                                                                               4Q14



                                                                                               2Q15




                                                                                                                       1Q16



                                                                                                                                        3Q16



                                                                                                                                                        1Q17

                                                                                                                                                                 2Q17



                                                                                                                                                                                  4Q17



                                                                                                                                                                                                   2Q18

                                                                                                                                                                                                                    Est

          Source: Company reports, Bernstein estimates and analysis




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                                                                                                                                                                             Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                                24 October 2018




          EXHIBIT 4: AAPL: iPhone Sell-through Seasonality
                                   iPhone Unit Seasonality                                                                      iPhone Unit Sales

                                  Q1           Q2        Q3        Q4         Y/Y                                          Q1          Q2                        Q3                          Q4                           Year
                       2011      21.0%          5.7%     15.9%    (12.3%)     80.8%                             2011      16,035      16,947                     19,638                      17,223                   69,843
                       2012      98.6%         (5.3%)   (18.8%)    (0.8%)     70.5%                             2012      34,212      32,414                     26,328                      26,110                  119,064
                       2013      77.3%        (21.3%)   (12.6%)    (4.2%)     21.8%                             2013      46,289      36,430                     31,841                      30,497                  145,057
                       2014      64.0%        (12.8%)   (19.0%)     8.4%      15.3%                             2014      50,025      43,619                     35,353                      38,322                  167,319
                       2015      94.8%        (19.4%)   (20.0%)    (4.3%)     36.9%                             2015      74,668      60,170                     48,134                      46,046                  229,018
                       2016      55.2%        (27.8%)   (14.0%)    (3.1%)     (8.1%)                            2016      71,479      51,643                     44,399                      43,013                  210,534
                       2017      66.4%        (27.3%)   (14.8%)     2.4%       1.3%                             2017      71,584      52,013                     44,326                      45,377                  213,300
                       2018      61.1%        (26.1%)   (17.1%)     1.0%       1.8%                             2018      73,116      54,017                     44,800                      45,252                  217,185
          Full Refresh Avg.      64.9%        (11.7%)    (5.6%)    (7.0%)     46.5%              Full Refresh Avg.        52,144      37,849                     33,204                      31,255                  147,973
          S-Cycle Avg            72.6%        (15.3%)   (18.9%)     3.8%      42.9%              S-Cycle Avg              51,905      42,559                     30,841                      32,216                  143,192
          Hist. Avg.             67.3%        (16.8%)   (12.5%)    (1.6%)     27.5%              Hist. Avg.               54,676      43,407                     36,852                      36,480                  171,415
          3Y Avg.                72.2%        (24.8%)   (17.7%)     0.3%      14.7%              3Y Avg.                  72,577      51,811                     38,443                      38,288                  180,465

          Note: FQ1 17/FY17 and FQ1 12/FY12 are adjusted for an extra week in the quarter
          Source: Company filings



          EXHIBIT 5: AAPL: iPhone Launch Geographies and Days in Launch Quarter
                                                                                                                                      Initial Availability
                                                                                                                         Est. New




                                                                                                                                                                                              Hong Kong
                                                                                                                         Release as




                                                                                                                                                                                                                  Singapore
                                                                                                                                                                                   Germany
                                                                                                                                            Australia
                                                                                                                         % of




                                                                                                                                                        Canada
                                                                              Days in      First 24       First




                                                                                                                                                                          France




                                                                                                                                                                                                          Japan
                                                                                                                                                                  China
                                                                              Launch       Hour           Weekend        Quarter




                                                                                                                                      USA




                                                                                                                                                                                                                              UK
          Model              Announcement Date            Release Date        Quarter      Orders         Sales          Sales1
          iPhone 3GS               6/8/2009                 6/19/2009                       Not Ann.       1+ Million           53%    X                XX X                                                                  X
          iPhone 4                 6/7/2010                 6/24/2010                      0.6+ Million   1.7+ Million          29%    X                 X X       X                                                          X
          iPhone 4S               10/4/2015                10/14/2011               79      1+ Million     4+ Million           90%    X    X X          X X       X X                                                        X
          iPhone 5                9/12/2012                 9/21/2012               9       2+ Million     5+ Million           34%    X    X X          X X X X X                                                            X
          iPhone 5S/C             9/10/2013                 9/20/2013                9      Not Ann.       9+ Million           49%    X    X X X X X X X X                                                                   X
          iPhone 6/6+              9/9/2014                 9/19/2014                9      4+ Million    10+ Million           47%    X    X X          X X X X X                                                            X
          iPhone 6s/6s+            9/9/2015                 9/25/2015                2      Not Ann.      13+ Million           18%    X    X X X X X X X X                                                                   X
          iPhone 7                 9/7/2016                 9/16/2016                9      Not Ann.       Not Ann.         ~30-40%          All of the Above + 18 More
          iPhone 8                9/12/2017                 9/22/2017                9      Not Ann.       Not Ann.         ~30-40%          All of the Above + 18 More
          iPhone Xs/Xs Ma         9/12/2018                 9/21/2018                9      Not Ann.       Not Ann.         ~30-40%          All of the Above + 20 More

          1 Assumes Apple achieves first three days of sales each subsequent 6 days remaining in the quarter, except in 2011 due to early quarter release
          Source: Company filings, Bernstein analysis




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                                                                                                                                                                                     Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                              24 October 2018




          EXHIBIT 6: Apple: Quarterly iPhone ASP, Q411-Q418E
                                                                                                                                                                                796                800
                                                                                                                                                                                      728 724
                                                                                                   687                     691                         695
                     647 635                642                                                          659 660 670              642                          655
               621                                                     637                                                                      619
                               608 619             613                        596            603                                         595                         606 618
                                                         581 577
                                                                                     561




          Source: Company reports, Bernstein estimates and analysis



          EXHIBIT 7: Apple: Year-over-Year Growth in iPhone ASP, Q411-Q418E

                                                                                                                                                                                                   29%



                                                                                                                                                                                            20%
                                                                                                     18%
                                                                                                                                                                              15%
                                                                                             10%            11%                                                                      11%
                                                                                     8%
                                                                              4%
                                                                                                                                                       2% 2%
                                                                                                                   0%                           1%

                      0% -1%                             -1%                                                                                                           0%
                                    -3% -4%                     -3% -3%                                                   -3%
                                                  -7%                                                                                -8%
                                                                                                                                 -10%
                                                                                                                                                                                                   4Q18E
                             1Q13

                                    2Q13

                                           3Q13




                                                                       3Q14

                                                                              4Q14

                                                                                      1Q15




                                                                                                                   1Q16

                                                                                                                          2Q16

                                                                                                                                  3Q16




                                                                                                                                                                3Q17

                                                                                                                                                                       4Q17

                                                                                                                                                                              1Q18

                                                                                                                                                                                     2Q18
                      4Q12




                                                  4Q13

                                                         1Q14

                                                                2Q14




                                                                                              2Q15

                                                                                                     3Q15

                                                                                                            4Q15




                                                                                                                                         4Q16

                                                                                                                                                1Q17

                                                                                                                                                        2Q17




                                                                                                                                                                                            3Q18




              ASP ($) 619 642 613 581 577 637 596 561 603 687 659 660 670 691 642 595 619 695 655 606 618 796 728 724 800

          Source: Company reports, Bernstein estimates and analysis




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                                                                                                                                Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                     24 October 2018




          EXHIBIT 8: AAPL: Estimated iPhone FQ4 18 Mix and Implied ASPs (Units in 000s)
                                                                                 Q4 18 Mix
                                                                         Mix         ASP             Units
          Older Models                                                     22%         $455          10,285
          iPhone 8 (Gen N-1)                                               17%         $675           7,948
          iPhone 8+ (Gen N-1)                                              17%         $790           7,948
          iPhone X (Current Gen)                                           10%       $1,000           4,675
          iPhone XR (Current Gen)                                           0%         $755               0
          iPhone XS (Current Gen)                                          11%       $1,048           5,143
          iPhone XS Max (Current Gen)                                      23%       $1,151          10,753
          Overall                                                        100%           $829         46,752
          Note: We conservatively assume a $800 ASP in Q4 18. Wholesale ASPs includes a ~4% discount to MSRP.
          Source: Company filings, Bernstein estimates and analysis



          EXHIBIT 9: AAPL: Currency Movement Since Last Earnings Report
                                                      FQ118         FQ218        FQ318      FQ418E       FQ119E      FY17      FY18E    FY19E
                                    7/31/2018           4.0%           4.0%       3.0%         -0.5%         -0.7%    -0.9%      2.6%      -1.2%
                                      Current           4.0%           4.0%       3.0%         -0.7%         -1.1%    -0.9%      2.6%      -1.7%
                                      Change            0.0%           0.0%       0.0%         -0.3%         -0.5%     0.0%     -0.1%      -0.5%

          Source: Company filings, FactSet as of 10/23/18, Bernstein analysis




          U.S. IT HARDWARE                                                                                                        BERNSTEIN      9



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                                                                                                                                                  Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                          24 October 2018




          EXHIBIT 10: iPhone: U.S. Pricing Over Time, 2015-2018E
                                                                                                                                    9/12/2018             9/12/2018
                                                     9/25/2015 3/31/2016               9/7/2016        3/21/2017         9/12/2017 Estimated                 Actual
          iPhone 6                  16GB                  $549             $549
                                    32GB                                                                              $199-$345
                                    64GB                  $649             $649
                                    128GB                 $749             $749
          iPhone 6 Plus             16GB                  $649             $649
                                    64GB                  $749             $749
                                    128GB                 $849             $849
          iPhone 6S                 16GB                  $649             $649
                                    32GB                                                   $549              $549              $449
                                    64GB                  $749             $749
                                    128GB                 $849             $849            $649              $649              $549
          iPhone 6S Plus 16GB                             $749             $749
                         32GB                                                              $649              $649              $549
                         64GB                             $849             $849
                         128GB                            $949             $949            $749              $749              $649
          iPhone SE                 16GB                                   $399            $399
                                    32GB                                                                     $349              $349             $349
                                    64GB                                   $499            $449
                                    128GB                                                                    $499              $449             $449
          iPhone 7                  32GB                                                   $649              $649              $549             $449           $449
                                    128GB                                                  $749              $749              $649             $549           $549
                                    256GB                                                  $849              $849
          iPhone 7 Plus             32GB                                                   $769              $769              $669             $569           $569
                                    128GB                                                  $869              $869              $769             $669           $669
                                    256GB                                                  $969              $969
          iPhone 8                  64GB                                                                                       $699             $599           $599
                                    256GB                                                                                      $849             $699           $749
          iPhone 8 Plus             64GB                                                                                       $799             $699           $699
                                    256GB                                                                                      $949             $799           $849
          iPhone X                  64GB                                                                                      $999
                                    256GB                                                                                   $1,149
          iPhone XR                 64GB                                                                                                        $799           $749
                                    128GB                                                                                                                      $799
                                    256GB                                                                                                       $949           $899
          iPhone XS                 64GB                                                                                                         $949         $999
                                    256GB                                                                                                      $1,099        $1,149
                                    512GB                                                                                                                    $1,349
          iPhone XS Max 64GB                                                                                                                   $1,049        $1,099
                        256GB                                                                                                                  $1,199        $1,249
                        512GB                                                                                                                                $1,449

          Note: iPhone 6 32GB was re-released in 2017 as a special locked promotion for certain prepaid carriers; boxed prices are estimates
          Source: Company reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                          BERNSTEIN        10



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                                                                                                                                               Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                         24 October 2018




          EXHIBIT 11: Bernstein iPhone ASP Model: FY17 – FY19 Estimates
                                                   FY17                                          FY18                                         FY19

          Model by Capacity     Mix of Model    Mix of Total     US Price     Mix of Model    Mix of Total    US Price     Mix of Model    Mix of Total     US Price


            16GB
            32 GB                        80%               8%         $549            60%               3%         $449
            64GB
            128GB                        20%               2%         $649            40%               2%         $549
          iPhone 6s                     100%              10%         $569           100%               5%         $489

            16GB
            32GB                         80%              12%         $649            65%               6%         $549
            64GB
            128GB                        20%               3%         $749            35%               3%         $649
          iPhone 6s Plus                100%              15%         $669           100%               9%         $584

            16GB
            32GB                         75%              11%         $349            70%               4%         $349
            64GB
            128GB                        25%               4%         $499            30%               2%         $449
          iPhone SE                     100%              15%         $387           100%               6%         $379

            SE 32GB / 128GB                                                                                                        50%               3%          $349
            6S 32GB                                                                                                                35%               2%          $400
            6S 128GB                                                                                                               15%               1%          $450
          iPhone 6s / SE Relaunch                                                                                                 100%               5%          $382

            32GB                         60%              18%         $649            65%               3%         $549            65%               3%          $449
            128GB                        35%              11%         $749            35%               1%         $649            35%               1%          $549
            256GB                         5%               2%         $849
          iPhone 7                      300%              30%         $540           300%               4%         $430           300%               4%          $484

            32GB                         40%              12%         $769            65%               4%         $669            65%               5%          $569
            128GB                        50%              15%         $869            35%               2%         $769            35%               2%          $669
            256GB                        10%               3%         $969
          iPhone 7 Plus                 100%              30%         $839           100%               6%         $704           100%               7%          $604

            64GB                                                                      65%               16%        $699            65%               3%          $599
            256GB                                                                     35%                9%        $849            35%               2%          $749
          iPhone 8                                                                   100%               25%        $752           100%               5%          $652

            64GB                                                                      50%               10%        $799            50%               2%          $699
            256GB                                                                     50%               10%        $949            50%               2%          $849
          iPhone 8 Plus                                                              100%               20%        $874           100%               4%          $774

            64GB                                                                      50%               13%        $999
            256GB                                                                     50%               13%      $1,149
          iPhone X                                                                   100%               25%      $1,074

            64GB                                                                                                                   35%               16%         $749
            128GB                                                                                                                  60%               27%         $799
            256GB                                                                                                                   5%                2%         $899
          iPhone XR                                                                                                               100%               45%         $787

            64GB                                                                                                                   45%                5%         $999
            256GB                                                                                                                  50%                5%       $1,149
            512GB                                                                                                                   5%                1%       $1,349
          iPhone XS                                                                                                               100%               10%       $1,092

            64GB                                                                                                                   40%                8%       $1,099
            256GB                                                                                                                  55%               11%       $1,249
            512GB                                                                                                                   5%                1%       $1,449
          iPhone XS Max                                                                                                           100%               20%       $1,199

          Total                                           100%         $675                           100%          $797                          100%            $847

                                               Discount               -3.4%                  Discount                -4%                  Discount                 -4%
                                               Actual                  $652                  Bernstein Est          $767                  FY19 Est                $813
                                                                                             YoY Change             18%                   YoY Change                6%


          Source: Company reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                         BERNSTEIN           11



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                                                                                                                                              Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                   24 October 2018




          EXHIBIT 12: AAPL: Estimated FY19 Mix and iPhone ASP
                                                           Implied Mix                                           Estimated Wholesale Prices
                                        Q1           Q2        Q3         Q4      FY19                  Q1         Q2        Q3       Q4        FY19      MSRP
          iPhone SE Relaunch? / 6S        2%          5%         8%         7%        5%                  $367      $367      $367      $367      $367       $382
          iPhone 7 (Gen N-2)              4%          4%         4%         4%        4%                  $465      $465      $465      $465      $465       $484
          iPhone 7+ (Gen N-2)             6%          7%         6%        10%        7%                  $580      $580      $580      $580      $580       $604
          iPhone 8 (Gen N-1)              5%          5%         6%         4%        5%                  $625      $625      $625      $625      $625       $652
          iPhone 8+ (Gen N-1)             5%          4%         4%         3%        4%                  $743      $743      $743      $743      $743       $774
          iPhone XR (Current Gen)        45%         48%        45%        41%       45%                 $755       $755      $755      $755      $755       $787
          iPhone XS (Current Gen)        11%          9%         9%        11%       10%                $1,048    $1,048    $1,048    $1,048    $1,048     $1,092
          iPhone XS Max (Current Ge      22%         18%        18%        20%       20%                $1,151    $1,151    $1,151    $1,151    $1,151     $1,199
          Overall                       100%       100%        100%       100%      100%                 $837      $804        $791    $805        $813     $847
          Estimated Units (000s)       75,738     53,016      41,883     47,328   217,964 Consensus:     $799      $760        $746    $754        $775
                                                                                          Difference      $38       $44         $45     $51         $38

          Note: Wholesale prices include a 4% discount to our estimated MSRP
          Source: Company filings, Bernstein estimates and analysis



          EXHIBIT 13: AAPL: FQ1 YoY Revenue Growth Guidance vs Reported FY Revenue Growth


                                                                       52.0%




                                                                                                                                       18.1%
                  16.0%
                       12.2%                 11.7%                         12.9%
                                                                                                                                               9.1%
                                                     3.6%                                        2.5%            3.4%
                                                                                                                        1.5%




                                                                                           (11.8%)

                       2013                     2014                     2015                 2016                  2017                   2018E

                                                      Full Year Revenue Growth             Q1 Guided Revenue Growth


          Source: Company filings, Bernstein analysis




          U.S. IT HARDWARE                                                                                                                     BERNSTEIN         12



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                                                                                                                                                                               Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                      24 October 2018




          EXHIBIT 14: AAPL: First Full Quarter Guidance for YoY Change in GM Guidance vs Reported Change in GM in FY
                                                                  147 bp
                                           96 bp
                                                                          7 bp                                                                                           25 bp ?


                                                                                                  -37 bp                                         -8 bp-26 bp
                                                                                                                   -61 bp
                                                                                             -98 bp
                                              -163 bp                                                                       -185 bp




                    -625 bp


                          -868 bp
                       Q1 13                Q1 14                     Q1 15                    Q1 16                    Q1 17                         Q1 18                  Q1 19?
                     9/21/2012             9/20/2013                9/19/2014                9/25/2015               9/17/2016                   9/22/2017                9/21/2017
                           5                 5S/C                      6/6+                      6S                           7                        X/8                     XS/XR

                                               Reported Y/Y GM Growth in Fiscal Year                               Guided Q1 Y/Y GM Growth


          Source: Company filings, Bernstein estimates and analysis



          EXHIBIT 15: AAPL: Revenue, EPS, and Gross Margin Guidance History
          Revenues ($B)
          Guidance Date:                     10/27/2016 1/26/2016    4/25/2016   7/27/2016 10/25/2016 1/31/2017    5/2/2017       8/1/2017   11/2/2017   2/1/2018   5/1/2018    7/31/2018   11/1/2018
          For Fiscal Quarter:                  Q116       Q216         Q316       Q416        Q117      Q217        Q317           Q417        Q118       Q218       Q318        Q418E       Q119E

          Guidance                           75.5-77.5    50-53       41-43      45.5-47.5    76-78    51.5-53.5   43.5-45.5       49-52      84-87       60-62     51.5-53.5    60-62       92-94

          Midpoint of Guidance                 76.50      51.50       42.00       46.50       77.00     52.50       44.50          50.50      85.50       61.00      52.50       61.00       91.00
          Then-Consensus                       76.92      52.09       46.62       47.03       74.88     52.91       44.88          50.44      87.50       68.90      52.28       61.33       92.70
          Actual / Bernstein Estimate          75.87      50.56       42.36       46.85       78.35     52.91       45.41          51.01      88.29       61.13      53.27       63.29       95.87

          Guidance vs. Consensus               -0.5%      -1.1%       -9.9%       -1.1%        2.8%     -0.8%       -0.8%           0.1%      -2.3%      -11.5%       0.4%       -0.5%       -1.8%
          Actual/Bernstein vs. Guidance        -0.8%      -1.8%        0.9%        0.8%        1.8%      0.8%        2.0%           1.0%       3.3%          0.2%     1.5%        3.8%        5.4%
          Actual/Bernstein vs. Consensus       -1.4%      -2.9%       -9.1%       -0.4%        4.6%      0.0%        1.2%           1.1%       0.9%      -11.3%       1.9%        3.2%        3.4%

          Guidance Y/Y Growth                   2.5%     -11.2%      -15.3%       -9.7%        1.5%      3.8%        5.1%           7.8%       9.1%      15.3%       15.6%       19.6%        3.1%
          Consensus Y/Y Growth                  3.1%     -10.2%       -6.0%       -8.7%       -1.3%      4.7%        6.0%           7.7%      11.7%      30.2%       15.1%       20.2%        5.0%
          Actual/Bernstein Y/Y Growth           1.7%     -12.8%      -14.6%       -9.0%        3.3%      4.7%        7.2%           8.9%      12.7%      15.5%       17.3%       24.1%        8.6%

          EPS ($)
          Guidance Date:                     10/27/2016 1/26/2016    4/25/2016   7/27/2016 10/25/2016 1/31/2017    5/2/2017       8/1/2017   11/2/2017   2/1/2018   5/1/2018    7/31/2018   11/1/2018
          For Fiscal Quarter:                  Q116       Q216         Q316       Q416        Q117      Q217        Q317           Q417        Q118       Q218       Q318        Q418E       Q119E

          Guidance                           ~3.09-3.31 ~1.85-2.05 ~1.30-1.45 ~1.55-1.70 ~3.10-3.27 ~1.83-1.99 ~1.44-1.63 ~1.75-1.96 ~3.61-3.85 ~2.57-2.77 ~2.10-2.30 ~2.65-$2.86 ~4.67-$4.90

          Midpoint of Guidance                 3.19       1.93         1.38        1.63        3.19      1.98        1.54           1.85       3.73          2.67     2.20        2.75        4.79
          Then-Consensus                       3.25       2.00         1.40        1.66        3.21      2.02        1.57           1.87       3.78          2.90     2.15        2.77        4.92
          Actual / Bernstein Estimate          3.28       1.90         1.42        1.67        3.36      2.10        1.67           2.07       3.89          2.73     2.34        2.90        5.03

          Guidance vs. Consensus               -1.8%      -3.4%       -1.9%       -1.9%       -0.6%     -2.0%       -1.9%          -1.2%      -1.3%       -7.9%       2.3%       -0.7%       -2.7%
          Actual/Bernstein vs. Guidance         2.9%      -1.7%        3.6%        2.9%        5.3%      6.1%        8.2%         11.7%        4.3%          2.1%     6.3%        5.3%        4.9%
          Actual/Bernstein vs. Consensus        1.1%      -5.0%        1.6%        0.9%        4.7%      4.0%        6.1%         10.4%        2.9%       -6.0%       8.7%        4.6%        2.2%

          Guidance Y/Y Growth                   4.1%     -17.0%      -25.7%      -17.0%       -2.8%      4.3%        8.1%         10.7%       11.0%      27.1%       32.1%       33.0%       23.1%
          Consensus Y/Y Growth                  6.0%     -14.1%      -24.2%      -15.3%       -2.2%      6.4%       10.2%         12.0%       12.5%      38.1%       29.1%       34.0%       26.5%
          Actual/Bernstein Y/Y Growth           7.1%     -18.4%      -23.0%      -14.6%        2.4%     10.6%       16.9%         23.7%       15.8%      29.8%       40.4%       40.1%       29.2%


          Gross Margin
          Guidance Date:                     10/27/2016 1/26/2016    4/25/2016   7/27/2016 10/25/2016 1/31/2017    5/2/2017       8/1/2017   11/2/2017   2/1/2018   5/1/2018    7/31/2018   11/1/2018
          For Fiscal Quarter:                  Q116       Q216         Q316       Q416        Q117      Q217        Q317           Q417        Q118       Q218       Q318        Q418E       Q119E
          Guidance                             39.5%      39.3%       37.8%       37.8%       38.3%     38.5%       38.0%          37.8%      38.3%       38.3%      38.3%       38.3%       38.3%
          Actual / Bernstein Estimate          40.1%      39.4%       38.0%       38.0%       38.5%     38.9%       38.5%          37.9%      38.4%       38.3%      38.3%       38.5%       38.6%

          Actual/SCB vs. Guidance              60 bp      15 bp       27 bp       27 bp       26 bp     40 bp       51 bp          14 bp      16 bp          6 bp     9 bp       21 bp       31 bp
          Avg Beat over last 8 Qtrs                                                                                                                                  24 bp
          Avg Beat over last 5 Qtrs                                                                                                                                  19 bp


          Source: Company filings, Consensus, Bernstein estimates and analysis




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                                                                                                                               Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                      24 October 2018




          EXHIBIT 16: AAPL: FQ119E Guidance Forecast vs. Bernstein Estimate ($M except per share values)
          1Q19 Forecasted Guidance vs Our Estimates

          Guidance                                                                   Guidance                             Bern.
                                                                            Low          High    Midpoint
          Revenue                                                          $92,000       $94,000 $93,000                  $95,870
          Gross Margin                                                       38.0%        38.5%     38.3%                  38.6%
          OpEx                                                              $8,650        $8,550   $8,600                  $8,628
          Other Income (Expense)                                              $350          $350     $350                    $350
          Tax rate                                                           17.0%        17.0%     17.0%                  17.0%
          FD Shares Out                                                                             4,737                  4,737

          EPS Calculations Based on Guidance                                         Guidance                             Bern.
                                                                            Low           High       Midpoint
          Gross Profit                                                     $34,960       $36,190      $35,573             $36,965
          Operating Profit                                                 $26,310       $27,640      $26,973             $28,337
          Pretax Income                                                    $26,660       $27,990      $27,323             $28,687
          Net Income                                                       $22,128       $23,232      $22,678             $23,810
          EPS                                                                $4.67         $4.90        $4.79            $   5.03
          Source: Bernstein estimates and analysis



          EXHIBIT 17: AAPL Services: Revenue and Sources of Growth in Filings, By Quarter ($B)

              $12.0                                                                                                                         40%

              $10.0                                                                                                            $9.2 $9.5    35%
                                                                                                                    $8.5
                                                                                                                    34% $8.5                30%
               $8.0                                                                           $7.2 $7.0 $7.3                   31% 31%      25%
                                                                          $6.1 $6.0 $6.0 $6.3
                                                                          26%
               $6.0                                   $4.8 $5.0 $5.0 $5.1                24%                                                20%
                             $4.3 $4.4 $4.6 $4.5 $4.6
                             22%                                                                        22%
                                  19%  11%                                     20%  19%       18% 18%                                       15%
               $4.0                                                                                                      18%
                                                                                                                                            10%
               $2.0                              12%                 12%
                                                                           10%                                                              5%
                                                         8% 9% 9%
               $0.0                                                                                                                         0%
                             4Q131Q142Q143Q144Q141Q152Q153Q154Q151Q162Q163Q164Q161Q172Q173Q174Q171Q182Q183Q18
                      App Store                      1           1    1     2    1   1     1     1    1   1     1    1    2     2     2
                       iTunes 1       1     1            1   2
                      Licensing3            3        3   2   1   2    2     1    2   2     2          2   2     2    2    1     1     1
                   AppleCare2               2        2                      3    3   3     3     2                              3     3
                       iCloud                                                                                             3

                                                             Services Revenue ($B)             % YoY Growth


          Source: Company filings, Bernstein analysis




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                                                                                                                                               Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                           24 October 2018




          EXHIBIT 18: AAPL: Reported Greater China Revenue Growth, Reported Reasons, and Potential Indicators
                                                                               FY16       FY17            4Q17      1Q18          2Q18        3Q18          4Q18E
          Reported           Reported China Revenue Growth                      -17%         -8%            12%          11%         21%        19%

          Potential          Int'l OEM LTE Unit Growth                          (31%)      (12%)            (4%)         (2%)       (5%)        (5%)          (23%)
          Indicators         Tencent Phone Game Revenue Growth                   78%        63%             84%          59%        68%         19%
                             China Yuan YoY                                      (5%)       (4%)            (0%)          3%         7%          9%             6%

          Top                iPhone                                               (1)            (1)                       1             1           1
          reason for         Services                                                             1                        2
          decline/           Other Products                                                                                                          2
          growth             Currency                                             (2)                                                    2

          Source: Company filings, Factset, Bernstein estimates and analysis



          EXHIBIT 19: CATR: Mainland China International OEM iPhone Sell-in Units

              30,000                                             17%                                                                                            20%

                                                                24,422                                                                                          10%
              25,000
                                 20,880
                                             19,693                                                                      (4%) (2%) (5%) (5%)                    0%
              20,000                   18,921      18,723
                                                                                                 17,271                         16,844
                                                                                                                                                                -10%
                                                                        14,651
              15,000                                                                12,895               (20%)
                                                                        (23%) 11,649                     11,714(23%) 12,386          11,155
                                                                                                                                                     (23%)
                                                                                                                                                                -20%
                                                                                                 (29%)           9,023
              10,000                                                                     (31%)                                                8,583 8,625
                                                                                                                                                                -30%
                         6,372
                                                                                 (41%)
               5,000
                                                                                                                                                                -40%


                   -                                                                                                                                            -50%
                         Q314 Q414 Q115 Q215 Q315 Q415 Q116 Q216 Q316 Q416 Q117 Q217 Q317 Q417 Q118 Q218 Q318

                                                                   Int'l 4G Units (000s)                  % Growth Y/Y


          Note: CATR did not report percentage of LTE smartphones from non-Chinese OEMs in January and September 2018. We assume normal share seasonality in these
          two months.
          Source: China Academy of Information and Communications Technology as of September 2018, Bernstein analysis




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                                                                                                            Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                24 October 2018




          EXHIBIT 20: AAPL: Share Buybacks by Quarter and Percentage of Quarterly Trading Volume
          Fiscal                      Shares Purchased (M)                       Quarter    AAPL+BRK
          Quarter                  Apple     Buffett  AAPL+BRK                   Volume     % of Volume
          Q4 18E                          113                    12      125        1,773         7.1%
          Q3 18                           113                    12      125        1,815         6.9%
          Q2 18                           137                    74      211        2,301         9.2%
          Q1 18                            58                    31       89        1,636         5.4%
          Q4 17                            49                     4       53        1,764         3.0%
          Q3 17                            49                     1       50        1,712         2.9%
          Q2 17                            55                    72      127        1,700         7.5%
          Q1 17                            94                    42      136        2,017         6.7%
          Q4 16                            63                     0       63        2,286         2.8%
          Q3 16                            98                     5      104        2,554         4.1%
          Q2 16                            72                    10       82        2,829         2.9%
          Q1 16                            46                     0       46        2,787         1.7%
          Q4 15                           132                     0      132        3,872         3.4%
          Q3 15                            70                     0       70        2,829         2.5%
          Q2 15                            70                     0       70        3,580         1.9%
          Q1 15                            54                     0       54        3,255         1.7%
          Q4 14                           141                     0      141        3,501         4.0%
          Q3 14                           174                     0      174        4,250         4.1%
          Q2 14                           222                     0      222        4,929         4.5%
          Q1 14                            67                     0       67        5,030         1.3%
          Q4 13                            73                     0       73        5,809         1.3%
          Q3 13                           238                     0      238        6,859         3.5%
          Q2 13                             0                     0        0        7,911         0.0%
          Q1 13                            18                     0       18        9,302         0.2%
          Source: Company filings, Factset, Bernstein analysis




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                                                                                                                                     Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                         24 October 2018




          EXHIBIT 21: AAPL: Implied Growth in Average Revenue Per User (ARPU), 2013-Q3 18




                31%                                                                                                       31%

                      25%                                                                                24%
                                      22%                    21%
                                                                                      20%
                                                                                   16%                                         17%
                                           13%                                                      12%               12%
                                                                  10%                                       10%

                                                                                            3%



                          -5%
                                                 -7%
                                                                        -9%


                   FY2013                FY2014                 FY2015              FY2016             FY2017          FQ3 2018

                        Installed Base Growth             Services Revenue Growth            Implied Growth in Revenue per User


          Source: Company filings, Bernstein estimates and analysis



          EXHIBIT 22: AAPL: Absolute P/FE Based on Consensus, 2013-2018

                                                                       Stock P/FE (Consensus)
              18.0x                                                                                       Consensus: 16.6x
              17.0x                                                                                       Bernstein Est: 15.7x
              16.0x
                                                                      Historical Average
              15.0x

              14.0x                                                           13.79x

              13.0x

              12.0x

              11.0x

              10.0x

               9.0x

               8.0x
                10/23/2013                10/23/2014                  10/23/2015            10/23/2016            10/23/2017          10/23/2018

          Source: Factset, Bernstein estimates and analysis as of 10/23/18




          U.S. IT HARDWARE                                                                                                            BERNSTEIN     17



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                                                                                                                           Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                               24 October 2018




          EXHIBIT 23: AAPL: Relative P/FE Based on Consensus, 2013-2018

                                                               Stock Relative P/FE (Consensus)
              1.10x

              1.05x                                                                                Consensus: 1.06x
              1.00x                                                                                Bernstein Est: 1.00x
              0.95x

              0.90x                                                           Average = 0.84x

              0.85x

              0.80x

              0.75x

              0.70x

              0.65x

              0.60x
                10/23/2013                 10/23/2014                     10/23/2015       10/23/2016         10/23/2017        10/23/2018

          Source: CapitalIQ, Factset, Bernstein analysis as of 10/23/18



          EXHIBIT 24: AAPL: Absolute EV/NTM FCF Based on Consensus, 2013-2018

                                                                Stock EV/NTM FCF (Consensus)
              20.00x


              18.00x
                                                                                                                                    16.9x
              16.00x
                                                                                  Average = 13.21x
              14.00x


              12.00x


              10.00x


               8.00x
                 10/23/2013                 10/23/2014                 10/23/2015         10/23/2016        10/23/2017       10/23/2018

          Source: CapitalIQ, FactSet, Bernstein analysis, as of 10/23/18




          U.S. IT HARDWARE                                                                                                  BERNSTEIN     18



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                                                                                                                                     Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                               24 October 2018




          EXHIBIT 25: AAPL: Price Segmentation – High End vs Low/Mid-Tier Unit Shipments (M)

                                                                      232
                                                                               215              216                        216           218

                                                   193


                                   153
                   136

                                                                      229                       195                                      191
                                                                               214                                         210
                                                   181

                                   150
                   130




                                                                                                21                                        27
                  6                 3               12              3            2                                          6
                 2012             2013            2014            2015         2016            2017                     LTM Q2 17    LTM Q2 18
               % Growth           13%             26%             20%          (7%)             0%                                      1%

                                                                            <$300     >$300


          Note: Calendar years
          Source: StrategyAnalytics as of August 2018



          EXHIBIT 26: iPhone: Bernstein Installed Base / Replacement Cycle Model
          iPhone Installed Base Calculations (FY)
          All in 000s Except %s and Years of Sales in IB                       FY13       FY14         FY15      FY16      FY17      FY18E      FY19E
          iPhone Unit Sales                                                     150,257   169,219      231,218   211,884   216,756   217,585     217,964
            Sales YoY Growth %                                                     20%       13%          37%        -8%       2%        0%          0%

          Est. Installed Base of First Hand Phones                              295,068   379,148      453,110   522,778   560,946   579,679     612,164
           IB YoY Growth %                                                       42.3%     28.5%        19.5%     15.4%      7.3%      3.3%        5.6%

          Est. Total Installed Base                                             329,248   436,072      572,492   687,413   769,592   832,767     891,874
           IB YoY Growth %                                                         48%       32%          31%       20%       12%        8%          7%
          Years of Sales in Installed Base                                         2.75      2.93         3.17      3.50      3.65      3.81        4.13

          Upgrade Rate (Upgraders / Prior Year IB)                                27.0%        26.0%     36.0%     27.0%     25.5%     25.0%       23.0%
          All Upgraders                                                          59,923       85,605   156,986   154,573   175,290   192,398     191,537
            Sold to Installed Base of First Hand Phones                          59,474       80,882   149,394   135,105   169,658   188,909     176,206
            Sold to Installed Base of Second Hand Phones                            449        4,723     7,592    19,468     5,632     3,489      15,331
          New Users (Switchers + 1st Time Smartphone Buyers)                     90,334       83,614    74,232    57,311    41,466    25,187      26,428
           Switchers                                                             27,100       33,446    37,116    37,116    37,319    22,668      23,785
           1st Time Smartphone Buyers                                            63,234       50,169    37,116    20,195     4,147     2,519       2,643

          New Users - % Switchers                                                   30%         40%       50%       65%       90%       90%         90%
          New Users - % 1st Time Smartphone Buyers                                  70%         60%       50%       35%       10%       10%         10%

          Upgrader Sales as % of Total                                              40%         51%       68%       73%       81%       88%         88%
          New User Sales as % of Total                                              60%         49%       32%       27%       19%       12%         12%

          Source: Company reports, Bernstein estimates and analysis



          Exhibits 27-30 provide our AAPL income statement and services model.




          U.S. IT HARDWARE                                                                                                              BERNSTEIN          19



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                                                                                                                                                                                                            Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                                                         24 October 2018




          EXHIBIT 27: Apple: Income Statement Model ($M, except per share data)
          Fiscal Periods:                                     2016          2017          2018E         2019E         4Q17           1Q18         2Q18          3Q18         4Q18E        1Q19E        2Q19E          3Q19E        4Q19E

           Net Sales                                    215,639       229,248           265,984    291,258           52,579        88,293        61,134        53,265        63,292       95,870       69,219        59,402        66,766
           Cost of Goods Sold                           131,376       141,057           163,885    178,739           32,648        54,381        37,713        32,844        38,947       58,905       42,594        36,404        40,835
           Gross Income                                  84,263        88,191           102,099    112,519           19,931        33,912        23,421        20,421        24,345       36,965       26,625        22,998        25,930

           Research & Development                           10,045        11,581         14,315        16,660         2,997         3,407         3,378         3,701         3,829        4,027        4,084         4,277         4,273
           Selling, General, & Administrative               14,194        15,261         16,856        18,489         3,814         4,231         4,150         4,108         4,367        4,602        4,707         4,574         4,607
           Operating Income                                 60,024        61,349         70,928        77,369        13,120        26,274        15,893        12,612        16,149       28,337       17,834        14,147        17,051

           Interest and Other, Net (excludes gains/lo        1,348         2,745          2,002         1,400           797           756           274           672           300          350          350           350           350
           Income Before Tax                                61,372        64,094         72,930        78,769        13,917        27,030        16,167        13,284        16,449       28,687       18,184        14,497        17,401

           Income Taxes (ex. 1-time items)                  15,685        15,738         13,543        13,391         3,203         6,965         2,346         1,765         2,467        4,877        3,091         2,465         2,958
           Net Income                                       45,687        48,356         59,386        65,378        10,714        20,065        13,821        11,519        13,982       23,810       15,093        12,033        14,443

           Average Shares Outstanding, Diluted               5,500         5,252          4,995         4,621         5,184         5,158         5,068         4,927         4,827        4,737        4,647         4,557         4,467
           Earnings Per Share, Diluted                  $     8.31    $     9.21    $     11.89    $    14.15    $     2.07    $     3.89    $     2.73    $     2.34    $     2.90   $     5.03   $     3.25    $     2.64    $     3.23

          TRENDS, Post-FAS123(R)
          Key Ratios
           COGS as % of Sales                                60.9%         61.5%         61.6%         61.4%         62.1%          61.6%        61.7%         61.7%         61.5%        61.4%        61.5%          61.3%        61.2%
           Gross Margin                                      39.1%         38.5%         38.4%         38.6%         37.9%          38.4%        38.3%         38.3%         38.5%        38.6%        38.5%          38.7%        38.8%
           R&D as % of Sales                                  4.7%          5.1%          5.4%          5.7%          5.7%           3.9%         5.5%          6.9%          6.1%         4.2%         5.9%           7.2%         6.4%
           SG&A as % of Sales                                 6.6%          6.7%          6.3%          6.3%          7.3%           4.8%         6.8%          7.7%          6.9%         4.8%         6.8%           7.7%         6.9%
           Operating Margin                                  27.8%         26.8%         26.7%         26.6%         25.0%          29.8%        26.0%         23.7%         25.5%        29.6%        25.8%          23.8%        25.5%
           Tax rate                                          25.6%         24.6%         18.6%         17.0%         23.0%          25.8%        14.5%         13.3%         15.0%        17.0%        17.0%          17.0%        17.0%
           Net Margin                                        21.2%         21.1%         22.3%         22.4%         20.4%          22.7%        22.6%         21.6%         22.1%        24.8%        21.8%          20.3%        21.6%

          Y/Y Change
            Net Sales                                        -7.7%          6.3%         16.0%          9.5%         12.2%          12.7%        15.5%         17.3%         20.4%         8.6%        13.2%          11.5%         5.5%
            Gross Income                                    -10.0%          4.7%         15.8%         10.2%         11.9%          12.4%        13.7%         16.8%         22.1%         9.0%        13.7%          12.6%         6.5%
            R&D                                              24.5%         15.3%         23.6%         16.4%         16.6%          18.7%        21.7%         26.0%         27.8%        18.2%        20.9%          15.6%        11.6%
            SG&A                                             -0.9%          7.5%         10.5%          9.7%          9.5%           7.2%        11.6%          8.6%         14.5%         8.8%        13.4%          11.3%         5.5%
            Operating Income                                -15.7%          2.2%         15.6%          9.1%         11.6%          12.5%        12.7%         17.1%         23.1%         7.9%        12.2%          12.2%         5.6%
            Net Income                                      -14.4%          5.8%         22.8%         10.1%         18.9%          12.2%        25.3%         32.1%         30.5%        18.7%         9.2%           4.5%         3.3%
            Diluted Shares                                    (293)         (249)         (257)         (374)         (210)          (170)        (193)         (307)         (357)        (421)        (422)          (370)        (360)
            EPS, Diluted                                     -9.9%         10.9%         29.1%         19.0%         23.7%          15.9%        30.0%         40.4%         40.1%        29.2%        19.1%          12.9%        11.6%

          Sequential Change
           Net Sales                                                                                                 15.8%          67.9%        -30.8%        -12.9%        18.8%        51.5%        -27.8%        -14.2%        12.4%
           Gross Income                                                                                              14.0%          70.1%        -30.9%        -12.8%        19.2%        51.8%        -28.0%        -13.6%        12.7%
           R&D                                                                                                        2.0%          13.7%         -0.9%          9.6%         3.5%         5.2%          1.4%          4.7%        -0.1%
           SG&A                                                                                                       0.8%          10.9%         -1.9%         -1.0%         6.3%         5.4%          2.3%         -2.8%         0.7%
           Operating Income                                                                                          21.8%         100.3%        -39.5%        -20.6%        28.0%        75.5%        -37.1%        -20.7%        20.5%
           Net Income                                                                                                22.9%          87.3%        -31.1%        -16.7%        21.4%        70.3%        -36.6%        -20.3%        20.0%
           Diluted Shares                                                                                              (50)           (26)          (89)         (142)        (100)         (90)          (90)          (90)         (90)
           EPS, Diluted                                                                                              24.1%          88.2%        -29.9%        -14.3%        23.9%        73.5%        -35.4%        -18.7%        22.4%


          Source: Corporate reports, Bernstein estimates and analysis




          EXHIBIT 28: Apple: Gross Margin Model ($M)
          Fiscal Periods:                                     2016          2017          2018E         2019E          4Q17          1Q18          2Q18          3Q18        4Q18E        1Q19E        2Q19E          3Q19E        4Q19E

          Revenue
          iPhone                                            136,700       141,319        166,915       177,263        28,846        61,576        38,032       29,906        37,401       63,426       42,601         33,143       38,093
          iPad                                               20,628        19,222         19,135        19,669         4,831         5,862         4,113        4,741         4,419        6,176        4,214          4,830        4,449
          Mac                                                22,831        25,850         24,946        25,170         7,170         6,895         5,848        5,330         6,873        7,383        5,781          5,371        6,636
          Apple Watch                                         4,572         6,176          9,478        15,065        1,645         3,255          2,048       1,534         2,641        5,848         3,412         2,397        3,407
          iTunes/Software/Services                           24,348        29,980         37,185        43,893         8,501         8,471         9,190        9,548         9,976       10,245       10,832         11,015       11,801
          Other Products                                      6,560         6,701          8,326        10,198         1,586         2,234         1,904        2,206         1,983        2,793        2,379          2,647        2,379
          Total                                             215,639       229,248        265,984       291,258        52,579        88,293        61,134       53,265        63,292       95,870       69,219         59,402       66,766

          Revenue Share
          iPhone                                             63.4%         61.6%          62.8%         60.9%         54.9%         69.7%         62.2%         56.1%         59.1%        66.2%        61.5%         55.8%         57.1%
          iPad                                                9.6%          8.4%           7.2%          6.8%          9.2%          6.6%          6.7%          8.9%          7.0%         6.4%         6.1%          8.1%          6.7%
          Mac                                                10.6%         11.3%           9.4%          8.6%         13.6%          7.8%          9.6%         10.0%         10.9%         7.7%         8.4%          9.0%          9.9%
          Apple Watch                                         2.1%          2.7%           3.6%          5.2%          3.1%         3.7%           3.3%         2.9%           4.2%        6.1%          4.9%         4.0%           5.1%
          iTunes/Software/Services                           11.3%         13.1%          14.0%         15.1%         16.2%          9.6%         15.0%         17.9%         15.8%        10.7%        15.6%         18.5%         17.7%
          Other Products                                      3.0%          2.9%           3.1%          3.5%          3.0%          2.5%          3.1%          4.1%          3.1%         2.9%         3.4%          4.5%          3.6%
          Total                                             100.0%        100.0%         100.0%        100.0%        100.0%        100.0%        100.0%        100.0%        100.0%       100.0%       100.0%        100.0%        100.0%

          Gross Margin
          iPhone                                             41.0%         38.7%          37.8%          37.3%        36.7%          39.0%        37.3%         36.6%         37.1%        39.0%        36.5%         36.0%        36.3%
          iPad                                               25.3%         24.3%          21.8%          22.0%        25.0%          24.5%        20.0%         20.0%         22.0%        24.0%        23.0%         23.0%        23.0%
          Mac                                                24.7%         23.9%          22.0%          22.0%        21.5%          21.6%        22.6%         21.1%         22.5%        22.0%        22.0%         22.0%        22.0%
          Apple Watch                                        27.3%         26.6%          26.0%          27.0%        26.0%         26.0%        26.0%         26.0%          26.0%       27.0%        27.0%         27.0%         27.0%
          iTunes/Software/Services                           61.0%         65.2%          67.6%          68.4%        68.5%          66.7%        67.2%         68.1%         68.2%        67.6%        68.2%         68.5%        69.3%
          Other Products                                     20.0%         21.5%          21.8%          22.0%        21.5%          21.5%        20.0%         22.5%         23.0%        22.0%        22.0%         22.0%        22.0%
          Overall Company                                    39.1%         38.5%          38.4%          38.5%        37.9%          38.4%        38.3%         38.3%         38.5%        38.6%        38.5%         38.7%        38.8%


          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                                                                                           BERNSTEIN              20



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                                                                                                                                                                      Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                              24 October 2018




          EXHIBIT 29: Apple Revenue Model ($M)
          Fiscal Periods:                           2015         2016            2017     2018E     2019E    4Q17     1Q18     2Q18     3Q18    4Q18E    1Q19E    2Q19E     3Q19E    4Q19E

          Revenues ($M)
          iPhone                                155,041      136,700          141,319   166,915   177,263   28,846   61,576   38,032   29,906   37,401   63,426   42,601    33,143   38,093
          iPad                                   23,227       20,628           19,222    19,135    19,669    4,831    5,862    4,113    4,741    4,419    6,176    4,214     4,830    4,449
          Mac                                    25,471       22,831           25,850    24,946    25,170    7,170    6,895    5,848    5,330    6,873    7,383    5,781     5,371    6,636
          Apple Watch                             2,733        4,572            6,176     9,478    15,065    1,645    3,255    2,048    1,534    2,641    5,848    3,412     2,397    3,407
          iTunes/Software/Services               19,909       24,348           29,980    37,185    43,893    8,501    8,471    9,190    9,548    9,976   10,245   10,832    11,015   11,801
          Other Products ex Watch                 7,335        6,560            6,701     8,326    10,198    1,586    2,234    1,904    2,206    1,983    2,793    2,379     2,647    2,379
          Total Revenues                        233,715      215,639          229,248   265,984   291,258   52,579   88,293   61,134   53,265   63,292   95,870   69,219    59,402   66,766

          Y/Y Change in Revenues
          iPhone                                     52%         -12%             3%       18%        6%       2%      13%      14%      20%      30%       3%      12%       11%        2%
          iPad                                      -23%         -11%            -7%        0%        3%      14%       6%       6%      -5%      -9%       5%       2%        2%        1%
          Mac                                         6%         -10%            13%       -3%        1%      25%      -5%       0%      -5%      -4%       7%      -1%        1%       -3%
          Apple Watch                                             67%            35%       53%       59%      50%      49%      59%      45%      61%      80%      67%       56%       29%
          iTunes/Software/Services                   10%          22%            23%       24%       18%      34%      18%      31%      31%      17%      21%      18%       15%       18%
          Other Products                            -12%         -11%             2%       24%       22%      24%      21%      19%      32%      25%      25%      25%       20%       20%
          Total Revenues                             28%          -8%             6%       16%       10%      12%      13%      16%      17%      20%       9%      13%       12%        5%


          Units (000)
          iPhone                                231,218      211,884          216,756   217,585   217,964   46,677   77,316   52,217   41,300   46,752   75,738   53,016    41,883   47,328
          iPad                                   54,856       45,590           43,753    44,234    44,787   10,326   13,170    9,113   11,553   10,398   13,725    9,470    11,364   10,228
          Mac                                    20,587       18,484           19,251    17,650    18,500    5,386    5,112    4,078    3,720    4,740    5,572    4,282     3,906    4,740
          Apple Watch                             5,300        9,259           13,200    20,388    28,683    3,500    7,000    4,550    3,335    5,503   10,730    6,438     4,700    6,815

          Y/Y Change in Units
          iPhone                                   36.6%        -8.4%            2.3%      0.4%      0.2%     2.6%    -1.2%     2.9%     0.7%     0.2%    -2.0%     1.5%      1.4%     1.2%
          iPad                                    -19.3%       -16.9%           -4.0%      1.1%      1.3%    11.4%     0.7%     2.1%     1.1%     0.7%     4.2%     3.9%     -1.6%    -1.6%
          Mac                                       8.9%       -10.2%            4.1%     -8.3%      4.8%    10.2%    -4.9%    -2.9%   -13.3%   -12.0%     9.0%     5.0%      5.0%     0.0%
          Apple Watch                                           74.7%           42.6%     54.5%     40.7%    48.4%    52.2%    62.5%    45.0%    57.2%    53.3%    41.5%     40.9%    23.8%

          Sequential Change in Units
          iPhone                                                                                             13.8%    65.6%   -32.5%   -20.9%    13.2%    62.0%   -30.0%    -21.0%    13.0%
          iPad                                                                                               -9.6%    27.5%   -30.8%    26.8%   -10.0%    32.0%   -31.0%     20.0%   -10.0%
          Mac                                                                                                25.5%    -5.1%   -20.2%    -8.8%    27.4%    17.6%   -23.2%     -8.8%    21.3%
          Apple Watch                                                                                        52.2%   100.0%   -35.0%   -26.7%    65.0%    95.0%   -40.0%    -27.0%    45.0%

          ASPs ($)
          iPhone                                    671           645             652       767       813      618      796      728      724      800      837      804       791      805
          iPad                                      423           452             439       433       439      468      445      451      410      425      450      445       425      435
          Mac                                     1,237         1,235           1,343     1,413     1,361    1,331    1,349    1,434    1,433    1,450    1,325    1,350     1,375    1,400
          Apple Watch                               516           494             468       465       525      470      465      450      460      480      545      530       510      500

          Y/Y Change in ASPs
          iPhone                                  11.3%         -3.8%            1.1%     17.7%      6.0%    -0.1%    14.7%    11.2%    19.6%    29.5%     5.2%    10.3%      9.3%      0.6%
          iPad                                    -5.0%          6.9%           -2.9%     -1.5%      1.5%     1.9%     5.2%     3.5%    -5.7%    -9.2%     1.1%    -1.4%      3.6%      2.4%
          Mac                                     -2.9%         -0.2%            8.7%      5.3%     -3.7%    13.3%     0.1%     3.0%    10.0%     8.9%    -1.8%    -5.9%     -4.0%     -3.4%
          Apple Watch                                           -4.2%           -5.2%     -0.6%     13.0%     1.1%    -2.1%    -2.2%     0.0%     2.1%    17.2%    17.8%     10.9%      4.2%

          Sequential Change in ASPs
          iPhone                                                                                              2.0%    28.9%    -8.5%    -0.6%    10.5%     4.7%    -4.0%     -1.5%      1.7%
          iPad                                                                                                7.6%    -4.9%     1.4%    -9.1%     3.6%     5.9%    -1.1%     -4.5%      2.4%
          Mac                                                                                                 2.2%     1.3%     6.3%    -0.1%     1.2%    -8.6%     1.9%      1.9%      1.8%
          Apple Watch                                                                                         2.2%    -1.1%    -3.2%     2.2%     4.3%    13.5%    -2.8%     -3.8%     -2.0%

          Attach Rates
          Apps/SW/Svcs per Last 12 Qtrs / Last 4 Qtrs Devices Prior to FY14                                   9.55     9.50    10.41    10.88    11.36    11.59    12.17     12.30     13.07

          Y/Y Change in Attach rates
          Apps/SW/Svcs per Last 12 Mos Devices                                                               31.0%    16.8%    30.2%    32.4%    19.0%    22.0%    16.9%     13.0%    15.1%

          Sequential Change in Attach rates
          Apps/SW/Svcs per Last 12 Mos Devices                                                               16.2%    -0.5%     9.5%     4.5%     4.4%     2.1%     5.0%      1.0%     6.3%



          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                                                 BERNSTEIN           21



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                                                                                                                                        Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                24 October 2018




          EXHIBIT 30: Apple Services Revenue Model ($M)
          Fiscal Periods:                       2016     2017    2018E    2019E    4Q17    1Q18    2Q18    3Q18    4Q18E   1Q19E    2Q19E    3Q19E    4Q19E

          Est. Revenues ($M)
           iTunes DL                            3,917    2,854    2,030    1,523     606     583     502     490     455      437      377      368      341
           Apple Music                          1,076    2,100    3,113    4,362     630     663     717     825     909      963    1,043    1,140    1,216
           App Store                            7,286   10,323   12,831   15,141   2,893   2,955   3,200   3,133   3,544    3,486    3,776    3,697    4,182
           Licensing                            3,250    4,940    7,036    8,704   1,940   1,500   1,650   1,986   1,900    1,920    2,112    2,240    2,432
           iCloud                               1,750    2,550    3,785    5,299     725     810     900   1,025   1,050    1,134    1,260    1,435    1,470
           Apple Care                           3,813    4,093    5,278    5,753   1,041   1,150   1,319   1,358   1,452    1,493    1,362    1,404    1,494
           Software Service and other sales     3,256    3,119    3,111    3,111     666     811     902     731     666      811      902      731      666
          Total                                24,348   29,980   37,185   43,893   8,501   8,471   9,190   9,548   9,976   10,245   10,832   11,015   11,801

          Est. Revenue Mix
           iTunes DL                             16%     10%       5%       3%       7%      7%      5%      5%      5%      4%       3%        3%      3%
           Apple Music                            4%      7%       8%      10%       7%      8%      8%      9%      9%      9%      10%       10%     10%
           App Store                             30%     34%      35%      34%      34%     35%     35%     33%     36%     34%      35%       34%     35%
           Licensing                             13%     16%      19%      20%      23%     18%     18%     21%     19%     19%      19%       20%     21%
           iCloud                                 7%      9%      10%      12%       9%     10%     10%     11%     11%     11%      12%       13%     12%
           Apple Care                            16%     14%      14%      13%      12%     14%     14%     14%     15%     15%      13%       13%     13%
           Software Service and other sales      13%     10%       8%       7%       8%     10%     10%      8%      7%      8%       8%        7%      6%
          Total                                 100%    100%     100%     100%     100%    100%    100%    100%    100%    100%     100%      100%    100%

          Est. Revenue Growth
           iTunes DL                            -22%     -27%     -29%     -25%    -30%    -35%    -28%    -25%     -25%    -25%     -25%     -25%       -25%
           Apple Music                         N/A        95%      48%      40%     74%     49%     48%     52%      44%     45%      46%      38%        34%
           App Store                             36%      42%      24%      18%     40%     25%     25%     25%      23%     18%      18%      18%        18%
           Licensing                             65%      52%      42%      24%    168%     67%     65%     81%      -2%     28%      28%      13%        28%
           iCloud                                59%      46%      48%      40%     45%     47%     50%     52%      45%     40%      40%      40%        40%
           Apple Care                            23%       7%      29%       9%      1%     11%     30%     35%      40%     30%       3%       3%         3%
           Software Service and other sales       -2%     -4%       0%       0%    -14%    -18%     31%     -7%       0%      0%       0%       0%         0%
          Total                                  22%      23%      24%      18%     34%     18%     31%     31%      17%     21%      18%      15%        18%

          Est. Gross Profit Margin
            iTunes DL                           25.0%   25.0%    25.0%    25.0%    25.0%   25.0%   25.0%   25.0%   25.0%   25.0%    25.0%     25.0%   25.0%
            Apple Music                         14.0%   18.2%    20.0%    20.0%    19.0%   20.0%   20.0%   20.0%   20.0%   20.0%    20.0%     20.0%   20.0%
            App Store                           80.0%   80.0%    80.0%    80.0%    80.0%   80.0%   80.0%   80.0%   80.0%   80.0%    80.0%     80.0%   80.0%
            Licensing                           95.0%   95.0%    95.0%    95.0%    95.0%   95.0%   95.0%   95.0%   95.0%   95.0%    95.0%     95.0%   95.0%
            iCloud                              70.0%   70.0%    70.0%    70.0%    70.0%   70.0%   70.0%   70.0%   70.0%   70.0%    70.0%     70.0%   70.0%
            Apple Care                         60.0%    60.0%    60.0%    60.0%    60.0%   60.0%   60.0%   60.0%   60.0%   60.0%    60.0%     60.0%   60.0%
            Software Service and other sales   40.0%    40.0%    40.0%    40.0%    40.0%   40.0%   40.0%   40.0%   40.0%   40.0%    40.0%     40.0%   40.0%
          iTunes/Software/Services              61.0%   65.2%    67.6%    68.4%    68.5%   66.7%   67.2%   68.1%   68.2%   67.6%    68.2%     68.5%   69.3%

          Est. Gross Profit ($M)
           iTunes DL                              979      714      508      381     152     146     126     123     114      109       94       92       85
           Apple Music                            151      383      623      872     120     133     143     165     182      193      209      228      243
           App Store                            5,829    8,258   10,265   12,113   2,314   2,364   2,560   2,506   2,835    2,789    3,021    2,957    3,345
           Licensing                            3,088    4,693    6,684    8,269   1,843   1,425   1,568   1,887   1,805    1,824    2,006    2,128    2,310
           iCloud                               1,225    1,785    2,650    3,709     508     567     630     718     735      794      882    1,005    1,029
           Apple Care                           2,288    2,456    3,167    3,452     624     690     791     815     871      896      817      843      896
           Software Service and other sales     1,303    1,248    1,244    1,244     266     324     361     293     266      324      361      293      266
          Total                                14,862   19,536   25,140   30,040   5,827   5,648   6,179   6,505   6,808    6,929    7,390    7,545    8,176


          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                   BERNSTEIN          22



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                                                                                                                        Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                               24 October 2018




                                                                                                                 DISCLOSURE APPENDIX

          VALUATION METHODOLOGY
          U.S. IT Hardware
          We value companies in our coverage using price to forward earnings relative to the S&P 500 and on EV/FCF.
          Apple Inc
          We rate Apple market-perform with a $225 target price. We note that this price target reflects roughly an average historical
          EV/NTM FCF multiple, P/FE ex cash, and relative P/FE ex cash multiple.



          RISKS
          U.S. IT Hardware
          The biggest risks to U.S. IT Hardware are macro related – a weak macro environment would depress enterprise IT spending and
          consumer IT spending (e.g., smartphones and tablets). A strengthening U.S. dollar is also generally a top-line headwind and risk
          to several companies in our coverage. Company specific execution is a risk, particularly for companies with less recurring
          revenue and profit. Significant moves of workloads to the public cloud and associated spending deflation represents a risk to
          enterprise IT hardware vendors.
          Apple Inc
          The biggest risks to the downside on Apple and to our price target are that: (1) Apple mis-executes or delivers a poor product,
          resulting in significant defections to competitors; (2) that competitive hardware in either the tablet or smartphone markets
          evolves to become meaningfully superior, undermining prevailing high repurchase intention among Apple customers and
          causing market share losses or resultant margin pressure; or (3) that iPhone replacement cycles extend as successive
          generation product differentiation becomes less pronounced, undermining growth.


          The biggest risks to the upside are that: (1) Apple boosts earnings using share repurchases sooner than we expect; (2) a
          surprise new product boosts FY18 cycle prospects; (3) Apple maintains a higher level of channel inventory going forward,
          reducing expected drawdowns; or (4) currency tailwinds boost ASPs and gross margins.




          U.S. IT HARDWARE                                                                                                 BERNSTEIN        23



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                  Outperform: Stock will outpace the market index by more than 15 pp in the year ahead.

                  Market-Perform: Stock will perform in line with the market index to within +/-15 pp in the year ahead.

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      12-Month Rating History as of 10/23/2018
      Ticker Rating Chaanges
      AAPL M (RC) 02/02/18         O (RC) 10/13/08


      Rating Guide: O - Outperform, M - Market-Perform, U - Underperform, N - Not Rated
      Rating Actions: IC - Initiated Coverage, DC - Dropped Coverage, RC - Rating Change




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                                                                                  Page 175
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                                                                                                                                                                             Exhibit 9
                                                                                                                                                              24 October 2018 | 9:03PM PDT




                                                    Apple Inc. (AAPL)
 Neutral


                                                    iPhone Mix Trending Better; Increasing ASPs. China/Macro unit risk
                                                    remains. Reiterate Neutral

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                                                                                                                          Rod Hall, CFA
                                                                                                                          +1(415)249-7437 | rod.hall@gs.com
                                                                                                                          Goldman Sachs & Co. LLC

                                               We are increasing our iPhone ASP estimate by 5% for FQ1’19 and             Ashwin Kesireddy
                                                                                                                          +1(415)249-7489 | ashwin.kesireddy@gs.com
                                               4% for FY19 as we believe the XS Max is trending better in overall         Goldman Sachs & Co. LLC

                                               mix than our previous expectations. Our iPhone ASP for Dec ‘19 is          Bala R Reddy
                                                                                                                          +1(212)934-7453 | bala.reddy@gs.com
                                               now $815 and for FY19 is $781. We continue to believe that China           Goldman Sachs India SPL

                                               and possibly widening consumer weakness represent unit risk for            RK Raghunathan Kamesh
                                                                                                                          +1(415)249-7443 | rk.raghunathankamesh@gs.com
                                               Apple (click here, here and here for our prior notes on this subject)      Goldman Sachs & Co. LLC
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                                               in the December quarter. At this point our Dec QTR EPS forecasts           Key Data __________________________________
                                               are still 2.6% ahead of Factset consensus but we are not yet                                                                       
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                                               explicitly modeling for any reduction in Chinese demand for Apple.                                                             
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                                               However, given market conditions in China and expanding                                         #$%&!'(%) *
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                                               uncertainty around trade and macro we believe Apple is likely to                                                        ,"" "-*./
                                               lean conservatively on their guidance for FQ1 to Dec and to then           GS Forecast ________________________________
                                                                                                                                                                                                
                                               hope things improve before the critical holiday buying season. Note                                                     
                                               that we have included an updated preview First Cut table in this                                                    
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                                               report to reﬂect these model changes. Remain Neutral.                                                                       
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                                                   XS Mix Trending Better. We believe the mix of XS Max is                "#                                                                   
                                                    trending in the 25%+ levels for the December quarter vs. our          $$  %$ &                                                             
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                                                    prior estimates of 7.5%. We are increasing the mix of XS Max
                                                                                                                                                                                               
                                                    SKUs in our model which is driving higher ASPs for FQ1 and
                                                                                                                           !                                                                    
                                                    FY19. Our FQ1’19 ASP moves up by 5% to $815 and our FY19
                                                                                                                          GS Factor Proﬁle ____________________________
                                                    ASP increases by 4% to $781.                                           


                                                   China Continues to Weaken. Macro data points out of China                            


                                                    continued to weaken in October. Speciﬁcally, we note that PMI,           

                                                    Auto Sales, Golden Week data, Food CPI data, Retail Sales
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                                                    volume all deteriorated in September amid the impact from US
                                                    tariffs as well as other local market factors. On the positive side                                                                     


                                                    we see the Chinese government actively stimulating the                                       
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                                                    consumer with recent tax cuts and our economists believe a
                                                    potential trade deal would also likely improve consumer                                 Source: Company data, Goldman Sachs Research estimates.
                                                                                                                                                                          See disclosures for details.
                                                    sentiment in the country.


                                               Goldman Sachs does and seeks to do business with companies covered in its research reports. As a result,
                                               investors should be aware that the ﬁrm may have a conﬂict of interest that could affect the objectivity of this
                                               report. Investors should consider this report as only a single factor in making their investment decision. For Reg AC
                                               certiﬁcation and other important disclosures, see the Disclosure Appendix, or go to
                                               www.gs.com/research/hedge.html. Analysts employed by non-US afﬁliates are not registered/qualiﬁed as research
                                               analysts with FINRA in the U.S.
                                                                                                                                                                               Page 176
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                                               Goldman Sachs                                                                                                                                                                       Exhibit    9(AAPL)
                                                                                                                                                                                                                                      Apple Inc.

                                                                  Apple Inc. (AAPL)                                                                                  Balance Sheet ($ mn) _____________________________________
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                                               24 October 2018                                                                                                                                                                                                           2
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                                               Goldman Sachs                                                                                                                                                              Exhibit    9(AAPL)
                                                                                                                                                                                                                             Apple Inc.


                                                                                               Chinese Smartphones declined 15% in Q3. In our recent smartphone model
                                                                                                update, we reduced our estimates for Chinese smartphones for H2’18 and 2019 due
                                                                                                to end market weakness (click here for our note). Though most of the smartphone
                                                                                                weakness in China is in the mid and lower range we ﬁnd it hard to believe that the
                                                                                                weaker consumer environment, should it persist, is going to be helpful to Apple.
                                                                                               EPS changes and Valuation. Driven by the above mentioned ASP changes, our EPS
                                                                                                for FQ1’19 to December and FY19 increases by 4% and 3%, respectively, to $5.05
                                                                                                and $14.22. We retain our 12-month PT of $240 based on 16x CY19 EPS of $14.74.


                                               Exhibit 1: AAPL: FQ4’18 Preview
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                                               Source: Goldman Sachs Global Investment Research, FactSet




                                               24 October 2018                                                                                                                                                                                               3
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                                               Goldman Sachs                                                                                                                      Exhibit    9(AAPL)
                                                                                                                                                                                     Apple Inc.


                                               Forecast Changes
                                               Exhibit 2: AAPL: Forecast Changes

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                                               Source: Goldman Sachs Global Investment Research




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                                               Goldman Sachs                                                                             Exhibit    9(AAPL)
                                                                                                                                            Apple Inc.


                                               Price Target Methodology and Risks

                                                                   We retain our 12-month price target of $240 based on 16.3x P/E (Previous: 16.7x) our
                                                                   CY’19 EPS estimate of $14.74. We use a slightly lower multiple in order to factor in the
                                                                   risk from China consumer demand weakness. 16x is a premium compared to the
                                                                   company’s current trading multiple of 15x. Key upside risks include better-than-expected
                                                                   iPhone demand, better than expected iPhone mix, signiﬁcantly outsized buybacks and
                                                                   meaningful dividend increase. Key downside risks include weakening iPhone demand,
                                                                   pressure on gross margins and large & dilutive acquisitions.
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                                               Goldman Sachs                                                                                                                       Exhibit    9(AAPL)
                                                                                                                                                                                      Apple Inc.


                                               Disclosure Appendix
                                               Reg AC
                                               I, Rod Hall, CFA, hereby certify that all of the views expressed in this report accurately reﬂect my personal views about the subject company or
                                               companies and its or their securities. I also certify that no part of my compensation was, is or will be, directly or indirectly, related to the speciﬁc
                                               recommendations or views expressed in this report.
                                               Unless otherwise stated, the individuals listed on the cover page of this report are analysts in Goldman Sachs’ Global Investment Research division.

                                               GS Factor Proﬁle
                                               The Goldman Sachs Factor Proﬁle provides investment context for a stock by comparing key attributes to the market (i.e. our coverage universe) and its
                                               sector peers. The four key attributes depicted are: Growth, Financial Returns, Multiple (e.g. valuation) and Integrated (a composite of Growth, Financial
                                               Returns and Multiple). Growth, Financial Returns and Multiple are calculated by using normalized ranks for speciﬁc metrics for each stock. The
                                               normalized ranks for the metrics are then averaged and converted into percentiles for the relevant attribute. The precise calculation of each metric may
                                               vary depending on the ﬁscal year, industry and region, but the standard approach is as follows:
                                               Growth is based on a stock’s forward-looking sales growth, EBITDA growth and EPS growth (for ﬁnancial stocks, only EPS and sales growth), with a
                                               higher percentile indicating a higher growth company. Financial Returns is based on a stock’s forward-looking ROE, ROCE and CROCI (for ﬁnancial
                                               stocks, only ROE), with a higher percentile indicating a company with higher ﬁnancial returns. Multiple is based on a stock’s forward-looking P/E, P/B,
                                               price/dividend (P/D), EV/EBITDA, EV/FCF and EV/Debt Adjusted Cash Flow (DACF) (for ﬁnancial stocks, only P/E, P/B and P/D), with a higher percentile
                                               indicating a stock trading at a higher multiple. The Integrated percentile is calculated as the average of the Growth percentile, Financial Returns
                                               percentile and (100% - Multiple percentile).
                                               Financial Returns and Multiple use the Goldman Sachs analyst forecasts at the ﬁscal year-end at least three quarters in the future. Growth uses inputs
                                               for the ﬁscal year at least seven quarters in the future compared with the year at least three quarters in the future (on a per-share basis for all metrics).
                                               For a more detailed description of how we calculate the GS Factor Proﬁle, please contact your GS representative.
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                                               M&A Rank
                                               Across our global coverage, we examine stocks using an M&A framework, considering both qualitative factors and quantitative factors (which may vary
                                               across sectors and regions) to incorporate the potential that certain companies could be acquired. We then assign a M&A rank as a means of scoring
                                               companies under our rated coverage from 1 to 3, with 1 representing high (30%-50%) probability of the company becoming an acquisition target, 2
                                               representing medium (15%-30%) probability and 3 representing low (0%-15%) probability. For companies ranked 1 or 2, in line with our standard
                                               departmental guidelines we incorporate an M&A component into our target price. M&A rank of 3 is considered immaterial and therefore does not
                                               factor into our price target, and may or may not be discussed in research.

                                               Quantum
                                               Quantum is Goldman Sachs’ proprietary database providing access to detailed ﬁnancial statement histories, forecasts and ratios. It can be used for
                                               in-depth analysis of a single company, or to make comparisons between companies in different sectors and markets.

                                               GS SUSTAIN
                                               GS SUSTAIN is a global investment strategy focused on the generation of long-term alpha through identifying high quality industry leaders. The GS
                                               SUSTAIN 50 list includes leaders we believe to be well positioned to deliver long-term outperformance through superior returns on capital, sustainable
                                               competitive advantage and effective management of ESG risks vs. global industry peers. Candidates are selected largely on a combination of
                                               quantiﬁable analysis of these three aspects of corporate performance.

                                               Disclosures
                                               Coverage group(s) of stocks by primary analyst(s)
                                               Rod Hall, CFA: America-Consumer Hardware & Mobility, America-IT Hardware, America-Networking.
                                               America-Consumer Hardware & Mobility: Apple Inc., Corning Inc., Sonos Inc..
                                               America-IT Hardware: Hewlett Packard Enterprise Co., HP Inc., NetApp Inc., Nutanix Inc., Presidio Inc., Pure Storage Inc..
                                               America-Networking: Acacia Communications Inc., ADTRAN Inc., Arista Networks Inc., ARRIS International Plc, Ciena Corp., Cisco Systems Inc., F5
                                               Networks Inc., Finisar Corp., Inﬁnera Corp., Juniper Networks Inc., Lumentum Holdings.

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                                               Goldman Sachs                                                                                                                    Exhibit    9(AAPL)
                                                                                                                                                                                   Apple Inc.


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                                               Goldman Sachs                                                                                                                    Exhibit    9(AAPL)
                                                                                                                                                                                   Apple Inc.


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                                                                                                                                                                                     Apple Inc.


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                                                                     Exhibit 9
AN RTNW000020181025eeap000fm

SE

HD Apple Earnings May Rise on Better iPhone XS Max Sales -- Barrons.com

BY By Tae Kim

WC 310 words

PD 25 Oct 2018

ET 16:47 GMT

SN Dow Jones Newswires Chinese (English)

SC RTNW

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LP

Goldman Sachs believes consumers are now buying more $1,000+ iPhones than it
initially anticipated.The firm's analyst Rod Hall raised his earnings estimates for
Apple's (AAPL) December quarter and fiscal 2019, predicting better iPhone XS Max
sales.




TD

"We believe the mix of XS Max is trending in the 25%+ levels for the December
quarter vs. our prior estimates of 7.5%," Hall wrote in a Wednesday research
report. "We are increasing the mix of XS Max SKUs in our model which is driving
higher ASPs [average selling prices] for FQ1 and FY19."



Apple stock is up 2.0% to $219.50 on Thursday after the note.



Preorders for the less expensive $749 iPhone XR became available last Friday. The
XR will officially go on sale on Oct. 26. The release comes after Apple launched
the $999 iPhone XS and the $1,099 iPhone XS Max last month.



Hall raised his Apple December quarter earnings-per-share forecast to $5.05 from
$4.92 as the higher-priced model is more profitable for the smartphone maker. He
also increased his EPS estimate for fiscal 2019 to $14.22 from $13.77.



Despite the rising profit forecasts, the analyst reiterated his Neutral rating for
Apple's stock due to concerns about China's economy.




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                                                                     Exhibit 9
"Macro data points out of China continued to weaken in October," he wrote. "We find
it hard to believe that the weaker consumer environment, should it persist, is
going to be helpful to Apple."



Earlier this week, Nomura Instinet and Rosenblatt Securities also said the cheaper
iPhone XR model was performing slightly worse than their expectations.



Apple will report fiscal-fourth-quarter earnings after the market closes on Nov. 1.



(END) Dow Jones Newswires



25-10-18 1647GMT




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                                                                        Exhibit 9
AN SCMCOM0020181029eeat0005l

SE ASI

HD Apple CEO Tim Cook hints at popularity of new lower cost iPhone XR in China

BY Li Tao in Shenzhen

WC 508 words

PD 29 Oct 2018

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LP

Apple chief executiveTim Cook seems relieved that the company's more affordable
iPhone XR is apparently doing better in China compared to the tepid Chinese
response to its recent high-end flagship released last month."Wonderful to see so
many people in China enjoying the new iPhone XR. Glad we could help add some colour
to your day!” Cook said in his official Sina Weibo account on Saturday, a day after
the company's cheaper iPhone models officially hit the shelves in China.




TD

The iPhone XR line-up, available in six colours, starts from 6,499 yuan (US$936) in
China, about 25 per cent and 32 per cent cheaper, respectively, than the entry
level versions of the iPhone XS and iPhone XS Max, the US tech giant's two flagship
smartphones for the year.



Cook did not reveal specific sales figures for the iPhone XR in China. An Apple
spokesperson declined to reveal further details about iPhone XR sales in China,
adding that Cook's Weibo post was not meant to hint at anything regarding the
popularity of the XR versus the XS.



On September 21, after the iPhone XS and iPhone XS Max were launched globally, Cook
said on his Sina Weibo account: "Thrilled to open our first store in beautiful
Suzhou! Enjoy the new iPhone XS, iPhone XS Max and Apple Watch Series 4.”



‘This is surveillance': Apple boss slams ‘weaponisation' of user data



The Cupertino, California-based company, which failed to attract public attention
with its flagship iPhone XS debut in China last month due to high pricing and
innovation issues, is also caught in the middle of the trade war between the US and
China which has prompted some Chinese buyers to turn to local brands in a patriotic
show of support.

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                                                                     Exhibit 9

When the iPhone XS debuted in China in September, only a handful of people queued
up outside Apple Stores across mainland China, according to photos circulated on
social media - in contrast to the large crowds seen at earlier iPhone launches in
the country.



Apple is adjusting its strategy in China where it faces fierce competition from
local brands that are offering competitive products, eroding the market share of
foreign brands including Samsung and Apple.



In a nod to the Chinese market, where many users have more than one phone number,
Apple introduced a dual-sim card tray for the iPhone XS, only available for the
Greater China market.



The colourful iPhone XR models are also seen as a way to appeal to younger
consumers, especially those in China, who are price-sensitive yet still eager to
own a premium brand like Apple.



The launch of the iPhone XR is expected to help Apple unlock Chinese demand, which
is "the engine that Apple is looking for”, Dan Ives, the managing director of
equity research at Wedbush Securities, said in an CNBC interview on Friday.



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                                                                                                            Apple Inc.                                                                                                                 Exhibit 9
                                                                                                            Lowering estimates to account for China
                                                                                                            risk, FX headwinds
                                                                                                            Reiterate Rating: BUY | PO: 235.00 USD | Price: 216.30 USD                                                   Equity | 29 October 2018



                                                                                                            Lowering iPhone units on risk from a weaker China                                                            Key Changes
                                                                                                            Apple reports F4Q18 (Sep qtr) on Thurs, Nov 1. We expect results to come in above
                                                                                                            consensus. However, we lower our iPhone estimates for the Dec quarter and for F19 to                         (US$)                         Previous        Current
                                                                                                            account for a slowdown in China (double digit unit decline although ASP drives rev                           Price Obj.                      256.00           235.00

                                                                                                            growth) and for broader FX headwinds. Figure 1 shows our estimates before and after.                         2018E Rev (m)                 265,692.6       265,541.9

                                                                                                            Our iPhone estimates for the Dec quarter move to 73mn from prior 77mn (recall sell out                       2019E Rev (m)                 298,768.4       289,566.7

                                                                                                            was closer to 72mn last year), and for F19 we reduce a total of 8mn iPhones to 214mn.                        2020E Rev (m)                 336,468.6       326,063.5

                                                                                                            While weaker end markets create some near-term headwinds, we reiterate Buy on strong                         2018E EPS                        11.82            11.84

                                                                                                            growth in Services, strong capital return and cash balance that affords optionality.                         2019E EPS                        14.41            13.95
                                                                                                                                                                                                                         2020E EPS                        16.21            15.75
                                                                                                            Data points suggest some near-term weakness
                                                                                                            The dollar strengthened significantly against the Chinese RMB (Fig 4) at a time when
                                                                                                                                                                                                                         Wamsi Mohan
                                                                                                            iPhone ASPs have increased significantly (Fig 5). During the past cycle of a strengthening                   Research Analyst
                                                                                                            dollar (2015-2016), China iPhone units declined 20% and overall Apple China sales                            MLPF&S
                                                                                                                                                                                                                         +1 646 855 3854
                                                                                                            declined 24% y/y (Fig 2). A similar unit decline would impact EPS today by $0.30 (Fig 3,                     wamsi.mohan@baml.com
                                                                                                            although impact could be lower as prior cycle had added y/y headwind of a strong iPhone                      Ruplu Bhattacharya
                                                                                                            6/6+ cycle). The share price has historically tracked y/y growth in GP dollars (Fig 7) and                   Research Analyst
                                                                                                                                                                                                                         MLPF&S
                                                                                                            while we expect the growth in GP dollars to remain positive in the iPhone XS cycle, we                       +1 646 855 0315
                                                                                                            model a noticeable deceleration which poses a risk for the stock in the near-term. iPhone                    ruplu.bhattacharya@baml.com

                                                                                                            XR ship dates are down to 3-5 days from 1-2 weeks for most regions, which indicates                          Param Singh, CFA
                                                                                                                                                                                                                         Research Analyst
                                                                                                            solid initial supply but unlikely to indicate exceptionally high demand.                                     MLPF&S
                                                                                                                                                                                                                         +1 646 855 4256
                                                                                                                                                                                                                         param.singh@baml.com
                                                                                                            But strength remains in key areas
                                                                                                                                                                                                                         Ziv Israel
                                                                                                            As we wrote in our prior note, app store developer revenues indicate total Apple                             Research Analyst
                                                                                                            Services rev for the Sep qtr to be tracking in-line with our est. of $10,711mn (+26%                         MLPF&S
                                                                                                                                                                                                                         ziv.israel@baml.com
                                                                                                            y/y). We raise our ests for Apple Watch in F19 to 42.3mn units, from prior 39.3mn units
                                                                                                            on strong demand. iPhone GM benefits from lower NAND cost but FX poses headwinds.

                                                                                                            Lowering estimates, PO moves to $235 (from $256)                                                             Stock Data
                                                                                                            Our F19E rev/EPS move to $289.6bn/$13.95, and our PO moves to $235 (from $256) on 16x                        Price                                      216.30 USD
                                                                                                            (prior 17x) C19E EPS of $14.45 (lower multiple accounts for higher risk from weaker macro).                  Price Objective                            235.00 USD
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                                                                                                                                                                                                                         Date Established                            29-Oct-2018
                                                                                                            Estimates (Sep)                                                                                              Investment Opinion                                B-1-7
                                                                                                            (US$)                                                           2016A    2017A    2018E    2019E    2020E    52-Week Range                  150.24 USD - 233.47 USD
                                                                                                            EPS                                                               8.31     9.21    11.84    13.95    15.75
                                                                                                                                                                                                                         Mrkt Val (mn) / Shares Out      1,115,629 USD / 5,157.8
                                                                                                            GAAP EPS                                                          8.36     9.21    11.77    13.95    15.75
                                                                                                                                                                                                                         (mn)
                                                                                                            EPS Change (YoY)                                                -9.9%    10.8%    28.6%    17.8%    12.9%
                                                                                                            Consensus EPS (Bloomberg)                                                          11.79    13.73    14.92   Average Daily Value (mn)                  7331.73 USD
                                                                                                            DPS                                                              2.19     2.39      2.71     3.06     3.37   BofAML Ticker / Ex change                  AAPL / NAS
                                                                                                                                                                                                                         Bloomberg / Reuters                 AAPL US / AAPL.OQ
                                                                                                            Valuation (Sep)                                                                                              ROE (2018E)                                      51.0%
                                                                                                                                                                            2016A    2017A    2018E    2019E    2020E    Net Dbt to Eqty (Sep-2017A)                      71.2%
                                                                                                            P/E                                                             26.0x    23.5x    18.3x    15.5x    13.7x
                                                                                                            GAAP P/E                                                        25.9x    23.5x    18.4x    15.5x    13.7x
                                                                                                            Div idend Yield                                                  1.0%     1.1%     1.3%     1.4%     1.6%
                                                                                                            EV / EBITDA*                                                    16.6x    16.3x    14.3x    13.1x    12.0x
                                                                                                            Free Cash Flow Yield*                                            4.8%     4.6%     5.4%     5.3%     6.0%
                                                                                                            * For full definitions of iQ method SM measures, see page 15.




                                                                                                            BofA Merrill Lynch does and seeks to do business with issuers covered in its research reports.
                                                                                                            As a result, investors should be aware that the firm may have a conflict of interest that could
                                                                                                            affect the objectivity of this report. Investors should consider this report as only a single
                                                                                                            factor in making their investment decision.
                                                                                                            Refer to important disclosures on page 16 to 18. Analyst Certification on page 14. Price
                                                                                                            Objective Basis/Risk on page 14.                                                          11929177

                                                                                                            Timestamp: 29 October 2018 05:30AM EDT


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                                                                                                                                              Exhibit 9
iQprofile Apple Inc.
                           SM



                                                                                                                       Company Sector
                                                                                                                       IT Hardware
iQmethod SM – Bus Performance*
(US$ Millions)                                                    2016A      2017A      2018E      2019E      2020E
Return on Capital Em ploy ed                                     20.9%      19.1%      23.4%      31.9%      39.2%     Company Description
Return on Equity                                                 36.9%      36.9%      51.0%      99.2%     178.3%
                                                                                                                       Apple Inc. (AAPL) designs, manufactures, and
Operating Margin                                                 29.8%      28.9%      28.6%      28.8%      28.0%
Free Cash Flow                                                   53,090     51,147     59,871     59,458     66,877    markets consumer electronics and computers, and
                                                                                                                       has developed its own proprietary iOS and Mac OS
                                                                                                                       X operating systems and related software
iQmethod SM – Quality of Earnings*                                                                                     platform/ecosystem. Revenues are principally
(US$ Millions)                                                   2016A      2017A      2018E      2019E      2020E     derived from the iPhone line of smartphones,
Cash Realization Ratio                                            1.4x       1.3x       1.2x       1.1x       1.2x
                                                                                                                       hardware sales of the Macintosh family of
Asset Replacement Ratio                                           1.2x       1.2x       1.2x       1.3x       1.3x
Tax Rate                                                         25.6%      24.5%      18.6%      17.0%      17.0%     notebook and desktop computers, iPad tablets, and
Net Debt-to-Equity Ratio                                         51.9%      71.2%      78.2%     298.5%     172.4%     iPod portable digital music players. The company
Interest Cov er                                                    NM         NM         NM         NM         NM      also realizes revenue from software, peripherals,
                                                                                                                       digital media, and services.

Income Statement Data (Sep)
(US$ Millions)                                                    2016A      2017A      2018E      2019E      2020E    Investment Rationale
Sales                                                           215,639    229,234    265,542    289,567    326,063
  % Change                                                        -7.7%       6.3%     15.8%        9.0%     12.6%     We rate Apple a Buy on potential upside from 1)
Gross Profit                                                     85,032     89,063    102,802    113,403    126,497    growth in the services business that will drive
  % Change                                                        -9.7%       4.7%     15.4%      10.3%      11.5%     higher margins, 2) continued long-term opportunity
EBITDA                                                           74,739     76,341     86,988     94,934    103,231    in emerging markets including China, 3) potential
  % Change                                                       -13.2%       2.1%     13.9%        9.1%       8.7%
                                                                                                                       share gains from lower-end iPhones, 4) a steadier
Net Interest & Other Income                                        1,348     2,745      1,716        790        323
  Net Income (Adjusted)                                          45,687     48,351     59,170     64,978     70,780    iPhone cycle that should drive higher selling prices
  % Chan g e                                                     -14.4%       5.8%     22.4%        9.8%       8.9%    and gross margins, 5) benefits from tax law
                                                                                                                       changes, and 6) optionality in cash balance,
                                                                                                                       revenue sources like Apple Pay, Apple Watch,
Free Cash Flow Data (Sep)                                                                                              home/health kit, etc., that will take time to mature .
(US$ Millions)                                                     2016A      2017A      2018E      2019E      2020E
Net Income from Cont Operations (GAAP)                            49,114     52,018     63,242     69,812     75,962
Depreciation & Amortization                                       10,505     10,157     11,045     11,614     12,033
Change in Working Capital                                            484    (5,550)     30,118   (12,724)   (11,028)
Deferred Tax ation Charge                                          4,938      5,966   (31,983)      4,504      4,504
Other Adjustments, Net                                               783      1,007        863        990      1,061   Stock Data
Capital Ex penditure                                            (12,734)   (12,451)   (13,414)   (14,738)   (15,655)
  Free Cash Flow                                                  53,090     51,147     59,871     59,458     66,877   Average Daily Volume                       33,896,096
  % Change                                                       -24.2%       -3.7%     17.1%       -0.7%     12.5%
                                                                                                                       Quarterly Earnings Estimates
                                                                                                                                                    2017             2018
Balance Sheet Data (Sep)
                                                                                                                       Q1                          3.36A            3.89A
(US$ Millions)                                                    2016A      2017A      2018E      2019E      2020E    Q2                          2.10A            2.73A
Cash & Equiv alents                                              20,484     20,289     30,677      7,883     27,630    Q3                          1.67A            2.34A
Trade Receivables                                                15,754     17,874     18,854     25,345     29,937    Q4                          2.07A            2.85E
Other Current Assets                                             70,631     90,482     61,008     62,647     64,796
Property , Plant & Equipment                                     27,010     33,783     41,013     54,548     68,645
Other Non-Current Assets                                        187,807    212,891    175,464    107,606     75,750
  Total Assets                                                  321,686    375,319    327,016    258,028    266,759
Short-Term Debt                                                  11,605     18,473     10,000     10,000     10,000
Other Current Liabilities                                        67,401     82,341     73,521     69,036     64,847
Long-Term Debt                                                   75,427     97,207     97,128     97,128     97,128
Other Non-Current Liabilities                                    39,004     43,251     48,582     48,615     48,661
 Total Liabilities                                              193,437    241,272    229,231    224,779    220,635
    Total Eq uity                                               128,249    134,047     97,785     33,250     46,124
    Total Equity & Liabilities                                  321,686    375,319    327,016    258,028    266,759
* For full definitions of iQ method SM measures, see page 15.




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                                                                                                                                          Exhibit 9
Lowering estimates heading into earnings
We lower our iPhone estimates for the Dec quarter and for F19 to account for overall
macroeconomic weakness and for a slowdown in China. Figure 1 shows our estimates
before and after.

Our iPhone estimates for Dec quarter move to 73mn from a prior 77mn. We continue to
model 47mn units for the Sep quarter. We reduce our F19 iPhone unit estimate by 8mn
to 214mn from a prior 222mn. Total iPhone units for F20 also move lower to 225mn
from a prior 239mn.
Figure 1: BofAML estimates – Before and After
                                        Old Estim ates                                                       New Estim ates
            Units (K)                 F16              F17                F18        F19        F20        F16            F17          F18          F19          F20
                        iPhone     211,884           216,756            217,833    222,000    239,000    211,884        216,756      217,833      214,000      225,000
                          iPad      45,590           43,753              44,162     44,162     44,162     45,590        43,753        43,646      43,909       43,909
                          Mac       18,484           19,251              18,242     18,892     19,458     18,484        19,251        17,811      18,550       19,107
                          iPod      6,372             5,098              4,078      3,263      2,610      6,372          5,098        4,078        3,263        2,610
                  Apple Watch       10,500           14,000              26,200     39,300     47,160     10,500        14,000        28,200      42,300       50,760


                                        Old Estim ates                                                       New Estim ates
            ASP ($)                   F16              F17                F18        F19        F20        F16            F17          F18          F19          F20
                        iPhone       $645             $652               $760       $815       $848       $645           $652         $760         $800         $851
                          iPad       $452             $439               $438       $431       $423       $452           $439         $435         $427         $419
                          Mac       $1,235           $1,343              $1,376     $1,365     $1,351     $1,235        $1,343        $1,378      $1,366       $1,352
                          iPod       $155             $151               $148       $145       $138       $155           $151         $148         $145         $138
                  Apple Watch        $451             $446               $401       $429       $429       $451           $446         $401         $429         $429


                                        Old Estim ates                                                       New Estim ates
          Revenue ($)                 F16              F17                F18        F19        F20        F16            F17          F18          F19          F20
             iPhone rev ($mn)     $136,700          $141,319            $165,594   $180,965   $202,707   $136,700      $141,319      $165,594    $171,192     $191,479
                iPad rev ($mn)     $20,628           $19,222            $19,361    $19,017    $18,661    $20,628        $19,222      $18,969      $18,739      $18,387
                Mac rev ($mn)      $22,831           $25,850            $25,102    $25,785    $26,284    $22,831        $25,850      $24,541      $25,348      $25,836
                  Watch ($mn)       $4,733           $6,250             $10,499    $16,860    $20,232     $4,733        $6,250       $11,300      $18,147      $21,776
            Services rev ($mn)     $24,348           $29,980            $37,920    $47,400    $58,302    $24,348        $29,980      $37,920      $47,400      $58,302
     Other rev, ex-Watch ($mn)      $6,399           $6,613              $7,217     $8,741    $10,283     $6,399        $6,613        $7,217      $8,741       $10,283
    Total Apple Revenue ($mn)     $215,639          $229,234            $265,693   $298,768   $336,469   $215,639      $229,234      $265,542    $289,567     $326,063
             Total Apple EPS        $8.31             $9.21              $11.82     $14.41     $16.21     $8.31          $9.21        $11.84      $13.95       $15.75




                                                Old Estim ates                                                      New Estim ates

                                      F16              F17                F18        F19        F20        F16            F17          F18          F19          F20


             Revenue ($bn)         $215.6           $229.2              $265.7     $298.8     $336.5     $215.6        $229.2        $265.5       $289.6       $326.1

         Gross Margin (%)          39.1%             38.5%              38.3%      38.8%      38.4%      39.1%          38.5%        38.3%        38.8%        38.5%

                         EPS        $8.31            $9.21              $11.82     $14.41     $16.21      $8.31         $9.21        $11.84       $13.95       $15.75
Source: Company reports, BofA Merrill Lynch Global Research estimates




What we expect Apple to guide
We expect Apple to provide the following guidance for the Dec quarter:
x  Revenues between $90bn - $93bn

x       Gross margin between 38% and 38.5% (warranty accrual headwind, FX headwind
        and NAND tailwind)

Factors that drive our estimate changes
    a. Handicapping the risk from China slowdown
Figure 2 shows historical iPhone unit shipments in China by year and reported Apple
China revenue by year. Since March of this year, the US dollar has strengthened about
11% vs. the Chinese RMB. The last time when the US dollar had such a move was in the


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                                                                                                                                                                                      Exhibit 9
2015-2016 timeframe. As highlighted in yellow in Figure 2, iPhone units sold in China
declined 20% y/y between 2015 and 2016. We point out that besides FX being
unfavorable, the y/y decline was also impacted by the iPhone 6/6 Plus being a very
strong cycle and tough y/y compares.
Figure 2: Historical iPhone China sales and Apple revenue from China
                                                    2007     2008      2009      2010          2011       2012      2013        2014      2015        2016       2017    2018E      2019E    2020E    2021E    2022E    2023E
Total China Smartphone units (mn) - SA estimate      14.8     13.5      14.6      28.3          87.6     173.4     320.4       404.7     437.8       467.5      448.2     421.4      423.8    439.9    460.6    486.8    501.4
Apple China iPhone units (mn) - SA estimate             0        0       0.3      1.83         10.8       21.2      20.0        31.1      49.5        39.8       36.8      36.2       37.7     39.1     40.8     43.7     44.6
y/y China iPhone units (%)                                                      510%        490.2%      96.7%     (5.8%)      55.4%     59.2%      (19.6%)     (7.5%)    (1.5%)     4.0%     3.8%     4.2%     7.2%     2.0%

Apple China rev ($mn) - from BofAML model                                                   $14,900    $26,130   $27,431     $37,146   $60,944     $46,352    $46,487   $50,137   $53,391
y/y Apple China rev (%)                                                                                   75%      5.0%       35.4%     64.1%       (23.9%)     0.3%      7.9%      6.5%

Source: Strategy Analytics, Company reports, BofA Merrill Lynch Global Research estimates


In Figure 3 we apply the same y/y decline to our prior iPhone unit estimates. A 20%
decline in China units would imply 7.4mn lower iPhone units, which we estimate leads to
a negative earnings impact of approximately $0.29 per share.
Figure 3: Estimating EPS impact from China demand reduction
                                            Sep    Dec        Mar         Jun        Sep              Dec                    C18            C19
BofAML iPhone units (mn)                     47     77         51          43         51               73                   217.5         217.5
China iPhone Units                                                                                                           36.2           37.7
Reduced iPhone units (mn)                                                                                                                   30.3
iPhone unit impact (mn)                                                                                                                      7.4
Blended iPhone ASP ($)                                                                                                      $766          $830
Total iPhone rev impact ($mn)                                                                                                           $6,133
Blended iPhone GM (%)                                                                                                      39.1%        38.6%
Avg Apple Opex (%), incl SBC                                                                                               12.0%        12.0%
Apple Tax rate (%)                                                                                                         15.3%        17.0%
Avg diluted shares (mn)                                                                                                      4872          4597
Apple EPS impact ($)                                                                                                                     $0.29

Source: Strategy Analytics, Company reports, BofA Merrill Lynch Global Research estimates


       b.     Estimating impact from Currency


Figure 4: Historical trend in USDCNY exchange rate




Source: Bloomberg


As shown in Figure 4, the USD saw similar strengthening between 2015 and 2016, and
during that time Apple China revenues declined 24%. We would call out a greater risk
from the dollar strengthening in 2018 vs. in 2015-2016 given the higher price points for
iPhones (Figure 5), which makes it even more expensive in China to buy phones when
the dollar strengthens.




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                                                                                                                                                 Exhibit 9
Figure 5: Comparing iPhone starting Average Sell Prices (ASP) in 2015 vs. 2018
                                                                2015                                             2018
                                                    iPhone 6s      iPhone 6S Plus             iPhone XR       iPhone XS        iPhone XS max
  Price of lowest storage config @ launch             $649             $749                     $749            $999               $1,099
Source: Company reports


Figure 6 shows our estimate of FX impact on Sep and Dec quarter revenues, ex Apple’s
hedging program. As shown in the figure, we estimate a 1% (~$850mn) top-line impact
in F4Q18 (Sep qtr). We estimate a 2% (~$2bn) top-line impact for F1Q19 (Dec qtr).

Figure 6: FX impact to revenues in Se p and Dec quarters, ex hedging
Y/Y
F4Q18                         $62,847 (Sep estimate)
Americas                          41%      $25,536
Europe                            23%      $14,233
Japan                              9%       $5,621
Retail                             0%           $0
Asia Pacific                      28%      $17,457
  China                           21%      $13,388
  Rest of Asia                     6%       $4,069
                                                                                    Sep-17                     Sep-18           y/y
% rev              % total AAPL revenue      % region                               C2Q17                      C2Q18      % change Dollar is
USDEUR                             16%           70%               USDEUR            0.851                        0.86         1% stronger
USDGBP                              7%           30%               USDGBP           0.7643                     0.7675          0% stronger
USDJPY                              9%          100%               USDJPY           110.97                     111.49          0% stronger
USDCAD                              4%           10%               USDCAD           1.2536                     1.3068          4% stronger
USDMXN                              4%           10%               USDMXN          17.8189                    18.9422          6% stronger
USDCNY                             15%           71%               USDCNY           6.6705                     6.8051          2% stronger
USDHKD                              3%           16%               USDHKD           7.8149                     7.8453          0% stronger
USDTWD                              3%           13%               USDTWD           30.262                     30.675          1% stronger
USDAUD                              3%           50%               USDAUD           1.2667                     1.3674          8% stronger
USDSGD                              2%           30%               USDSGD           1.3606                     1.3676          1% stronger
USDINR                              1%           10%               USDINR          64.2989                    70.0714          9% stronger


                     Net FX impact C3Q18 Y/Y (if no price increase/hedges) in %:    -1.35%
                     Net FX impact C3Q18 Y/Y (if no price increase/hedges) in $:     ($847)


Y/Y
F4Q18                         $90,863 (Dec estimate)
Americas                          41%       $36,919
Europe                            23%       $20,578
Japan                              9%        $8,127
Retail                             0%            $0
Asia Pacific                      28%       $25,239
  China                           21%       $19,357
  Rest of Asia                     6%        $5,882                                                 (rates as 10/25/18)
                                                                                    Dec-17                      Dec-18          y/y
% rev              % total AAPL revenue      % region                               C2Q17                       C2Q18     % change Dollar is
USDEUR                             16%           70%               USDEUR           0.8491                      0.8791         4% stronger
USDGBP                              7%           30%               USDGBP           0.7533                      0.7802         4% stronger
USDJPY                              9%          100%               USDJPY           112.89                      112.42         0% weaker
USDCAD                              4%           10%               USDCAD           1.2707                      1.3074         3% stronger
USDMXN                              4%           10%               USDMXN          18.9864                      19.484         3% stronger
USDCNY                             15%           71%               USDCNY           6.6107                      6.9489         5% stronger
USDHKD                              3%           16%               USDHKD           7.8078                      7.8409         0% stronger
USDTWD                              3%           13%               USDTWD           30.113                      30.991         3% stronger
USDAUD                              3%           50%               USDAUD            1.301                      1.4125         9% stronger
USDSGD                              2%           30%               USDSGD           1.3538                      1.3811         2% stronger
USDINR                              1%           10%               USDINR          64.7243                      73.275        13% stronger


                     Net FX impact C3Q18 Y/Y (if no price increase/hedges) in %:    -2.26%
                     Net FX impact C3Q18 Y/Y (if no price increase/hedges) in $:   ($2,054)


Source: Bloomberg, BofA Merrill Lynch Global Research estimates


          c.     Gross profit dollar growth deceleration

Figure 7 plots Apple stock price vs. y/y gross profit dollar growth. Historically, Apple’s
stock price has tracked y/y change in gross profit dollars. While we expect the growth in
gross profit dollars to remain positive in the iPhone XS cycle, we model a noticeable
deceleration (as indicated by the circle), posing a risk for the stock.




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                                                                                                                             Exhibit 9
Figure 7: Apple stock price vs. gross profit dollar y/y growth

                                                           AAPL stock price          Y/Y change in gross profit dollars

    $250                                                                                                                                 40%



    $230


                                                                                                                                         30%
    $210



    $190
                                                                                                                                         20%


    $170



    $150                                                                                                                                 10%



    $130


                                                                                                                                         0%
    $110                                                                         Gross profit dollars continue to grow for
                                                                                 foreseeable future. We do not expect
                                                                                 growth in gross profit dollars to turn
    $90                                                                          negative in the iPhone XS cycle
                                                                                                                                         -10%


    $70



    $50                                                                                                                                  -20%
            May-13




            May-14




            May-15




            May-16
             Dec-12




             Dec-13




             Dec-14




             Dec-15




           11/25/16
           12/21/16




           10/18/17
           11/11/17
           12/31/17




           10/15/18
           11/20/18
           12/26/18




           10/10/19
           10/28/19
           11/15/19
           12/21/19
             Jun-12
             Jun-12
             Aug-12




             Apr-13
             Apr-13
             Oct-12
             Oct-12
             Nov-12
             Jan-13
             Mar-13

             Jun-13
             Aug-13
             Aug-13




             Apr-14




             Apr-15
             Apr-15




             Apr-16
             Oct-13
             Nov-13
             Jan-14
             Jan-14
             Mar-14

             Jun-14
             Jun-14
             Aug-14
             Oct-14
             Oct-14
             Nov-14
             Jan-15
             Mar-15

             Jun-15
             Aug-15
             Aug-15
             Oct-15
             Nov-15
             Jan-16
             Jan-16
             Mar-16

             6/2/16




             2/9/17
             3/4/17


             7/8/17
             8/3/17




             2/5/18


             5/6/18


             8/4/18
             9/9/18




             3/8/19

             5/1/19
             6/6/19


             9/4/19
              Jul-12
             Sep-12



             Feb-13



              Jul-13

             Sep-13



             Feb-14



              Jul-14
             Sep-14



             Feb-15



              Jul-15

             Sep-15



             Feb-16


            6/28/16
            7/22/16
            8/17/16
            9/12/16
            10/6/16
            11/1/16

            1/14/17

            3/30/17
            4/25/17
            5/19/17
            6/14/17

            8/29/17
            9/22/17

            12/7/17
            1/18/18
            2/23/18
            3/13/18
            3/31/18
            4/18/18
            5/24/18
            6/11/18
            6/29/18
            7/17/18
            8/22/18
            9/27/18
            11/2/18
            12/8/18
            1/13/19
            1/31/19
            2/18/19
            3/26/19
            4/13/19
            5/19/19
            6/24/19
            7/12/19
            7/30/19
            8/17/19




             1/8/20

             3/2/20
             4/7/20


             7/6/20
            9/22/19

            12/3/19

            1/26/20
            2/13/20
            3/20/20
            4/25/20
            5/13/20
            5/31/20
            6/18/20
            7/24/20
            8/11/20
            8/29/20
            9/16/20
Source: Bloomberg, Company reports, BofA Merrill Lynch Global Research




       d.     iPhone XR ship dates have come in


In Figure 8 we track iPhone XR availability (shipment dates). When pre-orders started
on Friday Oct 19th , availability was indicated at Oct 26th which was the expected start of
shipments. Only a few colors and storage combinations had longer ship times. Then, as
pre-orders progressed over the weekend, ship times expanded somewhat to 1-2 weeks.
However, over the past two days, shipping estimates have come in to 3-5 days. In our
opinion, this either suggests 1) ample supply of iPhone XR, or 2) lower demand for
iPhone XR. Ship dates in China are now in-line with the rest of the world.




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                                                                                                                               Page 194
                                          Figure 8: iPhone XR ship dates

                                                                              19-Oct-18                                                    22-Oct-18                                                      24-Oct-18                                                        25-Oct-18
                                          iPhone XR         White Black    Blue Yellow      Coral     Red      White        Black       Blue      Yellow    Coral      Red      White       Black      Blue      Yellow     Coral       Red      White       Black      Blue      Yellow      Coral       Red
                                          USA
                                          AT&T
                                          64 GB             26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days

                                          Sprint
                                          64 GB             26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days

                                          T Mobile
                                          64 GB             26 Oct 26 Oct 26 Oct Nov 2-9 26 Oct Nov 2-9        26 Oct      26 Oct     1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB            26 Oct 26 Oct Nov 2-9 Nov 2-9 Nov 2-9 Nov 2-9      26 Oct      26 Oct     1-2 weeks 2-3 weeks 1-2 weeks 1-2 weeks 3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB            26 Oct 26 Oct Nov 2-9 Nov 2-9 Nov 2-9 26 Oct       26 Oct      26 Oct     1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days

                                          Verizon
                                          64 GB             26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct    26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          China
                                          64 GB             26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days                3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days                3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB            26 Oct 26 Oct 26 Oct   26 Oct   26 Oct   26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days                3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          Japan
                                          64 GB                                                               1-2 weeks    26 Oct     1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks
                                          128 GB                                                                26 Oct     26 Oct       26 Oct    26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days 3-5 days 1-2 weeks 3-5 days 3-5 days 1-2 weeks
                                          256 GB                                                              1-2 weeks    26 Oct       26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days 3-5 days 3-5 days 1-2 weeks 1-2 weeks 1-2 weeks
                                          Mexico
                                          64 GB                                                                26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct  3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB                                                               26 Oct      26 Oct      26 Oct    26 Oct    26 Oct     26 Oct  3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB                                                               26 Oct      26 Oct      26 Oct    26 Oct    26 Oct   1-2 weeks 3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          UK
                                          64 GB                                                                26 Oct     1-2 weeks    26 Oct   1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days          3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB                                                               26 Oct       26 Oct     26 Oct   1-2 weeks 1-2 weeks 26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days             3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB                                                               26 Oct       26 Oct     26 Oct     26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days           3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          Russia
                                          64 GB                                                               1-2 weeks 1-2 weeks 26 - 29 Oct 26 - 29 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days          3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB                                                              26 - 29 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days            3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB                                                              26 - 29 Oct 26 - 29 Oct 26 - 29 Oct 26 - 29 Oct 1-2 weeks 26 - 29 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days    3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          Germany
                                          64 GB                                                               1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days              3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB                                                                26 Oct    26 Oct    26 Oct    26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days               3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB                                                                26 Oct    26 Oct    26 Oct    26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days               3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          France
                                          64 GB                                                               1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days              3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          128 GB                                                                26 Oct    26 Oct    26 Oct    26 Oct 1-2 weeks 26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days                  3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          256 GB                                                                26 Oct    26 Oct    26 Oct    26 Oct    26 Oct    26 Oct 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days               3-5 days   3-5 days   3-5 days   3-5 days   3-5 days
                                          Australia
                                          64 GB                                                                 26 Oct     26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days 3-5 days 3-5 days 1-2 weeks 1-2 weeks 3-5 days
                                          128 GB                                                                26 Oct     26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks
                                          256 GB                                                                26 Oct     26 Oct      26 Oct    26 Oct    26 Oct     26 Oct   1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days 3-5 days 1-2 weeks 1-2 weeks 1-2 weeks 3-5 days

                                          Source: Apple country websites
                                                                                                                                                                                                                                                                                                                               Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 196 of 607


                                                                                                                                                                                                                                                                                                                   Exhibit 9




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                                                                                        Exhibit 9
      e.     Estimate revisions could turn negative for F19

Figure 9 shows how Street estimates for F19 EPS have trended vs. our estimate
changes. In our opinion, F19 estimates have moved up significantly and could stall in
the near term, which could prove negative for Apple stock. Although ASPs can provide
an uplift, we believe that broader China and FX headwinds could pose risks to overall
estimates.
Figure 9: F19 estimate revisions, Street vs. BofAML




Source: Bloomberg




On the positive side
    a. Recent China survey points to continued strength of Apple brand
Our recent survey found smartphone users in China still prefer Apple to other brands
when purchasing their next phone (Figure 10).
Figure 10: Survey indicates strength of Apple brand in China.




Source: RIWI survey, BofA Merrill Lynch Global Research estimates




     b. Apple Services revenue remains strong
As we wrote in our prior note, third party data on developer revenues indicates
continued strong growth in App Store sales, and we estimate total Apple Services
revenue for the Sep quarter to be tracking in-line with our estimate of $10.7bn (+26%
y/y). Figure 11 shows y/y growth of App Store revenue, downloads and average ASP per
download.




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                                                                                             Exhibit 9
Figure 11: Y/Y growth in App store revenue, downloads and average ASP per download




Source: Company reports, BofA Merrill Lynch Global Research


    c. Accessories (AirPod, Apple Watch) are seeing strong demand
We raise our estimates for Apple Watch in F19 to 42.3mn units, from prior 39.3mn units

    d. Broader portfolio of iPhones can help gain share in various price bands
Apple’s current iPhone lineup offers very capable phones at the low end starting at $440
(iPhone 7 with A10 Fusion chip and 32GB storage). Higher capable phones at the low
end can help Apple gain share at the lower premium segments of the market. Moreover,
the broad selection of iPhones available allows consumers to select which phone (and
which price band) best meets their need.

    e. Gross margin upside on higher mix and lower Memory costs
As per IHS Market, Apple’s iPhone XS Max with 64GB NAND and 4GB DRAM has a total
cost of $390, out of which the cost of the NAND and DRAM is $40.75. By these
estimates, the NAND and DRAM account for about 10.5% of the Bill of Materials (BOM)
cost. Specifically a 20% reduction in cost would increase gross margins by around
80bps.



Upcoming event on Tues Oct 30th
Apple is hosting an event in Brooklyn, NY, where we expect the company to introduce
new iPad Pros and possibly new Macbooks and/or Mac Minis. We have thus lowered our
iPad estimate for the Sep quarter to account for buyers waiting for the new tablets to
arrive before purchasing.




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                                                                                                                                                 Exhibit 9
Model

Figure 12: Apple Income Statement
                                                               F2018E                                   F2019E
                                                  12/17       3/18         6/18   9/18E    12/18E    3/19E        6/19E    9/19E    F2016     F2017    F2018E    F2019E    F2020E
Income Statement


Revenue ($mn)                                    88293      61137        53265    62847    90863     64193        58476    76035    215639    229234   265542    289567    326063
  iPhone revenue                                 61576      38032        29906    36080    58510     37358        31198    44127    136700    141319   165594    171192    191479
  iPad revenue                                    5862       4113         4741     4253     5864      4045         4656     4174     20628     19222    18969     18739     18387
  Mac revenue                                     6895       5848         5330     6468     7368      5959         5430     6591     22831     25850    24541     25348     25836
  iTunes / Software / Services                    8471       9190         9548    10711    10589     11488        11935    13389     24348     29980    37920     47400     58302
  Other Rev                                       5489       3954         3740     5335     8532      5344         5257     7754     11132     12863    18518     26888     32059
Cost of Goods Sold (excl. Stock-based comp.)     54129      37458        32594    38558    55695     38923        35307    46239    130607    140171   162739    176163    199567

Gross Profit (excl. Stock-based comp.)           34164      23679        20671    24288    35169     25270        23169    29796     85032    89063    102802    113403    126497

Total Operating Expense (excl. Stock-based com    6594       6437         6708     7120     7451      6763         7415     8453     20798     22879    26859     30083     35299
  R&D (excl. Stock-based comp.)                   2761       2712         3026     2902     3180      2848         3322     3511      8156      9282    11401     12861     14561
  SG&A (excl. Stock-based comp.)                  3833       3725         3682     4218     4271      3916         4093     4942     12642     13597    15458     17222     20738

Operating Income (Pre-Stock-based comp.)         27570      17242        13963    17168    27718     18507        15754    21342     64234     66184    75943     83321     91198


Total Operating Expense (incl. Stock-based com    7638       7528         7809     8221     8642      7954         8606     9644     24239     26842    31196     34847     40423
  R&D (incl. Stock-based comp.)                   3407       3378         3701     3577     3905      3573         4047     4236     10045     11581    14063     15761     17661
  SG&A (incl. Stock-based comp.)                  4231       4150         4108     4644     4737      4382         4559     5408     14194     15261    17133     19086     22762


Operating Income (Incl. Stock-based comp.)       26274      15894        12612    15817    26262     17051        14298    19886     60024    61344     70597     77497     84954

Total Interest and Other Income/(Expense)          756        274          672      376      301       233          165       91      1348      2745     2078       790       323

Pretax Income (Pre SBC)                          28326      17516        14635    17543    28019     18740        15918    21434     65582     68929    78020     84111     91521

Provision for Income Taxes (Credit)               7299       2542         1945     2632     4763      3186         2706     3644     16764     16911    14417     14299     15559

Net Income (Pre Stock-based comp.)               21027      14974        12690    14912    23256     15554        13212    17790     48818     52018    63604     69812     75962
Stock-based comp. (After tax)                      -962      -1152       -1171     -1148    -1208    -1208        -1208     -1208    -3131     -3667     -4434     -4834     -5183
Net Income (Incl. Stock-based-comp)              20065      13822        11519    13764    22047     14345        12004    16581     45687     48351    59170     64978     70780


Diluted EPS (Pre-Stock-based comp)                 4.08       2.95         2.58     3.08     4.89      3.33         2.86     3.88      8.88     9.90     12.73     14.99     16.90
Diluted EPS (Incl. Stock-based comp)               3.89       2.73         2.34     2.85     4.64      3.07         2.60     3.62      8.31     9.21     11.84     13.95     15.75


Diluted Weighted Average Shares                   5158       5068         4927     4837     4757      4677         4617     4582      5500      5252     4997      4658      4494


Income Statement (Cont'd)
% Growth Rates
Revenues (Y/Y)                                   12.7%      15.6%       17.3%     19.5%     2.9%     5.0%         9.8%     21.0%     (7.7%)    6.3%     15.8%      9.0%     12.6%
Gross Profit (Y/Y)                               12.4%      13.8%       16.8%     20.6%     2.9%     6.7%        12.1%     22.7%     (9.7%)    4.7%     15.4%     10.3%     11.5%
Opex (Y/Y)                                       13.9%      17.2%       16.8%     21.7%    13.0%     5.1%        10.5%     18.7%     7.3%     10.0%     17.4%     12.0%     17.3%
  R&D (Y/Y)                                      21.0%      23.2%       27.6%     19.5%    15.2%     5.0%         9.8%     21.0%    24.9%     13.8%     22.8%     12.8%     13.2%
  SG&A (Y/Y)                                     9.3%       13.1%        9.2%     23.2%    11.4%     5.1%        11.2%     17.2%     (1.6%)    7.6%     13.7%     11.4%     20.4%
Op. Income (Y/Y)                                 12.0%      12.6%       16.7%     20.1%     0.5%     7.3%        12.8%     24.3%    (14.1%)    3.0%     14.7%     9.7%      9.5%
Pretax Income (Y/Y)                              11.4%      10.2%       17.1%     16.3%    (1.1%)    7.0%         8.8%     22.2%    (13.8%)    5.1%     13.2%      7.8%      8.8%
Net Income (Y/Y)                                 12.2%      25.3%       32.1%     28.5%     9.9%     3.8%         4.2%     20.5%    (14.4%)    5.8%     22.4%      9.8%      8.9%
EPS (Y/Y)                                        15.9%      30.1%       40.4%     37.7%    19.1%    12.5%        11.2%     27.2%     (9.9%)   10.8%     28.6%     17.8%     12.9%
Diluted Shares (Y/Y)                             (3.2%)     (3.7%)       (5.9%)   (6.7%)   (7.8%)    (7.7%)       (6.3%)   (5.3%)    (5.1%)   (4.5%)    (4.8%)    (6.8%)    (3.5%)


Revenues (Q/Q)                                   67.9%     (30.8%)      (12.9%)   18.0%    44.6%    (29.4%)       (8.9%)   30.0%
Gross Profit (Q/Q)                               66.9%     (30.8%)      (13.0%)   18.3%    44.4%    (30.1%)       (9.3%)   31.0%
Opex (Q/Q)                                       12.7%      (2.4%)       4.2%     6.1%      4.6%     (9.2%)       9.6%     14.0%
  R&D (Q/Q)                                      13.7%      (1.8%)      11.6%     (4.1%)    9.6%    (10.5%)      16.7%     5.7%
  SG&A (Q/Q)                                     11.9%      (2.8%)       (1.2%)   14.6%     1.2%     (8.3%)       4.5%     20.7%
Op. Income (Q/Q)                                 92.9%     (37.5%)      (19.0%)   23.0%    61.5%    (33.2%)      (14.9%)   35.5%
Diluted Shares (Q/Q)                             (0.5%)     (1.7%)       (2.8%)   (1.8%)   (1.7%)    (1.7%)       (1.3%)   (0.8%)


% of Revenues
Gross Proflt (Excl. Stock Based Comp Expense)    38.6%      38.7%       38.9%     38.6%    38.7%    39.4%        39.6%     39.2%    39.4%     38.9%     38.7%     39.2%     38.8%
Gross Proflt (Incl. Stock Based Comp Expense)    38.4%      38.3%       38.3%     38.2%    38.4%    39.0%        39.2%     38.8%    39.1%     38.5%     38.3%     38.8%     38.5%
Opex                                             7.5%       10.5%       12.6%     11.3%     8.2%    10.5%        12.7%     11.1%     9.6%     10.0%     10.1%     10.4%     10.8%
  R&D                                            3.1%        4.4%        5.7%     4.6%      3.5%     4.4%         5.7%     4.6%      3.8%      4.0%      4.3%      4.4%      4.5%
  SG&A                                           4.3%        6.1%        6.9%     6.7%      4.7%     6.1%         7.0%     6.5%      5.9%      5.9%      5.8%      5.9%      6.4%
Opex (including Stock Based Comp)                8.7%       12.3%       14.7%     13.1%     9.5%    12.4%        14.7%     12.7%    11.2%     11.7%     11.7%     12.0%     12.4%
EBIT (Pre-Stock Based Comp)                      31.2%      28.2%       26.2%     27.3%    30.5%    28.8%        26.9%     28.1%    29.8%     28.9%     28.6%     28.8%     28.0%
Stock Based Comp Expense                         (1.1%)     (1.9%)       (2.2%)   (1.8%)   (1.3%)    (1.9%)       (2.1%)   (1.6%)    (1.5%)   (1.6%)    (1.7%)    (1.7%)    (1.6%)
EBIT (Post-Stock Based Comp)                     29.8%      26.0%       23.7%     25.2%    28.9%    26.6%        24.5%     26.2%    27.8%     26.8%     26.6%     26.8%     26.1%
Pretax Income                                    32.1%      28.7%       27.5%     27.9%    30.8%    29.2%        27.2%     28.2%    30.4%     30.1%     29.4%     29.0%     28.1%
Tax Rate                                         25.8%      14.5%       13.3%     15.0%    17.0%    17.0%        17.0%     17.0%    25.6%     24.5%     18.5%     17.0%     17.0%
Net Income (Operating, Pre-SBC)                  22.7%      22.6%       21.6%     21.9%    24.3%    22.3%        20.5%     21.8%    21.2%     21.1%     22.3%     22.4%     21.7%
Net Income (Operating, Post-SBC)                 23.8%      24.5%       23.8%     23.7%    25.6%    24.2%        22.6%     23.4%    22.6%     22.7%     24.0%     24.1%     23.3%

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                        Exhibit 9
Figure 13: Apple Segment Details
                                                               F2018E                                     F2019E
                                                12/17         3/18         6/18     9/18E    12/18E     3/19E        6/19E     9/19E     F2016       F2017    F2018E     F2019E     F2020E
Sales By Segment
Total Revenue ($mn)                          $88,293      $61,137       $53,265   $62,847   $90,863   $64,193      $58,476   $76,035   $215,639   $229,234   $265,542   $289,567   $326,063
iPhone revenue                                 61,576      38,032        29,906    36,080    58,510    37,358       31,198    44,127    136,700    141,319    165,594    171,192    191,479
iPad revenue                                    5,862       4,113         4,741     4,253     5,864     4,045        4,656     4,174     20,628     19,222     18,969     18,739     18,387
Mac revenue                                     6,895       5,848         5,330     6,468     7,368     5,959        5,430     6,591     22,831     25,850     24,541     25,348     25,836
iPod revenue                                     239          118          127       118       188        92          100        93        986        769        603        473        361
iTunes / Software / Services revenue            8,471       9,190         9,548    10,711    10,589    11,488       11,935    13,389     24,348     29,980     37,920     47,400     58,302
Accessories                                      241        2,554         1,809     2,011      301      3,192        2,262     2,513      5,414      5,845      6,615      8,268      9,922
Apple Watch                                     5,009       1,282         1,803     3,206     8,044     2,059        2,896     5,148      4,733      6,250     11,300     18,147     21,776
Other Revenue                                   5,489       3,954         3,740     5,335     8,532     5,344        5,257     7,754     11,132     12,863     18,518     26,888     32,059


% of Revenue
iPhone revenue                                   70%          62%          56%       57%       64%       58%          53%       58%        63%        62%        62%        59%        59%
iPad revenue                                      7%           7%           9%        7%        6%        6%           8%        5%        10%         8%         7%         6%         6%
Mac revenue                                       8%          10%          10%       10%        8%        9%           9%        9%        11%        11%         9%         9%         8%
iTunes / Software / Services revenue             10%          15%          18%       17%       12%       18%          20%       18%        11%        13%        14%        16%        18%


Product Segment Revenue Growth - Y/Y             13%          16%          17%       20%        3%        5%          10%       21%        (8%)        6%        16%         9%        13%
iPhone revenue                                   13%          14%          20%       25%       (5%)      (2%)          4%       22%       (12%)        3%        17%         3%        12%
iPad revenue                                      6%           6%          (5%)     (12%)       0%       (2%)         (2%)      (2%)      (11%)       (7%)       (1%)       (1%)       (2%)
Mac revenue                                      (5%)          0%          (5%)     (10%)       7%        2%           2%        2%       (10%)       13%        (5%)        3%         2%
iTunes / Software / Services revenue             18%          31%          31%       26%       25%       25%          25%       25%        22%        23%        26%        25%        23%


Product Segment Revenue Growth - Q/Q             68%         (31%)        (13%)      18%       45%      (29%)         (9%)      30%
iPhone revenue                                  113%         (38%)        (21%)      21%       62%      (36%)        (16%)      41%
iPad revenue                                     21%         (30%)         15%      (10%)      38%      (31%)         15%      (10%)
Mac revenue                                      (4%)        (15%)         (9%)      21%       14%      (19%)         (9%)      21%
iTunes / Software / Services revenue             (0%)          8%           4%       12%       (1%)       8%           4%       12%


Units by Segment
Total Units (k)
iPhone                                         77,316      52,217        41,300    47,000    73,000    49,000       41,000    51,000    211,884    216,756    217,833    214,000    225,000
iPad                                           13,170       9,113        11,553     9,810    13,433     9,113       11,553     9,810     45,590     43,753     43,646     43,909     43,909
Mac                                             5,112       4,078         3,720     4,901     5,470     4,200        3,832     5,048     18,484     19,251     17,811     18,550     19,107
iPod                                            1,626         742          899       811      1,301      594          719       649       6,372      5,098      4,078      3,263      2,610
Apple Watch                                    12,500       3,200         4,500     8,000    18,750     4,800        6,750    12,000     10,500     14,000     28,200     42,300     50,760


Product Segment Unit Growth - Y/Y
iPhone                                           (1%)         3%            1%        1%       (6%)      (6%)         (1%)       9%        (8%)        2%         0%        (2%)        5%
iPad                                              1%          2%            1%       (5%)       2%        0%           0%        0%       (17%)       (4%)       (0%)        1%         0%
Mac                                              (5%)         (3%)        (13%)      (9%)       7%        3%           3%        3%       (10%)        4%        (7%)        4%         3%


Product Segment Unit Growth - Q/Q
iPhone                                           66%         (32%)        (21%)      14%       55%      (33%)        (16%)      24%
iPad                                             28%         (31%)         27%      (15%)      37%      (32%)         27%      (15%)
Mac                                              (5%)        (20%)         (9%)      32%       12%      (23%)         (9%)      32%


Product Segment ASPs
iPhone                                           796          728          724       768       802       762          761       865        645        652        760        800        851
iPad                                             445          451          410       405       415       413          378       396        452        439        435        427        419
Mac                                             1,328       1,408         1,404     1,298     1,328     1,394        1,390     1,285      1,235      1,343      1,378      1,366      1,352


Product Segment ASP Growth - Y/Y
iPhone                                           15%         11%           20%       24%        1%        5%           5%       13%        (4%)        1%        17%         5%         6%
iPad                                              5%          4%           (6%)     (14%)      (7%)      (9%)         (8%)      (2%)        7%        (3%)       (1%)       (2%)       (2%)
Mac                                              (0%)         3%           10%       (1%)       0%       (1%)         (1%)      (1%)       (0%)        9%         3%        (1%)       (1%)


Product Segment ASP Growth - Q/Q
iPhone                                           29%          (9%)         (1%)       6%        4%       (5%)         (0%)      14%
iPad                                             (5%)         1%           (9%)      (1%)       3%       (1%)         (8%)       5%
Mac                                               1%          6%           (0%)      (8%)       2%        5%          (0%)      (8%)

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                                     Exhibit 9
Figure 14: Apple Balance Sheet
                                                                F2018E                                            F2019E
                                                  12/17        3/18          6/18       9/18E      12/18E       3/19E         6/19E       9/19E      F2016        F2017     F2018E      F2019E      F2020E
Balance Sheet


Total Assets                                   $406,794    $367,502      $349,197    $327,016    $307,286    $276,755      $246,891    $258,028    $321,686    $375,319    $327,016    $258,028    $266,759
Total Current Assets                            143,810     130,053       115,761     110,539     106,385      92,789        80,125      95,874     106,869     128,645     110,539      95,874     122,364
  Cash/Equivalents                               27,491      45,059        31,971      30,677      21,947      13,148         2,272       7,883      20,484      20,289      30,677       7,883      27,630
  ST Investments                                 49,662      42,881        38,999      28,999      28,999      28,999        28,999      28,999      46,671      53,892      28,999      28,999      28,999
  Accounts Receivable                            23,440      14,324        14,104      18,854      25,240      17,180        17,433      25,345      15,754      17,874      18,854      25,345      29,937
  Deferred Tax Assets                                 0           0             0           0           0           0             0           0           0           0           0           0           0
  Inventory                                       4,421       7,662         5,936       7,011       4,951       7,962         6,430       8,407       2,132       4,855       7,011       8,407      10,312
  Other Current Assets                           38,796      20,127        24,751      24,999      25,248      25,501        24,991      25,241      21,828      31,735      24,999      25,241      25,486


PP&E                                             33,679      35,077        38,117      41,013      45,290      48,207        51,306      54,548      27,010      33,783      41,013      54,548      68,645
LT Investments                                  207,944     179,286       172,773     152,773     132,773     112,773        92,773      84,773     170,430     194,714     152,773      84,773      52,773


Goodwill                                          5,889       5,889         5,889       5,889       5,889       5,889         5,889       5,889       5,414       5,717       5,889       5,889       5,889
Intangible Assets                                 2,149       2,149         2,149       2,149       2,149       2,149         2,149       2,149       3,206       2,298       2,149       2,149       2,149
Other Assets                                     13,323      15,048        14,508      14,653      14,800      14,948        14,649      14,795       8,757      10,162      14,653      14,795      14,939


Total Liabilities                              $266,595    $240,624      $234,248    $229,231    $226,041    $219,454      $216,005    $224,779    $193,437    $241,272    $229,231    $224,779    $220,635
Total Current Liabilities                       115,788      89,320        88,548      83,521      80,253      73,645        70,285      79,036      79,006     100,814      83,521      79,036      74,847
  Accounts Payable                               62,985      34,311        38,489      40,701      37,130      30,273        27,461      35,964      37,294      49,049      40,701      35,964      31,508
  Accrued Liabilities                            34,325      34,531        32,587      32,820      33,124      33,372        32,824      33,072      30,107      33,292      32,820      33,072      33,338
     Deferred Revenue - Current                   8,044       7,775         7,403       7,384       7,433       7,424         7,396       7,389       8,080       7,548       7,384       7,389       7,407
     Other Current Liabilities (accrued exp)     26,281      26,756        25,184      25,436      25,690      25,947        25,428      25,682      22,027      25,744      25,436      25,682      25,931
  Current Portion LT Debt/commerical paper       18,478      20,478        17,472      10,000      10,000      10,000        10,000      10,000      11,605      18,473      10,000      10,000      10,000


LT Debt                                         103,922     101,362        97,128      97,128      97,128      97,128        97,128      97,128      75,427      97,207      97,128      97,128      97,128
Other LT Liabilities                             46,885      49,942        48,572      48,582      48,660      48,681        48,592      48,615      39,004      43,251      48,582      48,615      48,661
  Deferred Revenue - Non-Current                  3,131       3,087         2,878       2,888       2,966       2,987         2,898       2,921       2,930       2,836       2,888       2,921       2,967
  Deferred Tax Liabilities                            0           0             0           0           0           0             0           0           0           0           0           0           0
  Other Non-Current Liabilities                  43,754      46,855        45,694      45,694      45,694      45,694        45,694      45,694      36,074      40,415      45,694      45,694      45,694


Shareholders' Equity                           $140,199    $126,878      $114,949     $97,785     $81,245     $57,301       $30,886     $33,250    $128,249    $134,047     $97,785     $33,250     $46,124
  Common Stock                                   36,447      38,044        38,624      38,624      38,624      38,624        38,624      38,624      31,251      35,867      38,624      38,624      38,624
  Paid-in Capital                                     0           0             0           0           0           0             0           0           0           0           0           0           0
  Preffered Stock                                     0           0             0           0           0           0             0           0           0           0           0           0           0
  Other                                               0           0             0           0           0           0             0           0           0           0           0           0           0
  Retained Earnings (Deficit)                   104,593      91,898        79,436      62,272      45,732      21,788        (4,627)     (2,263)     96,364      98,330      62,272      (2,263)     10,611
  Other comprehensive income                       (841)     (3,064)       (3,111)     (3,111)     (3,111)     (3,111)       (3,111)     (3,111)       634         (150)     (3,111)     (3,111)     (3,111)
  Treasury Stock                                      0           0             0           0           0           0             0           0           0           0           0           0           0


Total Liabilities & Shareholders' Equity        406,794     367,502       349,197     327,016     307,286     276,755       246,891     258,028     321,686     375,319     327,016     258,028     266,759



Balance Sheet Statistics
Book Value per Share                             $27.18      $25.03        $23.33      $20.22      $17.08      $12.25         $6.69       $7.26      $23.32      $25.52      $19.57       $7.14      $10.26
Tangible Book Value per Share                    $25.62      $23.45        $21.70      $18.56      $15.39      $10.53         $4.95       $5.50      $21.75      $24.00      $17.96       $5.41       $8.47
Debt/Equity                                        87%         96%          100%        110%        132%        187%          347%        322%         68%         86%        110%        322%        232%
Net Cash & Investments                         $162,697    $145,386      $129,143    $105,321     $76,591     $47,792       $16,916     $14,527    $150,553    $153,215    $105,321     $14,527      $2,274
Net Cash & Investments per Share                 $31.54      $28.68        $26.21      $21.78      $16.10      $10.22         $3.66       $3.17      $27.37      $29.17      $21.08       $3.12       $0.51


Inventory Turns                                    46.7x       24.8x         19.2x       23.8x       37.2x       24.1x         19.6x       24.9x       58.3x       40.1x       27.4x       22.9x       21.3x
Days of Inventory                                     8          15            19          15          10          15            18          14           6           9          13          16          17
Days Accts. Receivable                               21          28            24          24          22          30            27          25          27          26          25          27          31
Days payables                                        93         117           101          92          63          78            74          62         100         111          99          78          61
Cash cycle                                          (64)        (75)          (58)        (54)        (31)        (33)          (29)        (22)        (67)        (75)        (61)        (35)        (13)
Op. WC/Revenue                                    (10%)        (5%)          (9%)        (6%)        (2%)        (2%)          (2%)        (1%)        (9%)       (11%)        (6%)        (1%)         3%


ROE                                                59%         41%           38%         52%         99%         83%          109%        207%         38%         38%         52%         78%         98%
ROA                                                21%         14%           13%         16%         28%         20%           18%         26%         17%         15%         18%         21%         24%


Drivers:
Inventory Turns                                    49.0x       19.6x         22.0x      22.0x       45.0x       19.6x         22.0x       22.0x        61.3x       28.9x      23.2x       21.0x       19.4x
Inventory Days                                        7          18            16          16           8          18            16          16           6          12          16          17          19
Days Accts. Receivable                               24          21            24          27          25          24            27          30          26          28          26          32          33
Days Payables                                       105          82           106          95          60          70            70          70         103         126          90          73          57
Cash Cycle                                          (73)        (43)          (66)        (52)        (27)        (28)          (27)        (24)        (71)        (85)        (49)        (25)         (5)

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                                     Exhibit 9
Figure 15: Apple Cash Flow Statement
                                                                F2018E                                            F2019E
                                                  12/17        3/18          6/18       9/18E      12/18E       3/19E         6/19E       9/19E      F2016        F2017    F2018E      F2019E      F2020E
Cash Flow Statement


Cash from Operating Activities                 $28,293     $15,130       $14,488     $15,374     $19,281     $17,819       $16,237     $20,858     $65,824     $63,598     $73,285     $74,195     $82,532
Net Income                                      20,065      13,822        11,519      13,764      22,047      14,345        12,004      16,581      45,687      48,351      59,170      64,978      70,780
Depreciation and Amortization                     2,745       2,739         2,665       2,896       2,563       2,831         3,013       3,207     10,505      10,157      11,045      11,614      12,033
Stock Based Compensation                          1,296       1,348         1,351       1,351       1,456       1,456         1,456       1,456       4,210       4,840       5,346       5,824       6,244
Deferred Taxes                                  (33,737)       (498)        1,126       1,126       1,126       1,126         1,126       1,126       4,938       5,966     (31,983)      4,504       4,504
Other - Loss on disposition of PPE                  (11)       (140)         (259)          0           0           0             0           0           0        (166)       (410)          0           0
Change in Working Capital                       37,935       (2,141)       (1,914)     (3,762)     (7,912)     (1,939)       (1,361)     (1,512)       484       (5,550)    30,118      (12,724)    (11,028)
  Accounts Receivable                            (5,570)      9,093          233       (4,750)     (6,386)      8,060          (253)     (7,912)      1,095      (2,093)       (994)     (6,491)     (4,593)
  Inventory                                        434       (3,241)        1,693      (1,075)      2,060      (3,011)        1,532      (1,977)       217       (2,723)     (2,189)     (1,396)     (1,905)
  Other Current Assets                           (9,857)    18,519         (3,191)       (248)       (250)       (252)         510         (250)      1,039      (9,572)      5,223        (242)       (245)
  Accounts Payable                              14,588      (27,808)        2,081       2,212      (3,571)     (6,856)       (2,812)      8,503       1,791       9,618      (8,927)     (4,737)     (4,455)
  Deferred Revenue                                 791         (313)         (581)       233         303         248           (548)       248       (1,554)       (626)       130         252         266
  Other Asset and Other Liabilities             37,549        1,609        (2,149)       (135)        (69)       (127)         210         (124)     (2,104)       (154)    36,874         (109)        (98)


Cash from Investing Activities                 ($13,590)   $28,710        $3,947      $6,858      ($4,543)    ($3,210)      ($3,411)    ($3,574)   ($45,977)   ($46,446)   $25,925     ($14,738)   ($15,655)
Capital Expenditures                             (2,810)     (4,195)       (3,267)     (3,142)     (4,543)     (3,210)       (3,411)     (3,574)    (12,734)    (12,451)    (13,414)    (14,738)    (15,655)
Sale of PP&E                                          0           0             0           0           0           0             0           0           0           0           0           0           0
Proceeds of investments                         30,849      39,977        17,078      10,000            0           0             0           0    111,794     126,339      97,904            0           0
Purchase of Investments                         (41,272)     (7,177)       (7,684)          0           0           0             0           0    (142,428)   (159,486)    (56,133)          0           0
Acquisitions/intang assets                         (327)        22           (126)          0           0           0             0           0      (1,111)       (673)       (431)          0           0
Other/Strategic investments                         (30)        83         (2,054)          0           0           0             0           0      (1,498)       (175)     (2,001)          0           0


Cash from Financing Activities                  ($7,501)   ($26,272)     ($31,523)   ($23,526)   ($23,467)   ($23,409)     ($23,702)   ($11,674)   ($20,483)   ($17,347)   ($88,822)   ($82,252)   ($47,130)
Proceeds from the issuance of term debt, net      6,969           0             0           0           0           0             0           0     22,454      28,662        6,969           0           0
Repayments of term debt                               0        (500)       (6,000)          0           0           0             0           0           0      (3,500)     (6,500)          0           0
Issuance of Common                                    0           0          328            0           0           0             0           0        495         555         328            0           0
Treasury Stock                                  (10,095)    (22,429)      (21,110)    (20,000)    (20,000)    (20,000)      (20,000)     (8,000)    (29,722)    (32,900)    (73,634)    (68,000)    (32,000)
Preferred Stock                                       0           0             0           0           0           0             0           0           0           0           0           0           0
Other                                            (1,038)       (152)       (1,077)          0           0           0             0           0      (1,163)     (1,247)     (2,267)          0           0
Dividends                                        (3,339)     (3,190)       (3,653)     (3,526)     (3,467)     (3,409)       (3,702)     (3,674)    (12,150)    (12,769)    (13,708)    (14,252)    (15,130)
ESOP Proceeds                                         0           0             0           0           0           0             0           0           0           0           0           0           0


Foreign Exchange Effects                              0           0             0           0           0           0             0           0           0           0           0           0           0
Net Change in Cash                              $7,202     $17,568       ($13,088)    ($1,294)    ($8,730)    ($8,800)     ($10,876)    $5,611       ($636)      ($195)    $10,388     ($22,794)   $19,748


Net Cash - Beginning Balance                    20,289      27,491        45,059      31,971      30,677      21,947        13,148        2,272     21,120      20,484      20,289      30,677        7,883
Net Cash - Ending Balance                       27,491      45,059        31,971      30,677      21,947      13,148          2,272       7,883     20,484      20,289      30,677        7,883     27,630



Free Cash Flow


Free Cash Flow                                 $25,483     $10,935       $11,221     $12,232     $14,738     $14,609       $12,826     $17,285     $53,090     $51,147     $59,871     $59,458     $66,877
  Cash From Operations                          28,293      15,130        14,488      15,374      19,281      17,819        16,237      20,858      65,824      63,598      73,285      74,195      82,532
  Capital Expenditures                           (2,810)     (4,195)       (3,267)     (3,142)     (4,543)     (3,210)       (3,411)     (3,574)    (12,734)    (12,451)    (13,414)    (14,738)    (15,655)


Free Cash Flow Per Share                          $4.94       $2.16         $2.28       $2.53       $3.10       $3.12         $2.78       $3.77       $9.65       $9.74     $11.98      $12.77      $14.88


Free Cash Flow (after acq.)                     25,156      10,957        11,095      12,232      14,738      14,609        12,826      17,285      51,979      50,474      59,440      59,458      66,877


Drivers
Depreciation & amortization                       2,745       2,739         2,665       2,896       2,563       2,831         3,013       3,207     10,505      10,157      11,045      11,614      12,033
Cap Ex/Depreciation                                 1.0         1.5           1.2         1.1         1.8         1.1           1.1         1.1         1.2         1.2         1.2         1.3         1.3
Cap Ex/Sales                                       (3%)        (7%)          (6%)        (5%)        (5%)        (5%)          (6%)        (5%)        (6%)        (5%)        (5%)      (151%)       (97%)
Annual Depr. % of PP&E (prior qtr)                 33%         33%           30%         30%         25%         25%           25%         25%         42%         37%         31%         25%         20%

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                    Exhibit 9
Price objective basis & risk
Apple Inc. (AAPL)
Our PO of $235 is based on approximately 16x our C2019 EPS estimate of $14.45. Our
target multiple compares to the long-term historical range of 9-15x (median 12x). We
believe a higher than historical multiple is justified given the smoother iPhone cycles,
consistent growth in iPhone units and revs. We also think a 16x multiple is justified
given a large cash balance and opportunity to diversify into new end markets, and
increasing mix and diversity of services.

Downside risks are: the potential trade conflicts, tariffs, and a stronger USD. Other risks
are: Apple's significant exposure to the iPhone, commoditization in the smartphone
market, intensifying competition in the tablet market, managing beat and raise
expectations for EPS estimates, and accelerating pace of product innovation impacting
margins.

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I, Wamsi Mohan, hereby certify that the views expressed in this research report
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US - IT Hardware and Technology Suppl y Chain Coverage Cluster
                                                                         BofA Merrill Lynch
Investment ratin g          Com p any                                    ticker                Bloomber g symbol   Anal yst
BUY
                            Am phenol                                    APH                   APH US              Wamsi Mohan
                            Apple Inc.                                   AAPL                  AAPL US             Wamsi Mohan
                            Arrow Electronics Inc.                       ARW                   ARW US              Param Singh, CFA
                            Av net Inc.                                  AVT                   AVT US              Param Singh, CFA
                            Flex Ltd.                                    FLEX                  FLEX US             Ruplu Bhattachary a
                            HP Inc.                                      HPQ                   HPQ US              Wamsi Mohan
                            International Business Machines Corp.        IBM                   IBM US              Wamsi Mohan
                            NetApp Inc.                                  NTAP                  NTAP US             Wamsi Mohan
                            Nutanix Inc                                  NTNX                  NTNX US             Wamsi Mohan
                            Pure Storage                                 PSTG                  PSTG US             Wamsi Mohan
                            Sensata Technologies Holdings Plc            ST                    ST US               Wamsi Mohan
                            TE Connectiv ity Ltd.                        TEL                   TEL US              Wamsi Mohan
                            Teradata Corporation                         TDC                   TDC US              Wamsi Mohan
                            Vishay Intertechnology, Inc.                 VSH                   VSH US              Ruplu Bhattachary a
                            Western Digital Corporation                  WDC                   WDC US              Wamsi Mohan
NEUTRAL
                            Celestica                                    CLS                   CLS US              Ruplu Bhattachary a
                            Celestica                                    YCLS                  CLS CN              Ruplu Bhattachary a
                            Corning Inc.                                 GLW                   GLW US              Wamsi Mohan
                            Jabil Inc.                                   JBL                   JBL US              Ruplu Bhattachary a
                            Sanmina Corporation                          SANM                  SANM US             Ruplu Bhattachary a
UNDERPERFORM
                            3D Sy stems Corporation                      DDD                   DDD US              Wamsi Mohan
                            Hew lett-Packard Enterprise                  HPE                   HPE US              Wamsi Mohan
                            Seagate Technology                           STX                   STX US              Wamsi Mohan
                            Stratas y s Ltd.                             SSYS                  SSYS US             Wamsi Mohan
                            Tech Data Corp.                              TECD                  TECD US             Param Singh, CFA




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                                                                                                                                                                                   Exhibit 9
iQ method SM Measures Definitions
Business Performance              Numerator                                                                 Denominator
Return On Capital Employ ed       NOPAT = (EBIT + Interest Income) * (1 - Tax Rate) + Goodwill Amortization Total Assets – Current Liabilities + ST Debt + Accumulated Goodwill
                                                                                                            Amortization
Return On Equity                  Net Income                                                                Shareholders’ Equity
Operating Margin                  Operating Profit                                                          Sales
Earnings Grow th                  Ex pected 5-Year CAGR From Latest Actual                                  N/A
Free Cash Flow                    Cash Flow From Operations – Total Capex                                   N/A
Quality of Earnings
Cash Realization Ratio                     Cash Flow From Operations                                                                  Net Income
Asset Replacement Ratio                    Capex                                                                                      Depreciation
Tax Rate                                   Tax Charge                                                                                 Pre-Tax Income
Net Debt-To-Equity Ratio                   Net Debt = Total Debt, Less Cash & Equivalents                                             Total Equity
Interest Cov er                            EBIT                                                                                       Interest Ex pense
Valuation Toolkit
Price / Earnings Ratio                     Current Share Price                                                                        Diluted Earnings Per Share (Basis As Specified)
Price / Book Value                         Current Share Price                                                                        Shareholders’ Equity / Current Basic Shares
Div idend Yield                            Annualised Declared Cash Dividend                                                          Current Share Price
Free Cash Flow Yield                       Cash Flow From Operations – Total Capex                                                    Market Cap. = Current Share Price * Current Basic Shares
Enterprise Value / Sales                   EV = Current Share Price * Current Shares + Minority Equity + Net Debt +                   Sales
                                           Other LT Liabilities
EV / EBITDA                                Enterprise Value                                                                           Basic EBIT + Depreciation + Amortization
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                                                                                                                                                                                   Exhibit 9
Disclosures
Important Disclosures
AAPL Price Chart
              1-Oct N                                                      16-Sepp              19-Jan                                                         17-Jan                                   13-Sepp
               Mohan                                                      PO:US$125            PO:US$140                                                      PO:US$220                                PO:US$256
             PO:US$130
                                12-Jan B                                                           8-Feb                                                                         2-Mayy
                                                                                                  PO:US$145                                                                     PO:US$225
            240
                                                 22-Apr                                                   16-Mar                                                                            10-Jul
            200                                 PO:US$125                                                PO:US$155                                                                         PO:US$230
            160                                   27-Apr                                                           12-Mayy                                                                          21-Augg
                                                 PO:US$120                                                        PO:US$180                                                                        PO:US$250
            120

              80

             40

              0
                               1-Jan-16                                                      1-Jan-17                                                       1-Jan-18
             AAPL                  (USD)
                                                                B: Buy, N: Neutral, U: Underperform, PO: Price Objective, NA: No longer valid, NR: No Rating
The Investment Opinion System is contained at the end of the report under the heading "Fundamental Equity Opinion Key". Dark grey shading indicates the security is restricted with the opinion suspended. Medium grey
shading indicates the security is under review with the opinion withdrawn. Light grey shading indicates the security is not covered. Chart is current as of September 30, 2018 or such later date as indicated.


Equity Investment Rating Distribution: Technology Group (as of 30 Sep 2018)
Coverage Universe                                     Count           Percent                                              Inv. Banking Relationships*                                          Count               Percent
Buy                                                       146         57.25%                                               Buy                                                                     85               58.22%
Hold                                                       51         20.00%                                               Hold                                                                    29               56.86%
Sell                                                       58         22.75%                                               Sell                                                                    20               34.48%
Equity Investment Rating Distribution: Global Group (as of 30 Sep 2018)
Coverag e Universe                                    Count           Percent                                              Inv. Bankin g Relationshi ps*                                        Count               Percent
Buy                                                      1626         55.10%                                               Buy                                                                   1043               64.15%
Hold                                                      641         21.72%                                               Hold                                                                   402               62.71%
Sell                                                      684         23.18%                                               Sell                                                                   327               47.81%
* Issuers that were investment banking clients of BofA Merrill Lynch or one of its affiliates within the past 12 months. For purposes of this Investment Rating Distribution, the coverage universe includes only stocks. A
stock rated Neutral is included as a Hold, and a stock rated Underperform is included as a Sell.

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attractiveness for investment relative to other stocks within its Coverage Cluster (defined below). There are three investment ratings: 1 - Buy stocks are expected to have a total
return of at least 10% and are the most attractive stocks in the coverage cluster; 2 - Neutral stocks are expected to remain flat or increase in value and are less attractive than
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Investment ratin g           Total return expectation (within 12-month p eriod of date of initial ratin g)                 Ratin g s disp ersion g uidelines for coverag e cluster*
            Buy                                                         10%                                                                                70%
           Neutral                                                       0%                                                                                30%
       Underperform                                                     N/A                                                                                 20%
* Ratings dispersions may vary from time to time where BofA Merrill L ynch Research believes it better reflects the investment prospects of stocks in a Coverage Cluster.
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Please see analyst certifications, important disclosure information, and information regarding the status of non-US analysts on pages 79 to 83 of this report.
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       AAPL
       Initiating Coverage                                  Apple, Inc (AAPL)                                                 Exhibit 9
       October 29, 2018
                                                            Buy: $265 Price Target




                                                                                                                                                              THE LONG VIEW
  Scenarios                                                                       Investment Thesis / Where We Differ
  Base Case
                                                                                 iPhone is a mature but sustainable business, with stable
 We believe the Apple ecosystem is a deep, sustainable                           market share especially among premium users. We look for
  moat and consumers will pay up for hardware and services                        ASP to be the primary growth lever over time.
  that connect to this ecosystem.
                                                                                 We see a large opportunity for Apple to drive meaningfully
 iPhone looks like a growth business, but ASP will be                            higher amounts of Services revenue into its 1.3B active
  primary driver as Apple continues to increase prices.                           install base. Attach rate, ARPU and the introduction of new
 $100B share repurchase could reduce shares meaningfully.                        services look like growth levers. Growth here could reverse
 Large, accelerating, higher margin Services business will                       or ease the ongoing pressure on gross margin in the
  ease or reverse pressure on gross margin over time.                             hardware business.

 Accelerating wearables business also driving growth.                           Wearables looks like a long-term growth opportunity.
                                                                                  AirPods and Watch look like the real deal, and we expect
 2019 EPS: $13.97; Target Multiple: 19.0x; PT $265
                                                                                  AAPL will enter more categories over time.
  Upside Scenario
                                                                                  Catalysts
 Services continues to rip higher, benefiting gross margin
  and warranting a higher multiple.                                              Oct 3 iPad event at Brooklyn Academy of Music
 iPhone unit sales skew towards higher priced phones (XS                        Ongoing product introductions
  Max) with more profitable, higher memory variants
                                                                                 $100B share buyback program
  (512GB).
 Apple enters new wearable categories and introduces new
  peripherals, growing other revenue
 Expansion into India happens sooner than expected
  reigniting stalling smartphone growth
 2019 EPS: $15; Target Multiple 20x; PT $300




  Downside Scenario                                                               Long Term Analysis
 Trade war with China would have a material impact on
                                                                                  Long Term Financial Model Drivers
  sales, COGS, ASP.
                                                                                  3Y Rev CAGR (18-21)                                         ~5%
 If consumers balk on higher prices, this would run counter
                                                                                  3Y EPS CAGR (18-21)                                       ~15%
  to our thesis that ASP is a growth lever.
                                                                                  LT Operating Margin Est.                                  ~30%
 Competitive ecosystems owned by companies like Google
  or Amazon could ultimately threaten Apple’s.
 Superior competitive services could threaten Apple’s
  ecosystem over time.
 App Store’s 30% revenue cut could come under pressure.
 A stronger US dollar could have a material impact on gross
  margin.
 2019 EPS: $12; Target Multiple: 15.8x; Target Price: $190




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                  October 29, 2018




           Apple Playbook 2018

           Building a Valuable Services Business Atop Apple’s Core. Initiate at Buy




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                 October 29, 2018                                  Key Takeaways          Val’n / Metrics   iPhone   Services        Wearables




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                       October 29, 2018                                 Key Takeaways
                                                                        Key Takeaways           Val’n / Metrics   iPhone   Services        Wearables



                We launch coverage on AAPL with a Buy rating and $265
                                    Price Target
                                                                                           OUR POSITIVE THESIS



                1.       We believe iPhone is a mature and stable business atop which Apple can build a valuable Services
                        business over time. Apple will have sold over 200MM iPhones in each of the last four years. While we expect solid
                     iPhone revenue growth in Fiscal 18 and Fiscal 19 driven by higher prices, flat or even modestly declining iPhone unit sales
                     should be sufficient for Apple to build a massive, high margin and recurring Services business over time. India looks like a
                         large call option but is not factored into our estimates. We conservatively model iPhone units declining every year
                                                                          through Fiscal 2022.

           2.         Services alone could be worth $111 to $177 per share by Fiscal 2022, a significant opportunity. Already a
                      big business with accelerating growth, by F’22 Services could drive over $80B+ of revenue, accounting for 25% of total
                     revenue and a full 40% of gross profit. Despite Apple Music not being the top tier service in its category, it gained almost
                        50 million paid subscribers in just three years, underscoring the power of distributing services directly into the Apple
                       ecosystem. Our SOTP model assumes a 6 to 9x multiple for Services (vs historic 3-4x for hardware), implying investors
                            could see significant upside as Apple scales its existing business, while introducing new services over time.

            3.         Wearables looks like another large growth opportunity. AirPods and Watch should account for over $13B of
                     revenue in Fiscal 2018, up 48% Y/Y. These products seem like sustainable growth opportunities as users are increasingly
                       willing to spend heavily on devices and accessories that plug into Apple’s ecosystem. Over time we look for Apple to
                                                                                                                                                                                                                   Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 212 of 607




                                        launch new products like AR/VR glasses, hearing aids, and health or fitness trackers.
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                      October 29, 2018                                 Key Takeaways
                                                                       KeyTakeaways            Val’n / Metrics   iPhone               Services                              Wearables


           Three Primary Revenue Growth Drivers…                                                                  Exhibit 1: Quarterly Services Revenue ($K)

                                                                                                                       $12,000,000
           • Services: Apple’s Services business is on track to cross
                                                                                                                       $10,000,000
             $38B (28% Y/Y) in F’18. App Store and Music are driving
             the lion’s share of growth today.                                                                            $8,000,000

                                                                                                                          $6,000,000
           • Wearables: AirPods are a killer product, an example of how
                                                                                                                          $4,000,000
             consumers are willing to pay up for products to seamlessly
             connect into the Apple ecosystem. Apple Watch Series 4                                                       $2,000,000
             reminds us of iPhone 4, when the iPhone really hit its stride.                                                      $-
                                                                                                                                                                                                                                                                                        Q1 19E




                                                                                                                                        Q1 07A
                                                                                                                                                 Q4 07A
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           • Price increases: iPhone prices increased ~13% and 19%
             Y/Y in 2017 and 2018, respectively. Apple Watch costs                                                Source: Apple, Jefferies
             $100 more than last year. To date the higher prices have                                             Exhibit 2: We Model Significant iPhone ASP Growth
             had little to no impact on unit sales growth.

           With Several Call Options…

           • India. It’s like China 10 years ago, maybe. China grew 50x
             in past 10 years.

           • Expansion into adjacent services like Video and Health.
             Two large categories.

           • Expansion into additional wearable categories. VR / AR
             glasses? Hearing Aids?                                                                               Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 213 of 607




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                                                                  KeyTakeaways            Val’n / Metrics         iPhone           Services            Wearables


               Exhibit 3: MOAB! It’s the Mother of All Buybacks. $100B Repurchase Authorization


                  $ in Billions                                          Buyback                                                                                               Net Cash
                                                                         Accelerated
                                                                           Share                            Dividends and          Net Share              Capital
                  Fiscal Periods                      Open Market        Repurchase          Total           Equivalents           Settlement            Returned    Cash      Debt         Net Cash
                  FY'12-FY'15                                   $63.0            $41.0     $104.0                       $35.7                   $3.8        $143.5      $206          $64       $142
                  Q1 2016                                         $3.0             $3.0       $6.0                          $3.0                $0.6          $9.6      $216          $63       $153
                  Q2 2016                                         $7.0                        $7.0                          $2.9                $0.2         $10.1      $233          $80       $153
                  Q3 2016                                         $4.0             $6.0     $10.0                           $3.2                $0.6         $13.8      $232          $85       $147
                  Q4 2016                                         $3.0             $3.0       $6.0                          $3.1                $0.2          $9.3      $238          $87       $151
                  Q1 2017                                         $5.0             $6.0     $11.0                           $3.1                $0.6         $14.7      $246          $88       $158
                  Q2 2017                                         $4.0             $3.0       $7.0                          $3.0                $0.2         $10.2      $257          $99       $158
                  Q3 2017                                         $4.5             $3.0       $7.5                          $3.4                $0.9         $11.8      $262      $108          $154
                  Q4 2017                                         $4.5             $3.0       $7.5                          $3.3                $0.2         $11.0      $269      $116          $153
                  Q1 2018                                         $5.1             $5.0     $10.1                           $3.3                $1.0         $14.4      $285      $122          $163
                  Q2 2018                                       $23.5                       $23.5                           $3.2                $0.2         $26.9      $267      $122          $145
                  Q3 2018                                       $20.0                       $20.0                           $3.7                $1.1         $24.8      $244      $115          $129
                  Total Return through Q3 2018                 $146.6            $73.0     $219.6                       $70.9                   $9.6        $300.1




                 • Apple has returned $300B of capital to                                                       • AAPL has $129B of net cash, with plans
                   shareholders since F’12. This includes                                                         to be net cash neutral over time. Our
                   $71B of dividend payments and $220B                                                            model assumes Apple could reduce
                   worth of share repurchases.                                                                    shares outstanding from ~4.9B in F’3Q
                                                                                                                  2018 to ~3.96B by Fiscal 2021.

               Source: Apple, Jefferies Research
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 214 of 607




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           Comp Sheet, Multiples, and Valuation
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 215 of 607




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               Exhibit 4: Comp Sheet

                                                                       Market Cap           Revenue growth                   EBITDA margin                  EV/Sales           EV/EBITDA        Price / Earnings   P/E to Growth


                              Company                         Ticker     ($MMs)     2017A       2018E        2019E   2017A       2018E       2019E   2018E         2019E    2018E     2019E   2018E        2019E      2019E
                              Hardware
                              Apple Inc.                       AAPL $1,044,713       6%         15%           6%     31%         31%         31%     4.3x          4.1x     13.9x     13.3x   18.4x        15.9x      1.0x
                              Microsoft Corporation            MSFT    $820,192      5%         14%          11%     39%         41%         43%     6.9x          6.2x     16.9x     14.7x   27.6x        25.1x      1.7x
                              Samsung Electronics Co, Ltd    005930-KR $263,311     30%         -1%           3%     32%         36%         35%     0.9x          0.9x     2.6x      2.6x    5.7x         5.8x       1.0x
                              Sony Corporation Sponsored ADR    SNE    $66,556      15%          0%           2%     13%         13%         14%     0.7x          0.7x     5.2x      4.9x    12.9x        13.2x      4.1x
                              HP Inc.                           HPQ    $36,601       8%         11%           2%      8%          8%          8%     0.7x          0.7x     8.2x      8.0x    11.4x        10.6x      2.4x
                              Dell Technologies Inc Class V    DVMT    $17,637       3%         15%           5%      4%          4%          4%     0.5x          0.5x     15.0x     14.5x   18.0x        14.5x      1.1x
                              Sonos, Inc.                      SONO     $1,438      10%         12%           9%      6%          6%          6%     1.1x          1.0x     19.9x     17.3x   N/A          N/A        N/A
                              Average                                                                                                                2.2x          2.0x     11.7x     10.8x   15.7x        14.2x      1.9x
                              Median                                                                                                                 0.9x          0.9x     13.9x     13.3x   15.4x        13.8x      1.4x
                              Services
                              Apple Inc.                       AAPL $1,044,713       6%         15%           6%     31%        31%          31%     4.3x         4.1x      13.9x     13.3x    18.4x       15.9x       1.0x
                              Amazon.com, Inc.                AMZN $801,266         31%         32%          22%     11%        14%          14%     3.4x         2.8x      24.9x     19.4x    94.8x       64.3x       1.3x
                              Alphabet Inc. Class A           GOOGL $764,189        21%         23%          20%     49%        46%          46%     6.0x         5.0x      12.9x     10.8x    27.0x       22.6x       1.7x
                              Facebook, Inc. Class A             FB  $435,238       47%         37%          25%     66%        58%          55%     7.0x         5.7x      12.1x     10.3x    20.5x       17.9x       1.3x
                              Tencent Holdings, Ltd          700-HKG $315,602       70%         23%          32%     41%        37%          35%     7.8x         5.9x      21.1x     17.0x    26.4x       22.2x       1.1x
                              Netflix, Inc.                    NFLX  $130,563       32%         35%          24%       9%       13%          15%     10.0x        8.0x      76.8x     52.6x   111.8x       68.9x       1.3x
                              Adobe Inc.                       ADBE  $122,138       25%         23%          19%     42%        44%          45%     13.2x        11.1x     30.0x     24.5x    36.0x       31.4x       1.7x
                              PayPal Holdings, Inc             PYPL  $98,683        21%         18%          16%     26%        26%          26%     6.0x         5.1x      23.2x     19.4x    35.6x       29.4x       1.4x
                              Activision Blizzard, Inc.        ATVI  $54,659         8%          5%           8%     35%        36%          40%     7.2x         6.6x      19.9x     16.5x    26.1x       22.7x       1.0x
                              Electronic Arts, Inc.              EA  $30,983         5%          2%           9%     35%        36%          37%     5.1x         4.7x      14.5x     12.6x    20.8x       17.9x       0.9x
                              Spotify Technology SA            SPOT  $26,291        N/A         21%          28%      -8%        -3%          -1%    4.1x         3.2x      N/A       N/A      N/A         N/A        N/A
                              Sirius XM Holdings, Inc.          SIRI $25,248        N/A          6%           6%     39%        38%          39%     5.9x         5.5x      15.4x     14.3x    23.0x       20.6x       2.1x
                              Snap, Inc.                       SNAP   $7,982        104%        40%          36%     -87%       -58%         -31%    4.6x         3.4x      N/A       N/A      N/A         N/A         N/A
                              Box, Inc.                         BOX   $2,502        27%         20%          21%      -3%         4%           7%    40.6x        33.6x    1039.8x   454.3x    N/A        247.1x      -1.1x
                              Dropbox, Inc.                     DBX   $2,432        N/A         24%          16%     22%        22%          24%     18.0x        15.5x     82.6x     65.2x    67.9x       52.3x       N/A
                              Zynga, Inc.                     ZNGA    $3,363        13%         14%          14%     16%        19%          22%     2.8x         2.5x      14.8x     11.4x    24.9x       20.2x       0.8x
                              Pandora Media, Inc.                 P   $2,179         6%          6%          12%      -9%        -7%          -1%    1.7x         1.5x      N/A       N/A      N/A         N/A        N/A
                              Average                                                                                                                8.7x         7.3x     100.1x     53.0x    41.0x       46.7x      1.1x
                              Median                                                                                                                 6.0x         5.1x      20.5x     16.7x    26.4x       22.7x      1.3x
                              Consumer
                              Apple Inc.                      AAPL     $1,044,713     6%        15%          6%      31%         31%         31%     4.3x          4.1x     13.9x     13.3x   18.4x        15.9x       1.0x
                              Procter & Gamble Company         PG       $218,698      0%         3%          0%      26%         26%         26%     3.5x          3.5x     13.5x     13.5x   20.8x        20.2x       3.8x
                              Coca-Cola Company                KO       $195,294    -15%        -10%         4%      31%         35%         37%     7.1x          6.8x     20.0x     18.4x   22.1x        20.6x       2.3x
                              PepsiCo, Inc.                   PEP       $155,908      1%         2%          3%      21%         20%         21%     2.7x          2.6x     13.4x     12.7x   19.5x        18.5x       2.5x
                              Kraft Heinz Company             KHC       $66,632      -1%         0%          1%      30%         29%         29%     3.8x          3.7x     13.2x     12.7x   14.8x        14.2x      12.9x
                              Average                                                                                                                4.3x          4.1x     14.8x     14.1x   19.1x        17.9x      4.5x
                              Median                                                                                                                 4.0x          3.9x     13.7x     13.4x   20.2x        19.3x      2.4x


               Source: Company Reports, Jefferies Research, FactSet
                                                                                                                                                                                                                                                     Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 216 of 607




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           Multiples Are Rising on iPhone Optimism,                                                              Exhibit 5: Apple Historic NTM PE

           Capital Return, and Mix-Shift to Services

           •   AAPL is currently trading at ~16x NTM PE, a
               bit higher than historic 15x. The multiple spiked
               over 25x in 2009 as iPhone was ramping. More
               recently the multiple has ticked up, which we
               attribute to increased comfort around iPhone, the
               massive share buyback opportunity, and more
               importantly, a mix-shift to a higher margin
               services revenue stream which we believe still
               looks undervalued on a SOTP basis.                                                                Source: FactSet

                                                                                                                 Exhibit 6: Apple Historic NTM EV / Sales

           •   EV / Sales has fluctuated over time, but has
               historically settled around 3.0x to 4.0x. We use
               EV / Sales in our SOTP to compare AAPL’s
               Services business with other Internet and
               Software names. A large ($38B est F’18), rapidly
               growing (28% Y/Y est F’18), and more recurring
               business, we argue Services should warrant a
               significantly higher EV / Sales multiple than for
               the core hardware business.

                                                                                                                 Source: FactSet
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 217 of 607




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                                                                                                                 Exhibit 7: Growth Adjusted, AAPL Trades at Discount to S&P, NASDAQ
           Valuation                                                                                             COMP


           •    Apple trades inline or cheaper than the market, despite                                                                     Apple                  S&P 500                   Nasdaq Comp
                higher growth. The S&P 500 trades at ~15.0x 2019 consensus                                        Price                     $216.30                $2,658.69                 $7,167.21
                EPS with a PEG of 1.5. The NASDAQ Composite trades at
                                                                                                                  2019 EPS                  $13.66                 $177.27                   $374.02
                ~19.2x 2019 consensus EPS with a PEG of 1.3. AAPL trades at
                ~15.8x 2019 consensus EPS with a PEG of 1.0.                                                      2018 EPS                  $11.75                 $161.46                   $326.09
                                                                                                                  Y/Y Growth                16.3%                  9.8%                      14.7%
           •    Apple trades at a premium to traditional hardware comps
                                                                                                                  PE                        15.8x                  15.0x                     19.2x
                like Samsung. In this bucket, Apple’s 15.8x is at a premium to
                its peer group Dell, Microsoft, HP, Samsung, Sonos and Sony,                                      PEG                       1.0                    1.5                       1.3
                which trade at 14.2x 2019 consensus EPS.

           •    Apple trades at a discount to Internet and Software names.
                Our SOTP model attempts to rectify this disparity by applying a                                  Source: Apple, Jefferies, FactSet
                6-9x sales multiple on AAPL’s Services business.                                                 Exhibit 8: AAPL’s Services Business Comps Against Higher Multiple
                                                                                                                 Internet and Software Names
           •    Our $265 price target implies 19x our 2019 EPS estimate of                                                    F'16         F'17      F'18         F'19         F'20          F'21      F'22
                                                                                                                 Services
                $13.97 (+18% Y/Y).                                                                                            $24,348      $29,980   $38,260      $48,153      $59,229       $69,890   $81,072
                                                                                                                 Rev ($M)
                                                                                                                 Y/Y          22.3%        23.1%     27.6%        25.9%        23.0%         18.0%     16.0%
           •    Our $265 PT also implies a 3-4x sales multiple on the                                            % of Total   11.3%        13.1%     14.5%        16.9%        19.8%         22.6%     25.4%

                hardware business, alongside a 6-9x sales multiple on the
                Services business. This multiple seems reasonable given                                            EV / Rev                            Implied per Share Value of Services
                                                                                                                  Multiple    F'16         F'17      F'18         F'19         F'20          F'21      F'22
                Services is very large ($38B est F’18), rapidly growing (28%                                     4.0x         $17.71       $22.83    $30.59       $41.31       $55.04        $70.51    $88.49
                Y/Y est F’18), and more recurring business. Due to the high                                      5.0x         $22.13       $28.54    $38.24       $51.64       $68.79        $88.14    $110.62
                growth and large call options for the future, the services                                       6.0x         $26.56       $34.25    $45.89       $61.97       $82.55        $105.76   $132.74
                                                                                                                 7.0x         $30.99       $39.96    $53.54       $72.30       $96.31        $123.39   $154.87
                business could warrant an even higher multiple.                                                  8.0x         $35.41       $45.67    $61.19       $82.62       $110.07       $141.02   $176.99
                                                                                                                 9.0x         $39.84       $51.38    $68.84       $92.95       $123.83       $158.65   $199.11
           •    By Fiscal 2022, Services alone could be worth ~$111 to                                           10.0x        $44.27       $57.09    $76.48       $103.28      $137.59       $176.27   $221.24
                                                                                                                 11.0x        $48.69       $62.80    $84.13       $113.61      $151.35       $193.90   $243.36
                ~$177 per share assuming a 5-8x EV/Sales multiple.
                                                                                                                 Source: Apple, Jefferies Estimates, FactSet
                                                                                                                                                                                                                               Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 218 of 607




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               Exhibit 9: Apple DCF


                                                                                         2018
                                                  2017A         Q1 18A          Q2 18A          Q3 18A        Q4 18E        2019E       2020E          2021E        2022E           2023E         2024E         2025E
                 Revenue                         $229,234       $88,293          $61,137        $53,265       $61,859      $285,190    $298,827       $308,882      $319,670       $330,666      $339,224      $345,393
                   % Y/Y Growth                         6%           13%              16%            17%           18%            8%          5%             3%            3%             3%            3%            2%
                 EBITDA                            $71,501       $29,013         $18,559        $15,410        $18,779      $89,146     $97,741       $103,877      $110,601       $117,051        $121,946    $125,907
                   % Margin                             31%           33%             30%            29%            30%          31%         33%            34%           35%            35%             36%         36%
                   % Y/Y Growth                         28            13              13             16             18            9          10              6             6              6               4           3
                 Implied Taxes on Operatio        ($17,558)      ($7,476)        ($2,693)       ($2,048)         ($28)     ($14,263)      ($166)         ($177)      ($16,590)     ($18,728)       ($21,950)   ($23,922)
                   % Effective Tax Rate                 25%           26%             15%            13%            0%           16%          0%             0%            15%           16%             18%         19%
                 Capital Expenditures             ($12,451)      ($2,810)        ($4,195)       ($3,267)       ($3,773)    ($14,688)   ($15,539)      ($16,680)     ($17,582)      ($17,732)       ($18,191)   ($18,522)
                   % Y/Y Growth                          (2%)        (16%)            41%            43%            (2%)          5%          6%             7%            5%             1%              3%          2%
                 Change in NWC                      ($5,550)     $37,935         ($2,141)       ($1,914)        $2,989       $8,374     ($7,118)       $11,434        $3,847         $6,942          $4,379      $5,691
                 Acquisitions Not Yet Reflec              --           --              --          (126)          (120)        (400)          0              0             0              0               0           0

                 Unlevered Free Cash Flo $35,942                $56,662         $9,530          $8,056       $17,846       $68,168     $74,918        $98,455       $80,275       $87,533       $86,184        $89,153
                   NPV at 6/30/18 Valuation Date and 8% WA            --             --          $7,905       $17,183       $63,221     $64,446        $78,572       $59,433       $60,122       $54,906        $52,692

                                                        Perpetuity Growth Rate / Terminal Value at 8% WACC                                                     Implied Terminal Value / Terminal EBITDA Multiple
                                                   0.0%          0.5%          1.0%           1.5%        2.0%                                               8.7x          9.3x          10.0x        10.9x         11.9x
                                                $1,156,199    $1,241,666    $1,339,718     $1,453,357   $1,586,618                                  $1,156,198.77 $1,241,665.76 $1,339,718.10 $1,453,356.58 $1,586,618.39

                                               Median DCF Valuation at 6/30/18 Valuation Date                                          WACC                               Equity Value per Share
                                               NPV of Cash Flows and Terminal Value                                 5161                6%               $283          $292          $304             $317         $332
                                               Plus: Cash and Equivalents                                      129,143                  7%                265           274           285              296          310
                                               Implied Equity Value                                        $1,320,276                   8%                250           258           267              278          291
                                               Implied Fully Diluted Shares Outstanding (MM)                     4,980                  9%                236           243           252              261          273
                                               Implied Equity Value per Share                                  $265                    10%                223           229           237              246          257




               Source: Apple, Jefferies Research
                                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 219 of 607




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               Exhibit 10: Apple Sum of the Parts



                                             Multiple                                                       Firm Value                                             Revenue            EV/Rev
                   Segment                                           2019E Revenue                                                            Per Share
                                       Low              High                                        Low                     High                               CAGR ('18-21) to Growth
                  Hardware             3.0x             4.0x          237,036,543               711,109,630            948,146,173              $185                  1.8%               1.91
                  Services             6.0x             9.0x            48,153,445              288,920,670            433,381,005              $80                  22.2%               0.34
                  Enterprise Value                                    285,189,988             1,000,030,300          1,381,527,178
                  Net Cash                                                                      129,143,000            129,143,000            Average
                  Equity Value                                                                1,129,173,300          1,510,670,178      $1,319,921,739
                  Implied Share Price                                                                  $227                   $303             $265
                  Implied EV / '21 Revenue                                                                  3.5x               4.8x             4.2x




              Source: Apple, Jefferies Research
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 220 of 607




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                                                                                                            iPhone   Services        Wearables




           iPhone:
           The Stable Core of Apple’s Premium Ecosystem
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 221 of 607




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                                                                                                                 iPhone   Services        Wearables




           iPhone remains a growth business, and we see a deep moat
                          around Apple’s ecosystem.


           1.        iPhone looks like the stable core of Apple’s premium ecosystem. Apple has sold over 200MM
                      iPhones for each of the last four years, suggesting a mature and stable business. Even in China where
                     growth has recently lagged, we believe Apple’s market share is stable with its high-spending user base.
                     Modestly declining iPhone unit sales should be sufficient for AAPL to build a massive, high margin and
                                                       recurring Services business over time.

                2.      We believe Apple has pricing power with the iPhone. For the 2nd straight year, we believe
                     significant pricing increases will be absorbed with little to no pushback. ASP growth should drive upside
                                                             to iPhone revenue estimates.

           3.       India looks like a call option; our model assumes no credit. From an iPhone perspective, India
                   looks like China from ten years ago, a time horizon when Apple’s China business grew 50-fold. Android’s
                                             early success may be difficult to overcome, however.
                                                                                                                                                                                                                  Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 222 of 607




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                                                                                                              iPhone            Services        Wearables


               Exhibit 11: Visualizing Apple Stock During iPhone Hardware Cycles

                                                                                                                                                                                  iPhone Xs,
                                                                                                                                                                                    Xs Max


                                                                                                                                                                        iPhone X

                                                                                                                                                                      iPhone 8,
                                                                                                                                                                        8 Plus

                                                                                                                                               iPhone 6s,
                                                                                                                                                 6s Plus
                                                                                                                                 iPhone 6,                  iPhone 7,
                                                                                                                                   6 Plus                     7 Plus
                                                                                                            iPhone 5
                                                                                             iPhone 4s
                                                                                                                   iPhone 5s, 5c
                                                                           iPhone 4

                                                            iPhone 3Gs
                              iPhone         iPhone 3G




                                                                                                             4G LTE,                Large                   Headphone
                                                                                                                        Touch                                                      Face
                                                                           Hardware              Siri       Lightning              "Plus"                      Jack
                                                                                                                          ID                                                        ID
                                                                           Redesign                         Connector              Display                   Removed




               Source: FactSet, Jefferies Research
                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 223 of 607




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                                                                                                                 iPhone           Services           Wearables


           New iPhones More Expensive Than Ever; ASP                                                              Exhibit 12: iPhone Prices Sharply Rising For The Past Two Years
           is Primary iPhone Rev Driver in F’19                                                                   2018                  64GB               256GB             512GB         Average ASP
                                                                                                                  XR                $          749     $        799      $        899      $        816
                                                                                                                  XS                $          999     $      1,149      $      1,349      $      1,166
           • We believe the iPhone has significant pricing power. In                                              XS Max            $        1,099     $      1,249      $      1,499      $      1,282
             2017 Apple priced the iPhone X starting at $999, its highest                                                                                                                  $     1,088

             price point ever. Despite this significant increase, unit sales                                      2017                  64GB               256GB                           Average ASP
                                                                                                                                                                                                               19%
                                                                                                                  8                 $          699     $        899                        $        799
             were flat Y/Y, suggesting minimal consumer pushback on                                                                                                                                            Y/Y
                                                                                                                  8 Plus            $          799     $        949                        $        874
             higher prices.                                                                                       X                 $          999     $      1,149                        $      1,074
                                                                                                                                                                                           $       916

                                                                                                                  2016                  32GB               128GB             256GB         Average ASP         13%
           • For 2nd straight year, Apple is meaningfully increasing                                              7                 $          649     $           749   $           849   $       749
             prices. In 2017, iPhone prices increased by ~13%. In 2018,                                                                                                                                        Y/Y
                                                                                                                  7 Plus            $          769     $           869   $           969   $       869
             iPhone prices increased by 19%.                                                                                                                                               $       809

                                                                                                                  Source: Apple, Jefferies
           • Third memory tier (512GB) also driving ASP growth.                                                   Exhibit 13: We Model Significant iPhone ASP Growth
             Last year had two tiers, this year has three. The iPhone Xs
             Max with 512GB of memory costs $1,499, 30% more
             expensive than a topped out iPhone X from 2017.

           • ASP already showing signs of inflecting upwards.
             iPhone ASP rose 15%, 11%, and 20% Y/Y in Fiscal 1Q, 2Q,
             and 3Q 2018, respectively.

           • Our Fiscal 2019 ASP estimate of $811 (+7% Y/Y) is 5%
             ahead of $771 (-1% Y/Y) consensus.


                                                                                                                  Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                                 Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 224 of 607




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                                                                                                                  iPhone          Services         Wearables


           Why the Confidence in ASP Growth?                                                                       Exhibit 14: iPhone Brand Loyalty is Stronger Than Android

                                                                                                                      Brand Smartphone Owners Intend to Buy in Next 12 Months
           • Significantly higher prices for iPhone X actually                                                                               iPhone Brand
             corresponded to unit sales increases. For the first three                                                                       Loyalty

             quarters of Fiscal 18, iPhone unit sales actually increased vs
             last year, although very modestly. There is little evidence that
             consumers balked on the higher prices.

           • iPhone brand loyalty is off the charts. In the previous
             iPhone cycle, 79% of current iPhone users intended to
             purchase another iPhone during the next 12 months. Android
             users were far less likely. Only Samsung comes close.
                                                                                                                   Source: eMarketer, Aug 2017
           • Paradoxically, during iPhone cycles with price increases                                              Exhibit 15: iPhone unit growth actually tends to follow ASP increases
             (ie: 2015), unit sales also tend to increase. In 2013, ASPs
             fell 6% and unit growth decelerated from 73% in 2012 to 20%                                                          iPhone ASPs and iPhone Unit Growth
             in 2013. In 2015, ASPs rose 11% and unit growth accelerated
             to 37%, up from 13% in 2012. And remember the XS Max is
             reportedly the best selling new iPhone.

           • Major Chinese smartphone players also believe they
             have pricing power.

             •   "For this quarter [Q2 ’18], the reflection of the success of
                 our strategy was an increase in our average selling price by
                 25% of our smartphones in China”- Chew Shou Zi, Xiaomi
                 CFO                                                                                               Source: Company Data
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 225 of 607




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           Why the Confidence in ASP Growth?                                                                      Exhibit 16: In 2018, There Will Be 3 Smartphones Above $1000+

                                                                                                                                  Most Expensive Smartphone by OEM
           • The major smartphone manufacturers (Apple,
             Samsung, and Google) are all seeing significant y/y                                                     OEMs            2016                    2017                     2018
             price increases. Apple and Samsung have both increased                                                  Apple     7 Plus         $969     iPhone X $1,150       iPhone XS Max $1,449
             their highest phone price almost 50% from ’16-’18 with little                                           Samsung Note 7           $865     Note 8        $930    Note 9           $1,250
             resistance so far.                                                                                      Google    Pixel XL       $869     Pixel 2 XL    $949    Pixel 3 XL         $999


           • Globally, average smartphone prices have risen over
             20% in already developed smartphone markets like
             North America and China. According to Counterpoint
             data, the smartphone prices in North America have grown
             to over $450 for a 27% y/y increase. In China, smartphone                                            Source: Counterpoint
             prices rose 20% y/y approaching $300. It is worth noting                                             Exhibit 17: Global Smartphone ASPs Are Rising Allowing Apple to
             that iPhone is the best selling smartphone in urban China.                                           Continue Posting Price Increases

                                                                                                                             2018 Q2 Smartphone ASP and Y/Y ASP Growth




                                                                                                                  Source: Counterpoint
                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 226 of 607




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                                                                                                                  Exhibit 18: Despite Having Less than 15% of the Global Smartphone
           Why the Confidence in ASP Growth?                                                                      Market iPhone Dominates the High End Segment
                                                                                                                    iPhone Profit Share of the $800+ Global Smartphone Market
           • iPhone has an absolute lock on the high end, premium
             smartphone market on a global basis. Apple earns 88%
             of the profits of the $800+ global smartphone market. These
             users want premium hardware, and they will pay to plug into
             Apple’s robust ecosystem.

           • iPhone users less price sensitive. Survey data from
             eMarketer further solidifies our view that iPhone owners are
             willing to pay higher prices to own a premium brand.

           • Smartphones are among the most important items in                                                    Source: Counterpoint Research
             anyone’s life. In 2016 Apple said the average iPhone is                                              Exhibit 19: iPhone Users are Less Price Sensitive than Other
                                                                                                                  Smartphone Users
             unlocked 80 times each day, a number undoubtedly higher
                                                                                                                       Factors to Consider When Deciding to Purchase a Smartphone
             today. Smartphones are kept at arm’s length all day and
             night; we broadly believe people will continue to spend
             more money on technology like iPhones where there is                                                   iPhone owner             29%         21%      16%         25%      9%
             such an emotional connection.
                                                                                                                  Samsung owner              34%            25%         16%     17% 8%

                                                                                                                   Other Android
                                                                                                                      owner                   39%            17%       17%     16% 11%


                                                                                                                          LG owner            39%               21%     16%        25%      9%

                                                                                                                                     0%        20%        40%         60%      80%       100%      120%

                                                                                                                                     Price    Features    Operating system     Brand    Other

                                                                                                                  Source: eMarketer, Aug 2017
                                                                                                                                                                                                                                Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 227 of 607




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                                                                                                                Exhibit 20: iPhone Units (MM, left axis) vs Y/Y Growth (right axis). Growth
           iPhone Unit Growth is Slowing; Growth                                                                Has Slowed. Market Looks Mature, Stable at 200MM+ Units Per Year
           Still Depends on Hardware Cycle but
           Market Share Looks Stable
            Mature market with stable market share. F’18 will be
             the 4th straight year Apple will sell over 200 million
             iPhones, suggesting a mature market with stable
             market share. Unit growth is still determined by the
             popularity of the hardware cycle, but there is far less
             volatility than in the past.

            iPhone is a premium device, with a lock on the
             premium market. Apple doesn’t need mass market. Its                                                Source: Apple, Jefferies Research
             premium users are willing to spend heavily on                                                      Exhibit 21: Apple’s Share of the Global Smartphone Market Has
                                                                                                                Remained Relatively Steady Over the Past 2 Years
             hardware, services, apps, and wearables.

            India and other emerging markets look like the
             biggest growth opportunities. From an iPhone
             perspective, India looks like China from ten years ago;
             China revs grew 50x during that period. Android’s early
             lead could be a challenge.

            Our iPhone unit sales estimates are below the
             street. We conservatively model unit declines of 2%
             Y/Y in F’19 vs street 0.45%. For Fiscal 18, unit sales
             grew -1%, 3% and 1% in 1Q, 2Q and 3Q respectively.
                                                                                                                Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 228 of 607




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           Hey Google, How Well Will iPhone Sell?                                                                 Exhibit 22: iPhone Search Interest Surrounding Major Releases
           Examining Google Trends Data                                                                                                    iPhone 6/ 6 Plus

                                                                                                                          iPhone 5C,
                                                                                                                                                                          iPhone 7
                                                                                                                          5S                                                              iPhone 8        iPhone XS/
            Google search trends are a forward indicator for                                                                                                                                             XS Max/XR
             iPhone unit sales. For example, the highest number of                                                                                         iPhone 6S                              iPhone X

             searches occurred around the iPhone 6 release, which was                                                                                                iPhone SE

             also a best-selling iPhone. During 2015, Apple sold
             ~230MM iPhones (37% Y/Y), with growth driven by iPhone
                                                                                                                           FY13: +20%      FY14: +13%      FY15: +37%      FY16: -8%        FY17: +2%       FY18E:
             6.                                                                                                            growth in       growth in       growth in       decline in       growth in       Expect flat
                                                                                                                           iPhone units    iPhone units    iPhone units    iPhone units     iPhone units    unit growth
                                                                                                                           following the   following the   driven by       due to           following the   y/y due to
                                                                                                                           iPhone 5        5C/5s           strong          weaker           iPhone 7        higher priced
                                                                                                                           release         releases        iPhone 6        iPhone           release         iPhone X
            This year, Google search trends show a smaller spike                                                                                          release         6s/SE                            model
             at launch (top chart). We think this makes sense during an
             ‘S’ year, when Apple makes incremental updates to iPhone.                                            Source: Google Trends
                                                                                                                  Exhibit 23: Preliminary Interest In the iPhone XS/XS Max Appears
                                                                                                                  Strong vs. iPhone XR
            Search trends following the release show a stronger                                                          iPhone Search Interest in the Days Following Launch Events
             interest in the iPhone Xs/Xs Max vs. iPhone Xr. We think
             this could imply sales for the higher priced models could be
             strong. With this said, early reviews for Xr look very
             favorable and our model assumes it will be popular.

            Overall we are modeling F’18 and F’19 iPhone unit
             sales will be 0% Y/Y and -2% Y/Y. We think this reflects
             the lower interest in iPhone during an ‘S’ year.



                                                                                                                  Source: Google Trends
                                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 229 of 607




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                 New 512GB Memory Tier Could Benefit Gross Margin
                                                                                                    Exhibit 24: iPhone BOM by Memory Tier
                 New iPhones feature a third, high end
                                                                                                                                iPhone XS Memory Variant
                  memory option: 512GB. Last year’s phones                                          Category                    64GB       256GB       512GB        Supplier                                      Component

                  only had two options: 64 or 256GB.                                                Display                $       120                              Samsung                      6.5" OLED Display

                                                                                                    Cameras                $        38                                                           Dual Rear 12MP & Telephoto

                                                                                                                                                                                                 Front 7MP
                 iPhone Xs Max with 512GB is priced $350                                           Mechanical Elements    $        72                                                           Rear Enclosure, Glass

                                                                                                    IC Content             $        30                              Apple                        A12 Bionic
                  more than the 64GB base model. All other                                                                 $        17                              Intel                        LTE Modem, RF, Power Mgmt IC
                  components are identical.                                                         Power Management IC    $        13                              Apple

                                                                                                                                                                    Dialog Semiconductor

                                                                                                                                                                    ST Microelectronics
                 Our analysis suggests AAPL earns $338                                                                                                             Broadcom                     Wireless Charging

                                                                                                    Bluetooth / WLAN       $           7                            Universal Scientific         Bluetooth Module
                  more gross profit for the 512GB version
                                                                                                    Memory                 $        41     $     47    $      53 Sandisk                         64GB NAND
                  compared to the 64GB version. High                                                                                                                Micron                       4GB

                  memory variant phones are meaningful profit                                       RF / PA                $        16                              Broadcom                     PAM, FEM

                                                                                                                                                                    Skyworks                     PAM, LNA, RF Switch
                  drivers.                                                                                                                                          Murata                       FEM

                                                                                                    User Interface         $        10                              Cirrus Logic                 Audio Codec

                                                                                                                                                                    NXP Semiconductor            NFC Controller
                 Our model assumes ~10% of users will                                                                                                              ST Microelectronics          MCU, 32-Bit

                  opt for the 512GB version. If the mix is                                          TrueDepth Sensing Suite $       14                                                           IR Camera, Flood Illuminator, Dot Projector

                                                                                                    Sensors                $           1                            Bosch                        Accelerometer / Gyroscope
                  higher, it would be a positive.                                                                                                                                                Barometric Pressure, Compass

                                                                                                                                                                    ams AG                       Light Sensor

                                                                                                    Battery Pack           $           7                            Sunwoda Electronic           Li-Polymer 3174mAh
                 Note this table simply reflects the iPhone
                                                                                                    Box Contents           $           7                            Power Systems Technologies   Charger, Lightning Cable, Plug, Packaging
                  BOM; there are other items in COGS that                                           Total BOM Cost          $     390      $    396    $     402

                                                                                                    Retail Price           $      1,099    $   1,249   $    1,449
                  reduce the margin.
                                                                                                    Gross Profit $          $     709      $    853    $ 1,047

                                                                                                    Gross Margin                   65%          68%          72%



                 Source: IHS, Jefferies Research
                                                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 230 of 607




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              Exhibit 25: Jefferies iPhone Revenue Build – Higher ASP, Lower Units


                                             U nits (K)                        Sales Price                             Mix                          Revenue ($K)                          ASP
                                        F'4Q 18     F'1Q 19             Base    Upgrade Premium              Base    Upgrade Premium            F'4Q 18          F'1Q 19           F'4Q 18   F'1Q 19
                iPhone 6                  2,200                     $    300                                 100%      0%      0%           $     607,200                         $    276
                iPhone 6 Plus                                                                                 0%       0%      0%
                iPhone 6 S                1,200           200       $    350                                 100%      0%      0%           $     386,400    $       64,400       $    322   $   322
                iPhone 6 S Plus             500                                                               0%       0%      0%
                iPhone SE                 2,500       1,000         $    400                                 100%      0%      0%           $     920,000    $     368,000        $    368   $   368
                iPhone 7                  4,200       2,000         $    449    $   549                      70%       30%     0%          $    1,850,856    $     881,360        $    441   $   441
                iPhone 7 Plus             2,500       1,000         $    569    $   669                      70%       30%     0%          $    1,377,700    $     551,080        $    551   $   551
                iPhone 8                  7,300       5,000         $    599    $   749                      60%       40%     0%          $    4,425,844    $   3,031,400        $    606   $   606
                iPhone 8 Plus             5,000       5,000         $    699    $ 849                        60%       40%     0%          $    3,491,400    $   3,491,400        $    698   $   698
                iPhone X                  4,200       2,000         $    999    $ 1,149                      60%       40%     0%          $    4,091,976    $   1,948,560        $    974   $   974
                iPhone Xr                    -       27,000         $    749    $   799      $   899         65%       25%    10%          $           -     $ 19,288,260                    $   714
                iPhone Xs                 6,750      11,000         $ 999        $ 1,149     $ 1,349         65%       25%    10%          $ 6,654,015       $ 10,843,580         $ 986      $ 986
                iPhone Xs Max            10,500      21,000         $ 1,099      $ 1,249     $ 1,449         40%       50%    10%          $ 11,678,940      $ 23,357,880         $ 1,112    $ 1,112
                                         46,850     75,200                                                                                 $ 35,484,331      $ 63,825,920         $    757   $   849


                Consensus                47,000     78,000                                                                                 $ 35,274,000      $ 61,896,000          $   751   $   809




               Source: Apple, Jefferies Research
                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 231 of 607




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              Exhibit 26: 2017 iPhone Launches

                          iPhone X                                                             iPhone 8 Plus                                      iPhone 8
                        $999 – 1,149                                                            $799 – 949                                      $699 – 899
                      5.8” OLED Display                                                       5.5” LCD Display                                4.7” LCD Display




               Source: Apple
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 232 of 607




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              Exhibit 27: 2018 iPhone Launches – ‘S’ Year


                          iPhone XS                                                        iPhone XS Max                                    iPhone XR
                        $999 – 1,349                                                       $1,099 – 1,499                                   $749 – 899
                      5.8” OLED Display                                                   6.5” OLED Display                              6.1” LCD Display




               Source: Apple
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 233 of 607




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               Exhibit 28: Geographies Grow (Mostly) in Lockstep Based on Strength of Product Cycle



                                                                            Y/Y Revenue Growth by Geography
                                                               F2014A                         F2015A              F2016A                     F2017A                     F2018E
                        Americas                                  4%                            44%                 -8%                       12%                        17%
                        Europe                                    8%                           23%                  -1%                        10%                       11%
                        Greater China                            17%                            97%                -17%                        -8%                       15%
                        Japan                                    11%                             5%                  8%                         5%                       21%
                        Rest of Asia Pac                         -7%                            46%                -10%                        11%                       14%

                                                                 iPhone 6                   iPhone 6S:             iPhone 7:                    iPhone X:
                                                                                          Massive Adoption       Tough iPhone                  ASP Driving
                                                                                              In China          Comps Globally               Growth Globally




                                                 Revenue Acceleration / Deceleration (bps Y/Y) by Geography
                                                                                   F2015A                    F2016A                     F2017A                      F2018E
                                  Americas                                            399                       (516)                      193                          55
                                  Europe                                              149                       (238)                      107                          10
                                  Greater China                                       793                     (1,141)                       97                         231
                                  Japan                                               (65)                        29                       (30)                        166
                                  Rest of Asia Pac                                    534                       (554)                      208                          30




               Source: Company Reports, Jefferies Estimates
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 234 of 607




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              Exhibit 29: But What About Greater China?


                                                                           Y/Y Revenue Growth by Geography
                                                             F2014A                        F2015A                 F2016A                F2017A                     F2018E
                      Americas                                  4%                           44%                    -8%                  12%                        17%
                      Europe                                    8%                          23%                     -1%                   10%                       11%
                      Greater China                            17%                           97%                   -17%                   -8%                       15%
                      Japan                                    11%                            5%                     8%                    5%                       21%
                      Rest of Asia Pac                         -7%                           46%                   -10%                   11%                       14%




                                                                                                       Mainland                           Greater China revenue
                                                                                                        China
                                                                                                                        Taiwan         declined 8% in 2017, a year
                                                                                                                                      when every other geographic
                                                                                                            Hong Kong                 region reported solid revenue
                                                                                                                                                 growth.




               Source: Company Reports, Jefferies Estimates, Wikimedia Open Source Map
                                                                                                                                                                                                                    Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 235 of 607




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              Exhibit 30: Visualizing China’s Meaningful Impact on the Stock




               Source: FactSet, Apple
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 236 of 607




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                                                                                                                 Exhibit 31: Following the Release of the iPhone 6 in FY15, China
           Greater China Revenue Peaked in 2015,                                                                 Revenue Has Been a Huge Growth Driver for Apple
           but Returns to Growth in 2018                                                                                                   Revenue ($000s)- Greater China


            Greater China revenue soared 97% Y/Y in 2015, a
             breakout year for iPhone in China.

            In 2016 and 2017, iPhone lost market share to lower-
             priced Android competitors like Huawei. Greater
             revenue declined 8% in 2017, a year when every other
             geographic region reported solid revenue growth.

            In 2018, Greater China has returned to growth. The top
                                                                                                                 Source: Company Data, Jefferies Research
             three best selling smartphones in urban China were
                                                                                                                 Exhibit 32: In the Past 5 Years, China Has Grown from 15% of Revenue
             iPhones, led by iPhone X.                                                                           to Over 20% of Revenue

                                                                                                                              Revenue ($000's, % Total) - Greater China
            iPhone market share has stabilized since 2016. We think
                                                                                                                    $300,000,000
             iPhone has cemented its position among the urban elite.
                                                                                                                    $250,000,000



            China App Store revenue per user exceeds the US;                                                       $200,000,000


             gaming is big driver. China’s mobile game approval freeze                                              $150,000,000

             looks like a short-term headwind.
                                                                                                                    $100,000,000

                                                                                                                                                                                           25% 22%              20%
                                                                                                                     $50,000,000                                                                         20%
                                                                                                                                                                            15% 16%
                                                                                                                             $0
                                                                                                                                   F2007A F2008A F2009A F2010A F2011A F2012A F2013A F2014A F2015A F2016A F2017A F2018E



                                                                                                                 Source: Company Data, Jefferies Research
                                                                                                                                                                                                                                     Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 237 of 607




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                                                                                                                   iPhone          Services        Wearables

                                                                                                                    Exhibit 22: The Chinese Smartphone Market Has Consolidated
           China Market Consolidation Around Five                                                                   Around 5 Majors Players
           Players Suggests Apple has Pricing Power                                                                                   Chinese Smartphone Market Share


            We believe Apple has pricing power in China, a reversal
             from 2016 and 2017 when Apple was losing market share to
             lower priced Android competitors like Huawei.

            The China smartphone market has consolidated around
             five key players; it will be difficult for newer lower-cost
             entrants to break in. In 2Q ‘18 the top five accounted for
             82% of shipments, up from 44% in 2014. The cost of
             innovation is rising; consumers demand multiple cameras,
             large OLED screens, and biometric security. All of this                                                 Source: IDC
             implies difficulty for newer, lower-priced vendors to enter the                                        Exhibit 23: iPhone Market Share Has Remained Relatively Steady
             market. With market share stabilizing, we think competitors
             will follow Apple by raising prices.

            Five key players in the China smartphone market:

             1.    Huawei –largest player with 20% share in 2018, double vs 2014.

             2.    Oppo – market share has tripled since 2014.

             3.    Vivo – market share has doubled since 2014.

             4.    Xiaomi – market share has been lumpy, bouncing to 12% in
                   2018.
                                                                                                                     Source: IDC
             5.    Apple – market share peaked in 2015, stabilized in 2018.
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 238 of 607




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                                                                                                            iPhone   Services        Wearables




                 Geographic Call Option: India Looks Like China from 10 Years Ago

                                                                       Rapid migration from rural to urban areas

                                                                                                      GDP growth

                                                                                     Young tech-savvy population

                                                                                                  1.3B population

                              4G has been slow to get going. There was strong correlation of 4G to iPhone sales in
                                                                    China.

                                  Apple has no retail or online presence yet in India. Today Apple has 50 retail stores
                                                                    in Greater China.

                                   Despite the similarities, India lags in terms of infrastructure and distribution is
                                           fragmented. In China most phones are sold through three carriers.

                                    Apple’s China revenues have grown fifty-fold in the past 10
                                                             years.

               Source: Wikimedia Open Source Map
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 239 of 607




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                Services:
                A Large Opportunity to Build a Higher Margin,
                Higher Multiple Business
                                                                                                                                                                                                                    Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 240 of 607




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                Already a large business with accelerating growth, we see an
           opportunity for Apple to build a higher margin, higher multiple Services
                            business atop its premium ecosystem.


           1. Apple’s more recurring, higher margin software Services business warrants a higher multiple than for the
             core software business. Applying a 5 – 8x sales multiple implies the Services business alone could be worth $111 to $177
                                                           per share by Fiscal 2022.

           2. By F’22 we believe Services could account for a full 25% of revenue (~$80B) and 40% of gross profit. While
              the margin structure of each service can vary (App Store much higher than Apple Music), in aggregate Services has a ~60%
              gross margin profile (and improving), almost double the hardware business. Our F’22 gross margin estimates are ~100bps
                                              higher than consensus given our optimism around Services.

           3. Services is growing 2-3x faster than Apple’s top line. Services revenue will more than double from $38B in
               F’18 to over $81B in F’22. Growth is driven by App Store (26% CAGR from F’17-21) and Music (45% CAGR), but also
                                                iCloud, Apple Pay, Apple Care, and Licensing.

             4. We see call optionality as AAPL enters adjacent verticals. Video looks like a measured, but dilutive investment
                    designed to reinforce the ecosystem (like Amazon Prime). Health is a large potential opportunity over time.
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                                                                                                               Exhibit 33: AAPL Revenue Mix ($K); Services Can Double by F’22
           Services is growing 2 to 3x faster than
                                                                                                                   $350,000,000
           AAPL’s top line, with App Store and Music                                                               $300,000,000
           the primary growth drivers (for now…)                                                                   $250,000,000
                                                                                                                   $200,000,000
            In 2015, Apple was still an ‘iPhone company’. Following                                               $150,000,000
             the launch of iPhone in 2007, Apple transformed itself from                                           $100,000,000                                                                                                                                         $81B
             a desktop computer company to a smartphone / tablet                                                       $50,000,000                                                                                        $38B

             company with 75% of revs from iPhone and iPad in 2015.                                                            $-
                                                                                                                                                                                                                                          F2018E
                                                                                                                                                                                                                                                   F2019E
                                                                                                                                                                                                                                                            F2020E
                                                                                                                                                                                                                                                                     F2021E
                                                                                                                                                                                                                                                                              F2022E




                                                                                                                                       F2007A
                                                                                                                                                F2008A
                                                                                                                                                         F2009A
                                                                                                                                                                  F2010A
                                                                                                                                                                           F2011A
                                                                                                                                                                                    F2012A
                                                                                                                                                                                             F2013A
                                                                                                                                                                                                      F2014A
                                                                                                                                                                                                               F2015A
                                                                                                                                                                                                                        F2016A
                                                                                                                                                                                                                                 F2017A




            Today, Apple is mix-shifting towards high-growth
                                                                                                                                                Services                            Hardware & Other
             Services revenue. We model Services doubling from $38B
             revenue in F’18 (14% of total) to $81B in F’22 (25% of                                            Source: Apple

             total).                                                                                           Exhibit 34: Services Revenue ($K); App Store & Music Drive Growth


                                                                                                                   $90,000,000
            App Store and Music are the primary growth drivers
                                                                                                                   $80,000,000
             today. App Store is on track to exceed $15B (+33% Y/Y) of                                             $70,000,000
             high-margin revs in F’18. And we estimate Music grew 65%                                              $60,000,000
             Y/Y to $4.1B.                                                                                         $50,000,000
                                                                                                                   $40,000,000
                                                                                                                   $30,000,000
            Other services include iCloud, AppleCare, Apple Pay,
                                                                                                                   $20,000,000
             Licensing, and iTunes. Apple is also investing in video (no                                           $10,000,000
             revenue yet) and Health could be a promising category over                                                     $-
             time.                                                                                                                   F2015A F2016A F2017A F2018E F2019E F2020E F2021E F2022E

                                                                                                                                     App Store                             Music                      Other Services

                                                                                                               Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                                                                                                   Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 242 of 607




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           Services Provide a Less Seasonal, More                                                                 Exhibit 35: Historically, Apple Revs Have Shown Seasonality…

           Consistent Revenue Stream for Apple                                                                                      Apple Quarterly Rev as % of Annual Rev
                                                                                                                                                                                                                                                                                Note: Q1 (in
                                                                                                                                                                                                                                                                                red) is the
            Apple historically generates ~30-35% of revenue in the                                                                                                                                                                                                             holiday Q

             December quarter, when new iPhones typically launch.
             Recent iPhone launches have tended to coincide with the
             prime holiday shopping period although this has not always
             been the case.

            Services does exhibit some seasonality, but FAR less
             than the hardware business. App Store does exhibit
             seasonality as users tend to download and pay for apps
             and content when they purchase new hardware. But                                                     Source: Apple, Jefferies Estimates
             services like Music (explicit subscription) and AppleCare                                            Exhibit 36: …But Services Revenue is Less Seasonal
             (revs recognized over service period) generate predictable                                                           Apple Quarterly Services Revenue ($K)
             revenue streams that should temper AAPL seasonality
                                                                                                                          $12,000,000
             going forward.
                                                                                                                          $10,000,000

            We think investors will be rewarded as AAPL mix shifts                                                        $8,000,000
             towards more recurring, high margin revenue streams.                                                          $6,000,000
             Other companies like Activision have gone through similar
                                                                                                                           $4,000,000
             mix-shifts, and investors were rewarded with higher
             multiples and stock prices.                                                                                   $2,000,000

                                                                                                                                      $-
                                                                                                                                                                                                                                                                                             Q1 19E




                                                                                                                                             Q1 07A
                                                                                                                                                      Q4 07A
                                                                                                                                                               Q3 08A
                                                                                                                                                                        Q2 09A
                                                                                                                                                                                 Q1 10A
                                                                                                                                                                                          Q4 10A
                                                                                                                                                                                                   Q3 11A
                                                                                                                                                                                                            Q2 12A
                                                                                                                                                                                                                     Q1 13A
                                                                                                                                                                                                                              Q4 13A
                                                                                                                                                                                                                                       Q3 14A
                                                                                                                                                                                                                                                Q2 15A
                                                                                                                                                                                                                                                         Q1 16A
                                                                                                                                                                                                                                                                  Q4 16A
                                                                                                                                                                                                                                                                           Q3 17A
                                                                                                                                                                                                                                                                                    Q2 18A




                                                                                                                  Source: Company Data
                                                                                                                                                                                                                                                                                                                  Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 243 of 607




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                                                                                                                 Exhibit 37: Services Growth and Margin Profile is a Key Profit
           With Superior Margin Profile, Services                                                                Driver for Apple
           Will Become an Increasing Driver of Total                                                                              Gross Profit Contribution by
                                                                                                                                                             y Segment
                                                                                                                                                                 g
           Gross Profit Over Time

           •   In Fiscal 2015, we estimate AAPL derived over 70% of
               gross profit from iPhone. Also in F’15, we believe
               Services contributed 13% of gross profit dollars, despite
               only accounting for 9% of revenue.

           •   By Fiscal 20, we believe Services will account for a
               full 30% of gross profit dollars, despite only accounting
               for 20% of revenue.
                                                                                                                 Source: Company Data, Jefferies Estimates
                                                                                                                 Exhibit 38: When We Average the Hardware Components of the
           •   Rough math, Services business has a blended ~60%                                                  Business They Are Only Growing 3% Versus Services Growing 21%
               gross margin profile, growing at a 21% CAGR (F’18-
               22). AAPL’s hardware & other businesses (everything
               except Services) boasts a 30% margin and is growing at a
               ~3% CAGR.                                                                                                                             Hardware                 Software

                                                                                                                   Gross Margin ('18)                                 30%                     61%
                                                                                                                   Growth Rate ('18-22)                                 3%                    21%




                                                                                                                 Source: Apple, Jefferies Estimates, Statista
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 244 of 607




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                                                                                                                Exhibit 39: As Services Grows 20%+ Over the Next 3 Years vs.
           Dispelling the Narrative that Services                                                               Decelerating Installed Base Rev per Device Can Grow

           Growth is Linked to Hardware (it’s ARPU)                                                                                 Average Revenue per Device


            ARPU, not Hardware growth, is the primary driver of
             Services. One of the more common misconceptions about
             Apple is that device penetration is the sole driver of
             Services revenue. While this is certainly important, we note
             Revenue per Device (ARPU) has been rising every single
             year and is the primary driver of overall Services growth.

            Underscoring this point, we believe Services will grow
             at a 21% CAGR through F’22, a period of time when we
             model iPhone units declining at a 1% CAGR.                                                         Source: Apple, Jefferies Estimates
                                                                                                                Exhibit 40: At Only $29 Per Year, Spend per Device is Lower Than
                                                                                                                Most Competing Subscription Services
            By 2021 we believe revenue per device will nearly                                                                   2018 ARPU of Competing Services
             double from $24 to $44. We believe AAPL has around
             300MM paying users today vs 1.3B active devices, implying                                            $140                        $126
             only one quarter of customers are paying for any of Apple’s                                          $120
                                                                                                                                                                                           $99
             Services.                                                                                            $100
                                                                                                                                                                            $77
                                                                                                                   $80                                        $67
            Apple Services ARPU well below competitor ARPU.                                                       $60

             While these are not true apples-to-apples comparisons, we                                             $40       $29
             still see significant upside to ARPU for Apple.                                                       $20

                                                                                                                    $0
                                                                                                                         Apple Services       Netflix        Spotify       Pandora     Amazon Prime


                                                                                                                Source: Company Data, Jefferies Estimates
                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 245 of 607




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                                                                                                                    Exhibit 41: Activision Has Successfully Pivoted From Title Driven Model
                                                                                                                    to in-Game Transaction Model
           Services Analogy: Activision (ATVI)
                                                                                                                                 Activision Digital Revenue ($MM)

           •   For almost a decade, video-game publisher Activision
               has been mix-shifting towards a higher-margin, more
               recurring ‘digital’ revenue base. Digital revenue grew
               from 27% of total in ’09 to 79% of revenue in ’16.

           •   Like AAPL, Activision used to be highly seasonal with
               significant revenue spikes in the December quarter,
               when Activision tends to release key new games. As
               ATVI’s revenue mix-shifted towards high-margin, recurring
               digital revenue, the seasonality became far less
                                                                                                                    Source: Company Data
               pronounced (see bottom chart). Activision now generates                                              Exhibit 42: As a Result of the Digital Shift, Activision Has Become a Far
               significant digital revenue even in quarters when it does                                            Less Seasonal Business
               not release a hit game.                                                                                     Activision Quarterly Rev as % of Annual Rev


           •   Activision’s digital revenue base has many
               similarities to Apple’s App Store. As with the App Store,
               ATVI’s digital revenue is growing every year despite the
               lack of explicit subscriptions or contracts. In fact, one of
               the primary growth drivers for App Store is robust growth
               in mobile video games.




                                                                                                                    Source: Company Data
                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 246 of 607




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                                                                                                                   Exhibit 43: Multiple Expansion Follows ATVI Digital Transformation
           Services Analogy: Activision (cont.)

           •   ATVI investors were rewarded with a higher multiple
               as revenue mix-shifted away from its ‘hits driven’
               origin. Forward PE expanded from ~12x to nearly 27x in
               2018.

           •   And the share price has increased significantly,
               boosted by the premium multiple and higher
               earnings. Like AAPL’s Services business, ATVI’s digital
               business is higher margin than the core business.
               Profitability was significantly boosted as the revenue
                                                                                                                   Source: Company Data, Jefferies Estimates
               became more predictable and profitable.
                                                                                                                   Exhibit 44: Activision’s Stock Price Fully Reflecting the Digital
                                                                                                                   Transformation
           •   ATVI’s digital business is so strong major games can                                                                     Activision 5 Year Stock Price
               flop and ATVI can still beat estimates. This is the power
               of high-growth, recurring revenue streams.




                                                                                                                   Source: Company Data
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 247 of 607




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                                                                                                                 Exhibit 45: Apple Services Mix Favors the App Store and the Large But
           We Are Encouraged by the Favorable Mix                                                                Rapidly Declining iTunes Store
           Shift in Services Towards the High Margin                                                                                         2015 Apple Services Mix
           App Store and the Recurring Subscription
           Music Business

           •   By 2020 we believe App Store and Music will account
               for over half of total Services revenue, up from around
               31% in F’15. App Store alone should account for 40% of
               Services revenue by F’20.

           •   App Store is (very) high margin. App purchases are
               recorded on a net basis, meaning cost of goods is very
                                                                                                                 Source: Apple, Jefferies Estimates
               low and gross margin is very high (~85%+ GM).                                                     Exhibit 46: By 2020, We Like the Mix Towards the High Margin App
                                                                                                                 Store and the Highly Recurring Music Streaming Business
                                                                                                                                             2020 Apple Services Mix
           •   Music is a low-margin subscription service, but
               margin should improve as the business scales.
               Though gross margin on Apple Music are lower than the
               overall Services business (SPOT gross margin is ~20%),
               Music creates a truly recurring revenue stream for AAPL.
               Compared to Spotify, Apple Music can market the offering
               to the existing 1.3B active users, rather than being forced
               to spend heavily on user acquisition.




                                                                                                                 Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 248 of 607




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                                                                                                                 Exhibit 47: Given the Size of the App Store Investors Need to Pay
           App Store: Why should we pay attention?                                                               Attention to its Growth as It Correlates Closely with Services Revenue
                                                                                                                          App Store Correlation to Apple Services Revenue
           •   App Store is the flywheel of Apple’s Services
                                                                                                                  $50,000,000
               business. As the largest, fastest growing, and highest
               margin of all Apple’s Services, we think App Store should                                          $40,000,000

               drive most of the growth for Services over the next three                                          $30,000,000
               years.
                                                                                                                  $20,000,000
                                                                                                                                                                           R² = 0.9537
                                                                                                                  $10,000,000
           •   App Store revenue is highly correlated to overall
               Services revenue. We calculate r squared of 0.95. As the                                                    $0
                                                                                                                                 F2013A     F2014A     F2015A     F2016A     F2017A     F2018E
               App Store continues to drive an increasing percentage of
                                                                                                                                        Services Revenue    App Store Revenue
               the overall Services business we believe it is critical to
               monitor inter-quarter activity and data points.                                                   Source: Apple, Jefferies Estimates
                                                                                                                 Exhibit 48: App Store is Triple the Size of the Second Largest Service
                                                                                                                 and Growing 24% CAGR ’18-21
           •   We believe App Store growth should persist. We
                                                                                                                                       App Store Revenue (in $1000s)
               forecast a 24% CAGR (F’18-21), potentially reaching
               40% of Services revenue by F’20.




                                                                                                                 Source: Apple, Jefferies Estimates
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 249 of 607




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                                                                                                                  Exhibit 49: Growth in App Store Content Continues to Accelerate 10
           Like Clockwork: Every Year, More Users                                                                 Years Following App Store Launch
           Spend More Money on Apps. And Apple                                                                                  Number of Available Apps in App Store (1000s)

           Takes a 30% Cut.

           • Per device, spending on Apps grew 33% from F’15 to
             ’18. This is driven by many factors including rising
             consumer adoption of online services, increasing
             broadband penetration, and more time spent with mobile
             devices.

           • Mobile games a significant growth driver for in-app
             spending and ARPU. Most games are available for free
                                                                                                                  Source: Apple, Sensor Tower, Jefferies Estimates
             and incentivize users to spend real money on in-game
                                                                                                                  Exhibit 50: Increase in Spend per User Implies a Higher Customer
             items and services.                                                                                  Lifetime Value
                                                                                                                          U.S. Average User Spending on iPhone Apps and Y/Y Growth
           • There’s an app for that. We also track strong growth in the
             number of apps available in the App Store. The number of
             apps grew at a 22% CAGR between F’15 and F’18.




                                                                                                                  Source: Apple, Sensor Tower, Jefferies Estimates
                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 250 of 607




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                                                                                                                 Exhibit 51: Mobile Gaming the Largest Driver for App Store Revenue
           The $70B Mobile Gaming Industry is                                                                    and Growth is Accelerating
           Fueling App Store Growth.                                                                                         U.S. App Store Revenue Per Active iPhone


           •   Mobile gaming grew 25% Y/Y to $70B in 2018 and
               Apple looks like a primary beneficiary of this robust
               growth. Apple effectively takes a 30% cut of effectively
               every gaming transaction on iOS. It’s a fantastic business.

           •   We believe ~75% of App Store revenue comes from
               mobile games, despite only accounting for 31% of
               downloads. Gamers are spending heavily, with ARPU 9x
               higher than other app categories. ARPU grew from $25 in
               2015 to $36 in 2017, a 44% increase in just two years.                                            Source: Sensor Tower
                                                                                                                 Exhibit 52: In-Game Transactions Have Proven to Be a Driver of
                                                                                                                 Consumer Spend Despite Being a Lower Percentage of Downloads
           •   These number imply Apple is one of the largest                                                                Gaming Drives ~75% of App Store Revenue
               mobile gaming companies in the world. Tencent is on
               track to deliver around $12B of mobile game revenues in
               2018. Apple is likely close behind.

           •   Unlike traditional mobile gaming companies, Apple
               has no title risk. Apple takes a 30% platform fee for
               every transaction, regardless of what game is hot at the
               moment.

           •   The recent game approval freeze in China could be a
               short term headwind.                                                                              Source: App Annie
                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 251 of 607




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                                                                                                                  Exhibit 53: Services Profitability Should be Driven by Growth in the
           App Store Charges a 30% Platform Fee;                                                                  High Margin App Store and Declines in the Low Margin iTunes Store
           Underscoring How Developers Will Pay                                                                                App Store vs. iTunes Margin and Growth Rate
           Dearly to Access the Apple Ecosystem
                                                                                                                                         App Store iTunes Store
                                                                                                                    2018 Revenue (in $B)     $15.08        $3.62
           • Apple has paid out over $100B to app developers since
             launching the App Store in 2008. This implies AAPL has                                                 Gross Margin               85%          25%
             booked almost $43B in App Store revenue LTD. For app                                                   Growth Rate ('18-21)       24%          -5%
             purchases, Apple revenue is booked net of the payment to
             developers. iTunes purchases (movies, etc) are recorded
             gross of the payment.

           • Apple charges developers a 30% platform fee, but in
                                                                                                                  Source: Company Data
             2016 Apple made a decision to only take a 15% cut
                                                                                                                  Exhibit 54: Developers Have Contributed Well Over $100B in
             from subscription apps that have been active on the App                                              Value to the App Store
             Store for over 1 year. This decision is likely used as an                                                      Developer Payout and Gross App Store Revenue($B)
             incentive to drive more subscription revenue across the
             platform. Subscription revenue is inherently stickier and
             more predictable.

           • The 30% platform fee has otherwise held steady for the
             past decade. For now we think app developers will
             continue to pay Apple to access this vibrant marketplace.
             Over time it is possible this 30% cut could be undermined,
             which would be an obvious negative.


                                                                                                                  Source: Company Data
                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 252 of 607




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                                                                                                                 Exhibit 55: Downloads on Google Play are Outpacing App Store
           App Store is a Premium Marketplace Full                                                               Downloads
           of High Spenders and High Quality,                                                                                         Worldwide App
                                                                                                                                                 pp Downloads (B)
           Optimized Apps

           •   App Store generates roughly 2x the spending vs the
               Google Play store. This is despite Google Play having 3x
               the number of downloads compared to the App Store.

           •   Apple’s App Store is the premium marketplace.
               Google Play is the mass marketplace. App Store
               downloads (2.5% ’17-22 CAGR) are forecasted to grow at
               a slower rate than Google Play downloads (9% CAGR)
               going forward, but consumer spending should remain                                                Source: App Annie

               significantly higher on the App Store growing 13% CAGR                                            Exhibit 56: App Store’s Spend is Nearly Double the Google Play Store
               (’17-22) and off a far larger base.                                                                                    Worldwide Consumer Spend ($B)

           •   For most app developers, supporting iOS is a no
               brainer. Consumers spend significantly more. And it is
               significantly easier to optimize and support your app for
               iOS vs Android, where developers have to support
               thousands of various devices, each with own display size,
               features, specs.




                                                                                                                 Source: App Annie
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 253 of 607




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                                                                                                                  Exhibit 57: Even As Android Has Grown Its Share of the Global
           Why Does the App Store Capture Greater                                                                 Smartphone Market, the App Store Remains Better Monetized Platform
           Share of Total Consumer Spend?                                                                                             Share of Worldwide Consumer Spend


           • The App Store has managed to remain a strong lead in                                                         14%
                                                                                                                                       31%                                      34%           34%
                                                                                                                                                    38%           38%
             total consumer spend (66% vs. 34% in 2017) even as
             Android has grown its global market share and expanded
             Google Play Store.
                                                                                                                          86%
                                                                                                                                       69%                                      66%           66%
                                                                                                                                                    62%           62%
           • Annual Android shipments have historically been 5x
             iPhone shipments implying developers are selling their
             apps to a smaller, but premium consumer.                                                                     2012         2013         2014          2015          2016          2017
                                                                                                                                                iOS App Store     Google Play

                                                                                                                  Source: App Annie
           • We note that iPhone users have significantly higher
                                                                                                                  Exhibit 58: Android Should Ship Over 1.2B Devices vs. iOS ~218M
             incomes. Pew Research noted that 40% of iPhone users                                                 Implying a 5x Smaller Base for Apple to Sell its Apps
             have incomes exceeding $75K per year vs. only 31% for                                                         Worldwide Smartphone Shipment Market Share
             Android users. Additionally, only 13% of iPhone users earn
             less than $30K per year vs. 28% for Android users.




                                                                                                                  Source: IDC
                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 254 of 607




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                                                                                                                 Exhibit 59: App Store Users Spend 10x More Time on Socials Apps than
           Social Apps Still Dominate Time Spent on                                                              Gaming Apps
           Mobile Apps                                                                                                            Total Mobile Apps by Total Session Time
                                                                                                                          Overall                     App Store                Google Play
           •   App Store users are spending 10x more time on                                                          1   WhatsApp (85B hrs)          Facebook (31B hrs)       WhatsApp (59B hrs)
               social vs gaming or entertainment apps. For example,                                                   2   WeChat                      Twitter                  FB Messenger

               between May and July, consumers spent about 3B hours                                                   3   Facebook                    Google Maps              WeChat
                                                                                                                      4   FB Messenger                Pandora                  Facebook
               playing Fortnite, the most popular game of 2018. This
                                                                                                                      5   Pandora                     WhatsApp                 Twitter
               compares to about 31B hours spend on Facebook over
                                                                                                                      6   YouTube                     YouTube                  Instagram
               the same time period.                                                                                  7   Instagram                   Instagram                Google Maps
                                                                                                                      8   Twitter                     FB Messenger             Pandora
           •   Any shift towards gaming would be a driver of App                                                      9   Google Maps                 WeChat                   Microsoft Outlook
               Store revenue. This is because gaming, which is a very                                                10 Spotify                       Snapchat                 Netflix
                                                                                                                 Source: apptopia, May-July 2018
               well monetized service, occupies just a fraction of the time
               spent compared to free social apps like Facebook and                                              Exhibit 60: Despite Spending 10x Less Time on Gaming Apps Users
                                                                                                                 Still Capture 75% of Total App Store Spend
               Twitter.
                                                                                                                                     Top Gaming Apps by Total Session Time
                                                                                                                          Overall                      App Store              Google Play
                                                                                                                      1   Clash of Clans (3.8B hrs) Fortnite (2.9B hrs)       Cash of Clans (2.9B hrs)
                                                                                                                      2   My Talking Tom               Helix Jump             Lords Mobile
                                                                                                                      3   Candy Crush Saga             Sniper 3D Assassin     Clash Royale
                                                                                                                      4   Fortnite                     PUBG Mobile            My Talking Tom
                                                                                                                      5   Lords Mobile                 Happy Consumers        Candy Crush Saga
                                                                                                                      6   Subway Surfers               Fight List             Subway Surfers
                                                                                                                      7   Helix Jump                   Clash of Clans         Fishdom
                                                                                                                      8   Slither.io                   Subway Surfers         Block Puzzle Jewel
                                                                                                                      9   PUBG Mobile                  Candy Crush Saga       Slither.io
                                                                                                                     10 Fishdom                        Homescapes             Plants vs. Zombies

                                                                                                                 Source: apptopia, May-July 2018
                                                                                                                                                                                                                              Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 255 of 607




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                                                                                                                                  Services         Wearables

                                                                                                                  Exhibit 61: An Increasing Number of Apps are Driving Over $1M in
           How Can Spending Increase When an                                                                      Spend
           Increasing Amount of Apps are Free?                                                                            Number of Apps with More Than $1M in Consumer Spend


           • The percentage of free apps has risen from ~33% to
             ~94% since the introduction of the App Store in 2008.
             Going forward we expect a further mix-shift towards free
             apps.

           • The name of the game is maximizing the number of
             downloads by offering the app for free. Once the app
             has an audience, it can begin to monetize the fan base with
             more in-app features and upgrades.
                                                                                                                  Source: App Annie

                                                                                                                  Exhibit 62: Growth in the “Fremium” Model for Gaming Provides
           • This freemium model is a nice tailwind to the App Store                                              Another Incentive for In-Game Spend
             as Apple takes a 30% cut of any transaction that occurs in                                                         Share of App Store Downloads, Free vs. Paid
             the app.

           • On average, 20% of free apps get 10K downloads. This
             compares to 0.2% of paid apps getting more than 10K
             downloads. The number of apps with over $1MM in
             consumer spend has grown at a 30% CAGR between ’12
             and ’17, from just 770 apps to 2,857 at the end of 2017.

           • In short, free appÆ more downloadsÆ greater
             monetization opportunity
                                                                                                                  Source: eMarketer
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 256 of 607




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                                                                                                                 Exhibit 63: We fully expect tailwinds in music streaming to drive Apple
           Apple Music – Rapid Uptake of                                                                         Music
           Subscription Music Offering Rescues Apple                                                                            Music Streaming on the Rise (Rev in $1000s)
           from the Decline of iTunes

           •   We believe Apple Music is the fastest-growing of all
               Apple’s Services. Introduced in 2015, Apple now has
               over 50 million paid subscribers. After a 3-month free trial,
               Music costs $9.99 per month.

           •   The recurrent revenue stream provided by Apple
               Music should provide an increasingly favorable Music
               mix as the subscription model (versus digital downloads
                                                                                                                 Source: Company Data, Jefferies Estimates
               via iTunes) should provide Apple with greater visibility.
                                                                                                                 Exhibit 64: The iTunes User Base is Large and Shifting to Music
                                                                                                                 Streaming
           •   Is Apple Music’s TAM 800m potential users? We note                                                                       Streaming vs. iTunes Economics
               that in 2014 iTunes had 800m accounts. Given we know
                                                                                                                                                   Apple Music                     iTunes
               that there are around 50m Music users there is only a
                                                                                                                  Payment method                Monthly subscription        Charged per song/video
               6.25% penetration into the iTunes user base. Additionally,                                                                                                         download
               we do not view cannibalization of iTunes as a concern for                                          Number of users                        50m                        *800m
               Apple, as the music streaming business is a more                                                   Price per download                      --                $1.29 per song, $19.99
               recurring business with opportunities for margin                                                                                                             per movie, ~$40 per TV
                                                                                                                                                                                    series
               improvement with scale.                                                                            Monthly fee                   $9.99 for individuals,                 --
                                                                                                                                              $14.99 for families, $5.99
                                                                                                                                                    for students

                                                                                                                  *Users as of 2014

                                                                                                                 Source: Company Data
                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 257 of 607




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                                                                                                                               Services          Wearables

                                                                                                                 Exhibit 65: Though Growing From a Small Base, Music Can Eventually
           Apple Music Can Scale to $8B by F’20 (14%                                                             Contribute a 14% of the Overall Services Mix
           of Services Rev), With a Sticky,                                                                                         Apple Music Revenue ($1000s)
           Subscription Revenue Model

           •   We believe Music will grow 65% Y/Y to $4.1B in F’18
               and forecast it to cross $14B of revenue by F’22.
               Conversely, we model iTunes declining at a ~10% CAGR
               (’14-17) and assume Music will surpass it in F’18.

           •   It took Spotify 12 years to reach 83MM paid subs;
               Apple took 3 years to cross 45MM. We attribute the
               rapid adoption of Music to Apple’s already existing 1.3B
                                                                                                                 Source: Company Data, Jefferies Estimates
               device installed base. We are also encouraged by the
                                                                                                                 Exhibit 66: Of the 3 Biggest Streaming Services Globally, Apple
               economics of Music as the model should scale faster than                                          Continues to Exhibit the Most Impressive Growth Rates
               Spotify as they will likely need to spend less on customer                                                    Global Music Streaming Subscribers (MMs)
               acquisition and marketing related costs.




                                                                                                                 Source: Company Data
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 258 of 607




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                                                                                                                                 Services          Wearables

                                                                                                                Exhibit 67: Apple Music is Still in Its Infancy with Plenty of Room to
           Low Apple Music Penetration Against                                                                  Convert iTunes Users

           Global iOS Device Install Base Suggests                                                                           Apple Music Penetration vs. Installed Base

           Continued Growth Going Forward

           • At the moment, Apple Music only has around 50m
             subscribers versus a total installed base of 1.3B active
             devices, implying that Music is only about 4% penetrated
             across its user base. We see a significant opportunity to
             grow this base over time.

           • We assume that Apple Music has a higher ARPU than
             its competitors (i.e. Spotify) due to the fact that Apple has                                      Source: Company Data, Jefferies Estimates
             a more dominant share in the U.S., whereas Spotify has                                             Exhibit 68: Apple Music Likely Makes More per User Vs. Competitors
             been focusing on international expansion where pricing is                                          Given Larger U.S. Presence
             income adjusted.                                                                                                        ARPU of Music Streaming Services


           • Pandora, which has a strong presence in the U.S. has a
             higher 15% higher ARPU than Spotify. Tencent Music,
             based in China, now has over 33M users




                                                                                                                Source: Company Data, Jefferies Estimates
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 259 of 607




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                                                                                                                     Services         Wearables


               Exhibit 69: Streaming is the Future of Music. The Industry is Growing for the First Time in 20 Years.

                                                              U.S. Recorded Music Revenues (in $MM) by Format




               Source: RIAA
                                                                                                                                                                                                              Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 260 of 607




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                                                                                                                  Exhibit 70: Nearly All of the Music Industry’s Growth Will Come from
           Streaming will Power All the Growth in                                                                 Streaming
           the Music Industry                                                                                        Music Industry Growth Profile (Est CAGR for next 5 years)


           • Streaming will be the primary growth driver for the
             music industry over the next 5 years. IFPI estimates it
             will grow at a 21% 5-year CAGR.

           • Streaming revenue has already begun to inflect the
             music industry. 2016 marked the first time in 20 years the
             music industry grew as a whole. This is a very different
             scenario than when iTunes and other digital download
             formats were introduced in the early 2000s. Those services
             did not defend the industry against the collapse of CD                                               Source: IFPI

             revenues, and paid downloads ultimately failed to transform                                          Exhibit 71: Much of the Music Industry Has Not Yet Shifted to Streaming
                                                                                                                  Formats
             how consumers enjoy music.
                                                                                                                          Music Streaming as % of Total US Music Revenue

           • Music streaming is still early days with plenty of room
             for growth. Before the release of Apple Music at the end of
             2015, streaming only made up 34% of the total music
             industry. Today, more than 35% of music is still consumed
             through traditional formats. Apple has the platform and
             existing user base to acquire new streamers.




                                                                                                                  Source: RIAA
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 261 of 607




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                                                                                                                                  Services         Wearables

                                                                                                                 Exhibit 72: The Music Ecosystem is Stronger with Complementary Apple
           The Music Ecosystem is Stronger with                                                                  Products
           Complementary Apple Products

           • Unlike Spotify and Pandora, Apple Music is more easily
             able to acquire users who already own Watches,
             iPhones, HomePods, and AirPods. The cross-selling
             opportunities have allowed Apple to grow its paid subscriber
             base from just 6M subs in ’15 to over 50m subs by ’18.

           • The ability to play your Apple Music library directly
             from your Apple Watch should incentivize Spotify users
             to transition into the Apple ecosystem. There are
             currently 83m Spotify premium users to only 50m Apple
             Music subscribers. We anticipate that Apple will be able to
             sell over 20m watches in 2018 compared to 16.5m in 2017.
             The introduction of new devices into the ecosystem should
             help drive greater Apple Music adoption.




                                                                                                                  Source: Apple
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 262 of 607




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           Licensing & Other – A Steady Source of                                                                Exhibit 73: Apple’s Licensing Should Remain a Steady Source of Revenue

           Revenue for Apple                                                                                                     Google Licensing Rev to Apple (in $1000s)



           •   Licensing is yet another example of Apple generating
               value from its ecosystem. In 2014 court documents
               revealed Google had paid Apple $1B to be Apple’s default
               search engine.

           •   Today, we assume Google is paying Apple roughly
               $4B. This implies the payment has grown annually at a
               similar rate to Google’s TAC. Remember, Google TAC is
               growing due to a number of factors including rapid growth
               of YouTube. This limits the total amount that Google is                                           Source: Company Data, Jefferies Estimates
               paying Apple.                                                                                     Exhibit 74: Google’s Services Remain Very Popular on Apple’s Platform

                                                                                                                               All Time App Store Download Rankings
           •   Google services remain very popular on Apple’s
               platform. Google’s YouTube and Maps apps are two of                                                 Rank               App                    Publisher               Release
               the top-ten most downloaded apps of all time in the App                                               1             Facebook                   Facebook               Jul-08
               Store. This implies Google relies heavily on the Apple                                                2       Facebook Messenger               Facebook               Aug-11
                                                                                                                     3             Youtube                     Google                Sep-12
               platform and we anticipate Google will continue to pay
                                                                                                                     4            Instagram                   Facebook               Oct-10
               Apple every year to remain the default search provider.                                               5               Skype                    Microsoft              Mar-09
                                                                                                                     6       WhatsApp Messenger               Facebook               May-09
                                                                                                                     7         Find My iPhone                   Apple                Jun-10
                                                                                                                     8           Google Maps                   Google                Dec-12
                                                                                                                     9              Twitter                    Twitter               Oct-09
                                                                                                                     10            iTunes U                     Apple                Jan-12

                                                                                                                 Source: App Annie
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 263 of 607




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                                                                                                                 Exhibit 75: By 2019, US Consumers Should Spend More Time
           Video Streaming Service: A Long-Term Call                                                             Consuming Content on Mobile Devices than on TV
           Option, but We Are Skeptical                                                                                          Average Time Spent Per Day (Minutes)


           •   Today Apple is reportedly spending $1B to create
               video content. This works out to around 1.4% of Apple’s
               F’18 EBIT and 0.4% of revenue, and as such seems like a
               measured bet. Nevertheless, Apple could decide to
               (rapidly) increase the amount it is investing in content to
               compete with services like Netflix, which is investing $8B
               this year.

           •   By producing its own video series, Apple is taking
               creative risk. This is not a core competency. It is also a                                        Source: eMarketer

               very different strategy than what is happening with Apple                                         Exhibit 76: Apple Announced Streaming Service is Still Early Days
                                                                                                                 and $1B in Annual Spend Represents a Sliver of Total Revenue
               Music, where Apple licenses others’ music.
                                                                                                                             Comparable Media Companies Spend (FY 2018)

                                                                                                                                      Media Services Content
           •   It is unclear how Apple intends to monetize video
                                                                                                                                      Spend ($B)             % of Revenue
               content. Today, the strategy appears to be giving away
               the video for free. The content will also eschew darker                                             Apple                                             $1.0                   0.38%
               and more mature themes. While it is hard to comment on                                              Netflix                                           $7.8                 49.00%
               content until we have viewed it, this seems like another                                            Disney                                            $7.8                 13.33%
               reason to be skeptical.                                                                             Amazon                                            $4.5                   1.91%
                                                                                                                   HBO                                               $8.0                   4.62%
           •   Acquiring content (M&A) may be a more rational
               strategy. Apple’s war chest is obviously large enough to
               pursue any deal, including companies like Netflix.
                                                                                                                 Source: Company Data, Jefferies Estimates
                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 264 of 607




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           Wearables:
           Another Accelerating Business Being Built
           Atop Apple’s Core Ecosystem
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 265 of 607




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                                                                                                                                           Wearables




                We see a large opportunity to sell wearable devices that
                          connect to Apple’s robust ecosystem.

                1.      AirPods are a killer product with significant growth potential over time. We see them
                      everywhere, but penetration against the iPhone install base remains low (<10%). They are the perfect
                     complement to iPhone, which hasn’t had a headphone jack since 2015. When paired with Apple Watch
                         (cellular version) and Apple Music, you have an absolutely phenomenal untethered (no iPhone)
                                                                   experience.

           2.        Already popular, the completely redesigned Apple Watch Series 4 should drive a step-up
                     in sales. We see similarities to iPhone 4, which saw a significant step up in sales driven by its complete
                     design overhaul and ongoing product improvements. As with iPhone, we model higher units and ASP.
                      Apple Watch Series 4 costs ~38% more than Series 3 and we believe this is a durable revenue stream.

           3.        Over time we see an opportunity for Apple to introduce other products. Apple is reportedly
                     working on Virtual Reality / Augmented reality glasses. And we see an opportunity to introduce other
                                           products like hearing aids and fitness trackers over time.
                                                                                                                                                                                                                  Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 266 of 607




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                                                                                                                                          Wearables


              Exhibit 77: Other Products Revenue
                                                                                                                                                      Apple
                                                                                                                                                      Watch
                                                                                                                                                     Series 4

                                                                                                                                     Apple Watch
                                                                                                                       AirPods         Series 3
                                                                                                             Apple
                                                                                                             Watch
                                                                                             Apple          Series 2
                                                                                             Watch



                                                                                               Beats
                                                                       Apple TV              acquisition
                                                                        3rd gen




                             • Before Apple Watch in 2015, growth in “other products” was lumpy and driven by one off hit releases
                             • Since the Watch growth from ’16-18 has been steady and is accelerating off an increasingly large base

               Source: Jefferies Research, Apple
                                                                                                                                                                                                                 Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 267 of 607




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                                                                                                                                                    Wearables

                                                                                                                  Exhibit 78: Prior to Acquiring Beats in 2014 Apple Had No Share of the
           Wireless Headphones– A New Frontier for                                                                Wireless Headphone Market
           Apple                                                                                                           Share of Wireless Headphone Market (Pre-AirPods)


           • Prior to the introduction of AirPods in the first quarter
             of 2017 and the acquisition of Beats in late 2014, Apple
             had a 0% share of the wireless headphone market,
             which in the US alone was a $650M industry (Statista).

           • Following the Beats acquisition and the development
             of AirPods in 2017, Apple now controls over 40% of the
             wireless headphone market, a market that is forecasted
             to grow at a 26% CAGR (’18-22) and become a $2.5B
             market in the U.S by 2022. We note that Apple’s 40% share                                            Source: Slate, Parse.ly

             of the wireless headphone market is more than double its                                             Exhibit 79: After Acquiring Beats and Developing AirPods (1Q’17)
                                                                                                                  Apple Now Has 40% Share of the Wireless Headphone Market
             next closest competitor, Bose, which only has 16% market
                                                                                                                          Share of Wireless Headphone Market (Post-AirPods)
             share. We are excited about the prospect for AirPods
             versus competitors, as they can be marketed to an installed
             base of over 1.3B devices.




                                                                                                                  Source: Slate, Parse.ly
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 268 of 607




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                                                                                                                                                    Wearables

                                                                                                                  Exhibit 80: We Believe AirPod Revenue Can Triple by 2019 as Adoption
           New Generations of iPhones to Carry                                                                    Grows With Newer iPhone Models
           Higher AirPod Attach Rates                                                                                                        AirPod Revenue ($1000s)

                                                                                                                                                       2017              2018E              2019E
           • Since its release in 2017, AirPods have been a smash
                                                                                                                   Attach Rate                        6.46%            12.86%             18.72%
             hit, selling ~13-14m units with the opportunity to
                                                                                                                   AirPods                          14,000             28,000             40,000
             double units in 2018. This implies that AirPods will make
                                                                                                                   ASP                                   140               159                159
             up roughly 25% of the fast growing “other products”
                                                                                                                   Airpod Revenue                 $1,960,000         $4,452,000         $6,360,000
             category.

           • AirPods are the killer complement to iPhone, which
             hasn’t had a headphone jack since 2015. We estimate
             that in 2017 roughly 25% of iPhones sold still had a
             headphone jack (iPhone 6 and older gens). By 2018, we                                                Source: Canalys, Jefferies Estimates

             believe only 13% of iPhones sold will be compatible with                                             Exhibit 81: The Lack of a Headset Jack on Newer Generations of iPhones
                                                                                                                  Should Drive Greater AirPod Attach Rates
             wired headphones. We model the iPhone attach rate                                                               iPhone Unit Sales (1000s) With and Without a
             growing to 18%, resulting in $6.4B revenue in 2019.                                                                           Headphone Jack

                                iPhone 6                                          iPhone X                                                                              2017             2018E
                                                                                                                    No Headphone Jack                            160,500 191,450
                                                                                                                               % of Total                         73.90% 87.04%
                                                                                                                    Headphone Jack                                  56,700             28,500
                                                                                                                               % of Total                         26.10% 12.96%
                      iPhone 6 generation
                      had headset jack                                                                            Source: Canalys, Jefferies Estimates
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 269 of 607




                                                        iPhone 7 generations and
                page 62 of 83                           onward have no headset                                                          Timothy O'Shea, Equity Analyst, (212) 284-3415, toshea@jefferies.com
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                                                        jack




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                                                                                                                                                Wearables

                                                                                                                 Exhibit 82: While the Wearables Market Lagged ’16-17, Apple’s Growth
           Apple Already the Most Successful                                                                     Accelerated
           Wearables Company                                                                                                     Global Wearables Shipments (MM)


           •   In addition to its nearly $40B services business,
               Apple is also strategically shifting into the fast
               growing wearables category. According to IDC
               estimates, the global wearables business is estimated to
               grow 18% CAGR (’17-21), compared to the global
               smartphone market, which is only growing 2.5% CAGR
               (’17-21)

           •   Most of the growth in the global wearables market
               has come from smartwatches, which are expected to                                                 Source: IDC

               grow from under 30m in 2017 to over 78m in 2021 (27%                                              Exhibit 83: In the Past 2 Years Apple Has Nearly Doubled Its Share in the
                                                                                                                 Wearables Market While Competitors Share Has Shrunk
               CAGR ’17-20). It is worth mentioning that the other high
                                                                                                                                   Global Wearables Market Share
               growth category is earwear, which is likely to grow off a
               small base at 58% CAGR (’17-21) to 10.6m annual
               shipments.

           •   Of the three largest players in the global wearables
               market (Apple, Xiaomi, and Fitbit) we note that Apple
               is the only company that has seen a growth in its
               market share. Apple’s share has grown from 9.6% in 2Q
               ’16 to 17% in 2Q ’18 compared to Fitbit’s share, which
               shrunk from 24.1% in 2Q ’16 to 9.5% in 2Q ‘18

                                                                                                                 Source: IDC
                                                                                                                                                                                                                       Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 270 of 607




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                                                                                                                                                     Wearables

                                                                                                                  Exhibit 84: Improvements to the Watch Have Helped Improve
           Watch Out Switzerland! Apple Watch                                                                     Adoption
           Already the Best-Selling Watch in the                                                                                          Apple Watch Shipments (MM)

           World and Redesigned Series 4 Will Likely
           Widen the Gap

           • In just 2 years, Apple has more than quadrupled its
             Watch shipments, from just 1.5m in Q1 ’16 to 8.0m in
             Q4 ’17. Despite only launching in mid 2015, according to
             Canalys estimates Apple shipped more Watches than all
             Swiss watchmakers combined in calendar Q4 ’17. This
             shows how Apple is able to scale far better than
             competitors due to existing loyal userbase
                                                                                                                  Source: Canalys (calendar quarters)
                                                                                                                  Exhibit 85: Apple Watch Has Double the Share of Its Closed
           • Apple dominates the smartwatch market with nearly                                                    Competitor Fitbit
             double the share of second place competitor Fitbit. It is                                                                 Apple Watch Market Share, Q2 2018

             likely that Apple Watch is able to maintain such a dominant
             share due to the device’s compatibility with other Apple
             devices like the iPhone and AirPods.

           • The Apple Watch offering is very compelling. The latest
             model offers features like ECG readings, fall detection, in
             addition to high value existing features like making calls,
             connecting to Apple Music, and LTE wireless connection. As
             Apple continues to add new features to its Watch, the TAM
             should also expand.
                                                                                                                  Source: Canalys
                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 271 of 607




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                                                                                                                                                    Wearables

           Apple Watch Series 4 is Compelling Product                                                              Exhibit 86: Larger Screen Sizes Should Help to Attract Incremental
                                                                                                                   Buyers
           with Bigger Screen, Health Features

           • Improved consumer adoption of the new Apple Watch Series 4
             should be driven not only by better features (ECG, fall
             detection, etc.), but also by the larger display. The Series 4
             carries a $120 premium to its predecessor on both the smaller and
             larger models.
                                                                                                                     38mm Series 3     40mm Series 4          42mm Series 3       44mm Series 4
           • Apple Watch as health sensor; a highly compelling                                                       and earlier                              and earlier

             opportunity. Formerly competing against various fitness trackers                                        Starting +43%          Starting            Starting +38%          Starting
             like Fitbit, Apple Watch is now in a league of its own with serious                                     price: $279            price: $399         price: $309            price: $429
             health features like electrocardiogram readings, heart rate
             monitors, and fall detection. Users will bring Apple Watch to doctor                                  Source: Apple
             visits, integrating Watch into the hospital ecosystem. Over time                                      Exhibit 87: Apple Customers Have Historically Responded Positively
             expect more sensors and potentially new Services that capitalize                                      to Increases in Screen Size (FY14 vs. FY15 Lineup)
             on these health features.                                                                                         iPhone 5                                 iPhone 6 Plus


           • Apple Watch’s development cycle has clear parallels to
             iPhone. Like AW Series 4, iPhone 4 was that product’s first
             complete redesign and was when iPhone truly went mainstream.
                                                                                                                                                    +37% Unit
             iPhone 6 Plus reflected a 38% screen size vs iPhone 5 counterpart                                                       4.0”            Growth                   5.5”
             and drove a 37% increase in unit sales.

             •   Series 0 / 1 – Heart rate sensor.                                                                                                  +11% ASP
                                                                                                                                                     Growth
             •   Series 2 – GPS, water resistance, faster processor.

             •   Series 3 – Fitness features like altimeter. Cellular connectivity. Siri can speak.

                                                                                                                   Source: Apple
             •   Series 4 –Complete redesign. Larger screen. Health features like ECG and fall
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 272 of 607




                 detection.
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                                                                                                                                                    Wearables


           Attach Rates for Apple Watch Should Rise Over                                                          Exhibit 88: Higher Watch Attach Rates and ASP Growth to Drive
                                                                                                                  Wearables Revenue
           Time
                                                                                                                                                         2017E         2018E             2019E

           • As global smartwatches continue to expand, we believe                                                  iPhone Unit Sales (1000s)         216,756           217,683     212,704
                                                                                                                    Attach Rate                         7.59%             9.50%      12.00%
             there will be a material increase in the attach rate                                                   Apple Watch Units                  16,461            20,680      25,524
             between iPhone and the Apple Watch. In our base case for                                               ASP                                  $415              $415        $435
             2018 we assume the attach rate rises to 9.5% in 2018, which                                            Apple Watch Revenue           $6,831,315        $8,582,152 $11,103,157
             should grow revenue 25% to $8.5B in 2018 from $6.8B in
             2017.

           • Our 2019 forecast assumes that the attach rate moves to
             12% and Watch ASP grows to $435, driven by greater
             sales of the higher priced LTE models. Greater adoption of                                           Source: Canalys, Jefferies Estimates
             the Apple Watch and higher ASPs, can drive revenue above                                             Exhibit 89: Watch Revenue is Highly Sensitive to ASP Growth and
             $11B by 2019.                                                                                        Attach Rate Assumptions
                                                                                                                                                 Bull Case
                                                                                                                                                         2017E          2018E            2019E
           • In our bull case scenario for the Apple Watch, we model                                                  iPhone Unit Sales (1000s)        216,756     217,683     212,704
             greater consumer adoption as well as a higher ASP,                                                       Attach Rate                        7.59%      10.50%      15.00%
                                                                                                                      Apple Watch Units                 16,461      22,857      31,906
             which would be driven by better than expected consumer
                                                                                                                      ASP                                 $415        $445        $475
             preference for the LTE connected models. We believe                                                      Apple Watch Revenue          $6,831,315 $10,171,238 $15,155,171
             there is upside to our Watch estimates if consumers view the                                                                              Bear Case
             device as a standalone product that can be bought                                                                                           2017E          2018E            2019E
                                                                                                                      iPhone Unit Sales (1000s)        216,756          217,683           212,704
             independently of an iPhone purchase.                                                                     Attach Rate                        7.59%            9.00%            11.00%
                                                                                                                      Apple Watch Units                 16,461           19,591            23,397
           • In our bear case scenario for the Apple Watch, we                                                        ASP                                 $415             $410              $420
                                                                                                                      Apple Watch Revenue          $6,831,315       $8,032,503        $9,826,932
             assume lower attach rates as well as lower ASPs. The
             biggest risk to our call is that consumers push back on price                                        Source: Canalys, Jefferies Estimates
                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 273 of 607




             and  decide to opt for the non-LTE enabled devices.
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           Risks:
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 274 of 607




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            Risks to Our Call                                                                                      Exhibit 90: Apple Suppliers in Asia
           • A trade war with China would have material impact on sales,
             COGS, ASP. We believe iPhone cost would increase 20-30% in a
             worst-case scenario. As with the revamped NAFTA agreement
             between the US, Canada and Mexico, we expect brinksmanship
             with China might take us to the edge of a cliff, but neither side
             wants to jump.
                                                                                                                                    South Korea:
           • If consumers balk on higher prices, this would be a material                                                           Samsung                          Japan:
             negative. iPhone prices have increased for the past two years. To                                                      LG Display                       Japan Display
             date there is little evidence that consumers will push back on price                                                   SK Hynix                         Muratec (Capacitor)
             and we think users are willing to pay higher prices for smartphones,                                                                                    Sony (Camera Sensor)
             a device that is within an arm’s length for most of the day and night.                                                                                  Minebea (Back Light)
             In 2017, Apple actually sold more units despite iPhone X being the                                            China:
             most expensive iPhone ever.                                                                                   AAC (Acoustic)
                                                                                                                           Goertek (Acoustic)
                                                                                                                           Desay
           • Superior competitive services could threaten Apple’s
             ecosystem over time. Unlike with hardware, we concede many of                                                                                   Taiwan:
             Apple’s services are not best-in-class. Services like Apple Music,                                                                              Casetek (Case)
             Photos, Mail, Maps, and Messages face competition from Spotify                                                                                  Catcher (Case)
             and Google. Increased user adoption of competitive services                                                                                     Foxconn (Case)
             makes it easier to switch hardware.                                                                                                             Largan (Camera Lens)
                                                                                                                                                             Pegatron (Assembly)
                                                                                                                                                             TSMC (Processor Foundry)
           • App Store’s 30% revenue cut could see pressure over time. We                                                                                    Hon Hai (Assembly)
             think this is an unlikely scenario, but we note Apple has already                                                                               Flexium (FPC)
             reduced its share to 15% for certain subscription revenues.

           • A strong US dollar could have a material impact on gross
             margin.                                                                                               Source: Jefferies Research, Fubon Research, Wikimedia Open Source Maps
                                                                                                                                                                                                                          Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 275 of 607




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           Model:
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 276 of 607




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                 October 29, 2018                                                           Key Takeaways                 Val’n / Metrics                       iPhone                              Services              Wearables


               Exhibit 91: Apple Income Statement

                                                                                             F2018                                                                          F2019
                                                              Q1 18A           Q2 18A                Q3 18A             Q4 18E              Q1 19E              Q2 19E              Q3 19E               Q4 19E               F2017A           F2018E             F2019E            F2020E
                Net Sales                                  $88,293,000      $61,137,000         $53,265,000          $61,858,620         $93,960,134         $66,296,029         $58,361,280          $66,572,545         $229,234,000      $264,553,620      $285,189,988      $298,826,863
                  % Y/Y Growth                                       13%              16%                     17%                18%                  6%                  8%                 10%                   8%                  6%               15%                8%                5%
                  % Q/Q Growth                                       68              (31)                     (13)               16                  52                  (29)                (12)                 14                   --               --                 --                --


                Cost of Sales                                 54,381,000       37,715,000            32,844,000          38,043,051          57,597,562          40,241,689          35,425,297           40,542,680        $141,048,000     $162,983,051      $173,807,229       178,464,519.48


                Total Gross Profit                         $33,912,000      $23,422,000         $20,421,000          $23,815,569         $36,362,572         $26,054,339         $22,935,983          $26,029,865          $88,186,000      $101,570,569      $111,382,760      $120,362,343
                  % Margin                                          38.4%            38.3%                 38.3%                 38.5%               38.7%               39.3%               39.3%                39.1%             38.5%             38.4%             39.1%             40.3%
                Research and Development                      3,407,000         3,378,000             3,701,000         3,737,900            4,093,400          4,038,400            4,338,400           4,408,400          $11,581,000       $14,223,900        $16,878,600      $18,283,334
                Sales, General and Administrative             4,231,000         4,150,000             4,108,000         4,237,315            4,510,086          4,474,982            4,377,096           4,660,078          $15,261,000       $16,726,315       $18,022,243       $18,585,182
                Total Stock Compensation Expense              1,296,000         1,348,000             1,351,000         1,329,500            1,503,500          1,510,000            1,499,500           1,479,250           $4,840,000        $5,324,500         $5,992,250       $6,740,747


                Operating Income (GAAP)                    $26,274,000      $15,894,000         $12,612,000          $15,840,353         $27,759,086         $17,540,957         $14,220,487          $16,961,387          $61,344,000       $70,620,353       $76,481,917       $83,493,827
                 % Margin                                            30%              26%                 24%                 26%                 30%                  26%                 24%                 25%                  27%               27%               27%               28%
                 % Y/Y Growth                                        12               13                  17                  21                   6                   10                  13                   7                     2               15                  8                 9
                 % Q/Q Growth                                       100              (40)                (21)                 26                  75                  (37)                (19)                 19                    --                --                --                --

                EBITDA                                     $29,013,000      $18,559,000         $15,410,250          $18,778,516         $30,844,156         $20,780,281         $17,621,777          $16,961,387          $71,501,000       $81,567,603       $89,145,765       $97,740,656
                  % Margin                                         32.9%            30.4%               28.9%                30.4%               32.8%               31.3%               30.2%                25.5%                 31%               31%               31%               33%

                  Interest Income                             1,452,000         1,505,000             1,418,000          1,341,831           1,485,590          1,462,178           1,192,925            1,175,206             5,201,000         5,716,831         5,315,899         4,361,224
                  Interest Expense                             (734,000)         (792,000)             (846,000)          (898,434)           (898,434)          (898,434)           (898,434)            (898,434)           (2,323,000)       (3,270,434)       (3,593,736)       (3,596,659)
                  Other (Income)                                 38,000          (439,000)              100,000           (300,000)           (150,250)          (197,313)           (136,891)            (196,113)             (133,000)         (601,000)         (680,566)         (680,566)

                Net Interest (Income) and Other (Income)        756,000          274,000               672,000            143,397             436,906             366,431             157,600               80,659             2,745,000        1,845,397         1,041,597            83,999
                Income before taxes (GAAP)                 $27,030,000      $16,168,000         $13,284,000          $15,983,750         $28,195,991         $17,907,389         $14,378,088          $17,042,046          $64,089,000       $72,465,750       $77,523,514       $83,577,826
                  % Effective Tax Rate                              26%              15%                 13%                   15%                 16%                 16%                 16%                  16%                 25%               19%               16%                17%

                Provision / (Benefit) for Income Taxes         6,965,000       2,346,000              1,765,000         2,397,563           4,511,359           2,865,182           2,300,494            2,726,727            15,738,000       13,473,563        12,403,762        14,208,230
                Tax Adjustments for Non-GAAP Items                     0               0                      0                 0                   0                   0                   0                    0                     0                0                 0                 0
                Minority Interest                                      0               0                      0                 0                   0                   0                   0                    0                     0                0                 0                 0

                Reported GAAP Net Income / (Loss) $20,065,000               $13,822,000         $11,519,000          $13,586,188         $23,684,633         $15,042,207         $12,077,594          $14,315,319          $48,351,000       $58,992,188       $65,119,751       $69,369,596
                  % Margin                                 23%                        23%                 22%                 22%                 25%                  23%                 21%                 22%                  21%               22%               23%               23%
                  % Y/Y Growth                             12                         25                  32                  27                  18                    9                   5                   5                     6               22                10                  7
                  % Q/Q Growth                             87                        (31)                (17)                 18                  74                  (36)                (20)                 19                    --                --                --                --

                Basic Shares Outstanding (Q)                   5,157,787        5,068,493             4,882,167         4,882,167           4,803,463           4,726,583           4,649,511            4,572,246            5,217,242         4,997,654         4,687,951         4,330,575
                Weighted Avg. Basic Shares Outstanding         5,157,787        5,068,493             4,926,609         4,856,799           4,778,031           4,701,088           4,623,951            4,546,622            5,251,692         5,002,422         4,662,423         4,304,792
                Weighted Avg. Diluted Shares Outstandin        5,157,787        5,068,493             4,926,609         4,856,799           4,778,031           4,701,088           4,623,951            4,546,622            5,251,692         5,002,422         4,662,423         4,304,792

                Reported GAAP EPS                                $3.89            $2.73                 $2.34              $2.80               $4.96               $3.20               $2.61                $3.15                $9.21            $11.79            $13.97            $16.11
                  % Y/Y Growth                                      16%               30%                   40%               35%                 27%                  17%                 12%                 13%                  11%               28%               18%               15%
                  % Q/Q Growth                                      88               (30)                  (14)               20                  77                  (35)                (18)                 21                    --                --                --                --




               Source: Jefferies Research, Apple
                                                                                                                                                                                                                                                                                                               Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 277 of 607




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               Exhibit 92: Apple Revenue Build
                                                                                        F2018                                                                                        F2019
                                                      Q1 18A                Q2 18A                Q3 18A                  Q4 18E                  Q1 19E                  Q2 19E                Q3 19E                  Q4 19E                  F2017A              F2018E                 F2019E                 F2020E

               Gross Revenue (Net Sales)
               Apple Revenue                        $88,293,000           $61,137,000           $53,265,000             $61,858,620             $93,960,134             $66,296,029           $58,361,280             $66,572,545          $    229,234,000     $   264,553,620         $285,189,988           $298,826,863
                 % Y/Y Growth                                 13%                    16%                   17%                    18%                      6%                       8%                   10%                     8%                       6%                15%                      8%                     5%
                 % Q/Q Growth                                68                    (31)                  (13)                    16                      52                      (29)                  (12)                    14                       --                  --                     --                     --



               iPhone Revenue                   $     61,576,000      $     38,032,000      $     29,906,000        $     35,484,331        $     63,825,917        $     39,880,355      $     31,975,495        $     36,829,187         $    141,319,000     $   164,998,331     $     172,510,954      $     172,493,703
                     % Y/Y Growth                            13%                    14%                   20%                    23%                      4%                       5%                    7%                     4%                       3%                 17%                    5%                     0%
                     % Q/Q Growth                           113%                   -38%                  -21%                    19%                     80%                     -38%                  -20%                    15%                        --                  --                    --                     --
                     % of Total Gross Revenue                70%                    62%                   56%                    57%                     68%                      60%                   55%                    55%                      62%                 62%                   60%                    58%
                                                                                    -9%                   -9%                     -5%
                 ASP                            $              796    $              728    $               724     $               757     $               849     $              779    $               782     $               810       $            652    $            758    $               811    $               819
                     % Y/Y Growth                              15%                   11%                    20%                     23%                      7%                      7%                    8%                      7%                     1%                 16%                     7%                     1%
                     % Q/Q Growth                              29%                    -9%                    -1%                     5%                     12%                     -8%                    0%                      4%                      --                  --                     --                     --

                 Units                                    77,316                 52,217                41,300                 46,850                  75,200                   51,173                40,887                 45,445                  216,756             217,683                212,704     $          210,577
                     % Y/Y Growth                             -1%                     3%                    1%                    0%                      -3%                      -2%                   -1%                    -3%                      2%                  0%                     -2%                    -1%
                     % Q/Q Growth                            66%                    -32%                  -21%                   13%                     61%                      -32%                  -20%                   11%                        --                  --                      --                     --

               iPad Revenue                     $      5,862,000      $       4,113,000     $       4,741,000       $      4,130,505        $      5,290,455        $       4,210,206     $       4,698,605       $      4,061,256         $     19,222,000     $    18,846,505     $       18,260,522     $       18,074,264
                     % Y/Y Growth                             6%                      6%                   -5%                   -15%                    -10%                       2%                   -1%                    -2%                      -7%                 -2%                    -3%                    -1%
                     % Q/Q Growth                            21%                    -30%                  15%                    -13%                     28%                     -20%                  12%                    -14%                        --                  --                     --                     --
                     % of Total Gross Revenue                 7%                      7%                    9%                     7%                      6%                       6%                    8%                     6%                       8%                  7%                     6%                     6%


                 ASP                            $              445    $              451    $               410     $               444     $               423     $              440    $               415     $               441       $            439    $            437    $               429    $               433
                     % Y/Y Growth                                5%                   4%                     -6%                     -5%                     -5%                    -3%                     1%                     -1%                    -2%                 -2%                     1%                    1%
                     % Q/Q Growth                               -5%                   1%                     -9%                      8%                     -5%                     4%                    -6%                      6%                    -3%                 -1%                    -2%                     --

                 Units                                    13,170                  9,113                11,553                      9,293              12,512                    9,569                11,322                      9,200               43,753              43,129                 42,603     $           41,751
                     % Y/Y Growth                             1%                      2%                   1%                        -10%                 -5%                       5%                   -2%                        -1%                  -4%                 -1%                    -1%                    -2%
                     % Q/Q Growth                            28%                    -31%                  27%                        -20%                35%                      -24%                  18%                        -19%

               Mac Revenue                      $      6,895,000      $       5,848,000     $       5,330,000       $      6,992,184        $      6,970,212        $       5,775,468     $       5,172,660       $      6,617,603         $     25,850,000     $    25,065,184     $       24,535,942     $       23,309,145
                     % Y/Y Growth                             -5%                     0%                   -5%                    -2%                     1%                       -1%                   -3%                    -5%                     13%                  -3%                    -2%                    -5%
                     % Q/Q Growth                             -4%                   -15%                   -9%                   31%                      0%                      -17%                  -10%                   28%                        --                   --                     --                     --
                     % of Total Gross Revenue                  8%                    10%                  10%                    11%                      7%                        9%                    9%                   10%                      11%                   9%                     9%                     8%


                 ASP                            $          1,349      $           1,434     $              1,433    $              1,411    $              1,350    $           1,375     $              1,350    $              1,336     $          1,343     $         1,403     $            1,352     $            1,324
                     % Y/Y Growth                             0%                     3%                      10%                       6%                      0%                  -4%                      -6%                     -5%                   --                 4%                     -4%                    -2%
                     % Q/Q Growth                             1%                     6%                       0%                      -2%                     -4%                   2%                      -2%                     -1%                   --                  --                      --                     --


                 Units                                     5,112                  4,078                    3,720                   4,955                   5,163                4,200                    3,832                   4,955               19,251              17,865                 18,150     $           17,606
                     % Y/Y Growth                             -5%                    -3%                     -13%                     -8%                     1%                    3%                       3%                     0%                   4%                  -7%                    2%                     -3%
                     % Q/Q Growth                             -5%                   -20%                      -9%                    33%                      4%                  -19%                      -9%                    29%

               Services Revenue                 $      8,471,000      $       9,190,000     $       9,548,000       $     11,051,300        $     11,012,300        $     11,487,500      $     11,839,520        $     13,814,125         $     29,980,000     $    38,260,300     $       48,153,445     $       59,228,737
                     % Y/Y Growth                            18%                    31%                   31%                    30%                     30%                     25%                   24%                     25%                      23%                 28%                    26%                    23%
                     % Q/Q Growth                             0%                     8%                    4%                    16%                      0%                      4%                    3%                     17%                        --                  --                     --                     --
                     % of Total Gross Revenue                10%                    15%                   18%                    18%                     12%                     17%                   20%                     21%                      13%                 14%                    17%                    20%

                 App Store Revenue              $      3,473,079      $       3,724,588     $       3,764,629       $      4,114,516        $      4,341,348        $       4,730,227     $       4,705,786       $      5,184,290          $    11,299,036     $    15,076,812     $       18,961,652     $       23,702,065
                     % Y/Y Growth                            32%                    35%                   36%                    31%                     25%                      27%                   25%                    26%                      38%                 33%                    26%                    25%
                     % Q/Q Growth                            11%                     7%                    1%                     9%                      6%                       9%                    -1%                   10%                        --                  --                     --                     --


                 Music Revenue                  $        840,000      $        960,000      $       1,080,000       $      1,248,000        $      1,260,000        $       1,440,000     $       1,566,000       $      1,809,600          $     2,496,000     $     4,128,000     $        6,075,600     $        8,627,352
                     % Y/Y Growth                            67%                   60%                    61%                    73%                     50%                      50%                   45%                    45%                      86%                 65%                    47%                     42%
                     % Q/Q Growth                            17%                   14%                    13%                    16%                      1%                      14%                    9%                    16%                        --                  --                     --                      --

               Other Products                   $      5,489,000      $       3,954,000     $       3,740,000       $      4,200,300        $      6,861,250        $       4,942,500     $       4,675,000       $      5,250,375         $     12,863,000     $    17,383,300     $       21,729,125     $       25,721,013
                     % Y/Y Growth                            36%                     38%                  37%                    30%                     25%                       25%                  25%                    25%                      16%                 35%                    25%                    18%
                     % Q/Q Growth                            70%                    -28%                   -5%                   12%                     63%                      -28%                   -5%                   12%                        --                  --                     --                     --
                     % of Total Gross Revenue                 6%                      6%                    7%                    7%                      7%                        7%                    8%                    8%                       6%                  7%                     8%                     9%



               Source: Jefferies Research, Apple
                                                                                                                                                                                                                                                                                                                                              Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 278 of 607




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                                                                                                                                                                                                                                                                                                                                  Exhibit 9




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                 AAPL
                 Initiating Coverage

                 October 29, 2018                                         Key Takeaways                       Val’n / Metrics                        iPhone                              Services                    Wearables


               Exhibit 93: Apple Balance Sheet
                                                                                                      F2018                                                                      F2019

                                                                       Q1 18A            Q2 18A                Q3 18A            Q4 18E           Q1 19E            Q2 19E                Q3 19E            Q4 19E            F2017A            F2018E            F2019E            F2020E




                    Cash & Cash Equivalents                          $27,491,000        $45,059,000           $31,971,000      $28,286,835       $31,770,090      $64,281,484            $45,986,259      $51,492,454       $20,289,000       $28,286,835       $51,492,454       $50,632,312

                    Short-Term Marketable Securities                  49,662,000        42,881,000             38,999,000       37,115,172        56,376,081        39,777,617            35,016,768       39,943,527        53,892,000        37,115,172        39,943,527        26,894,418

                    Accounts Receivable, Less Allowances              23,440,000        14,324,000             14,104,000       16,379,498       24,879,635         17,554,476            15,453,440       17,627,695         17,874,000        16,379,498       17,627,695        20,467,593

                    Inventories                                         4,421,000         7,662,000             5,936,000        3,335,281         5,049,649         3,528,039             3,105,779         3,554,427         4,855,000        3,335,281          3,554,427        4,605,666

                    Deferred Tax Assets                                         0                 0                     0                 0                0                 0                     0                 0                 0                 0                 0                 0

                    Vendor non-trade receivables                      27,459,000          8,084,000           12,263,000        15,842,586       26,510,659        19,845,217            19,411,122        11,862,899         17,799,000       15,842,586        11,862,899         9,595,137

                    Other current assets                               11,337,000       12,043,000             12,488,000         8,717,480       11,769,569       12,050,406             11,634,213       12,869,730         13,936,000         8,717,480       12,869,730        13,152,890

                  Current Assets                                   $143,810,000      $130,053,000        $115,761,000        $109,676,853     $156,355,683      $157,037,238        $130,607,581        $137,350,731      $128,645,000      $109,676,853      $137,350,731      $125,348,015

                    Long-term marketable securities                  207,944,000       179,286,000            172,773,000      173,204,135      206,712,296       145,851,263            128,394,817       146,459,599       194,714,000      173,204,135        146,459,599      104,589,402

                    Property, plant and equipment, net                 33,679,000        35,077,000            38,117,000       39,045,187       39,697,892         41,369,335            42,076,301        43,314,031        33,783,000        39,045,187        43,314,031       44,606,199

                    Goodwill                                            5,889,000                 0                     0                 0                0                 0                     0                 0         5,717,000                 0                 0                 0

                    Acquired intangible assets, net                     2,149,000                 0                     0                 0                0                 0                     0                 0        2,298,000                  0                 0                 0

                    Other non-current assets                          13,323,000        23,086,000            22,546,000        22,546,000       22,546,000        22,546,000            22,546,000        22,546,000        10,162,000        22,546,000        22,546,000        22,546,000

                  Total Assets                                     $406,794,000      $367,502,000        $349,197,000        $344,472,175     $425,311,870      $366,803,836        $323,624,699        $349,670,361      $375,319,000      $344,472,175      $349,670,361      $297,089,616




                  Current Liabilities:

                    Accounts Payable                                 $62,985,000        $34,311,000           $38,489,000      $44,581,628       $67,497,034       $47,158,153           $41,513,953       $47,510,876       $49,049,000      $44,581,628        $47,510,876      $36,670,792

                    Accrued Expenses                                  26,281,000        26,756,000             25,184,000       31,573,502        30,364,591       28,139,217            27,296,103        35,826,373        25,744,000        31,573,502        35,826,373        36,868,516

                    Deferred Revenue                                    8,044,000         7,775,000             7,403,000         8,165,338       8,268,492          8,485,892             8,404,024         9,586,446         7,548,000         8,165,338         9,586,446        8,793,141

                    Commercial Paper                                   11,980,000        11,980,000            11,974,000        11,974,000      12,572,700        12,572,700            12,572,700        12,572,700         11,977,000        11,974,000       12,572,700        12,587,700

                    Current Portion of Long-Term Debt                   6,498,000         8,498,000             5,498,000         5,498,000        5,498,000         5,498,000             5,498,000         5,498,000         6,496,000         5,498,000         5,498,000        5,832,420

                  Total Current Liabilities                        $115,788,000       $89,320,000         $88,548,000        $101,792,468     $124,200,817      $101,853,962         $95,284,780        $110,994,396      $100,814,000      $101,792,468      $110,994,396      $100,752,569

                    Deferred Revenue - Non Current                      3,131,000         3,087,000             2,878,000        2,878,000         2,878,000         2,878,000             2,878,000         2,878,000         2,836,000       $2,878,000        $2,878,000         2,878,000

                    Long-Term Debt                                   103,922,000       101,362,000             97,128,000       97,128,000       97,128,000        97,128,000             97,128,000       97,128,000        97,207,000       $97,128,000       $97,128,000        97,207,000

                    Other Non-Current Liabilties                       43,754,000        46,855,000            45,694,000       41,311,616        44,566,060        44,099,318            45,146,269        46,974,717        40,415,000       $41,311,616       $46,974,717       49,417,164

                  Total Liabilities                                $266,595,000      $240,624,000        $234,248,000        $243,110,084     $268,772,876      $245,959,280        $240,437,049        $257,975,112      $241,272,000      $243,110,084      $257,975,112      $250,254,733

                    Commmon Stock and Additional Paid-In Capital                                                                                                                                                                       $0                $0                $0                $0

                    Additional Paid-In Capital                         36,447,000        38,044,000            38,624,000       34,058,664       52,598,649         40,604,965            27,951,873        30,810,510        35,867,000        35,867,000        30,810,510       15,736,984

                    Retained Earnings (Accumulated Deficit)           104,593,000        91,898,000            79,436,000       70,046,708       108,176,944        83,510,149            57,487,183        63,366,395        98,330,000        70,046,708        63,366,395       32,365,447

                    Treasury Stock                                              0                 0                     0                 0                0                 0                     0                 0                 0                 0                 0                 0

                    Accumulated Other Comprehensive Income               (841,000)       (3,064,000)           (3,111,000)      (2,743,281)       (4,236,599)       (3,270,558)           (2,251,405)       (2,481,656)         (150,000)       (2,743,281)       (2,481,656)       (1,267,548)

                  Shareholders' Equity                             $140,199,000      $126,878,000        $114,949,000        $101,362,090     $156,538,994      $120,844,556         $83,187,650         $91,695,249       134,047,000      $101,362,090       $91,695,249       $46,834,883

                                                                                                                                                                                                                                       0

                  Liabilities & Shareholders' Equity               $406,794,000      $367,502,000        $349,197,000        $344,472,175     $425,311,870      $366,803,836        $323,624,699        $349,670,361       375,319,000      $344,472,175      $349,670,361      $297,089,616




               Source: Jefferies Research, Apple
                                                                                                                                                                                                                                                                                                              Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 279 of 607




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                                                                                                                                                                                                                                                                                                  Exhibit 9




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                 AAPL
                 Initiating Coverage

                 October 29, 2018                                                                 Key Takeaways                        Val’n / Metrics                            iPhone                            Services                         Wearables


               Exhibit 94: Apple Cash Flow Statement
                                                                                                                                    F2018                                                                         F2019
                                                                                                     Q1 18A             Q2 18A                 Q3 18A            Q4 18E             Q1 19E            Q2 19E                 Q3 19E             Q4 19E                  F2017A            F2018E              F2019E              F2020E

                 Net Income                                                                         $20,065,000        $13,822,000            $11,519,000       $13,586,188        $23,684,633      $15,042,207             $12,077,594        $14,315,319            $48,351,000        $58,992,188         $65,119,751         $69,369,596
                   Depreciation                                                                       2,745,000          2,739,000              2,665,000         2,798,250          2,938,163        3,085,071               3,239,324          3,401,290             10,157,000          10,947,250         12,663,848          14,246,829
                   Share-based Compensation Expense                                                   1,296,000          1,348,000              1,351,000         1,329,500          1,503,500        1,510,000               1,499,500          1,479,250              4,840,000           5,324,500          5,992,250           5,992,250
                   Deferred Income Tax Expense/(Benefit)                                                      0                  0                      0                 0                  0                0                       0                  0                      0                   0                  0                   0
                   Provision for deferred income taxes                                              (33,737,000)          (498,000)             1,126,000         1,200,000          1,200,000        1,200,000               1,200,000          1,200,000              5,966,000         (31,909,000)                 0                   0
                   Loss on disposition of property, plant and equipment                                       0                  0                      0                                                                                                                       0                   0                  0                   0
                   Other                                                                                (11,000)          (140,000)              (259,000)          (25,000)           (25,000)          (25,000)               (25,000)           (25,000)              (166,000)           (435,000)           300,000             300,000

                   (Inc.) Dec. in Accounts Receivable                                               (5,570,000)          9,093,000                233,000        (2,275,498)        (8,500,136)        7,325,158              2,101,036        (2,174,255)             (2,093,000)        1,480,502           (1,248,197)         (2,839,898)
                   (Inc.) Dec. in Inventores                                                           434,000          (3,241,000)             1,693,000          2,600,719        (1,714,368)        1,521,611               422,259            (448,647)            (2,723,000)        1,486,719             (219,146)         (1,051,239)
                   (Inc.) Dec. in Vendor non-trade receivables                                      (9,660,000)         19,375,000             (4,179,000)        (3,579,586)      (10,668,073)        6,665,442                434,095         7,548,223              (4,254,000)        1,956,414            3,979,686           3,979,686
                   Inc. (Dec.) in Other Current Assets                                                       0                   0                      0                  0                 0                 0                       0                 0                       0                0                    0           2,267,762
                   Inc. (Dec.) in Other Assets                                                        (197,000)           (856,000)               988,000          3,770,520        (3,052,089)         (280,836)               416,193        (1,235,516)              (5,318,000)       3,705,520           (4,152,249)           (283,160)
                   Inc. (Dec.) in Accounts Payable                                                  14,588,000         (27,808,000)             2,081,000         6,092,628        22,915,406        (20,338,881)            (5,644,201)        5,996,923                9,618,000       (5,046,372)           2,929,248         (10,840,084)
                   Inc. (Dec.) in Deferred Revenue                                                     791,000            (313,000)              (581,000)           762,338           103,154           217,400                 (81,867)       1,182,422                 (626,000)         659,338            1,421,109            (793,305)
                   Inc. (Dec.) in Other Liabilities                                                 37,549,000           1,609,000             (2,149,000)       (4,382,384)         3,254,444          (466,741)             1,046,951         1,828,447                 (154,000)     32,626,616             5,663,101           2,442,447
                 Change in Net Working Capital                                                   $37,935,000         ($2,141,000)           ($1,914,000)       $2,988,736         $2,338,337       ($5,356,847)           ($1,305,534)      $12,697,597             ($5,550,000)      $36,868,736           $8,373,552         ($7,117,791)
                 Cash Flow from Operations                                                       $28,293,000        $15,130,000         $14,488,000          $21,877,674        $31,639,632       $15,455,430         $16,685,884           $33,068,456            $63,598,000        $79,788,674          $92,449,401         $82,790,883



                  Purchase of Martketable Securities                                                (41,272,000)       (7,177,000)            (7,684,000)                 0                  0                0                        0                 0           (159,486,000)      (56,133,000)                   0                   0
                  Proceeds from Maturities of Marketable Securities                                  14,048,000        17,836,000             14,406,000                  0                  0       45,000,000                        0                 0             31,775,000        46,290,000           45,000,000          45,000,000
                  Proceeds from Sales of Marketable Securities                                       16,801,000       22,141,000               2,672,000                  0                  0                0                        0                 0             94,564,000        41,614,000                    0                   0
                  Purchase of Long-Term Investments                                                            0                 0                     0                  0                  0                0                        0                 0                      0                 0                    0                   0
                  Payments Made in Connection with Business Acquisitions, Net of Cash Acquired         (173,000)         (132,000)              (126,000)          (120,000)          (100,000)        (100,000)                (100,000)         (100,000)              (329,000)         (551,000)            (400,000)                  0
                  Payments for Acquisitions of Property, Plant and Equipment                         (2,810,000)       (4,195,000)            (3,267,000)        (3,773,376)        (3,382,565)      (4,309,242)             (3,268,232)        (3,728,063)           (12,451,000)      (14,045,376)         (14,688,101)        (15,538,997)
                  Purchases of non-Marketable Securities                                               (154,000)          154,000             (1,788,000)          (150,000)          (150,000)        (150,000)                (150,000)         (150,000)              (344,000)       (1,938,000)            (600,000)                  0
                  Proceeds from non-Marketable Securities                                                (94,000)           94,000               310,000             50,000             50,000           50,000                   50,000            50,000               (395,000)          360,000              200,000             200,000
                  Other                                                                                   64,000           (11,000)             (576,000)            50,000             50,000           50,000                   50,000            50,000                220,000          (473,000)             200,000             200,000
                 Net Cash Used in Investing Activities                                           ($13,590,000)      $28,710,000             $3,947,000        ($3,943,376)       ($3,532,565)     $40,540,758             ($3,418,232)       ($3,878,063)          ($46,446,000)      $15,123,624          $29,711,899         $29,861,003
                  Proceeds from Issuance of Common Stock                                                      0             327,000              1,000              300,000                  0           325,000                   0               350,000                 555,000            628,000             675,000             675,000
                  Excess tax benefits from stock-based compensation                                           0                   0                  0                    0                  0                 0                   0                     0                 627,000                  0                   0                   0
                  Cash dividends paid                                                                (3,339,000)         (3,190,000)        (3,653,000)          (3,545,463)        (3,487,963)       (3,431,794)         (3,375,485)           (3,637,298)           (12,769,000)       (13,727,463)        (13,932,539)        (14,802,028)
                  Repurchase of common stock                                                        (10,095,000)       (22,756,000)        (20,783,000)         (18,000,000)       (20,000,000)      (20,000,000)        (20,000,000)          (20,000,000)           (32,900,000)       (71,634,000)        (80,000,000)         (95,000,000)
                  Proceeds from issuance of term debt, net                                            6,969,000                   0                  0                    0                  0                 0                   0                     0             28,662,000           6,969,000                   0                   0
                  Repayments of term debt                                                                     0            (500,000)        (6,000,000)                   0                  0                 0          (7,000,000)                    0              (3,500,000)        (6,500,000)         (7,000,000)                  0
                  Change in commercial paper, net                                                         2,000              (1,000)           (11,000)             (13,000)            (5,000)                0                   0                     0               3,852,000            (23,000)             (5,000)             15,000
                  Cash Used to Net Share Settle Equity Awards                                        (1,038,000)           (152,000)        (1,077,000)            (360,000)        (1,130,850)         (378,000)         (1,187,393)             (396,900)             (1,874,000)       (2,627,000)          (3,093,143)                  0
                 Net Cash Provided by Financing Activities                                        ($7,501,000)      ($26,272,000)       ($31,523,000)        ($21,618,463)      ($24,623,813)     ($23,484,794)       ($31,562,877)         ($23,684,198)          ($17,347,000)      ($86,914,463)      ($103,355,682)      ($109,112,028)
                   Effect of Exchange Rate Changes                                                          0                 0                    0                    0                  0                0                    0                     0                      0                  0                   0                   0
                 Inc. (Dec.) in Cash and Cash Equivalents                                          $7,202,000       $17,568,000         ($13,088,000)         ($3,684,165)        $3,483,254      $32,511,394         ($18,295,225)           $5,506,195              ($195,000)        $7,997,835         $18,805,618          $3,539,858
                   Beginning Cash and Cash Equivalents                                             20,289,000          27,491,000          45,059,000           31,971,000        28,286,835         31,770,090          64,281,484            45,986,259              20,484,000       20,289,000           28,286,835           47,092,454
                 Ending Cash and Cash Equivalents                                                $27,491,000        $45,059,000         $31,971,000          $28,286,835        $31,770,090       $64,281,484         $45,986,259           $51,492,454       ##     20,289,000       $28,286,835          $47,092,454         $50,632,312




               Source: Jefferies Research, Apple
                                                                                                                                                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 280 of 607




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                 October 29, 2018                                  Key Takeaways          Val’n / Metrics   iPhone   Services        Wearables




           Appendix:
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 281 of 607




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           Source: Apple
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                 October 29, 2018                                  Key Takeaways          Val’n / Metrics   iPhone     Services        Wearables


               Exhibit 95: Management Team



                 Name                                                       Age                   Start                                                  Current Position

                 Art Levinson                                                  67                  2011                           Independent Chairman of the Board

                 Timothy Cook                                                  57                  2011                               Chief Executive Officer, Director

                 Luca Maestri                                                  54                  2014               Chief Financial Officer, Senior Vice President

                 Jeff Williams                                                 54                  2015              Chief Operating Officer, Senior Vice President




               Source: Apple
                                                                                                                                                                                                               Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 282 of 607




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                 October 29, 2018                                  Key Takeaways          Val’n / Metrics   iPhone   Services        Wearables


               Exhibit 96: Management Biographies
                   Dr. Art Levinson, Ph.D., is an Independent Chairman of the Board of Apple Inc. He has served as the Chief Executive
                   Officer of Calico, a company focused on health, aging, and well-being, since September 2013. Dr. Levinson previously
                   served as Chief Executive Officer of Genentech, Inc., a medical drug developer, from July 1995 to April 2009, and served
                   as Genentech’s Chairman from September 1999 to September 2014. Dr. Levinson also served as Chief Executive Officer of
                   Genentech from July 1995 to April 2009, and, from May 2009 to September 2013, served as an advisor to Genentech’s
                   Research and Early Development center and as a member of Genentech’s external advisory group, the Scientific Resource
                   Board.

                   Mr. Timothy D. Cook serves as Chief Executive Officer, Director of Apple Inc. He has been Apple’s Chief Executive Officer
                   since August 2011 and was previously Apple’s Chief Operating Officer since October 2005. Mr. Cook joined Apple in March
                   1998 and served as Executive Vice President, Worldwide Sales and Operations from 2002 to 2005. From 2000 to 2002, Mr.
                   Cook served as Senior Vice President, Worldwide Operations, Sales, Service and Support. From 1998 to 2000, Mr. Cook
                   served as Senior Vice President, Worldwide Operations.

                   Mr. Luca Maestri is Chief Financial Officer, Senior Vice President of Apple Inc. Mr. Maestri oversees the accounting,
                   business support, financial planning and analysis, treasury, M&A, investor relations, internal audit, and tax functions at
                   Apple. Luca joined Apple in March 2013 and assumed his current position in May 2014. Prior to assuming his current
                   position, Luca served as Apple’s Vice President and Corporate Controller. Prior to joining Apple, Luca was Executive Vice
                   President, Chief Financial Officer of Xerox Corporation, a business services and technology company, from February 2011
                   to February 2013. Prior to that, Luca was Chief Financial Officer at Nokia Siemens Networks from October 2008 to February
                   2011.

                   Mr. Jeff Williams is Chief Operating Officer, Senior Vice President of the Company. Mr. Williams oversees Apple’s entire
                   supply chain, service and support, and social responsibility initiatives. He also oversees the development of Apple Watch®,
                   and is driving the company’s health initiatives. Jeff joined Apple in June 1998 and assumed his current position in
                   December 2015. Jeff’s previous positions with Apple include Senior Vice President, Operations; Head of Worldwide
                   Procurement; and Vice President of Operations.

               Source: Apple
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 283 of 607




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               Exhibit 100: Apple Historic NTM Price to Sales




               Source: Factset
                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 284 of 607




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                 October 29, 2018                                  Key Takeaways          Val’n / Metrics   iPhone   Services        Wearables


               Exhibit 101: Apple Historic NTM
               EV/EBITDA




               Source: Factset                                                                                       Thanks to James Heaney for his help preparing this report.
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      AAPL
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Please see important disclosure information on pages 79 - 83 of this report.

                                                                                                                                           Page 286
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      AAPL
      Initiating Coverage                                                                                                       Exhibit 9
      October 29, 2018


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  HOLD                                                         817             38.92%            14           1.71%                 0           0.00%
  UNDERPERFORM                                                 121              5.76%             0           0.00%                 0           0.00%




page 81 of 83                                                                            Timothy O'Shea, Equity Analyst, (212) 284-3415, toshea@jefferies.com


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                                                                                                                                     Page 287
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      AAPL
      Initiating Coverage                                                                                                                Exhibit 9
      October 29, 2018


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page 82 of 83                                                                                  Timothy O'Shea, Equity Analyst, (212) 284-3415, toshea@jefferies.com


Please see important disclosure information on pages 79 - 83 of this report.

                                                                                                                                               Page 288
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      AAPL
      Initiating Coverage                                                                                                            Exhibit 9
      October 29, 2018


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page 83 of 83                                                                               Timothy O'Shea, Equity Analyst, (212) 284-3415, toshea@jefferies.com


Please see important disclosure information on pages 79 - 83 of this report.

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                                                                                                                                                                                     Exhibit 9




                                                                    20-May-2010, N/A, N/A, N/A , N/A, N/A, N/A, N/A , N/A, N/A, N/A, N/A , N/A, N/A, N/A, N/A , N/A, N/A, N/A, N/A




Equity Research
November 1, 2018                                                    TMT

Walter Piecyk
(646) 450-9258                                                      Apple, Inc.
wpiecyk@btig.com                                                    Apple Reduces Disclosure; Typically Not A Good Sign
Joseph Galone
(212) 527-3523
jgalone@btig.com                                                    x                                           We made revisions to our Apple (AAPL, Buy, $235 PT) estimates, but
                                                                                                                our calendar 2019 EPS estimate and price target remain unchanged at
                                                                                                                $14.25 and $235, respectively.
                                                                    x                                           Investors face increased volatility and a headwind to multiple
                                                                                                                expansion based on management’s decision to no longer report unit
                                                                                                                data.



AAPL                                         $222.22
12 month target
Upsi de
                                                 $235.00   5.8%




BUY
52 week range                       $155.15 - $232.07
Dividend Yield                                   1.3%
Market Cap (m)                            $1,077,222
   Price Performance




   Source: IDC


Estimates
                                  1Q117 A 2Q1
                                            17 A 3Q1
                                                   17 A 4Q1
                                                          17 A FY1
                                                                 17 A 1Q118 A 2Q1
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                                                                                              18 A FY1
                                                                                                     18 A FY119 E
      Sales                        78,351 52,896 45,408 52,579 229,234 88,293 61,137 53,265 62,900 265,595 282,885
      Gross Margin (%)              38.5% 38.9% 38.5% 37.9% 38.5% 38.4% 38.3% 38.3% 38.3% 38.3% 38.2%
      Diluted EPS (Adj.)             3.36   2.10   1.67   2.07    9.19   3.89   2.73   2.34   2.91   11.87   13.63
      DPS                            0.57   0.57   0.63   0.63    2.40   0.63   0.63   0.73   0.73    2.72    3.02
      EPS Growth (%)                 2.3% 10.4% 16.9% 23.7% 11.0% 15.9% 30.1% 40.4% 41.0% 29.2% 14.9%
      Source: BTIG Estimates and Company Documents ($ in millions, except per share amount)
      Company reports and BTIG estimates

                         Please Read: Important disclosures and analyst’s certification appear in Appendix

                                                                                                                                                                                      Page 290
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                                                                                              Exhibit 9


                             No more units

                             Apple might not think it’s helpful to report unit data for its products, but we
                             do. More data is better than less data. There is rarely an exception to this.
                             Reduced visibility typically results in a lower valuation multiple because it
                             increases the risk to investors of predicting future growth and valuation
                             multiples are a function of growth and risk.

                             Ultimately the market will adapt, as it always does, to the reduced disclosures,
                             but perhaps at a lower multiple. Revenue growth, margins, and use of the
                             nearly $100 billion of operating free cash flow will drive the stock. However,
                             Apple has unnecessarily injected uncertainty and possible volatility into the
                             near term. There is likely to be even greater focus on short term items like one
                             quarter of guidance rather than simply providing the tools that help longer
                             term forecasting.

                             Could lead to increased uncertainty

                             Some might argue that reporting fewer metrics offers fewer opportunities to
                             displease investors. We disagree. Speculation on what is occurring in Apple’s
                             business segments will fill the void created by the absence of information. The
                             uncertainty that speculation breeds is rarely positive for stocks. As an example,
                             there will now be one less check on the validity of the rampant and ever
                             changing supply chain new reports that appear ahead of quarters, which had
                             finally begun to diminish in recent quarters.

                             No units means no ASPs and eliminates bad press highlighting rising prices

                             Not reporting unit data effectively eliminates any discussion about rising and
                             record ASPs. This was a positive point for investors, but perhaps a risk to
                             Apple, as press reports about squeezing more money out of its loyal customer
                             base is not a good look for the company, At Apple’s event in Brooklyn earlier
                             this week, it refreshed 3 product lines, all of which carried higher entry level
                             pricing.

                             There was a reference made on the call to a reclass of revenue out of product
                             and into services based on new FASB standards. We doubt this was a
                             motivating factor in Apple’s change in disclosure as the reclass will only
                             account for 1% of revenue.

                             Service businesses report subscriber data

                             Apple plans to break out margins between Products and Services as an
                             alternative to providing unit data. This is an obvious and ongoing attempt by
                             management to focus investors’ attention on Apple as a services business.
                             Apple likely believes it can achieve a higher valuation multiple in the market if
                             the focus shifts to the higher margin and recurring services business. However,
                             we believe the iPhone product business has effectively converted to a
                             recurring revenue business based on the loyalty of its customers. More
                             importantly, services businesses report the total number of active users and
                             churn. It’s unlikely that Apple will report that data.




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                             We posted comments on results versus our estimates earlier. (Link)

                             Highlights of revisions to Calendar 2019 estimates:

                                 x    Increased total revenue by $6.4 billion primarily on higher iPhone ASP
                                      estimates. This lifts expected growth to 6.9% from 4.5%.

                                 x    No change in margins resulted in a $1.5 billion increase to Operating
                                      Income.

                                 x    Operating upside offset by a higher tax rate assumption (15% vs
                                      14.5%) and higher share count due to the impact of this year’s rally in
                                      the stock on our future share repurchase estimates. To be clear, we
                                      have no clarity on future tax rates, but felt compelled to increase our
                                      estimate in light of the 16.5% guidance for FQ1.

                                 x    Reduced iPhones sold by 8 million to 219 million, representing 1.2%
                                      growth. We still believe that a bottoming of the decline in upgrade
                                      rates can help unit growth.

                                 x    Increased iPhone ASP by $55 to $797. That’s up 23% over the past 3
                                      years. Meanwhile, unit volumes still remain below peak iPhone
                                      6/6+levels.

                                 x    We were impressed by the new iPad’s announced earlier this week
                                      and their potential to increase ASPs. However, our revenue estimate
                                      remains unchanged as a $29 increase in our ASP estimate to $486 was
                                      offset by a 2.6 million reduction in units to 42.9 million.

                                 x    We reduced the number of shares we expect Apple to purchase over
                                      the next 5 quarters by 42 million based on a higher average purchase
                                      price over that period of $252 versus $229. We continue to expect
                                      Apple to buy back $20 billion of stock each quarter.

                             What about the December quarter?

                             We cut our revenue estimate by $2.5 billion and our EPS estimate by $0.43 for
                             the December quarter primarily on a reduction of iPhones sold to 76 million
                             from 80 million, reflecting a decline from the prior year. The company guided
                             to a 16.5% tax rate versus our 14.5% estimate and the 14.0% tax rate reported
                             this quarter. This represented $0.11 of our EPS revision. It’s possible that Apple
                             is simply being conservative given the number of new products it is launching
                             during the quarter.

                             “We are launching in the last six weeks, we've launched an unprecedented
                             number of new products. They're all ramping right now. The ramps are going
                             fairly well, but obviously we have some uncertainty around supply/demand
                             balance for some of these products.” – Luca Maestri, Apple CFO, 11/1/18




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                                                                                            Exhibit 9


Estimate Revisions – Income Statement

Apple Income Statement             OLD     NEW           Diff            OLD      NEW      Diff
$ millions                      Dec-18   Dec-18                       CY2019    CY2019
Revenues                        94,994   92,422       (2,571)        281,816   288,226   6,410
Cost of goods sold              58,421   56,840       (1,581)        174,726   178,700   3,974
Gross profit                    36,573   35,583         (990)        107,090   109,526   2,436

R&D                              3,856    4,159          303          15,937   16,616      679
SG&A                             4,505    4,482          (22)         17,794   18,002      208
Operating Income                28,212   26,941       (1,271)         73,359   74,908    1,549

Other inc and exp                  600      300         (300)          1,500    1,300     (200)
NIBT                            28,812   27,241       (1,571)         74,859   76,208    1,349

Taxes                            4,178    4,495          317          10,855   11,431     577
Net Income                      24,635   22,746       (1,888)         64,004   64,777     772

EPS                              $5.20    $4.78       ($0.43)         $14.25   $14.25    $0.00
  Shares out                     4,734    4,762           28           4,492    4,545       53
Dividends per share              $0.73    $0.73        $0.00           $3.07    $3.07    $0.00
  Dividends                      3,456    3,476           21          13,858   14,009      151

Margins
 GPM                             38.5%    38.5%         0.0%           38.0%    38.0%     0.0%
 R&D/Revenue                      4.1%     4.5%         0.4%            5.7%     5.8%     0.1%
 SG&A/Revenue                     4.7%     4.9%         0.1%            6.3%     6.2%    -0.1%
 Operating Inc                   29.7%    29.2%        -0.5%           26.0%    26.0%     0.0%
 NIBT                            30.3%    29.5%        -0.9%           26.6%    26.4%    -0.1%
 Tax rate                        14.5%    16.5%         2.0%           14.5%    15.0%     0.5%
 Net Income                      25.9%    24.6%        -1.3%           22.7%    22.5%    -0.2%

Annual growth
  Revenues                        7.6%     4.7%        -2.9%            4.5%     6.9%     2.3%
  Operating Income                7.4%     2.5%        -4.8%            2.6%     4.7%     2.1%
  NIBT                            6.6%     0.8%        -5.8%            2.0%     4.2%     2.2%
  Net Income                     22.8%    13.4%        -9.4%            1.8%     4.1%     2.4%
  EPS                            33.8%    22.8%       -11.0%           10.1%    11.7%     1.7%
  Dividends                      15.9%    15.9%         0.0%            8.9%     8.9%     0.0%

Source: Company reports; BTIG




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Estimate Revisions – Revenue Analysis

Apple Revenue Analysis             OLD      NEW           Diff           OLD         NEW       Diff
$ millions                       Dec-18    Dec-18                      CY2019      CY2019


Revenue by Product              94,994    92,422     (2,571)        281,816      288,226    6,410
  iPhone                         65,625    62,344      (3,281)        168,417     174,619    6,201
  iPad                            6,099     6,319         220          20,796      20,838       43
  Mac                             6,681     7,421         739          26,131      27,883    1,752
  Services                       10,589    10,589           0          47,172      46,886     (286)
  Other Products                  6,000     5,750        (250)         19,300      18,000   (1,300)

Annual Revenue Growth              7.6%      4.7%       -2.9%            4.5%        6.9%     2.3%
  iPhone                           6.6%      1.2%       -5.3%            0.7%        4.3%     3.6%
  iPad                             4.0%      7.8%        3.8%            4.0%        8.2%     4.1%
  Mac                             -3.1%      7.6%       10.7%            6.2%        7.2%     1.0%
  Services                        25.0%     25.0%        0.0%           19.3%       19.3%     0.0%
  Other Products                   9.3%      4.8%       -4.6%            6.1%        1.8%    -4.3%

Revenue Mix
  iPhone                          69.1%     67.5%       -1.6%           59.8%       60.6%     0.8%
  iPad                             6.4%      6.8%        0.4%            7.4%        7.2%    -0.1%
  Mac                              7.0%      8.0%        1.0%            9.3%        9.7%     0.4%
  Services                        11.1%     11.5%        0.3%           16.7%       16.3%    -0.5%
  Other Products                   6.3%      6.2%        0.0%            6.8%        6.2%     0.0%

Units
  iPhone                         80,000    76,000      (4,000)        227,000     219,000   (8,000)
  iPad                           13,433    12,907        (527)         45,491      42,858   (2,633)
  Mac                             4,856     5,240         383          18,364      18,859      495

Annual Unit Growth
  iPhone                           3.5%     -1.7%       -5.2%            2.7%        1.2%    -1.5%
  iPad                             2.0%     -2.0%       -4.0%            2.0%       -1.0%    -3.0%
  Mac                             -5.0%      2.5%        7.5%            4.0%        2.8%    -1.2%

Average Sales Prices
  iPhone                            820       820          0              742         797      55
  iPad                              454       490         36              457         486      29
  Mac                             1,376     1,416         40            1,423       1,479      56

Annual ASP Growth
  iPhone                           3.0%      3.0%        0.0%            -2.0%       3.0%     5.0%
  iPad                             2.0%     10.0%        8.0%             2.0%       9.2%     7.2%
  Mac                              2.0%      5.0%        3.0%             2.1%       4.2%     2.2%

Source: Company reports; BTIG




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           Income Statement
           Apple Income Statement                                                                                                         Est         Est        Est        Est         Est       Est
           $ millions                  2015        2016        2017         Dec         Mar           Jun        Sep        2018         Dec         Mar        Jun        Sep        2019       Dec
           Revenues                 233,715     215,639     229,234      88,293      61,137        53,265     62,900     265,595      92,422      65,126     57,730     67,607     282,885    97,763
           Cost of goods sold       140,089     131,376     141,048      54,381      37,715        32,844     38,816     163,756      56,840      40,378     35,793     41,916     174,927    60,613
           Gross profit              93,626      84,263      88,186      33,912      23,422        20,421     24,084     101,839      35,583      24,748     21,937     25,691     107,958    37,150

           R&D                        8,067      10,045      11,581       3,407       3,378         3,701      3,750      14,236       4,159       3,729      4,127      4,166      16,180     4,595
           SG&A                      14,329      14,194      15,261       4,231       4,150         4,108      4,216      16,705       4,482       4,388      4,423      4,498      17,792     4,693
           Operating Income          71,230      60,024      61,344      26,274      15,894        12,612     16,118      70,898      26,941      16,631     13,387     17,027      73,986    27,863

           Other inc and exp          1,285       1,348       2,745         756         274           672        303       2,005         300         300        300        300       1,200       400
           NIBT                      72,515      61,372      64,089      27,030      16,168        13,284     16,421      72,903      27,241      16,931     13,687     17,327      75,186    28,263

           Taxes                     19,121      15,685      15,738       6,965       2,346         1,765      2,296      13,372       4,495       2,540      2,053      2,599      11,687     4,239
           Net Income                53,394      45,687      48,351      20,065      13,822        11,519     14,125      59,531      22,746      14,391     11,634     14,728      63,500    24,023

           EPS                        $9.20       $8.28       $9.19       $3.89       $2.73         $2.34      $2.91      $11.87       $4.78       $3.08      $2.53      $3.25      $13.63     $5.40
             Shares out               5,793       5,500       5,252       5,158       5,068         4,927      4,848       5,000       4,762       4,680      4,601      4,526       4,642     4,453
           Dividends per share        $1.98       $2.18       $2.40       $0.63       $0.63         $0.73      $0.73       $2.72       $0.73       $0.73      $0.78      $0.78       $3.02     $0.78
             Dividends               11,464      11,984      12,599       3,249       3,193         3,596      3,539      13,578       3,476       3,416      3,589      3,530      14,012     3,473

           Margins
            GPM                       40.1%        39.1%       38.5%      38.4%       38.3%         38.3%      38.3%        38.3%      38.5%       38.0%      38.0%      38.0%       38.2%     38.0%
            R&D/Revenue                3.5%         4.7%        5.1%       3.9%        5.5%          6.9%       6.0%         5.4%       4.5%        5.7%       7.1%       6.2%        5.7%      4.7%
            SG&A/Revenue               6.1%         6.6%        6.7%       4.8%        6.8%          7.7%       6.7%         6.3%       4.9%        6.7%       7.7%       6.7%        6.3%      4.8%
            Operating Inc             30.5%        27.8%       26.8%      29.8%       26.0%         23.7%      25.6%        26.7%      29.2%       25.5%      23.2%      25.2%       26.2%     28.5%
            NIBT                      31.0%        28.5%       28.0%      30.6%       26.4%         24.9%      26.1%        27.4%      29.5%       26.0%      23.7%      25.6%       26.6%     28.9%
            Tax rate                  26.4%        25.6%       24.6%      25.8%       14.5%         13.3%      14.0%        18.3%      16.5%       15.0%      15.0%      15.0%       15.5%     15.0%
            Net Income                22.8%        21.2%       21.1%      22.7%       22.6%         21.6%      22.5%        22.4%      24.6%       22.1%      20.2%      21.8%       22.4%     24.6%

           Annual growth
             Revenues                  27.9%       -7.7%        6.3%      12.7%       15.6%         16.8%      21.1%        15.9%       4.7%        6.5%        8.4%      7.5%        6.5%      5.8%
             Operating Income          35.7%      -15.7%        2.2%      12.5%       12.7%         17.1%      22.9%        15.6%       2.5%        4.6%        6.1%      5.6%        4.4%      3.4%
             NIBT                      35.6%      -15.4%        4.4%      11.8%       10.1%         17.5%      18.0%        13.8%       0.8%        4.7%        3.0%      5.5%        3.1%      3.7%
             Net Income                35.1%      -14.4%        5.8%      12.2%       25.3%         32.1%      31.8%        23.1%      13.4%        4.1%        1.0%      4.3%        6.7%      5.6%
             EPS                       43.0%      -10.0%       11.0%      15.9%       30.1%         40.4%      41.0%        29.2%      22.8%       12.8%        8.1%     11.7%       14.9%     12.9%
             Dividends                  9.3%       10.1%       10.1%      10.5%       10.5%         15.9%      15.9%        13.3%      15.9%       15.9%        6.8%      6.8%       11.0%      6.8%

           Net cash per share         $24.85      $27.91      $29.56      $31.54      $28.68       $26.21      $25.29      $25.29      $24.43      $22.59     $21.08     $21.02     $21.02     $21.13
             Net cash               (141,204)   (150,553)   (153,215)   (162,697)   (145,386)    (129,143)   (122,617)   (122,617)   (116,332)   (105,723)   (97,014)   (95,116)   (95,116)   (94,095)

           FCF                       69,778      50,888      50,408      25,235      11,183        11,221     16,482      64,121      18,280      12,682     16,006     21,601      68,568    23,541
             Annual growth              40%        -27%         -1%          7%         18%           90%        45%         27%        -28%         13%        43%        31%          7%       29%
             % of revenue               30%         24%         22%         29%         18%           21%        26%         24%         20%         19%        28%        32%         24%       24%
             Per share               $11.99       $9.22       $9.56       $4.89       $2.21         $2.28      $3.40      $12.78       $3.84       $2.71      $3.48      $4.77      $14.80     $5.29


           Source: Company reports; BTIG
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           Revenue Analysis
           Apple Revenue Analysis                                    iPhone 8X-->                                               Est       Est       Est       Est       Est       Est
           $ millions                   2015       2016       2017       Dec-17      Mar-18    Jun-18    Sep-18      2018    Dec-18    Mar-19    Jun-19    Sep-19      2019    Dec-19


           Revenue by Product       233,715    215,639    229,234      88,293       61,137    53,265    62,900 265,595      92,422    65,126    57,730    67,607 282,885      97,763
             iPhone                  155,041    136,700    141,319      61,576       38,032    29,906    37,185   166,699    62,344    39,385    30,952    38,800   171,481    65,481
             iPad                     23,227     20,628     19,222       5,862        4,113     4,741     4,089    18,805     6,319     4,313     5,459     4,621    20,712     6,446
             Mac                      25,471     22,831     25,850       6,895        5,848     5,330     7,411    25,484     7,421     6,399     6,394     7,710    27,924     7,380
             Services                 19,909     24,348     29,980       8,471        9,190     9,548     9,981    37,190    10,589    11,028    11,174    11,977    44,768    12,707
             Other Products           10,067     11,132     12,863       5,489        3,954     3,740     4,234    17,417     5,750     4,000     3,750     4,500    18,000     5,750

           Annual Revenue Growth       27.9%      -7.7%       6.3%        12.7%       15.6%     16.8%     21.1%     15.9%      4.7%      6.5%      8.4%      7.5%      6.5%      5.8%
             iPhone                    52.0%     -11.8%       3.4%        13.2%       14.4%     20.4%     28.9%     18.0%      1.2%      3.6%      3.5%      4.3%      2.9%      5.0%
             iPad                     -23.3%     -11.2%      -6.8%         5.9%        5.8%     -4.6%    -15.4%     -2.2%      7.8%      4.9%     15.2%     13.0%     10.1%      2.0%
             Mac                        5.8%     -10.4%      13.2%        -4.8%        0.1%     -4.7%      3.4%     -1.4%      7.6%      9.4%     20.0%      4.0%      9.6%     -0.6%
             Services                  10.2%      22.3%      23.1%        18.1%       30.5%     28.2%     27.0%     24.0%     25.0%     20.0%     20.0%     20.0%     20.4%     20.0%
             Other Products            20.1%      10.6%      15.5%        36.4%       37.6%     36.7%     31.0%     35.4%      4.8%      1.2%      0.3%      6.3%      3.3%      0.0%

           Revenue Mix
             iPhone                    66.3%      63.4%      61.6%        69.7%       62.2%     56.1%     59.1%     62.8%     67.5%     60.5%     53.6%     57.4%     60.6%     67.0%
             iPad                       9.9%       9.6%       8.4%         6.6%        6.7%      8.9%      6.5%      7.1%      6.8%      6.6%      9.5%      6.8%      7.3%      6.6%
             Mac                       10.9%      10.6%      11.3%         7.8%        9.6%     10.0%     11.8%      9.6%      8.0%      9.8%     11.1%     11.4%      9.9%      7.5%
             Services                   8.5%      11.3%      13.1%         9.6%       15.0%     17.9%     15.9%     14.0%     11.5%     16.9%     19.4%     17.7%     15.8%     13.0%
             Other Products             4.3%       5.2%       5.6%         6.2%        6.5%      7.0%      6.7%      6.6%      6.2%      6.1%      6.5%      6.7%      6.4%      5.9%

           Units
             iPhone                  231,218    211,884    216,756      77,316       52,217    41,300    46,889   217,722    76,000    52,500    41,500    47,500   217,500    77,500
             iPad                     54,856     45,590     43,753      13,170        9,113    11,553     9,699    43,535    12,907     8,931    11,322     9,699    42,858    12,907
             Mac                      20,587     18,484     19,251       5,112        4,078     3,720     5,299    18,209     5,240     4,250     4,250     5,250    18,990     5,109

           Annual Unit Growth
             iPhone                    36.6%      -8.4%       2.3%        -1.2%        2.9%      0.7%      0.5%      0.4%     -1.7%      0.5%      0.5%      1.3%     -0.1%      2.0%
             iPad                     -19.3%     -16.9%      -4.0%         0.7%        2.1%      1.1%     -6.1%     -0.5%     -2.0%     -2.0%     -2.0%      0.0%     -1.6%      0.0%
             Mac                        8.9%     -10.2%       4.1%        -4.9%       -2.9%    -13.3%     -1.6%     -5.4%      2.5%      2.5%      0.0%      0.0%      4.3%     -2.5%

           Average Sales Prices
             iPhone                      671        645        652          796         728       724       793       766       820       750       746       817       788       845
             iPad                        423        452        439          445         451       410       422       432       490       483       482       476       483       499
             Mac                       1,237      1,235      1,343        1,349       1,434     1,433     1,399     1,400     1,416     1,506     1,504     1,468     1,470     1,445

           Annual ASP Growth
             iPhone                    11.3%      -3.8%       1.1%        14.7%       11.2%     19.6%     28.3%     17.4%      3.0%      3.0%      3.0%      3.0%      3.0%      3.0%
             iPad                      -5.0%       6.9%      -2.9%         5.2%        3.5%     -5.7%     -9.9%     -1.7%     10.0%      7.0%     17.5%     13.0%     11.9%      2.0%
             Mac                       -2.9%      -0.2%       8.7%         0.1%        3.0%     10.0%      5.1%      4.2%      5.0%      5.0%      5.0%      5.0%      5.1%      2.0%


           Source: Company reports; BTIG
                                                                                                                                                                                                                   Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 297 of 607

                                                                                                                                                                                                       Exhibit 9




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                                                                                                 Exhibit 9


           BTIG Covered Companies Mentioned in this Report

           APPLE, INC. (AAPL, Buy, $235.00 PT; Current Price: $222.22; Analyst: Walter.Piecyk)




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                                                                                                             Exhibit 9


           Appendix: Analyst Certification and Other Important Disclosures
           Analyst Certification
           I, Walter Piecyk, hereby certify that the views about the companies and securities discussed in this report are
           accurately expressed and that I have not received and will not receive direct or indirect compensation in exchange
           for expressing specific recommendations or views in this report.
           I, Joseph Galone, hereby certify that the views about the companies and securities discussed in this report are
           accurately expressed and that I have not received and will not receive direct or indirect compensation in exchange
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           notwithstanding price fluctuations that would cause the target to fall outside of the 15% return.
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           BUY: 58.4%; NEUTRAL: 38.3%; SELL: 3.4%

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           BUY: 28.2%; NEUTRAL: 10.5%; SELL: 0.00%

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           Company Valuation and Risk Disclosures
           Apple, Inc. (AAPL, Buy, $235.00 PT)
           Valuation: Our $235 price target is based on 16.5x our CY 2019 EPS estimate of $14.25, which reflects 12% growth
           in that year. Our price target implies a free cash flow yield of 6.5% and 7.3% if you reduced the market cap by the
           more than $123 billion of net cash.
           Risks: Apple competes against a number of traditional and start-up wireless device manufacturers who are
           constantly bringing new products to market that could potentially take share from the company. These
           competitors could also be more willing to cut prices and have promotional offers in the market.




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           Note: Apple completed a 7-for-1 stock split after the close on June 6, 2014.


           Other Disclosures
           Additional Information Available Upon Request
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Apple Inc.
AAPL: $222.22                F4Q18 Quick Take; Solid Quarter But Guidance Reflects             November 1, 2018
Buy                                                Uncertainty




                                                                                                     Imaging Technology
                                                                                                           IT Hardware
Summary                                                                                              Enterprise Software
                                                                                                             IT Services
Apple (AAPL, Buy) reported F4Q18 results better than our above the Street estimates.                     Shannon Cross
Revenue was $62.9 billion (up 20% y/y), versus our estimate of $62.2 billion and the Street    shannon@crossresearch.com
at $61.4 billion and EPS was $2.91, versus our estimate of $2.82 and the Street at $2.78.                  973-376-8600
The revenue beat was driven by better than expected iPad and Mac units, while iPhone                       Robert Cross
revenue was in-line with our estimate but reflected a strong mix of high-end units as ASP          rob@crossresearch.com
came in $793, 6% above our estimate and up 28% y/y. Services revenue was up 17% y/                         973-376-8600
y, slightly lower than our 20% estimate while Other revenue was up 31% y/y, better than
                                                                                                             Ashley Ellis
our 21% y/y estimate, likely on Wearables strength. However, Apple guided F1Q19 below           ashley@crossresearch.com
our estimates which we think may be conservative given currency and macro headwinds
as international sales accounted for 61% of F4Q18 revenue. We also note that Apple's
guidance range for the December quarter ($89 billion to $93 billion) is the widest range we
remember which likely reflects management uncertainty. We note Greater China revenue
was up 16% y/y, the slowest growth of the company's major geos, albeit still strong.
Reiterate Buy and $260 price target.
Apple management is hosting a conference call to discuss the results at 5:00PM ET.
Dial-in number is (888) 254-3590.




Quarter Highlights
• iPhone units were 46.9 million (flat y/y), below our estimate of 49.7 million. iPhone
  ASPs were $793 (up 28% y/y), above our estimate of $750.
• iPad units were 9.7 million (down 6% y/y), above our estimate of 9.3 million. iPad
  ASPs were $422 (down 10% y/y), above our estimate of $419.



Disclosures and analyst certifications are located on page 3 of this report.
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                                                                                          Exhibit 9
        C ROSS R ESEARCH

Apple Inc.
AAPL: $222.22              F4Q18 Quick Take; Solid Quarter But Guidance Reflects           November 1, 2018
Buy                                              Uncertainty

• Mac units were 5.3 million (down 2% y/y), above our estimate of 4.9 million. Mac
  ASPs were $1,399 (up 5% y/y), below our estimate of $1,412.
• Services revenue was $10.0 billion (up 17% y/y), slightly below our estimate of $10.2
  billion.
• Other Product revenue was $4.2 billion (up 31% y/y), above our estimate of $3.9
  billion.
• Gross margin was 38.3% (up 38 bps y/y but down 5 bps q/q), in-line with our estimate.
• Other Income was $303 million (down 62% y/y), essentially in-line with our estimate
  and guidance.
• The company generated $19.5 billion of cash from operations and ended the quarter
  with $237.1 billion of cash and marketable securities.




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                                                                                                                   Exhibit 9
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Apple Inc.
AAPL: $222.22                  F4Q18 Quick Take; Solid Quarter But Guidance Reflects                                  November 1, 2018
Buy                                                  Uncertainty

Regulatory Required Disclosures
Analyst Certification
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reflect our personal views about the subject securities as of the date of this report. The Analyst(s) responsible for covering the securities
mentioned in this report does not receive direct or indirect compensation for the specific recommendation(s) in this research report.




                                             Distribution of Ratings by Coverage Universe
                      Rating                                                   Count             Percent
                      BUY                                                          19             50.00
                      HOLD                                                         18             47.37
                      SELL                                                          1              2.63

Cross Research Rating Key:
Buy: In the analyst's opinion, the stock will outperform the general market over the next 12 months.
Hold: In the analyst's opinion, the stock will perform inline with the general market over the next 12 months.
Sell: In the analyst's opinion, the stock will underperform the general market over the next 12 months.
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                                                                                                                                                                             Exhibit 9
                                                                                                                                                          1 November 2018 | 11:25PM PDT




                                                     Apple Inc. (AAPL)
 Neutral


                                                     FQ4’18 Wrap: Guidance weak on EM and FX weakness; ASPs higher


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                                                                                                                          Rod Hall, CFA
                                                                                                                          +1(415)249-7437 | rod.hall@gs.com
                                                                                                                          Goldman Sachs & Co. LLC

                                               Apple reported strong FQ4 revenue, but missed on FQ1 guidance              Ashwin Kesireddy
                                                                                                                          +1(415)249-7489 | ashwin.kesireddy@gs.com
                                               due to weakness in EMs and adverse currency movements. The                 Goldman Sachs & Co. LLC

                                               company said they did not see weak consumer demand in China in             Balaji Krishnamurthy, CFA
                                                                                                                          +1(415)249-7482 | balaji.krishnamurthy@gs.com
                                               FQ4 but we believe FQ1 guidance may still assume some potential            Goldman Sachs & Co. LLC

                                               for weaker demand there given ongoing macro uncertainty. As we             RK Raghunathan Kamesh
                                                                                                                          +1(415)249-7443 | rk.raghunathankamesh@gs.com
                                               had expected heading into the print, ASPs were strong (7.5% beat)          Goldman Sachs & Co. LLC
For the exclusive use of MATTBLAKE@APPLE.COM




                                               and we are taking up our ASP numbers for FY19, but reducing our            Key Data __________________________________
                                               iPhone units estimate. Apple also announced that they will stop                                                                   
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                                               providing unit data beginning next quarter though they will begin                                                              
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                                               providing margins for both services and product. We also believe                                "#$% &'$( )
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                                               the company is likely to continue to provide segment level active                                                       +!!!,)-./
                                               installed base numbers irregularly. Overall, our FY19 EPS declines         GS Forecast ________________________________
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                                               by 5.5% and we are taking down our 12-month PT to $222 from                                                              
                                               $240 based on a 16x P/E multiple and our lower earnings forecast.                                                    
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                                                   FQ1’19 Guidance Miss Due to EMs. The midpoint of FQ1’19               '( )("#                                                        

                                                    (Dec’18 QTR) revenue guidance at $91bn (range: $89bn-$93bn)                                                                                 
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                                                    missed our estimate by 4.3% and FactSet consensus by 2.1%,
                                                    gross margin at 38.3% (range: 38.0%-38.5%) came in 0.1pp              GS Factor Proﬁle ____________________________
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                                                    below our estimate and 0.3pp below consensus. The implied
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                                                    FQ1’19 EPS at $4.54 (range: $4.36-$4.72) missed our estimate
                                                    by 10.1% and cons by 7.7%. We believe consumer weakness in               


                                                    markets such as Turkey, Russia, India, Brazil and possibly China         

                                                    is driving the weaker guidance. Turkey, Russia, India and Brazil
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                                                    alone contributed 6% of total iPhone units in FQ1’18.
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                                                   No Signs of Weakness in China. Revenue in Greater China                                                      

                                                    grew 16% Y/Y in FQ4’18 to $11.4bn and management
                                                                                                                                            Source: Company data, Goldman Sachs Research estimates.
                                                    commented that they have not seen any signs of weakness in                                                            See disclosures for details.




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                                               Goldman Sachs                                                                                                                                                                       Exhibit    9(AAPL)
                                                                                                                                                                                                                                      Apple Inc.

                                                                  Apple Inc. (AAPL)                                                                                    Balance Sheet ($ mn) _____________________________________
                                                   Neutral        Rating since Feb 6, 2018                                                                                     
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                                               Goldman Sachs                                                                             Exhibit    9(AAPL)
                                                                                                                                            Apple Inc.


                                                                      China through the end of September. We believe the high end smartphone market
                                                                      remained strong during Q3, while the low/mid end category deteriorated. We
                                                                      believe Golden week smartphone sales in early October were down about 20% Y/Y
                                                                      with Apple also seeing some weakness in that holiday but this was before the
                                                                      popular XR launched. While Apple indicated China was ﬁne in FQ4 to Sept for them
                                                                      we believe the company likely sees some demand risk there in the December
                                                                      quarter.
                                                                     iPhone ASP strength. Reported iPhone ASP at $793 beat our estimate by ~$55 or
                                                                      7.5% due to a better than expected mix of XS and XS Max. We are increasing our
                                                                      FQ1’19 ASP by ~2% to $835. We believe Apple is seeing better price elasticity at
                                                                      higher price points as its sticky base of users are willing to pay up for more features.
                                                                      Should Apple ﬁnd even more expensive features to add to its devices that it believes
                                                                      add value for users we think they would not hesitate to increase high end device
                                                                      prices further.
                                                                     NAND Unwind Could Still Show up. Apple guided to roughly ﬂat margins Q/Q in
                                                                      FQ1’19, in spite of the improved NAND pricing environment. Management noted
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                                                                      only 30bps of favorable impact from NAND during FQ1’19. We note that FQ4’18
                                                                      margins were also ﬂat Q/Q. It seems likely to us that Apple is still utilizing higher
                                                                      cost NAND out of inventory and not yet beneﬁtting from the full impact of recent
                                                                      price declines. We believe this is evident in the aggressive draw down of inventory
                                                                      in FQ4’18 (down ~$2bn Q/Q vs. last three years avg of +$772m). We believe this
                                                                      leaves some room for gross margin outperformance in FY19 as Apple starts realizing
                                                                      the beneﬁts of current lower NAND prices with a lag.
                                                                     Reduced Disclosures. Management on the call commented that Apple will stop
                                                                      reporting shipments of iPhone, Mac and iPad units starting in FQ1’19. The company
                                                                      will still report revenue by segments and will provide additional disclosure in the
                                                                      form of gross margin splits between Products and Services.
                                                                     FQ4’18 beat driven by strong iPhone ASP. Total revenue of $62.9bn in FQ4 was
                                                                      2.7% above our estimate of $61.3bn, driven primarily by higher iPhone revenue but
                                                                      partially offset by lower iPad revenue. Gross Margin of 38.3% and OpEx of $8.0bn
                                                                      were both roughly in-line with our estimates. FQ4 EPS at $2.91 was 4.9% above our
                                                                      estimate of $2.78.




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                                               Goldman Sachs                                                                                                                                                                     Exhibit    9(AAPL)
                                                                                                                                                                                                                                    Apple Inc.



                                               Exhibit 1: FQ4’18 Earnings summary
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                                               Source: Company data, Goldman Sachs Global Investment Research, FactSet


                                                                                          Exhibit 2: FQ1’19 Guidance summary
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                                                                                          Source: Company data, Goldman Sachs Global Investment Research, FactSet




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                                               Goldman Sachs                                                                                                                               Exhibit    9(AAPL)
                                                                                                                                                                                              Apple Inc.



                                                                  Exhibit 3: iPhone ASP Trend

                                                                   $900                                                                                                                                              30%
                                                                                                                                                          $835                                           $840
                                                                                                            $796                             $793                                            $780
                                                                   $800                                                                                              $775
                                                                                                                                                                                $754
                                                                                                                       $728        $724                                                                              25%
                                                                   $700       $655
                                                                                        $606      $618                                                                                                               20%
                                                                   $600

                                                                   $500                                                                                                                                              15%


                                                                   $400                                                                                                                                              10%

                                                                   $300
                                                                                                                                                                                                                     5%
                                                                   $200
                                                                                                                                                                                                                     0%
                                                                   $100

                                                                      $0                                                                                                                                             -5%




                                                                                                                                                                                              Sep-19E
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                                                                                                              Dec-17




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                                                                                                                                                                      Mar-19E
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                                                                                                   Sep-17




                                                                                                                                                Sep-18
                                                                               Mar-17




                                                                                                                        Mar-18
                                                                                                                                 iPhone ASP              Y/Y
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                                                                  Source: Company data, Goldman Sachs Global Investment Research


                                                                  Exhibit 4: iPhone Units Trend
                                                                  units in millions

                                                                    90.0                                                                                                                                             4%

                                                                    80.0                                     77.3                                                                                                    3%
                                                                                                                                                          74.4                                           73.8
                                                                    70.0                                                                                                                                             2%

                                                                    60.0                                                                                                                                             1%
                                                                              50.8                                     52.2                                          51.9
                                                                    50.0                           46.7                                       46.9                                           47.1                    0%
                                                                                        41.0                                       41.3                                         41.4
                                                                    40.0                                                                                                                                             -1%

                                                                    30.0                                                                                                                                             -2%

                                                                    20.0                                                                                                                                             -3%

                                                                    10.0                                                                                                                                             -4%

                                                                      -                                                                                                                                              -5%
                                                                                         Jun-17




                                                                                                              Dec-17




                                                                                                                                    Jun-18




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                                                                                                                                                           Dec-18E




                                                                                                                                                                                 Jun-19E




                                                                                                                                                                                                           Dec-19E
                                                                               Mar-17




                                                                                                   Sep-17




                                                                                                                        Mar-18




                                                                                                                                                Sep-18




                                                                                                                                 iPhone Units            Y/Y



                                                                  Source: Company data, Goldman Sachs Global Investment Research




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                                               Goldman Sachs                                                                                                    Exhibit    9(AAPL)
                                                                                                                                                                   Apple Inc.



                                                                  Exhibit 5: Apple Inventory Trend
                                                                  $ in millions

                                                                   $9,000


                                                                   $8,000                                                                            $7,662

                                                                   $7,000

                                                                                                                                                              $5,936
                                                                   $6,000

                                                                                                                      $4,855
                                                                   $5,000
                                                                                                                                         $4,421
                                                                                                                                                                        $3,956
                                                                   $4,000
                                                                                                    $3,146
                                                                                  $2,910
                                                                   $3,000


                                                                   $2,000


                                                                   $1,000


                                                                        $0
                                                                                  Mar-17            Jun-17            Sep-17             Dec-17      Mar-18   Jun-18    Sep-18

                                                                                                                                   Apple Inventory
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                                                                  Source: Company data, Goldman Sachs Global Investment Research




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                                               Goldman Sachs                                                                                                                            Exhibit    9(AAPL)
                                                                                                                                                                                           Apple Inc.


                                               Forecast Changes
                                               Exhibit 6: Apple: FQ1’19 Forecast Changes

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                                               Source: Company data, Goldman Sachs Global Investment Research




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                                               Goldman Sachs                                                                        Exhibit    9(AAPL)
                                                                                                                                       Apple Inc.


                                               Price target methodology and risks

                                                                  We are reducing our 12-month price target to $222 based on ~16x P/E our CY’19 EPS
                                                                  estimate of $13.85. Key upside risks include better-than-expected iPhone demand,
                                                                  better than expected iPhone mix, signiﬁcantly outsized buybacks and meaningful
                                                                  dividend increase. Key downside risks include weakening iPhone demand, pressure on
                                                                  gross margins and large & dilutive acquisitions.
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                                               Goldman Sachs                                                                                                                       Exhibit    9(AAPL)
                                                                                                                                                                                      Apple Inc.


                                               Disclosure Appendix
                                               Reg AC
                                               I, Rod Hall, CFA, hereby certify that all of the views expressed in this report accurately reﬂect my personal views about the subject company or
                                               companies and its or their securities. I also certify that no part of my compensation was, is or will be, directly or indirectly, related to the speciﬁc
                                               recommendations or views expressed in this report.
                                               Unless otherwise stated, the individuals listed on the cover page of this report are analysts in Goldman Sachs’ Global Investment Research division.

                                               GS Factor Proﬁle
                                               The Goldman Sachs Factor Proﬁle provides investment context for a stock by comparing key attributes to the market (i.e. our coverage universe) and its
                                               sector peers. The four key attributes depicted are: Growth, Financial Returns, Multiple (e.g. valuation) and Integrated (a composite of Growth, Financial
                                               Returns and Multiple). Growth, Financial Returns and Multiple are calculated by using normalized ranks for speciﬁc metrics for each stock. The
                                               normalized ranks for the metrics are then averaged and converted into percentiles for the relevant attribute. The precise calculation of each metric may
                                               vary depending on the ﬁscal year, industry and region, but the standard approach is as follows:
                                               Growth is based on a stock’s forward-looking sales growth, EBITDA growth and EPS growth (for ﬁnancial stocks, only EPS and sales growth), with a
                                               higher percentile indicating a higher growth company. Financial Returns is based on a stock’s forward-looking ROE, ROCE and CROCI (for ﬁnancial
                                               stocks, only ROE), with a higher percentile indicating a company with higher ﬁnancial returns. Multiple is based on a stock’s forward-looking P/E, P/B,
                                               price/dividend (P/D), EV/EBITDA, EV/FCF and EV/Debt Adjusted Cash Flow (DACF) (for ﬁnancial stocks, only P/E, P/B and P/D), with a higher percentile
                                               indicating a stock trading at a higher multiple. The Integrated percentile is calculated as the average of the Growth percentile, Financial Returns
                                               percentile and (100% - Multiple percentile).
                                               Financial Returns and Multiple use the Goldman Sachs analyst forecasts at the ﬁscal year-end at least three quarters in the future. Growth uses inputs
                                               for the ﬁscal year at least seven quarters in the future compared with the year at least three quarters in the future (on a per-share basis for all metrics).
                                               For a more detailed description of how we calculate the GS Factor Proﬁle, please contact your GS representative.
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                                               M&A Rank
                                               Across our global coverage, we examine stocks using an M&A framework, considering both qualitative factors and quantitative factors (which may vary
                                               across sectors and regions) to incorporate the potential that certain companies could be acquired. We then assign a M&A rank as a means of scoring
                                               companies under our rated coverage from 1 to 3, with 1 representing high (30%-50%) probability of the company becoming an acquisition target, 2
                                               representing medium (15%-30%) probability and 3 representing low (0%-15%) probability. For companies ranked 1 or 2, in line with our standard
                                               departmental guidelines we incorporate an M&A component into our target price. M&A rank of 3 is considered immaterial and therefore does not
                                               factor into our price target, and may or may not be discussed in research.

                                               Quantum
                                               Quantum is Goldman Sachs’ proprietary database providing access to detailed ﬁnancial statement histories, forecasts and ratios. It can be used for
                                               in-depth analysis of a single company, or to make comparisons between companies in different sectors and markets.

                                               GS SUSTAIN
                                               GS SUSTAIN is a global investment strategy focused on the generation of long-term alpha through identifying high quality industry leaders. The GS
                                               SUSTAIN 50 list includes leaders we believe to be well positioned to deliver long-term outperformance through superior returns on capital, sustainable
                                               competitive advantage and effective management of ESG risks vs. global industry peers. Candidates are selected largely on a combination of
                                               quantiﬁable analysis of these three aspects of corporate performance.

                                               Disclosures
                                               Coverage group(s) of stocks by primary analyst(s)
                                               Rod Hall, CFA: America-Consumer Hardware & Mobility, America-IT Hardware, America-Networking.
                                               America-Consumer Hardware & Mobility: Apple Inc., Corning Inc., Sonos Inc..
                                               America-IT Hardware: Hewlett Packard Enterprise Co., HP Inc., NetApp Inc., Nutanix Inc., Presidio Inc., Pure Storage Inc..
                                               America-Networking: Acacia Communications Inc., ADTRAN Inc., Arista Networks Inc., ARRIS International Plc, Ciena Corp., Cisco Systems Inc., F5
                                               Networks Inc., Finisar Corp., Inﬁnera Corp., Juniper Networks Inc., Lumentum Holdings.

                                               Company-speciﬁc regulatory disclosures
                                               The following disclosures relate to relationships between The Goldman Sachs Group, Inc. (with its afﬁliates, “Goldman Sachs”) and companies covered
                                               by the Global Investment Research Division of Goldman Sachs and referred to in this research.
                                               Goldman Sachs has received compensation for investment banking services in the past 12 months: Apple Inc. ($222.22)
                                               Goldman Sachs expects to receive or intends to seek compensation for investment banking services in the next 3 months: Apple Inc. ($222.22)
                                               Goldman Sachs had an investment banking services client relationship during the past 12 months with: Apple Inc. ($222.22)
                                               Goldman Sachs had a non-investment banking securities-related services client relationship during the past 12 months with: Apple Inc. ($222.22)
                                               Goldman Sachs had a non-securities services client relationship during the past 12 months with: Apple Inc. ($222.22)
                                               Goldman Sachs has managed or co-managed a public or Rule 144A offering in the past 12 months: Apple Inc. ($222.22)
                                               Goldman Sachs makes a market in the securities or derivatives thereof: Apple Inc. ($222.22)

                                               Distribution of ratings/investment banking relationships
                                               Goldman Sachs Investment Research global Equity coverage universe



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                                               Goldman Sachs                                                                                                                    Exhibit    9(AAPL)
                                                                                                                                                                                   Apple Inc.


                                                                                Rating Distribution                              Investment Banking Relationships
                                                                      Buy              Hold              Sell                   Buy              Hold             Sell
                                               Global                 35%              54%               11%                   64%               57%              55%


                                               As of October 1, 2018, Goldman Sachs Global Investment Research had investment ratings on 2,814 equity securities. Goldman Sachs assigns stocks
                                               as Buys and Sells on various regional Investment Lists; stocks not so assigned are deemed Neutral. Such assignments equate to Buy, Hold and Sell for
                                               the purposes of the above disclosure required by the FINRA Rules. See ‘Ratings, Coverage groups and views and related deﬁnitions’ below. The
                                               Investment Banking Relationships chart reﬂects the percentage of subject companies within each rating category for whom Goldman Sachs has
                                               provided investment banking services within the previous twelve months.

                                               Price target and rating history chart(s)
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                                               Regulatory disclosures
                                               Disclosures required by United States laws and regulations
                                               See company-speciﬁc regulatory disclosures above for any of the following disclosures required as to companies referred to in this report: manager or
                                               co-manager in a pending transaction; 1% or other ownership; compensation for certain services; types of client relationships; managed/co-managed
                                               public offerings in prior periods; directorships; for equity securities, market making and/or specialist role. Goldman Sachs trades or may trade as a
                                               principal in debt securities (or in related derivatives) of issuers discussed in this report.
                                               The following are additional required disclosures: Ownership and material conﬂicts of interest: Goldman Sachs policy prohibits its analysts,
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                                               Analyst compensation: Analysts are paid in part based on the proﬁtability of Goldman Sachs, which includes investment banking revenues. Analyst
                                               as ofﬁcer or director: Goldman Sachs policy generally prohibits its analysts, persons reporting to analysts or members of their households from
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                                               communications with subject company, public appearances and trading securities held by the analysts.
                                               Distribution of ratings: See the distribution of ratings disclosure above. Price chart: See the price chart, with changes of ratings and price targets in
                                               prior periods, above, or, if electronic format or if with respect to multiple companies which are the subject of this report, on the Goldman Sachs
                                               website at http://www.gs.com/research/hedge.html.

                                               Additional disclosures required under the laws and regulations of jurisdictions other than the United States
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                                               it, is intended only for “wholesale clients” within the meaning of the Australian Corporations Act, unless otherwise agreed by Goldman Sachs. In
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                                                                                                                                         Exhibit 9
6/30/2021                                                     Global smartphone shipments post fourth straight down quarter - CNET




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                  Global smartphone shipments post fourth
                  straight down quarter
                  Samsung is still king, but losing ground to Chinese rivals.


                          Steven Musil         Nov. 2, 2018 7:15 a.m. PT




                  The worldwide smartphone slump is oﬃcially a year old.

                  Global shipments of smartphones tumbled to 360 million units in the
                  third quarter, an 8 percent annual decline, market researcher Strategy
                  Analytics said Thursday. The results mark the fourth-straight quarter that
                  smartphone shipments have declined.

                  The smartphone market "is effectively in a recession," Linda Sui, director
                  at Strategy Analytics, said in a statement. "The smartphone industry is
                  struggling to come to terms with heavily diminished carrier subsidies,
                  longer replacement rates, inventory buildup in several regions, and a
                  lack of exciting hardware design innovation."



https://www.cnet.com/news/global-smartphone-shipments-post-fourth-straight-down-quarter/                                                                            1/3


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                                                                                                                         Exhibit 9
6/30/2021                                         Global smartphone shipments post fourth straight down quarter - CNET

                On Friday, market researcher IDC issued its own numbers for the third
                quarter, which largely match those of Strategy Analytics. It pointed to
                China, the world's largest market for smartphones, and to Samsung as
                key factors in the decline for the period. IDC also sees a recovery on the
                horizon for China starting in 2019.

                Markets overall could see signs of impending improvement before the
                end of this year.

                "The holiday quarter should be an exciting one with a wide selection of
                new flagship devices available," Anthony Scarsella, a research manager
                at IDC, said in a statement. "With the new iPhones, Mate 20, Pixel 3, V40,
                Note 9, and OnePlus 6T, we can expect consumers will have a plethora
                of options when upgrade time approaches."


                                         Watch this: iPhone XR vs. Pixel 3 camera
                                         comparison                                         6:39




                Samsung held on to its global smartphone crown with a 20 percent
                market share, but its 72.3 million units shipped during the quarter is a 13
                percent drop from the same quarter a year earlier. Samsung is being
                squeezed in the huge China and India markets by Huawei, Xiaomi and
                other Chinese rivals -- a problem the company needs to solve "before it's
                too late," Strategy Analytics said.

                Highlighting Samsung's problem, No. 2 Huawei's shipments increased
                32 percent annually to nearly 52 million smartphones in the quarter. The
                company's Android phones have little presence in North America but are
                "wildly popular" in the rest of the world, garnering a 14 percent market
                share, Strategy Analytics said.

                No. 3 Apple's shipment of 46.9 million smartphones represented a
                largely flat growth rate for the quarter and gave it a 13 percent market
                share. "The new iPhone XR, XS and XS Max range is in healthy demand,
                but Apple's relentless focus on price increases its capping its overall
                volume growth," Strategy Analytics' Woody Oh said in a statement.

                Xiaomi captured the No. 4 spot by shipping 33 million units in the
                quarter for a 9.2 percent market share, while No. 5 Oppo was close
                behind with an 8.7 percent market share on 31.2 million shipments.

                Originally published Nov. 1 at 4:13 p.m. PT.
                Updated Nov. 2 at 7:15 a.m. PT: Added information from IDC.

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                'Hello, humans': Google's Duplex could make Assistant the most lifelike
                AI yet



                                                      Phones | Xiaomi | Oppo | Huawei | Samsung
                             COMMENTS
                                                      Apple

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                                                                                                          Exhibit 9
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                         Figure 1:          Q418 key figures
                             $m unless stated           Actual     YoY     AE ests                                          Comments
                                                                    (%)
                             iPhone
                             Units (000s)                46,889      0%     47,856   x                    FY18 unit sales have been flat
                             ASP ($)                       793      28%        741   9     Likely boosted by XS channel fill & sell-thru…
                             Revenue                     37,185     29%     35,462   9        …which maybe hurts FQ1 revenue outlook

                             Services
                             Revenue                      9,981     17%      9,995   -           1pt QoQ decln, likely stable on cc basis

                             Macs
                             Units (000s)                 5,299     -2%      5,278   9           Fourth quarter of declining shipments…
                             ASP ($)                      1,399      5%      1,398   -           ...but eighth quarter of ASP increases…
                             Revenue                      7,411      3%      7,378   9                    ...driving solid revenue growth.

                             iPad
                             Units (000s)                 9,699     -6%     10,342   x    Earlier iPad refresh in ’17 drove tough comp…
                             ASP ($)                       422     -10%        439   x                         ...for volumes and ASP…
                             Revenue                      4,089    -15%      4,535   x                    ...driving the revenue shortfall.

                             Other products               4,234     31%      4,331   x          Slight deceleration from high-30s Q1-Q3
                             Total revenue               62,900     20%     61,700   9   Greater China slowest growing region, 16% YoY
                             Gross margin (%)            38.3%    +40bp      38.3%   -                    Estimated +100bp ex Services
                             Operating margin (%)        25.6%    +60bp.     25.4%   9               R&D +25% YoY, SG&A +11% YoY
                             Other income                  303     -62%        300   -
                             Diluted EPS ($)               2.91     41%       2.82   9                NI: +32% YoY, shares: -6% YoY…
                             Tax rate (%)                14.0%      -9pp     15.0%   9      …with tax driving 14pts of net income growth
                         Source: Atlantic Equities

                         Q4 (Sep) revenue was $1.44bn ahead of consensus, while the midpoint of Q1 (Dec) revenue
                         guidance was $1.9bn below expectations, resulting in a net shortfall of ~$450m across the two
                         quarters. However, with the stock on a six-year relative high PE multiple, we believe the market
                         had likely been expecting upside in Q1 revenue guidance, particularly given the breadth of new
                         products launched by the company.
                         Interpreting revenue guidance, it is necessary to consider the change in timing of the iPhone
                         launches. This year the high-end XS was launched in September, with the mid-priced XR made
                         available at the end of October, while last year it was the opposite way around, with the 8 coming
                         prior to the X. In terms of the impact this has had:
                               If we assume ~8m iPhone XS units were sold in the September quarter, compared to a
                                similar number of iPhone 8 units last year, then the difference in ASP (~$300) would have
                                added ~$2.5bn to revenue, boosting growth by ~5pts.
                               For the December quarter, the main difference seems primarily that last year, channel fill was
                                primarily focused on the iPhone X, whereas this year we estimate it will primarily be made up
                                of the iPhone XR. Assuming fairly consistent 6-7m channel fill of these devices in each year
                                (out of a total of ~21m devices in the channel) then this creates a $1.5-$1.8bn headwind to
                                Dec quarter revenue. The impact is arguably even bigger, if we assume all of the $2.5bn
                                pulled forward into Q4 (Sep) came out of Q1 (Dec), but we would expect Apple to be seeing
                                a net benefit given the significant increase to pricing.


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                                                                                    Exhibit 9
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         Leaving aside the nearer-term dynamics, it is clear that Apple is pursuing a strategy to
         increasingly drive growth by raising pricing. This seems sensible given the maturing smartphone
         market but also Apple’s loyal user base, with demand having generally been shown to be price
         inelastic historically. While sensible, we do have two concerns regarding this strategy:
            We believe there could be limits as to how far Apple can push pricing without materially
             impacting unit demand. Q1 revenue guidance seems broadly consistent with flattish iPhone
             shipments so it is not clear we have reached this point yet, though we fear we could begin to
             see some impact in FY20. In particular, by raising pricing we believe Apple is exacerbating
             the lengthening out of the replacement cycle, which we would expect to start seeing evidence
             of in FY20 as iPhone X buyers maybe choose to delay upgrading.
            Overall company gross margin continues to modestly decline despite the significant price
             increases and Services revenue also steadily increasing as a proportion of total revenue.
             This maybe suggests Apple has little choice but to raise pricing as a result of underlying cost
             pressures and/or the company having to invest more to try to differentiate its latest devices
             from prior generations.
         Given the combination of apparent pressures on unit growth, limits to further ASP increases and
         underlying gross margin declines, we believe Apple’s ‘Products’ segment deserves to trade on a
         relatively low multiple, not unlike other hardware companies facing similar headwinds.
         At the same time, Apple’s Services business continues to grow strongly, increasing revenue 27%




                                                                                                                   Intended for Matt Blake, Apple
         YoY in Q4. The company now has 330m paid subscriptions on its platform and management
         called out record revenue for the App Store, cloud services, AppleCare, Apple Music and Apple
         Pay. The performance is also particularly creditable given the headwinds to gaming revenue in
         China due to the regulatory situation there. We believe the company remains well positioned to
         continue driving robust Services revenue growth, with the only area of concern for us being
         AppleCare, which is arguably more tied to product sales and hence arguably less sustainable
         longer-term. Even so, given our expectation of a 20% FY18-FY20 Services CAGR, we believe
         the Services business deserves to trade on a low-20s multiple.
         Looking at our $215 price target, it requires a 14x FY20 PE multiple, a 10% discount to the
         market. This appears reasonable to us given it is towards the upper end of the stock’s historical
         range. Admittedly, over the last three months the stock has commanded a higher multiple, likely
         on optimism over the company’s pricing power and upside to December quarter estimates, both
         of which may be challenged after this latest earnings report. On a SOTP basis, we estimate our
         price target implies a ~24x FY20 PE multiple for the ‘Services’ business and a ~10x multiple for
         the ‘Products’ business, both of which we view as reasonable given the arguments above. As this
         implies just ~3% upside at the after-hours price of ~$208 we remain Neutral.




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                          Figure 2:       Target multiple below the range   Figure 3:       ...but at the upper end on a
                                          seen over the last two years…                     relative basis outside the last 3
                                                                                            months




                          Source: Atlantic Equities                         Source: Atlantic Equities




                                                                                                                                Intended for Matt Blake, Apple
                          Additional disclosure for securities traded on EU regulated markets
                          This disclosure is made for: Apple.
                          The basis of valuation or methodology used is: PE multiple.
                          The underlying assumptions used are: the stock will trade on a 14x PE, at the upper end of the
                          historical range on a relative basis.
                          The following is a sensitivity analysis of the above assumptions: If we use a 12x PE in our SOTP
                          for the Products segment then our price target goes to $240. If we use a 20x PE for the Services
                          business then our price target goes to $200.




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Figure 4:           Revised P&L

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Source: Atlantic Equities




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                                                                                                                               Exhibit 9
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                                                                                                                                                           Intended for Matt Blake, Apple




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                                                                                                            Apple Inc.                                                                                                                  Exhibit 9
                                                                                                            Long term winner but near term
                                                                                                            headwinds, Downgrading to Neutral
                                                                                                            Rating Change: NEUTRAL | PO: 220.00 USD | Price: 222.22 USD                                                  Equity | 02 November 2018



                                                                                                            Weaker guidance but not out of the woods yet                                                                 Key Changes
                                                                                                            We downgrade Apple to Neutral from Buy with a PO of $220. We recently cut our PO &
                                                                                                            ests. anticipating a weaker Dec guide. Post results we are incrementally concerned that                      (US$)                         Previous        Current
                                                                                                            not all the weakness is capture in N/T and we are likely to see further negative estimate                    Inv. Opinion                      B-1-7           B-2-7

                                                                                                            revisions. Although the L/T opportunity is significant, we expect N/T pressure on shares                     Inv. Rating                       BUY         NEUTRAL

                                                                                                            driven by: (1) iPhone unit pressure from weakening emerging markets, (2) iPhone unit                         Price Obj.                      235.00           220.00

                                                                                                            elasticity given significant step ups in ASPs, (3) deceleration in Services given weakening                  2019E Rev (m)                 289,566.7       285,466.5

                                                                                                            app store trends, (4) expectation of supply chain order cuts over the next few months, (5)                   2020E Rev (m)                 326,063.5       316,873.4

                                                                                                            significant positive revisions in the last year reversing to negative revisions in F2019, (6)                2021E Rev (m)                       NA        351,106.8

                                                                                                            potential flexible OLED phone from Samsung in 2019 (significant form factor change) can                      2019E EPS                        13.95            13.86

                                                                                                            create share headwinds, and (7) time for investors to adjust to the new disclosures.                         2020E EPS                        15.75            15.26
                                                                                                                                                                                                                         2021E EPS                           NA            16.98
                                                                                                            Most troublesome near-term trends
                                                                                                            We are concerned by: (1) Estimate decline in iPhone units. Our estimate of 72mn iPhones
                                                                                                            (sell in) for December quarter would likely imply ~3mn increase in channel inventory, which                  Wamsi Mohan
                                                                                                            would imply sell-out is down in December quarter to 69mn (vs 72mn last year). We model                       Research Analyst
                                                                                                                                                                                                                         MLPF&S
                                                                                                            F19 iPhones at 210mn (prior 214mn) and down y/y. (2) China was strong in C3Q but                             +1 646 855 3854
                                                                                                                                                                                                                         wamsi.mohan@baml.com
                                                                                                            emerging signs of weakness could pressure the next few quarters, (3) services likely
                                                                                                            decelerate strongly into C4Q (although only needs 15-20% growth to meet F2020 targets),                      Ruplu Bhattacharya
                                                                                                                                                                                                                         Research Analyst
                                                                                                            and (4) ASP upside not driving incremental gross margin upside (some FX headwinds).                          MLPF&S
                                                                                                                                                                                                                         +1 646 855 0315
                                                                                                            Valuation always compelling but multiple could compress                                                      ruplu.bhattacharya@baml.com

                                                                                                            Valuation metrics remain compelling for Apple, however in the last down-cycles despite                       Param Singh, CFA
                                                                                                                                                                                                                         Research Analyst
                                                                                                            compelling valuation the stock retraced 30%. AAPL stock has rallied 31% in C18 (vs.                          MLPF&S
                                                                                                                                                                                                                         +1 646 855 4256
                                                                                                            S15INFT up 11%), and has been a bastion of safety in large cap tech. We expect a 1-2x                        param.singh@baml.com
                                                                                                            multiple compression in the near term to pressure the stock.                                                 Ziv Israel
                                                                                                                                                                                                                         Research Analyst
                                                                                                            Where could we be wrong? PO moves to $220 (from $235)                                                        MLPF&S
                                                                                                                                                                                                                         ziv.israel@baml.com
                                                                                                            Stronger than expected share gains in iPhones, fading of China risks, incremental GM
                                                                                                            upside, acceleration in services and faster pace of buybacks could drive upside. PO of
                                                                                                            $220 is based on 15x C19 EPS of $14.23 (lower multiple vs. 16x given the weaker rev
                                                                                                            trajectory, potential start of unit declines).                                                               Stock Data
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                                                                                                                                                                                                                         Price                                       222.22 USD
                                                                                                            Estimates (Sep)                                                                                              Price Objective                             220.00 USD
                                                                                                            (US$)                                                           2017A    2018A    2019E    2020E    2021E    Date Established                             2-Nov-2018
                                                                                                            EPS                                                               9.21    11.91    13.86    15.26    16.98
                                                                                                                                                                                                                         Investment Opinion                                B-2-7
                                                                                                            GAAP EPS                                                          9.21    11.85    13.86    15.26    16.98
                                                                                                            EPS Change (YoY)                                                10.8%    29.3%    16.4%    10.1%    11.3%    52-Week Range                       150.24 USD - 233.47
                                                                                                            Consensus EPS (Bloomberg)                                                          11.79    13.72    14.96                                                      USD
                                                                                                            DPS                                                              2.39     2.71      3.06     3.37     3.70   Mrkt Val (mn) / Shares Out      1,146,163 USD / 5,157.8
                                                                                                                                                                                                                         (mn)
                                                                                                            Valuation (Sep)                                                                                              Average Daily Value (mn)                   7952.96 USD
                                                                                                                                                                            2017A    2018A    2019E    2020E    2021E    BofAML Ticker / Ex change                   AAPL / NAS
                                                                                                            P/E                                                             24.1x    18.7x    16.0x    14.6x    13.1x
                                                                                                                                                                                                                         Bloomberg / Reuters                 AAPL US / AAPL.OQ
                                                                                                            GAAP P/E                                                        24.1x    18.8x    16.0x    14.6x    13.1x
                                                                                                            Div idend Yield                                                  1.1%     1.2%     1.4%     1.5%     1.7%    ROE (2019E)                                      80.9%
                                                                                                            EV / EBITDA*                                                    16.9x    14.8x    13.7x    12.8x    11.9x    Net Dbt to Eqty (Sep-2018A)                      82.7%
                                                                                                            Free Cash Flow Yield*                                            4.5%     5.6%     5.6%     5.5%     6.2%
                                                                                                            * For full definitions of iQ method SM measures, see page 14.
                                                                                                                                                                                                                         Significant other notes:
                                                                                                            BofA Merrill Lynch does and seeks to do business with issuers covered in its research reports.               Lowering estimates to account for
                                                                                                            As a result, investors should be aware that the firm may have a conflict of interest that could              China risk, FX headwinds
                                                                                                            affect the objectivity of this report. Investors should consider this report as only a single
                                                                                                            factor in making their investment decision.
                                                                                                            Refer to important disclosures on page 15 to 17. Analyst Certification on page 13. Price
                                                                                                                                                                                                                         App Store Deep Dive
                                                                                                            Objective Basis/Risk on page 13.                                                          11932335

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                                                                                                                                              Exhibit 9
iQprofile Apple Inc.
                           SM



                                                                                                                       Company Sector
                                                                                                                       IT Hardware
iQmethod SM – Bus Performance*
(US$ Millions)                                                    2017A      2018A      2019E      2020E      2021E
Return on Capital Em ploy ed                                     19.1%      22.9%      29.6%      35.6%      32.4%     Company Description
Return on Equity                                                 36.9%      49.4%      80.9%     117.6%      74.9%
                                                                                                                       Apple Inc. (AAPL) designs, manufactures, and
Operating Margin                                                 28.9%      28.7%      28.9%      27.9%      27.5%
Free Cash Flow                                                   51,147     64,121     64,598     62,534     70,540    markets consumer electronics and computers, and
                                                                                                                       has developed its own proprietary iOS and Mac OS
                                                                                                                       X operating systems and related software
iQmethod SM – Quality of Earnings*                                                                                     platform/ecosystem. Revenues are principally
(US$ Millions)                                                   2017A      2018A      2019E      2020E      2021E     derived from the iPhone line of smartphones,
Cash Realization Ratio                                            1.3x       1.3x       1.2x       1.1x       1.1x
                                                                                                                       hardware sales of the Macintosh family of
Asset Replacement Ratio                                           1.2x       1.2x       1.2x       1.2x       1.3x
Tax Rate                                                         24.5%      18.3%      16.8%      17.0%      17.0%     notebook and desktop computers, iPad tablets, and
Net Debt-to-Equity Ratio                                         71.2%      82.7%     180.9%     124.8%      21.9%     iPod portable digital music players. The company
Interest Cov er                                                    NM         NM         NM         NM         NM      also realizes revenue from software, peripherals,
                                                                                                                       digital media, and services.

Income Statement Data (Sep)
(US$ Millions)                                                    2017A      2018A      2019E      2020E      2021E    Investment Rationale
Sales                                                           229,234    265,595    285,466    316,873    351,107
  % Change                                                         6.3%     15.9%        7.5%     11.0%      10.8%     We rate Apple a Neutral as near-term risks (1)
Gross Profit                                                     89,063    102,849    111,880    122,641    134,484    iPhone unit pressure from weakening emerging
  % Change                                                         4.7%     15.5%        8.8%       9.6%       9.7%    markets, (2) iPhone unit elasticity given significant
EBITDA                                                           76,341     87,141     94,365    100,899    108,604    step ups in ASPs, (3) deceleration in services give n
  % Change                                                         2.1%     14.1%        8.3%       6.9%       7.6%
                                                                                                                       weakening app store trends, (4) expectation of
Net Interest & Other Income                                       2,745      1,716      1,101        727        803
  Net Income (Adjusted)                                          48,351     59,531     64,721     68,760     75,397    supply chain order cuts over the next few months,
  % Chan g e                                                       5.8%     23.1%        8.7%       6.2%       9.7%    (5) expected negative estimate revisions and (6)
                                                                                                                       negative perception of lack of unit disclosure going
                                                                                                                       forward, are balanced by strong capital return
Free Cash Flow Data (Sep)                                                                                              program and large cash balance that affords
(US$ Millions)                                                     2017A      2018A      2019E      2020E      2021E   optionality
Net Income from Cont Operations (GAAP)                            52,018     63,685     69,542     73,923     80,908
Depreciation & Amortization                                       10,157     10,903     11,850     12,563     11,927
Change in Working Capital                                        (5,550)     34,694    (5,441)   (11,996)    (9,916)
Deferred Tax ation Charge                                          5,966   (32,590)      2,076      2,076      2,076
Other Adjustments, Net                                             1,007        742        979      1,057      1,129
Capital Ex penditure                                            (12,451)   (13,313)   (14,409)   (15,089)   (15,584)
  Free Cash Flow                                                  51,147     64,121     64,598     62,534     70,540
                                                                                                                       Stock Data
  % Change                                                         -3.7%     25.4%        0.7%      -3.2%     12.8%
                                                                                                                       Average Daily Volume                       35,788,700

                                                                                                                       Quarterly Earnings Estimates
Balance Sheet Data (Sep)
(US$ Millions)                                                    2017A      2018A      2019E      2020E      2021E                                2018              2019
Cash & Equiv alents                                              20,289     25,913      8,225     23,593     73,686    Q1                         3.89A             4.68E
Trade Receivables                                                17,874     23,186     31,077     38,400     44,138    Q2                         2.73A             3.04E
Other Current Assets                                             90,482     82,240     83,412     88,180     88,533    Q3                         2.34A             2.59E
Property , Plant & Equipment                                     33,783     41,304     56,439     72,490     89,292    Q4                         2.91A             3.52E
Other Non-Current Assets                                        212,891    193,082    119,253     87,335     83,417
  Total Assets                                                  375,319    365,725    298,407    309,998    379,067
Short-Term Debt                                                  18,473     20,748     10,000     10,000     10,000
Other Current Liabilities                                        82,341     96,118     95,075     95,222     91,478
Long-Term Debt                                                   97,207     93,735     93,735     93,735     93,735
Other Non-Current Liabilities                                    43,251     47,977     46,813     46,843     46,845
 Total Liabilities                                              241,272    258,578    245,624    245,800    242,058
    Total Eq uity                                               134,047    107,147     52,783     64,198    137,009
    Total Equity & Liabilities                                  375,319    365,725    298,407    309,998    379,067
* For full definitions of iQ method SM measures, see page 14.




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                                                                                                  Exhibit 9
Downgrading to Neutral, from Buy
We downgrade our rating on Apple (ticker: AAPL) to Neutral from Buy. As we
highlighted in our preview note, we see increased risk from a weaker macroeconomic
environment. Although we like the story in the long-term, we see near-term risk, and
our reasons for downgrading include the following:
x   Slower growth of Services revenues in F19. Third-party data suggests significant
    slowdown in App Store revenues in the month of October (especially in China, partly
    due to slower Chinese approval of new games). See Figures 1-4.

x   iPhones units implied by guidance for Dec quarter in-line with our prior estimate of
    73mn, which is significantly lower than Street estimate of 78mn and potentially
    includes sell in of ~3mn units or ~$2bn in revs

x   Some level of investor concern on lack of unit disclosure for iPhones, iPads and
    Macs going forward which some will interpret as a negative

x   Weaker growth in emerging markets including India, Brazil, Russia and Turkey given
    currency moves which makes it harder for customers to buy iPhones.

These near-term concerns are balanced by longer-term benefit of strong capital return
program, large cash balance that affords optionality to enter new markets. We lower
our PO to $220 (from $235) on 15x (prior 16x) C19E EPS of $14.23.
Upside risk factors to our call include gross margin upside from higher mix of iPhones,
and tailwind from lower memory costs and lower warranty accruals, a faster than
expected recovery in emerging markets, and faster than expected recovery in China App
Store sales. Also, stronger than expected share gains in iPhones, acceleration in services
and faster pace of buybacks can drive upside.
Downside risks are: the potential trade conflicts, tariffs, and a stronger USD. Other risks
are Apple's continued significant exposure to the iPhone, commoditization in the
smartphone market, intensifying competition in the tablet market, managing beat and
raise expectations for EPS estimates, and requirement to maintain pace of product
innovation.

App store sales slowed significantly in October
App store revenues decelerated to 11% y/y growth in the month of October from
20%y/y in Sep, 24%y/y in Aug and 26%y/ in July (Figure 2). The China app store
revenues decelerated to flat y/y growth in the month of October from 10%y/y in Sep,
16%y/y in Aug and 24%y/y in July (Figure 4). We are surprised at the magnitude of
deceleration globally given that the app store revs are based off a growing installed
base. We are less surprised in China given the gaming deceleration but believe the
magnitude is significant. The deceleration in app store could drive roughly a few points
of overall services growth deceleration. Services revenues also have a tougher compare
in the December quarter.




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                                                                                                                                  Exhibit 9

Figure 1: YoY change in App Store downloads, by month                  Figure 2: YoY change in App Store revenue, by month

                     Y/Y change in App Store                                          Y/Y change in App Store revenue
                           downloads                                     30.0%
    20.0%
                                                                         25.0%
    15.0%
                                                                         20.0%
    10.0%
                                                                         15.0%
      5.0%
                                                                         10.0%
      0.0%
                   Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 5.0%
     (5.0%)
                                                                           0.0%
    (10.0%)                                                                             Jan Feb Mar Apr May Jun Jul Aug Sep Oct

                       Y/Y change in App Store downloads                                        Y/Y change in App Store revenue

Source: Sensor Tower, BofA Merrill Lynch Global Research               Source: Sensor Tower, BofA Merrill Lynch Global Research




Figure 3: YoY change in China App Store downloads, by month            Figure 4: YoY change in China App Store revenue, by month

                   Y/Y change in China App Store                                     Y/Y change in China App Store
                            downloads                                                          revenue
    20.0%
                                                                         40.0%
    15.0%                                                                35.0%
    10.0%                                                                30.0%
      5.0%                                                               25.0%
      0.0%                                                               20.0%
     (5.0%)        Jan Feb Mar Apr May Jun Jul Aug Sep Oct
                                                                         15.0%
    (10.0%)                                                              10.0%
    (15.0%)                                                                5.0%
    (20.0%)                                                                0.0%
    (25.0%)                                                                             Jan Feb Mar Apr May Jun Jul Aug Sep Oct

                  Y/Y change in China App Store downloads                                  Y/Y change in China App Store revenue

Source: Sensor Tower, BofA Merrill Lynch Global Research               Source: Sensor Tower, BofA Merrill Lynch Global Research




F4Q18 revenue beat; F1Q19 guide below Street
Apple reported F4Q18 revenue of $62.9bn, which came in above the higher end of the
guidance range ($60.0bn-$62.0bn), above our/Street estimates of $62.8bn/$61.4bn,
driven by strong iPhone and Mac revenue. EPS of $2.91 beat our/Street estimates of
$2.85/$2.78. Gross margin (including stock based comp) came in at 38.3% (vs. guidance
range of 38.0-38.5%) and compared to our/Street prior estimates of 38.2%/38.2%.
iPhone unit sales were 46.9mn, flat y/y and slightly below our/Street expectation of
47.0mn. iPhone ASP came in at $793 which was higher than our expected $768 and was
up 28% y/y likely driven by some sell in dynamics. iPhone revenue grew 29% y/y to


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                                                                                                                                            Exhibit 9
$37.2bn. Services revenue at $10.0bn was up 17% y/y, but up 27% y/y when adjusting
F4Q17 for $640m one-time benefit due to a change in an accounting estimate.

Apple guided December quarter revenues below Street and at $89.0-93.0bn, which at
the mid-point of $91.0bn compares to our/Street prior $90.9bn/$92.9bn, respectively.
Gross margin (incl. stock comp) guidance was approx. in-line with our expectations
(38.0% - 38.5%, 38.25% midpoint, which compares to our prior estimate of 38.4%). The
guidance implies an EPS range of $4.46-4.79 ($4.63 at the mid-point), which compares
our/Street prior estimates of $4.64/$4.92. OpEx was guided to $8.7-8.8bn.

Figure 5 shows our old vs. new unit estimates.
Figure 5: BofAML: old vs. new estimates
                                     Old Estim ates                                                  New Estim ates
          Units (K)                F16             F17             F18       F19        F20        F16            F17          F18           F19        F20        F21
                      iPhone    211,884          216,756         217,833   214,000    225,000    211,884        216,756      217,722       210,000    217,000    223,000
                        iPad     45,590          43,753          43,646     43,909     43,909     45,590        43,753        43,535       43,798      43,798     43,798
                        Mac      18,484          19,251          17,811     18,550     19,107     18,484        19,251        18,209       18,960      19,529     20,114
                        iPod      6,372           5,098           4,078     3,263      2,610      6,372          5,098        4,078         3,263      2,610      2,088
                Apple Watch      10,500          14,000          28,200     42,300     50,760     10,500        14,000        28,200       42,300      50,760     55,836


                                     Old Estim ates                                                  New Estim ates
          ASP ($)                  F16             F17             F18       F19        F20        F16            F17          F18           F19        F20        F21
                      iPhone      $645            $652            $760      $800       $851       $645           $652         $766          $805       $852       $920
                        iPad      $452            $439            $435      $427       $419       $452           $439         $432          $424       $416       $408
                        Mac      $1,235          $1,343          $1,378     $1,366     $1,352     $1,235        $1,343        $1,400       $1,388      $1,373     $1,360
                        iPod      $155            $151            $148      $145       $138       $155           $151         $148          $145       $142       $139
                Apple Watch       $451            $446            $401      $429       $429       $451           $446         $401          $429       $429       $429


                                     Old Estim ates                                                  New Estim ates
        Revenue ($)                F16             F17             F18       F19        F20        F16            F17          F18           F19        F20        F21
            iPhone rev ($mn)    $136,700        $141,319        $165,594   $171,192   $191,479   $136,700      $141,319      $166,699     $169,087    $184,854   $205,137
              iPad rev ($mn)    $20,628          $19,222         $18,969   $18,739    $18,387    $20,628        $19,222      $18,805       $18,577    $18,227    $17,885
              Mac rev ($mn)     $22,831          $25,850         $24,541   $25,348    $25,836    $22,831        $25,850      $25,484       $26,311    $26,821    $27,347
                Watch ($mn)      $4,733          $6,250          $11,300   $18,147    $21,776     $4,733        $6,250       $11,300       $18,147    $21,776    $23,954
          Services rev ($mn)    $24,348          $29,980         $37,920   $47,400    $58,302    $24,348        $29,980      $37,190       $45,979    $56,554    $66,734
   Other rev, ex-Watch ($mn)     $6,399          $6,613          $7,217     $8,741    $10,283     $6,399        $6,613        $6,117       $7,365      $8,641    $10,050
 Total Apple Revenue ($mn)      $215,639        $229,234        $265,542   $289,567   $326,063   $215,639      $229,234      $265,595     $285,466    $316,873   $351,107
            Total Apple EPS       $8.31           $9.21          $11.84     $13.95     $15.75     $8.31          $9.21        $11.91       $13.86      $15.26     $16.98



                                             Old Estim ates                                                 New Estim ates


                                   F16             F17             F18       F19        F20        F16            F17          F18           F19        F20        F21


           Revenue ($bn)        $215.6          $229.2           $265.5    $289.6     $326.1     $215.6        $229.2        $265.6        $285.5     $316.9     $351.1

       Gross Margin (%)          39.1%           38.5%           38.3%     38.8%      38.5%      39.1%          38.5%        38.3%         38.8%      38.3%      38.0%

                       EPS       $8.31           $9.21           $11.84    $13.95     $15.75      $8.31         $9.21        $11.91        $13.86     $15.26     $16.98
Source: Company reports, BofA Merrill Lynch Global Research estimates




Apple to stop product unit reporting, add service GM
Apple noted that going forward, it will no longer report unit figures for the different
product segments (iPhone, iPad, and Mac), while still disclosing total revenue figures for
each. Management. added that it will begin reporting cost of sales/gross margin in the
Services business. The company also noted that it will adopt FASB’s new standard for
revenue recognition, leading it to report revenue tied to amortization of the deferred
value of bundled services including maps, Siri, and free iCloud services in services
revenue, rather than in product revenue. Finally, ‘other products’ revenue will be
renamed to ‘wearables, home, and accessories’. We estimate that this change will result
in roughly $5-10 of iPhone ASP to shift from products to services. The change will be
slightly larger for iPads and Macs on a per unit basis.




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                                                                                                                                                                                                Exhibit 9
Guidance range is wider than usual
Apple guided September quarter revenues at an unusually wide range of $91bn +/- $2bn
($89.0-93.0bn), vs. +/- $1-1.5bn provided historically. The company noted a number of
moving pieces affecting the mid-point as well as the width of the range, including: (1)
The reverse order of product launch. In 2017, the iPhone X was launched and
corresponded with a channel fill during Q1, while this year the iPhone Xs/Xs Max were
launched during Q4, creating a harder comp for Q1, (2) The company expects the dollar
strengthening vs. a basket of currencies to lead to 200bps/$2bn of revenue headwind in
Q1 on an y/y basis, (3) An unusually high number of new product launches lead to a
wider range of uncertainty, and (4) Uncertainty around economic environment in
emerging markets.

Services rev strong in F4Q, but will it hold up in F1Q19?
In F4Q18, Services revenue grew 17% y/y on a reported basis and 27% y/y (ex impact of
a favorable one-time accounting adjustment of $640mn in the year ago quarter) to
$9.98bn. Transaction volume for Apple Pay tripled y/y, and now 60% of all U.S. retail
locations support Apple Pay. There are 30,000 third-party subscription Apps on the App
Store and Apple has 330mn paid subscribers on iOS.
Figure 6: Services revenue growth y/y, ex one-time items
                                                                                   F1Q16         F2Q16     F3Q16          F4Q16      F1Q17         F2Q17        F3Q17          F4Q17        F1Q18          F2Q18      F3Q18          F4Q18
Services Rev ($mn, reported)                                                      $6,056        $5,991    $5,976         $6,325     $7,172        $7,041       $7,266         $8,501       $8,471         $9,190     $9,548         $9,981

Adjustments:
Patent infringement payment ($mn)                                                   ($548)
Additional week (14th week)                                                                                                           ($700)
One-time adjustment related to revenue recognition ($mn)                                                                                                                       ($640)
Final resolution of various lawsuits                                                                                                                                                                                  ($236)
Adjusted Services Rev ($mn)                                                       $5,508       $5,991     $5,976         $6,325     $6,472        $7,041       $7,266         $7,861       $8,471         $9,190     $9,312         $9,981

reported Services rev y/y                                                                                                            18.4%        17.5%         21.6%         34.4%            18.1%      30.5%       31.4%          17.4%
adjusted Services rev y/y                                                                                                            17.5%        17.5%         21.6%         24.3%            30.9%      30.5%       28.2%          27.0%
Source: Company reports, BofA Merrill Lynch Global Research estimates


While revenue growth was strong in the Sep quarter, we remain concerned about App
Store revenue slowdown in China in October, partly related to slowdown in approval for
new games, and partly due to macroeconomic and political issues and lower consumer
confidence. We model a significant deceleration in the December quarter to account for
the tougher compare but also for the weaker uptake in China and Globally.

iPhone channel inventory likely grew in C3Q and we
expect same for C4Q
While not disclosed by Apple, we estimate that iPhone channel inventory grew by about
2mn units in F4Q18 (C3Q18). We expect Apple exited the quarter with iPhone channel
inventory within its target range of 5-7 weeks. We expect Apple to build some channel
inventory in the December quarter as well (we expect about 3mn channel inventory
build).
Figure 7: iPhone channel inventory progression
iPhone channel inventory progression            C1Q16            C2Q16               C3Q16E               C4Q16E                  C1Q17               C2Q17             C3Q17         C4Q17         C1Q18          C2Q18         C3Q18
Channel Inventory (mn units):                     21.2             17.2                19.7                 20.9                   19.7                 16.4             17.7          21.7          19.9           16.4           18.4
Change in channel inventory (mn units):          -0.45             -4.0                2.5                   1.2                    -1.2                -3.3              1.3           4             -1.8          -3.5           +2*
Comments                                   within 5-7 weeks low end 5-7 weeks well below 5-7 weeks   low end 5-7 weeks       within 5-7 weeks   well within 5-7 wks below 5-7 wks low end 5-7wks within 5-7wks low end 5-7wks within 5-7wks

iPhones reported by apple (sell in) (mn)        51.2              40.4                45.5                 78.3                   50.8                41.0             46.7             77.3           52.2         41.3             46.9


iPhone sell out (mn)                             51.6             44.4                43.0                 77.1                    52.0               44.3             45.4              73.3           54.0        44.8             44.9
Y/Y                                            (14.2%)           (7.8%)              (6.8%)               7.9%                    0.6%               (0.2%)           5.5%             (4.9%)          4.0%        1.1%             (1.1%)
Y/Y (ex extra week benefit in Dec 2016)                                                                                                                                                 2.0%
q/q                                            (27.8%)          (14.0%)              (3.1%)                79%                    (33%)              (15%)             2%               62%            (26%)       (17%)             0%

                                                                                                                                                                                                                            *BofAML estimate
                                                                                                                                                                                                                       slightly higher channel
                                                                                                                                                                                                                   inventory build vs. last year


Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                           Exhibit 9
iPhone ASP grows $175 y/y
iPhone average sell prices (ASP) grew $175 y/y to $793 from $617 in the year ago
quarter. The growth in ASP was predominantly driven by higher mix of iPhones with FX
having just a negative $3 impact.

Greater China up 16% from last year; Deceleration likely
in F1Q19
Greater China (China, Hong Kong, Taiwan) revenue increased 16% year over year to
$11.4bn, which was slightly lower than the 19% y/y growth reported last quarter. This is
the fifth consecutive quarter of double digit growth in China, but we expect meaningful
deceleration heading into the December quarter. Management noted that due to new
regulations around gaming led to a halt in new game approvals for the App Store.

Base iPhone business declined low single digits y/y
Figure 8 parses the subcomponents of iPhone y/y unit growth for the Sep and Dec
quarters. iPhones came in about 47mn for the Sep quarter which represents base iPhone
unit decline (after factoring out channel inventory changes) of 1% y/y. We model 72mn
iPhone units for the Dec quarter which represents 6% y/y decline for base iPhones. We
assume Apple will build some channel inventory in the Dec quarter (about 3mn units).
Figure 8: Parsing y/y growth in iPhone units in the Se p and Dec quarters
                                                                        Sep-17   Y/Y Growth   Sep-18   Actual growth
Total iPhones (mn)                                                       46.7
Less Channel inventory growth (mn)                                         1.3
Base iPhones (mn)                                                        45.4         4.0%     47.2
                                                                                     -1.0%     44.9
                                                                                     -6.0%     42.7
                                                                                    -11.0%     40.4

                           Add Channel inventory (mn)                                             2
Impact of Carrier Incentives for iPhone 8/8 Plus/X (mn)                                           0


                 Total iPhones Sep qtr (base growth 4%)                                         49.2            5%
                Total iPhones Sep qtr (base growth -1%)                                         46.9            1%
                Total iPhones Sep qtr (base growth -6%)                                         44.7           (4%)
               Total iPhones Sep qtr (base growth -11%)                                         42.4           (9%)


                                                                        Dec-17   Y/Y Growth   Dec-18   Actual growth
Total iPhones (mn)                                                       77.3
Less Channel inventory growth (mn)                                         4.0
Base iPhones (mn)                                                        73.3        -1.0%     72.6
                                                                                     -6.0%     68.9
                                                                                    -11.0%     65.3
                                                                                    -16.0%     61.6

                           Add Channel inventory (mn)                                             3
Impact of Carrier Incentives for iPhone 8/8 Plus/X (mn)                                           0


                Total iPhones Dec qtr (base growth -1%)                                          76            (2%)
                Total iPhones Dec qtr (base growth -6%)                                          72            (7%)
               Total iPhones Dec qtr (base growth -11%)                                          68           (12%)
               Total iPhones Dec qtr (base growth -16%)                                          65           (16%)
Source: Company reports, BofA Merrill Lynch Global Research estimates


Gross margin – potential levers for upside
Gross margin (including stock based comp) came in at 38.3% (vs. guidance range of
38.0-38.5%) and compared to our/Street prior estimates of 38.2%/38.2%. Gross margin
(incl. stock comp) guidance was approx. in-line with our expectations (38.0% - 38.5%,
38.25% midpoint, which compares to our prior estimate of 38.4%). AAPL expects 90bps
headwind sequentially heading into the December quarter due to the dollar
strengthening.




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                                                                                           Exhibit 9
However, we see four key potential drivers of upside to gross margins longer term : (1).
NAND prices have sharply decreased over the last few months, with the TLC flash
128gb index down >28% since August; (2). Warranty accruals should provide a tailwind
heading beyond the calendar fourth quarter, (3). Product mix should continue driving
higher ASPs and (4) FX headwinds should abate. .

Balance sheet remains solid with $25 in net cash/share
Apple’s balance sheet remains strong with $237.1bn in cash and short and long-term
investments, and about $25 of net cash and investments per share. Free Cash Flow was
approx. $16.5bn during the quarter. In the quarter, Apple returned $23bn to
shareholders, including $3.5bn in dividends and approx. $19.4bn in open market
buybacks (92.5mn shares).




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                                                                                                                                                  Exhibit 9
Model
Figure 9: Apple Income Statement
                                                               F2018                                    F2019E
                                                  12/17      3/18          6/18     9/18   12/18E     3/19E        6/19E    9/19E    F2017    F2018    F2019E   F2020E    F2021E
Incom e Statem ent


Revenue ($mn)                                    88293      61137        53265    62900    91480     63050        57334    73602    229234   265595    285466   316873       351107
  iPhone revenue                                 61576      38032        29906    37185    59635     36215        30055    43182    141319   166699    169087   184854       205137
  iPad revenue                                    5862       4113         4741     4089     5864      4045         4655     4013     19222    18805     18577    18227        17885
  Mac revenue                                     6895       5848         5330     7411     7369      5959         5431     7553     25850    25484     26311    26821        27347
  iTunes / Softw are / Services                   8471       9190         9548     9981    10080     11488        11935    12476     29980    37190     45979    56554        66734
  Other Rev                                       5489       3954         3740     4234     8532      5344         5257     6378     12863    17417     25512    30417        34004
Cost of Goods Sold (excl. Stock-based comp.      54129      37458        32594    38565    56125     38105        34485    44872    140171   162746    173587   194232       216623

Gross Profit (excl. Stock-based comp.)           34164      23679        20671    24335    35355     24946        22848    28730     89063   102849    111880   122641       134484

Total Operating Expense (excl. Stock-based c      6594       6437         6708     6872     7501      6643         7213     8007     22879    26611     29365    34305        37807
  R&D (excl. Stock-based comp.)                   2761       2712         3026     3069     3202      2797         3257     3591      9282    11568     12847    14357        15662
  SG&A (excl. Stock-based comp.)                  3833       3725         3682     3803     4300      3846         3956     4416     13597    15043     16518    19948        22145

Operating Income (Pre-Stock-based comp.)         27570      17242        13963    17463    27854     18303        15635    20723    66184     76238     82515    88336       96677


Total Operating Expense (incl. Stock-based c o    7638       7528         7809     7966     8685      7827         8397     9191     26842    30941     34101    39401        43263
  R&D (incl. Stock-based comp.)                   3407       3378         3701     3750     3933      3528         3988     4322     11581    14236     15771    17481        18986
  SG&A (incl. Stock-based comp.)                  4231       4150         4108     4216     4753      4299         4409     4869     15261    16705     18330    21920        24277


Operating Income (Incl. Stock-based comp.)       26274      15894        12612    16118    26404     16853        14185    19273     61344    70898     76715    82116        90037

Total Interest and Other Income/(Expense)          756        274          672      303      300       322          277      202      2745     2005      1101      727          803

Pretax Income (Pre SBC)                          28326      17516        14635    17766    28155     18625        15912    20925     68929    78243     83616    89063        97480

Provision for Income Taxes (Credit)               7299       2542         1945     2484     4645      3166         2705     3557     16911    14269     14074    15141        16572

Net Income (Pre Stock-based comp.)               21027      14974        12690    15282    23509     15459        13207    17368     52018    63974     69542    73923        80908
Stock-based comp. (After tax)                      -962     -1152        -1171     -1157    -1211     -1204       -1204     -1204    -3667    -4443     -4821    -5163        -5511
Net Income (Incl. Stock-based-comp)              20065      13822        11519    14125    22298     14255        12003    16164     48351    59531     64721    68760        75397


Diluted EPS (Pre-Stock-based comp)                 4.08      2.95          2.58     3.15     4.93      3.30         2.85     3.78     9.90     12.79    14.90     16.41       18.22
Diluted EPS (Incl. Stock-based comp)               3.89      2.73          2.34     2.91     4.68      3.04         2.59     3.52     9.21     11.91    13.86     15.26       16.98


Diluted Weighted Average Shares                   5158       5068         4927     4848     4768      4688         4628     4593      5252     5000      4669     4505         4440


Incom e Statem ent (Cont'd)
% Growth Rates
Revenues (Y/Y)                                   12.7%     15.6%        17.3%     19.6%    3.6%      3.1%         7.6%     17.0%     6.3%    15.9%      7.5%    11.0%        10.8%
Gross Profit (Y/Y)                               12.4%     13.8%        16.8%     20.8%    3.5%      5.3%        10.5%     18.1%     4.7%    15.5%      8.8%     9.6%         9.7%
Opex (Y/Y)                                       13.9%     17.2%        16.8%     17.4%    13.8%     3.2%         7.5%     16.5%    10.0%    16.3%     10.3%    16.8%        10.2%
  R&D (Y/Y)                                      21.0%     23.2%        27.6%     26.4%    16.0%     3.1%         7.6%     17.0%    13.8%    24.6%     11.1%    11.8%         9.1%
  SG&A (Y/Y)                                     9.3%      13.1%         9.2%     11.1%    12.2%     3.3%         7.4%     16.1%     7.6%    10.6%      9.8%    20.8%        11.0%
Op. Income (Y/Y)                                 12.0%     12.6%        16.7%     22.2%    1.0%      6.2%        12.0%     18.7%     3.0%    15.2%      8.2%     7.1%         9.4%
Pretax Income (Y/Y)                              11.4%     10.2%        17.1%     17.7%    (0.6%)    6.3%         8.7%     17.8%     5.1%    13.5%      6.9%     6.5%         9.5%
Net Income (Y/Y)                                 12.2%     25.3%        32.1%     31.8%    11.1%     3.1%         4.2%     14.4%     5.8%    23.1%      8.7%     6.2%         9.7%
EPS (Y/Y)                                        15.9%     30.1%        40.4%     41.0%    20.2%    11.5%        10.9%     20.8%    10.8%    29.3%     16.4%    10.1%        11.3%
Diluted Shares (Y/Y)                             (3.2%)    (3.7%)        (5.9%)   (6.5%)   (7.6%)    (7.5%)       (6.1%)   (5.3%)   (4.5%)    (4.8%)   (6.6%)    (3.5%)      (1.4%)


Revenues (Q/Q)                                   67.9%    (30.8%)       (12.9%)   18.1%    45.4%    (31.1%)       (9.1%)   28.4%
Gross Profit (Q/Q)                               66.9%    (30.8%)       (13.0%)   18.3%    45.5%    (32.1%)       (9.5%)   30.1%
Opex (Q/Q)                                       12.7%     (2.4%)        4.2%     2.4%     9.2%     (11.4%)       8.6%     11.0%
  R&D (Q/Q)                                      13.7%     (1.8%)       11.6%     1.4%     4.3%     (12.6%)      16.5%     10.3%
  SG&A (Q/Q)                                     11.9%     (2.8%)        (1.2%)   3.3%     13.1%    (10.5%)       2.9%     11.6%
Op. Income (Q/Q)                                 92.9%    (37.5%)       (19.0%)   25.1%    59.5%    (34.3%)      (14.6%)   32.5%
Diluted Shares (Q/Q)                             (0.5%)    (1.7%)        (2.8%)   (1.6%)   (1.7%)    (1.7%)       (1.3%)   (0.8%)


% of Revenues
Gross Proflt (Excl. Stock Based Comp Expens      38.6%     38.7%        38.9%     38.1%    38.6%    39.6%        39.9%     39.0%    38.9%    38.7%     39.2%    38.7%        38.3%
Gross Proflt (Incl. Stock Based Comp Expens e    38.4%     38.3%        38.3%     38.3%    38.4%    39.1%        39.4%     38.7%    38.5%    38.3%     38.8%    38.3%        38.0%
Opex                                             7.5%      10.5%        12.6%     10.9%    8.2%     10.5%        12.6%     10.9%    10.0%    10.0%     10.3%    10.8%        10.8%
  R&D                                            3.1%       4.4%         5.7%     4.9%     3.5%      4.4%         5.7%     4.9%      4.0%     4.4%      4.5%     4.5%         4.5%
  SG&A                                           4.3%       6.1%         6.9%     6.0%     4.7%      6.1%         6.9%     6.0%      5.9%     5.7%      5.8%     6.3%         6.3%
Opex (including Stock Based Comp)                8.7%      12.3%        14.7%     12.7%    9.5%     12.4%        14.6%     12.5%    11.7%    11.6%     11.9%    12.4%        12.3%
EBIT (Pre-Stock Based Comp)                      31.2%     28.2%        26.2%     27.8%    30.4%    29.0%        27.3%     28.2%    28.9%    28.7%     28.9%    27.9%        27.5%
Stock Based Comp Expense                         (1.1%)    (1.9%)        (2.2%)   (1.8%)   (1.3%)    (1.9%)       (2.1%)   (1.6%)   (1.6%)    (1.7%)   (1.7%)    (1.6%)      (1.6%)
EBIT (Post-Stock Based Comp)                     29.8%     26.0%        23.7%     25.6%    28.9%    26.7%        24.7%     26.2%    26.8%    26.7%     26.9%    25.9%        25.6%
Pretax Income                                    32.1%     28.7%        27.5%     28.2%    30.8%    29.5%        27.8%     28.4%    30.1%    29.5%     29.3%    28.1%        27.8%
Tax Rate                                         25.8%     14.5%        13.3%     14.0%    16.5%    17.0%        17.0%     17.0%    24.5%    18.2%     16.8%    17.0%        17.0%
Net Income (Operating, Pre-SBC)                  22.7%     22.6%        21.6%     22.5%    24.4%    22.6%        20.9%     22.0%    21.1%    22.4%     22.7%    21.7%        21.5%
Net Income (Operating, Post-SBC)                 23.8%     24.5%        23.8%     24.3%    25.7%    24.5%        23.0%     23.6%    22.7%    24.1%     24.4%    23.3%        23.0%

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                          Exhibit 9

Figure 10: Apple Segment Details
                                                               F2018                                       F2019E
                                                12/17        3/18          6/18      9/18    12/18E     3/19E         6/19E     9/19E      F2017      F2018    F2019E     F2020E     F2021E
Sales By Segm ent
Total Revenue ($m n)                         $88,293     $61,137        $53,265   $62,900   $91,480   $63,050       $57,334   $73,602   $229,234   $265,595   $285,466   $316,873   $351,107
iPhone revenue                                61,576      38,032         29,906    37,185    59,635    36,215        30,055    43,182    141,319    166,699    169,087    184,854    205,137
iPad revenue                                   5,862       4,113          4,741     4,089     5,864     4,045         4,655     4,013     19,222     18,805     18,577     18,227     17,885
Mac revenue                                    6,895       5,848          5,330     7,411     7,369     5,959         5,431     7,553     25,850     25,484     26,311     26,821     27,347
iPod revenue                                     239         118           127       118       188        92           100        93        769        603        473        371        291
iTunes / Softw are / Services revenue          8,471       9,190          9,548     9,981    10,080    11,488        11,935    12,476     29,980     37,190     45,979     56,554     66,734
Accessories                                      241       2,554          1,809      910       301      3,192         2,262     1,137      5,845      5,514      6,892      8,271      9,760
Apple Watch                                    5,009       1,282          1,803     3,206     8,044     2,059         2,896     5,148      6,250     11,300     18,147     21,776     23,954
Other Revenue                                  5,489       3,954          3,740     4,234     8,532     5,344         5,257     6,378     12,863     17,417     25,512     30,417     34,004


% of Revenue
iPhone revenue                                   70%         62%           56%       59%       65%       57%           52%       59%        62%        63%        59%        58%        58%
iPad revenue                                      7%          7%            9%        7%        6%        6%            8%        5%         8%         7%         7%         6%         5%
Mac revenue                                       8%         10%           10%       12%        8%        9%            9%       10%        11%        10%         9%         8%         8%
iTunes / Softw are / Services revenue            10%         15%           18%       16%       11%       18%           21%       17%        13%        14%        16%        18%        19%


Product Segm ent Revenue Grow th - Y/Y           13%         16%           17%       20%         4%        3%            8%      17%          6%       16%          7%       11%        11%
iPhone revenue                                   13%         14%           20%       29%       (3%)      (5%)           0%       16%         3%        18%         1%         9%        11%
iPad revenue                                      6%          6%           (5%)     (15%)       0%       (2%)          (2%)      (2%)       (7%)       (2%)       (1%)       (2%)       (2%)
Mac revenue                                     (5%)          0%           (5%)       3%        7%        2%            2%        2%        13%        (1%)        3%         2%         2%
iTunes / Softw are / Services revenue            18%         31%           31%       17%       19%       25%           25%       25%        23%        24%        24%        23%        18%


Product Segm ent Revenue Grow th - Q/Q           68%        (31%)         (13%)      18%       45%      (31%)          (9%)      28%
iPhone revenue                                 113%         (38%)         (21%)      24%       60%      (39%)         (17%)      44%
iPad revenue                                     21%        (30%)          15%      (14%)      43%      (31%)          15%      (14%)
Mac revenue                                     (4%)        (15%)          (9%)      39%       (1%)     (19%)          (9%)      39%
iTunes / Softw are / Services revenue           (0%)          8%            4%        5%        1%       14%            4%        5%


Units by Segm ent
Total Units (k)
iPhone                                        77,316      52,217         41,300    46,889    72,000    48,000        40,000    50,000    216,756    217,722    210,000    217,000    223,000
iPad                                          13,170       9,113         11,553     9,699    13,433     9,113        11,553     9,699     43,753     43,535     43,798     43,798     43,798
Mac                                            5,112       4,078          3,720     5,299     5,470     4,200         3,832     5,458     19,251     18,209     18,960     19,529     20,114
iPod                                           1,626         742           899       811      1,301      594           719       649       5,098      4,078      3,263      2,610      2,088
Apple Watch                                   12,500       3,200          4,500     8,000    18,750     4,800         6,750    12,000     14,000     28,200     42,300     50,760     55,836


Product Segm ent Unit Grow th - Y/Y
iPhone                                          (1%)          3%            1%        0%       (7%)      (8%)          (3%)       7%         2%         0%        (4%)        3%         3%
iPad                                             1%           2%            1%       (6%)       2%        0%            0%        0%        (4%)       (0%)        1%         0%         0%
Mac                                             (5%)         (3%)         (13%)      (2%)       7%        3%            3%        3%         4%        (5%)        4%         3%         3%


Product Segm ent Unit Grow th - Q/Q
iPhone                                          66%         (32%)         (21%)      14%       54%      (33%)         (17%)      25%
iPad                                            28%         (31%)          27%      (16%)      39%      (32%)          27%      (16%)
Mac                                             (5%)        (20%)          (9%)      42%        3%      (23%)          (9%)      42%


Product Segm ent ASPs
iPhone                                           796         728           724       793       828       754           751       864        652        766        805        852        920
iPad                                             445         451           410       422       415       413           378       384        439        432        424        416        408
Mac                                            1,328       1,408          1,404     1,379     1,328     1,394         1,390     1,365      1,343      1,400      1,388      1,373      1,360


Product Segm ent ASP Grow th - Y/Y
iPhone                                          15%         11%            20%       28%        4%        4%            4%        9%         1%        17%         5%         6%         8%
iPad                                             5%           4%           (6%)     (10%)      (7%)      (9%)          (8%)      (9%)       (3%)       (2%)       (2%)       (2%)       (2%)
Mac                                             (0%)          3%           10%        5%        0%       (1%)          (1%)      (1%)        9%         4%        (1%)       (1%)       (1%)


Product Segm ent ASP Grow th - Q/Q
iPhone                                          29%          (9%)          (1%)      10%        4%       (9%)          (0%)      15%
iPad                                            (5%)          1%           (9%)       3%       (1%)      (1%)          (8%)       2%
Mac                                              1%           6%           (0%)      (2%)      (4%)       5%           (0%)      (2%)

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                                       Exhibit 9
Figure 11: Apple Balance Sheet
                                                                  F2018                                             F2019E
                                                   12/17        3/18          6/18        9/18      12/18E       3/19E         6/19E       9/19E       F2017       F2018     F2019E      F2020E      F2021E
Balance Sheet


Total Assets                                    $406,794    $367,502      $349,197    $365,725    $340,092    $287,942    $268,459      $298,407    $375,319    $365,725    $298,407    $309,998    $379,067
Total Current Assets                             143,810     130,053       115,761     131,339     120,831      89,669        89,022     122,714     128,645     131,339     122,714     150,173     206,357
  Cash/Equivalents                                27,491      45,059        31,971      25,913       9,101        778         (1,618)      8,225      20,289      25,913       8,225      23,593      73,686
  ST Investments                                  49,662      42,881        38,999      40,388      40,388      40,388        40,388      40,388      53,892      40,388      40,388      40,388      40,388
  Accounts Receivable                             23,440      14,324        14,104      23,186      27,444      18,215        17,837      31,077      17,874      23,186      31,077      38,400      44,138
  Deferred Tax Assets                                  0           0             0           0           0           0             0           0           0           0           0           0           0
  Inventory                                        4,421       7,662         5,936       3,956       5,102      10,161         7,663       5,128       4,855       3,956       5,128       9,896      10,249
  Other Current Assets                            38,796      20,127        24,751      37,896      38,796      20,127        24,751      37,896      31,735      37,896      37,896      37,896      37,896


PP&E                                              33,679      35,077        38,117      41,304      46,036      49,365        52,899      56,439      33,783      41,304      56,439      72,490      89,292
LT Investments                                   207,944     179,286       172,773     170,799     150,799     130,799       110,799     102,799     194,714     170,799     102,799      70,799      66,799


Goodw ill                                          5,889       5,889         5,889       5,889       5,889       5,889         5,889       5,889       5,717       5,889       5,889       5,889       5,889
Intangible Assets                                  2,149       2,149         2,149       2,149       2,149       2,149         2,149       2,149       2,298       2,149       2,149       2,149       2,149
Other Assets                                      13,323      15,048        14,508      14,245      14,387      10,071         7,702       8,416      10,162      14,245       8,416       8,498       8,580


Total Liabilities                               $266,595    $240,624      $234,248    $258,578    $238,665    $210,655    $217,636      $245,624    $241,272    $258,578    $245,624    $245,800    $242,058
Total Current Liabilities                        115,788      89,320        88,548     116,866      96,878      69,739        77,220     105,075     100,814     116,866     105,075     105,222     101,478
  Accounts Payable                                62,985      34,311        38,489      55,888      53,006      25,403        34,485      54,844      49,049      55,888      54,844      54,977      51,247
  Accrued Liabilities                             34,325      34,531        32,587      40,230      33,871      34,336        32,735      40,232      33,292      40,230      40,232      40,245      40,232
      Deferred Revenue - Current                   8,044       7,775         7,403       7,543       7,590       7,580         7,551       7,545       7,548       7,543       7,545       7,558       7,545
      Other Current Liabilities (accrued exp)     26,281      26,756        25,184      32,687      26,281      26,756        25,184      32,687      25,744      32,687      32,687      32,687      32,687
  Current Portion LT Debt/commerical paper        18,478      20,478        17,472      20,748      10,000      10,000        10,000      10,000      18,473      20,748      10,000      10,000      10,000


LT Debt                                          103,922     101,362        97,128      93,735      93,735      93,735        93,735      93,735      97,207      93,735      93,735      93,735      93,735
Other LT Liabilities                              46,885      49,942        48,572      47,977      48,052      47,180        46,681      46,813      43,251      47,977      46,813      46,843      46,845
  Deferred Revenue - Non-Current                   3,131       3,087         2,878       2,797       2,872       2,000         1,501       1,633       2,836       2,797       1,633       1,663       1,665
  Deferred Tax Liabilities                             0           0             0           0           0           0             0           0           0           0           0           0           0
  Other Non-Current Liabilities                   43,754      46,855        45,694      45,180      45,180      45,180        45,180      45,180      40,415      45,180      45,180      45,180      45,180


Shareholders' Equity                            $140,199    $126,878      $114,949    $107,147    $101,427     $77,288       $50,824     $52,783    $134,047    $107,147     $52,783     $64,198    $137,009
  Common Stock                                    36,447      38,044        38,624      40,201      40,201      40,201        40,201      40,201      35,867      40,201      40,201      40,201      40,201
  Paid-in Capital                                      0           0             0           0           0           0             0           0           0           0           0           0           0
  Preffered Stock                                      0           0             0           0           0           0             0           0           0           0           0           0           0
  Other                                                0           0             0           0           0           0             0           0           0           0           0           0           0
  Retained Earnings (Deficit)                    104,593      91,898        79,436      70,400      64,680      40,541        14,077      16,036      98,330      70,400      16,036      27,451     100,262
  Accumulated Other comprehensive income            (841)     (3,064)       (3,111)     (3,454)     (3,454)     (3,454)       (3,454)     (3,454)       (150)     (3,454)     (3,454)     (3,454)     (3,454)
  Treasury Stock                                       0           0             0           0           0           0             0           0           0           0           0           0           0


Total Liabilities & Shareholders' Equity         406,794     367,502       349,197     365,725     340,092     287,942       268,459     298,407     375,319     365,725     298,407     309,998     379,067



Balance Sheet Statistics
Book Value per Share                              $27.18      $25.03        $23.33      $22.10      $21.27      $16.49        $10.98      $11.49      $25.52      $21.43      $11.31      $14.25      $30.86
Tangible Book Value per Share                     $25.62      $23.45        $21.70      $20.45      $19.59      $14.77         $9.25       $9.74      $24.00      $19.82       $9.58      $12.47      $29.05
Debt/Equity                                         87%         96%          100%        107%        102%        134%          204%        197%         86%        107%        197%        162%         76%
Net Cash & Investments                          $162,697    $145,386      $129,143    $122,617     $96,553     $68,230       $45,834     $47,677    $153,215    $122,617     $47,677     $31,045     $77,138
Net Cash & Investments per Share                  $31.54      $28.68        $26.21      $25.29      $20.25      $14.56         $9.90      $10.38      $29.17      $24.52      $10.21       $6.89      $17.37


Inventory Turns                                    46.7x       24.8x         19.2x       31.2x       49.6x       20.0x         15.5x       28.1x       40.1x       36.9x       38.2x       25.9x       21.5x
Days of Inventory                                      8          15            19          12           7          18            23          13           9          10           9          14          17
Days Accts. Receivable                                21          28            24          27          25          33            28          30          26          28          34          39          42
Days payables                                         93         117           101         110          87          93            78          90         111         116         115         102          88
Cash cycle                                           (64)        (75)          (58)        (72)        (55)        (42)          (27)        (47)        (75)        (78)        (71)        (48)        (29)
Op. WC/Revenue                                     (10%)        (5%)          (9%)       (11%)        (6%)         1%           (4%)        (6%)       (11%)       (11%)        (7%)        (2%)         1%


ROE                                                 59%         41%           38%         51%         86%         64%           75%        125%         38%         51%         69%         80%         79%
ROA                                                 21%         14%           13%         16%         25%         18%           17%         23%         15%         17%         19%         20%         22%


Drivers:
Inventory Turns                                    49.0x       19.6x         22.0x       39.0x       44.0x       15.0x         18.0x       35.0x       28.9x       41.1x       33.8x       19.6x       21.1x
Inventory Days                                         7          18            16           9           8          24            20          10          12           9          11          18          17
Days Accts. Receivable                                24          21            24          33          27          26            28          38          28          31          39          44          45
Days Payables                                        105          82           106         130          85          60            90         110         126         124         114         102          85
Cash Cycle                                           (73)        (43)          (66)        (88)        (50)        (10)          (42)        (62)        (85)        (83)        (64)        (40)        (23)

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                                      Exhibit 9
Figure 12: Apple Cash Flow Statement
                                                                 F2018                                             F2019E
                                                  12/17         3/18          6/18        9/18     12/18E       3/19E         6/19E       9/19E       F2017       F2018     F2019E      F2020E      F2021E
Cash Flow Statem ent


Cash from Operating Activities                 $28,293     $15,130       $14,488     $19,523     $11,237     $18,247        $24,659    $24,864     $63,598     $77,434     $79,007     $77,623     $86,124
Net Income                                      20,065      13,822        11,519      14,125      22,298      14,255         12,003     16,164      48,351      59,531      64,721      68,760      75,397
Depreciation and Amortization                     2,745       2,739         2,665       2,754       2,582       2,877         3,085       3,306     10,157      10,903      11,850      12,563      11,927
Stock Based Compensation                          1,296       1,348         1,351       1,345       1,450       1,450         1,450       1,450       4,840       5,340       5,800       6,220       6,640
Deferred Taxes                                  (33,737)       (498)        1,126        519         519         519           519         519        5,966     (32,590)      2,076       2,076       2,076
Other - Loss on disposition of PPE                  (11)       (140)         (259)        (34)          0           0             0           0        (166)       (444)          0           0           0
Change in Working Capital                       37,935       (2,141)       (1,914)       814      (15,612)       (855)        7,602       3,424      (5,550)    34,694       (5,441)    (11,996)     (9,916)
  Accounts Receivable                            (5,570)      9,093          233       (9,078)     (4,258)      9,229          377      (13,239)     (2,093)     (5,322)     (7,891)     (7,323)     (5,738)
  Inventory                                        434       (3,241)        1,693       1,942      (1,146)     (5,059)        2,498       2,535      (2,723)       828       (1,172)     (4,768)       (354)
  Other Current Assets                           (9,857)    18,519         (3,191)    (13,904)       (900)    18,669         (4,624)    (13,145)     (9,572)     (8,433)          0           0           0
  Accounts Payable                              14,588      (27,808)        2,081     20,314       (2,882)    (27,603)        9,082     20,358        9,618       9,175      (1,044)       133       (3,730)
  Deferred Revenue                                 791         (313)         (581)        59       (6,359)       465         (1,601)      7,497        (626)        (44)          2         14          (14)
  Other Asset and Other Liabilities             37,549        1,609        (2,149)      1,481         (67)      3,444         1,869        (582)       (154)    38,490        4,665         (52)        (81)


Cash from Investing Activities                 ($13,590)   $28,710        $3,947      ($3,001)    ($4,574)    ($3,153)      ($3,345)    ($3,338)   ($46,446)   $16,066     ($14,409)   ($15,089)   ($15,584)
Capital Expenditures                             (2,810)     (4,195)       (3,267)     (3,041)     (4,574)     (3,153)       (3,345)     (3,338)    (12,451)    (13,313)    (14,409)    (15,089)    (15,584)
Sale of PP&E                                          0           0             0           0           0           0             0           0           0           0           0           0           0
Proceeds of investments                         30,849      39,977        17,078      15,815            0           0             0           0    126,339     103,719            0           0           0
Purchase of Investments                         (41,272)     (7,177)       (7,684)    (15,223)          0           0             0           0    (159,486)    (71,356)          0           0           0
Acquisitions/intang assets                         (327)        22           (126)       (290)          0           0             0           0        (673)       (721)          0           0           0
Other/Strategic investments                         (30)        83         (2,054)       (262)          0           0             0           0        (175)     (2,263)          0           0           0


Cash from Financing Activities                  ($7,501)   ($26,272)     ($31,523)   ($22,580)   ($23,475)   ($23,417)   ($23,711)     ($11,683)   ($17,347)   ($87,876)   ($82,286)   ($47,166)   ($20,448)
Proceeds from the issuance of term debt, net      6,969           0             0           0           0           0             0           0     28,662        6,969           0           0           0
Repayments of term debt                               0        (500)       (6,000)          0           0           0             0           0      (3,500)     (6,500)          0           0           0
Issuance of Common                                    0           0          328         341            0           0             0           0        555         669            0           0           0
Treasury Stock                                  (10,095)    (22,429)      (21,110)    (19,104)    (20,000)    (20,000)      (20,000)     (8,000)    (32,900)    (72,738)    (68,000)    (32,000)     (4,000)
Preferred Stock                                       0           0             0           0           0           0             0           0           0           0           0           0           0
Other                                            (1,038)       (152)       (1,077)       (260)          0           0             0           0      (1,247)     (2,527)          0           0           0
Dividends                                        (3,339)     (3,190)       (3,653)     (3,530)     (3,475)     (3,417)       (3,711)     (3,683)    (12,769)    (13,712)    (14,286)    (15,166)    (16,448)
ESOP Proceeds                                         0           0             0           0           0           0             0           0           0           0           0           0           0


Foreign Exchange Effects                              0           0             0           0           0           0             0           0           0           0           0           0           0
Net Change in Cash                              $7,202     $17,568       ($13,088)    ($6,058)   ($16,812)    ($8,323)      ($2,396)    $9,843       ($195)     $5,624     ($17,688)   $15,368     $50,093


Net Cash - Beginning Balance                    20,289      27,491        45,059      31,971      25,913        9,101          778       (1,618)    20,484      20,289      25,913        8,225     23,593
Net Cash - Ending Balance                       27,491      45,059        31,971      25,913        9,101        778         (1,618)      8,225     20,289      25,913        8,225     23,593      73,686



Free Cash Flow


Free Cash Flow                                 $25,483     $10,935       $11,221     $16,482      $6,663     $15,094        $21,315    $21,526     $51,147     $64,121     $64,598     $62,534     $70,540
  Cash From Operations                          28,293      15,130        14,488      19,523      11,237      18,247         24,659     24,864      63,598      77,434      79,007      77,623      86,124
  Capital Expenditures                           (2,810)     (4,195)       (3,267)     (3,041)     (4,574)     (3,153)       (3,345)     (3,338)    (12,451)    (13,313)    (14,409)    (15,089)    (15,584)


Free Cash Flow Per Share                          $4.94       $2.16         $2.28       $3.40       $1.40       $3.22         $4.61       $4.69       $9.74     $12.82      $13.84      $13.88      $15.89


Free Cash Flow (after acq.)                     25,156      10,957        11,095      16,192        6,663     15,094         21,315     21,526      50,474      63,400      64,598      62,534      70,540


Drivers
Depreciation & amortization                       2,745       2,739         2,665       2,754       2,582       2,877         3,085       3,306     10,157      10,903      11,850      12,563      11,927
Cap Ex/Depreciation                                 1.0         1.5           1.2         1.1         1.8         1.1           1.1         1.0         1.2         1.2         1.2         1.2         1.3
Cap Ex/Sales                                       (3%)        (7%)          (6%)        (5%)        (5%)        (5%)          (6%)        (5%)        (5%)        (5%)      (148%)       (93%)       (75%)
Annual Depr. % of PP&E (prior qtr)                 33%         33%           30%         29%         25%         25%           25%         25%         37%         31%         25%         20%         15%

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                    Exhibit 9
Price objective basis & risk
Apple Inc. (AAPL)
Our PO of $220 is based on approximately 15x our C2019 EPS estimate of $14.23. Our
target multiple compares to the long-term historical range of 9-15x (median 12x). We
believe the high end of the historical multiple range is justified given the smoother
iPhone cycles, largely consistent growth in iPhone units and revs (with lower than
historical cyclicality). We also think a 15x multiple is justified given a large cash balance
and opportunity to diversify into new end markets, and increasing mix and diversity of
services.

Upside risk factors to our call include gross margin upside from better mix of higher end
iPhones, and tailwind from lower memory costs and lower warranty accruals, a faster
than expected recovery in emerging markets, and faster than expected recovery in China
App Store sales.

Downside risks include potential trade conflicts, tariffs, and a stronger USD. Other risks
are Apple's continued significant exposure to the iPhone, commoditization in the
smartphone market, intensifying competition in the tablet market, managing beat and
raise expectations for EPS estimates, and requirement to maintain pace of product
innovation.

Analyst Certification
I, Wamsi Mohan, hereby certify that the views expressed in this research report
accurately reflect my personal views about the subject securities and issuers. I also
certify that no part of my compensation was, is, or will be, directly or indirectly, related
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                                                                                                                                                                                   Exhibit 9
US - IT Hardware and Technology Supply Chain Coverage Cluster
                                                                                                                BofA Merrill Lynch
Investment ratin g                   Com p any                                                                  ticker                       Bloomber g symbol                   Anal yst
BUY
                                     Amphenol                                                                   APH                          APH US                              Wamsi Mohan
                                     Arrow Electronics Inc.                                                     ARW                          ARW US                              Param Singh, CFA
                                     Av net Inc.                                                                AVT                          AVT US                              Param Singh, CFA
                                     Flex Ltd.                                                                  FLEX                         FLEX US                             Ruplu Bhattachary a
                                     HP Inc.                                                                    HPQ                          HPQ US                              Wamsi Mohan
                                     International Business Machines Corp.                                      IBM                          IBM US                              Wamsi Mohan
                                     NetApp Inc.                                                                NTAP                         NTAP US                             Wamsi Mohan
                                     Nutanix Inc                                                                NTNX                         NTNX US                             Wamsi Mohan
                                     Pure Storage                                                               PSTG                         PSTG US                             Wamsi Mohan
                                     Sensata Technologies Holdings Plc                                          ST                           ST US                               Wamsi Mohan
                                     TE Connectiv ity Ltd.                                                      TEL                          TEL US                              Wamsi Mohan
                                     Teradata Corporation                                                       TDC                          TDC US                              Wamsi Mohan
                                     Vishay Intertechnology, Inc.                                               VSH                          VSH US                              Ruplu Bhattachary a
                                     Western Digital Corporation                                                WDC                          WDC US                              Wamsi Mohan
NEUTRAL
                                     Apple Inc.                                                                 AAPL                         AAPL US                             Wamsi Mohan
                                     Celestica                                                                  CLS                          CLS US                              Ruplu Bhattachary a
                                     Celestica                                                                  YCLS                         CLS CN                              Ruplu Bhattachary a
                                     Corning Inc.                                                               GLW                          GLW US                              Wamsi Mohan
                                     Jabil Inc.                                                                 JBL                          JBL US                              Ruplu Bhattachary a
                                     Sanmina Corporation                                                        SANM                         SANM US                             Ruplu Bhattachary a
UNDERPERFORM
                                     3D Sy stems Corporation                                                    DDD                          DDD US                              Wamsi Mohan
                                     Hew lett-Packard Enterprise                                                HPE                          HPE US                              Wamsi Mohan
                                     Seagate Technology                                                         STX                          STX US                              Wamsi Mohan
                                     Stratas y s Ltd.                                                           SSYS                         SSYS US                             Wamsi Mohan
                                     Tech Data Corp.                                                            TECD                         TECD US                             Param Singh, CFA



iQ method SM Measures Definitions
Business Performance              Numerator                                                                 Denominator
Return On Capital Employ ed       NOPAT = (EBIT + Interest Income) * (1 - Tax Rate) + Goodwill Amortization Total Assets – Current Liabilities + ST Debt + Accumulated Goodwill
                                                                                                            Amortization
Return On Equity                  Net Income                                                                Shareholders’ Equity
Operating Margin                  Operating Profit                                                          Sales
Earnings Grow th                  Ex pected 5-Year CAGR From Latest Actual                                  N/A
Free Cash Flow                    Cash Flow From Operations – Total Capex                                   N/A
Quality of Earnings
Cash Realization Ratio                     Cash Flow From Operations                                                                  Net Income
Asset Replacement Ratio                    Capex                                                                                      Depreciation
Tax Rate                                   Tax Charge                                                                                 Pre-Tax Income
Net Debt-To-Equity Ratio                   Net Debt = Total Debt, Less Cash & Equivalents                                             Total Equity
Interest Cov er                            EBIT                                                                                       Interest Ex pense
Valuation Toolkit
Price / Earnings Ratio                     Current Share Price                                                                        Diluted Earnings Per Share (Basis As Specified)
Price / Book Value                         Current Share Price                                                                        Shareholders’ Equity / Current Basic Shares
Div idend Yield                            Annualised Declared Cash Dividend                                                          Current Share Price
Free Cash Flow Yield                       Cash Flow From Operations – Total Capex                                                    Market Cap. = Current Share Price * Current Basic Shares
Enterprise Value / Sales                   EV = Current Share Price * Current Shares + Minority Equity + Net Debt +                   Sales
                                           Other LT Liabilities
EV / EBITDA                                Enterprise Value                                                                           Basic EBIT + Depreciation + Amortization
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                                                                                                                                                                                   Exhibit 9
Disclosures
Important Disclosures
AAPL Price Chart
               31-Oct N                                               16-Sepp               19-Jan                                                        17-Jan                                    13-Sepp
                Mohan                                                PO:US$125             PO:US$140                                                     PO:US$220                                 PO:US$256
              PO:US$130
                            12-Jan B                                                            8-Feb                                                                        2-Mayy                         29-Oct
                                                                                               PO:US$145                                                                    PO:US$225                      PO:US$235
            240
                                              22-Apr                                                  16-Mar                                                                             10-Jul
            200                              PO:US$125                                               PO:US$155                                                                          PO:US$230
            160                               27-Apr                                                            12-Mayy                                                                         21-Augg
                                             PO:US$120                                                         PO:US$180                                                                       PO:US$250
            120

              80

             40

              0
                          1-Jan-16                                                      1-Jan-17                                                       1-Jan-18
               AAPL                  (USD)
                                                                B: Buy, N: Neutral, U: Underperform, PO: Price Objective, NA: No longer valid, NR: No Rating
The Investment Opinion System is contained at the end of the report under the heading "Fundamental Equity Opinion Key". Dark grey shading indicates the security is restricted with the opinion suspended. Medium grey
shading indicates the security is under review with the opinion withdrawn. Light grey shading indicates the security is not covered. Chart is current as of September 30, 2018 or such later date as indicated.


Equity Investment Rating Distribution: Technology Group (as of 30 Sep 2018)
Coverage Universe                                     Count           Percent                                              Inv. Banking Relationships*                                          Count               Percent
Buy                                                       146         57.25%                                               Buy                                                                     85               58.22%
Hold                                                       51         20.00%                                               Hold                                                                    29               56.86%
Sell                                                       58         22.75%                                               Sell                                                                    20               34.48%
Equity Investment Rating Distribution: Global Group (as of 30 Sep 2018)
Coverag e Universe                                    Count           Percent                                              Inv. Bankin g Relationshi ps*                                        Count               Percent
Buy                                                      1626         55.10%                                               Buy                                                                   1043               64.15%
Hold                                                      641         21.72%                                               Hold                                                                   402               62.71%
Sell                                                      684         23.18%                                               Sell                                                                   327               47.81%
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return of at least 10% and are the most attractive stocks in the coverage cluster; 2 - Neutral stocks are expected to remain flat or increase in value and are less attractive than
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Investment ratin g           Total return expectation (within 12-month p eriod of date of initial ratin g)                 Ratin g s disp ersion g uidelines for coverag e cluster*
            Buy                                                         10%                                                                                70%
           Neutral                                                       0%                                                                                30%
       Underperform                                                     N/A                                                                                 20%
* Ratings dispersions may vary from time to time where BofA Merrill L ynch Research believes it better reflects the investment prospects of stocks in a Coverage Cluster.
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                                                                                                                                           2 November 2018
                                                                                                                                          Exhibit 9
                                                                                                               2 November 2018
                                                                                                               Target Price Change

                                                                                                               A.M. (Toni) Sacconaghi, Jr.
     U.S. IT Hardware                                                                                          +1-212-407-5843
                                                                                                               sacconaghi@bernstein.com
     Apple Inc
                                                                                                               Daniel Chen
                                                                                                               +1-212-823-3612
     Rating
                                                                                                               daniel.chen@bernstein.com
     Market-Perform                                                                                            Corry Wang
     Target Price                                                                                              +1-212-756-4113
                                                                                                               corry.wang@bernstein.com
            AAPL                              210.00 USD (225.00 OLD)




     AAPL: Q4 18 Debrief - How much might iPhone units decline in
     FY19? The world may never know
     While hardly the focus of investors, Apple's Q4 results were unsurprisingly solid. iPhone unit            Close Date                                    1-Nov-2018
     sales (+0.5% year-over-year) were in-line with consensus, but as we had expected, iPhone                  AAPL Close Price (USD)                                222.22
     average sales prices ended up growing markedly (+28%), leading to a revenue and EPS beat.                 Target Price (USD)                                    210.00
     Services revenue growth was in-line with expectations (+27% ex one-time gain).                            Upside/(Downside)                                       (5)%
     Investor focus was squarely on guidance for Q1 and Apple's revenue guidance was not only                  52-Week Low                                           150.24
     below the Street's, but also appears to imply -5% to -10% YoY iPhone unit growth for the                  52-Week High                                          233.47
     quarter. Consistent with this, Apple's commentary about its new phones on the earnings call               SPX                                              2,740.37
     was notably less ebullient than prior years. The upshot is that we have lowered our FY 19                 FYE                                                      Sep
     revenues and EPS materially (-$7B, - $0.67). We also expect consensus numbers – which                     Indicated Div Yield                                    1.3%
     were well below the buyside's due to low ASPs – to decline, albeit more modestly.
                                                                                                               Market Cap (USD) (B)                                   1,073
     Exacerbating iPhone unit concerns is the fact that Apple announced it would no longer report              EV (USD) (M)                                         944,163
     unit sales for its products, beginning next quarter. We believe that declining iPhone units
     suggest that (a) either Apple is pushing price points too high, triggering negative demand                Performance                YTD        1M       6M       12M
     elasticity; and/or (b) that the smartphone market is increasingly mature, with elongating                 Absolute (%)               31.3      (2.2)    31.4      33.2
     replacement cycles. Neither is good, and are likely to fan the bear case.                                 SPX (%)                       2.5    (6.3)     3.2       6.2
     Surprisingly, Apple executives did not appear uniquely concerned about China, which grew                  Relative (%)               28.8       4.1     28.2      26.9
     16% in Q4 – in part due to a continued very rich mix of iPhones. That said, executives stated
     that the gaming slowdown in China is a "real issue" and is impacting App Store revenues – we                                                           Bernstein
                                                                                                                         Analyst Page
     estimate Chinese iPhone gaming could account for 9% of total Services revs.                                                                            Events

                                                                                                                         Company
     Investment Implications
                                                                                                                         Page
     On net, last night's call is likely to rightfully spook investors. With the stock trading near 5-year
     highs on all relevant valuation metrics, we see some potential for multiple contraction near-
     term. We lower our PT to $210, in line with our FY 19 EPS haircut, and rate Apple MP.

      EPS Adjusted          F17A      F18E      F19E    Financials               F17A      F18E      F19E    CAGR     Valuation Metrics            F17A      F18E    F19E

      AAPL (USD)             9.21     11.91     13.48   Gross Margin (%)        38.47      38.34    38.41             P/E Adjusted (x)             24.13    18.67 16.49

      OLD                             11.89     14.15   Operating Margin (%)    26.76      26.69    25.98             REL P/E Adjusted (x)          1.14     1.08     1.05

      SPX                  129.17    158.96    175.22   EPS Growth (%)          10.85      29.30    13.19




      See Disclosure Appendix of this report for important disclosures and analyst certifications                               www.bernsteinresearch.com

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                                                                                                                                          Exhibit 9
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          TICKER TABLE
                                                1 Nov 2018                       TTM                   EPS Adjusted                      P/E Adjusted
                                                    Closing       Target          Rel.
              Ticker             Rating               Price        Price         Perf.         2017A      2018E       2019E      2017A      2018E       2019E
              AAPL                   M    USD       222.22        210.00     26.9%       USD      9.21      11.91      13.48      24.13      18.67       16.49
                       OLD                                        225.00                                    11.89      14.15
              SPX                                 2,740.37                                     129.17      158.96     175.22      21.22      17.24       15.64

          TARGET PRICE CHANGE / ESTIMATE CHANGE IN BOLD                                   O - Outperform, M - Market-Perform, U - Underperform, N – Not Rated




          DETAILS
          Apple reported its FQ4 2018 (September quarter) earnings last night (Thursday, November 1), after the close.
          While hardly the focus of investors, Apple's Q4 results were unsurprisingly solid. iPhone unit sales (+0.5% year-over-year) were
          in-line with consensus, but as we had expected, iPhone average sales prices ended up growing markedly (+28%), leading to a
          revenue and EPS beat. Services revenue growth was in-line with expectations (+27% ex one-time gain).
          ª         Revenue. Apple reported FQ4 revenues of $62.9B (+20% year-over-year), modestly beating consensus of $61.3B but
                    largely meeting our own expectations of $63.3B (E   Exhibits 1 and 2). As we had anticipated, effectively 100% of the beat
                    was attributable to stronger pricing due to the front-loading of the XS and XS Max; in Q4, iPhone average sales prices grew
                    28% year-over-year to $793 (E   Exhibits 3 and 4) even as units were flat year-over-year at 46.9M. iPhone channel inventory
                    grew +1.6M units sequentially1 (E Exhibit 5 – consistent with our expectation of +2 million), meaning iPhone units were
                    largely in-line with our expectations on both a sell-in and sell-through basis.

                    Separately, Services revenue was $10.0B, representing +27% year-over-year growth when excluding a favorable one-
                    time item from last year (E
                                              Exhibit 6) – this was consistent with expectations, as well as with prior quarters, despite a
                    slowdown in China App Store revenues due to the ongoing gaming crackdown by regulators. Mac revenues of $7.4B
                    (+3%) were modestly above us and consensus ($6.9B), likely due to a strong Macbook Pro launch. Meanwhile, iPad
                    revenues of $4.1B (-15%) were below consensus ($4.7B) and our estimates ($4.4B), likely reflecting a pushout in demand
                    prior to this week's iPad Pro refresh. Finally, we estimate Apple Watch grew ~40% to perhaps $2.3B, below our bullish
                    estimate of $2.6B but above consensus of $2.1B.
          ª         Gross margin. Apple reported FQ3 gross margins of 38.3%, fairly in-line with us and consensus at 38.5% and 38.2%
                    respectively (E
                                  Exhibits 1 and 2 again). Reversing trends from last quarter, currency was a -40 bps sequential headwind to
                    gross margins, while lower DRAM prices likely remained a modest sequential tailwind.
          ª         Earnings per share. Apple reported FQ4 EPS of $2.91, above consensus of $2.77 but very close to our estimate of $2.90
                    (E
                     Exhibits 1 and 2 again) – again, this was primarily due to higher iPhone ASPs, as well as a $0.03 boost from a lower than
                    expected tax rate. We note that buybacks remained strong, with $19.4B repurchased in Q4 (~6% of traded volumes when
                    including purchasing by Buffett – Exhibit 7).
          ª         Guidance. Apple guided for FQ1 19 revenues of $89B - $93B, below consensus at $92.9B2 and our estimate of $95.9B.
                    Additionally, the company guided for implied FQ1 EPS of $4.63, below consensus at $4.92 and us at $5.03 (E
                                                                                                                             Exhibit 8) –
                    with lower revenues largely accounting for the difference. (See next section for details.)


          Investor focus was squarely on guidance for Q1 and Apple's revenue guidance was not only below the Street's, but also appears
          to imply -5% to -10% YoY iPhone unit growth for the quarter. Consistent with this, Apple's commentary about its new phones on
          the earnings call was decipherably less ebullient than prior years. Importantly, December guidance is typically a barometer for the
          health of iPhone cycles, given that iPhone units have historically declined at fairly predictable seasonal rates following Q1. The



          1
              Not disclosed on the conference call
          2
              As of November 1; other consensus numbers refer to October 23



          U.S. IT HARDWARE                                                                                                                   BERNSTEIN          2



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                                                                                                                             Exhibit 9
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          upshot is that we have lowered our FY 19 revenues and EPS materially (-$7B, - $0.67). We also expect consensus numbers –
          which were well below the buyside's due to low ASPs – to decline, albeit more modestly.
          ª      Revenue guidance weaker than might first appear, given iPhone ASP strength. At first blush, the midpoint of Apple's FY Q1
                 19 revenue guidance of $89B - $93B appears ok, just a smidge ($2B or ~2%) below consensus, and not dissimilar to how
                 Apple has guided historically (E
                                                Exhibit 15). That said, we believe that consensus had wildly underestimated iPhone ASPs in
                 Q1 (ASPs in Q4 were $793 vs. consensus of $741), meaning that with the proper iPhone ASP, consensus revenues likely
                 would have been $95-96B.
          ª      5% to 10% iPhone unit decline in Q1? The upshot is that assuming an iPhone ASP of $837 for Q1 (which is based on our
                 detailed iPhone ASP model (E Exhibit 11)3, and is a figure the company did not push back on), Apple's revenue guidance
                 appears to imply that iPhone units will be down 5%-10% in FYQ1 (or 68.5M to 75.5M units vs. consensus at 77.9M).
                 Consistent with this, we note that executives' comments about new iPhones this quarter was decidedly more muted than
                 on previous Q4 conference calls (EExhibits 12 and 13), and that product availability of new offerings is much better than
                 what we have seen in prior cycles.
          ª      Dec quarter typically a barometer for full year iPhone sales. Lowering FY 19 estimates. Importantly, iPhone units typically
                 follow a fairly predictable seasonal pattern after the December quarter (EExhibits 9 and 10). The result is that even after
                 assuming revenues at the very high end of Apple's guidance for FY Q1, and modeling historical unit seasonality thereafter,
                 our FY 19 revenues fall by $7B (or nearly 3%) to $284B, and our EPS falls by 5% to $13.48. We suspect more modest
                 declines from consensus (where previous estimates were $281B/$13.64), but believe that our estimates were more
                 aligned with buyside sentiment and models.


          Exacerbating iPhone unit concerns is the fact that Apple announced it would no longer report unit sales for its products, beginning
          next quarter. While some investors (and Apple) will argue that unit growth is less relevant for the company today, we believe that
          declining iPhone units suggest that (a) either Apple is pushing price points too high, triggering negative demand elasticity; and/or
          (b) that the smartphone market is increasingly mature, with elongating replacement cycles. Neither is good, and are likely to fan
          the bear case.
          ª      When you have nothing good to say, don't say anything at all... It was the day after Halloween, but Apple still managed to
                 spook investors by announcing it would no longer provide product unit sales going forward. The announcement was made
                 in tandem with several other changes in financial reporting, including the company's decision to provide Services COGs
                 and GMs going forward, as well as to shift a modest amount of revenues to Services. Management argued that unit growth
                 data is no longer relevant to Apple given their strategy of "bringing innovation into the lineup" and "price for the value" they
                 provide customers.
          ª      iPhone unit growth DOES matters. Apple's stock has enjoyed significant multiple expansion year-to-date, fueled in part by
                 the belief that the company has pricing power, due to its strong brand, attractive product set, and powerful ecosystem.
                 That said, if iPhone units decline in FY 19, that thesis may unravel, as investors question whether Apple's ability to take
                 price has reached its limit and whether declining units could impact downstream services revenues. The upshot is, if the
                 smartphone market is ultimately declining, and Apple can no longer take price, doesn't that point to a potentially declining
                 business over time?
          ª      Replacement cycle elongation. Apple has stated that its installed base continues to grow at double digits, despite flat unit
                 sales over the last several years, which points to an elongation in replacement cycles. When pushed, management
                 conceded that they believed replacement cycles have elongated perhaps 3 to 4 months over the past few years, but that
                 average replacement cycles for new iPhones remain under three years. We worry that a continued push out in replacement
                 cycles could lead to declines in market unit growth, akin to what we have seen with PCs over the last 6 years.


          While Apple executives indicated that there was increased macro uncertainty in emerging markets, the company did not appear
          uniquely concerned about China, which grew a healthy 16% in Q4 – executives commented to us that Apple continues to enjoy a
          richer mix of higher-priced devices in China, suggesting that ASPs for iPhone may have been up 35%+ YoY. That said, executives


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              Please contact us if you would like a softcopy of our iPhone pricing model.



          U.S. IT HARDWARE                                                                                                       BERNSTEIN      3



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                                                                                                                          Exhibit 9
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          stated that the gaming slowdown in China is a "real issue" and is impacting App Store revenues – we estimate that Chinese iPhone
          gaming could account for 9% of total Services revenues.
          ª    Strong Q4 in China, good reception on new phones… During the earnings call Q&A, management struck us as surprisingly
               forthcoming about macroeconomic uncertainty within emerging markets, admitting for instance that Apple's business had
               weakened substantially in India (disclosed to be "flat" year-over-year), Brazil (disclosed to be "down somewhat"), Turkey,
               and Russia. Nonetheless, management was adamant about differentiating between these weaker markets and China,
               which still grew +16% year-over-year – including "strong double digit" iPhone revenue growth. Given that Chinese
               government data has pointed to -20%+ year-over-year declines in smartphone unit sales from non-Chinese manufacturers
               within recent months, this suggests that Apple may have seen ASP growth of 35%+ year-over-year during FQ4, likely due
               to good customer reception of the high-end, large-screen iPhone XS and XS Max.
          ª    But approval of new gaming titles is a "real issue." While remaining positive on the China iPhone business despite
               macroeconomic headwinds, management admitted that it did have a "real issue" with regulatory delays on new China App
               Store games – consistent with contemporaneous issues among Chinese game publishers such as Tencent, which saw a
               ~5000 bps sequential deceleration in gaming growth in Q3 due to increased regulatory scrutiny. While Apple management
               did not specify the exact impact, we estimate that China accounts for ~30% of App Store revenue today, with games
               accounting for perhaps 75%+ of that, meaning that Chinese gaming might account for ~$3B or ~9% of total Services
               revenue each year – and perhaps a 200-300 bps headwind to this quarter's total Services growth.


          Services revenue growth was in line with expectations, with slightly weaker App Store performance (estimated ~15-20% growth)
          being offset by strength in Apple Music (47M paid subscribers, up ~45%), iCloud, and AppleCare, which is benefitting from several
          large agreements signed over the last 2 years with retailers (Best Buy) and carrier partners (T-Mobile, Japanese carriers).
          ª    Services strength. Consistent with our expectations, Q4 Services revenue of $10.0B reflected +17% year-over-year
               growth, or +27% excluding a favorable one-item $640M licensing payment in Q4 17 – suggesting healthy ARPU growth of
               +15% (EExhibits 6 and 14). Breaking it down into sub-segments, we impute that year-over-year App Store growth
               decelerated sequentially from ~25% year-to-date to perhaps ~15-20% in Q4, reflecting Chinese gaming delays – again,
               this was likely a 200-300 bps headwind to total Services growth. Meanwhile, we believe Apple Music (which has now
               reached 47M subscribers, up ~45% year-over-year), iCloud, and Apple Care all continued to grow at annual rates of
               ~40%+, cumulatively contributing 1300-1700 bps to total Services growth.
          ª    Apple Care. Interestingly in our conversation this quarter, management confirmed that Apple Care had recently been
               growing faster than Services as a whole due to (1) more expensive iPhones, which have higher Apple Care attach rates and
               more expensive plans; and (2) materially expanded distribution of Apple Care to third-party partners such as Best Buy and
               certain telecom retail channels (e.g. T-Mobile, Japanese carriers) over the course of 2017/2018. The latter point would
               help to explain one of our longstanding conundrums about Services growth year-to-date, i.e. how an otherwise installed
               base-driven business such as Apple Care could grow 30%+ to become the 3rd/4th largest contributor to total Services
               revenue growth.


          TIDBITS:
          ª    Share repurchases. Apple repurchased $19.4B in stock in the quarter, following $20B last quarter (E   Exhibit 7 again), and
               appears poised to continue to purchase at a similar to higher rate (stating it would be opportunistic/could accelerate
               repurchases) going forward. We note that Apple still has $123B in net cash, and is generating $60B+ in cash per year,
               suggesting it could continue at this elevated pace for potentially 3 years.
          ª    FY 19 tax rate. Consistent with last quarter's commentary that its FY19 tax rate would likely be "a couple points higher"
               than its recent rate, Apple guided its FQ1 19 tax rate to be 16.5%, and suggested its ultimate FY19 rate would not be much
               dissimilar.
          ª    China tariffs. Arguably, tariffs were an elephant in the room during the FQ4 earnings call, as Tim Cook avoided making any
               explicit comments on the risks of an escalating trade war / supply chain disruption in China. We note that as recently as
               this week, Bloomberg reported U.S. intent to announce tariffs on iPhones (along with virtually all other remaining non-




          U.S. IT HARDWARE                                                                                                   BERNSTEIN       4



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                                                                                                                                           Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                 2 November 2018




                 tariffed Chinese-made goods) as early as this December.4 While the exact impact of a hypothetical ~10% U.S. tariff on
                 iPhones remains unclear (note that nearly all competing smartphones would be affected as well), ultimately, price elasticity
                 only works in a single direction. Moreover, we continue to believe that the biggest risk from a trade war with China is not
                 necessarily tariffs on Apple products, but rather China placing restrictions or controls on Apple's business that could
                 undermine it.5


          On net, last night's call is likely to rightfully spook investors. Entering the quarter, we had believed that the stock's fortunes would
          be driven by iPhone unit growth in 2019. Now, units appear likely to decline, fanning fears about Apple's ability to raise prices
          going forward and the health of the smartphone market overall. While ASPs may ultimately come in even higher than we model in
          FY 19, and mitigate EPS downside, the stock is trading at close to five-year highs on all relevant valuation metrics, pointing to
          some potential for multiple contraction near-term. We lower our price target to $210, in line with our FY 19 EPS haircut, and
          continue to rate Apple market-perform.
          ª      The bull thesis so far. Within the last 6 months, the bull thesis for Apple has increasingly centered around the company's
                 ostensible pricing power, which some investors believe will allow the stock to secularly re-rate along the lines of a high-end
                 consumer brand rather than a traditional tech hardware OEM.6 Increasing belief in this thesis (along with large share
                 repurchases + buying from Buffett7) has driven a significant upward re-rating of Apple's stock, to the point that it now
                 trades at 5-year highs along all relevant valuation metrics (EExhibits 16-18).
          ª      Where to now? Following last night's earnings call, Apple's fundamentals remain solid: thanks to continued iPhone ASP
                 increases, we still expect revenues to grow 7% year-over-year and EPS to grow 13% year-over-year. Nonetheless, iPhone
                 units now appear more likely than not to decline in FY19, suggesting that Apple's pricing power could finally be
                 approaching the limits of demand elasticity – at which point, Apple becomes increasingly susceptible to elongating
                 replacement cycles within a mature smartphone market. If this is indeed the case, the key bull case for Apple may appear
                 increasingly tenuous, pointing to some potential for multiple contraction in the near-term. Reflecting our lowered EPS
                 estimates for FY19, we lower our Apple price target to $210.



          EXHIBIT 1: AAPL: Bernstein vs Actual, FQ4 18 ($M except per unit or share data, Units in thousands)
                                           Units                               ASPs                          Revenue
                             Bernstein     Actual       Diff      Bernstein    Actual   Diff     Bernstein    Actual    Diff
          iPhone                46,752      46,889         137         $800     $793      ($7)    $37,401     $37,185   ($216)
          iPad                  10,398       9,699        (699)        $425     $422      ($3)     $4,419      $4,089   ($330)
          Mac                    4,740       5,299         559        $1,450   $1,399    ($51)     $6,873      $7,411    $538
          Services                                                                                 $9,976      $9,981      $5
          Other Products                                                                           $4,624      $4,234   ($390)

                                            EPS                                Opex                          Revenue                          GM
                             Bernstein     Actual       Diff      Bernstein    Actual   Diff     Bernstein    Actual    Diff     Bernstein   Actual      Diff
          Overall Company        $2.90       $2.91       $0.02        $8,196   $7,966   ($230)    $63,292     $62,900   ($392)     38.5%      38.3%      (0.2%)

          Source: Company filings, Bernstein estimates and analysis




          4
              Bloomberg: U.S. Plans More China Tariffs If Trump-Xi Meeting Fails, Sources Say
          5 See our 7/17/18 note: IT Hardware: What happens to Apple in a trade war?
          6
              For our somewhat skeptical take on the thesis, see: AAPL: Should Apple be valued like a consumer brand?
          7
              AAPL: Active investors have been shying away, but the stock has ripped... why?



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                                                                                                                                                                                                                                                          Exhibit 9
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          EXHIBIT 2: AAPL: Bernstein vs. Consensus ($M, except per share)
              Consensus as of:                                                                                  1                                 1                          2                           3                           4                        5                               2
                   10/23/2018          FQ417       FY17          FQ318                   FQ418E                                  FY18E                        FQ119E                      FQ219E                      FQ319E                     FQ419E                     FY19E
                                       Actual     Actual        Bernstein Bernstein     Cons.       Guidance        Bernstein            Cons.        Bernstein     Cons.         Bernstein     Cons.         Bernstein     Cons.        Bernstein    Cons.       Bernstein         Cons.
          Mac Revenue                  7,170      25,850          5,330      6,873      6,946                        24,946          25,008             7,383       6,947           5,781        5,680          5,371        5,458         6,636      6,852        25,170           24,889
              Y/Y Change               24.9%      13.2%          -4.7%      -4.1%       -3.1%                        -3.5%               -3.3%          7.1%         0.8%          -1.2%        -2.9%           0.8%         2.4%         -3.4%       -1.3%         0.9%            -0.5%
          iPhone Revenue               28,846     141,319        29,906     37,401      35,284                       166,915         164,809           63,426       62,231         42,601       40,121         33,143       31,521        38,093     36,115       177,263           169,806
              Y/Y Change               2.4%        3.4%          20.4%      29.7%       22.3%                        18.1%           16.6%              3.0%         1.1%          12.0%         5.5%          10.8%         5.4%          1.9%       2.4%          6.2%             3.0%
          iPad Revenue                 4,831      19,222          4,741      4,419      4,667                        19,135          19,397             6,176       5,749           4,214        4,037          4,830        4,611         4,449      4,363        19,669           18,854
              Y/Y Change               13.5%      -6.8%          -4.6%      -8.5%       -3.4%                        -0.5%               0.9%           5.4%        -1.9%           2.5%        -1.9%           1.9%        -2.7%          0.7%       -6.5%         2.8%            -2.8%
          Services Revenue             8,501      29,980          9,548      9,976      10,139                       37,185          37,359            10,245       10,501         10,832       11,011         11,015       11,371        11,801     12,309        43,893           44,950
              Y/Y Change               34.4%      23.1%          31.4%      17.3%       19.3%                        24.0%           24.6%             20.9%        24.0%          17.9%        19.8%          15.4%        19.1%         18.3%      21.4%         18.0%            20.3%
          Other Revenues               3,231      12,877          3,740      4,624      4,292                        17,804          17,843             8,641       7,275           5,792        4,739          5,044        4,532         5,786      5,152        25,263           22,076
              Y/Y Change               36.2%      15.7%          36.7%      43.1%       32.8%                        38.3%           38.6%             57.4%        32.5%          46.6%        19.9%          34.9%        21.2%         25.1%      20.0%         41.9%            23.7%
          Revenue ($M)                 52,579     229,248        53,265     63,292      61,328      $60-$62B         265,984         264,417           95,870       92,702         69,219       65,588         59,402       57,494        66,766     64,791       291,258           280,575
              Y/Y Change               12.2%       6.3%          17.3%      20.4%       16.6%     14.1%-17.9%        16.0%           15.3%              8.6%         5.0%          13.2%         7.3%          11.5%         7.9%          5.5%       5.6%          9.5%             6.1%


          Gross Margin                 37.9%      38.5%          38.3%      38.5%       38.2%     38.0%-38.5%        38.4%               38.3%         38.6%        38.6%          38.5%        38.3%          38.7%        38.3%         38.8%      38.3%         38.6%            38.2%
              Y/Y Change               (11)bp     (61)bp         (17)bp      56 bp      32 bp       9 - 59 bp            (8)bp           (17)bp         15 bp       20 bp           15 bp        2 bp          38 bp        (21)bp        37 bp       10 bp        16 bp             (7)bp
          Operating Margin             25.0%      26.8%          23.7%      25.5%       25.2%     24.6%-25.7%        26.7%               26.6%         29.6%        29.6%          25.8%        25.8%          23.8%        23.6%         25.5%      25.1%         26.6%            26.4%
              Y/Y Change               (15)bp     (107)bp         (4)bp      56 bp      27 bp      -35 to 75 bp      (10)bp              (13)bp        (20)bp       (17)bp         (23)bp       (21)bp          14 bp       (193)bp        2 bp       (8)bp        (20)bp           (24)bp


          EPS ($)                       2.07       9.21           2.34       2.90        2.77       2.65-2.86            11.89           11.74          5.03         4.92           3.25         3.12           2.64         2.58          3.23       3.10          14.15            13.64
              Y/Y Change               23.7%      10.9%          40.4%      40.1%       33.9%           33.2%        29.1%           27.5%             29.2%        26.5%          19.1%        14.6%          12.9%        10.3%         11.6%      11.9%         19.0%            16.2%


          Mac Units (000)              5,386      19,251          3,720      4,740      4,916                        17,650          17,777             5,572       4,871           4,282        3,905          3,906        3,850         4,740      4,801        18,500           17,399
              Y/Y Change               10.2%       4.1%          -13.3%     -12.0%      -8.7%                        -8.3%               -7.7%          9.0%        -4.7%           5.0%        -4.2%           5.0%         3.5%          0.0%       -2.3%         4.8%            -2.1%
              Implied ASP ($)          1,331      1,343          1,433      1,450       1,413                        1,413           1,407             1,325        1,426          1,350        1,455          1,375        1,418         1,400      1,427         1,361            1,431
          iPhone Units (000)           46,677    216,756         41,300     46,752      47,592                      217,585          218,225           75,738       77,854         53,016       52,801         41,883       42,241        47,328     47,924       217,964           219,060
              Y/Y Change               2.6%        2.3%           0.7%       0.2%       2.0%                             0.4%            0.7%          -2.0%         0.7%           1.5%         1.1%           1.4%         2.3%          1.2%       0.7%          0.2%             0.4%
              Implied ASP ($)          618         652            724        800        741                              767             755            837          799            804          760            791          746           805        754           813              775
          iPad Units (000)             10,326     43,753         11,553     10,398      10,466                       44,234          44,466            13,725       13,198          9,470        9,262         11,364       11,017        10,228     10,057        44,787           43,432
              Y/Y Change               11.4%      -4.0%           1.1%       0.7%       1.4%                             1.1%            1.6%           4.2%         0.2%           3.9%         1.6%          -1.6%        -4.6%         -1.6%       -3.9%         1.3%            -2.3%
              Implied ASP ($)          468         439            410        425        446                              433             436            450          436            445          436            425          419           435        434           439              434
          Watch Units (000)            3,500      13,200          3,335      5,503      4,764                        20,388          20,113            10,730       7,786           6,438        4,965          4,700        4,820         6,815      5,476        28,683           23,861
              Y/Y Change               48.4%      42.6%          45.0%      57.2%       36.1%                        54.5%           52.4%             53.3%        11.2%          41.5%         9.1%          40.9%        44.5%         23.8%      14.9%         40.7%            18.6%
              Implied ASP ($)          470         468            460        480        446                              465             438            545          457            530          483            510          456           500        445           525              431



          Source: FactSet consensus, Bernstein estimates




          EXHIBIT 3: Apple: Year-over-Year Growth in iPhone ASP, Q411-Q319E

                                                                                                                                                                                                                                                   28%


                                                                                                                                                                                                                                         20%
                                                                                                                         18%
                                                                                                                                                                                                                        15%
                                                                                                                10%               11%                                                                                      11%                                    10% 9%
                                                                                                         8%
                                                                                                 4%                                                                                                                                                       5%
                                                                                                                                                                                            2% 2%
                                                                                                                                               0%                                  1%

                             0% -1%                                       -1%                                                                                                                                  0%
                                                -3%-4%                           -3%-3%                                                               -3%
                                                                -7%                                                                                                -8%
                                                                                                                                                               -10%
                                                                                                                                                                                                                                                                   2Q19E
                                                                                                                                                                                                                                                                            3Q19E
                                                                                                                                                                                                                                                          1Q19E
                                       1Q13
                                                2Q13




                                                                          1Q14
                                                                                 2Q14


                                                                                                 4Q14
                                                                                                         1Q15




                                                                                                                                    4Q15
                                                                                                                                               1Q16


                                                                                                                                                                  3Q16
                                                                                                                                                                           4Q16




                                                                                                                                                                                                       3Q17
                                                                                                                                                                                                                4Q17


                                                                                                                                                                                                                                 2Q18
                                                                                                                                                                                                                                           3Q18
                                4Q12




                                                         3Q13
                                                                  4Q13




                                                                                        3Q14




                                                                                                                  2Q15
                                                                                                                           3Q15




                                                                                                                                                        2Q16




                                                                                                                                                                                    1Q17
                                                                                                                                                                                              2Q17




                                                                                                                                                                                                                          1Q18




                                                                                                                                                                                                                                                   4Q18




              ASP ($) 619 642 613 581 577 637 596 561 603 687 659 660 670 691 642 595 619 695 655 606 618 796 728 724 793 837 804 791

          Source: Company reports, Bernstein estimates and analysis




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          EXHIBIT 4: Apple: Quarterly iPhone ASP, Q411-Q319E

                                                                                                                                                                                                      837
                                                                                                                                                                           796                  793         804791
                                                                                                                                                                                 728724
                                                                                               687                     691                      695
                      647635                  642                                                    659660670               642                       655
              621                                                    637                                                                619
                                 608619               613                    596         603                                         595                      606618
                                                            581577                 561




          Source: Company reports, Bernstein estimates and analysis



          EXHIBIT 5: AAPL: iPhone Change in Channel Inventory (thousands of units)

                                                              Sequential Change in iPhone Channel Inventory

                                                                                                                                                                                        4,200

                                              3,300                                                                  3,300

                                                                                                                                              2,500
                                                                                                             2,000
                      1,500                                                                                                                                                                                       1,600
                                                                                                                                                      1,200                     1,300
                              1,000                   1,000                  950             1,000
              800
                                                              100


                                                                     (150)           (200)
                                      (600)                                                          (600)                   (450)

                                                                                                                                                              (1,250)
                                                                                                                                                                                                (1,800)


                                                                                                                                                                       (3,300)
                                                                                                                                                                                                         (3,500)
                                                                                                                                     (4,000)
                       1Q13

                               2Q13

                                       3Q13




                                                                              4Q14

                                                                                      1Q15

                                                                                              2Q15




                                                                                                                              2Q16

                                                                                                                                       3Q16

                                                                                                                                               4Q16




                                                                                                                                                                                 4Q17

                                                                                                                                                                                         1Q18

                                                                                                                                                                                                  2Q18

                                                                                                                                                                                                           3Q18
               4Q12




                                               4Q13

                                                       1Q14

                                                              2Q14

                                                                      3Q14




                                                                                                      3Q15

                                                                                                              4Q15

                                                                                                                      1Q16




                                                                                                                                                       1Q17

                                                                                                                                                                2Q17

                                                                                                                                                                         3Q17




                                                                                                                                                                                                                   4Q18




          Source: Company reports, Bernstein estimates and analysis




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                                                                                                                            Exhibit 9
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          EXHIBIT 6: AAPL Services: Revenue and Sources of Growth in Filings, By Quarter ($B)

                                                                        % YoY Growth
                                                                                                           34%
                                                                                                                       31% 31%
                                                                  26%                24%
                                                                        20% 19%                      22%
                                                                                           18% 18%               18%               17%
                                                        12% 10%
                               8%      9%     9%




                              4Q14 1Q15 2Q15 3Q15 4Q15 1Q16 2Q16 3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18
               App Store                        1        1   2     1     1       1    1     1   1     1     1     2     2    2       ?
                 iTunes         1       2                                                                                            ?
               Licensing        2       1       2        2   1     2     2       2          2   2     2     2     1     1    1       ?
               AppleCare                                     3     3     3       3    2                                 3    3       ?
                 iCloud                                                                                           3                  ?

                                                                             % YoY Growth


          Source: Company filings, Bernstein analysis




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                                                                                                            Exhibit 9
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          EXHIBIT 7: AAPL: Share Buybacks by Quarter and Percentage of Quarterly Trading Volume
          Fiscal                      Shares Purchased (M)                       Quarter    AAPL+BRK
          Quarter                  Apple     Buffett AAPL+BRK                    Volume     % of Volume
          Q4 18E                           92                    12      105        1,773         5.9%
          Q3 18                           113                    12      125        1,815         6.9%
          Q2 18                           137                    74      211        2,301         9.2%
          Q1 18                            58                    31       89        1,636         5.4%
          Q4 17                            49                     4       53        1,764         3.0%
          Q3 17                            49                     1       50        1,712         2.9%
          Q2 17                            55                    72      127        1,700         7.5%
          Q1 17                            94                    42      136        2,017         6.7%
          Q4 16                            63                     0       63        2,286         2.8%
          Q3 16                            98                     5      104        2,554         4.1%
          Q2 16                            72                    10       82        2,829         2.9%
          Q1 16                            46                     0       46        2,787         1.7%
          Q4 15                           132                     0      132        3,872         3.4%
          Q3 15                            70                     0       70        2,829         2.5%
          Q2 15                            70                     0       70        3,580         1.9%
          Q1 15                            54                     0       54        3,255         1.7%
          Q4 14                           141                     0      141        3,501         4.0%
          Q3 14                           174                     0      174        4,250         4.1%
          Q2 14                           222                     0      222        4,929         4.5%
          Q1 14                            67                     0       67        5,030         1.3%
          Q4 13                            73                     0       73        5,809         1.3%
          Q3 13                           238                     0      238        6,859         3.5%
          Q2 13                             0                     0        0        7,911         0.0%
          Q1 13                            18                     0       18        9,302         0.2%
          Source: Company filings, Factset, Bernstein analysis




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                                                                                                                                              Exhibit 9
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          EXHIBIT 8: AAPL: FQ119E Guidance vs. Bernstein Prior Estimate ($M except per share values)
          1Q19 Guidance vs Our Estimates

          Guidance                                                                            Guidance                                       Bern.
                                                                                  Low            High    Midpoint
          Revenue                                                                $89,000         $93,000 $91,000                             $95,870
          Gross Margin                                                             38.0%          38.5%     38.3%                             38.6%
          OpEx                                                                    $8,800          $8,700   $8,750                             $8,628
          Other Income (Expense)                                                    $300            $300     $300                               $350
          Tax rate                                                                 16.5%          16.5%     16.5%                             17.0%
          FD Shares Out                                                                                     4,758                             4,737

          EPS Calculations Based on Guidance                                                  Guidance                                       Bern.
                                                                                  Low            High             Midpoint
          Gross Profit                                                           $33,820        $35,805            $34,808               $36,965
          Operating Profit                                                       $25,020        $27,105            $26,058               $28,337
          Pretax Income                                                          $25,320        $27,405            $26,358               $28,687
          Net Income                                                             $21,142        $22,883            $22,009               $23,810
          EPS                                                                      $4.44          $4.81              $4.63              $   5.03
          Source: Bernstein estimates and analysis



          EXHIBIT 9: AAPL: iPhone Sell-in Seasonality
                                  iPhone Unit Seasonality                                                                iPhone Unit Sales

                                 Q1         Q2        Q3        Q4         Y/Y                                      Q1        Q2        Q3           Q4      Year
                       2011     15.1%       14.9%      9.1%    (16.1%)    80.8%                           2011     16,235    18,647    20,338    17,073      72,293
                       2012    101.5%        1.9%    (25.8%)     3.4%     69.3%                           2012     34,398    35,064    26,028    26,910     122,400
                       2013     77.6%      (21.7%)   (16.5%)     8.2%     22.8%                           2013     47,789    37,430    31,241    33,797     150,257
                       2014     51.0%      (14.3%)   (19.5%)    11.6%     12.6%                           2014     51,025    43,719    35,203    39,272     169,219
                       2015     89.6%      (17.9%)   (22.3%)     1.1%     36.6%                           2015     74,468    61,170    47,534    48,046     231,218
                       2016     55.6%      (31.5%)   (21.1%)    12.7%     (8.4%)                          2016     74,779    51,193    40,399    45,513     211,884
                       2017     59.7%      (30.2%)   (19.2%)    13.8%     (0.3%)                          2017     72,698    50,763    41,026    46,677     211,164
                       2018     65.6%      (32.5%)   (20.9%)    13.5%      3.1%                           2018     77,316    52,217    41,300    46,889     217,722
                       2019     55.0%      (30.0%)   (20.0%)    13.0%     (3.4%)                          2019     72,678    50,875    40,700    45,991     210,243
          Full Refresh Avg.     60.8%       (8.2%)    (9.9%)    (2.3%)    46.7%               Full Refresh Avg.    52,797    42,003    35,035    36,398     166,233
          S-Cycle Avg           69.4%      (14.6%)   (22.1%)     9.2%     24.5%               S-Cycle Avg          53,401    43,325    33,877    37,232     167,834
          Hist. Avg.            63.4%      (17.9%)   (17.4%)     6.8%     23.7%               Hist. Avg.           57,932    44,564    35,974    38,908     177,378
          3Y Avg.               68.3%      (26.5%)   (20.9%)     9.2%      9.3%               3Y Avg.              74,931    51,391    40,908    46,360     213,590

          Note: FQ1 17 / FY17 and FQ1 12/FY12 are adjusted for an extra week in the quarter
          Source: Company filings, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                       BERNSTEIN          10



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                                                                                                                                                        Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                               2 November 2018




          EXHIBIT 10: AAPL: iPhone Sell-through Seasonality
                                   iPhone Unit Seasonality                                                                       iPhone Unit Sales

                                Q1          Q2            Q3             Q4         Y/Y                                   Q1          Q2        Q3           Q4         Year
                       2011    21.0%        5.7%          15.9%         (12.3%)     78.7%                         2011    16,035     16,947    19,638       17,223    69,843
                       2012    98.6%       (5.3%)        (18.8%)         (0.8%)     70.5%                         2012    34,212     32,414    26,328       26,110   119,064
                       2013    77.3%      (21.3%)        (12.6%)         (4.2%)     21.8%                         2013    46,289     36,430    31,841       30,497   145,057
                       2014    64.0%      (12.8%)        (19.0%)          8.4%      15.3%                         2014    50,025     43,619    35,353       38,322   167,319
                       2015    94.8%      (19.4%)        (20.0%)         (4.3%)     36.9%                         2015    74,668     60,170    48,134       46,046   229,018
                       2016    55.2%      (27.8%)        (14.0%)         (3.1%)     (8.1%)                        2016    71,479     51,643    44,399       43,013   210,534
                       2017    66.4%      (27.3%)        (14.8%)          2.4%       1.3%                         2017    71,584     52,013    44,326       45,377   213,300
                       2018    61.1%      (26.1%)        (17.1%)          1.1%       1.8%                         2018    73,116     54,017    44,800       45,289   217,222
                       2019    55.0%      (26.1%)        (14.8%)          0.7%      (3.0%)                        2019    70,178     51,875    44,200       44,491   210,743
          Full Refresh Avg.    64.4%      (11.7%)         (5.6%)         (7.0%)     45.8%             Full Refresh Avg.   45,664     37,849    33,204       31,255   147,973
          S-Cycle Avg          72.6%      (15.3%)        (17.3%)          1.5%      25.9%             S-Cycle Avg         51,905     42,559    35,360       35,815   165,639
          Hist. Avg.           65.9%      (17.8%)        (12.8%)         (1.4%)     23.9%             Hist. Avg.          56,398     44,348    37,669       37,374   175,789
          3Y Avg.              60.9%      (27.1%)        (15.3%)          0.1%      (1.6%)            3Y Avg.             72,060     52,558    44,508       44,560   213,685

          Note: FQ1 17/FY17 and FQ1 12/FY12 are adjusted for an extra week in the quarter
          Source: Company filings, Bernstein estimates and analysis



          EXHIBIT 11: AAPL: Estimated FY19 Mix and iPhone ASP
                                                           Implied Mix                                                    Estimated Wholesale Prices
                                       Q1           Q2             Q3         Q4          FY19                    Q1        Q2         Q3        Q4         FY19     MSRP
          iPhone SE Relaunch? / 6S        2%         5%             8%             7%         5%                   $367      $367       $367      $367        $367        $382
          iPhone 7 (Gen N-2)              4%         4%             4%             4%         4%                   $465      $465       $465      $465        $465        $484
          iPhone 7+ (Gen N-2)             6%         7%             6%            10%         7%                   $580      $580       $580      $580        $580        $604
          iPhone 8 (Gen N-1)              5%         5%             6%             4%         5%                   $625      $625       $625      $625        $625        $652
          iPhone 8+ (Gen N-1)             5%         4%             4%             3%         4%                   $743      $743       $743      $743        $743        $774
          iPhone XR (Current Gen)        45%        48%            45%            41%        45%                  $755       $755       $755      $755        $755        $787
          iPhone XS (Current Gen)        11%         9%             9%            11%        10%                 $1,048    $1,048     $1,048    $1,048      $1,048      $1,092
          iPhone XS Max (Current Ge      22%        18%            18%            20%        20%                 $1,151    $1,151     $1,151    $1,151      $1,151      $1,199
          Overall                       100%      100%          100%           100%         100%                   $837     $804        $791         $805     $813       $847
          Estimated Units (000s)       75,738    53,016        41,883         47,328      217,964 Consensus:       $799     $760        $746         $754     $775
                                                                                                  Difference        $38      $44         $45          $51      $38

          Note: Wholesale prices include a 4% discount to our estimated MSRP
          Source: Company filings, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                                  BERNSTEIN          11



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                                                                                                                                            Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                   2 November 2018




          EXHIBIT 12: Earnings Call Commentary on iPhone 8/X vs. XS/XR

                                iPhone 8 / X                                                    iPhone XS / XR

                               • Tim: iPhone sales exceeded our expectations. In the last  • Tim: It was a big year and a big quarter for iPhone. Q4
                                 week and a half of September, we began shipping iPhone 8    revenue was up 29% over last year, an increase of over $8
                                 and iPhone 8 Plus to customers in more than 50 countries.   billion to a new September quarter record fueled by
                                 They instantly became our two most popular iPhone           continued momentum for iPhone 8, 8 Plus and X, and the
                                 models and have been every week since then.                 very successful launch of iPhone XS and iPhone XS Max.
              Prepared
                               • Tim: As we speak, the launch of iPhone X is now underway • Tim: Just last week, we began shipping iPhone XR,
              Remarks            as stores open across Australia and Asia. iPhone X is packed bringing the latest iPhone breakthroughs to even more
                                 with innovative new technologies that chart our path for     users. With an all-screen glass and aluminum design and
                                 the next decade… We can't wait for people to experience      the most advanced LCD in a smartphone, the product
                                 our vision of the future. Orders have already been very      reviews have been overwhelmingly positive.
                                 strong, and we're working to get iPhone X into customers'
                                 hands as quickly as possible.
                               • Analyst's Question: …Is there any information you can        • Analyst's Question: With the staggered iPhone launch,
                                 provide on how iPhone X pre-orders compared to what            were you able to discern any impact on the XS and XS
                                 you saw with iPhone 8 pre-orders?                              Max from buyers potentially waiting for the XR, and what
                                                                                                if anything can we take away from the December quarter
                               • Tim: I would share with you that the iPhone X orders are       guidance related to what you're seeing for early demand
                                 very strong for both direct customers and for our channel      of the XR?
              Q&A                partners, which as you know, are lots of carriers
                                 throughout the world. And we couldn't be more excited to • Tim: The XS and XS Max got off to a really great start and
                                 get underway. And I think as of a few minutes ago, the first   we've only been selling for a few weeks. The XR, we've
                                 sales started in Australia. And I'm told we had several        only had out there for I guess five days or so at this point,
                                 hundred people waiting at the store in Sydney and I'm          and so we have very, very little data there. Usually there
                                 getting similar reports from across that region.               is some amount of wait until another product shows up
                                                                                                and look, but in looking at the data, on the sales data for
                                                                                                XS and XS Max, there's not obvious evidence of that in the
                                                                                                data, as I see it.

          Source: Factset, Bernstein analysis



          EXHIBIT 13: Earnings Call Commentary on iPhone 7

                                  iPhone 7

                                 • Tim: …we're thrilled with the customer response to
                                   iPhone 7 and iPhone 7 Plus. These are the best iPhones
                                   we've ever made…
                                 • Luca: …very successful launch of iPhone 7 and iPhone 7
              Prepared             Plus… the initial customer response to iPhone 7 and 7 Plus
                                   gives us confidence that our Dec. quarter performance in
              Remarks              China will be significantly better on a YoY basis than our
                                   September quarter… Worldwide demand for iPhone 7
                                   and 7 Plus has significantly outpaced supply, particularly
                                   on iPhone 7 Plus, and we're working very hard to get the
                                   new iPhones into the hands of our customers as quickly as
                                   possible.
                                 • Analyst's Question: …can you help us understand what's
                                   embedded in revenue guidance for the extra week as well
                                   as any rebuilding of channel inventory given all the major
                                   products are running below target? Just trying to get at
                                   whether you see revenue and in particular iPhone growth
              Q&A                  year on year on more of a sellout basis when you adjust
                                   for those two factors?
                                 • Luca: …Keep in mind that December quarter a year ago
                                   for us was an all-time quarterly revenue record. We think
                                   we can grow this year. As Tim said, the interest from
                                   customers on iPhone 7 and 7 Plus is very strong. The
                                   strength of our Services business, you've seen we've grown
                                   24% in September. We think we can continue to grow very
                                   well into the December quarter.

          Source:




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                                                                                                                                   Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                        2 November 2018




          EXHIBIT 14: AAPL: Implied Growth in Average Revenue Per User (ARPU), 2013-FQ4 18




              31%                                                                                           31%             31%
                                                                                                                                         27%
                  25%                                                            24%
                              22%
                                              20%                20%                                                           19%
                                                              17%                             18%               18%
                                                                                                                                            15%
                                  13%                                       12%
                                                  10%                              11%      11%          11%            11%           11%
                                                                                                  7%
                                                                      2%



                      -5%
                                     -8%              -8%


                FY2013          FY2014          FY2015          FY2016        FY2017        FQ1 2018      FQ2 2018       FQ3 2018      FQ4 2018

                                      Installed Base Growth       Services Revenue Growth     Implied Growth in Revenue per User


          Note: FY17 and FQ418 adjusted for one-time $640M item in Q4 17
          Source: Company filings, Bernstein estimates and analysis




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                                                                                                                                                                         Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                               2 November 2018




          EXHIBIT 15: AAPL: Revenue, EPS, and Gross Margin Guidance History
          Revenues ($B)
          Guidance Date:                   10/27/2016 1/26/2016   4/25/2016   7/27/2016 10/25/2016 1/31/2017   5/2/2017    8/1/2017   11/2/2017   2/1/2018   5/1/2018     7/31/2018   11/1/2018
          For Fiscal Quarter:                Q116       Q216        Q316       Q416       Q117       Q217       Q317        Q417        Q118       Q218       Q318         Q418E       Q119E

          Guidance                         75.5-77.5    50-53      41-43      45.5-47.5   76-78    51.5-53.5   43.5-45.5    49-52      84-87       60-62     51.5-53.5     60-62       89-93

          Midpoint of Guidance               76.50      51.50      42.00       46.50      77.00      52.50      44.50       50.50      85.50       61.00      52.50        61.00       91.00
          Then-Consensus                     76.92      52.09      46.62       47.03      74.88      52.91      44.88       50.44      87.50       68.90      52.28        61.33       92.70
          Actual / Bernstein Estimate        75.87      50.56      42.36       46.85      78.35      52.91      45.41       51.01      88.29       61.13      53.27        63.29       95.87

          Guidance vs. Consensus             -0.5%      -1.1%      -9.9%       -1.1%       2.8%      -0.8%      -0.8%        0.1%      -2.3%      -11.5%       0.4%        -0.5%       -1.8%
          Actual/Bernstein vs. Guidance      -0.8%      -1.8%       0.9%        0.8%       1.8%       0.8%       2.0%        1.0%       3.3%        0.2%       1.5%         3.8%        5.4%
          Actual/Bernstein vs. Consensus     -1.4%      -2.9%      -9.1%       -0.4%       4.6%       0.0%       1.2%        1.1%       0.9%      -11.3%       1.9%         3.2%        3.4%

          Guidance Y/Y Growth                 2.5%     -11.2%     -15.3%       -9.7%       1.5%       3.8%       5.1%        7.8%       9.1%      15.3%       15.6%        19.6%        3.1%
          Consensus Y/Y Growth                3.1%     -10.2%      -6.0%       -8.7%      -1.3%       4.7%       6.0%        7.7%      11.7%      30.2%       15.1%        20.2%        5.0%
          Actual/Bernstein Y/Y Growth         1.7%     -12.8%     -14.6%       -9.0%       3.3%       4.7%       7.2%        8.9%      12.7%      15.5%       17.3%        24.1%        8.6%

          EPS ($)
          Guidance Date:                   10/27/2016 1/26/2016   4/25/2016   7/27/2016 10/25/2016 1/31/2017   5/2/2017    8/1/2017   11/2/2017   2/1/2018   5/1/2018     7/31/2018   11/1/2018
          For Fiscal Quarter:                Q116       Q216        Q316       Q416       Q117       Q217       Q317        Q417        Q118       Q218       Q318         Q418E       Q119E

          Guidance                         ~3.09-3.31 ~1.85-2.05 ~1.30-1.45 ~1.55-1.70 ~3.10-3.27 ~1.83-1.99 ~1.44-1.63 ~1.75-1.96 ~3.61-3.85 ~2.57-2.77 ~2.10-2.30 ~2.65-2.86 ~4.44-4.81

          Midpoint of Guidance               3.19       1.93        1.38        1.63       3.19      1.98        1.54        1.85       3.73        2.67       2.20         2.75        4.63
          Then-Consensus                     3.25       2.00        1.40        1.66       3.21      2.02        1.57        1.87       3.78        2.90       2.15         2.77        4.92
          Actual / Bernstein Estimate        3.28       1.90        1.42        1.67       3.36      2.10        1.67        2.07       3.89        2.73       2.34         2.90        5.03

          Guidance vs. Consensus             -1.8%      -3.4%      -1.9%       -1.9%      -0.6%      -2.0%      -1.9%       -1.2%      -1.3%       -7.9%       2.3%        -0.7%       -6.0%
          Actual/Bernstein vs. Guidance       2.9%      -1.7%       3.6%        2.9%       5.3%       6.1%       8.2%      11.7%        4.3%        2.1%       6.3%         5.3%        8.7%
          Actual/Bernstein vs. Consensus      1.1%      -5.0%       1.6%        0.9%       4.7%       4.0%       6.1%      10.4%        2.9%       -6.0%       8.7%         4.6%        2.2%

          Guidance Y/Y Growth                 4.1%     -17.0%     -25.7%      -17.0%      -2.8%       4.3%       8.1%      10.7%       11.0%      27.1%       32.1%        33.0%       18.9%
          Consensus Y/Y Growth                6.0%     -14.1%     -24.2%      -15.3%      -2.2%       6.4%      10.2%      12.0%       12.5%      38.1%       29.1%        34.0%       26.5%
          Actual/Bernstein Y/Y Growth         7.1%     -18.4%     -23.0%      -14.6%       2.4%      10.6%      16.9%      23.7%       15.8%      29.8%       40.4%        40.1%       29.2%


          Gross Margin
          Guidance Date:                   10/27/2016 1/26/2016   4/25/2016   7/27/2016 10/25/2016 1/31/2017   5/2/2017    8/1/2017   11/2/2017   2/1/2018   5/1/2018     7/31/2018   11/1/2018
          For Fiscal Quarter:                Q116       Q216        Q316       Q416       Q117       Q217       Q317        Q417        Q118       Q218       Q318         Q418E       Q119E
          Guidance                           39.5%     39.3%       37.8%       37.8%      38.3%      38.5%      38.0%       37.8%      38.3%       38.3%      38.3%        38.3%       38.3%
          Actual / Bernstein Estimate        40.1%     39.4%       38.0%       38.0%      38.5%      38.9%      38.5%       37.9%      38.4%       38.3%      38.3%        38.5%       38.6%

          Actual/SCB vs. Guidance            60 bp      15 bp      27 bp       27 bp      26 bp      40 bp      51 bp       14 bp      16 bp       6 bp        9 bp        21 bp       31 bp
          Avg Beat over last 8 Qtrs                                                                                                                                        23 bp
          Avg Beat over last 5 Qtrs                                                                                                                                        13 bp


          Source: Company filings, Consensus, Bernstein estimates and analysis




          EXHIBIT 16: AAPL: Absolute P/FE Based on Consensus, 2013-2018

                                                                           Stock P/FE (Consensus)
              18.0x                                                                                                        Consensus: 16.6x
              17.0x

              16.0x
                                                                       Historical Average
              15.0x

              14.0x                                                               13.57x

              13.0x

              12.0x

              11.0x

              10.0x

               9.0x

               8.0x
                 11/1/2013                 11/1/2014                       11/1/2015                   11/1/2016                      11/1/2017                          11/1/2018

          Source: Factset, Bernstein estimates and analysis as of 10/23/18




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                                                                                                                       Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                            2 November 2018




          EXHIBIT 17: AAPL: Relative P/FE Based on Consensus, 2013-2018

                                                             Stock Relative P/FE (Consensus)
              1.10x

              1.05x                                                                            Consensus: 1.06x
              1.00x

              0.95x

              0.90x                                                        Average = 0.84x

              0.85x

              0.80x

              0.75x

              0.70x

              0.65x

              0.60x
                 11/1/2013                11/1/2014                   11/1/2015         11/1/2016        11/1/2017        11/1/2018

          Source: CapitalIQ, Factset, Bernstein analysis as of 10/23/18



          EXHIBIT 18: AAPL: Absolute EV/NTM FCF Based on Consensus, 2013-2018

                                                              Stock EV/NTM FCF (Consensus)
              18.00x

              17.00x

              16.00x

              15.00x

              14.00x
                                                                              Average = 13.21x
              13.00x

              12.00x

              11.00x

              10.00x

               9.00x

               8.00x
                  11/1/2013                11/1/2014                 11/1/2015        11/1/2016        11/1/2017       11/1/2018

          Source: CapitalIQ, FactSet, Bernstein analysis, as of 10/23/18



          Exhibits 19-22 provide our AAPL income statement and services model.




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                                                                                                                                                                                                            Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                                                                       2 November 2018




          EXHIBIT 19: Apple: Income Statement Model ($M, except per share data)
          Fiscal Periods:                                     2016          2017           2018        2019E          4Q17           1Q18         2Q18          3Q18          4Q18        1Q19E        2Q19E         3Q19E         4Q19E

           Net Sales                                    215,639       229,248           265,592    284,342           52,579        88,293        61,134        53,265        62,900       92,476       67,296        58,416        66,154
           Cost of Goods Sold                           131,376       141,057           163,754    175,114           32,648        54,381        37,713        32,844        38,816       57,078       41,388        35,971        40,676
           Gross Income                                  84,263        88,191           101,838    109,228           19,931        33,912        23,421        20,421        24,084       35,398       25,907        22,444        25,478

           Research & Development                           10,045        11,581         14,236        17,396         2,997         3,407         3,378         3,701         3,750        4,161        4,172         4,498         4,565
           Selling, General, & Administrative               14,194        15,261         16,705        17,949         3,814         4,231         4,150         4,108         4,216        4,578        4,442         4,498         4,432
           Operating Income                                 60,024        61,349         70,897        73,882        13,120        26,274        15,893        12,612        16,118       26,659       17,293        13,448        16,481

           Interest and Other, Net (excludes gains/lo        1,348         2,745          2,005         1,200           797           756           274           672           303          300          300           300           300
           Income Before Tax                                61,372        64,094         72,902        75,082        13,917        27,030        16,167        13,284        16,421       26,959       17,593        13,748        16,781

           Income Taxes (ex. 1-time items)                  15,685        15,738         13,372        12,388         3,203         6,965         2,346         1,765         2,296        4,448        2,903         2,268         2,769
           Net Income                                       45,687        48,356         59,530        62,693        10,714        20,065        13,821        11,519        14,125       22,511       14,690        11,480        14,012

           Average Shares Outstanding, Diluted               5,500         5,252          5,000         4,652         5,184         5,158         5,068         4,927         4,848        4,763        4,678         4,593         4,508
           Earnings Per Share, Diluted                  $     8.31    $     9.21    $     11.91    $    13.48    $     2.07    $     3.89    $     2.73    $     2.34    $     2.91   $     4.73   $     3.14    $     2.50    $     3.11

          TRENDS, Post-FAS123(R)
          Key Ratios
           COGS as % of Sales                                60.9%         61.5%         61.7%         61.6%         62.1%          61.6%        61.7%         61.7%         61.7%        61.7%        61.5%         61.6%         61.5%
           Gross Margin                                      39.1%         38.5%         38.3%         38.4%         37.9%          38.4%        38.3%         38.3%         38.3%        38.3%        38.5%         38.4%         38.5%
           R&D as % of Sales                                  4.7%          5.1%          5.4%          6.1%          5.7%           3.9%         5.5%          6.9%          6.0%         4.5%         6.2%          7.7%          6.9%
           SG&A as % of Sales                                 6.6%          6.7%          6.3%          6.3%          7.3%           4.8%         6.8%          7.7%          6.7%         5.0%         6.6%          7.7%          6.7%
           Operating Margin                                  27.8%         26.8%         26.7%         26.0%         25.0%          29.8%        26.0%         23.7%         25.6%        28.8%        25.7%         23.0%         24.9%
           Tax rate                                          25.6%         24.6%         18.3%         16.5%         23.0%          25.8%        14.5%         13.3%         14.0%        16.5%        16.5%         16.5%         16.5%
           Net Margin                                        21.2%         21.1%         22.4%         22.0%         20.4%          22.7%        22.6%         21.6%         22.5%        24.3%        21.8%         19.7%         21.2%

          Y/Y Change
            Net Sales                                        -7.7%          6.3%         15.9%          7.1%         12.2%          12.7%        15.5%         17.3%         19.6%         4.7%        10.1%          9.7%          5.2%
            Gross Income                                    -10.0%          4.7%         15.5%          7.3%         11.9%          12.4%        13.7%         16.8%         20.8%         4.4%        10.6%          9.9%          5.8%
            R&D                                              24.5%         15.3%         22.9%         22.2%         16.6%          18.7%        21.7%         26.0%         25.1%        22.1%        23.5%         21.5%         21.7%
            SG&A                                             -0.9%          7.5%          9.5%          7.4%          9.5%           7.2%        11.6%          8.6%         10.5%         8.2%         7.0%          9.5%          5.1%
            Operating Income                                -15.7%          2.2%         15.6%          4.2%         11.6%          12.5%        12.7%         17.1%         22.9%         1.5%         8.8%          6.6%          2.3%
            Net Income                                      -14.4%          5.8%         23.1%          5.3%         18.9%          12.2%        25.3%         32.1%         31.8%        12.2%         6.3%         -0.3%         -0.8%
            Diluted Shares                                    (293)         (249)         (252)         (348)         (210)          (170)        (193)         (307)         (336)        (395)        (391)         (334)         (340)
            EPS, Diluted                                     -9.9%         10.9%         29.3%         13.2%         23.7%          15.9%        30.0%         40.4%         41.0%        21.5%        15.2%          6.9%          6.7%

          Sequential Change
           Net Sales                                                                                                 15.8%          67.9%        -30.8%        -12.9%        18.1%        47.0%        -27.2%        -13.2%        13.2%
           Gross Income                                                                                              14.0%          70.1%        -30.9%        -12.8%        17.9%        47.0%        -26.8%        -13.4%        13.5%
           R&D                                                                                                        2.0%          13.7%         -0.9%          9.6%         1.3%        11.0%          0.3%          7.8%         1.5%
           SG&A                                                                                                       0.8%          10.9%         -1.9%         -1.0%         2.6%         8.6%         -3.0%          1.3%        -1.5%
           Operating Income                                                                                          21.8%         100.3%        -39.5%        -20.6%        27.8%        65.4%        -35.1%        -22.2%        22.5%
           Net Income                                                                                                22.9%          87.3%        -31.1%        -16.7%        22.6%        59.4%        -34.7%        -21.9%        22.1%
           Diluted Shares                                                                                              (50)           (26)          (89)         (142)         (79)         (85)          (85)          (85)         (85)
           EPS, Diluted                                                                                              24.1%          88.2%        -29.9%        -14.3%        24.6%        62.2%        -33.6%        -20.4%        24.4%


          Source: Corporate reports, Bernstein estimates and analysis




          EXHIBIT 20: Apple: Gross Margin Model ($M)
          Fiscal Periods:                                     2016          2017           2018         2019E          4Q17          1Q18          2Q18          3Q18         4Q18        1Q19E        2Q19E         3Q19E         4Q19E

          Revenue
          iPhone                                            136,700       141,319        166,699       170,967        28,846        61,576       38,032        29,906        37,185       60,863       40,880        32,206        37,017
          iPad                                               20,628        19,222         18,805        20,346         4,831         5,862        4,113         4,741         4,089        6,382        4,357         5,003         4,604
          Mac                                                22,831        25,850         25,484        26,115         7,170         6,895        5,848         5,330         7,411        7,366        5,891         5,453         7,405
          Apple Watch                                         4,572         6,176          9,117        13,141        1,645         3,255         2,048        1,534         2,280        5,048         2,945        2,126         3,022
          iTunes/Software/Services                           24,348        29,980         37,190        43,721         8,501         8,471        9,190         9,548         9,981       10,136       10,844        10,980        11,761
          Other Products                                      6,560         6,701          8,297        10,052         1,586         2,234        1,904         2,206         1,954        2,681        2,379         2,647         2,345
          Total                                             215,639       229,248        265,592       284,342        52,579        88,293       61,134        53,265        62,900       92,476       67,296        58,416        66,154

          Revenue Share
          iPhone                                             63.4%         61.6%          62.8%         60.1%         54.9%         69.7%         62.2%         56.1%         59.1%        65.8%        60.7%         55.1%         56.0%
          iPad                                                9.6%          8.4%           7.1%          7.2%          9.2%          6.6%          6.7%          8.9%          6.5%         6.9%         6.5%          8.6%          7.0%
          Mac                                                10.6%         11.3%           9.6%          9.2%         13.6%          7.8%          9.6%         10.0%         11.8%         8.0%         8.8%          9.3%         11.2%
          Apple Watch                                         2.1%          2.7%           3.4%          4.6%          3.1%         3.7%           3.3%         2.9%           3.6%        5.5%          4.4%         3.6%           4.6%
          iTunes/Software/Services                           11.3%         13.1%          14.0%         15.4%         16.2%          9.6%         15.0%         17.9%         15.9%        11.0%        16.1%         18.8%         17.8%
          Other Products                                      3.0%          2.9%           3.1%          3.5%          3.0%          2.5%          3.1%          4.1%          3.1%         2.9%         3.5%          4.5%          3.5%
          Total                                             100.0%        100.0%         100.0%        100.0%        100.0%        100.0%        100.0%        100.0%        100.0%       100.0%       100.0%        100.0%        100.0%

          Gross Margin
          iPhone                                             41.0%         38.7%          37.8%         36.9%         36.7%          39.0%        37.3%         36.6%         37.1%        38.7%        36.5%         35.5%        35.8%
          iPad                                               25.3%         24.3%          21.4%         22.0%         25.0%          24.5%        20.0%         20.0%         20.0%        22.0%        22.0%         22.0%        22.0%
          Mac                                                24.7%         23.9%          21.5%         22.0%         21.5%          21.6%        22.6%         21.1%         21.0%        22.0%        22.0%         22.0%        22.0%
          Apple Watch                                        27.3%         26.6%          26.0%         27.0%         26.0%         26.0%        26.0%         26.0%          26.0%       27.0%        27.0%         27.0%         27.0%
          iTunes/Software/Services                           61.0%         65.2%          67.8%         68.8%         68.5%          66.7%        67.2%         68.1%         68.9%        67.7%        68.4%         68.8%        70.2%
          Other Products                                     20.0%         21.5%          21.8%         22.0%         21.5%          21.5%        20.0%         22.5%         23.0%        22.0%        22.0%         22.0%        22.0%
          Overall Company                                    39.1%         38.5%          38.3%         38.4%         37.9%          38.4%        38.3%         38.3%         38.3%        38.3%        38.5%         38.4%        38.5%


          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                                                                                       BERNSTEIN                  16



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                                                                                                                                                                      Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                                              2 November 2018




          EXHIBIT 21: Apple Revenue Model ($M)
          Fiscal Periods:                           2015         2016            2017      2018     2019E    4Q17     1Q18     2Q18     3Q18     4Q18    1Q19E    2Q19E     3Q19E    4Q19E

          Revenues ($M)
          iPhone                                155,041      136,700          141,319   166,699   170,967   28,846   61,576   38,032   29,906   37,185   60,863   40,880    32,206   37,017
          iPad                                   23,227       20,628           19,222    18,805    20,346    4,831    5,862    4,113    4,741    4,089    6,382    4,357     5,003    4,604
          Mac                                    25,471       22,831           25,850    25,484    26,115    7,170    6,895    5,848    5,330    7,411    7,366    5,891     5,453    7,405
          Apple Watch                             2,733        4,572            6,176     9,117    13,141    1,645    3,255    2,048    1,534    2,280    5,048    2,945     2,126    3,022
          iTunes/Software/Services               19,909       24,348           29,980    37,190    43,721    8,501    8,471    9,190    9,548    9,981   10,136   10,844    10,980   11,761
          Other Products ex Watch                 7,335        6,560            6,701     8,297    10,052    1,586    2,234    1,904    2,206    1,954    2,681    2,379     2,647    2,345
          Total Revenues                        233,715      215,639          229,248   265,592   284,342   52,579   88,293   61,134   53,265   62,900   92,476   67,296    58,416   66,154

          Y/Y Change in Revenues
          iPhone                                     52%         -12%             3%       18%        3%       2%      13%      14%      20%       29%     -1%       7%        8%        0%
          iPad                                      -23%         -11%            -7%       -2%        8%      14%       6%       6%      -5%      -15%      9%       6%        6%       13%
          Mac                                         6%         -10%            13%       -1%        2%      25%      -5%       0%      -5%        3%      7%       1%        2%        0%
          Apple Watch                                             67%            35%       48%       44%      50%      49%      59%      45%       39%     55%      44%       39%       33%
          iTunes/Software/Services                   10%          22%            23%       24%       18%      34%      18%      31%      31%       17%     20%      18%       15%       18%
          Other Products                            -12%         -11%             2%       24%       21%      24%      21%      19%      32%       23%     20%      25%       20%       20%
          Total Revenues                             28%          -8%             6%       16%        7%      12%      13%      16%      17%       20%      5%      10%       10%        5%


          Units (000)
          iPhone                                231,218      211,884          216,756   217,722   210,243   46,677   77,316   52,217   41,300   46,889   72,678   50,875    40,700   45,991
          iPad                                   54,856       45,590           43,753    43,535    44,310   10,326   13,170    9,113   11,553    9,699   13,579    9,369    11,243   10,119
          Mac                                    20,587       18,484           19,251    18,209    19,372    5,386    5,112    4,078    3,720    5,299    5,623    4,363     3,980    5,405
          Apple Watch                             5,300        9,259           13,200    19,635    25,032    3,500    7,000    4,550    3,335    4,750    9,263    5,558     4,168    6,044

          Y/Y Change in Units
          iPhone                                   36.6%        -8.4%            2.3%      0.4%     -3.4%     2.6%    -1.2%     2.9%     0.7%     0.5%    -6.0%    -2.6%     -1.5%    -1.9%
          iPad                                    -19.3%       -16.9%           -4.0%     -0.5%      1.8%    11.4%     0.7%     2.1%     1.1%    -6.1%     3.1%     2.8%     -2.7%     4.3%
          Mac                                       8.9%       -10.2%            4.1%     -5.4%      6.4%    10.2%    -4.9%    -2.9%   -13.3%    -1.6%    10.0%     7.0%      7.0%     2.0%
          Apple Watch                                           74.7%           42.6%     48.8%     27.5%    48.4%    52.2%    62.5%    45.0%    35.7%    32.3%    22.1%     25.0%    27.2%

          Sequential Change in Units
          iPhone                                                                                             13.8%    65.6%   -32.5%   -20.9%    13.5%    55.0%   -30.0%    -20.0%    13.0%
          iPad                                                                                               -9.6%    27.5%   -30.8%    26.8%   -16.0%    40.0%   -31.0%     20.0%   -10.0%
          Mac                                                                                                25.5%    -5.1%   -20.2%    -8.8%    42.4%     6.1%   -22.4%     -8.8%    35.8%
          Apple Watch                                                                                        52.2%   100.0%   -35.0%   -26.7%    42.4%    95.0%   -40.0%    -25.0%    45.0%

          ASPs ($)
          iPhone                                    671           645             652       766       813      618      796      728      724      793      837      804       791      805
          iPad                                      423           452             439       432       459      468      445      451      410      422      470      465       445      455
          Mac                                     1,237         1,235           1,343     1,400     1,348    1,331    1,349    1,434    1,433    1,399    1,310    1,350     1,370    1,370
          Apple Watch                               516           494             468       464       525      470      465      450      460      480      545      530       510      500

          Y/Y Change in ASPs
          iPhone                                  11.3%         -3.8%            1.1%     17.4%      6.2%    -0.1%    14.7%    11.2%    19.6%    28.3%     5.2%    10.3%      9.3%      1.5%
          iPad                                    -5.0%          6.9%           -2.9%     -1.7%      6.3%     1.9%     5.2%     3.5%    -5.7%    -9.9%     5.6%     3.0%      8.4%      7.9%
          Mac                                     -2.9%         -0.2%            8.7%      4.2%     -3.7%    13.3%     0.1%     3.0%    10.0%     5.1%    -2.9%    -5.9%     -4.4%     -2.0%
          Apple Watch                                           -4.2%           -5.2%     -0.8%     13.1%     1.1%    -2.1%    -2.2%     0.0%     2.1%    17.2%    17.8%     10.9%      4.2%

          Sequential Change in ASPs
          iPhone                                                                                              2.0%    28.9%    -8.5%    -0.6%     9.5%     5.6%    -4.0%     -1.5%      1.7%
          iPad                                                                                                7.6%    -4.9%     1.4%    -9.1%     2.7%    11.5%    -1.1%     -4.3%      2.2%
          Mac                                                                                                 2.2%     1.3%     6.3%    -0.1%    -2.4%    -6.3%     3.1%      1.5%      0.0%
          Apple Watch                                                                                         2.2%    -1.1%    -3.2%     2.2%     4.3%    13.5%    -2.8%     -3.8%     -2.0%

          Attach Rates
          Apps/SW/Svcs per Last 12 Qtrs / Last 4 Qtrs Devices Prior to FY14                                   9.55     9.50    10.41    10.88    11.38    11.54    12.30     12.40     13.20

          Y/Y Change in Attach rates
          Apps/SW/Svcs per Last 12 Mos Devices                                                               31.0%    16.8%    30.2%    32.4%    19.1%    21.4%    18.2%     14.0%    16.0%

          Sequential Change in Attach rates
          Apps/SW/Svcs per Last 12 Mos Devices                                                               16.2%    -0.5%     9.5%     4.5%     4.6%     1.4%     6.6%      0.8%     6.4%



          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                                                 BERNSTEIN           17



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                                                                                                                                        Exhibit 9
          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                                                2 November 2018




          EXHIBIT 22: Apple Services Revenue Model ($M)
          Fiscal Periods:                       2016     2017     2018    2019E    4Q17    1Q18    2Q18    3Q18    4Q18    1Q19E    2Q19E    3Q19E    4Q19E

          Est. Revenues ($M)
           iTunes DL                            3,917    2,854    2,030    1,523     606     583     502     490     455      437      377      368      341
           Apple Music                          1,076    2,100    3,076    4,024     630     663     717     825     872      927      971    1,033    1,093
           App Store                            7,286   10,323   12,701   14,733   2,893   2,955   3,200   3,133   3,414    3,427    3,712    3,634    3,960
           Licensing                            3,250    4,940    7,236    8,960   1,940   1,500   1,650   1,986   2,100    1,920    2,112    2,240    2,688
           iCloud                               1,750    2,550    3,785    5,299     725     810     900   1,025   1,050    1,134    1,260    1,435    1,470
           Apple Care                           3,813    4,093    5,278    6,099   1,041   1,150   1,319   1,358   1,452    1,480    1,509    1,539    1,570
           Software Service and other sales     3,256    3,119    3,083    3,083     666     811     902     731     639      811      902      731      639
          Total                                24,348   29,980   37,190   43,721   8,501   8,471   9,190   9,548   9,981   10,136   10,844   10,980   11,761

          Est. Revenue Mix
           iTunes DL                             16%     10%       5%       3%       7%      7%      5%      5%      5%      4%       3%        3%      3%
           Apple Music                            4%      7%       8%       9%       7%      8%      8%      9%      9%      9%       9%        9%      9%
           App Store                             30%     34%      34%      34%      34%     35%     35%     33%     34%     34%      34%       33%     34%
           Licensing                             13%     16%      19%      20%      23%     18%     18%     21%     21%     19%      19%       20%     23%
           iCloud                                 7%      9%      10%      12%       9%     10%     10%     11%     11%     11%      12%       13%     12%
           Apple Care                            16%     14%      14%      14%      12%     14%     14%     14%     15%     15%      14%       14%     13%
           Software Service and other sales      13%     10%       8%       7%       8%     10%     10%      8%      6%      8%       8%        7%      5%
          Total                                 100%    100%     100%     100%     100%    100%    100%    100%    100%    100%     100%      100%    100%

          Est. Revenue Growth
           iTunes DL                            -22%     -27%     -29%     -25%    -30%    -35%    -28%    -25%    -25%     -25%     -25%     -25%       -25%
           Apple Music                         N/A        95%      46%      31%     74%     49%     48%     52%     38%      40%      36%      25%        25%
           App Store                             36%      42%      23%      16%     40%     25%     25%     25%     18%      16%      16%      16%        16%
           Licensing                             65%      52%      46%      24%    168%     67%     65%     81%      8%      28%      28%      13%        28%
           iCloud                                59%      46%      48%      40%     45%     47%     50%     52%     45%      40%      40%      40%        40%
           Apple Care                            23%       7%      29%      16%      1%     11%     30%     35%     40%      29%      14%      13%         8%
           Software Service and other sales       -2%     -4%      -1%       0%    -14%    -18%     31%     -7%     -4%       0%       0%       0%         0%
          Total                                  22%      23%      24%      18%     34%     18%     31%     31%     17%      20%      18%      15%        18%

          Est. Gross Profit Margin
            iTunes DL                           25.0%   25.0%    25.0%    25.0%    25.0%   25.0%   25.0%   25.0%   25.0%   25.0%    25.0%     25.0%   25.0%
            Apple Music                         14.0%   18.2%    20.0%    20.0%    19.0%   20.0%   20.0%   20.0%   20.0%   20.0%    20.0%     20.0%   20.0%
            App Store                           80.0%   80.0%    80.0%    80.0%    80.0%   80.0%   80.0%   80.0%   80.0%   80.0%    80.0%     80.0%   80.0%
            Licensing                           95.0%   95.0%    95.0%    95.0%    95.0%   95.0%   95.0%   95.0%   95.0%   95.0%    95.0%     95.0%   95.0%
            iCloud                              70.0%   70.0%    70.0%    70.0%    70.0%   70.0%   70.0%   70.0%   70.0%   70.0%    70.0%     70.0%   70.0%
            Apple Care                         60.0%    60.0%    60.0%    60.0%    60.0%   60.0%   60.0%   60.0%   60.0%   60.0%    60.0%     60.0%   60.0%
            Software Service and other sales   40.0%    40.0%    40.0%    40.0%    40.0%   40.0%   40.0%   40.0%   40.0%   40.0%    40.0%     40.0%   40.0%
          iTunes/Software/Services              61.0%   65.2%    67.8%    68.8%    68.5%   66.7%   67.2%   68.1%   68.9%   67.7%    68.4%     68.8%   70.2%

          Est. Gross Profit ($M)
           iTunes DL                              979      714      508      381     152     146     126     123     114      109       94       92       85
           Apple Music                            151      383      615      805     120     133     143     165     174      185      194      207      219
           App Store                            5,829    8,258   10,161   11,787   2,314   2,364   2,560   2,506   2,731    2,742    2,970    2,907    3,168
           Licensing                            3,088    4,693    6,874    8,512   1,843   1,425   1,568   1,887   1,995    1,824    2,006    2,128    2,554
           iCloud                               1,225    1,785    2,650    3,709     508     567     630     718     735      794      882    1,005    1,029
           Apple Care                           2,288    2,456    3,167    3,659     624     690     791     815     871      888      906      924      942
           Software Service and other sales     1,303    1,248    1,233    1,233     266     324     361     293     255      324      361      293      255
          Total                                14,862   19,536   25,208   30,086   5,827   5,648   6,179   6,505   6,876    6,866    7,413    7,555    8,252


          Source: Corporate reports, Bernstein estimates and analysis




          U.S. IT HARDWARE                                                                                                                   BERNSTEIN          18



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          A.M. (Toni) Sacconaghi, Jr. +1-212-407-5843 sacconaghi@bernstein.com                                              2 November 2018




                                                                                                                 DISCLOSURE APPENDIX

          VALUATION METHODOLOGY
          U.S. IT Hardware
          We value companies in our coverage using price to forward earnings relative to the S&P 500 and on EV/FCF.
          Apple Inc
          We rate Apple market-perform with a $210 target price. We note that this price target reflects roughly an average historical
          EV/NTM FCF multiple, P/FE ex cash, and relative P/FE ex cash multiple.



          RISKS
          U.S. IT Hardware
          The biggest risks to U.S. IT Hardware are macro related – a weak macro environment would depress enterprise IT spending and
          consumer IT spending (e.g., smartphones and tablets). A strengthening U.S. dollar is also generally a top-line headwind and risk
          to several companies in our coverage. Company specific execution is a risk, particularly for companies with less recurring
          revenue and profit. Significant moves of workloads to the public cloud and associated spending deflation represents a risk to
          enterprise IT hardware vendors.
          Apple Inc
          The biggest risks to the downside on Apple and to our price target are that: (1) Apple mis-executes or delivers a poor product,
          resulting in significant defections to competitors; (2) that competitive hardware in either the tablet or smartphone markets
          evolves to become meaningfully superior, undermining prevailing high repurchase intention among Apple customers and
          causing market share losses or resultant margin pressure; or (3) that iPhone replacement cycles extend as successive
          generation product differentiation becomes less pronounced, undermining growth.


          The biggest risks to the upside are that: (1) Apple boosts earnings using share repurchases sooner than we expect; (2) a
          surprise new product boosts FY18 cycle prospects; (3) Apple maintains a higher level of channel inventory going forward,
          reducing expected drawdowns; or (4) currency tailwinds boost ASPs and gross margins.




          U.S. IT HARDWARE                                                                                                 BERNSTEIN        19



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                  Outperform: Stock will outpace the market index by more than 15 pp in the year ahead.

                  Market-Perform: Stock will perform in line with the market index to within +/-15 pp in the year ahead.

                   Underperform: Stock will trail the performance of the market index by more than 15 pp in the year ahead.

                   Not Rated: The stock Rating, Target Price and/or estimates (if any) have been suspended temporarily.

      x     As of 11/01/2018, Bernstein's ratings were distributed as follows: Outperform - 50.9% (0.0% banking clients) ; Market-Perform - 39.6% (0.0%
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      12-Month Rating History as of 11/01/2018
      Ticke
          er Rating Changes
      AAPL M (RC) 02/02/18         O (RC) 10/13/08


      Rating Guide: O - Outperform, M - Market-Perform, U - Underperform, N - Not Rated
      Rating Actions: IC - Initiated Coverage, DC - Dropped Coverage, RC - Rating Change




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                                                                                                                   Exhibit 9
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                                                                                                             Exhibit 9
                              Apple reported September quarter results that were ahead of our and consensus expectations, with
                              better revenue on iPhone ASP, in-line gross margins, and an EPS beat. iPhone units came in largely as
                              we expected (in between our and consensus estimates), while ASPs topped even our estimates, which
                              were well above the Street. Services, which garnered much excitement from the Street the past few
                              quarters, came in slightly shy of expectations.

                              The company provided guidance for the December quarter that was below our and Street expectations
                              across the board. More importantly, management discussed a variety of changes to financials that would
                              be starting with December quarter, the biggest of which is that the company will no longer be providing
                              unit expectations for the iPhone, iPad, and Mac. The lack of transparency is disappointing, and will likely
                              limit investor’s visibility into the company. Our view remains that units may not grow at all going
                              forward, and while ASPs are still increasing, at some point they will plateau.


                              Results, Guidance, and Updated Estimates

                              September quarter revenue was ahead of our and Street’s expectations and exceeded the high end of
                              the company’s guidance range of $60-62 billion, driven by iPhone ASPs (units were basically in line) and
                              Mac revenue, as iPad and Services revenue fell short. While gross margin of 38.3% was in the middle of
                              the guidance range, EPS of $2.91 was ahead of our and the Street’s $2.78 on higher revenue and better
                              operating margin (30bps better than consensus).

                              iPhone units of 46.9 million were in line with consensus estimates of 47.0 million, but just ahead of our
                              recently lowered 46.0 million, while ASP of $793 was well above the Street’s $751, and even better
                              than our above consensus $779. Management called out strength for iPhone X, iPhone 8, and iPhone 8
                              Plus, as well as the new lineup (XS/XS Max), and does not believe there were any stalled buying
                              patterns waiting for the release of the XR (available last week). iPhone ASP grew 10% q/q compared to
                              growth of 2-4% in the past three years.

                              iPhone revenue was up more than 20% y/y in several geographic segments, such as Australia, Chile,
                              Japan, New Zealand, Norway, Sweden, and Vietnam. After growing 30%+ the past two quarters,
                              Services revenue came in a bit shy of our and Street estimates; up 17% y/y and up 27% excluding a
                              one-time item in the year-ago period. iPad revenue was probably the most disappointing to
                              expectations, while Macs were slightly ahead.

                              December quarter revenue guidance range was below our expectations, despite a wide range ($4 billion
                              range), and contained Street expectations toward the high end. Apple expects revenue of $89-93 billion,
                              with the Street’s prior estimate at $92.9 billion and vs. our $93.7 billion. We are lowering our iPhone
                              unit estimates to 75.0 million for December (from 77.0 million prior; Street was at 78.0 million), with
                              ASP up to $824 (vs. $834 prior).

                              Gross margin guidance of 38.0% to 38.5% (flat with prior September quarter guidance) was below our
                              38.7%, and contained consensus (38.5%) at the high end. Opex guidance of $8.7-8.8 billion is higher
                              than we were modeling ($8.4 billion), and spending continues to grow by double-digit percentages.




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                                                                                                                  Page 370
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                                                                                                                                 Exhibit 9

                               Exhibit 2: Quarterly Variances
                                                                                   F4Q18                                                F1Q19E
                                                                                         Prior                            Current                     Prior
                               ($m, except per share)       Actual         BMO       Consensus   Guidance        Guidance          BMO          BMO       Consensus
                               iPhone Revenue              $37,185       $35,816      $35,563                                    $61,832      $64,229       $62,591
                                 Y/Y Growth                 28.9%         24.2%        23.3%                                       0.4%         4.3%          1.6%
                               iPhone Units                 46.9 M        46.0 M       47.0 M                                     75.0 M       77.0 M        78.0 M
                                 Y/Y Growth                  0.5%         -1.5%         0.7%                                      -3.0%        -0.4%          0.9%
                               iPhone ASP                    $793          $779         $751                                       $824         $834          $809
                                 Y/Y Growth                 28.3%         26.0%        21.5%                                       3.5%         4.7%          1.6%
                               iPad Revenue                 $4,089        $4,601       $4,623                                     $5,475       $5,615        $5,747
                                 Y/Y Growth                -15.4%         -4.8%        -4.3%                                      -6.6%        -4.2%         -2.0%
                               Mac Revenue                  $7,411        $7,105       $6,915                                     $7,442       $7,251        $6,972
                                 Y/Y Growth                  3.4%         -0.9%        -3.6%                                       7.9%         5.2%          1.1%
                               Services Revenue             $9,981       $10,031      $10,201                                    $10,419      $10,504       $10,547
                                 Y/Y Growth                 17.4%         18.0%        20.0%                                      23.0%        24.0%         24.5%
                               Total Revenue               $62,900       $61,411      $61,458     $60-62B         $89-93B        $91,812      $93,721       $92,938
                                 Y/Y Growth                 19.6%         16.8%        16.9%                                       4.0%         6.1%          5.3%
                               Gross Margin                 38.3%         38.2%        38.2%     38.0-38.5%      38.0-38.5%       38.3%        38.7%         38.5%
                               Op Margin                    25.6%         25.1%        25.3%       25.1%*          28.6%*         28.7%        29.7%         29.5%
                               EPS                          $2.91         $2.78        $2.78                                      $4.69        $4.89         $4.92

                               Source: FactSet, company reports, BMO Capital Markets estimates.




                               Exhibit 3: Full-Year Variances
                                                                     FY2018E                             FY2019E                              FY2020E
                                                        Current               Prior           Current            Prior            Current            Prior
                               ($m, except per share)      BMO          BMO       Consensus      BMO        BMO      Consensus       BMO       BMO       Consensus
                               iPhone Revenue           $166,699     $165,330      $165,019   $170,843   $175,389     $169,797    $171,992                $169,472
                                 Y/Y Growth               18.0%        17.0%         16.8%      2.5%       6.1%          2.9%       0.7%                    -0.2%
                               iPhone Units             217.7 M      216.8 M        218.0 M   212.0 M    217.0 M       219.0 M    209.0 M                  222.0 M
                                 Y/Y Growth                0.4%         0.0%          0.6%      -2.6%       0.1%         0.5%       -1.4%                    1.4%
                               iPhone ASP                  $766         $762          $756       $806       $808         $771        $823                    $757
                                 Y/Y Growth               17.4%        16.9%         16.0%       5.3%       6.0%         2.0%       2.1%                    -1.8%
                               iPad Revenue              $18,805     $19,317        $19,380   $19,389    $18,212       $18,911    $19,365                  $18,673
                                 Y/Y Growth               -2.2%         0.5%          0.8%       3.1%      -5.7%        -2.4%       -0.1%                   -1.3%
                               Mac Revenue               $25,484      $25,178       $24,969   $26,368    $25,500       $24,836    $26,593                  $24,375
                                 Y/Y Growth               -1.4%        -2.6%         -3.4%      3.5%       1.3%         -0.5%       0.9%                    -1.9%
                               Services Revenue          $37,190     $37,240        $37,358   $45,169    $45,507       $45,055    $53,300                  $54,015
                                 Y/Y Growth               24.0%        24.2%         24.6%     21.5%      22.2%         20.6%      18.0%                    19.9%
                               Total Revenue            $265,595     $264,106      $264,511   $283,056   $283,594     $281,008    $296,523                $291,759
                                 Y/Y Growth               15.9%        15.2%         15.4%      6.6%       7.4%         3.9%        4.8%                     3.8%
                               Gross Margin               38.3%        38.3%         38.3%     38.4%      38.8%         38.2%      38.3%                    38.4%
                               Op Margin                  26.7%        26.6%         26.6%     26.1%      27.0%         26.4%      25.6%                    26.5%
                               EPS                       $11.91       $11.78        $11.75     $13.63     $14.00       $13.66      $15.30                  $15.14

                               Source: FactSet, company reports, BMO Capital Markets estimates.




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                                                                                                                                       Page 371
                            Exhibit 4: AAPL Income Statement
                            Fiscal Year Ends Sep 30                                FY2018                                  FY2019E                                  FY2020E
                            (USD & Shares in Millions)              Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E    Sep-19E   Dec-19E   Mar-20E   Jun-20E    Sep-20E         2016A      2017A      2018A       2019E       2020E
                            Revenue                                  88,293    61,137     53,265    62,900    91,812    67,152    58,285     65,807    97,485    70,730    60,182     68,127       215,639    229,234    265,595     283,056     296,523




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                            % Change Y/Y                              12.7%     15.6%      17.3%     19.6%      4.0%      9.8%       9.4%      4.6%      6.2%      5.3%       3.3%      3.5%          -7.7%      6.3%      15.9%        6.6%        4.8%
                            % Change Q/Q                              67.9%    -30.8%     -12.9%     18.1%     46.0%    -26.9%     -13.2%     12.9%     48.1%    -27.4%     -14.9%     13.2%

                            Cost of Sales                            54,381   37,715     32,844     38,816   56,693    41,361     36,010    40,310    60,077    43,638     37,209    42,151        131,376    141,048    163,756     174,375     183,075
                            % of Revenue                              61.6%    61.7%      61.7%      61.7%    61.7%     61.6%      61.8%     61.3%     61.6%     61.7%      61.8%     61.9%          60.9%      61.5%      61.7%       61.6%       61.7%

                            Gross Profit                             33,912    23,422    20,421     24,084   35,119    25,791     22,274    25,497    37,408    27,092     22,972    25,976         84,263    88,186     101,839     108,681     113,448
                            Gross Margin                              38.4%     38.3%     38.3%      38.3%    38.3%     38.4%      38.2%     38.7%     38.4%     38.3%      38.2%     38.1%          39.1%     38.5%       38.3%       38.4%       38.3%

                            R&D                                       3,407     3,378     3,701      3,750    4,150     4,050      4,100     4,200     4,500     4,400      4,400     4,500         10,045    11,581     14,236      16,500      17,800
                            % of Revenue                               3.9%      5.5%      6.9%       6.0%     4.5%      6.0%       7.0%      6.4%      4.6%      6.2%       7.3%      6.6%           4.7%      5.1%       5.4%        5.8%        6.0%

                            SG&A                                      4,231     4,150     4,108      4,216    4,600     4,500      4,500     4,600     4,900     4,800      4,900     5,000         14,194    15,261     16,705      18,200      19,600
                            % of Revenue                               4.8%      6.8%      7.7%       6.7%     5.0%      6.7%       7.7%      7.0%      5.0%      6.8%       8.1%      7.3%           6.6%      6.7%       6.3%        6.4%        6.6%

                             Total Operating Expenses                 7,638     7,528     7,809      7,966    8,750     8,550      8,600     8,800     9,400     9,200      9,300     9,500         24,239    26,842     30,941      34,700      37,400
                             % of Revenue                              8.7%     12.3%     14.7%      12.7%     9.5%     12.7%      14.8%     13.4%      9.6%     13.0%      15.5%     13.9%          11.2%     11.7%      11.6%       12.3%       12.6%
                             % Change Seq.                            12.1%     -1.4%      3.7%       2.0%     9.8%     -2.3%       0.6%      2.3%      6.8%     -2.1%       1.1%      2.2%           8.2%     10.7%      15.3%       12.1%        7.8%

                            Operating Income                         26,274    15,894    12,612     16,118   26,369    17,241     13,674    16,697    28,008    17,892     13,672    16,476         60,024    61,344     70,898      73,981      76,048
                            Operating Margin                          29.8%     26.0%     23.7%      25.6%    28.7%     25.7%      23.5%     25.4%     28.7%     25.3%      22.7%     24.2%          27.8%     26.8%      26.7%       26.1%       25.6%

                            Interest & Other Income (Expense)          756       274        672       303       300       275        250       250       225       225        200       200          1,348     2,745      2,005       1,075         850

                            Pretax Income                            27,030   16,168     13,284     16,421   26,669    17,516     13,924    16,947    28,233    18,117     13,872    16,676         61,372    64,089     72,903      75,056      76,898

                            Income Tax Expense (Benefit)              6,965     2,346     1,765      2,296    4,400     2,890      2,297     2,796     4,658     2,989      2,289     2,752         15,685    15,738     13,372      12,384      12,688
                            Tax Rate                                  25.8%     14.5%     13.3%      14.0%    16.5%     16.5%      16.5%     16.5%     16.5%     16.5%      16.5%     16.5%          25.6%     24.6%      18.3%       16.5%       16.5%

                            Net Income                               20,065    13,822    11,519     14,125   22,269    14,626     11,627    14,151    23,574    15,128     11,583    13,925         45,687    48,351     59,531      62,672      64,210

                            EPS (Diluted)                       $      3.89 $    2.73 $    2.34 $    2.91 $    4.69 $    3.15 $    2.56 $    3.18 $    5.42 $    3.56 $    2.79 $    3.44      $      8.31 $    9.21 $     11.91 $     13.63 $     15.30
                            Weighted Average Shares (Diluted)       5,157.8   5,068.5   4,926.6   4,847.5   4,747.5   4,647.5   4,547.5   4,447.5   4,347.5   4,247.5   4,147.5   4,047.5          5,500.3   5,251.7     5,000.1     4,597.5     4,197.5
                            Change in Share Count                     (25.8)    (89.3)   (141.9)    (79.1)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)          (292.8)   (248.6)     (251.6)     (402.6)     (400.0)
                                                                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 373 of 607

                                                                                                                                                                                                                                                            Exhibit 9




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                            Source: Company reports and BMO Capital Markets estimates.
                            Exhibit 5: AAPL Product Data
                            Fiscal Year Ends Sep 30                                FY2018                                  FY2019E                                 FY2020E
                            (USD & Units in Millions, except ASP)   Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E   Sep-19E   Dec-19E   Mar-20E   Jun-20E   Sep-20E     2016A     2017A     2018A     2019E     2020E
                            Revenue                                  88,293    61,137     53,265    62,900    91,812    67,152    58,285    65,807    97,485    70,730    60,182    68,127   215,639   229,234   265,595   283,056   296,523




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                            iPhone                                   61,576    38,032     29,906    37,185    61,832    40,348    31,477    37,185    64,071    41,066    30,700    36,155   136,700   141,319   166,699   170,843   171,992
                            iPad                                      5,862     4,113      4,741     4,089     5,475     4,696     4,987     4,231     5,748     4,688     4,741     4,188    20,628    19,222    18,805    19,389    19,365
                            Watch                                     3,295     2,011      1,802     2,398     3,966     2,685     2,572     2,639     4,856     3,134     2,984     3,462     4,600     6,305     9,507    11,862    14,436
                            Mac                                       6,895     5,848      5,330     7,411     7,442     5,972     5,408     7,546     7,437     6,039     5,495     7,622    22,831    25,850    25,484    26,368    26,593
                            iPod                                                                                                                                                                                                           0
                            Services                                  8,471     9,190     9,548      9,981   10,419    11,120    11,553    12,077    12,295    13,121    13,633    14,251    24,348    29,980     37,190    45,169    53,300
                            Other Products                            2,194     1,943     1,938      1,836    2,677     2,331     2,287     2,129     3,078     2,681     2,630     2,449     6,532     6,558      7,910     9,424    10,838
                                                                                                                                                                                               -11%       -7%        -2%        3%
                            Units
                            iPhone                                     77.3      52.2      41.3       46.9     75.0      51.0      40.0      46.0      75.0      50.0      39.0      45.0     211.9     216.8      217.7     212.0     209.0
                            iPad                                       13.2       9.1      11.6        9.7     13.0      10.0      11.0       9.5      13.5      10.0      10.5       9.5      45.6      43.8       43.5      43.5      43.5
                            Watch                                       7.5       4.5       4.0        5.5      9.0       6.0       6.0       6.0      11.0       7.0       7.0       8.0      11.5      15.3       21.5      27.0      33.0
                            Mac                                         5.1       4.1       3.7        5.3      5.2       4.2       3.8       5.4       5.1       4.2       3.8       5.4      18.5      19.3       18.2      18.5      18.4
                            iPod                                                                                                                                                                0.0       0.0        0.0       0.0       0.0

                            ASP
                            iPhone                                      803       728       718        790      830       790       780       805       860       820       780       800       645       652        766       806       823
                            iPad                                        454       456       418        425      430       475       460       450       435       475       460       450       451       444        439       452       454
                            Watch                                       450       450       450        440      450       450       430       440       450       450       430       440       410       417        447       443       443
                            Mac                                       1,351     1,427     1,421      1,402    1,444     1,430     1,416     1,402     1,458     1,443     1,429     1,414     1,241     1,345      1,397     1,423     1,436

                            Gross Profit                             33,912   23,422     20,421     24,102   35,119    25,791    22,274    25,497    37,408    27,092    22,972    25,976    84,263    88,186    101,857   108,681   113,448
                            iPhone                                   25,246   15,593     12,411     15,246   25,042    16,543    12,906    15,432    25,949    16,632    12,403    14,462    59,687    59,143     68,496    69,922    69,445
                            iPad                                      1,172      823        948        818    1,068       916       972       825     1,121       914       924       817     4,245     3,773      3,761     3,781     3,776
                            Watch                                     1,252      764        703        935    1,547     1,047     1,003     1,029     1,894     1,222     1,164     1,350     1,581     2,340      3,655     4,626     5,630
                            Mac                                       1,793    1,491      1,359      1,890    1,898     1,523     1,379     1,924     1,896     1,540     1,401     1,944     6,136     6,786      6,533     6,724     6,781
                            Services                                  3,944    4,304      4,554      4,791    4,949     5,226     5,488     5,797     5,840     6,167     6,476     6,840    11,112    14,636     17,593    21,460    25,323
                            Other Products                              505      447        446        422      616       536       526       490       708       617       605       563     1,502     1,508      1,819     2,168     2,493

                            Gross Margin                              38.4%     38.3%     38.3%      38.3%    38.3%     38.4%     38.2%     38.7%     38.4%     38.3%     38.2%     38.1%     39.1%     38.5%      38.4%     38.4%     38.3%
                            iPhone                                    41.0%     41.0%     41.5%      41.0%    40.5%     41.0%     41.0%     41.5%     40.5%     40.5%     40.4%     40.0%     43.7%     41.9%      41.1%     40.9%     40.4%
                            iPad                                      20.0%     20.0%     20.0%      20.0%    19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     20.6%     19.6%      20.0%     19.5%     19.5%
                            Watch                                     38.0%     38.0%     39.0%      39.0%    39.0%     39.0%     39.0%     39.0%     39.0%     39.0%     39.0%     39.0%     34.4%     37.1%      38.4%     39.0%     39.0%
                            Mac                                       26.0%     25.5%     25.5%      25.5%    25.5%     25.5%     25.5%     25.5%     25.5%     25.5%     25.5%     25.5%     26.9%     26.3%      25.6%     25.5%     25.5%
                            iPod
                            Services                                  46.6%     46.8%     47.7%      48.0%    47.5%     47.0%     47.5%     48.0%     47.5%     47.0%     47.5%     48.0%     45.6%     48.8%      47.3%     47.5%     47.5%
                            Software, service and other
                            Other Products                            23.0%     23.0%     23.0%      23.0%    23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%      23.0%     23.0%     23.0%
                                                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 374 of 607

                                                                                                                                                                                                                                               Exhibit 9




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                            Source: Company reports and BMO Capital Markets estimates.
                            Exhibit 6: AAPL Balance Sheet
                            Fiscal Year Ends Sep 30                                 FY2017                                   FY2018                                  FY2019E                                 FY2020E
                            (USD & Shares in Millions)               Dec-16A   Mar-17A    Jun-17A   Sep-17A   Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E   Sep-19E   Dec-19E   Mar-20E   Jun-20E   Sep-20E




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                            Assets
                            Cash and equivalents                      16,371    15,157     18,571    20,289    27,491    45,059     31,971    25,913    56,897    53,232    60,042    68,447   102,088    98,195   104,733   115,120
                            Short-term marketable securities          44,081    51,944     58,188    53,892    49,662    42,881     38,999    40,388    40,388    40,388    40,388    40,388    40,388    40,388    40,388    40,388
                            Accounts receivable                       14,057    11,579     12,399    17,874    23,440    14,324     14,104    23,186    15,302    17,161    16,190    20,473    16,247    18,075    16,717    21,195
                            Inventories                                2,712     2,910      3,146     4,855     4,421     7,662      5,936     3,956     5,669     5,745     6,002     6,270     6,008     6,061     6,202     6,557
                            Other current assets                      26,111    20,400     20,571    31,735    38,796    20,127     24,751    37,896    30,000    28,000    30,000    38,000    30,000    28,000    30,000    37,000
                              Total current assets                   103,332   101,990    112,875   128,645   143,810   130,053    115,761   131,339   148,256   144,525   152,622   173,579   194,731   190,719   198,039   220,259
                            Long-term investments                    185,638   189,740    184,757   194,714   207,944   179,286    172,773   170,799   150,799   130,799   110,799    90,799    70,799    50,799    30,799    10,799
                            Property and equipment                    26,510    27,163     29,286    33,783    33,679    35,077     38,117    41,304    42,791    44,278    45,765    47,252    48,739    50,226    51,713    53,200
                            Goodwill                                   5,423     5,473      5,661     5,717     5,889
                            Intangible assets                          2,848     2,617      2,444     2,298     2,149
                            Other assets                               7,390     7,549     10,150    10,162    13,323    23,086     22,546    22,283    22,283    22,283    22,283    22,283    22,283    22,283    22,283    22,283
                              Total assets                           331,141   334,532    345,173   375,319   406,794   367,502    349,197   365,725   364,129   341,885   331,469   333,913   336,552   314,027   302,834   306,541

                            Liabilities
                            Accounts payable                          38,510    28,573     31,915    49,049    62,985    34,311     38,489    55,888    56,693    43,659    46,013    58,226    60,077    46,062    47,545    60,885
                            Accrued expenses                          23,739    23,096     23,304    25,744    26,281    26,756     25,184    32,687    32,787    32,887    32,987    33,087    33,187    33,287    33,387    33,487
                            Deferred revenue                           7,889     7,682      7,608     7,548     8,044     7,775      7,403     7,543     6,943     6,804     6,829     6,948     7,939     7,705     7,532     7,677
                            Commerical paper                          10,493     9,992     11,980    11,977    11,980    11,980     11,974    11,964    11,964    11,964    11,964    11,964    11,964    11,964    11,964    11,964
                            Current debt                               3,499     3,999      6,495     6,496     6,498     8,498      5,498     8,784     8,784     8,784     8,784     8,784     8,784     8,784     8,784     8,784
                              Total current liabilities               84,130    73,342     81,302   100,814   115,788    89,320     88,548   116,866   117,171   104,098   106,577   119,008   121,951   107,802   109,212   122,797
                            Long-term debt                            73,557    84,531     89,864    97,207   103,922   101,362     97,128    93,735    93,735    93,735    93,735    93,735    93,735    93,735    93,735    93,735
                            Deferred revenue                           3,163     3,107      2,984     2,836     3,131     3,087      2,878     2,797     2,697     2,597     2,497     2,397     2,297     2,197     2,097     1,997
                            Non-current liabilities                   37,901    39,470     38,598    40,415    43,754    46,855     45,694    45,180    46,180    47,180    48,180    49,180    50,180    51,180    52,180    53,180
                              Total liabilities                      198,751   200,450    212,748   241,272   266,595   240,624    234,248   258,578   259,783   247,610   250,989   264,320   268,163   254,914   257,224   271,709

                            Stockholders' Equity                     132,390   134,082    132,425   134,047   140,199   126,878    114,949   107,147   104,346    94,275    80,480    69,593    68,390    59,113    45,610    34,833

                            Total Liabilities and Stockholders' Eq   331,141   334,532    345,173   375,319   406,794   367,502    349,197   365,725   364,129   341,885   331,469   333,913   336,552   314,027   302,834   306,541
                                                                                                                                                                                                                                                   Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 375 of 607

                                                                                                                                                                                                                                       Exhibit 9




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                            Source: Company reports and BMO Capital Markets estimates.
                            Exhibit 7: AAPL Cash Flow Statement
                            Fiscal Year Ends Sep 30                                               FY2018                                     FY2019E                                     FY2020E
                            (USD & Shares in Millions)                            Dec-17A    Mar-18A    Jun-18A    Sep-18A    Dec-18E    Mar-19E   Jun-19E     Sep-19E    Dec-19E    Mar-20E   Jun-20E     Sep-20E      2016A       2017A       2018A      2019E       2020E
                            Operating Activities




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                            Net income                                             20,065     13,822    11,519      14,125    22,269     14,626     11,627     14,151      23,574     15,128     11,583     13,925     45,687      48,351      59,531     62,672      64,210
                            Depreciation and amortization                           2,745      2,739     2,665       2,754     2,739      2,739      2,739      2,739       2,739      2,739      2,739      2,739     10,505      10,157      10,903     10,956      10,956
                            Share-based compensation expense                        1,296      1,348     1,351       1,345     1,345      1,345      1,345      1,345       1,345      1,345      1,345      1,345      4,210       4,840       5,340      5,380       5,380
                            Deferred income tax expense                           (33,737)      (498)    1,126         519                                                                                              4,938       5,966     (32,590)         0           0
                            Other, net                                                (11)      (140)     (259)        (34)                                                                                                 0        (166)       (444)         0           0
                              Total adjustments                                   (29,707)     3,449     4,883       4,584     4,084       4,084      4,084     4,084       4,084      4,084      4,084      4,084     19,653      20,797     (16,791)    16,336      16,336
                            Accounts receivable, net                               (5,570)     9,093       233      (9,078)    7,884      (1,859)       971    (4,283)      4,226     (1,828)     1,358     (4,478)     1,095      (2,093)     (5,322)     2,713        (722)
                            Inventories                                               434     (3,241)    1,693       1,942    (1,713)        (75)      (257)     (269)        263        (53)      (141)      (355)       217      (2,723)        828     (2,314)       (286)
                            Vendor non-trade receivables                           (9,660)    19,375    (4,179)    (13,546)    7,896       2,000     (2,000)   (8,000)      8,000      2,000     (2,000)    (7,000)       (51)     (4,254)     (8,010)      (104)      1,000
                            Other current and non-current assets                     (197)      (856)      988        (358)      -           -          -         -           -          -          -          -        1,090      (5,318)       (423)         0           0
                            Accounts payable                                       14,588    (27,808)    2,081      20,314       805     (13,034)     2,354    12,212       1,851    (14,015)     1,483     13,339      1,791       9,618       9,175      2,338       2,659
                            Deferred revenue                                          791       (313)     (581)         59      (600)       (139)         24      119         991       (234)      (173)       145     (1,554)       (626)        (44)      (595)        729
                            Other current and non-current liabilities              37,549      1,609    (2,149)      1,481       100         100        100       100         100        100        100        100     (2,104)       (154)     38,490        400         400
                              Total changes in operating assets and liabilities    37,935     (2,141)   (1,914)        814    14,372     (13,007)     1,192      (120)     15,431    (14,030)       627      1,751        484      (5,550)     34,694      2,437       3,780

                             Cash generated by operating activities                28,293    15,130     14,488      19,523    40,725      5,702     16,903     18,114      43,089      5,182     16,295     19,760     65,824      63,598      77,434     81,444      84,326

                            Investing Activities
                            Purchase of marketable securities                     (41,272)   (7,177)    (7,684)    (15,223)                                                                                           (142,428)   (159,486)   (71,356)          0           0
                            Proceeds from marketable securities                    30,849    39,977     17,078      15,815    20,000     20,000     20,000     20,000      20,000     20,000     20,000     20,000     111,794     126,339    103,719      80,000      80,000
                            Purchase of long-term investments                                                          -                                                                                                     0           0          0           0           0
                            Purchase of PP&E                                       (2,810)    (4,195)    (3,267)    (3,041)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (12,734)    (12,451)   (13,313)    (14,500)    (14,500)
                            Proceeds from sales of equity instruments                                                  -                                                                                                     0           0          0           0           0
                            Payments for intangible assets                           (154)     (151)       (126)      (290)                                                                                               (814)       (344)      (721)          0           0
                            Other                                                    (203)      256      (2,054)      (262)                                                                                             (1,795)       (504)    (2,263)          0           0
                              Cash used in investing activities                   (13,590)   28,710       3,947     (3,001)   16,375     16,375     16,375     16,375      16,375     16,375     16,375     16,375     (45,977)    (46,446)    16,066      65,500      65,500

                            Financing Activities
                            Proceeds from issuance of common stock                    -          327          1        341        -          300        -          300        -          300        -          300         495         555        669         600         600
                            Excess tax benefits from equity awards                 (1,038)      (152)    (1,077)      (260)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)        407         627     (2,527)       (600)       (600)
                            Dividends                                              (3,339)    (3,190)    (3,653)    (3,530)    (3,466)    (3,393)    (3,818)    (3,734)    (3,174)    (3,101)    (3,482)    (3,398)    (12,150)    (12,769)   (13,712)    (14,410)    (13,154)
                            Repurchase of common stock                            (10,095)   (22,756)   (20,783)   (19,104)   (22,500)   (22,500)   (22,500)   (22,500)   (22,500)   (22,500)   (22,500)   (22,500)    (29,722)    (32,900)   (72,738)    (90,000)    (90,000)
                            Proceeds from issuance of debt, net                     6,971       (502)       500        -                                                                                                22,454      25,162      6,969           0           0
                            Other                                                                  1     (6,511)       (27)                                                                                             (1,967)      1,978     (6,537)          0           0
                              Cash used in financing activities                    (7,501)   (26,272)   (31,523)   (22,580)   (26,116)   (25,743)   (26,468)   (26,084)   (25,824)   (25,451)   (26,132)   (25,748)    (20,483)    (17,347)   (87,876)   (104,410)   (103,154)

                            Cash increase (decrease)                                7,202    17,568     (13,088)    (6,058)   30,984     (3,665)     6,810      8,406      33,641     (3,894)     6,538     10,387       (636)       (195)      5,624     42,534      46,672
                            Cash - Beginning                                       20,289    27,491      45,059     31,971    25,913     56,897     53,232     60,042      68,447    102,088     98,195    104,733     21,173      20,537      20,342     25,966      68,500
                            Cash - End                                             27,491    45,059      31,971     25,913    56,897     53,232     60,042     68,447     102,088     98,195    104,733    115,120     20,537      20,342      25,966     68,500     115,173
                                                                                                                                                                                                                                                                                             Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 376 of 607

                                                                                                                                                                                                                                                                                 Exhibit 9




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                                                                                                                                   Exhibit 9




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       Apple | Page 12                                                   M                                                                      November 2, 2018
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                                                                                                  Exhibit 9
Nomura |   Asia Apple supply chain                                                                      2 November 2018




Asia Apple supply chain

EQUITY: HANDSETS



Implications of Apple’s 4QFY18 results                                             Global Markets Research
                                                                                   2 November 2018
Quick Note
                                                                                   Research analysts
Event: Sep-Q sales slightly beat; Dec-Q guidance slightly miss                     Asia Technology
Apple (AAPL US, Neutral; covered by Jeffrey Kvaal, Instinet, LLC) released
                                                                                   Anne Lee, CFA - NITB
4QFY18 (Sep-Q) results, with revenue of USD62.9bn (+18% q-q, +20% y-y;             anne.lee@nomura.com
Fig. 2) and EPS up 41% y-y. Sep-Q sales surpassed the high end of its own          +886 2 2176 9966
guidance range of USD60-62bn (Fig. 1). We note that sales grew y-y across          Martin Lee - NITB
all regions, with Americas +19%, Europe +18% and Greater China +16% y-y.           martin.lee@nomura.com
The y-y revenue growth was mainly driven by: 1) higher-than-expected               +886 2 2176 9963
iPhone ASP (+28% y-y); 2) strong service revenue (+27% y-y excluding
a one-time favourable accounting adjustment last year); and 3) strong
wearables revenue growth (over 50% y-y).
4QFY18 iPhone shipments of 46.9mn units (+14% q-q, flat y-y; Fig. 3) were
slightly below the latest FactSet consensus expectation of ~48mn units
(Nomura’s estimate: 47mn units), and iPhone ASP was up 28% y-y (+10%
q-q) to USD793 (vs. consensus USD729), as Apple started to sell higher-
priced iPhones XS/XS Max vs lower-priced iPhone 8/8+ last year.
iPad shipments decreased by 6% y-y to 9.7mn units, and revenue was down
15% y-y to USD4.1bn, with a 10% ASP decrease y-y. Mac revenue was
USD7.4bn (up 3% y-y), with unit shipments of 5.3mn (+42% q-q, -2% y-y).
Wearables revenue (including Watch, Beats, AirPods) grew over 50% y-y.
1QFY19 (Dec-Q) revenue guidance of USD89-93bn (+45% q-q, +3% y-y at
the midpoint; Fig. 4) was slightly below consensus of USD92.9bn, and its
GM guidance of 38-38.5% was also slightly behind Street expectation of
38.6%. Dec-Q guidance implies roughly 67-76mn units of iPhones,
depending on the level of ASP (eg, USD825-875), versus recent market
projections of 78mn units for Dec-Q. Apple’s share price was down over 6%
after market close, likely due to a slight shortfall on iPhone unit sales in
4QFY18 and decreased transparency on device unit sales going forward.
Supply chain implications: Likely emphasising “value” more than
“units” in the future
x We think Apple’s results and reporting change (no longer providing device
  unit sales) show that the company is putting more emphasis on value
  growth than on unit growth. This is slightly negative for the supply chain, in
  our view. Apple’s supply chain could benefit from higher BOM costs from
  adding new functions/upgrading specs, but if unit scale declines, it could
  hurt existing large suppliers or lead to longer payback periods for new
  investments. This could also mean more uneven seasonality between
  peak season and low season, which is also not positive for the supply chain.
x iPhone: In our view, this year’s new iPhone momentum is front-end
  loaded, not only because Apple sells higher-price devices first, but also
  the component pull-in has been more aggressive in the beginning of the
  cycle to ensure sufficient supply. Hence, we have seen most iPhone
  suppliers reporting strong 3QCY18 results (many grew sales/earnings by
  double digits y-y), and provide healthy 4QCY18 outlooks (moderate q-q
  growth, but y-y sales growth slowing down, or becoming slightly negative,
                                                                                         Production Complete: 2018-11-02 02:18 UTC

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See Appendix A-1 for analyst certification, important disclosures and the status of non-US analysts.
                                                                                                        Page 380
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Nomura | Asia Apple supply chain                                                 2 November 2018
                                                                               Exhibit 9
  given the high base in 4QCY17). We maintain our view that 2HCY18 new
  iPhone production volume will be ~80-85m units, and roughly half of the
  volume is XR. Most of the suppliers believe 1HCY19F will be healthier (y-y
  sales/earnings growth from a low base) than 1HCY18 (severe iPhone X
  order cuts). However, given the rising macro uncertainties (vs no big
  change on iPhone production in the past month), we are getting more
  cautious on the 1HCY19F supply chain outlook.
x iPad and Mac: The new iPad Pros (11” and 12.9”) and Macbook Air were
  announced on 31 Oct, with most specs in line with expectations but with
  higher selling prices. Usually, component suppliers benefit, both in terms
  of volume and ASP, in the launch quarter of higher-end products.
x Wearables sales continued to be a bright spot in Apple results, and the
  new Watch 4 has received good user feedback so far. This could bring
  some volume upside to the Watch segment. The refreshed AirPod wasn’t
  announced during the October event, and that was a disappointment. We
  believe the new AirPod may come in early 2019.
x We think non-iPhone plays may have more near-term positive catalysts –
  1) beneficiaries of new iPad and Macbook: Parade (4966 TT, Buy,
  covered by Aaron Jeng), and Radiant (6176 TT, Neutral). 2) Apple Watch
  beneficiary: USI (601231 CH, Buy, covered by Aaron Jeng and Donnie
  Teng).
x iPhone plays – some of them have reported good 3QCY18 results, and
  may see sales peaking soon in Oct-Nov. We still prefer beneficiaries of
  LCD iPhone XR: Catcher (2474 TT, Buy), Chipbond (6147 TT, Buy;
  covered by Aaron Jeng).
x We remain positive on high-quality suppliers (even if they lack immediate
  catalysts), such as Luxshare (002475 CH, Buy, market share gain in
  antenna, acoustic and haptics), Largan (3008 TT, Buy, optical tri-cam
  story), and ZDT (4958 TT, Buy, optical and antenna upgrade and cheap
  valuation), by year-end year, when we have better visibility on the macro
  situation and 2019 new product line-ups.




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Nomura | Asia Apple supply chain                                                                 2 November 2018
                                                                                               Exhibit 9
Fig. 1: Apple – 4QFY18 results vs consensus and guidance

                                         FY4Q18 Consensus       Diff%     Guidance    Diff%
Revenue                                   62.9    61.4          2.4%        61.0      3.1%
Gross margin                              38.3%   38.3%         0ppt       38.3%      0ppt
Operating income                          16.1    15.5          4.0%        15.3      5.1%
Net income                                14.1    13.5          4.7%        13.3      6.3%
EPS                                       2.91    2.78          4.8%
Source: Company data, Bloomberg, Nomura research




Fig. 2: Apple – 4QFY18 results

Results ($bn)                            FY4Q18    FY3Q18        QoQ      FY4Q17      YoY
Revenue                                   62.9      53.3        18.1%      52.6      19.6%
Gross margin                              38.3%     38.3%        0ppt      37.9%     0.4ppt
Operating income                          16.1      12.6        27.8%      13.1      22.9%
Net income                                14.1      11.5        22.6%      10.7      31.8%
EPS                                       2.91      2.34        24.4%      2.07      40.6%
Source: Company data, Nomura research




Fig. 3: Apple – product shipments

                            FY4Q18           Nomura (N)     (A) vs. (N)   QoQ (A)    YoY (A)
iPhone                       46.9              47.0             0%         14%         0%
iPad                          9.7              10.4            -7%         -16%       -6%
Macs                          5.3               4.7            14%         42%        -2%

Source: Company data, Nomura estimates




Fig. 4: Apple – 1QFY19 guidance

FY1Q19F ($bn)           Guidance (G)       Consensus (C)    (G) vs. (C)   QoQ (G)    QoQ (C)
Revenue                     91.0               92.7            -1.9%       44.7%      47.4%
Gross margin               38.3%              38.6%           -0.4ppt       0ppt     -0.4ppt
Operating income            26.1               27.2            -4.4%       61.7%      69.1%
Net income                  22.0               23.4            -5.9%       55.8%      65.6%
Source: Company data, Bloomberg, Nomura research




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                                                                                                                             Exhibit 9
Nomura |   Asia Apple supply chain                                                                                               2 November 2018


Appendix A-1
Analyst Certification
We, Anne Lee and Martin Lee, hereby certify (1) that the views expressed in this Research report accurately reflect our personal
views about any or all of the subject securities or issuers referred to in this Research report, (2) no part of our compensation
was, is or will be directly or indirectly related to the specific recommendations or views expressed in this Research report and (3)
no part of our compensation is tied to any specific investment banking transactions performed by Nomura Securities
International, Inc., Nomura International plc or any other Nomura Group company.


 Issuer Specific Regulatory Disclosures
 The terms "Nomura" and "Nomura Group" used herein refers to Nomura Holdings, Inc. and its affiliates and subsidiaries, including Nomura
 Securities International, Inc. ('NSI') and Instinet, LLC('ILLC'), U. S. registered broker dealers and members of SIPC.

 Materially mentioned issuers

Issuer                      Ticker                Price       Price date  Stock rating Previous rating Date of change Sector rating
Luxshare Precision          002475 CH             CNY 16.51 01-Nov-2018 Buy            Rating Suspended 03-May-2018 N/A
Catcher Technology          2474 TT               TWD 303.0 01-Nov-2018 Buy            Neutral          23-Jan-2017   N/A
Largan Precision            3008 TT               TWD 3,335.0 01-Nov-2018 Buy          Neutral          05-Nov-2012   N/A
Zhen Ding Technology
Holding                     4958 TT               TWD 72.9      01-Nov-2018 Buy               Neutral            23-Oct-2017      N/A
Parade Technologies         4966 TT               TWD 438.0     01-Nov-2018 Buy               Not Rated          19-Mar-2018      N/A
Universal Scientific
Industrial (Shanghai)       601231 CH             CNY 10.07     01-Nov-2018 Buy               Neutral            25-Sep-2017      N/A
Chipbond Technology
Corporation                 6147 TT               TWD 61.1      01-Nov-2018 Buy               Neutral            22-Oct-2017      N/A
Radiant Opto-Electronics
Corp                        6176 TT               TWD 80.4   01-Nov-2018 Neutral              Reduce             29-Nov-2017      N/A
Apple Inc.                  AAPL US               USD 222.22 01-Nov-2018 Neutral              Buy                19-Dec-2017      Not rated


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   iPhone XR demand reportedly forcing
   Apple to cut production expansion
   plans
                   (https://appleinsider.com/editor/Malcolm+Owen) By Malcolm Owen

   (https://appleinsider.com/editor/Malcolm+Owen)
              Nov 05, 2018




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   Apple, after seeing allegedly poor demand for the iPhone XR, has reportedly told
   assembly partners Foxconn and Pegatron to stop any preparations the firms are
   making for new smartphone production lines specifically for the recently-launched
   model.


    The iPhone XR, Apple's latest iPhone release from late October, has been available
    for only a short amount of time. While the manufacturing of major products could
    prompt an expansion of production to cope with increased demand, similar plans
https://appleinsider.com/articles/18/11/05/iphone-xr-demand-reportedly-forcing-apple-to-cut-production-expansion-plans/                    1/10


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    to do the same for the new iPhone ՁHTTPSջ//APPLEINSIDER.COMՂ
                                      are said to have been scrapped.
                                                                                                                                                     

    A source familiar with the situation told
    (https://asia.nikkei.com/Business/Companies/Apple-cancels-production-boost-
    for-budget-iPhone-XR-sources) Nikkei Asian Review "For the Foxconn side, it first
    prepared nearly 60 assembly lines for Apple's XR model, but recently uses only
    around 45 production lines, as its top customer said it does not need to
    manufacture that many by now."

    It is claimed the reduction would mean Foxconn would produce around 100,000
    fewer units per day, which the source claims is between 20 percent and 25
    percent lower than the "original optimistic outlook."

    Pegatron, Apple's other main iPhone XR assembler
    (https://appleinsider.com/articles/18/09/25/apple-shifts-iphone-xr-assembly-
    orders-from-pegatron-to-foxconn), is also said to be suspending its plans to
    increase production, and is waiting for more information from Apple. "The
    utilization for the XR production is not reaching its maximum capacity now,"
    advised the source.

    Third iPhone assembly partner Wistron was also previously asked to stand in for a
    rush of orders if necessary, but the supply chain source suggests no orders will
    be provided to the company over the holidays.

    A month ahead of the iPhone XR's release, a report claimed Apple was planning to
    increase production (https://appleinsider.com/articles/18/09/19/apple-planning-
    to-ramp-iphone-xr-production-to-over-50-percent-of-new-iphones) after the
    initial launch period and into December, with the model anticipated to make up 50
    percent of production.



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    Analysts have estimated initial sales of around 9 million units in the first weekend,
    beating the iPhone 8's launch, but Rosenblatt Securities' Jun Zhang advised to
    investors he believed there to have been "weak pre-orders
    (https://appleinsider.com/articles/18/10/29/iphone-xr-sales-better-than-iphone-
    8-at-launch-yet-analyst-still-calls-them-weak)" and would start reducing
    production in November and December for all of its new models.

    While the iPhone XR orders are allegedly dropping, Apple is apparently asking for
    more iPhone 8 and iPhone 8 Plus handsets to be produced.

    "Suppliers of iPhone 8 and iPhone 8 Plus are getting a combined order of around 5
    million more units," a report source advised. Previously set for 20 million units, the
    report claims this now brings the total orders to Foxconn and Pegatron for both
    older models up to 25 million units.

    Apple is now said to be reviewing the demand for iPhones on a weekly basis, the
    source added, in order to quickly adjust orders to match the market.

    Changes in production levels after launch are not an unexpected phenomenon, as
    manufacturers typically try to produce enough to cover demand without making
    too many or too few units. As the source of such stories stem from unnamed
    sources within the supply chain, and sometimes with varying accounts between
    publications, there is no guarantee that the reduction claims are in fact true.



https://appleinsider.com/articles/18/11/05/iphone-xr-demand-reportedly-forcing-apple-to-cut-production-expansion-plans/                    3/10


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    Specifically, the Nikkei Asian Review has a mixed track record on details of
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    Apple's manufacturing plans. It also isn't clear how any "cutbacks" now compare
    to previous seasonal adjustments.


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                                                                  (https://appleinsider.com/articles/21/07/06/presiden
                                                                  joe-biden-to-ask-ftc-to-draft-new-right-to-repair-
                                                                  regulations)
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                                                 Stutter charity calls out Apple for 'stammering'
   xr-demand-reportedly-forcing-apple-to-        emoji gaffe
   cut-production-expansion-plans)
                                                                  (https://appleinsider.com/articles/21/07/06/stutter-
                                                                  charity-calls-out-apple-for-stammering-emoji-
                                                                  gaffe)
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https://appleinsider.com/articles/18/11/05/iphone-xr-demand-reportedly-forcing-apple-to-cut-production-expansion-plans/                     4/10


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   (https://appleinsider.com/articles/18/11/05/iphone-
                                                 'Apple Glass' could have movable display and use
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   xr-demand-reportedly-forcing-apple-to-                                                         
                                                 Fresnel lenses
   cut-production-expansion-plans)
                                                                  (https://appleinsider.com/articles/21/07/06/apple-
                                                                  glass-could-have-movable-display-and-use-
                                                                  fresnel-lenses)
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                                                 Weekly deal: M1 MacBook Pro Ձ16GB RAM, 1TB SSDՂ
   xr-demand-reportedly-forcing-apple-to-        dips to $1,749, plus $50 off AppleCare
   cut-production-expansion-plans)
                                                                  (https://appleinsider.com/articles/21/07/06/weekly-
                                                                  deal-m1-macbook-pro-16gb-ram-1tb-ssd-dips-to-
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                                                 Tim Cook returns to annual elite Sun Valley
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                                                                  cook-returns-to-annual-elite-sun-valley-
                                                                  conference)
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   (https://appleinsider.com/articles/18/11/05/iphone-
                                                 Rapper Soulja Boy claims Steve Jobs gave him the
   xr-demand-reportedly-forcing-apple-to-        first iPhone
   cut-production-expansion-plans)
                                                                  (https://appleinsider.com/articles/21/07/06/rapper-
                                                                  soulja-boy-claims-steve-jobs-gave-him-the-first-
                                                                  iphone)
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   (https://appleinsider.com/articles/18/11/05/iphone-
                                                 Kensington StudioCaddy can recharge four Apple
   xr-demand-reportedly-forcing-apple-to-        devices simultaneously
   cut-production-expansion-plans)
                                                                  (https://appleinsider.com/articles/21/07/06/kensingt
                                                                  studiocaddy-can-recharge-four-apple-devices-
                                                                  simultaneously)
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   (https://appleinsider.com/articles/18/11/05/iphone-
                                                 Vietnamese workers sleep on factory floors to
   xr-demand-reportedly-forcing-apple-to-        prevent COVID outbreaks
   cut-production-expansion-plans)
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                                                                  workers-sleep-on-factory-floors-to-prevent-
                                                                  covid-outbreaks)

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                                                                  Rapper Soulja Boy claims Steve Jobs gave him
                                                                  the first iPhone
                                                                  (https://appleinsider.com/articles/21/07/06/rapper
                                                                  soulja-boy-claims-steve-jobs-gave-him-the-
                                                                  first-iphone)


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   soulja-boy-claims-steve-jobs-gave-him-
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                                                                  Kensington StudioCaddy can recharge four
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                                                                  studiocaddy-can-recharge-four-apple-devices-
                                                                  simultaneously)


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                                                                  'iPhone 13 Pro' case points to camera bump size
                                                                  increase
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                                                                  increase)


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                                                Public betas, bigger iPad Pro, and AirPower —
   betas-bigger-ipad-pro-and-airpower----
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                                                                  week-in-apple)

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                                                 How to install iOS 15 & iPadOS 15 public betas                                            
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                                                 How to make an iPhone Shortcut to automatically
   to-make-an-iphone-shortcut-to-
                                                 text your time to destination
   automatically-text-your-time-to-
   destination)                                  (https://appleinsider.com/articles/21/07/01/how-
                                                                  to-make-an-iphone-shortcut-to-automatically-
                                                                  text-your-time-to-destination)



                                                                  Compared: Beats Studio Buds vs AirPods,
                                                                  AirPods Pro, and Powerbeats Pro
                                                                  (https://appleinsider.com/articles/21/06/15/compa
                                                                  beats-studio-buds-vs-airpods-airpods-pro-and-
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   beats-studio-buds-vs-airpods-airpods-
   pro-and-powerbeats-pro)


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                                                 Shortcut door status notification, new Aqara
   door-status-notification-new-aqara-
                                                 switch, & more on HomeKit Insider
   switch-more-on-homekit-insider)
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                                                                  door-status-notification-new-aqara-switch-
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                                                 Vissles V84 Mechanical Keyboard review:
   v84-mechanical-keyboard-review-modern-
                                                 modern with a retro feel
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                                                 Crucial X6 4TB Portable SSD review: Decent
   x6՚4tb-portable-ssd-review-decent-
                                                 speed, good price to performance
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                                                 Flexispot Deskcise Pro V9 review: an addictive
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                                                 exercise workstation
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                                                                  deskcise-pro-v9-review-an-addictive-exercise-
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                                                 Zhiyun Smooth Q3 Gimbal review: Small, feature-
   smooth-q3-gimbal-review-small-feature-
                                                 packed, and well lit
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                                                                  smooth-q3-gimbal-review-small-feature-
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                                                Mophie Snap+ Juice Pack Mini review: Apple's
   snap-juice-pack-mini-review-apples-
                                                MagSafe, but not
   magsafe-but-not)
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                                                                  snap-juice-pack-mini-review-apples-magsafe-
                                                                  but-not)



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                                                                     Exhibit 9
AN YICAIG0020181105eeb50002z

SE Business

HD China’s Sluggish New iPhone Sales May Force Layoffs at Foxconn

BY Zhang Yushuo

WC 336 words

PD 05 Nov 2018

SN Yicai Global

SC YICAIG

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LP

(Yicai Global) Nov. 5 -- Apple has slashed orders from Foxconn by 10 percent amid
sluggish sales of new iPhones, a move that could lead to layoffs at the Taiwan-
based supplier.Distributors claim that sales of the iPhone XS are well below
expectations due to its steep price, which has negatively impacted upstream and
original equipment manufacturer, or OEMs, the state-backed Securities Times
reported today.




TD

"Statements regarding sales increases of new phones released by Apple in some
channels are not true,” Securities Daily said, citing sources familiar with the
matter. “In fact, sales growth of several of its newly launched phones have seen a
broad-based slowdown in the past year.”



The US tech giant has announced that it will no longer provide sales data on its
key hardware products.



Apple has slashed its iPhone XS/MAX orders from Foxconn by 10 percent while another
Taiwan-based supplier Pegatron also suffered a 10 percent order loss on the iPhone
XR, according to Mobile No. 1 Research Institute, a Chinese website focusing on
research of the mobile phone industrial chain. Foxconn, the world's largest
contract electronics manufacturer, which relies heavily on Apple, may be the first
to be impacted.



IPhone parts suppliers also face a bleak period. Some have even suspended
production temporarily in the first quarter since orders for parts of the iPhone X,
iPhone 8 and iPhone 8 Plus were 15 to 30 percent lower than expected. Some upstream
supply chain manufacturers who produce memory chips, camera modules, and 3D sensor
modules for iPhones have also been asked to control their inventory to tackle the
impact of declining orders.



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                                                                     Exhibit 9
The average selling price of iPhones rose to USD793 from USD724 in the third
quarter, but the high-price strategy has not paid off. The more expensive new
iPhone series fell below its offer price just a few days after it was launched.



Editor: Bivash



Click here to view image.




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                                                                     Exhibit 9
AN CNAENG0020181106eeb60005l

SE

HD Largan dives; selling spreads to other 'Apple concept stocks'

BY

WC 598 words

PD 06 Nov 2018

SN Central News Agency English News

SC CNAENG

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LP

Taipei, Nov. 6 (CNA) Shares of Largan Precision Co., a supplier of smartphone
camera lenses to Apple Inc., plunged Tuesday morning after the company reported
disappointing sales figures for October, usually the peak season for the global
high-tech sector, dealers said.The sell-off suffered by Largan spread to other
Taiwanese suppliers to Apple amid rising concerns of lower than expected global
demand for the new iPhone models unveiled in September that could push down
shipments, they said.




TD

As of 11:01 a.m., shares of Largan had shed 5.82 percent to NT$3,235.00 (US$30.81),
with 815,000 shares changing hands on the Taiwan Stock Exchange, where the
benchmark weighted index was down 0.71 percent at 9,819.53.



Largan shares immediately came under pressure soon after the market opened, and
selling escalated as the morning went on without any signs of a rebound, MatserLink
Securities analyst Tom Tang said.



"The weakness came after Largan's poor sales report for October," Tang said.



"The company had said it would have a weaker October, and the figures were proof of
that, leading investors to think that the newest iPhones have failed to stir up
strong buying interest," Tang said.



"Many potential consumers may be finding the new iPhones too expensive compared to
models provided by other international smartphone brands, and that has had an
impact on consumption," Tang said.



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                                                                     Exhibit 9
"More importantly, the iPhone product line lacks attractive specification
upgrades."



According to Tang, Apple accounts for about 40 percent of Largan's total sales. "So
the impact on the company has been obvious in the current traditional peak season,"
he said.



In a statement released Monday, Largan said its consolidated sales for October fell
6 percent from a month earlier and 7 percent from a year earlier to NT$5.21
billion.



That was the company's lowest single month sales figure since June 2018, when it
posted sales of NT$4.51 billion.



In October, 10 megapixel lenses for more advanced devices, which command a higher
profit margin, accounted for 50-60 percent of Largan's total revenue, 8 megapixel
lenses accounted for 10-20 percent and 2 megapixel lenses represented another 10-20
percent.



In the first 10 months of this year, Largan's consolidated sales totaled NT$42.72
billion, little changed from a year earlier.



"Largan's poor sales for October sparked fears over the prospects for iPhone
shipments in the fourth quarter and even for Apple's sales next year if the company
fails to come up with more attractive products," Tang said.



"I'm also worried about continued trade friction between the United States and
China, which has hurt and will continue to hurt iPhone sales in the Chinese
market," Tang said.



Among other falling "Apple concept stocks," iPhone assembler Hon Hai Precision
Industry Co. had lost 2.38 percent to NT$78.10, metal casing maker Catcher
Technology Co. had dropped 6.55 percent to NT$217.00, and printed circuit board
supplier Career Technology (Mfg.) Co. had fallen 8.35 percent to NT$38.60 as of
11:01 a.m.



Largan anticipated that sales could continue to fall in November as some of its
clients are cutting back their orders.



"Largan shares could test the lowest closing level of the year of NT$3,000 on April
9," Tang said. "If the stock fails to keep itself above that level, more selling is
expected to follow." (By Han Ting-ting and Frances Huang) Enditem/ls




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                                                                                                                             Exhibit 9
                                                                                                            U.S. Research
                                                                                                           Published by Raymond James & Associates

                                                                                                                 November 6, 2018 (1:07 a.m. EST)
Apple Inc.
     (AAPL-NASDAQ)                                                                                                                        Company Brief
     Chris Caso, (212) 856-4893, Chris.Caso@RaymondJames.com                                         Rating _________________________________
     Melissa Fairbanks, (727) 567-1081, Melissa.Fairbanks@RaymondJames.com                                                     Market Perform 3

Connected Devices ____________________________________________________                               Current Price ___________________________
                                                                                                     Current Price (Nov-05-18)             $201.59
Semi Mailbag: Apple Rundown Edition                                                                  52-Week Range               $233.47 - $150.24
                                                                                                     Suitability               Medium Risk/Growth

In this week’s edition of the Semi Mailbag, we tackle questions related to Apple’s recent            Market Data ___________________________
trading action, the company's decision to stop reporting iPhone unit data, our thoughts on           Shares Out. (mil.)                 4,848.0
Services growth, and more. Let’s get started:                                                        Market Cap. (mil.)               $977,308
                                                                                                     Avg. Daily Vol. (10 day)       45,620,548
Apple’s stock hasn’t acted well since that report. What’s going on?                                  Dividend/Yield                 $2.92/1.5%
December guidance really wasn’t all that bad. If you normalize for the $2 billion currency           Book Value (Sep-18)                $21.75
headwind Apple expects to face, December guidance reflects 5.3% y/y growth at the                    ROE %                                 33%
midpoint. Our estimates have iPhone revenue flat y/y (including FX headwind) as the higher           LT Debt (mil.)/% Cap.        $97,128/42%
ASP for iPhone Xs Max offsets lower unit volumes versus last year.
                                                                                                     Earnings & Valuation Metrics ______________
However, we are also below the Street on units. Our estimates have iPhone units showing a                        2018A         2019E        2020E
y/y decline starting with the December quarter. Our concern is that the high price of iPhone
                                                                                                     GAAP EPS
Xs Max naturally limits its unit volume. Similarly, we’ve been concerned about the short
                                                                                                                 $11.91        $12.45          NA
delivery times during the iPhone Xr preorders – customers never had to wait for a phone from
preorders until launch, and that’s the first time that’s ever happened.                              P/E Ratios (GAAP)
                                                                                                                  16.9x         16.2x         NM
That’s why Apple’s decision to stop disclosing unit sales was so disturbing. Apple management        Revenues (bil.)
said they don’t believe unit sales data is relevant any longer, but we disagree. Rather, most                    $265.6        $275.3          NA
feel that Apple’s decision reflects a concern on their part that iPhone units will indeed                       2018E                2019E           2020E
decline. If that occurs, given the new disclosure policy, they won’t have to tell us.
                                                                                                     GAAP EPS (CY)
                                                                                                                $12.64               $12.98              NA
OK, so what if units decline? ASPs are rising, right?
They are. In fact, our estimates are ahead of the street for iPhone ASP in the December              P/E (CY GAAP)
quarter (RJ $847 vs. consensus of $813). We think Apple had already realized units had                           15.9x               15.5x              NM
become saturated, due to already high penetration rates in markets that could afford
iPhones. The only way to drive growth was to raise prices in those markets. In addition,             Company Description ____________________
                                                                                                     Apple, Inc., headquartered in Cupertino, California, is a
because component prices were not dropping as fast as in the past (in part due to the                leading vendor of computing products to consumers
slowdown of Moore’s Law) price increases have become necessary to add features and not               and enterprises around the globe. The company
impact iPhone margins.                                                                               helped create the personal computer market with its
                                                                                                     iconic Macintosh computer in the 1980s, reinvented
We think that a year ago, Apple believed it could sell more $1000+ phones than they now              the PC market for an internet-connected world with
expect. We say that based on our checks regarding Apple’s build plans. A year ago, Apple had         the iMac in 1998, reinvented how consumers consume
expected iPhone Xr to represent the small minority of iPhone sales – around 20%. After initial       music with its iPod and iTunes products and services,
sales data from iPhone X, Apple realized there was more resistance to the higher price               reinvented the mobile phone market with iPhone and
                                                                                                     iTunes app store products and services, and brought
point. As a result, they made the extraordinary decision to end of life iPhone X within a year,      tablet computing mainstream with its iPad line of
and the supply chain had to scramble to deliver enough volume for the expected mix of iPhone         devices.
Xr.
                                                                                                     Footnotes: Non-GAAP EPS excludes amortization of
And it doesn’t appear they are scrambling any more. Yesterday’s Apple stock weakness was             intangible assets from acquisitions.
attributed a Nikkei article claiming the supply chain won’t need add any more capacity to meet
iPhone Xr demand. We don’t believe production volume is likely changing just yet, since this is
still the peak season. But Apple always has contingency plans in place to meet upside, and
given the short delivery times, we don’t expect those plans to be necessary. We also think it’s
too early for Apple to be cancelling on suppliers, since if that does happen, historically those
cancellations have come in mid-December.


Please read domestic and foreign disclosure/risk information beginning on page 3 and Analyst Certification on page 4.


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Raymond James                                                                                                                          Exhibit
                                                                                                                                            U.S.9Research
We are most concerned with what happens next year. Thus far, our checks have failed to pick up on any compelling new features in the 2019
iPhone lineup, and the rumor mill remains uncharacteristically light. We do believe Apple plans to launch three models next year, all similar to this
year’s models. So far, we expect the two flagship models to have triple rear cameras, and we expect the typical processor upgrades. But nothing
has yet even been rumored that has us excited for next year.

If that’s the case, if the phones aren’t a significant upgrade from this year, how can unit volume NOT decline next year? It’s still possible for
revenue to grow, if upgraders continue to do so at higher price points, and if the OLED phones (Xs and Xs Max) increase as a percent of the total
mix. But that’s far from certain.


Yes, but Warren Buffet doesn’t care about iPhone sales – it’s just about the money Apple will make off the installed base.
Besides valuation, services growth is indeed the bull case on Apple now. The installed base still grew by double digits y/y in the September quarter,
and average Services revenue per user now runs at almost ~$50 annually. To get to Apple’s goal of doubling services revenue by FY20 (from FY16)
that would result in growing Services revenue per user to ~$64 per user by FY20.

But we have several concerns with the bull services case. First, while the installed base is indeed growing, installed base growth now mainly occurs
in emerging markets, where it’s tougher to move the needle on services revenue. Clearly, it will be easier for Apple to get another $10 / month
from a user in the US as compared to India.

We also differ significantly from the rest of the street in that we believe AppleCare warranty and repair services has grown to about 30% of services
revenue. Simply, Apple Care has grown since, like iPhone, pricing has increased significantly. AppleCare pricing has doubled since September 2015,
and is now $199 for iPhone Xs. The penetration rate of AppleCare has increased also, both due to the fact the phones are now so expensive to
repair out of warranty, and due to additional sales channels for AppleCare (such as Best Buy). We expect AppleCare to continue to grow, driven by
an even higher option for AppleCare offered this year ($299, which includes coverage for theft and loss). Since AppleCare revenue is recognized
over the 24 month life of the warranty, which provides a steady tailwind for service revenue, as older cheaper warranties roll off and are replaced
with higher priced warranties. As a result, we do expect Apple to achieve their F20 services revenue goal.

But warranty revenue is of course tied to unit sales. So if unit sales begin to decline, AppleCare will follow, albeit with a lag. Additionally, the high
cost of AppleCare just acts as an additional impediment for buying a new phone. It’s just another example of a price increase, just in a different
bucket.


But aren’t they going to have a video service? What if Apple brought back The Wire?
Well that brings us to our final concern on the Services bull case, which is simply the law of large numbers. In the Services deep dive we published
in June, we performed a hypothetical analysis of the impact to Apple earnings if they instantly created a Netflix business within Apple. We assumed
a similar number of subscribers (~125 million), similar ARPU (~$10/month) and similar margins (8% operating margin, taxed at 15%). The result was
$1.2 billion in pre-tax income, or about $0.20 EPS.

And therein lies the problem. When you sell the most successful consumer electronics product ever (maybe the most successful consumer product
ever?), it sets the bar very high, and makes growth more difficult. No matter how you do the math, any service Apple adds would need to be huge
in order to move the needle, and nothing would ever be big enough to offset a decline if iPhone revenue were to contract.

But seriously, someone should bring back The Wire, it was the best cop show ever. Or at least somebody write Bunk into The Affair.


So what would get you more bullish?
Simple – get iPhone growing again! Despite the apparent lukewarm reception to this year’s phones, there still isn’t a compelling reason for iPhone
users to migrate to the Android ecosystem. Android phones are facing the same challenges as iPhone – more features require higher ASPs, and
there haven’t been incredibly compelling reasons to upgrade Android phones either.

To be clear – we don’t think the current situation is necessarily permanent. It’s tough to argue that a smart phone is most people’s most
indispensable possession, and with current handset replacement rates about 2.5 years, that does mean there are plenty of older phones available
for upgrade if the upgrade is compelling enough. As we’ve noted earlier, the bar is now higher given higher pricing. But there is certainly room for
replacement rates to shorten at some point in the future.

Unfortunately, we think the near-term trend will be for replacement rates to lengthen, due to higher ASPs. If we don’t get a strong product cycle to
act as a catalyst, we predict that the next step would be to increase the lease period for phones to 36 months, in order to reduce the monthly cost
of the phones. We think carriers would be thrilled to move to a longer lease period since it would reduce churn, but we would expect Apple to
resist that move, since it would have a more permanent effect on replacement rates.




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Raymond James                                                                                                                          Exhibit
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     over the next 12 months.
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     Market Perform (Hold)                                   39%              26%                    36%        11%               11%            0%
     Underperform (Sell)                                     4%                4%                    14%         5%               25%            0%
     * Columns may not add to 100% due to rounding.


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     Specific Investment Risks Related to the Industry or Issuer

     Company-Specific Risks for Apple Inc.

     Rapid Technology Evolution
     Historically, the global consumer electronics and computer hardware business has been characterized by aggressive price cutting, with
     resulting downward pressure on gross margins, frequent introduction of new products, short product life cycles, evolving industry standards,
     continual improvement in product price/performance characteristics, rapid adoption of technological and product advancements by
     competitors, and price sensitivity on the part of consumers.
     New Product Adoption
     Apple’s current dominance in the world of consumer electronics has been largely the result of a five-year run of developing hit products
     beginning with the first iteration of the iPhone in 2007, which was followed by the iPad in 2010. Relying on its strong margins from hardware
     sales, Apple is at risk should new products not create excitement in the market and fail to support premium prices. Apple relies on its carrier
     partners to subsidize the purchasing price of iPhones in order to maintain competitiveness vs. alternative hardware providers. In markets that
     lack subsidies, Apple’s iPhone penetration is drastically reduced.
     Defense of Intellectual Property
     Apple maintains significant investments in research and development to ensure its premium market position across product categories. As a
     result, it holds a significant number of patents and copyrights and has registered and/or has applied to register numerous patents, trademarks
     and service marks. By contrast, many of the Apple’s competitors seek to compete primarily through aggressive pricing and very low cost
     structures. If Apple is unable to protect its intellectual property from cooption by competitors, Apple’s ability to maintain a competitive
     advantage could be negatively affected. Conversely, many of Apple’s products include third-party intellectual property, which requires
     licenses from those third parties. Based on past experience and industry practice, those licenses have been obtained on reasonable terms.
     There is however no assurance that the necessary licenses could be obtained on acceptable terms or at all.
     Pricing Structure
     Apple is unique in that it designs and develops nearly the entire solution for its products, including the hardware, operating system, numerous
     software applications, and related services. Conversely, many of its competitors rely on Google’s Android as a “free” (subject to various IP
     royalties) operating system allowing them to focus on hardware specifications and offer aggressive pricing.
     Global Supply Chain
     Apple is subject to a global supply chain and relies on contract manufacturers for most of its production. Working conditions at contract
     manufacturers in places like China have brought negative attention and may be a source of negative customer perception to its products in
     the future. Other risks to its supply chain may be the result of too much demand and limited component availability leading to delayed
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                                                                     Exhibit 9
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SE Business Update

HD Apple reportedly cuts production line plans for iPhone XR to maintain revenue
growth

BY Wang Yi

WC 450 words

PD 07 Nov 2018

SN Global Times

SC GLOTNE

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Apple Corporation has reportedly told its major smartphone assemblers in China to
cut down production lines for the new iPhone XR. The decision comes after the
company's smartphone global shipments in the third quarter almost stayed the same
year-on-year, while China's Huawei shipments jumped 33 percent.Experts said Apple's
current strategy is to raise prices to maintain revenue growth at the expense of
shipments growth. It works for the company now, but in the long term, Chinese
companies like Huawei, which has made market progress in innovation, could be more
competitive.




TD

Nikkei.com reported that Foxconn and Pegatron had been told to halt plans for
additional production lines dedicated to the iPhone XR, the relatively cost-
effective model that hit shelves in late October.



"For the Foxconn side, it first prepared nearly 60 assembly lines for Apple's XR
model, but recently uses only around 45 production lines," a source told The
Nikkei. That means Foxconn would produce around 100,000 fewer units daily, down 20
percent to 25 percent from the original optimistic outlook.



"Apple's current strategy is to maintain its revenue by raising the price at the
expense of losing some shipments, while Chinese smartphone manufacturers are aiming
at raising shipments," said Jia Mo, a research analyst at Canalys, a global
technology market analyst firm.



"It works for the company now," Jia said. "Revenue in major markets like China
actually has grown significantly, and has achieved the company's strategic goal."



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                                                                     Exhibit 9
Jia doesn't worry about Apple's sustainable growth based on this strategy. He
thinks that Apple has a loyal consumer base whose updating habits of iPhones are
relatively fixed. "The company is not likely to lose these loyal consumers," Jia
said.



According to the latest research from Counterpoint published on Friday, the Chinese
brand Huawei, which has surpassed Apple in the second quarter in shipments, holds
on to the second position for two consecutive quarters.



Other Chinese brands Oppo, Xiaomi and Vivo have reached their highest ever
shipments in a single quarter despite a global slowdown.



Xiang Ligang, chief executive of the Chinese telecoms industry news site
cctime.com, told the Global Times that now the global shipments have met some
challenges, and Apple's strategy is to raise prices, which depends on its brand
advantage in the global market.



Smartphone manufacturers with renowned brands and full covered products lines are
more competitive, Xiang said.



China's brands are doing well in core technology innovation and will see rapid
growth in many areas, which will help them to succeed in the global market.




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SE

HD Analysts Blame iPhone Demand for Apple-Supplier Skyworks' Gloomy Forecast --
Barrons.com

BY By Tae Kim

WC 322 words

PD 09 Nov 2018

ET 19:25 GMT

SN Dow Jones Institutional News

SC DJDN

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Wall Street analysts believe weaker than expected iPhone demand is hurting Skyworks
Solutions (SWKS).The wireless chip maker's stock was down 8.6% to $76.25 on Friday,
after it gave a December quarter sales guidance range of $1.01 billion at the
midpoint versus $1.07 billion Wall Street consensus, according to FactSet.




TD

D.A. Davidson analyst Thomas Diffely lowered his price target for Skyworks stock to
$115 from $125, pointing to a lower iPhone sales forecast than he expected.



"We are trimming our 2019 model due to a more conservative stance on iPhone units
and China over the next couple of quarters," he wrote Friday. "High-end smartphone
unit softness and geopolitical uncertainty continues to be an overhang for SWKS and
its peers."



The company makes radio frequency semiconductors, which enable smartphones to
communicate with wireless networks. It is widely believed by industry analysts that
Apple is Skyworks' large customer, accounting for 35% to 40% of its annual revenue.



Despite the company's short-term troubles, Diffely reiterated his Buy rating for
Skyworks due to the opportunity from 5G. He believes the fifth generation wireless
technology will drive several years of growth for the company.



KeyBanc Capital Markets analyst John Vinh also reduced his price forecast to $100
from $120 for the chip maker.



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                                                                     Exhibit 9
Skyworks' "content growth [is] not enough to overcome softness in China and Apple
smartphone demand," he wrote on Thursday. "Despite lowered results, we recommend
investors continue to own SWKS, as we see sustained revenue and earnings growth
driven by secular RF content gains, especially as 5G begins to ramp 2H19."



Vinh reaffirmed his Overweight rating for the stock.



The company's stock is now down nearly 20% this year versus the S&P 500's 4%
return.



(END) Dow Jones Newswires



November 09, 2018 14:25 ET (19:25 GMT)




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                                                                                                                              Exhibit 9
7/6/2021                              iPhone XR sales estimates slashed by Ming-Chi Kuo, as trade war headwinds swirl | AppleInsider

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   iPhone XR sales estimates slashed by
   Ming-Chi Kuo, as trade war headwinds
   swirl
                   (https://appleinsider.com/editor/Mike+Wuerthele) By Mike Wuerthele

   (https://appleinsider.com/editor/Mike+Wuerthele)
              Nov 12, 2018




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   Ming-Chi Kuo has cut expectations for sales of the iPhone XR for the next year by
   30 percent to 70 million, based on a possibility of a trade war with China, and other
   factors possibly weighing on sales, very similar to his erroneous predictions of
   iPhone X volumes.




https://appleinsider.com/articles/18/11/12/iphone-xr-sales-estimates-slashed-by-ming-chi-kuo-similar-to-his-iphone-x-prognostications          1/10


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    In a note to investors seen by AppleInsider  Ming-Chi Kuo of TF Securities has
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    advised investors that there are three factors that are holding down iPhone XR
    demand world-wide. The first, blanket, reason is the negative impact on consumer
    confidence that a possible trade war could have, particularly in the Chinese
    market.

    Also cited by Kuo is the possibility that customers are waiting for the iPhone XR
    feature set to become more affordable in another year with added feature boosts,
    like even smaller bezels and a dual-camera system in that pricing level.
    Competition from Huawei's Mate 20 series is also cited, but in passing as a third
    factor.

    TF Securities has reduced iPhone XR shipment estimations for the fourth calendar
    quarter of 2018 by about 35 percent, and the first quarter of 2019 plus the
    second quarter of 2019 by about 30 percent each.

    Kuo believes that "legacy" iPhone shipments will increase significantly thanks to
    "more affordable prices." Kuo isn't cutting estimates of unit sales for the holiday
    quarter, though, and is expecting between 75 million and 80 million units sold.

    The net effect of the iPhone XR demand, however, will result in a year-over-year
    decline in the first calendar quarter of 2019, if Kuo is correct.



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                                                                                                                              Exhibit 9
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    Kuo has said this before about the iPhone X in early 2018, and wasn't accurate
    (https://appleinsider.com/articles/18/01/23/after-speculative-reports-of-slow-
    sales-iphone-x-is-now-said-to-be-in-the-high-end-of-the-industry-range). His
    voice joined a chorus of analysts predicting poor sales of the device, and lower
    earnings than Apple actually delivered
    (https://appleinsider.com/articles/18/05/04/iphone-x-was-worlds-best-selling-
    smartphone-model-in-first-quarter) as a result.

    In October, Kuo predicted that demand
    (https://appleinsider.com/articles/18/10/15/iphone-xr-will-propel-not-just-holiday-
    iphone-sales-but-drive-early-2019-to-new-heights) for Apple's iPhone XR will be
    better than expected, with Apple cranking out about 38 million of them in time for
    holiday sales. He said then that the iPhone XR should defeat a "low seasonality"
    after the holiday quarter. Instead of a near-50 percent drop that the iPhone 8 saw
    after the holiday, the iPhone XR is expected to only drop 30 percent, a favorable
    comparison to the overall industry's about 40 percent drop.

    Kuo joins other analysts (https://appleinsider.com/articles/18/11/05/analyst-fears-
    over-iphone-xr-shipments-future-sales-figures-prompt-aapl-sell-off) who are
    pessimistic about Apple's future because of decreasing iPhone demand. However,
    Jun Zhang from Rosenblatt, and Bank Of America Merrill Lynch seem more
    concerned that Apple isn't going to report sales figures for the iPhone going
    forward, more than any other realistic concern.

    A cheaper alternative to the iPhone XS and XS Max
    (https://appleinsider.com/articles/18/09/14/the-iphone-xr-versus-the-iphone-xs-
    and-iphone-xs-max-which-is-right-for-you), the iPhone XR has a 6.1-inch LCD
    Liquid Retina display instead of an OLED panel used by its stablemates, has a




https://appleinsider.com/articles/18/11/12/iphone-xr-sales-estimates-slashed-by-ming-chi-kuo-similar-to-his-iphone-x-prognostications          3/10


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    single 12-megapixel wide-angle camera  on the rear, and a wide array of bright
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                                                                                                                                               
    color options. Preorders begin on October 19, with the first units arriving on
    October 26.


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                                                  President Joe Biden to ask FTC to draft new right to
   xr-sales-estimates-slashed-by-ming-chi-        repair regulations
   kuo-similar-to-his-iphone-x-
                                                  (https://appleinsider.com/articles/21/07/06/presiden
   prognostications)
                                                                   joe-biden-to-ask-ftc-to-draft-new-right-to-repair-
                                                                   regulations)
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                                                  Stutter charity calls out Apple for 'stammering'
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   (https://appleinsider.com/articles/18/11/12/iphone-
                                                  'Apple Glass' could have movable display and use
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                                                  Fresnel lenses
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                                                  (https://appleinsider.com/articles/21/07/06/apple-
   prognostications)
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                                                  Weekly deal: M1 MacBook Pro Ձ16GB RAM, 1TB SSDՂ
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                                                  (https://appleinsider.com/articles/21/07/06/weekly-
   prognostications)
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                                                  Tim Cook returns to annual elite Sun Valley
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   xr-sales-estimates-slashed-by-ming-chi-        first iPhone
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                                                  (https://appleinsider.com/articles/21/07/06/rapper-
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   prognostications)
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                                                                   'iPhone 13 Pro' case points to camera bump size
                                                                   increase
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                                                                   13-pro-case-points-to-camera-bump-size-
                                                                   increase)


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                                                 How to install iOS 15 & iPadOS 15 public betas                                                
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   destination)                                  (https://appleinsider.com/articles/21/07/01/how-
                                                                   to-make-an-iphone-shortcut-to-automatically-
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                                                                   Compared: Beats Studio Buds vs AirPods,
                                                                   AirPods Pro, and Powerbeats Pro
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                                                                   beats-studio-buds-vs-airpods-airpods-pro-and-
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   beats-studio-buds-vs-airpods-airpods-
   pro-and-powerbeats-pro)


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                                                 Shortcut door status notification, new Aqara
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                                                                   door-status-notification-new-aqara-switch-
                                                                   more-on-homekit-insider)




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                                                 Crucial X6 4TB Portable SSD review: Decent
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SE

HD Update: Apple's Stock Slips After J.P. Morgan Trims Price Target Again --
MarketWatch

BY

WC 239 words

PD 12 Nov 2018

ET 17:39 GMT

SN Dow Jones Institutional News

SC DJDN

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LP

Shares of Apple Inc. (AAPL) fell 0.7% in premarket trade Monday, after J.P. Morgan
cut its earnings estimates on the technology giant, citing new forecasts for modest
declines in iPhone shipments for this year and next. Analyst Samik Chatterjee cut
his stock price target, for the second time this month, to $266 from $270, but kept
his rating at overweight. He said the lower earnings outlook is because of a weaker
macro-economic environment in emerging markets, such as China, which is driving
softer consumer confidence in certain countries, and a stronger U.S. dollar, which
is making iPhones more expensive in foreign currencies. He cut his annual iPhone
volume expectations for calendar 2018 to 214 million from 216 million and for 2019
to 208 million from 218 million, while his earnings-per-share estimates drop by 10
cents in fiscal 2019 and fiscal 2020. On Nov. 2, Chatterjee had trimmed his stock
price target to $270 from $272 to reflect U.S. dollar strength concerns.




TD

Apple's stock has lost 1.5% over the past three months, while the SPDR Technology
Select Sector ETF (XLK) has dropped 4.4% and the Dow Jones Industrial Average has
gained 2.7%.



-Tomi Kilgore




For more from MarketWatch: http://www.marketwatch.com/newsviewer



(END) Dow Jones Newswires



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                                                                     Exhibit 9
AN RTNW000020181112eebc0009d

SE

HD Apple Is Slashing iPhone Production Orders for Its New Models, Analyst Says --
Barrons.

BY By Tae Kim

WC 307 words

PD 12 Nov 2018

ET 16:27 GMT

SN Dow Jones Newswires Chinese (English)

SC RTNW

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LP

Apple is cutting production orders for its latest iPhone models, according to
Longbow Research.The firm's analyst Shawn Harrison said Apple suppliers are
shifting production from new iPhone models to older phones.




TD

The smartphone maker's $749 iPhone XR became available for sale on Oct. 26. That
followed the launch of the $999 iPhone XS and the $1,099 iPhone XS Max in
September.



"The iPhone story is showing cracks with contacts now citing weaker iPhone orders
year over year," the analyst wrote on Monday.



Harrison said his checks with Apple suppliers last week revealed order cuts of 20%
to 30% for the iPhone XR and XS Max, while older iPhone models such as the 8 and
the 8 Plus had order increases of 20% to 25%.



He estimates the cuts on the XR and XS Max represent a reduction of more than 12
million units, while the production increase on older models is more than 3 million
units. The analyst said there was no change to XS plans.



Apple stock is down 3.7% to $196.92 in early morning trading on Monday. The company
did not immediately respond to a request for comment on the report.



The analyst also pointed to falling search-engine interest in China for iPhones.


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                                                                     Exhibit 9

"Baidu iPhone searches fell off a cliff for October, indicating potential risk of
faltering China demand," he wrote.



The Longbow note came after KeyBanc Capital Markets analyst John Vinh said on
Thursday iPhone XR inventory is piling up at stores due to weak sales.



In similar fashion, The Nikkei Asian Review also reported last week the tech giant
is telling its suppliers to cancel plans for additional iPhone XR production lines.



(END) Dow Jones Newswires



12-11-18 1627GMT




                                                                       Page 424
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                                                                     Exhibit 9
AN LBA0000020181112eebc02ubd

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HD Apple shares drop on iPhone suppliers' warnings

BY

WC 520 words

PD 12 Nov 2018

ET 19:23 GMT

SN Reuters News

SC LBA

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LP

(Reuters) - Apple Inc <AAPL.O> shares fell to their lowest in more than three
months on Monday as three suppliers issued warnings on results that pointed to
weakness in iPhone sales.The Cupertino, California company's signature product has
become pricier with every new launch and analysts say that consumers, especially in
emerging markets such as India, are ditching them for cheaper alternatives like
those offered by China's OnePlus.




TD

Apple warned earlier this month that holiday sales would miss Wall Street
expectations, blaming the fall on weakness in emerging markets and foreign exchange
costs.



Lumentum Holdings Inc <LITE.O>, the main supplier of the Face ID technology in the
latest generation of iPhones, cut $70 million off its forecasts for revenue on
Monday, knocking another 5 percent, or around $50 billion, off Apple's value in
morning trade on Wall Street.



"Many suppliers have lowered numbers because of their unnamed 'largest customer,'
which is Apple. Apple got cautious in their guidance and it's hitting their
suppliers," Elazar Capital analyst Chaim Siegel said.



Lumentum blamed the cut in numbers it gave originally just 12 days ago on a client
that was "one of our largest... for laser diodes for 3D sensing", which analysts
said could only be Apple.




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                                                                     Exhibit 9
Screen maker Japan Display Inc <6740.T> cited lower smartphone demand in cutting
its own outlook, while British chipmaker IQE Plc <IQE.L> also said it expects a
material reduction in its financial performance in the current year.



Shares in Lumentum fell nearly 31 percent, dragging down shares of other suppliers
and chipmakers.



JP Morgan analysts weighed in by cutting their price target for Apple by $4 to $270
pointing to poor orders for the new iPhone XR.



Three analysts said that Lumentum's forecast pointed to a reduction of 18 million
to 20 million iPhones on earlier estimates, based on average selling prices for 3D
sensing parts.



"Apple could have accumulated too much Lumentum inventory, and needs to work it
off, in which case the unit shortfall is less, although it is still indicative of
weak iPhone sales." D.A. Davidson analyst Mark Kelleher said.



In the fourth quarter, Apple sold 46.9 million iPhones, missing analyst
expectations of 47.5 million iPhones, according to FactSet.



Japan's Nikkei reported earlier this month that Apple had told its smartphone
assemblers Foxconn and Pegatron <4938.TW> to halt plans for additional production
lines dedicated to the iPhone XR, the cheapest of this year's new launches.



Longbow Research analysts said spot checks with Apple's Taiwanese suppliers late
last week highlighted 20 percent to 30 percent iPhone order cuts related mainly to
iPhone XR and XS Max, and 20 percent to 25 percent order increases for older iPhone
models.



Apple started selling iPhone XS and XS Max in September and XR model last month.
Lumentum's chips are not used in phones older than last year's iPhone X.



(Reporting by Vibhuti Sharma and Shanti S Nair in Bengaluru; Editing by Anil
D'Silva and Patrick Graham)




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                                                                     Exhibit 9
AN DJDN000020181114eebe002nv

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HD Apple Falls Further As Wall Street Sounds Alarm on iPhone XR -- Market Talk

BY

WC 176 words

PD 14 Nov 2018

ET 17:25 GMT

SN Dow Jones Institutional News

SC DJDN

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LP

12:25 ET - Apple falls 1.75% as Wall Street analysts turn bearish on the company's
prospects over the next year. UBS cuts its target for Apple to $225 from $240, and
Guggenheim downgrades the company to neutral. Both firms point to weak demand for
the iPhone XR. UBS says its analysis of the supply chain shows many consumers in
China were opting for high-end models from Chinese smartphone companies rather than
the XR. Guggenheim says weaker iPhone demand is unlikely to be offset by average
selling prices this year. The notes contribute to Apple shares' further decline.
While Apple has encouraged investors to focus on its services business by saying it
will eliminate unit sales data in the future, Guggenheim says Apple is still a
product company. Apple shares are down about 15% from Nov. 1's close, before it
reported earnings. (tripp.mickle@wsj.com)(END) Dow Jones Newswires




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November 14, 2018 12:25 ET (17:25 GMT)




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                                                                                                                                                              This report is intended for mattblake@apple.com at Apple. Unauthorized distribution of this report is prohibited.
                                                                                                                              Exhibit 9




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GUGGENHEIM SECURITIES, LLC                                                    See pages 10 - 11 for analyst certification and important disclosures. Page 1
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IT HARDWARE & MOBILITY                                                                                                                                          Exhibit 9
APPLE INC.                                                                                                                                                                     November 14, 2018




                                                    Figure 1.       iPhone Units and ASP
                                                                    Nearly HALF of all iPhone ASP increase since FY08 came in FY18E
                                                    Units (000)                                                                                                            ASP

                                                    350,000                                                                                                             $1,000

                                                    300,000
                                                                            ASP +$220 or +40% over 10 years but +$114                                                   $800
                                                    250,000                 of all that came in FY18 alone
                                                    200,000
                                                                                                                                                                        $600
                                                    150,000

                                                    100,000
                                                                                                                                                                        $400
                                                     50,000

                                                          0                                                                                                             $200




                                                                                                                                                        2019E

                                                                                                                                                                2020E
                                                                  2007

                                                                         2008

                                                                                2009

                                                                                        2010

                                                                                               2011

                                                                                                       2012

                                                                                                              2013

                                                                                                                     2014

                                                                                                                            2015

                                                                                                                                   2016

                                                                                                                                          2017

                                                                                                                                                 2018
                                                      FY - Sep                                        iPhone Units                        iPhone ASP


                                                    Source: Company reports, Guggenheim Securities, LLC estimates




  Figure 2.       iPhones – Quarterly and Annual
                                                                                                Revenue ($B)
    Units (000)             iPhone units - Low End                                     ASP                                                          Y/Y - iPhone Revenue
                                                                                                 100%
   100,000                  iPhone units - Hi End                                  $1,000
                                                                                                                                                    Y/Y - iPhone Units
                            Blended iPhone ASP                                                    80%
    80,000                                                                         $800
                                                                                                  60%
    60,000                                                                         $600
                                                                                                  40%
    40,000                                                                         $400
                                                                                                  20%
    20,000                                                                         $200
                                                                                                      0%

          0                                                                        $0
                                                                                                 -20%
               Dec-14




               Dec-15




               Dec-16




               Dec-17
               Sep-15




               Sep-16




               Sep-18
               Sep-14




               Sep-17




              Jun-19E
               Mar-16
               Mar-14




               Mar-15




               Mar-17




               Mar-18




              Dec-19E
              Dec-18E


              Sep-19E
              Mar-19E
               Jun-14




               Jun-15




               Jun-16




               Jun-17




               Jun-18




                                                                                                                                                                                              2020E
                                                                                                                                                                                      2019E
                                                                                                              2009

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                                                                                                  FY - Sep



  Source: Company reports, Guggenheim Securities, LLC estimates




GUGGENHEIM SECURITIES, LLC                                                              See pages 10 - 11 for analyst certification and important disclosures. Page 2
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IT HARDWARE & MOBILITY                                                                                                                       Exhibit 9
APPLE INC.                                                                                                                                               November 14, 2018




                               Figure 3.                                   Apple’s Y/Y Revenue Growth Contributors by Product/Service
                                  Rev Growth (mil)
                                                                                                                                   iPhone
                                      $60,000                                                                                      iPad
                                                                                                                                   Mac
                                      $50,000
                                                                                                                                   Services
                                      $40,000                                                                                      Other Products

                                      $30,000                                                                                              iPhone revenue
                                                                                                                                           growth from
                                                                                                                                           higher ASPs in
                                      $20,000
                                                                                                                                           FY18

                                      $10,000

                                                                                                                                                            ASPs not
                                                               $0                                                                                           enough
                                                                                                                                                            in FY19-
                               ($10,000)                                                                                                                    20E
                                                FY - Sep                 2010   2011   2012   2013    2014   2015   2016    2017   2018 2019E 2020E



                               Source: Company reports, Guggenheim Securities, LLC estimates




                               Figure 4.                                   Apple’s Active User Installed Base
                                                                           Currently 1.2B iOS and 1.4B total per our estimates

                                                              1,800

                                                              1,600
                                                                                                                                                        Mac (macOS)
                                                              1,400
                                Active User Base (millions)




                                                                                                                                                        Apple TV (tvOS)
                                                              1,200
                                                                                                                                                        Watch (watchOS)
                                                              1,000
                                                                                                                                                        iPod touch (iOS)
                                                               800
                                                                                                                                                        iPad (iOS)
                                                               600
                                                                                                                                                        iPhone (iOS)
                                                               400

                                                               200

                                                                    0
                                                                        2012    2013     2014        2015    2016    2017      2018     2019E   2020E
                                              FY-Sep

                               Source: Company reports, Guggenheim Securities, LLC estimates




GUGGENHEIM SECURITIES, LLC                                                               See pages 10 - 11 for analyst certification and important disclosures. Page 3
                                                                                                                                                    Page 430
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IT HARDWARE & MOBILITY                                                                                                                                                                                        Exhibit 9
APPLE INC.                                                                                                                                                                                                                        November 14, 2018




                                                                   Figure 5.              Apple’s R&D Spending
                                                                                          Has been increasing not only in $ but %

                                                                        $18                                                                                                                                                                 9%
                                                                                                                                                                                             Watch
                                                                        $16                                                                                                                launched                                         8%
                                                                                                                                                        iPad
                                                                                                                                                      launched                               2015
                                                                        $14                                                  iPhone                                                                                                         7%
                                                                                                                            launched                    2010
                                                                        $12                                                                                                                                                                 6%
                                                                                           iPod                               2007
                                                                        $10              launched                                                                                                                                           5%
                                                                         $8                2001                                                                                                                                             4%
                                                                         $6                                                                                                                                                                 3%
                                                                         $4                                                                                                                                                                 2%
                                                                         $2                                                                                                                                                                 1%
                                                                         $0                                                                                                                                                                 0%




                                                                                                                                                                                                                                  2019E
                                                                                 2001
                                                                                          2002
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                                                                                                                    2005
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                                                                                                                                                                                           2014
                                                                                                                                                                                                  2015
                                                                                                                                                                                                           2016
                                                                                                                                                                                                                    2017
                                                                                                                                                                                                                           2018
                                                                        FY-Sep                                             R&D ($ billions)                          R&D as % of Revs

                                                                   Source: Company reports, Guggenheim Securities, LLC estimates




  Figure 6.             Apple – Overall Unit, Revenue and Margin Trends

   Units (000)            Watch                                                                                      Revenue ($mil)                                      Services                                                                   Margin

  400,000                 iPods                                                                                     $350,000                                             Other Products                                                               70%
                          Macs                                                                                                                                           Mac
                                                                                                                    $300,000                                                                                                                          60%
                          iPads                                                                                                                                          iPad
  300,000
                          iPhones                                                                                   $250,000                                             iPhone                                                                       50%
                                                                                                                                     Gross Margin
                                                                                                                    $200,000                                                                                                                          40%
  200,000                                                                                                                            Op Margin
                                                                                                                    $150,000                                                                                                                          30%

                                                                                                                    $100,000                                                                                                                          20%
  100,000
                                                                                                                     $50,000                                                                                                                          10%

        0                                                                                                                   $0                                                                                                                        0%
                                                                                                                                                                                                                                    2019E


                                                                                                                                                                                                                                            2020E
                                                                                                                                                                     2013




                                                                                                                                                                                           2015
                                                                                                                                         2010


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                                                                                                                                                                                                                           2018
                                                                                             2019E


                                                                                                            2020E
                                  2012
                 2010


                         2011




                                         2013


                                                2014


                                                       2015


                                                                 2016


                                                                          2017


                                                                                  2018




                                         Fiscal Years End Sept                                                                                                                  Fiscal Years End Sept


  Source: Company reports, Guggenheim Securities, LLC estimates



                                                                   Valuation

                                                                   AAPL has traded at an average forward P/E of 13x and EV/FCF of 13x over the past 5
                                                                   years, and with our expectation for decelerating revenue growth, we see it remaining around
                                                                   those levels, which makes us NEUTRAL.

                                                                   Risks

                                                                   Downside risks to our rating include Apple’s exposure to premium-priced consumer IT
                                                                   markets in general, and high concentration of iPhone revenues and profits in particular,
                                                                   making it susceptible to weaker consumer demand, whereas upside risks include the
                                                                   potential for demand to prove stronger than we are anticipating, and support from Apple’s
                                                                   Services businesses to be even greater than our forecast.




GUGGENHEIM SECURITIES, LLC                                                                                           See pages 10 - 11 for analyst certification and important disclosures. Page 4
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IT HARDWARE & MOBILITY                                                                                                                    Exhibit 9
APPLE INC.                                                                                                                                            November 14, 2018




  Figure 7.          Apple – Income Statement
                                                                        2018                                                   2019E
                               FY         FY        Q1        Q2         Q3        Q4        FY          Q1E         Q2E       Q3E       Q4E        FY         FY
  ($ in millions)             2016       2017      Dec-17    Mar-18    Jun-18    Sep-18     2018        Dec-18      Mar-19    Jun-19    Sep-19     2019E      2020E
  Net sales                  $215,639   $229,234   $88,293   $61,137   $53,265   $62,900   $265,595     $91,328     $63,405   $54,564   $64,043   $273,339   $277,897
  Cost of sales               131,376    141,048    54,381    37,715    32,844    38,816    163,756      56,236      38,954    33,376    39,444    168,011    170,388
  Gross profit                $84,263    $88,186   $33,912   $23,422   $20,421   $24,084   $101,839     $35,091     $24,451   $21,188   $24,598   $105,328   $107,509
  R&D                          10,045     11,581     3,407     3,378     3,701     3,750     14,236       4,170       4,070     4,170     4,270     16,680     17,680
  SG&A                         14,194     15,261     4,231     4,150     4,108     4,216     16,705       4,559       4,241     4,154     4,229     17,182     17,204
  Operating expenses          $24,239    $26,842    $7,638    $7,528    $7,809    $7,966    $30,941      $8,729      $8,311    $8,324    $8,499    $33,862    $34,884
  Operating income            $60,024    $61,344   $26,274   $15,894   $12,612   $16,118    $70,898     $26,362     $16,140   $12,864   $16,100    $71,466    $72,625
  Interest, other inc(exp)      1,348      2,745       756       274       672       303      2,005         300         300       300       300      1,200      1,200
  Pretax income               $61,372    $64,089   $27,030   $16,168   $13,284   $16,421    $72,903     $26,662     $16,440   $13,164   $16,400    $72,666    $73,825
  Income taxes                 15,685     15,738     6,965     2,346     1,765     2,296     13,372       4,399       2,713     2,172     2,706     11,990     12,550
  Net income                  $45,687    $48,351   $20,065   $13,822   $11,519   $14,125    $59,531     $22,263     $13,727   $10,992   $13,694    $60,676    $61,274
  Extraordinary items              -          -         -         -         -         -          -           -           -         -         -          -          -
  Net inc. after x/o items    $45,687    $48,351   $20,065   $13,822   $11,519   $14,125    $59,531     $22,263     $13,727   $10,992   $13,694    $60,676    $61,274
  EPS (operating)               $8.31      $9.21     $3.89     $2.73     $2.34     $2.91     $11.91       $4.66       $2.91     $2.37     $2.99     $12.97     $13.91
  EPS (reported)                $8.31      $9.21     $3.89     $2.73     $2.34     $2.91     $11.91       $4.66       $2.91     $2.37     $2.99     $12.97     $13.91
  Shares o/s, diluted           5,500      5,252     5,158     5,068     4,927     4,848      5,000       4,779       4,711     4,643     4,575      4,677      4,404
  % of Sales:
  Gross margin                 39.1%      38.5%     38.4%     38.3%     38.3%     38.3%      38.3%        38.4%      38.6%     38.8%     38.4%      38.5%      38.7%
  R&D                           4.7%       5.1%      3.9%      5.5%      6.9%      6.0%       5.4%         4.6%       6.4%      7.6%      6.7%       6.1%       6.4%
  SG&A                          6.6%       6.7%      4.8%      6.8%      7.7%      6.7%       6.3%         5.0%       6.7%      7.6%      6.6%       6.3%       6.2%
  Operating expenses           11.2%      11.7%      8.7%     12.3%     14.7%     12.7%      11.6%         9.6%      13.1%     15.3%     13.3%      12.4%      12.6%
  Operating margin             27.8%      26.8%     29.8%     26.0%     23.7%     25.6%      26.7%        28.9%      25.5%     23.6%     25.1%      26.1%      26.1%
  Pretax margin                28.5%      28.0%     30.6%     26.4%     24.9%     26.1%      27.4%        29.2%      25.9%     24.1%     25.6%      26.6%      26.6%
  Tax rate                     25.6%      24.6%     25.8%     14.5%     13.3%     14.0%      18.3%        16.5%      16.5%     16.5%     16.5%      16.5%      17.0%
  Net margin                   21.2%      21.1%     22.7%     22.6%     21.6%     22.5%      22.4%        24.4%      21.7%     20.1%     21.4%      22.2%      22.0%
  Y/Y % Change:
  Net sales                       -8%        6%       13%       16%       17%       20%        16%           3%         4%        2%        2%         3%         2%
  Operating income               -16%        2%       12%       13%       17%       23%        16%           0%         2%        2%        0%         1%         2%
  EPS                            -10%       11%       16%       30%       40%       41%        29%          20%         7%        1%        3%         9%         7%
  Q/Q % Change:
  Net sales                                           68%       -31%      -13%      18%                     45%        -31%      -14%      17%
  EPS                                                 88%       -30%      -14%      25%                     60%        -37%      -19%      26%

  Calendar Year                  CY16       CY17                                             CY18E                                                  CY19E
  Revenue                    $218,118   $239,176                                           $268,630                                               $273,873
  Y/Y                             -7%        10%                                                12%                                                     2%
  EPS                           $8.32      $9.70                                             $12.58                                                 $13.06
  Y/Y                            -11%        17%                                                30%                                                     4%

  Company guidance:
  Revs                                                                                                   $89-93B
  GM                                                                                                  38%-38.5%
  Opex                                                                                                  $8.7-8.8B
  Implied EPS                                                                                          $4.44-4.77


  Source: Company reports, Guggenheim Securities, LLC estimates




GUGGENHEIM SECURITIES, LLC                                                        See pages 10 - 11 for analyst certification and important disclosures. Page 5
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IT HARDWARE & MOBILITY                                                                                                   Exhibit 9
APPLE INC.                                                                                                                          November 14, 2018




  Figure 8.      Apple – Unit and ASP Model
                                                               2018                                            2019E
                          FY        FY       Q1       Q2        Q3        Q4       FY        Q1E      Q2E      Q3E      Q4E       FY        FY
                         2016      2017     Dec-17   Mar-18   Jun-18    Sep-18    2018      Dec-18   Mar-19   Jun-19   Sep-19    2019E     2020E

  Units (000)
  iPhones               211,884   216,756   77,316   52,217   41,300    46,889   217,722    74,000   48,840   39,560   44,703   207,104    203,295
  iPads                  45,590    43,753   13,170    9,113   11,553     9,699    43,535    12,803    8,578   10,722    9,650    41,753     41,019
  Macs                   18,484    19,251    5,112    4,078    3,720     5,299    18,209     5,079    3,980    3,976    5,105    18,141     18,276
  iPods                   5,613     3,610      621      350      335       335     1,642       549      350      335      335     1,569      1,569
  Watch                  10,415    14,804    7,000    4,644    4,135     4,590    20,369     8,225    5,457    4,858    5,393    23,933     27,523

  Y/Y % Change
  iPhones                   -8%        2%      -1%       3%       1%        0%        0%       -4%     -6%      -4%      -5%       -5%         -2%
  iPads                    -17%       -4%       1%       2%       1%       -6%        0%       -3%     -6%      -7%      -1%       -4%         -2%
  Macs                     -10%        4%      -5%      -3%     -13%       -2%       -5%       -1%     -2%       7%      -4%        0%          1%
  iPods                    -42%      -36%     -63%     -55%     -56%      -12%      -55%      -12%      0%       0%       0%       -4%          0%
  Watch                     70%       42%      51%      29%      40%       28%       38%       18%     18%      18%      18%       18%         15%

  Q/Q % Change
  iPhones                                      66%     -32%     -21%       14%                 58%     -34%     -19%      13%
  iPads                                        28%     -31%      27%      -16%                 32%     -33%      25%     -10%
  Macs                                         -5%     -20%      -9%       42%                 -4%     -22%       0%      28%
  iPods                                        64%     -44%      -4%        0%                 64%     -36%      -4%       0%
  Watch                                        94%     -34%     -11%       11%                 79%     -34%     -11%      11%

  % iPhone Unit Mix
   iPhone - hi end         67%       72%       63%     55%        62%     69%       62%        77%     78%      75%      85%       78%         75%
   iPhone - low end        33%       28%       37%     45%        38%     31%       38%        23%     22%      25%      15%       22%         25%

  % iPad Unit Mix
   iPad - hi end           67%       64%       64%     66%        66%     67%       66%        66%     67%      67%      67%       67%         67%
   iPad - low end          33%       36%       36%     34%        34%     33%       34%        34%     33%      33%      33%       33%         33%

  % Mac Unit Mix
   Desktops                19%       16%       16%     18%        17%     13%       16%        15%     15%      15%      12%       14%         13%
   Portables               81%       84%       84%     83%        83%     87%       84%        85%     85%      85%      88%       86%         87%
  ASP ($)
  iPhone ASP              $645      $652     $796     $728     $724      $793      $766      $812      $773    $723     $809      $785        $780
  iPad ASP                $452      $439     $445     $451     $410      $422      $432      $499      $504    $461     $472      $484        $478
  Mac ASP                $1,235    $1,343   $1,349   $1,434   $1,433    $1,399    $1,400    $1,375   $1,404   $1,388   $1,365    $1,382      $1,371
  iPod ASP                $143      $146     $200     $200     $200      $200      $200      $200      $200    $200     $200      $200        $200
  Watch ASP               $428      $422     $439     $440     $445      $462      $446      $470     $470     $470     $470      $470        $470

  Y/Y % Change
  iPhone ASP                -4%        1%      15%     11%        20%      28%      17%         2%      6%       0%       2%        3%          -1%
  iPad ASP                   7%       -3%       5%      4%        -6%     -10%      -2%        12%     12%      12%      12%       12%          -1%
  Mac ASP                    0%        9%       0%      3%        10%       5%       4%         2%     -2%      -3%      -2%       -1%          -1%
  iPod ASP                  -4%        2%      44%     43%        43%       0%      37%         0%      0%       0%       0%        0%           0%
  Watch ASP                 -3%       -1%       5%      4%         5%       8%       6%         7%      7%       6%       2%        5%           0%

  Q/Q % Change
  iPhone ASP                                   29%      -9%       -1%     10%                   2%      -5%      -7%     12%
  iPad ASP                                     -5%       1%       -9%      3%                  18%       1%      -8%      2%
  Mac ASP                                       1%       6%        0%     -2%                  -2%       2%      -1%     -2%
  iPod ASP                                      0%       0%        0%      0%                   0%       0%       0%      0%
  Watch ASP                                     3%       0%        1%      4%                   2%       0%       0%      0%

  Source: Company reports, Guggenheim Securities, LLC estimates




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IT HARDWARE & MOBILITY                                                                                                             Exhibit 9
APPLE INC.                                                                                                                                   November 14, 2018




  Figure 9.        Apple – Revenue and Margin Model
                                                                      2018                                              2019E
                               FY        FY       Q1        Q2         Q3        Q4       FY        Q1E       Q2E        Q3E      Q4E       FY        FY
                              2016      2017     Dec-17    Mar-18    Jun-18    Sep-18    2018      Dec-18    Mar-19    Jun-19    Sep-19    2019E     2020E

  Revenue ($mil)         $215,639     $229,234   $88,293   $61,137   $53,265   $62,900 $265,595    $91,328   $63,405   $54,564   $64,043 $273,339   $277,897
  iPhone                 $136,700     $141,319   $61,576   $38,032   $29,906   $37,185 $166,699    $60,083   $37,777   $28,596   $36,154 $162,610   $158,512
  iPad                    $20,628      $19,222    $5,862    $4,113    $4,741    $4,089 $18,805      $6,392    $4,321    $4,948    $4,552 $20,212     $19,605
  Mac                     $22,831      $25,850    $6,895    $5,848    $5,330    $7,411 $25,484      $6,983    $5,590    $5,521    $6,970 $25,063     $25,056
  Services                $24,348      $29,980    $8,471    $9,190    $9,548    $9,981 $37,190     $10,691   $10,905   $11,134   $11,568 $44,297     $50,949
    App Store              $7,332      $10,596    $3,193    $3,490    $3,545    $3,666 $13,894      $3,844    $4,217    $4,402    $4,492 $16,955     $20,375
    iTunes+Music           $5,274       $5,729    $1,567    $1,590    $1,664    $1,777   $6,597     $1,847    $1,865    $1,911    $1,987   $7,611     $8,526
    Licensing               2,903        3,955     1,443     1,428     1,364     1,420    5,655      1,717     1,714     1,664     1,761    6,856      7,884
    iCloud/ACare/Other      8,840        9,699     2,269     2,682     2,975     3,118   11,043      3,283     3,109     3,156     3,328   12,875     14,163
  Other Products          $11,132      $12,863    $5,489    $3,954    $3,740    $4,234 $17,417      $7,180    $4,811    $4,366    $4,799 $21,156     $23,774
    iPod                      801          527       124        70        67        67      328        110        70        67        67      314        314
    Watch                   4,456        6,250     3,076     2,045     1,839     2,122    9,082      3,867     2,566     2,284     2,536   11,253     12,941
    Accessories             5,875        6,086     2,289     1,839     1,834     2,045    8,007      3,203     2,176     2,014     2,196    9,589     10,520
  Y/Y % Change                  -8%        6%       13%       16%       17%       20%      16%         3%        4%        2%        2%       3%         2%
  iPhone                       -12%        3%       13%       14%       20%       29%      18%        -2%       -1%       -4%       -3%      -2%        -3%
  iPad                         -11%       -7%        6%        6%       -5%      -15%      -2%         9%        5%        4%       11%       7%        -3%
  Mac                          -10%       13%       -5%        0%       -5%        3%      -1%         1%       -4%        4%       -6%      -2%         0%
  Services                      22%       23%       18%       31%       31%       17%      24%        26%       19%       17%       16%      19%        15%
  Other Products                11%       16%       36%       38%       37%       31%      35%        31%       22%       17%       13%      21%        12%

  Q/Q % Change                                      68%       -31%      -13%      18%                 45%       -31%      -14%      17%
  iPhone                                           113%       -38%      -21%      24%                 62%       -37%      -24%      26%
  iPad                                              21%       -30%       15%     -14%                 56%       -32%       14%      -8%
  Mac                                               -4%       -15%       -9%      39%                 -6%       -20%       -1%      26%
  Services                                           0%         8%        4%       5%                  7%         2%        2%       4%
  Other Products                                    70%       -28%       -5%      13%                 70%       -33%       -9%      10%

  As % of Revenue
  iPhone                        63%       62%       70%       62%       56%       59%      63%        66%       60%       52%       56%      59%        57%
  iPad                          10%        8%        7%        7%        9%        7%       7%         7%        7%        9%        7%       7%         7%
  Mac                           11%       11%        8%       10%       10%       12%      10%         8%        9%       10%       11%       9%         9%
  Services                      11%       13%       10%       15%       18%       16%      14%        12%       17%       20%       18%      16%        18%
    App Store                    3%        5%        4%        6%        7%        6%       5%         4%        7%        8%        7%       6%         7%
    iTunes+Music                 2%        2%        2%        3%        3%        3%       2%         2%        3%        4%        3%       3%         3%
    Licensing                    1%        2%        2%        2%        3%        2%       2%         2%        3%        3%        3%       3%         3%
    iCloud/ACare/Other           4%        4%        3%        4%        6%        5%       4%         4%        5%        6%        5%       5%         5%
  Other Products                 5%        6%        6%        6%        7%        7%       7%         8%        8%        8%        7%       8%         9%
    iPod                         0%        0%        0%        0%        0%        0%       0%         0%        0%        0%        0%       0%         0%
    Watch                        2%        3%        3%        3%        3%        3%       3%         4%        4%        4%        4%       4%         5%
    Accessories                  3%        3%        3%        3%        3%        3%       3%         4%        3%        4%        3%       4%         4%

  Gross Margin (%)            39.1%      38.5%     38.4%     38.3%     38.3%     38.3%    38.3%      38.4%     38.6%     38.8%     38.4%    38.5%      38.7%
  iPhone                       41%        40%       39%       38%       37%       38%      38%        39%       37%       37%       37%      37%        37%
  iPad                         25%        24%       24%       24%       23%       23%      24%        23%       23%       23%       23%      23%        23%
  Mac                          21%        19%       18%       18%       17%       18%      18%        18%       18%       18%       18%      18%        18%
  Services                     62%        64%       66%       66%       66%       65%      66%        66%       67%       67%       66%      66%        67%
  Other Products               27%        26%       26%       27%       27%       27%      27%        28%       27%       27%       27%      27%        27%
  Contribution to Total GM$
  iPhone                        67%       64%       71%       61%       55%       59%      63%        66%       57%       49%       54%      58%        54%
  iPad                           6%        5%        4%        4%        5%        4%       4%         4%        4%        5%        4%       4%         4%
  Mac                            6%        6%        4%        4%        5%        6%       4%         4%        4%        5%        5%       4%         4%
  Services                      18%       22%       17%       26%       31%       27%      24%        20%       30%       35%       31%      28%        32%
  Other Products                 4%        4%        4%        4%        5%        5%       5%         6%        5%        6%        5%       6%         6%

  Source: Company reports, Guggenheim Securities, LLC estimates




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IT HARDWARE & MOBILITY                                                                                                                         Exhibit 9
APPLE INC.                                                                                                                                                   November 14, 2018




  Figure 10. Apple – Balance Sheet
                                                  2017                                             2018                                            2019E
                                  Q1         Q2         Q3            Q4          Q1          Q2         Q3            Q4          Q1E         Q2E       Q3E           Q4E
  ($ in millions)                Dec-16     Mar-17    Jun-17        Sep-17       Dec-17      Mar-18    Jun-18        Sep-18       Dec-18      Mar-19   Jun-19         Sep-19
  Assets

    Cash and equiv.              $16,371     $15,157     $18,571     $20,289     $27,491      $45,059     $31,971     $25,913     $26,418      $14,338      $9,274     $17,362
    ST mkt securities             44,081      51,944      58,188      53,892      49,662       42,881      38,999      40,388      40,388       40,388      40,388      40,388
    A/R                           14,057      11,579      12,399      17,874      23,440       14,324      14,104      23,186      21,882       13,673      14,119      23,201
    Inventory                      2,712       2,910       3,146       4,855       4,421        7,662       5,936       3,956       5,731        3,970       3,402       4,020
    Other                         26,111      20,400      20,571      31,735      38,796       20,127      24,751      37,896      37,896       37,896      37,896      37,896

  Total current assets          $103,332    $101,990    $112,875    $128,645    $143,810     $130,053    $115,761    $131,339    $132,316     $110,264    $105,079    $122,867

    PP&E, net                     26,510      27,163      29,286      33,783      33,679       35,077      38,117      41,304      41,717       42,551      43,828      45,143
    LT mkt securities            185,638     189,740     184,757     194,714     207,944      179,286     172,773     170,799     170,799      170,799     170,799     170,799
    Other                         15,661      15,639      18,255      18,177      21,361       23,086      22,546      22,283      22,951       22,951      23,181      23,876

  Total assets                  $331,141    $334,532    $345,173    $375,319    $406,794     $367,502    $349,197    $365,725    $367,783     $346,566    $342,887    $362,686

  Liab & Stockholders' Equity

    Debt                         $13,992     $13,991     $18,475     $18,473     $18,478      $20,478     $17,472     $20,748     $20,748      $20,748     $20,748     $20,748
    Accounts payable              38,510      28,573      31,915      49,049      62,985       34,311      38,489      55,888      56,679       39,261      42,048      57,148
    Accrued; defer'd revs         31,628      30,778      30,912      33,292      34,325       34,531      32,587      40,230      40,068       40,068      40,068      45,289

  Total current liabs            $84,130     $73,342     $81,302    $100,814    $115,788      $89,320     $88,548    $116,866    $117,495     $100,077    $102,865    $123,185

    LT debt                       73,557      84,531      89,864      97,207     103,922      101,362      97,128      93,735       93,735      93,735      93,735      93,735
    LT liab; defer'd revs         41,064      42,577      41,582      43,251      46,885       49,942      48,572      47,977       45,632      46,545      47,476      51,600


  Stockholders' equity           132,390     134,082     132,425     134,047     140,199      126,878     114,949     107,147     110,921      106,209      98,812      94,166


  Total liab & Stock equity     $331,141    $334,532    $345,173    $375,319    $406,794     $367,502    $349,197    $365,725    $367,783     $346,566    $342,887    $362,686


  Employees (000)                  117.2       118.3       120.7       123.0        124.2       125.5       128.0       130.5        133.2       135.8       138.5       141.3


  Financial Ratios

  Current Ratio                       1.2        1.4         1.4         1.3          1.2         1.5         1.3         1.1          1.1         1.1         1.0         1.0
  Debt/Equity                        66%        73%         82%         86%          87%         96%        100%        107%         103%        108%        116%        122%
  Debt/Total Capital                 40%        42%         45%         46%          47%         49%         50%         52%          51%         52%         54%         55%
  Book Value/Share                   $25        $25         $25         $26          $27         $25         $23         $22          $23         $23         $21         $21

  Annualized Quarter

  Rev./Employee (000)             $2,675      $1,788      $1,505      $1,710       $2,843      $1,949      $1,665      $1,927       $2,744      $1,867      $1,575      $1,813
  A/R DSO                             16          20          25          31           24          21          24          33           22          19          23          33
  Inventory Turns                     80          46          37          33           47          25          19          31           46          32          36          43
  Days Inventory                       5           8          10          11            8          14          19          11            8          11          10           8
  A/P Days                            72          80         103         135          104          82         105         130           91          91         113         130
  Cash conv cycle (days)             (51)        (52)        (69)        (94)         (73)        (46)        (63)        (85)         (61)        (60)        (80)        (89)
  ROE                                55%         33%         26%         32%          59%         41%         38%         51%          82%         51%         43%         57%
  ROIC                               32%         19%         14%         16%          30%         21%         18%         25%          39%         24%         20%         25%

  Total cash ($mil)             $246,090 $256,841 $261,516 $268,895              $285,097 $267,226 $243,743 $237,100              $237,605 $225,525 $220,461 $228,549
  Debt                          ($87,549) ($98,522) ($108,339) ($115,680)       ($122,400) ($121,840) ($114,600) ($114,483)      ($114,483) ($114,483) ($114,483) ($114,483)
  Net cash ($mil)               $158,541 $158,319 $153,177 $153,215              $162,697 $145,386 $129,143 $122,617              $123,122 $111,042 $105,978 $114,066
  per share                       $29.76    $30.09     $29.27     $29.56           $31.54     $28.68     $26.21     $25.29          $25.76     $23.57     $22.83     $24.93


  Source: Company reports, Guggenheim Securities, LLC estimates




GUGGENHEIM SECURITIES, LLC                                                           See pages 10 - 11 for analyst certification and important disclosures. Page 8
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IT HARDWARE & MOBILITY                                                                                                              Exhibit 9
APPLE INC.                                                                                                                                       November 14, 2018




  Figure 11. Apple – Cash Flow
  ($ in millions)
     Fiscal Years Ending September              2011        2012        2013        2014        2015        2016        2017        2018       2019E       2020E

  Cash flows from operating activities:
    Net income (loss)                       $25,922     $41,733     $37,037     $39,510     $53,394     $45,687     $48,351     $59,531      $60,676     $61,274
    Depreciation & amortization               1,814       3,277       6,757       7,946      11,257      10,505      10,157      10,903       11,635      12,407
    Other, deferred tax, nonrecurring         4,036       6,145       3,394       5,210       4,968       9,148      10,640     (27,694)       2,898       3,430
                                             31,772      51,155      47,188      52,666      69,619      65,340      69,148      42,740       75,209      77,111
  Working capital investment:
   (Incr) in accounts receivable                 143      (5,551)     (1,949)     (4,232)       611        1,095      (2,093)    (5,322)          (15)       (263)
   (Incr) in inventories                         275         (15)       (973)        (76)      (238)         217      (2,723)       828           (64)        (82)
   (Incr) in other assets                     (3,325)     (4,576)      1,080      (2,053)    (3,914)       1,039      (9,572)    (8,433)       (1,593)     (1,707)
   Incr in accounts payable                    2,515       4,467       2,340       5,938      5,400        1,791       9,618      9,175         1,260       1,183
   Incr in other liab/deferred revs.           6,149       5,376       5,980       7,470      9,788       (3,658)       (780)    38,446         5,784       6,902
                                               5,757        (299)      6,478       7,047     11,647          484      (5,550)    34,694         5,371       6,033

  Net cash from Operations                  $37,529     $50,856     $53,666     $59,713     $81,266     $65,824     $63,598     $77,434      $80,580     $83,144
  Free cash flow                            $33,269     $42,561     $45,501     $50,142     $70,019     $53,090     $51,147     $64,121      $65,106     $67,025

  Cash flows from investing activities:
  Capital expenditures                        (4,260)     (8,295)     (8,165)     (9,571)    (11,247)    (12,734)    (12,451)   (13,313)      (15,473)    (16,119)
  Net (purchases) of investments             (32,464)    (38,427)    (24,042)     (9,017)    (44,417)    (30,634)    (33,147)    32,363             0           0
  Acquisitions, other                         (3,695)     (1,505)     (1,567)     (3,991)       (610)     (2,609)       (848)    (2,984)            0           0
  Net cash (used in) investing activities   ($40,419)   ($48,227)   ($33,774)   ($22,579)   ($56,274)   ($45,977)   ($46,446)   $16,066      ($15,473)   ($16,119)


  Cash flows from financing activities:
  Net debt incr/(decr)                            0            0      16,896      18,266      29,305      22,057      29,014         432            0           0
  Net stock issue/(repurchase)                1,444          790     (22,711)    (44,689)    (35,460)    (30,390)    (33,592)    (74,596)     (60,000)    (60,000)
  Dividends                                       0       (2,488)    (10,564)    (11,126)    (11,561)    (12,150)    (12,769)    (13,712)     (13,657)    (12,861)
  Net cash (used in) financing activities    $1,444      ($1,698)   ($16,379)   ($37,549)   ($17,716)   ($20,483)   ($17,347)   ($87,876)    ($73,657)   ($72,861)

  Net increase (decrease) in cash            ($1,446)     $931       $3,513       ($415)     $7,276       ($636)      ($195)     $5,624      ($8,551)    ($5,835)
  Cash at beginning of period                 11,261      9,815      10,746      14,259      13,844      21,120      20,484      20,289       25,913      17,362
  Cash at end of period                       $9,815    $10,746     $14,259     $13,844     $21,120     $20,484     $20,289     $25,913      $17,362     $11,527


  Fiscal:
  Op Cash Flow/Share                           $5.72       $7.69       $8.23       $9.75     $14.03      $11.97      $12.11      $15.49       $17.23      $18.88
  FCF/Share                                    $5.07       $6.43       $6.98       $8.19     $12.09       $9.65       $9.74      $12.82       $13.92      $15.22
  Calendar Year:
  Op Cash Flow/Share                           $6.89       $8.56       $8.25     $11.85      $13.15      $12.10      $12.48      $14.55       $16.43
  FCF/Share                                    $6.23       $7.16       $7.03     $10.04      $11.10       $9.81      $10.19      $11.75       $13.02

  Source: Company reports, Guggenheim Securities, LLC estimates




GUGGENHEIM SECURITIES, LLC                                                      See pages 10 - 11 for analyst certification and important disclosures. Page 9
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IT HARDWARE & MOBILITY                                                                                                     Exhibit 9
APPLE INC.                                                                                                                             November 14, 2018

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IT HARDWARE & MOBILITY                                                                                                      Exhibit 9
APPLE INC.                                                                                                                           November 14, 2018


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GUGGENHEIM SECURITIES, LLC                                              See pages 10 - 11 for analyst certification and important disclosures. Page 11
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                                                                                                    Exhibit 9
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                                                                                                                           Exhibit 9


                                                                                                                                November 16, 2018
APPLE INC. (AAPL: $191.41 - BUY)
Important disclosures can be found in Appendix

AAPL: REDUCING IPHONE UNITS BY 10M IN FY19 – HEARING ~20M DECLINE IN XR UNITS &
10M INCREASE TO LEGACY UNITS (CLEVELAND RESEARCH)
Key Points
1. Reducing FY19 iPhone units by 10M units to 206M; hearing XR declines 20M and older units increase 10M
2. Discussions suggest net unit decline of ~4M units in the Dec Q, and taking an additional 6M units out of the remainder of FY19
3. Supplier declines viewed as more significant vs. Apple unit declines due to inventory in channel, inventory in supply chain, and
   higher mix of legacy units
4. Continue to expect growth of installed base and sales of other products/services (Airpods, Apple Watch, and services)

Read through to the Model
x iPhone 62% of rev, Services 14%, PC 9%, iPad 8% Other 6%
x Americas 39%, Europe 24%, China 24%, Japan 6%, Other APAC 7%
x Modeling 1Q19 rev of $89.2B vs cons of $92.0B; EPS $4.48 vs. cons of $4.71
x Modeling FY19 rev of $278B (+5%) vs. cons of $279B (+5%); modeling FY19 EPS of $13.13 vs. cons of $13.40

1Q19 (Dec-18) Guidance
x Revenue of $89-93B
x GM guidance of 38.0-38.5%
x Operating expenses of $8.75B
x Other income of $300M
x Implied EPS of $4.65
x Tax rate of 16.5%

Near-Term Conclusion
Service provider and supply chain discussions have provided additional clarity on recent changes to Apple iPhone forecasts. Work
suggests iPhone XR has seen significant negative revisions, partially offset by increases in older iPhone models. In aggregate we are
reducing our iPhone unit assumption by 10M for the current cycle (206M), and reducing our ASP assumption to $794. The weak XR
demand appears to be attributable to limited differentiation vs. 8/8+, and softness in the end market. Discussions suggest favorable
performance in sales of other Apple products and we continue to expect absolute growth of the installed base. We are reducing estimates
to reflect the weaker iPhone unit assumptions and we are reducing our fair value assumption to 15x FCF, or $210.

Long-Term Conclusion
The long-term story is expected to remain focused with growth of the installed base and incremental sales of additional products and
services. We also view the capital return objectives providing some stability, with the company seen repurchasing $200-$300B of stock
in the next 3-4 years as they work towards a cash neutral balance sheet (6-7% annual reduction in shares). We are reducing our estimates
and fair value assumption to reflect the iPhone unit correction - we see sales of other products/services, share repurchase, and a strong
cash flow profile supporting upside over the next 12-18 months.

       Apple Computer Inc. Earnings and Market Data Summary                    Rating: BUY                                  Price: $191.05
       EPS              CRC       Cons                    CRC      Cons
       1Q19E        $    4.48     $4.71    1Q20E      $    4.89    $5.21    Shares Outstanding   4,847.5      Div Yield             1.4%
       2Q19E        $    2.95     $3.03    2Q20E      $    3.28    $3.36    Market Cap (B)       $886         Book Value            $22
       3Q19E        $    2.59     $2.51    3Q20E      $    2.91    $2.84    52-Week High         $233         Net Cash/Share (MRQ) $25
       4Q19E        $    3.11     $3.07    4Q20E      $    3.50    $3.42    52-Week Low          $150         Revenue (T railing 4Qs) $265,595
       Sep-19E       $13.13       $13.40   Sep-20E     $14.58      $14.88   Avg. Volume (M)      31.7         5-Year Growth Rate    10%
       PE                14.5x    14.3x                    13.1x   12.8x
       PE Ex Cash        12.6x    12.4x                    11.4x   11.1x
       Price: FCF        13.8x                             12.2x




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                                                                                                                                  Apple Inc.
                                                                                                                Exhibit 9 16, 2018
                                                                                                                   November
                                                                                                                                       Page 2

Highlights
1. Reducing FY19 iPhone assumptions to reflect weaker XR demand, partially offset by stronger legacy device demand. Recent
   conversations have provided additional clarity on the iPhone volume opportunity in FY19. Supply chain feedback leaves us
   believing Apple forecasts have been revised by a net 4-5M units for the Dec-18 Q, with an additional 4-6M units of risk seen for
   the remainder of FY19. Discussions have pointed to dramatic negative revisions for XR with increases to builds of 8/8+/7/7+
   devices. We view iPhone XR builds potentially declining by 20M for the current cycle (down from prior estimate of 85M), and
   legacy devices 8/8+/7/7+ moving up by 10M units (in aggregate to ~100M). These figures suggest the mix of new: old units may
   be closer to 50:50 for the current cycle vs. legacy patterns of 60:40 (some cycles skewed even higher to new units).

     We are reducing our Dec-18 iPhone units by 4M (now 71M) and we are reducing our FY19 iPhone unit assumptions by 10M (now
     206M). The adjustments also have us reducing our iPhone ASP assumption from $800 to $794 to reflect a higher mix of legacy
     units.

         x    The negative iPhone revisions has our revenue assumption at the low-end of Apples guidance for the Dec-18 Q at ~$89B,
              +1% Y/Y (cons $92B) & our FY19 rev assumption now stands at $278B, +5% Y/Y
         x    We are reducing Dec-18 Q EPS to $4.48 (cons of $4.71) and our FY19 EPS assumption to $13.13 (cons of $13.40)

2.   Service provider discussions highlight weak sales of iPhone XR & greater than expected inventory availability. Discussions
     with service providers have suggested sell-through rates for the iPhone XR have been below expectations. Service providers had
     allocated ~50% of mix to iPhone XR for the Dec-Q, and note sell-through for the iPhone XR is trending closer to ~30% of mix. As
     a result, some services providers had indicated they are seeing elevated levels of XR inventory and plan to work through some
     inventory before re-ordering. Partners have suggested they have as much as 4 weeks of supply on hand vs. target levels of ~2
     weeks.

     Discussions are suggesting a lack of differentiation between XR and older devices (notably 8/8+) has contributed to the iPhone XR
     weakness. The iPhone 8/8+ feature prices $50-$150 less vs. XR, and the specs of the devices are viewed as comparable. This also
     appears to be driving some increases in build rates for legacy devices through the supply chain. Conversations have also suggested
     some incremental weakness of the market overall, with recent challenging unit performance for Samsung.

3.   Negative supplier revisions viewed as worse than Apple unit declines on channel inventory, and mix shift to legacy units. A
     number of Apple suppliers have negatively revised in the past week. Our discussions suggest the net decline to Apple units to be
     less dramatic than the declines associated with many of the supplier’s forecasts. The disproportionate negative impact to suppliers
     has been attributed to elevated channel and supply chain inventory, and an increase in mix to older devices. Work suggests finished
     product in carrier channels to be at ~1 month of supply vs. targets of ~2 weeks for XR. We have also seen better manufacturing
     yields for new devices allowing the supply chain to get product to market more quickly vs. prior cycles. A final factor is an increase
     in mix of older products, which featured lower content opportunities for suppliers.

     The Apple Asian supply chain data suggests partners have been producing at a rate 10-15% above year ago levels for most of 2018.
     This has been especially visible in the past several quarters as they geared up for the new iPhone refresh. iPhone unit performance
     has been flat to up 3% in the same span. Our discussions suggest the recent refresh featured a faster channel fill vs. prior cycle
     which is viewed as pulling some of the sell-in opportunity from the Dec-18 Q. The disappointing launch of the XR in the Dec-18
     Q exacerbates the issue as our work suggests the product is trending well below run rate expectations. The disappointing launch of
     XR, the elevated mix assumptions associated with XR (was expected to be as much as 50% of new units), & full channel inventory
     situation are seen as contributing to a sudden revision to builds causing the volatility in suppler forecasts.

4.   Why not downgrade the stock – view fair value of $210 vs. prior $230. We are reducing our estimates and our FCF multiple,
     resulting in a lower fair value assumption for the company. FCF is expected to see some offsets with working capital efficiencies
     (lower inventory/higher payables). Work suggests growth of the iPhone installed base, with a portion of the weak XR sales opting
     for older iPhones, and some other portion of the weakness attributable to weaker market conditions for smartphones. Discussions
     for other products (AirPods & Apple Watch) and services continues to suggest traction of these applications within the iPhone
     installed base, leaving us favorable on the long-term opportunity for the installed base traction. We also view the capital return
     opportunity as a meaningful driver, with Apple potentially repurchasing 20-30% of the shares ($200-$300B) over the next 3-4 years
     as they work towards a cash neutral balance sheet position.

     x   Not breaking new info
     x   Cash flow declines from net income, partially offset by working capital efficiencies (lower inventory)
     x   Reducing Fair value multiple to 15x FCF (prior 17x FCF) – target price $210 vs. prior $230
     x   See installed base growing; newer units down partially offset by older units up


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                                                                                                                          Apple Inc.
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            o Market appears worse overall (Samsung feedback has been weak)
   x    Apple selling more services and devices into base
            o Services growing as % of total
            o Airpods & Apple Watch discussions highlight faster growth vs. corporate average
   x    Capital return oppty – can return $200-$300B over next 3-4 years (7% of shares annually)
            o Company targeting cash neutral balance sheet; currently have net cash of $122B & generating $65-$70B of FCF
                 annually
            o The company can continue to spend $22-$25B per Q in capital return resulting in cash neutral balance sheet in ~4
                 years (repurchasing $300B+ over this span)




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                                                            Apple Asian Partner Monthly Sales (US $)
     Sales (Millions $)      2008         2009         2010       2011       2012      2013        2014    2015       2016          2017          2018
     Jan                    $ 6,475      $ 5,657     $ 9,224 $ 11,901 $ 15,655 $ 19,543 $ 18,461 $ 21,326         $    17,265   $    19,137   $    24,797
     Feb                    $ 6,376      $ 5,430     $ 8,217 $ 9,492 $ 14,370 $ 14,951 $ 15,008 $ 15,176          $    14,242   $    16,811   $    17,512
     Mar                    $ 7,903      $ 7,155     $ 10,720 $ 14,613 $ 16,589 $ 16,203 $ 17,740 $ 19,081        $    18,330   $    19,288   $    20,757
     Apr                    $ 7,782      $ 6,450     $ 10,452 $ 13,256 $ 15,127 $ 17,451 $ 17,345 $ 19,020        $    16,431   $    18,373   $    20,499
     May                    $ 7,517      $ 6,215     $ 10,660 $ 13,312 $ 14,804 $ 17,913 $ 16,364 $ 17,346        $    15,619   $    17,562   $    20,293
     Jun                    $ 7,777      $ 8,292     $ 11,942 $ 15,611 $ 15,411 $ 17,640 $ 18,580 $ 18,917        $    17,068   $    19,489   $    20,747
     Jul                    $ 8,690      $ 8,059     $ 11,223 $ 15,254 $ 15,518 $ 17,764 $ 16,560 $ 17,270        $    16,551   $    19,804   $    22,876
     Aug                    $ 8,689      $ 7,511     $ 11,274 $ 14,431 $ 14,354 $ 17,143 $ 17,184 $ 16,911        $    17,797   $    20,025   $    23,421
     Sep                    $ 9,826      $ 9,776     $ 14,231 $ 14,596 $ 15,916 $ 21,374 $ 23,494 $ 25,430        $    25,487   $    27,352   $    31,527
     Oct                    $ 10,257     $ 10,315    $ 13,840 $ 16,457 $ 17,961 $ 21,893 $ 25,613 $ 26,928        $    25,373   $    29,431   $    33,776
     Nov                    $ 8,195      $ 10,254    $ 13,925 $ 17,872 $ 20,822 $ 25,271 $ 26,428 $ 25,513        $    25,501   $    30,741
     Dec                    $ 7,360      $ 9,688     $ 14,452 $ 16,958 $ 20,828 $ 26,005 $ 26,119 $ 21,884        $    23,211   $    32,841
                                                     Apple Asian Partner Revenue Growth Y/Y (Actual Month)
     Sales Growth Y/Y          2008        2009        2010       2011       2012      2013        2014    2015       2016          2017          2018
     Jan                       30%         -13%        63%        29%        32%        25%         -6%    16%        -19%          11%           30%
     Feb                       55%         -15%        51%        16%        51%         4%          0%      1%        -6%          18%            4%
     Mar                       55%          -9%        50%        36%        14%        -2%          9%      8%        -4%           5%            8%
     Apr                       69%         -17%        62%        27%        14%        15%         -1%    10%        -14%          12%           12%
     May                       59%         -17%        72%        25%        11%        21%         -9%      6%       -10%          12%           16%
     Jun                       35%          7%         44%        31%         -1%       14%          5%      2%       -10%          14%            6%
     Jul                       53%          -7%        39%        36%         2%        14%         -7%     4%         -4%          20%           16%
     Aug                       36%         -14%        50%        28%         -1%       19%          0%     -2%         5%          13%           17%
     Sep                       37%          -1%        46%         3%         9%        34%        10%      8%          0%           7%           15%
     Oct                       36%          1%         34%        19%          9%       22%        17%       5%        -6%          16%           15%
     Nov                        1%         25%         36%        28%        17%        21%          5%     -3%         0%          21%
     Dec                       -9%         32%         49%        17%        23%        25%          0%    -16%         6%          41%
                                                        Apple Asian Partner Revenue Growth Y/Y (3MMA)
     Sales Growth 3MMA        2008         2009        2010       2011       2012      2013        2014    2015        2016         2017          2018
     Jan                      46%           -6%        37%        38%        25%        21%        14%       6%        -12%          5%           30%
     Feb                      48%          -12%        47%        32%        31%        18%          8%      5%        -15%         11%           27%
     Mar                      46%          -12%        54%        28%        29%         9%          1%      9%        -10%         11%           14%
     Y/Y of Q                 46%         -12%        54%         28%        29%        9%          1%      9%        -10%          11%           14%
     Apr                      60%          -14%        54%        27%        23%        5%           3%     6%          -8%         11%            8%
     May                      61%          -15%        61%        29%        13%        11%          0%      8%         -9%         10%           11%
     Jun                      53%           -9%        58%        28%         7%        17%         -1%     6%         -11%         13%           11%
     Y/Y of Q                 53%          -9%        58%         28%         7%       17%         -1%      6%        -11%          13%           11%
     Jul                      48%           -6%        50%        31%         4%        17%         -3%     4%          -8%         15%           12%
     Aug                      41%           -5%        44%        32%         0%        16%          0%     1%          -3%         15%           13%
     Sep                      42%           -7%        45%        21%         3%        23%          2%     4%           0%         12%           16%
     Y/Y of Q                 42%          -7%        45%         21%         3%       23%          2%      4%          0%          12%           16%
     Oct                      36%           -4%        43%        16%         6%        25%        10%      4%          -1%         12%           16%
     Nov                      24%            7%        38%        16%        12%        25%        10%       3%         -2%         15%
     Dec                       9%           17%        40%        21%        16%        23%          7%     -5%          0%         26%
     Y/Y of Q                  9%         17%         40%         21%        16%       23%          7%     -5%          0%          26%
     Source: Company Reports, Cleveland Research Estimates




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Apple (AAPL)
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                                            Sep-16    Sep-17   1Q18    2Q18    3Q18    4Q18    Sep-18E  1Q19E   2Q19E   3Q19E   4Q19E    Sep-19E   Sep-20E
Total CPU Units                               18484     19251    5,112   4,078   3,720   5,299    18209   5,458   4,421   4,200   4,956     19035     17802
Y/Y                                            -10%        4%      -5%     -3%    -13%     -2%      -5%      7%      8%     13%     -6%        5%       -6%
PC Rev                                    $ 22,831 $ 25,850 $ 6,895 $ 5,848 $ 5,330 $ 7,411 $ 25,484 $ 7,939 $ 6,752 $ 6,478 $ 7,797 $ 28,966 $ 30,476
Y/Y                                            -10%       13%      -5%      0%     -5%      3%      -1%     15%     15%     22%      5%       14%        5%
ASP                                       $   1,235 $   1,343 $ 1,349 $ 1,434 $ 1,433 $ 1,399 $   1,400   1,455   1,527   1,543   1,573 $   1,522 $   1,712
Y/Y                                              0%        9%       0%      3%     10%      5%       4%      8%      6%      8%     12%        9%       12%
% of Rev                                        11%       11%       8%     10%     10%     12%      10%      9%     10%     11%     12%       10%       11%
iPad Rev                                  $ 20,628 $ 19,222 $   5,862 $   4,113 $    4,741 $   4,089 $ 18,805 $   5,528 $   4,121 $   4,204 $   4,246 $ 18,100 $ 18,796
Y/Y                                           -11%      -7%        6%        6%        -5%      -15%      -2%       -6%        0%      -11%        4%      -4%       4%
iPad Units                                    45.6     43.8      13.2       9.1       11.6        9.7    43.5      12.6       9.0        9.0       9.0    39.6     37.0
Y/Y                                           -17%      -4%        1%        2%         1%       -6%       0%       -4%       -2%      -22%       -7%      -9%      -7%
% of Rev                                       10%       8%        7%        7%         9%        7%       7%        6%        6%        7%        7%       7%       7%
ASP                                       $    452 $    439 $     445 $     451 $      410 $     422 $    432 $     438 $     460 $     465 $     470 $    457 $    509
Y/Y                                             7%      -3%        5%        4%        -6%      -10%      -2%       -1%        2%       13%       11%       6%      11%

Services                                  $ 24,348 $ 29,980 $   8,471 $   9,190 $    9,548 $   9,981 $ 37,190 $ 10,580 $ 11,320 $ 11,773 $ 12,715 $ 46,389 $ 59,096
Y/Y                                            22%      23%       18%       31%        31%       17%      24%      25%      23%      23%      27%      25%      27%
% of Rev                                       11%      13%       10%       15%        18%       16%      14%      12%      17%      20%      20%      17%      20%

iPhone Rev                                $ 136,700 $ 141,319   $61,576  $38,032  $29,906  $37,185 $ 166,699   $58,386  $38,115  $31,793  $35,157 $ 163,451 $ 154,537
 Y/Y                                           -12%        3%      13%      14%      20%      29%        18%      -5%        0%       6%      -5%       -2%       -5%
% of Rev                                        63%       62%      70%      62%      56%      59%        63%      65%      59%      54%      54%        59%       54%
iPhone Units                                   211.9     216.8     77.3     52.2     41.3     46.9      217.7     71.3     48.5     40.2     45.9      205.8     201.3
Y/Y                                             -8%        2%       -1%      3%       1%       0%         0%      -8%       -7%      -3%      -2%       -5%       -2%
ASP                                       $     645 $     652 $    796 $    728 $    724 $    793 $      766 $    819 $    786 $    790 $    767 $      794 $     768
Y/Y                                             -4%        1%      15%      11%      20%      28%        17%       3%        8%       9%      -3%        4%       -3%
Other Products Rev                        $ 11,132 $ 12,863 $   5,489 $   3,954 $    3,740 $   4,234 $ 17,417 $   6,774 $   4,742 $   4,742 $   5,121 $ 21,380 $ 25,861
% of Rev                                        5%       6%        6%        6%         7%        7%       7%        8%        7%        8%        8%       8%       9%
Q/Q                                                              -57%      -28%        -5%        6%                60%      -30%        0%        8%
Y/Y                                           11%       16%       36%       38%        37%       31%      35%       23%       20%       27%       21%      23%      21%
 Total Revenue                            $ 215,639 $ 229,234 $ 88,293 $ 61,137 $ 53,265 $ 62,900 $ 265,595 $ 89,208 $ 65,050 $ 58,991 $ 65,037 $ 278,287 $ 288,767
 Y/Y                                            -8%        6%      13%      16%       17%       20%      16%        1%        6%       11%        3%       5%       4%
 Cost of Sales                            $ 131,376 $ 141,048 $ 54,381 $ 37,715 $ 32,844 $ 38,816 $ 163,756 $ 54,863 $ 40,006 $ 36,280 $ 39,673 $ 170,821 $ 177,251
% of Rev                                      60.9%     61.5%    61.6%    61.7%     61.7%     61.7%    61.7%     61.5%     61.5%     61.5%     61.0%    61.4%    61.4%
Y/Y                                             -6%        7%      13%      17%       18%       19%      16%        1%        6%       10%        2%       4%       4%
 Total COGS                               $ 131,376 $ 141,048 $ 54,381 $ 37,715 $ 32,844 $ 38,816 $ 163,756 $ 54,863 $ 40,006 $ 36,280 $ 39,673 $ 170,821 $ 177,251
 Gross Profit                             $ 84,263 $ 88,186 $ 33,912 $ 23,422 $ 20,421 $ 24,084 $ 101,839 $ 34,345 $ 25,044 $ 22,712 $ 25,365 $ 107,466 $ 111,517
% of Rev                                      39.1%     38.5%    38.4%    38.3%     38.3%     38.3%    38.3%     38.5%     38.5%     38.5%     39.0%    38.6%    38.6%
 R&D                                      $ 10,045 $ 11,581 $ 3,407.0 $ 3,378.0 $ 3,701.0 $ 3,750.0 $ 14,236 $ 4,014.3 $ 4,098.2 $ 4,070.4 $ 3,967.3 $ 16,150 $ 17,368
% of Rev                                       4.7%      5.1%     3.9%     5.5%      6.9%      6.0%     5.4%      4.5%      6.3%      6.9%      6.1%     5.8%     6.0%
 Sales and Marketing                      $ 14,194 $ 15,261 $ 4,231 $ 4,150 $ 4,108 $ 4,216 $ 16,705 $ 4,728 $ 4,488 $ 4,542 $ 4,748 $ 18,507 $ 19,238
% of Rev                                       6.6%      6.7%     4.8%     6.8%      7.7%      6.7%     6.3%      5.3%      6.9%      7.7%      7.3%     6.7%     6.7%
 Operating Expenses                       $ 24,239 $ 26,842 $ 7,638 $ 7,528 $ 7,809 $ 7,966 $ 30,941 $ 8,742 $ 8,587 $ 8,613 $ 8,715 $ 34,657 $ 36,606
% of Rev                                      11.2%     11.7%     8.7%    12.3%     14.7%     12.7%    11.6%      9.8%     13.2%     14.6%     13.4%    12.5%    12.7%
 Y/Y                                             8%       11%      12%      16%       16%       17%      15%       14%       14%       10%        9%      12%       6%
 Operating Income                         $ 60,024 $ 61,344 $ 26,274 $ 15,894 $ 12,612 $ 16,118 $ 70,898 $ 25,603 $ 16,458 $ 14,099 $ 16,650 $ 72,809 $ 74,911
% of Rev                                      27.8%     26.8%    29.8%    26.0%     23.7%     25.6%    26.7%     28.7%     25.3%     23.9%     25.6%    26.2%    25.9%
Incr Margin                                   62.0%      9.7%    29.3%    21.8%     23.5%     29.0%    26.3%    -73.4%     14.4%     26.0%     24.9%    15.1%    20.1%
 Interest Income                          $   1,348 $   2,745 $ 756.0 $ 274.0 $ 672.0 $ 303.0 $        2,005 $ 300.0 $ 290.0 $ 280.0 $ 270.0 $          1,140 $    880
 Income Before Tax                        $ 61,372 $ 64,089 $ 27,030 $ 16,168 $ 13,284 $ 16,421 $ 72,903 $ 25,903 $ 16,748 $ 14,379 $ 16,920 $ 73,949 $ 75,791
% of Rev                                      28.5%     28.0%    30.6%    26.4%     24.9%     26.1%    27.4%     29.0%     25.7%     24.4%     26.0%    26.6%    26.2%
 Provision for Current Taxes (Recovery)   $ 15,685 $ 15,738 $ 6,965 $ 2,346 $ 1,765 $ 2,296 $ 13,372 $ 4,274 $ 2,763 $ 2,373 $ 2,792 $ 12,202 $ 12,884
 Total Taxes                              $ 15,685 $ 15,738 $ 6,965 $ 2,346 $ 1,765 $ 2,296 $ 13,372 $ 4,274 $ 2,763 $ 2,373 $ 2,792 $ 12,202 $ 12,884
Tax Rate                                      25.6%     24.6%    25.8%    14.5%     13.3%     14.0%    18.3%     16.5%     16.5%     16.5%     16.5%    16.5%    17.0%
Net Income                            $ 45,687 $ 48,351 $ 20,065 $ 13,822 $ 11,519 $ 14,125 $ 59,531 $ 21,629 $ 13,984 $ 12,006 $ 14,128 $ 61,747 $ 62,906
% of Rev                                 21.2%    21.1%    22.7%    22.6%    21.6%    22.5%    22.4%    24.2%    21.5%    20.4%    21.7%    22.2%    21.8%
Weighted Average Shares Outstanding p      5393     5184     5158     5068     4927     4848     4848     4878     4782     4685     4588     4588     4202
End Shr Count                            5325.2   5183.6   5157.8   5068.4   4926.6   4926.6   4926.6   4830.0   4733.4   4636.8   4540.1   4540.1   4153.7
EPS                                   $   8.28 $   9.19 $   3.89 $   2.73 $   2.34 $   2.91 $  11.87 $   4.48 $   2.95 $   2.59 $   3.11 $  13.13 $  14.58




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                                                                              APPENDIX
Important Disclosures

Companies Mentioned in the Report:
Apple, Inc. (AAPL: $191.41 - BUY)




  Cleveland Research Company - Ratings Distribution
  Rating                                   Percent
  Buy                                        23%
  Neutral                                    75%
  Underperform                                2%


Disclosures
Buy: The stock’s return is expected to exceed the market due to superior fundamentals and positive catalysts.
Underperform: The stock’s total return is expected to underperform the market due to weak fundamentals and a lack of catalysts.
Neutral: The stock is expected to be in line with the market due to full valuation and/or a lack of catalysts.
Valuation and Risk: Price targets are established under various valuation methods including P/E, P/S, EV/EBITDA on financial estimates based on forward earnings.
Price targets are not established for every stock. The price target’s effectiveness may be affected by various outside factors. Risk assessments can be found in the most
recent research on these stocks.
Other Disclosures: We, Benjamin J. Bollin, Ari Terjanian, Andrew Kuch and Dylan Reider certify that the views expressed in the research report(s) accurately reflect
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HD Hon Hai shares tumble on iPhone order cut report

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Taipei, Nov. 20 (CNA) Shares of Hon Hai Precision Industry Co., a major iPhone
assembler, came under heavy pressure Tuesday morning after Apple shares plunged
overnight on a report that Apple has cut back orders for its latest iPhone models,
dealers said.Selling in Hon Hai also spread to other "Apple concept stocks" amid
worries that poor shipments of the three latest iPhones -- the iPhone XS, the
iPhone XS Max and the iPhone XR -- will affect their sales, they said.




TD

As of 12:13 p.m., shares of Hon Hai had fallen 3.13 percent to NT$71.10 (US$2.30)
with 29.63 million shares changing hands on the Taiwan Stock Exchange, where the
benchmark weighted index was down 0.89 percent at 9,740.54.



After Apple shares fell about 4 percent on Wall Street overnight, Hon Hai shares
came under immediate pressure when the market opened, and selling then escalated to
pull down not only Hon Hai but other Apple suppliers, dealers said.



"Apple is a very important client to Hon Hai," Concord Securities analyst Kerry
Huang said. "It was no surprise that the report on the order reduction for the new
iPhones prompted investors to dump the stock and other Apple suppliers in Taiwan."



The Wall Street Journal reported Monday that due to weaker than expected demand for
the three new iPhones, which were unveiled in September, Apple has cut orders to
its suppliers, in particular for the more affordable iPhone XR model, in recent
weeks.



"I think the weaker than expected demand for the new iPhones came from lower
shipments to China, dealing a big blow to Apple and its suppliers like Hon Hai,"
Huang said.

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                                                                     Exhibit 9

Among other falling Apple suppliers, smartphone camera lens maker Genius Electronic
Optical Co. had fallen 1.76 percent to NT$194.50, and printed circuit board
producer Flexium Interconnect Inc. had dropped 0.76 percent to NT$78.20.



Bucking the downturn, another smartphone camera lens supplier, Largan Precision
Co., had added 0.15 percent to NT$3,240.00 as of 12:13 p.m.



"Hon Hai could have some technical support at around NT$70.00 but if it cannot
sustain itself above that level, the stock is likely to test NT$68.1, the day's low
of Oct. 17," Huang said.



Foreign institutional investors sold a net 60.91 million Hon Hai shares in the
previous 11 trading sessions in a row after a net sell of 11.54 million on Monday.



Analysts warned the slower iPhone sales could hurt Hon Hai's gross margin over the
next few quarters.



In the third quarter, Hon Hai's gross margin was 5.87 percent, up 0.24 percentage
points from a quarter earlier, its operating margin rose by 0.81 percentage points
to 2.28 percent, and net margin also rose to 1.81 percent from 1.62 percent.



Hon Hai posted a net profit of NT$24.88 billion in the July-September period, up
42.23 percent from a quarter earlier on an increase in shipments and efforts to cut
operating costs.



It reported earnings per share of NT$1.57, compared to NT$1.01 in the second
quarter.



Hon Hai's net profit in the first nine months, however, was down 0.94 percent from
a year earlier at NT$66.45 billion. (By Chung Jung-feng and Frances Huang)
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                                   iPhone XR Cuts; India Production for the US Shipments

                                                       Apple Inc (NASDAQ: AAPL; NEGATIVE)

                  XR Price Discounted Out of the Gate

                  We believe that much of the XR unit built and shipment cuts in CQ4 is being driven by the lower than expected
                  sales in China. The disappointing XR sales so far, paints an interesting contrast with the relatively strong launch of
                  XS Max in China. This dynamic suggests that there is an accelerating share taking by the Chinese OEM, Huawei in
                  the high-end smartphone segment (Appendix 1). Specifically, the newly launched Huawei Mate 20 priced ~30%
                  cheaper than XR, directly targets high-end smartphone users globally (excluding the US due to national security
                  concerns). The Mate’s triple-lenses rear camera, 6.53” Dewdrop display, empowered with octa core Kirin 980
                  (developed by Huawei’s subsidiary HiSilicon in Shenzhen) offer a compelling value to consumers not only in China
                  but also in most of the developed markets outside of the US.

                  We are seeing retail discounts ranging from4% to 6% for iPhone XR right out of gate being offered by online third-
                  party sellers on JD and Taobao, as well as by Chinese telecom carriers. As a comparison, during the same window
                  after the launch last year, iPhone X was sold at 1-3% premium by the same group of online resellers. (Exhibit 2)

                  We estimate 13-mm and 59-mm units of total 2018 new iPhones (XS Max, XS, and XR combined) sales in CQ3 and
                  CQ4 respectively (Exhibit 1). After ~10mm unit cut in XR sales over past couple of weeks, XR is estimated to be
                  ~42% CQ4 2018/FQ2 2019 total sales. We estimate that total iPhone sales (new and old models combined) is likely
                  to be ~74 mm units, down 3% YoY.

                                                            Exhibit 1: iPhone Mix H1 FY 2019

                    Models           FQ1 2019       Mix %          Q/Q       FQ2 2019 E    Mix %       Q/Q        FH1 2019     Mix %
              iPhone X                      5.5     12%           -21%              2.0     3%        -64%               7.5    6%
              iPhone 8/8Plus               14.4     31%           -14%              7.0     9%        -51%              21.4    18%
              Older Models                 14.4     31%           -18%              7.0     9%        -51%              21.4    18%
              XS Max                        6.5     14%                            17.5     24%       169%              24.0    20%
              XS                            6.1     13%                             9.5     13%        56%              15.6    13%
              XR                            -                                      31.0     42%                         31.0    26%
              Total                        46.9     100%           23%             74.0    100%        58%             120.9   100%



                                                               Source: JL Warren Capital LLC




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                                                                                                                                                          Exhibit 9
November 20, 2018                                                                                                        Apple Inc. (NASDAQ: AAPL)


                                                          Exhibit 2: iPhone Retail Prices in China

        11/12/2018 (released on october 26)
         currency in RMB                                                                            Retail in China
         Model                                               iPhone XS Max                            iPhone XS                                     iPhone XR
         Storage                                     64G         256G        512G           64G         256G              512G           64G           128G         256G
        Apple online store retail*               ¥      9,599 ¥     10,999 ¥   12,799   ¥      8,699 ¥     10,099 ¥         11,899   ¥      6,499   ¥     6,999   ¥    7,899
        JD **                                    ¥      9,599 ¥     10,999 ¥   12,799   ¥      8,699 ¥     10,099 ¥         11,899   ¥      6,499   ¥     6,999   ¥    7,899
             Premium/(discount)                       0%           0%         0%             0%           0%               0%             0%            0%           0%
         3rd Party Sellers on JD and Taobao***   ¥      8,998 ¥     10,258 ¥   12,379   ¥      8,398 ¥       9,888 ¥        11,799   ¥      6,098   ¥     6,659   ¥    7,599
             Premium/(discount)                      -6%          -7%        -3%            -3%          -2%              -1%            -6%           -5%          -4%
         Carriers ****                           ¥      8,999 ¥     10,220 ¥   12,790   ¥      8,399 ¥       9,985 ¥        11,899   ¥      6,178   ¥     6,599   ¥    7,499
             Premium/(discount)                      -6%          -7%         0%            -3%          -1%               0%            -5%           -6%          -5%
         Suning *****                            ¥      9,599 ¥     10,999 ¥   12,799   ¥      8,699 ¥     10,099 ¥         11,899   ¥      6,499   ¥     6,999   ¥    7,899
             Premium/(discount)                       0%           0%         0%             0%           0%               0%             0%            0%           0%


        Nov 27 2017 (released on Nov 3rd)
         currency in RMB                                                                               Retail in China
         Model                                                   iPhone X                              iPhone 8 Plus                                 iPhone 8
         Storage                                     64G           256G                     64G            256G                         64G            256G
        Apple online store retail*               ¥     8,388   ¥      9,688             ¥      6,688    ¥       7,988                ¥     5,888    ¥     7,188
        JD                                       ¥     8,388   ¥      9,688             ¥      6,688    ¥       7,988                ¥     5,888    ¥     7,188
             Premium/(discount)                      0%             0%                       0%             0%                           0%             0%
         JD 3P                                   ¥     8,576   ¥      9,966             ¥      6,217    ¥       7,488                ¥     5,176    ¥     6,478
             Premium/(discount)                      2%             3%                      -7%            -6%                         -12%            -10%
         Carriers                                ¥     8,588   ¥      9,966             ¥      6,688    ¥       7,988                ¥     5,888    ¥     7,188
             Premium/(discount)                      2%             3%                       0%             0%                           0%             0%
         Suning                                  ¥     8,488   ¥      9,788             ¥      6,688    ¥       7,988                ¥     5,399    ¥     6,199
             Premium/(discount)                      1%             1%                       0%             0%                          -8%            -14%



                             Source: Apple.com/cn; JD 1P, Tmall.com, China Telecom, Suning 1P, JL Warren Capital LLC




        iPhone Production in India

        Currently all iPhones are made in China, split among Foxconn, Pegatron and Wistron. iPhone shipments to the US
        therefore are considered exports from China. As this moment, the Trump Administration has not imposed 10%
        tariff on AAPL products imported from China. However, AAPL and its suppliers believe that sooner rather than
        later, the exemption will be phased out and AAPL products, if continued to be made in China, will be subject to an
        import tariff by the US, which will result in increased costs and declining profitability to AAPL. The underlying
        assumptions are 1) the heightened tension between the US and China is the new normal, rather than temporary;
        and 2) wage inflation in China is a structural trend and will widen compared to the frontier markets in Asia,
        including India, even when components transportation and tariff are included. We estimate that 5- 10 mm iPhone
        units will be made in India in 2019 for the US shipments. The productions could go up, pace of which depends on
        the path of the US-China trade relationship. We expect units produced in India to be legacy models, rather than
        the latest generation of iPhones.




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                                                                                                                         Exhibit 9
November 20, 2018                                                                            Apple Inc. (NASDAQ: AAPL)




                          Exhibit 1: Premium Smartphone Comparisons: iPhone XS Max, XR, and Huawei Mate 20

                                        iPhone XS Max                 iPhone XR                           Huawei Mate 20




       Display                    6.5”Super Retina HD display 6.1in LCD, 1792x828, 326ppi     6.53" Dewdrop display, 18.7:9 DCI-P3 HDR
                                                                                                     display, FHD+ (2244x1080)

       Processor                          A12 Bionic                  A12 Bionic                Kirin 980, with Mali-G76 720MHz GPU



       Camera                         Duel lens; Dual OIS           12Mp, f/1.8, OIS         Leica Triple Camera: 16MP (Ultra Wide Angle
                                                                                            17mm, f/2.2), 12MP (Wide angle 27mm, f/1.8),
                                                                                                 8MP (2x Telephoto 52mm, f/2.4, OIS)
       front pixel                        7Mp, f/2.2                  7Mp, f/2.2                           24MP (f/2.0, FF)



       rear pixel                        Dual 12 MP                      12MP                12MP (wide angle), 8MP (telephoto), 16MP
                                                                                                        (ultra-wide-angle)

       OS                                   IOS 12                      IOS 12                     Android 9.0 Pie-based EMUI 9



       battery capacity                    20 hours                    25 hours                              4,000 mAH



       Price                           $1,099 for 64 GB              $749 for 64 GB                       $765.99 for 64GB
                                       $1,299 for 128GB             $799 for 128GB                       $804.99 for 128 GB
                                      $1,499 for 256 GB             $899 for 256 GB
       Retail Price in China         9,599 RMB for 64GB           6,499 RMB for 64GB                   3,999 RMB for 64 GB
                                    10,999 RMB for 128GB         6,999 RMB for 128GB                   4,499 RMB for 128GB
                                    12,799 RMB for 256 GB        7,899 RMB for 256 GB




                                                Sources: company websites, JL Warren Capital LLC




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For important information, please see the Important Disclosures beginning on page 6 of this document.
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                                                                                                                                      Exhibit 9            Apple
                                                                                                                                            Lowering Target Price




                                                         Large installed iPhone base positions Apple for steady iPhone sales
                                                         through C2020. Figure 1 on the next page provides our detailed analysis of the
                                                         installed iPhone base, annual iPhone net additions, replacement iPhone sales,
                                                         and replacement rates by different regions of the world. We estimate our 701M
                                                         iPhone installed base of new iPhone users exiting C2018 represents only 44% of
                                                         the 1.6B global premium market smartphone subscribers estimated by the end of
                                                         C2018, according to Gartner. Based on our potentially conservative replacement
                                                         rate and installed base growth assumptions, we estimate Apple could sell roughly
                                                         200M to 250M iPhone units annually based on its growing and loyal installed base
                                                         of new iPhone consumers.
                                                         While we had anticipated a stronger upgrade cycle in 2H/C’18 and 2019 from the
                                                         new XS, XS Max and XR models, we believe the installed iPhone user base
                                                         remains loyal and anticipate more stable replacements rates at lower levels going
                                                         forward to drive steady iPhone sales through C2020. Given the higher priced
                                                         iPhones, we now believe consumers are holding on to their iPhones longer.
                                                         Therefore, we have lowered our replacement rate upgrades from roughly 26% to
                                                         27% of the new iPhone user base (excludes refurbished sales) to roughly 23% of
                                                         iPhone owners who will upgrade to a new iPhone in 2018, 2019, and 2020.
                                                         While we anticipate product, introductions could generate stronger sales in one
                                                         year versus another, we believe Apple’s growing share of the high-end
                                                         smartphone market positions the company with a strong, loyal customer base that
                                                         could enable Apple to maintain the high levels of annual iPhone sales despite the
                                                         higher ASPs for the iPhone XS and XS Max. While we believe some investors will
                                                         point to management’s decision to stop disclosing iPhone, iPad, and Mac unit
                                                         sales as evidence iPhone unit sales have peaked, we maintain our belief iPhone
                                                         unit sales will post slowing growth in future years due to the law of large numbers
                                                         and strong share of the premium tier market. However, we believe Apple has a
                                                         very loyal consumer base and anticipate steadily rising iPhone sales over time
                                                         even with consumers waiting longer to upgrade iPhones. With Apple’s ability to
                                                         still generate over 200M iPhone sales per year with ASPs around $800, we
                                                         believe this will still drive a strong earnings base for Apple to monetize with
                                                         additional hardware and services sales to its loyal ecosystem of customers. With
                                                         a mature smartphone market, we believe Apple has locked up strong share of the
                                                         premium tier market and will continue to dominate high-end smartphones sales
                                                         and capture the vast majority of smartphone profits for the next several years.
                                                         While the smartphone market is slowing to low single digits annual growth,
                                                         Apple’s dominant profits of the world’s largest consumer electronics market is
                                                         likely to continue. This combined with strong cash returns and a growing share of
                                                         higher margin businesses in Services and Other Products lead us to reiterate our
                                                         BUY rating. Based on our lowered EPS estimates, we have lowered our target
                                                         price from $250 to $225.




 Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                 Connectivity Technologies 2

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                                                                                                                                                      Exhibit 9                        Apple
                                                                                                                                                                    Lowering Target Price




                                                         Figure 1: iPhone installed base, net adds, replacement sales and replacement rates by region
                                                                                              2013       2014           2015        2016       2017        2018 E       2019 E       2020 E
                                                          iPhone Sell-in unit estimates
                                                          iPhone Units (sell-in)             153.5       192.7          231.5       215.4      215.8        213.1        207.7        217.2
                                                          iPhone sell-through estimates by region (millions)
                                                          North America                       50.9       65.9           71.7        72.1       73.3         78.7         75.1         78.6
                                                          Latin America                        6.1        7.2            6.8         7.2        7.5          7.4          7.2          7.5
                                                          Europe                              31.0       35.5           38.3        41.0       45.8         43.7         39.5         41.3
                                                          Greater China                       25.6       50.1           72.4        54.2       47.9         46.1         48.7         51.0
                                                          Japan                               12.0       14.8           14.4        14.9       15.0         16.4         15.1         15.7
                                                          Rest of Asia Pacific                20.9       10.0           16.0        16.0       16.4         14.6         14.6         15.2
                                                          Middle East & Africa                 4.3        5.2            6.2         8.3        9.1          9.8          8.3          8.7
                                                          Total iPhone sell-through          150.8       188.6          225.9       213.7      214.9        216.7        208.4        218.0



                                                          iPhone Channel inventory change         2.7        4.1         4.8        0.8        -2.8         2.2          -0.3         -0.3
                                                          Total iPhone channel inventory         15.3        19.4        24.2       25.0       22.2         24.4         24.1         23.8

                                                                                                 2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                          iPhone installed base estimates (millions)
                                                          North America                           92.2         114.4       131.5       142.0      152.0        164.1        174.0        180.1
                                                          Latin America                             9.8         13.9        18.4        21.2       24.2         27.1         29.1         31.3
                                                          Europe                                  78.9          96.3       113.6       123.9      132.5        141.8        147.5        153.4
                                                          Greater China                           68.8          96.3       134.8       159.1      181.4        204.9        219.3        234.6
                                                          Japan                                   21.8          27.4        32.2        34.6       36.7         38.5         40.2         42.1
                                                          Rest of Asia Pacific                    27.7          38.8        53.8        65.6       75.7         87.1         95.8        104.4
                                                          Middle East & Africa                    10.1          15.0        21.4        27.7       32.7         37.6         41.4         45.5
                                                          Total                               309.3         402.1       505.7       574.1      635.1        701.2        747.2        791.3

                                                          iPhone installed base Y/Y growth
                                                          North America                             33%         24%        15%          8%         7%           8%          6%           4%
                                                          Latin America                             70%         42%        32%         16%        14%          12%          8%           8%
                                                          Europe                                    42%         22%        18%          9%         7%           7%          4%           4%
                                                          Greater China                            100%         40%        40%         18%        14%          13%          7%           7%
                                                          Japan                                     57%         26%        17%          8%         6%           5%          5%           5%
                                                          Rest of Asia Pacific                      39%         40%        39%         22%        15%          15%         10%           9%
                                                          Middle East & Africa                      85%         48%        43%         29%        18%          15%         10%          10%
                                                          YoY % change                           51%         30%        26%         14%        11%          10%          7%           6%

                                                                                                 2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                                  iPhone net adds & replacement sales estimates (in millions):
                                                         North America - net adds                         22.9      22.2      17.2      10.5         9.9         12.2          9.8          6.1
                                                         North America - annual replacement sales         28.0      43.7      53.2      57.9        55.4         45.6         49.2         52.2
                                                         Latin America - net adds                          4.0       4.1       4.4       2.8         3.0          2.9          2.0          2.2
                                                         Latin America -annual replacement sales           2.0       3.0       4.0       4.9         4.5          4.8          5.4          5.8
                                                         Europe - net adds                                23.4      17.4      17.3      10.2         8.7          9.3          5.7          5.9
                                                         Europe - annual replacement sales                 7.6      18.1      22.2      25.0        26.0         25.2         28.4         29.5
                                                         Japan - net adds                                  7.9       5.7       4.8       2.4         2.1          1.8          1.7          1.8
                                                         Japan - annual replacement sales                  4.1       9.1       9.6      11.3        10.4          9.9          9.6         10.1
                                                         Asia Pacific - net adds                          42.1      38.6      53.5      36.1        32.4         34.9         23.1         24.0
                                                         Asia Pacific - annual replacement sales           4.4      24.3      36.5      43.4        56.2         59.1         67.2         72.5
                                                         Middle East & Africa - net adds                   4.7       4.9       6.4       6.3         5.0          4.9          3.8          4.1
                                                         Middle East & Africa - annual replacement s      -0.3       0.3       0.8       1.1         1.5          1.3          1.9          2.1
                                                         Total iPhone Net adds                       104.9      92.8     103.6      68.4        61.0         66.0         46.1         44.1
                                                         Total iPhone annual replacement             45.9       98.6     126.2     143.4       153.9        146.0        161.7        172.1
                                                         Total iPhone annual unit sell-thro 150.8              191.4     229.8     211.9       214.9        212.0        207.8        216.2
                                                         Change in inventory                          2.7       1.3       1.7       3.5         0.8          1.1          -0.1         1.0
                                                         Total iPhone unit sales                     153.5     192.7     231.5     215.4       215.8        213.1        207.7        217.2

                                                                                                 2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                          Replacement rate (%)
                                                         North America                               40%         47%        47%         44%        39%          30%          30%          30%
                                                         Latin America                               35%         31%        29%         27%        21%          20%          20%          20%
                                                         Europe                                      14%         23%        23%         22%        21%          19%          20%          20%
                                                         Japan                                       30%         42%        35%         35%        30%          27%          25%          25%
                                                         Asia Pacific                                 8%         25%        27%         23%        25%          23%          23%          23%
                                                         Middle East & Africa                        -6%          3%         6%          5%         5%           4%           5%           5%
                                                          Global iPhone replacement rate           22.4%      31.9%       31.4%      28.4%      26.8%        23.0%        23.1%        23.0%
                                                         Source: Company reports, Canaccord Genuity estimates




 Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                                     Connectivity Technologies 3

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                                                                                                                                                                                                                                                                           Lowering Target Price




             Figure 2: Apple Income Statement
                                                                                                                                                  Apple Inc. - AAPL
                                                                                                                                         Consolidated Income Statement
                                                                                                                                    (in millions, except per share information)

                  Period                                 Q1-18 A      Q2-18 A     Q3-18 A     Q4-18 A   Q1-19 E    Q2-19 E   Q3-19 E   Q4-19 E   Q1-20 E    Q2-20 E                Q3-20 E     Q4-20 E   Q1-21 E      FY-18 A      FY-19 E       FY-20 E           CY-18 E    CY-19 E    CY-20 E
                  Date                                  12/31/2017   3/31/2018   6/30/2018   9/30/2018 12/31/2018 3/31/2019 6/30/2019 9/30/2019 12/31/2019 3/31/2020              6/30/2020   9/30/2020 12/31/2020   9/30/2018    9/30/2019     9/30/2020         12/31/2018 12/31/2019 12/31/2020
              Notes to Income Statement
               Net Sales                                   88,293      61,137      53,265      62,900       91,238     65,937      56,190     61,899       94,362      67,469       60,889      66,068     98,390      265,595      275,265       288,788           268,540      278,389      292,816
                  Cost of Sales                            54,381      37,715      32,844      38,816       56,385     40,754      34,266     37,713       57,750      41,520       37,127      40,273     60,152      163,756      169,119       176,671           165,760      170,484      179,073
               Gross Profit                                33,912      23,422      20,421      24,084       34,853     25,183      21,924     24,186       36,612      25,948       23,762      25,795     38,238      101,839      106,146       112,117           102,780      107,905      113,743
                  Research & Development                    3,407       3,378       3,701       3,750        3,900      3,978       4,058      4,139        4,221       4,348        4,435       4,524      4,614       14,236       16,074        17,529            14,729       16,396       17,921
                  Selling, General and Administrative       4,231       4,150       4,108       4,216        4,848      4,315       4,315      4,445        4,800       4,416        4,769       5,151      5,563       16,705       17,923        19,136            17,322       17,875       19,899
                  Operating Expenses                        7,638       7,528       7,809       7,966        8,748      8,293       8,373      8,583        9,022       8,764        9,204       9,675     10,177       30,941       33,997        36,665            32,051       34,271       37,821
               Operating Income                            26,274      15,894      12,612      16,118       26,105     16,890      13,552     15,603       27,590      17,184       14,558      16,120     28,060       70,898       72,149        75,452            70,728       73,635       75,922
                  Other income and expense                    756         274         672         303          300        300         300        300          300         300          300         300        300        2,005        1,200         1,200             1,549        1,200        1,200
               Pre-tax Income                              27,030      16,168      13,284      16,421       26,405     17,190      13,852     15,903       27,890      17,484       14,858      16,420     28,360       72,903       73,349        76,652            68,423       74,835       77,122
                  Provision for income taxes                6,965       2,346       1,765       2,296        4,357      2,578       2,078      2,385        4,184       2,623        2,229       2,463      4,254       13,372       11,398        11,498            10,764       11,225       11,568
               Net Income                                  20,065      13,822      11,519      14,125       22,048     14,611      11,774     13,517       23,707      14,861       12,629      13,957     24,106       59,531       61,950        65,155            61,514       63,609       65,554
               GAAP EPS                                      3.89        2.73        2.34        2.91         4.62       3.11        2.55       2.97         5.27        3.34         2.87        3.21       5.61        11.87        13.25         14.69             12.60        13.90        15.03

                  Basic                                     5,113        5,025       4,882      4,802        4,727      4,652       4,577       4,502       4,452       4,402        4,352       4,302       4,252        4,955        4,614         4,377             4,859        4,545       4,327
                  Fully Diluted Shares                      5,158        5,068       4,927      4,848        4,773      4,698       4,623       4,548       4,498       4,448        4,398       4,348       4,298        5,000        4,660         4,423             4,904        4,591       4,373

              Costs as % Revenue:
                  Cost of Sales                              61.6         61.7        61.7       61.7         61.8       61.8        61.0        60.9        61.2        61.5          61.0       61.0        61.1         61.7         61.4          61.2              61.7         61.2           61.2
                  Gross Profit                               38.4         38.3        38.3       38.3         38.2       38.2        39.0        39.1        38.8        38.5          39.0       39.0        38.9         38.3         38.6          38.8              38.3         38.8           38.8
                  Research & Development                      3.9          5.5         6.9        6.0          4.3        6.0         7.2         6.7         4.5         6.4           7.3        6.8         4.7          5.4          5.8           6.1               5.5          5.9            6.1
                  Selling, General and Administrative         4.8          6.8         7.7        6.7          5.3        6.5         7.7         7.2         5.1         6.5           7.8        7.8         5.7          6.3          6.5           6.6               6.5          6.4            6.8
                  Pro-forma operating margin                 29.8         26.0        23.7       25.6         28.6       25.6        24.1        25.2        29.2        25.5          23.9       24.4        28.5         26.7         26.2          26.1              26.3         26.5           25.9
                  Provision for income taxes                  7.9          3.8         3.3        3.7          4.8        3.9         3.7         3.9         4.4         3.9           3.7        3.7         4.3          5.0          4.1           4.0               4.0          4.0            4.0
                  Tax Rate                                   25.8         14.5        13.3       14.0         16.5       15.0        15.0        15.0        15.0        15.0          15.0       15.0        15.0         18.3         15.5          15.0              15.7         15.0           15.0
                  Net Income                                 22.7         22.6        21.6       22.5         24.2       22.2        21.0        21.8        25.1        22.0          20.7       21.1        24.5         22.4         22.5          22.6              22.9         22.8           22.4
              Quarter/Quarter % change:
                  Sales                                     67.9%       -30.8%      -12.9%      18.1%        45.1%     -27.7%      -14.8%       10.2%       52.4%      -28.5%         -9.8%       8.5%       48.9%
                  Operating Income                          94.2%       -40.2%      -17.8%      23.6%        60.8%     -34.9%      -19.4%       14.8%       75.4%      -37.3%        -15.0%      10.5%       72.7%
              Year/Year % change:
                  Sales                                     12.7%        15.6%       17.3%      19.6%         3.3%       7.9%        5.5%       -1.6%        3.4%        2.3%          8.4%       6.7%        4.3%        15.9%         3.6%          4.9%             12.3%         3.7%           5.2%
                  Pro-forma Operating Income                12.5%        12.7%       17.1%      22.9%        -0.6%       6.3%        7.4%       -3.2%        5.7%        1.7%          7.4%       3.3%        1.7%        15.6%         1.8%          4.6%             10.1%         4.1%           3.1%
                  Pro-forma Net Income                      12.2%        25.3%       32.1%      31.8%         9.9%       5.7%        2.2%       -4.3%        7.5%        1.7%          7.3%       3.3%        1.7%        23.1%         4.1%          5.2%             21.7%         3.4%           3.1%


              For important information, please visit Canaccord Genuity's Online Disclosure Database: http://www.canaccordgenuity.com/en/ODD/pages/disclosures.aspx                                                                                              T. Michael Walkley
                                                                                                                                                                                                                                                                 Canaccord Genuity
                                                                                                                                                                                                                                                                 612.332.8069
              Source: Company reports and Canaccord Genuity estimates                                                                                                                                                                                            Updated:       November 28, 2018

             Source: Company reports, Canaccord Genuity estimates. A more detailed financial model, including balance sheet, income statement, and cash flow projections, if available, may be obtained by contacting your Canaccord Genuity Sales Person or the Authoring Analyst, whose contact
             information appears on the front page of this report.
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                                                                                                                                                                                                                                                                                                                                           Lowering Target Price




             Figure 3: Apple sales by product category
                                                                                      Apple Quarterly Sales by Product Category                                                                                                                                                        Annual Sales By Product
                                                                                                   (in million USD)                                                                                                                                                                       (in million USD)
                                                                             FY2018 A                                                        FY2019 E                                 FY2020 E                                                         FY2021E        FY18A         FY19E         FY20E         CY18E         CY19E        CY20E
                                                       12/31/2017     3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019       9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020      9/30/2018     9/30/2019     9/30/2020     12/31/2018 12/31/2019 12/31/2020
                                                       Q1-18 A        Q2-18 A         Q3-18 A         Q4-18 E         Q1-19 E         Q2-19 E         Q3-19 E         Q4-19 E         Q1-20 E         Q2-20 E         Q3-20 E         Q4-20 E         Q1-21 E         FY18A         FY19E         FY20E         CY18E         CY19E        CY20E
               iPhone Units                               77.32          52.22           41.30           46.89           72.68           49.78           39.33           44.25           74.33           49.80           43.33           48.09           75.99            217.72        206.04        215.56        213.08       207.69       217.22
               iPhone ASP (adjusting for deferral)           $803           $728            $718            $790            $845            $803            $779            $763            $824            $783            $760            $744            $834           $746          $785          $764          $760         $778        $768
                iPhone ASP reported                          $796           $728            $724            $793            $840            $805            $786            $767            $819            $784            $764            $746            $828           $766          $806         $784 #         $780         $798        $787
                  Current Quarter iPhone Revenue          $60,504        $36,954         $28,825         $36,102         $59,977         $38,980         $29,847         $32,889         $59,792         $38,008         $32,049         $34,844         $61,842       $162,386      $161,694      $164,693       $161,859     $161,509    $166,742
                  Prior Period iPhone Deferred Revenu      $1,072         $1,078          $1,081          $1,083          $1,086          $1,072          $1,070          $1,065          $1,059          $1,052          $1,046          $1,051          $1,054          $4,313        $4,294        $4,208        $4,327       $4,267      $4,203
               Total iPhone Reported Revenue              $61,576        $38,032         $29,906         $37,185         $61,064         $40,053         $30,917         $33,954         $60,852         $39,060         $33,095         $35,895         $62,896       $166,699      $165,987      $168,901       $166,187     $165,775    $170,945
                  Q/Q Growth                              113%           -38%            -21%            24%             64%             -34%            -23%            10%             79%             -36%            -15%             8%             75%
                  Y/Y Growth                              13%            14%             20%             29%             -1%              5%              3%              -9%             0%              -2%             7%              6%              3%                  18%           0%            2%            12%           0%           3%
                  %age of Apple Revenue                   70%            62%             56%             59%             67%             61%             55%             55%             64%             58%             54%             54%             64%                  63%           60%           58%           62%        60%          58%


               iPad Units                                    13.17             9.11         11.55              9.70         13.09              8.77            9.04            9.40         14.10              9.44            9.73            9.73         14.59          43.54         40.30         43.00         43.46        41.30        43.49
               iPad ASP                                      $445           $451            $410            $422            $434            $413            $413            $413            $413            $392            $392            $392            $392        $431.95       $421.08       $398.25        $427.65      $413.29     $391.24
                  Current Quarter iPad Revenue             $5,599         $3,931          $4,510          $3,895          $5,424          $3,444          $3,547          $3,689          $5,533          $3,512          $3,618          $3,618          $5,427        $17,934       $16,103       $16,281        $17,760      $16,212     $16,174
                  Prior Period iPad Deferred Revenue         $223           $216            $213            $217            $218            $218            $218            $212            $210            $212            $213            $208            $208           $870          $866          $842          $864         $858        $841
               Total iPad Reported Revenue                 $5,862         $4,113          $4,741          $4,089          $5,642          $3,662          $3,765          $3,901          $5,743          $3,724          $3,830          $3,826          $5,635        $18,805       $16,969       $17,123        $18,585      $17,070     $17,015
                  Q/Q Growth                              21%            -30%            15%             -14%            38%             -35%             3%              4%             47%             -35%             3%              0%             47%
                  Y/Y Growth                               6%             6%              -5%            -15%            -4%             -11%            -21%             -5%             2%              2%              2%              -2%            -2%                  -2%         -10%            1%            -5%         -8%            0%
                  %age of Apple Revenue                    7%             7%              9%              7%              6%              6%              7%              6%              6%              6%              6%              6%              6%                   7%           6%            6%             7%           6%           6%

               Mac Units                                  5.11           4.08            3.72            5.30            5.30            4.56            4.33            5.20            5.25            4.41            4.19            5.02            5.07              18.21         19.38         18.87         18.40        19.33        18.69
               Mac ASP                                     $1,349         $1,434          $1,433          $1,399          $1,357          $1,357          $1,316          $1,408          $1,366          $1,400          $1,358          $1,453          $1,409          $1,371        $1,361        $1,395        $1,406       $1,362      $1,405
                  Current Quarter Mac Revenue           $6,690.52         $5,685          $5,181          $7,411          $7,189          $6,182          $5,697          $7,315          $7,166          $6,171          $5,686          $7,301          $7,153        $24,968       $26,383       $26,324        $25,466      $26,360     $26,311
                  Prior Period Mac Deferred Revenue          $158           $194            $194            $192            $191            $191            $191            $190            $188            $188            $189            $189            $189           $738          $762          $754          $771         $759        $755
               Total Mac Reported Revenue                  $6,895         $5,848          $5,330          $7,411          $7,380          $6,373          $5,888          $7,504          $7,355          $6,359          $5,875          $7,490          $7,342        $25,484       $27,145       $27,079        $25,969      $27,120     $27,066
                  Q/Q Growth                              -4%            -15%             -9%            39%              0%             -14%             -8%            27%             -2%             -14%             -8%            27%             -2%
                  Y/Y Growth                              -5%             0%              -5%             3%              7%              9%             10%              1%              0%              0%              0%              0%              0%                  -1%           7%            0%            2%            4%           0%
                  %age of Apple Revenue                    8%            10%             10%             12%              8%             10%             10%             12%              8%              9%             10%             11%              7%                  10%           10%           9%            10%        10%             9%

               iPod Revenue                                     $42              $5              $5              $4              $3              $2              $0              $0              $0              $0              $0              $0              $0           $56           $5            $0            $17           $2           $0

               Apple watch units                          8.00           5.50            5.64            5.70            9.69            7.27            7.49            7.78            13.23           9.26            9.54            9.92            16.87             24.84         32.23         41.96         26.53        35.77        45.60
               Apple watch ASPs                              $444           $435            $427            $450            $461            $438            $405            $405            $415            $395            $365            $365            $374           $419          $410          $368          $426         $396        $354
                  Current Quarter Watch Revenue            $3,391         $2,282          $2,293          $2,451          $4,276          $3,039          $2,884          $3,000          $5,234          $3,471          $3,293          $3,424          $5,976        $10,416       $13,199       $15,422        $11,302      $14,157     $16,164
                  Prior Period Watch Deferred Revenu            $61            $69             $79             $89             $99          $112            $123            $133            $143            $156            $165            $175            $185           $298          $467          $638          $335         $511        $555
               Total Watch Reported Revenue                $3,452         $2,351          $2,371          $2,540          $4,375          $3,151          $3,007          $3,133          $5,376          $3,627          $3,458          $3,599          $6,161        $10,714       $13,666       $16,060        $11,637      $14,668     $16,845
                  Q/Q Growth                              111%           -32%             1%              7%             72%             -28%             -5%             4%             72%             -33%             -5%             4%             71%
                  Y/Y Growth                              77%            76%             86%             55%             27%             34%             27%             23%             23%             15%             15%             15%             15%                  73%           28%           18%           51%        26%          15%
                  %age of Apple Revenue                    4%             4%              4%              4%              5%              5%              5%              5%              6%              5%              6%              5%              6%                   4%           5%            6%             4%           5%           6%

               Accessories                                 $1,995         $1,597          $1,364          $1,690          $2,195          $1,693          $1,446          $1,791          $2,261          $1,795          $1,533          $1,899          $2,329          $6,647        $7,125        $7,487        $6,846       $7,191      $7,555

               Total Other Products                        $5,489         $3,954          $3,740          $4,234          $6,573          $4,847          $4,453          $4,925          $7,637          $5,422          $4,990          $5,498          $8,490        $17,417       $20,797       $23,548        $18,501      $21,862     $24,400

               Services                                    $8,471         $9,190          $9,548          $9,981         $10,580         $11,003         $11,168         $11,615         $12,776         $12,904         $13,098         $13,360         $14,028        $37,190       $44,366       $52,138        $39,299      $46,562     $53,389

               Deferred Revenue                            $1,519         $1,562          $1,571          $1,584          $1,598          $1,596          $1,601          $1,600          $1,600          $1,608          $1,613          $1,623          $1,637          $6,237        $6,395        $6,444        $6,315       $6,397      $6,481

               Total Apple Revenue                        $88,293        $61,137         $53,265         $62,900         $91,238         $65,937         $56,190         $61,899         $94,362         $67,469         $60,889         $66,068         $98,390       $265,595      $275,265      $288,788       $268,540     $278,389    $292,816

             Source: Company reports, Canaccord Genuity estimates
                                                                                                                                                                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 458 of 607

                                                                                                                                                                                                                                                                                                                                                            Exhibit 9




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           Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                                                                                                                                                                                                 Connectivity Technologies 5
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                                                                                                                                      Exhibit 9            Apple
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 Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                                                              Connectivity Technologies 7

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                                                                                                                                      Exhibit 9            Apple
                                                                                                                                            Lowering Target Price


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  Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                Connectivity Technologies 8

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                                                                                                                                      Exhibit 9            Apple
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  Buy unchanged Target Price US$225.00 from US$250.00 | 28 November 2018                                                                Connectivity Technologies 9

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                                                                                                                          Exhibit 9
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           CRUS (PERFORM) - NA                                                                                                                                                                                                         Cirrus Logic




           Oppenheimer Analog Mixed Signal Semiconductor Research
           Rick Schafer (720) 554-1119 - Managing Director
           Wei Mok (212) 667-8387 - Associate

                                                              Price        Price      Mkt          Total     Net        Ent.     Net Cash       EV       Cash Flow     Book      Tang. Book   Avg Day    Short         SI to   Days to      Div
           Rating         Ticker           Nam e             12/3/2018     Target     Cap          Cash     Cash       Value     Per Share   Per Share   Per Share   Per Share   Per Share    Vol (M)    Int (M)       Float   Cover       Yield
           Outperform    ADI       Analog Devices             $93.51        $100    $35,077        $817     -$5,449   $40,526     -$14.53     $108.04      $6.59       $29.29     -$16.33         2.9     12.0         3%       3.4x       2.1%
           Perform       CRUS      Cirrus Logic               $38.67        NA       $2,414        $396      $396      $2,018      $6.34      $32.33       $5.11       $18.31      $12.32         1.1      5.6         9%       5.8x       0.0%
           Not Covered   MXL       MaxLinear                  $20.76        NA       $1,431         $68     -$203      $1,634      -$2.94     $23.70       $1.47       $5.69       $2.24          0.7      9.3         15%      13.6x      0.0%
           Perform       MXIM      Maxim                      $57.09        NA      $16,125        $2,563   $1,072    $15,053      $3.80      $53.29       $2.88       $6.77       $4.89          2.8      9.2         3%       2.4x       3.3%
           Outperform    MPWR      Monolithic Pow er         $134.73        $150     $6,018        $348      $348      $5,670      $7.79      $126.94      $3.50       $13.74      $13.60         0.4      2.0         5%       4.1x       0.9%
           Perform       NXPI      NXP Semiconductors         $85.67        NA      $27,866        $1,944   -$4,412   $32,278     -$13.56     $99.23      $12.94       $33.22      -$8.68         6.1     14.2         4%       2.3x       1.2%
           Not Covered   POWI      Pow er Integrations        $64.43        NA       $1,890        $248      $248      $1,641      $8.47      $55.96       $3.14       $18.11      $14.98         0.2      1.6         6%       6.1x       1.0%
           Not Covered   SLAB      Silicon Laboratories       $90.80        NA       $3,918        $602      $544      $3,374     $12.61      $78.19       $4.49       $24.28      $15.09         0.3      1.3         3%       4.4x       0.0%
           Outperform    SMTC      Semtech                    $52.14        $60      $3,582        $312      $96       $3,486      $1.40      $50.74       $2.64       $10.08      $4.91          0.6      1.1         2%       2.1x       0.0%
           Outperform    TXN       Texas Instruments         $101.17        $120    $100,057 $5,113          $46      $100,011     $0.05      $101.12      $7.13       $10.63      $6.22          5.8     17.5         2%       2.3x       3.1%



                                                                  CY EPS                     P/E              P/E (Ex-Cash)        FCF         Price/      Price/      Price/          CY Sales                  P/S              EV/Sales
           Rating         Ticker           Nam e               18E          19E       18E           19E      18E        19E        Yield       Cash        Book      Tang.Book      18E           19E     18E          19E      18E        19E
           Outperform    ADI       Analog Devices              $6.22       $5.86     15.0x         15.9x    17.4x      18.4x       7.1%         NM         3.2x         NM         $6,192     $6,300      5.7x         5.6x     6.5x       6.4x
           Perform       CRUS      Cirrus Logic                $2.65       $2.42     14.6x         16.0x    12.2x      13.4x       13.2%       6.1x        2.1x         3.1x       $1,244     $1,150      1.9x         2.1x     1.6x       1.8x
           Not Covered   MXL       MaxLinear                   $1.08       $1.20     19.2x         17.3x    21.9x      19.8x       7.1%         NM         3.6x         9.3x        $384          $393    3.7x         3.6x     4.2x       4.2x
           Perform       MXIM      Maxim                       $3.09       $2.83     18.5x         20.2x    17.3x      18.8x       5.0%        15.0x       8.4x        11.7x       $2,435     $2,585      6.6x         6.2x     6.2x       5.8x
           Outperform    MPWR      Monolithic Pow er           $3.74       $4.51      NM           29.9x    34.0x      28.1x       2.6%        17.3x       9.8x         9.9x        $583          $678   10.3x         8.9x     9.7x       8.4x
           Perform       NXPI      NXP Semiconductors          $7.08       $8.35     12.1x         10.3x    14.0x      11.9x       15.1%        NM         2.6x         NM         $9,394     $9,525      3.0x         2.9x     3.4x       3.4x
           Not Covered   POWI      Pow er Integrations         $2.66       $2.66     24.2x         24.2x    21.0x      21.0x       4.9%        7.6x        3.6x         4.3x        $420          $441    4.5x         4.3x     3.9x       3.7x
           Not Covered   SLAB      Silicon Laboratories        $3.74       $3.91     24.3x         23.2x    20.9x      20.0x       4.9%        7.2x        3.7x         6.0x        $877          $877    4.5x         4.5x     3.8x       3.8x
           Outperform    SMTC      Semtech                     $2.18       $2.34     23.9x         22.3x    23.3x      21.7x       5.1%        37.3x       5.2x        10.6x        $649          $685    5.5x         5.2x     5.4x       5.1x
           Outperform    TXN       Texas Instruments           $5.57       $5.44     18.2x         18.6x    18.2x      18.6x       7.0%         NM         9.5x        16.3x      $15,817     $15,400     6.3x         6.5x     6.3x       6.5x
           AVERAGE                                                                   18.9x         19.8x    20.0x      19.2x       7.2%        15.1x       5.2x         8.9x       $3,800     $3,803      5.2x         5.0x     5.1x       4.9x
           MEDIAN                                                                    18.5x         19.4x    19.5x      19.3x       6.1%        11.3x       3.7x         9.6x       $1,060     $1,013      5.0x         4.8x     5.1x       4.9x

           Estimates for "Not Covered" and "Not Rated" Companies come from First Call and FactSet.

           Source: FactSet, Company Reports and Oppenheimer & Co. Inc.
                                                                                                                                                                                                                                                               Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 465 of 607

                                                                                                                                                                                                                                                   Exhibit 9




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               Cirrus Logic                                                                                                                                                                                                CRUS (PERFORM) - NA




               Cirrus Logic                           F1Q17    F2Q17    F3Q17    F4Q17               F1Q17     F2Q17    F3Q17    F4Q17               F1Q17    F2Q17    F3Q17    F4Q17
               Oppenheimer & Co.

               $ Millions Except per Share Data
               Income Statement                                    F2018                   F2018                  F2019E                  F2019E                 F2020E                 F2020E F2021E      CY       CY         CY       CY
               FY Ends March                           Jun      Sep     Dec       Mar                 Jun       Sep    Dec       Mar                 Jun      Sep     Dec       Mar
               From Continuing Operations              Q1       Q2       Q3       Q4       Year       Q1        Q2     Q3-E      Q4-E      Year      Q1-E     Q2-E    Q3-E      Q4-E     Year     Year     2017    2018E      2019E    2020E

               Net Sales                              $320.7   $425.5   $482.7   $303.2   $1,532.2   $254.5    $366.3   $320.0   $250.0   $1,190.8   $240.0   $320.0   $340.0   $260.0 $1,160.0 $1,185.0 $1,556.9 $1,244.0 $1,150.0 $1,180.0
                  QoQ Chg                              -2%      33%      13%      -37%                -16%       44%     -13%     -22%                -4%      33%      6%      -24%
                  YoY Chg                              24%      -1%      -8%       -8%      0%        -21%      -14%     -34%     -18%    -22.3%      -6%     -13%      6%       4%     -2.6%    2.2%      8%      -20%      -8%      3%

               COGS                                   158.7    213.9    247.3    150.1     770.0     129.7     181.0    160.0    125.9     596.6     120.6    161.1    172.3    130.8   584.8    597.4    783.1    620.9      579.9    594.9
               Gross Profit                           162.1    211.6    235.5    153.1     762.2     124.8     185.3    160.0    124.1     594.2     119.4    158.9    167.7    129.2   575.2    587.6    773.8    623.1      570.1    585.1

               Operating Expenses
               R&D                                     65.7     72.7    78.4     75.4      292.2     77.4      76.7     76.0      73.0     303.1      73.5     74.5     75.0     74.0   297.0    301.0    280.5    305.5      296.0    299.0
               SG&A                                    26.1     24.1    29.5     31.0      110.7     27.4      27.0     26.0      26.0     106.5      25.0     25.5     26.0     26.0   102.5    102.5    106.8    111.5      102.5    102.0
               Total Operating Expenses                95.8     96.8    107.9    106.8     407.3     104.9     103.7    102.0     99.0     409.6      98.5    100.0    101.0    100.0   399.5    403.5    391.4    417.3      398.5    401.0

               Operating Income (Loss)                 66.3    114.8     127.6    46.3     355.0      19.9      81.6     58.0     25.1     184.6      20.9     58.9     66.7     29.2    175.7    184.1    382.4    205.8      171.6    184.1
               Interest Income (Expense), Net           0.6     -0.4      1.2      1.2      2.6        1.7       1.1      1.5      1.5      5.8       1.5      1.5      1.5      1.5      6.0      6.0      1.6      5.5        6.0      6.0
               Income Before Taxes                     66.8    114.4     128.8    47.5     357.6      21.6      82.7     59.5     26.6     190.4      22.4     60.4     68.2     30.7    181.7    190.1    384.0    211.3      177.6    190.1
               Provision (Benefit) for Income Taxes    12.2     24.5     24.7     14.5      75.9       3.7      15.6     10.1      4.5      33.9      3.6      9.7      10.9     4.9      29.1     30.4    78.5     43.9       28.7     30.4
               Net Income                             $54.6    $90.0    $104.2   $33.0    $281.8     $17.9     $67.1    $49.4    $22.1    $156.5     $18.8    $50.7    $57.3    $25.8   $152.6   $159.7   $305.5   $167.4     $148.9   $159.7

               Avg. Shares Outstanding
                   Fully Diluted                       67.2     66.4     65.6     64.6      65.9      63.2      62.4     62.0     62.0      62.4      61.7     61.3     60.9     60.6    61.1     60.1     66.5     63.0       61.5     60.3

               Earnings Per Share
                  Fully Diluted (Non-GAAP)            $0.81    $1.36    $1.59    $0.51     $4.27      $0.28    $1.08    $0.80    $0.36     $2.51     $0.31    $0.83    $0.94    $0.43   $2.50    $2.66    $4.59    $2.65      $2.42    $2.65
                  Fully Diluted (GAAP)                $0.64    $1.10    $0.52    $0.19     $2.46     ($0.07)   $0.93    $0.54    $0.10     $1.51     $0.03    $0.55    $0.66    $0.17   $1.41    $1.64    $2.81    $1.50      $1.25    $0.41


               Margin Data
                   Gross Margin                       50.5%    49.7%    48.8%    50.5%    49.7%      49.0%     50.6%    50.0%    49.7%    49.9%      49.8%    49.7%    49.3%    49.7%   49.6%    49.6%    49.7%    50.1%      49.6%    49.6%
                   R&D                                20.5%    17.1%    16.2%    24.9%    19.1%      30.4%     20.9%    23.8%    29.2%    25.5%      30.6%    23.3%    22.1%    28.5%   25.6%    25.4%    18.0%    24.6%      25.7%    25.3%
                   SG&A                                8.1%     5.7%     6.1%    10.2%    7.2%       10.8%      7.4%     8.1%    10.4%    8.9%       10.4%    8.0%     7.6%     10.0%   8.8%     8.6%      6.9%     9.0%       8.9%     8.6%
                   Operating Margins                  20.7%    27.0%    26.4%    15.3%    23.2%       7.8%     22.3%    18.1%    10.1%    15.5%      8.7%     18.4%    19.6%    11.2%   15.1%    15.5%    24.6%    16.5%      14.9%    15.6%
                   Pretax Margin                      20.8%    26.9%    26.7%    15.7%    23.3%       8.5%     22.6%    18.6%    10.7%    16.0%      9.3%     18.9%    20.1%    11.8%   15.7%    16.0%    24.7%    17.0%      15.4%    16.1%
                   Net Margin                         17.0%    21.1%    21.6%    10.9%    18.4%       7.0%     18.3%    15.4%     8.8%    13.1%      7.8%     15.8%    16.8%    9.9%    13.2%    13.5%    19.6%    13.5%      13.0%    13.5%
                   Tax Rate                           18.3%    21.4%    19.2%    30.5%    21.2%      17.2%     18.9%    17.0%    17.0%    17.8%      16.0%    16.0%    16.0%    16.0%   16.0%    16.0%    20.4%    20.8%      16.1%    16.0%
               Source: Company reports and Oppenheimer & Co. Inc.
                                                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 466 of 607

                                                                                                                                                                                                                                                Exhibit 9




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                                                                                                                             Exhibit 9
CRUS (PERFORM) - NA                                                                                                                              Cirrus Logic




          Cirrus Logic
          Oppenheimer & Co.

          $ Millions Except per Share Data
          Balance Sheets
                                                         Dec16      Mar17      Jun17      Sep17      Dec17      Mar18      Jun18      Sept18
          FY ENDS MARCH                                   Q3         Q4         Q1         Q2         Q3         Q4         Q1          Q2
          Assets
          Cash and cash equivalents                          310        351        164        180        227         236       186        196
          Restricted cash                                       0          0          0          0          0                     0          0
          Marketable securities                               72        100         11         15         13         26         40         49
          Accounts receivable, net                           247        120        162        232        218        101        127        207
          Inventories, net                                   154        168        202        211        193        206        173        142
          Other current assets                                42         37         38         31         29         45         49         49
            Total Current Assets                          $825.2     $775.9     $578.5     $670.0     $679.5     $613.7     $575.1     $642.6

          Long-term marketable securities                       0          0        135        134        174        172        159        151
          Property and equipment, net                         168        168        171        178        187        191        196        193
          Goodwill and intangible assets, net                 432        422        430        420        415        400        386        374
          Deferred Tax Asset                                   35         33         32         31         16         15         16         14
          Other assets, net                                    14         15         20         24         22         38         34         30

          TOTAL ASSETS                                   $1,473.4   $1,413.5   $1,366.7   $1,455.8   $1,493.3   $1,430.1   $1,366.8   $1,404.4

          Liability & Shareholders' Equity
          Accounts payable                                   155         74         86        131        116         70         54         88
          Other Liabilities                                   58         70         60         60         59         70         65         67
          Income taxes payable                                  0          0          0          0          0          0          0          0
          Current maturities of long-term debt and lea          0          0          0          0          0          0          0          0
            Total Current Liabilities                     $212.7     $144.1     $145.9     $191.2     $175.7     $140.2     $118.6     $155.9

          Long-term liabilities                                57         58         60         65        106        128        121        106
          Long-term Debt                                      100         60          0          0          0          0          0          0

            Total Shareholders' Equity                   $1,104.0   $1,151.7   $1,160.7   $1,199.9   $1,211.4   $1,161.7   $1,127.1   $1,143.0

          Total Liabilities and Equity                   $1,473.4 $1,413.5 $1,366.7 $1,455.8 $1,493.3 $1,430.1 $1,366.8               $1,404.4
                                                                 0        0        0        0        0        0
          Valuation Ratios

          Profitability Ratios
          Return On Equity                                 45.2%      19.7%      18.8%      30.0%      34.4%      11.4%       6.3%      23.5%
          Return on Avg Equity *                           25.8%      26.5%      28.1%      27.6%      25.3%      23.7%      21.4%      19.6%
          Return On Assets                                 33.8%      16.1%      16.0%      24.7%      27.9%       9.2%       5.2%      19.1%
          Return On Net Assets                             42.9%      21.4%      18.2%      28.2%      32.9%      11.1%       6.1%      22.2%
          Return On Sales                                  23.8%      17.3%      17.0%      21.1%      21.6%      10.9%       7.0%      18.3%

          Efficiency Ratios
          Sales/Total Assets                                  0.4        0.2        0.2        0.3        0.3        0.2        0.2        0.3
          A/R Days Sales Out                                 43.0       33.4       46.2       49.8       41.1       30.3       45.4       51.5
          Inventory Turns                                     6.9        3.9        3.1        4.1        5.1        2.9        3.0        5.1
          Days of Inventory                                  52.4       93.6      116.1       89.7       71.0      124.7      121.4       71.5

          Liquidity Ratios
          Current Ratio                                       3.9        5.4        4.0        3.5        3.9        4.4        4.8        4.1
          Quick Ratio                                         3.2        4.2        2.6        2.4        2.8        2.9        3.4        3.2
          Net Working Capital                              $612.5     $631.9     $432.6     $478.8     $503.8     $473.5     $456.5     $486.7
          Long-term Debt/Equity                            14.2%      10.2%       5.2%       5.4%       8.8%      11.0%      10.7%       9.2%
          Total Debt/Equity                                14.2%      10.2%       5.2%       5.4%       8.8%      11.0%      10.7%       9.2%

          Book Value and Cash
          Book Value Per Share                             $16.54     $17.17     $17.28     $18.08     $18.48     $17.99     $17.84     $18.31
          Cash & Investments Per Share                      $5.73      $6.72      $4.62      $4.96      $6.30      $6.73      $6.10      $6.34
          Net Cash & Investments Per Share                  $4.24      $5.83      $4.62      $4.96      $6.30      $6.73      $6.10      $6.34

          * Avg Over Last 4 Qtrs
          Source: Company reports and Oppenheimer & Co.
                                                                                                                                                           5

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                                                                                                                            Exhibit 9
    Cirrus Logic                                                                                                                       CRUS (PERFORM) - NA




     Disclosure Appendix
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     Analog Devices (ADI - NASDAQ, $93.51, OUTPERFORM)
     Monolithic Power Systems (MPWR - NASDAQ, $134.73, OUTPERFORM)
     Maxim Integrated Products (MXIM - NASDAQ, $57.09, PERFORM)
     NXP Semiconductors NV (NXPI - NASDAQ, $85.67, PERFORM)
     Semtech Corp. (SMTC - OTC, $52.14, OUTPERFORM)
     Texas Instruments (TXN - NYSE, $101.17, OUTPERFORM)
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                                                                                                                               Exhibit 9
CRUS (PERFORM) - NA                                                                                                                           Cirrus Logic




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                                                    Distribution of Ratings/IB Services Firmwide

                                                         IB Serv/Past 12 Mos.

     Rating                          Count     Percent     Count     Percent

     OUTPERFORM [O]                   368        65.83       170       46.20
     PERFORM [P]                      190        33.99         66      34.74
     UNDERPERFORM [U]                  1          0.18          0        0.00




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                                                                                                                               Exhibit 9
    Cirrus Logic                                                                                                                       CRUS (PERFORM) - NA




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Takeaways
(1) Contacts now forecast a low-single-digit decline in FY19 iPhone shipments. The prior forecast was for low-to-mid-single-digit
    shipment growth. We now forecast FY19 iPhone shipments of 211.2M representing a net cut in production of approximately 15M
    devices. Contacts were unaware of a secondary round large round of order cuts, but the FY19 iPhone shipment forecast remains
    fluid for contacts given the uncertainty of 1H CY19 iPhone XR demand.
(2) The cut in XR orders could drive an unexpected boost iPhone ASPs mitigating some of the shipment weakness on sales. CY2H
    iPhone production is now tracking to 55% XS/MS Max and 45% XR vs. 52% XR previously. AAPL also increased orders for previous-
    gen iPhones. Older iPhone models including the 7/7+ and 8/8+ should now exceed 30% of CY2H production vs. 25% previously.
(3) November Baidu search trends remain very weak and likely represent a factor behind the iPhone order cuts. November Baidu
    iPhone searches declined -53% year over year (2-year stacked growth of +14%) post a -55% decline for October (2-year stacked
    decline of -23%).

    Baidu Search Trends of iPhone Models YoY
                                                            iPhone 6
                                                             Launch
                                                    200%
                                                                183%
                                                            166%

                                                    150%
        Baidu Trend Searches of iPhone Models YoY




                                                                       104%
                                                    100%                                                                                                                                         iPhone X
                                                                          85%                                                                                                                     Launch

                                                                                                                                                                                                        67%                        iPhone XS/
                                                                              60%        59%59%                                                       iPhone 7                                             59%                    XS MAX/XR
                                                                                   52%53%                                                                                                   iPhone 8                                 Launch
                                                                                                                                                       Launch
                                                     50%                        46%                                                                                                          Launch
                                                                                                      iPhone 6s                                        36%
                                                                                                        Launch
                                                                                                                                                                                                  32%        31%34%         27%
                                                                                                                                                                                                                     24%
                                                                                                20%                                                                                            20%                             18%13%
                                                                                                                                                           15%                                                    12%
                                                                                                      7%                                                                    9% 10%                                       9%             6%
                                                      0%
                                                            Sep-14 Nov-14 Jan-15 Mar-15 May-15 Jul-15 Sep-15 Nov-15 Jan-16 Mar-16 May-16 Jul-16 Sep-16 Nov-16 Jan-17 Mar-17   -2% Jul-17-4%Sep-17 Nov-17 Jan-18 Mar-18 May-18 Jul-18 Sep-18 Nov-18
                                                                                                                                                                            May-17
                                                                                                                                                                          -6%
                                                                                                                                                        -11%                       -13%
                                                                                                                      -26%-29%
                                                                                                                                            -34%                 -29%-26%            -29%
                                                                                                                  -34%
                                                    -50%                                                   -40%
                                                                                                                                 -47%-48%-46%
                                                                                                              -57%           -56%               -53%-55%                                                                                     -55%-53%



                                                    -100%
      Source: Company Reports, Baidu




(4) Chinese OEMs are seeing a strong finish to CY18 and forecasting robust FY19 shipment growth. Contacts noted strong CY4Q order
    activity from Huawei, OPPO, and Vivo and bullish CY19 forecasts. Huawei is telling contacts it is forecasting 25% CY19 shipment
    growth, OPPO 30% growth, and Vivo 25% growth. Contacts are more cautious seeing 10% CY19 order growth as most likely for the
    three Chinese OEMs given a view for limited smartphone market growth until CY20 when 5G models become prevalent.




Survey                                                                                                                                                                                                                                              Page 2
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Apple Commentary
Apple cut orders on the XR, XS, and XS Max by more than 20%, but raised orders on older models including the 8 and 8 Plus by a similar
percentage amount. It’s bad, but it could have been worse.
We received a 30% cut with the greatest weight on the XR. The Max received a double-digit order cut.
Our order cut was less than the 30% reported by some suppliers. We are across all models, which helps.
2018 [calendar] iPhone shipments will be down for us vs. 2017 and 2019 could be even worse.
2019 iPhone orders could be flat to down. We cannot tell the situation for 2019 yet because the performance of the XR is unclear.
I am not positive about Apple for 2019.
Apple is uncertain about its strategy right now.
The XR was originally 50% of the new model orders. It is now less than 40%.
Older models, principally the 8 and 8 Plus and the 7 and 7 Plus are in excess of 30% of orders.
Our mix is closer to one-third each for the XR, XS, and XS Max.
We have not seen a second order cut.
The Chinese guys, Huawei, OPPO, and Vivo see a lot of growth for next year ranging from 25-30%.
At best, Huawei, OPPO, and Vivo grow 10%. There is limited incremental demand for smartphones ahead of 2020 when 5G begins.
Huawei maybe grows 10-20% next year inclusive of smartphones and telecom.
Apple is selling a ton of Watches and AirPods and other products. That helps to offset some of the iPhone weakness.
It seems the Watch is the only product performing well now.




Survey                                                                                                                              Page 3
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Model Implications: Longbow vs. Guidance
AAPL: We reduced our AAPL FY1Q, FY19, and FY20 sales and EPS forecasts to reflect lower iPhone shipments offset by a slight rise in
ASPs and higher demand for AAPL’s other products.
x   Our FY1Q forecast reflects iPhone sales of $59.1B (-$1.8B) on a 74.5M shipment forecast (-4M). We forecast FY2Q iPhone sales of
    $38.4B (-$1.15B) on a 49.5M shipment forecast (-4M).
x   We now forecast FY19 iPhone sales of $164.5B (-$5.8B) on a 211.2M shipment forecast vs. 225M previously or a 3% shipment
    decline vs. 3% growth previously. We increased our sales forecast for other products by $1.3B.

                          AAPL: Guidance vs. Consensus and Longbow’s Forecasts
                          AAPL                                      1Q19E                2Q19E      2019E      2020E
                          Sales ($M) Guide                  $89,000-$93,000
                          Consensus                               $91,641                $64,508   $278,835   $290,830
                          Longbow                                 $89,737                $64,095   $275,421   $285,386
                          Prior                                   $91,080                $64,946   $279,999   $292,871
                          Change                                     -1.5%                -1.3%      -1.6%      -2.6%

                          EPS Guide                                   NM
                          Consensus                                 $4.70                 $3.01     $13.33     $14.33
                          Longbow                                   $4.53                 $3.02     $13.12     $14.72
                          Prior                                     $4.62                 $3.06     $13.38     $15.13
                          Change                                     -1.9%                -1.5%      -1.9%      -2.7%

                          Gross Margin Guide                    38.0-38.5%
                          Consensus                                 38.4%                 38.4%      38.3%      38.0%
                          Longbow                                   38.3%                 38.6%     38.4%      38.6%
                          Prior                                     38.3%                 38.6%      38.4%      38.5%
                          Change                                     0.0%                 0.0%       0.0%       0.1%
                          Source: Company Reports, Longbow Research Estimates, Factset




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Baidu Search Trends Analysis
To capture a read into China demand for AAPL’s products including the iPhone, we analyze Baidu iPhone search trends. Baidu provides
its calculation of the cumulative number of searches for a period vs. Google that provides relative search results. We view Baidu
searches as a leading indicator of AAPL’s sales trends in China since AAPL does not provide regional shipment data.
For the past 4 years, the following chart compares the year over year change in Baidu searches for the latest iPhone iteration (i.e. XS/XS
Max/XR for CY18, 8/8 Plus/X for CY17 or 7/7 Plus for CY16) for the 12-month period beginning CY3Q to AAPL’s China sales growth with
the searches as a one-quarter leading indicator. Baidu search trends have a 74% correlation to changes in AAPL’s year over year sales.
November iPhone XS/XS Max/XR Baidu searches decreased -53% year over year vs. iPhone 8/8 Plus/X searches after decreasing -55%
year over year for October.

                              Baidu Trends Correlation to Calendar Quarter China Sales Growth
                                                                                     140%                                             Correlation = 0.74                                                           140%
                                                                                                               iPhone 6s
                                                                                                                Launch                R-squared = 0.55
                                                                                     120%                                             *Compares AAPL China Sales YoY growth using
                                                                                                                                                                                                                   120%
                                                                                                                                      calendar year current quarter to 1-quarter prior of
                                                                                                                                      Baidu search trends
                                                                                     100%                                                                                                                          100%




                                                                                                                                                                                                                                     Baidu Trend Searches of iPhone Models YoY
                                 Calendar Year China Sales Growth (YoY %)




                                                                                     80%                                                                                                                           80%
                                                                                                                                                                                                      iPhone XS/
                                                                                                                                                                                                      XS MAX/XR
                                                                                                                                                                                                        Launch
                                                                                     60%                                                                                                                           60%
                                                                                                                                                                           iPhone 8 and X
                                                                                                                                               iPhone 7                       Launch
                                                                                                                                                Launch
                                                                                     40%                                                                                                                           40%

                                                                                     20%                                                                                                                           20%

                                                                                         0%                                                                                                                        0%
                                                                                                 1Q15 2Q15 3Q15 4Q15 1Q16 2Q16 3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18

                                                                                     -20%                                                                                                                          -20%

                                                                                     -40%                                                                                                                          -40%

                                                                                     -60%                                                                                                                          -60%
                                                                                                              YoY China Sales Growth                       Baidu Searches of iPhone Models YoY
                                                                                     Source: Company Reports, Baidu



Baidu search trends have an 83% correlation to IDC’s estimate of AAPL’s iPhone shipments into China.

                               Baidu Trends Correlation to Calendar Quarter AAPL iPhone Shipments
                                                                                     20                                                    Correlation = 0.83
                                                                                                                                                                                                                   500
                                                                                                                                           R-squared = 0.70

                                                                                                                                           *Compares IDC's AAPL iPhone shipment estimates using
                                                                                                                                           calendar year current quarter to 1-quarter prior of Baidu search
                                                                                                                                           trends                   iPhone 8 & X
                                                                                                                                                                                                                   400
                                 Calendar Year IDC AAPL China iPhone Shipments (M)




                                                                                                                                                                        Launch
                                                                                     15
                                                                                                          iPhone 6s
                                                                                                            Launch
                                                                                                                                                                                                                         Baidu Search Volumes




                                                                                                                                                                                                                   300
                                                                                                                                      iPhone 7                                                   iPhone XS/
                                                                                                                                       Launch                                                    XS MAX/XR
                                                                                     10
                                                                                                                                                                                                   Launch

                                                                                                                                                                                                                   200



                                                                                     5
                                                                                                                                                                                                                   100




                                                                                     0                                                                                                                             0
                                                                                              1Q15   2Q15    3Q15     4Q15   1Q16   2Q16    3Q16   4Q16   1Q17   2Q17   3Q17     4Q17   1Q18   2Q18

                                                                                     Source: Baidu, IDC         IDC AAPL China iPhone Shipments                            Baidu Search Volumes




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November iPhone XS/XS Max/XR Baidu searches decreased -53% year over year vs. iPhone 8/8 Plus/X searches (+67% comp) after
decreasing -55% year over year for October (+32% comp).

    Baidu Search Trends of iPhone Models YoY
                                                             iPhone 6
                                                              Launch
                                                     200%
                                                                 183%
                                                             166%

                                                     150%
         Baidu Trend Searches of iPhone Models YoY




                                                                        104%
                                                     100%                                                                                                                                                          iPhone X
                                                                           85%                                                                                                                                      Launch

                                                                                                                                                                                                                           67%                            iPhone XS/
                                                                                 60%        59%59%                                                              iPhone 7                                                      59%                        XS MAX/XR
                                                                                      52%53%                                                                                                                  iPhone 8                                      Launch
                                                                                                                                                                 Launch
                                                      50%                          46%                                                                                                                         Launch
                                                                                                           iPhone 6s                                            36%
                                                                                                             Launch
                                                                                                                                                                                                                    32%             31%34%         27%
                                                                                                                                                                                                                                            24%
                                                                                                     20%                                                                                                         20%                                  18%13%
                                                                                                                                                                      15%                                                                12%
                                                                                                           7%                                                                             9% 10%                                                9%             6%
                                                       0%
                                                             Sep-14 Nov-14 Jan-15 Mar-15 May-15 Jul-15 Sep-15 Nov-15 Jan-16 Mar-16 May-16 Jul-16 Sep-16 Nov-16 Jan-17 Mar-17   -2% Jul-17-4%Sep-17 Nov-17 Jan-18 Mar-18 May-18 Jul-18 Sep-18 Nov-18
                                                                                                                                                                             May-17
                                                                                                                                                                           -6%
                                                                                                                                                         -11%                       -13%
                                                                                                                              -26%-29%
                                                                                                                                                     -34%                      -29%-26%              -29%
                                                                                                                          -34%
                                                     -50%                                                       -40%
                                                                                                                                         -47%-48%-46%
                                                                                                                   -57%              -56%                -53%-55%                                                                                                   -55%-53%



                                                     -100%
       Source: Company Reports, Baidu




The following table provides Baidu’s calculation of search volumes beginning with the iPhone 6 launch. As a point of reference, AAPL
reached an agreement with China Mobile to begin selling iPhones during January 17, 2014 with the 5s/5c and ahead of the iPhone 6
launch. China Mobile had 760M subs at the time of the agreement creating a significant growth tailwind.

     Baidu Search Volumes
                                                                 900                                                                                                                                                                                      iPhone XS/
                                                                        iPhone 6                                                                                                                                                                         XS MAX/XR
                                                                         Launch                                                                                                                                                                             Launch
                                                                                                                                                                                                                iPhone 8
                                                                 800                                                                                                                                             Launch



                                                                 700                                                                                                iPhone 7
                              Baidu Search Volumes




                                                                                                                                                                     Launch


                                                                 600

                                                                                                                       iPhone 6s
                                                                 500                                                     Launch



                                                                 400

                                                                                                                                                                                                                         iPhone X
                                                                                                                                                                                                                          Launch
                                                                 300


                                                                 200


                                                                 100


                                                                    0
                                                                        Sep-14     Dec-14   Mar-15    Jun-15           Sep-15      Dec-15   Mar-16     Jun-16       Sep-16      Dec-16      Mar-17   Jun-17     Sep-17        Dec-17   Mar-18   Jun-18   Sep-18
      Source: Company Reports, Baidu




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Read-Throughs
The following table highlights companies with greater than 10% sales exposure to AAPL. For our coverage, APH, AVGO, DIOD, ON,
QRVO, SWKS, and VSH have exposure to AAPL.
                                            Supply Chain with Greatest Apple Exposure
                                                 Company      Apple (%)   Exposure ($M)
                                                     CRUS       79%           $1,210
                                                     GLUU       54%           $155
                                                     NTIP       53%            $6
                                                    ZNGA        51%           $439
                                                   IMG-GB       45%            $85
                                                    QRVO        36%           $1,070
                                                     MEET       33%            $41
                                                      JBL       24%           $4,575
                                                    CGNX        21%           $157
                                                     IDCC       21%           $112
                                                    AVGO        20%           $3,527
                                                     TTMI       20%           $532
                                                      KN        19%           $141
                                                     ATVI       16%           $1,123
                                                      ADI       14%           $715
                                                     PLUS       12%           $169
                                                    SWKS        10%           $1,688
                                                    QCOM        10%           $2,229
                                            Source: Factset
Why NEUTRAL?
Absolute and relative P/E valuations have sharply corrected and AAPL’s shares now trade in line with the 5-year average. The valuation
correction, capital return, and strength in other products and services creates some cushion in the story. Yet, there remains earnings
risk given the potential for iPhone shipments to continue to correct, which we anticipate will dominant the story and be an overhang
until the picture clears.




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Valuation
AAPL trades at 13.6x our CY19 EPS forecast of $13.61 vs. a 12.5x 5-year average forward P/E and at 0.81x relative to the S&P 500. This
represents a premium vs. AAPL’s 5-year range of 0.60-1.12x the S&P 500 and average of 0.81x. Longbow’s AAPL peer group of HPQ,
GRMN, Lenovo, LG, MSFT, Samsung, and Sony trades at 16.4x CY19 EPS. AAPL historically trades at a relative valuation of 0.86x vs. the
peer group vs. 0.85x currently on CY18 EPS. In addition, on an EV/EBITDA basis, AAPL trades at 8.2x CY19 EBITDA vs. an 8.6x 5-year
average, while the peer group trades at 8.4x.

                        AAPL FY19 P/E vs. S&P 500




                        Source: Factset


Risks
The potential risks to our investment thesis, rating, 12-month target price and estimates include, but are not limited to, a more
pronounced secular slowdown in smartphone, PC, and tablet shipments than forecast, which negatively impacts sales and cash
generation and inhibits growth in services sales, stagnant returns on R&D investments, and a sentiment shift from perceived innovator
to perceived market follower.




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Recently Published Reports
11/27: APH (BUY): Bigger M&A Is Back – APH Acquires SSI Controls
11/16: DIOD (BUY): Highlights from the Road
11/16: Inventory Tracker: Inventory is Declining, but There is More to Go
11/16: Will Flashing Green & Yellow Signals Leave the Supply Chain Blue?
11/14: QRVO (BUY): Revising Forecast for iPhone Production Cuts
11/13: MIIT: Two Consecutive Months of Positive China Shipments
11/12: AAPL (NEUTRAL): Sharp iPhone Production Cuts to Hit Suppliers
11/09: ARW (BUY): Highlights from the Road
11/09: COMM: Downgrading to NEUTRAL – Time to Step Back
11/09: SWKS (BUY): An Earlier than Typical Smartphone Correction
11/07: DIOD (BUY): Continued Market Outgrowth
11/05: AAPL (NEUTRAL): 10-K Shows Uptick in Purchase Commitments, but Decline in Capex
11/02: ARW (BUY): Valuation Discounts Components Growth and Potential from ECS Investments
11/02: AVT (BUY): Highlights from the Road
11/02: AAPL (NEUTRAL): Focus on How Much, Not How Many
11/01: Downgrading BDC to NEUTRAL: Too Much Uncertainty
11/01: ARW First Read: What’s Going on at ECS?
11/01: QRVO (BUY): Solid Execution Continues
11/01: TEL (BUY): 2019 Looks to be a Year of Transition
10/31: LFUS (NEUTRAL): Solid Execution Amidst Pockets of Weakness
10/30: VSH (NEUTRAL): Volatile Book to Bills, but Sales Trends Remain Robust
10/30: AAPL (NEUTRAL): Testing Price Elasticity Beyond the iPhone
10/30: ST (BUY): Content Growth Shining Through
10/29: ON (BUY): Valuation Is Disconnected
10/29: ARW: IT Spending Is Seasonal, Semis Seeing Pockets of Weakness
10/26: AVT (BUY): Valuation at Trough, Yet EPS Continues to Expand
10/25: PLXS (BUY): Program Wins Continue to Fuel the Growth Engine
10/25: APH (BUY) Continues to Out-Execute
10/24: TXN (BUY): A Slowdown, But For How Long?
10/23: AXE (BUY): Risk/Reward Remains Favorable on Robust Sales Growth
10/22: COMM: Continue to See 4Q FirstNet and Enterprise Continues to Rebound
10/22: Enterprise Activity Remains – Cutting Estimates on Auto Risk
10/22: PLXS (BUY) FY4Q Preview: Program Ramps vs. Macro
10/17: Semi & Component Checks: Bookings Peaked in Late CY3Q
10/17: Semis & Components – Downside EPS Sensitivity Analysis
10/17: AAPL (NEUTRAL): Shifting iPhone ASPs and Shipment Forecasts
10/15: MIIT: September Rebounds, but CY3Q Shipments Worse Than Seasonal
10/11: AAPL (NEUTRAL): Robust CY3Q Supplier Orders Even as September Slowed
10/03: LFUS (NEUTRAL): Highlights from the Road
10/03: Global Auto – What’s the Earnings Risk for Semis/ Components?




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     AAPL EPS Forecast Revision
         ($ Millions)
                                                                    Current Quarter                       Out Quarter                       Current FY                        Out FY
                                                            Prior         New            '        Prior       New          '                                '                               '
                                                          Dec-18        Dec-18          vs.     Mar-19      Mar-19        vs.       Prior      New         vs.        New       New        vs.
         Sales by Product Segment                         1Q19E         1Q19E          Prior    2Q19E       2Q19E        Prior     2019E      2019E       Prior      2020E     2020E      Prior
          Mac                                              7,300         7,300           0       5,840       5,840         0      25,875     25,875         0       24,176    24,176        0
          iPad                                             5,847         5,847           0       4,035       4,035         0      19,565     19,565         0       19,385    19,385        0
          iPhone                                          60,890        59,124        (1,766)   39,579      38,431      (1,148)   170,006    164,171     (5,835)    174,110   165,275   (8,835)
          Other Product                                    6,563         6,986         423       4,594       4,890       296      20,273     21,530      1,257      22,920    24,269     1,350
          iTunes, Software & Services                     10,480        10,480           0      10,899      10,899         0      44,281     44,281         0       52,281    52,281        0
         Total                                            91,080        89,737        (1,343)   64,946      64,095       (852)    279,999    275,421     (4,578)    292,871   285,386   (7,486)

         Income Statement
          Sales                                           91,080        89,737        (1,343)   64,946      64,095      (852)     279,999    275,421     (4,578)    292,871   285,386   (7,486)
          COGS                                            56,203        55,375         (829)    39,870      39,348      (522)     172,478    169,604     (2,874)    180,191   175,358   (4,832)
          Gross Profit                                    34,877        34,363         (514)    25,077      24,747      (330)     107,521    105,816     (1,705)    112,681   110,027   (2,653)
            R&D                                            4,047         4,044           (2)     3,781       3,749       (31)     15,820     15,706       (114)     16,586    16,352     (234)
            SG&A                                           4,668         4,661           (7)     4,318       4,281       (38)     17,683     17,532       (151)     18,183    17,940     (243)
          Operating Expense                                8,715         8,705           (9)     8,099       8,030       (69)     33,503     33,238       (266)     34,769    34,292     (477)
          EBIT                                            26,162        25,657         (505)    16,978      16,717      (261)     74,018     72,579      (1,439)    77,912    75,736    (2,176)
          Other Income (Expense)                            300           300            0        300         300         0        1,200      1,200         0        1,200     1,200       0
          Income Before Taxes                             26,462        25,957         (505)    17,278      17,017      (261)     75,218     73,779      (1,439)    79,112    76,936    (2,176)
          Taxes                                            4,366         4,283          (83)     2,851       2,808       (43)     12,411     12,174       (237)     11,867    11,540     (326)
          Net Income                                      22,096        21,674         (422)    14,427      14,209      (218)     62,807     61,605      (1,202)    67,245    65,395    (1,850)

         Diluted Shares                                   4,779         4,779           0       4,710       4,710         0        4,682      4,682        0         4,431     4,431      0
         GAAP Diluted EPS                                 $4.62         $4.53         ($0.09)   $3.06       $3.02       ($0.05)   $13.38     $13.12      ($0.26)    $15.13    $14.72    ($0.41)

         Share-based compensation expense                  1,300         1,300           0       1,300       1,300         0       5,200      5,200         0        5,200     5,200       0
         Non-GAAP Net Income                              23,396        22,974         (422)    15,727      15,509       (218)    68,007     66,805      (1,202)    72,445    70,595    (1,850)
         Basic Non-GAAP EPS ex SOE                         $4.94         $4.85        ($0.09)    $3.37       $3.33      ($0.05)   $14.63     $14.38      ($0.26)    $16.48    $16.06    ($0.42)
         Diluted Non-GAAP EPS ex SOE                       $4.90         $4.81        ($0.09)    $3.34       $3.29      ($0.05)   $14.49     $14.23      ($0.26)    $16.31    $15.89    ($0.41)

         Dividend Per Share                               $0.73         $0.73         $0.00     $0.73       $0.73       $0.00      $2.92      $2.92      $0.00       $2.92     $2.92    $0.00

         EBIT                                             26,162        25,657         (505)    16,978      16,717       (261)    74,018     72,579      (1,439)    77,912    75,736    (2,176)
         Depreciation & Amortization                       2,500         2,500           0       2,500       2,500         0      10,000     10,000         0       10,000    10,000       0
         EBITDA                                           28,662        28,157         (505)    19,478      19,217       (261)    84,018     82,579      (1,439)    87,912    85,736    (2,176)
         EBITDA Per Share                                  $6.06         $5.95        ($0.11)    $4.18       $4.12      ($0.06)   $18.08     $17.77      ($0.31)    $20.00    $19.51    ($0.49)

         Margin Analysis
         Incremental Gross Profit Margin                   38.3%        38.3%          0.0%     37.5%        37.5%       0.0%      39.4%      40.5%       1.0%       40.1%     42.3%     2.2%
         Gross Profit                                      38.3%        38.3%          0.0%     38.6%        38.6%       0.0%      38.4%      38.4%       0.0%       38.5%     38.6%     0.1%
         R&D                                               4.4%         4.5%           0.1%     5.8%         5.8%        0.0%      5.6%       5.7%        0.1%       5.7%      5.7%     0.1%
         SG&A                                              5.1%         5.2%           0.1%     6.6%         6.7%        0.0%      6.3%       6.4%        0.1%       6.2%      6.3%     0.1%
         Operating Expenses                                9.6%         9.7%           0.1%     12.5%        12.5%       0.1%      12.0%      12.1%       0.1%       11.9%     12.0%     0.1%
         EBITDA                                            31.5%        31.4%         -0.1%     30.0%        30.0%       0.0%      30.0%      30.0%       0.0%       30.0%     30.0%     0.0%
         Incremental EBIT Margin                           35.6%        35.5%         -0.1%     35.1%        34.9%      -0.3%      21.7%      17.1%      -4.6%       30.2%     31.7%     1.4%
         EBIT                                              28.7%        28.6%         -0.1%     26.1%        26.1%      -0.1%      26.4%      26.4%      -0.1%       26.6%     26.5%    -0.1%
         Other Income (Expense)                            0.3%         0.3%           0.0%     0.5%         0.5%        0.0%      0.4%       0.4%        0.0%       0.4%      0.4%     0.0%
         Tax Rate                                          16.5%        16.5%          0.0%     16.5%        16.5%       0.0%      16.5%      16.5%       0.0%       15.0%     15.0%     0.0%
         Net Income                                        24.3%        24.2%         -0.1%     22.2%        22.2%       0.0%      22.4%      22.4%      -0.1%       23.0%     22.9%     0.0%

         YoY '
          Sales                                            3.2%          1.6%         -1.5%      6.2%        4.8%       -1.4%      5.4%       3.7%       -1.7%       4.6%      3.6%     -1.0%

         Source: Longbow Research Estimates, Company Reports
     Source: Company Reports, Longbow Research Estimates, Factset




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           Apple Corp.
           Sales by Product Segment                                                                                                                                                                                                                          Symbol: AAPL
           ($ Millions)                                                                                                                                                                                                                               Last Update: 12/07/18

                                                           Dec-16    Mar-17     Jun-17     Sept-17   Dec-17   Mar-18     Jun-18     Sept-18   Dec-18   Mar-19     Jun-19     Sept-19   Dec-19   Mar-20     Jun-20     Sept-20
                                                           1Q17A     2Q17A      3Q17A      4Q17A     1Q18A    2Q18A      3Q18A      4Q18A     1Q19E    2Q19E      3Q19E      4Q19E     1Q20E    2Q20E      3Q20E      4Q20E        2017A     2018A       2019E      2020E
           Sales
             Mac                                             7,244    5,844      5,592       7,170    6,895    5,848      5,330       7,411    7,300    5,840      5,986       6,749    6,817    5,453      5,590       6,316      25,850    25,484      25,875     24,176
             iPad                                            5,533    3,889      4,969       4,831    5,862    4,113      4,741       4,089    5,847    4,035      5,043       4,640    5,823    3,989      4,986       4,587      19,222    18,805      19,565     19,385
             iPhone                                         54,378   33,249     24,846      28,846   61,576   38,032     29,906      37,185   59,124   38,431     31,129      35,487   59,086   38,849     31,468      35,873     141,319   166,699     164,171    165,275
             Other Product                                   4,024    2,873      2,735       3,231    5,489    3,954      3,740       4,234    6,986    4,890      4,597       5,057    7,838    5,486      5,212       5,733      12,863    17,417      21,530     24,269
             iTunes, Software & Services                     7,172    7,041      7,266       8,501    8,471    9,190      9,548       9,981   10,480   10,899     11,117      11,784   12,373   12,868     13,126      13,913      29,980    37,190      44,281     52,281
           Total                                            78,351   52,896     45,408      52,579   88,293   61,137     53,265      62,900   89,737   64,095     57,872      63,717   91,936   66,646     60,381      66,423     229,234   265,595     275,421    285,386

           QoQ Sales Growth
             Mac                                             26.2%    -19.3%       -4.3%     28.2%    -3.8%    -15.2%       -8.9%     39.0%    -1.5%    -20.0%        2.5%     12.8%     1.0%    -20.0%        2.5%     13.0%
             iPad                                            30.0%    -29.7%      27.8%      -2.8%    21.3%    -29.8%       15.3%    -13.8%    43.0%    -31.0%      25.0%      -8.0%    25.5%    -31.5%      25.0%      -8.0%
             iPhone                                          93.1%    -38.9%     -25.3%      16.1%   113.5%    -38.2%     -21.4%      24.3%    59.0%    -35.0%     -19.0%      14.0%    66.5%    -34.3%     -19.0%      14.0%
             Other Product                                   69.6%    -28.6%       -4.8%     18.1%    69.9%    -28.0%       -5.4%     13.2%    65.0%    -30.0%      -6.0%      10.0%    55.0%    -30.0%      -5.0%      10.0%
             iTunes, Software & Services                     13.4%      -1.8%       3.2%     17.0%    -0.4%       8.5%       3.9%      4.5%     5.0%       4.0%       2.0%      6.0%     5.0%       4.0%       2.0%      6.0%
           Total                                             67.2%     -32.5%     -14.2%     15.8%    67.9%     -30.8%     -12.9%     18.1%    42.7%     -28.6%      -9.7%     10.1%    44.3%     -27.5%      -9.4%     10.0%

           YoY Sales Growth
             Mac                                              7.4%     14.4%      6.7%       24.9%    -4.8%     0.1%      -4.7%        3.4%     5.9%    -0.1%      12.3%       -8.9%    -6.6%    -6.6%      -6.6%       -6.4%      13.2%     -1.4%         1.5%      -6.6%
             iPad                                           -21.9%    -11.9%      1.9%       13.5%     5.9%     5.8%      -4.6%      -15.4%    -0.3%    -1.9%       6.4%       13.5%    -0.4%    -1.1%      -1.1%       -1.1%      -6.8%     -2.2%         4.0%      -0.9%
             iPhone                                           5.3%      1.2%      3.3%        2.4%    13.2%    14.4%      20.4%       28.9%    -4.0%     1.0%       4.1%       -4.6%    -0.1%     1.1%       1.1%        1.1%       3.4%     18.0%        -1.5%       0.7%
             Other Product                                   -7.5%     31.2%     23.3%       36.2%    36.4%    37.6%      36.7%       31.0%    27.3%    23.7%      22.9%       19.4%    12.2%    12.2%      13.4%       13.4%      15.5%     35.4%        23.6%      12.7%
             iTunes, Software & Services                     18.4%     17.5%     21.6%       34.4%    18.1%    30.5%      31.4%       17.4%    23.7%    18.6%      16.4%       18.1%    18.1%    18.1%      18.1%       18.1%      23.1%     24.0%        19.1%      18.1%
           Total                                              3.3%      4.6%      7.2%       12.2%    12.7%    15.6%      17.3%       19.6%     1.6%     4.8%       8.6%        1.3%     2.5%     4.0%       4.3%        4.2%       6.3%     15.9%         3.7%       3.6%

           Source: Company Reports, Longbow Research Estimates
                                                                                                                                                                                                                                                                                   Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 481 of 607

                                                                                                                                                                                                                                                                       Exhibit 9




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           Survey                                                                                                                                                                                                                                              Page 11
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                                                                                                                                                                      Exhibit 9
                                                                                                                                                             NYSE: AAPL December 7, 2018




Apple
Quarterly Income Statement                                                                                                                                                                    Symbol: AAPL
($ Millions)                                                                                                                                                                           Last Update: 12/07/18

                                                Dec-16   Mar-17    Jun-17    Sept-17   Dec-17    Mar-18   Jun-18    Sept-18   Dec-18    Mar-19    Jun-19    Sept-19    Dec-19    Mar-20    Jun-20    Sept-20
Income Statement                                1Q17A    2Q17A     3Q17A      4Q17A    1Q18A     2Q18A    3Q18A      4Q18A    1Q19E     2Q19E     3Q19E      4Q19E     1Q20E     2Q20E     3Q20E      4Q20E
 Sales                                          78,351   52,896    45,408     52,579   88,293    61,137   53,265     62,900   89,737    64,095    57,872     63,717    91,936    66,646    60,381     66,423
 COGS                                           48,175   32,305    27,920     32,648   54,381    37,715   32,844     38,816   55,375    39,348    35,614     39,267    56,622    40,816    37,057     40,863
 Gross Profit                                   30,176   20,591    17,488     19,931   33,912    23,422   20,421     24,084   34,363    24,747    22,258     24,449    35,314    25,830    23,324     25,560
   R&D                                           2,871    2,776     2,937      2,997    3,407     3,378    3,701      3,750    4,044     3,749     4,101      3,811     4,153     3,913     4,297      3,989
   SG&A                                          3,946    3,718     3,783      3,814    4,231     4,150    4,108      4,216    4,661     4,281     4,339      4,252     4,718     4,391     4,461      4,369
 Operating Expense                               6,817    6,494     6,720      6,811    7,638     7,528    7,809      7,966    8,705     8,030     8,440      8,062     8,872     8,304     8,758      8,358
 EBIT                                           23,359   14,097    10,768     13,120   26,274    15,894   12,612     16,118   25,657    16,717    13,818     16,387    26,442    17,525    14,566     17,202
 Other Income (Expense)                            821      587       540        797      756       274      672        303      300       300       300        300       300       300       300        300
 Income Before Taxes                            24,180   14,684    11,308     13,917   27,030    16,168   13,284     16,421   25,957    17,017    14,118     16,687    26,742    17,825    14,866     17,502
 Taxes                                           6,289    3,655     2,591      3,203    6,965     2,346    1,765      2,296    4,283     2,808     2,329      2,753     4,011     2,674     2,230      2,625
 Net Income                                     17,891   11,029     8,717     10,714   20,065    13,822   11,519     14,125   21,674    14,209    11,788     13,934    22,731    15,152    12,636     14,876

Basic Shares                                     5,299    5,226     5,195      5,149    5,113     5,025    4,882      4,802    4,733     4,664     4,595      4,550     4,482     4,413     4,344      4,299
Diluted Shares                                   5,328    5,262     5,233      5,184    5,158     5,068    4,927      4,848    4,779     4,710     4,641      4,596     4,528     4,459     4,390      4,345
GAAP Basic EPS                                   $3.38    $2.11     $1.68      $2.08    $3.92     $2.75    $2.36      $2.94    $4.58     $3.05     $2.57      $3.06     $5.07     $3.43     $2.91      $3.46
GAAP Diluted EPS                                 $3.36    $2.10     $1.67      $2.07    $3.89     $2.73    $2.34      $2.91    $4.53     $3.02     $2.54      $3.03     $5.02     $3.40     $2.88      $3.42

Share-based compensation expense               1,256.0   1,217.0   1,193.0   1,174.0   1,296.0    748.0   1,351.0   1,345.0   1,300.0   1,300.0   1,300.0   1,300.0    1,300.0   1,300.0   1,300.0   1,300.0
Non-GAAP Net Income                             19,147    12,246     9,910    11,888    21,361   14,570    12,870    15,470    22,974    15,509    13,088    15,234     24,031    16,452    13,936    16,176
Basic Non-GAAP EPS ex SOE                        $3.61     $2.34     $1.91     $2.31     $4.18    $2.90     $2.64     $3.22     $4.85     $3.33     $2.85     $3.35      $5.36     $3.73     $3.21     $3.76
Diluted Non-GAAP EPS ex SOE                      $3.59     $2.33     $1.89     $2.29     $4.14    $2.87     $2.61     $3.19     $4.81     $3.29     $2.82     $3.31      $5.31     $3.69     $3.17     $3.72

Dividend Per Share                               $0.57    $0.57     $0.63      $0.63    $0.63     $0.63    $0.73      $0.73    $0.73     $0.73     $0.73      $0.73     $0.73     $0.73     $0.73      $0.73

EBIT                                            23,359   14,097    10,768     13,120   26,274    15,894   12,612     16,118   25,657    16,717    13,818     16,387    26,442    17,525    14,566     17,202
Depreciation & Amortization                      2,987    2,332     2,354      2,832    2,745     2,739    2,665      2,356    2,500     2,500     2,500      2,500     2,500     2,500     2,500      2,500
EBITDA                                          26,346   16,429    13,122     15,952   29,019    18,633   15,277     18,474   28,157    19,217    16,318     18,887    28,942    20,025    17,066     19,702
EBITDA Per Share                                 $4.97    $3.14     $2.53      $3.10    $5.68     $3.71    $3.13      $3.85    $5.95     $4.12     $3.55      $4.15     $6.46     $4.54     $3.93      $4.58

Margin Analysis
Incremental Gross Profit Margin                  39.2%    37.7%     41.4%      34.1%    39.1%     38.6%    38.1%      38.0%    38.3%     37.5%     40.0%      37.5%     38.5%     37.5%     40.0%      37.0%
Gross Profit                                     38.5%    38.9%     38.5%      37.9%    38.4%     38.3%    38.3%      38.3%    38.3%     38.6%     38.5%      38.4%     38.4%     38.8%     38.6%      38.5%
R&D                                               3.7%     5.2%      6.5%       5.7%     3.9%      5.5%     6.9%       6.0%     4.5%      5.8%      7.1%       6.0%      4.5%      5.9%      7.1%       6.0%
SG&A                                              5.0%     7.0%      8.3%       7.3%     4.8%      6.8%     7.7%       6.7%     5.2%      6.7%      7.5%       6.7%      5.1%      6.6%      7.4%       6.6%
Operating Expenses                                8.7%    12.3%     14.8%      13.0%     8.7%     12.3%    14.7%      12.7%     9.7%     12.5%     14.6%      12.7%      9.6%     12.5%     14.5%      12.6%
EBITDA                                           33.6%    31.1%     28.9%      30.3%    32.9%     30.5%    28.7%      29.4%    31.4%     30.0%     28.2%      29.6%     31.5%     30.0%     28.3%      29.7%
Incremental EBIT Margin                          36.8%    36.4%     44.5%      32.8%    36.8%     38.2%    41.7%      36.4%    35.5%     34.9%     46.6%      44.0%     35.6%     35.3%     47.2%      43.6%
EBIT                                             29.8%    26.7%     23.7%      25.0%    29.8%     26.0%    23.7%      25.6%    28.6%     26.1%     23.9%      25.7%     28.8%     26.3%     24.1%      25.9%
Other Income (Expense)                            1.0%     1.1%      1.2%       1.5%     0.9%      0.4%     1.3%       0.5%     0.3%      0.5%      0.5%       0.5%      0.3%      0.5%      0.5%       0.5%
Tax Rate                                         26.0%    24.9%     22.9%      23.0%    25.8%     14.5%    13.3%      14.0%    16.5%     16.5%     16.5%      16.5%     15.0%     15.0%     15.0%      15.0%
Net Income                                       22.8%    20.9%     19.2%      20.4%    22.7%     22.6%    21.6%      22.5%    24.2%     22.2%     20.4%      21.9%     24.7%     22.7%     20.9%      22.4%

YoY '
 Sales                                            3.3%     4.6%      7.2%      12.2%    12.7%     15.6%    17.3%      19.6%     1.6%      4.8%      8.6%       1.3%      2.5%      4.0%      4.3%       4.2%
 Organic Sales                                    0.0%     0.0%      0.0%       0.0%     0.0%      0.0%     0.0%       0.0%     0.0%      0.0%      0.0%       0.0%      0.0%      0.0%      0.0%       0.0%
 COGS                                             6.0%     5.4%      6.4%      12.4%    12.9%     16.7%    17.6%      18.9%     1.8%      4.3%      8.4%       1.2%      2.3%      3.7%      4.1%       4.1%
 Gross Profit                                    -0.8%     3.4%      8.6%      11.9%    12.4%     13.7%    16.8%      20.8%     1.3%      5.7%      9.0%       1.5%      2.8%      4.4%      4.8%       4.5%
 R&D                                             19.4%    10.6%     14.7%      16.6%    18.7%     21.7%    26.0%      25.1%    18.7%     11.0%     10.8%       1.6%      2.7%      4.4%      4.8%       4.7%
 SG&A                                             2.5%     8.6%      9.9%       9.5%     7.2%     11.6%     8.6%      10.5%    10.2%      3.1%      5.6%       0.8%      1.2%      2.6%      2.8%       2.8%
 EBITDA                                          -2.9%    -0.2%      3.9%      11.5%    10.1%     13.4%    16.4%      15.8%    -3.0%      3.1%      6.8%       2.2%      2.8%      4.2%      4.6%       4.3%
 EBIT                                            -3.4%     0.8%      6.6%      11.6%    12.5%     12.7%    17.1%      22.9%    -2.3%      5.2%      9.6%       1.7%      3.1%      4.8%      5.4%       5.0%
 Pretax Income                                   -1.6%     3.8%      8.0%      14.2%    11.8%     10.1%    17.5%      18.0%    -4.0%      5.3%      6.3%       1.6%      3.0%      4.8%      5.3%       4.9%
 Net Income                                      -2.6%     4.9%     11.8%      18.9%    12.2%     25.3%    32.1%      31.8%     8.0%      2.8%      2.3%      -1.4%      4.9%      6.6%      7.2%       6.8%
 Diluted EPS                                      2.3%    10.4%     16.9%      23.7%    15.9%     30.1%    40.4%      41.0%    16.6%     10.6%      8.6%       4.0%     10.7%     12.6%     13.3%      12.9%

QoQ '
Sales                                            67.2%   -32.5%    -14.2%      15.8%    67.9%    -30.8%   -12.9%      18.1%    42.7%    -28.6%     -9.7%      10.1%     44.3%    -27.5%     -9.4%      10.0%
COGS                                             65.9%   -32.9%    -13.6%      16.9%    66.6%    -30.6%   -12.9%      18.2%    42.7%    -28.9%     -9.5%      10.3%     44.2%    -27.9%     -9.2%      10.3%
Gross Profit                                     69.4%   -31.8%    -15.1%      14.0%    70.1%    -30.9%   -12.8%      17.9%    42.7%    -28.0%    -10.1%       9.8%     44.4%    -26.9%     -9.7%       9.6%
R&D                                              11.7%    -3.3%      5.8%       2.0%    13.7%     -0.9%     9.6%       1.3%     7.9%     -7.3%      9.4%      -7.1%      9.0%     -5.8%      9.8%      -7.2%
SG&A                                             13.3%    -5.8%      1.7%       0.8%    10.9%     -1.9%    -1.0%       2.6%    10.6%     -8.2%      1.4%      -2.0%     11.0%     -6.9%      1.6%      -2.1%
EBITDA                                           84.1%   -37.6%    -20.1%      21.6%    81.9%    -35.8%   -18.0%      20.9%    52.4%    -31.8%    -15.1%      15.7%     53.2%    -30.8%    -14.8%      15.4%
EBIT                                             98.6%   -39.7%    -23.6%      21.8%   100.3%    -39.5%   -20.6%      27.8%    59.2%    -34.8%    -17.3%      18.6%     61.4%    -33.7%    -16.9%      18.1%
Pretax Income                                    98.4%   -39.3%    -23.0%      23.1%    94.2%    -40.2%   -17.8%      23.6%    58.1%    -34.4%    -17.0%      18.2%     60.3%    -33.3%    -16.6%      17.7%
Net Income                                       98.5%   -38.4%    -21.0%      22.9%    87.3%    -31.1%   -16.7%      22.6%    53.4%    -34.4%    -17.0%      18.2%     63.1%    -33.3%    -16.6%      17.7%
Diluted EPS                                     100.9%   -37.6%    -20.5%      24.1%    88.2%    -29.9%   -14.3%      24.6%    55.6%    -33.5%    -15.8%      19.3%     65.6%    -32.3%    -15.3%      18.9%

Source: Company Reports, Longbow Research Estimates




Survey                                                                                                                                                                                         Page 12
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                                                                                                                                                              Exhibit 9
                                                                                                                                                       NYSE: AAPL December 7, 2018




Apple
Income Statement                                                                                                                                                                         Symbol: AAPL
($ Millions)                                                                                                                                                                      Last Update: 12/07/18


Income Statement                                 2006A        2007A    2008A    2009A    2010A     2011A     2012A     2013A     2014A     2015A     2016A     2017A     2018A       2019E      2020E
 Sales                                           19,315       24,006   37,491   42,905   65,225   108,249   156,508   170,910   182,795   233,715   215,639   229,234   265,595     275,421    285,386
 COGS                                            13,717       15,852   24,294   25,683   39,541    64,431    87,846   106,606   112,258   140,089   131,376   141,048   163,756     169,604    175,358
 Gross Profit                                     5,598        8,154   13,197   17,222   25,684    43,818    68,662    64,304    70,537    93,626    84,263    88,186   101,839     105,816    110,027
   R&D                                              712          782    1,109    1,333    1,782     2,429     3,381     4,475     6,041     8,067    10,045    11,581    14,236      15,706     16,352
   SG&A                                           2,433        2,963    3,761    4,149    5,517     7,599    10,040    10,830    11,993    14,329    14,194    15,261    16,705      17,532     17,940
 Operating Expense                                3,145        3,745    4,870    5,482    7,299    10,028    13,421    15,305    18,034    22,396    24,239    26,842    30,941      33,238     34,292
 EBIT                                             2,453        4,409    8,327   11,740   18,385    10,028    13,421    15,305    18,034    22,396    24,239    26,842    30,711      31,450     31,450
 Other Income (Expense)                             365          599      620      326      155       415       522     1,156       980     1,285     1,348     2,745     2,005       1,200      1,200
 Income Before Taxes                              2,818        5,008    8,947   12,066   18,540    34,205    55,763    50,155    53,483    72,515    61,372    64,089    72,903      73,779     76,936
 Taxes                                              829        1,512    2,828    3,831    4,527     8,283    14,030    13,118    13,973    19,121    15,685    15,738    13,372      12,174     11,540
 Net Income                                       1,989        3,496    6,119    8,235   14,013    25,922    41,733    37,037    39,510    53,394    45,687    48,351    59,531      61,605     65,395

Basic Shares                                          5,987    6,106    6,218    6,299    6,412     6,478     6,551     6,470     6,086     5,753     5,471     5,217     4,955       4,636      4,385
Diluted Shares                                        6,143    6,225    6,315    6,349    6,473     6,556     6,618     6,522     6,123     5,793     5,500     5,252     5,000       4,682      4,431
GAAP Basic EPS                                        $0.33    $0.57    $0.98    $1.31    $2.19     $4.00     $6.37     $5.71     $6.47     $9.26     $8.32     $9.25    $11.98      $13.25     $14.87
GAAP Diluted EPS                                      $0.32    $0.56    $0.97    $1.30    $2.16     $3.95     $6.31     $5.66     $6.43     $9.20     $8.28     $9.19    $11.87      $13.12     $14.72

Share-based compensation expense                        0.0      0.0      0.0      0.0    870.0   1,168.0   1,740.0   2,253.0   2,863.0   3,586.0   4,210.0   4,840.0   4,740.0       5,200      5,200
Non-GAAP Net Income                                   1,989    3,496    6,119    8,235   14,883    27,090    43,473    39,290    42,373    56,980    49,897    53,191    64,271      66,805     70,595
Basic Non-GAAP EPS ex SOE                             $0.00    $0.00    $0.00    $0.00    $0.14     $4.18     $6.64     $6.06     $6.94     $9.88     $9.09    $10.17    $12.94      $14.38     $16.06
Diluted Non-GAAP EPS ex SOE                           $0.32    $0.56    $0.97    $1.30    $2.30     $4.13     $6.57     $6.01     $6.90     $9.82     $9.04    $10.11    $12.82      $14.23     $15.89

Dividend Per Share                                    $0.00    $0.00    $0.00    $0.00    $0.00     $0.00     $0.38     $1.63     $1.81     $1.98     $2.18     $2.40     $2.72       $2.92      $2.92

EBIT                                                  2,453    4,409    8,327   11,740   18,385    33,790    55,241    48,999    52,503    71,230    60,024    61,344    70,898      72,579     75,736
Depreciation & Amortization                             225      317      496      734    1,027     1,814     3,277     6,757     7,946    11,257    10,505    10,505    10,505      10,000     10,000
EBITDA                                                2,678    4,726    8,823   12,474   19,412    35,604    58,518    55,756    60,449    82,487    70,529    71,849    81,403      82,579     85,736
EBITDA Per Share                                      $0.45    $0.77    $1.42    $1.98    $3.03     $5.49     $8.94     $8.60     $9.90    $14.31    $12.85    $13.74    $16.36      $17.77     $19.51

Margin Analysis
Incremental Gross Profit Margin                       29.0%   54.5%    37.4%    74.3%    37.9%     42.1%     51.5%     -30.3%    52.4%     45.3%     51.8%     28.9%     37.5%        40.5%      42.3%
Gross Profit                                          29.0%   34.0%    35.2%    40.1%    39.4%     40.5%     43.9%      37.6%    38.6%     40.1%     39.1%     38.5%     38.3%        38.4%      38.6%
R&D                                                    3.7%    3.3%     3.0%     3.1%     2.7%      2.2%      2.2%       2.6%     3.3%      3.5%      4.7%      5.1%      5.4%         5.7%       5.7%
SG&A                                                  12.6%   12.3%    10.0%     9.7%     8.5%      7.0%      6.4%       6.3%     6.6%      6.1%      6.6%      6.7%      6.3%         6.4%       6.3%
Operating Expenses                                    16.3%   15.6%    13.0%    12.8%    11.2%      9.3%      8.6%       9.0%     9.9%      9.6%     11.2%     11.7%     11.6%        12.1%      12.0%
EBITDA                                                13.9%   19.7%    23.5%    29.1%    29.8%     32.9%     37.4%      32.6%    33.1%     35.3%     32.7%     31.3%     30.6%        30.0%      30.0%
Incremental EBIT Margin                               12.7%   41.7%    29.1%    63.0%    29.8%     35.8%     44.4%     -43.3%    29.5%     36.8%     62.0%      9.7%     26.3%        17.1%      31.7%
EBIT                                                  12.7%   18.4%    22.2%    27.4%    28.2%     31.2%     35.3%      28.7%    28.7%     30.5%     27.8%     26.8%     26.7%        26.4%      26.5%
Other Income (Expense)                                 1.9%    2.5%     1.7%     0.8%     0.2%      0.4%      0.3%       0.7%     0.5%      0.5%      0.6%      1.2%      0.8%         0.4%       0.4%
Tax Rate                                              29.4%   30.2%    31.6%    31.8%    24.4%     24.2%     25.2%      26.2%    26.1%     26.4%     25.6%     24.6%     18.3%        16.5%      15.0%
Net Income                                            10.3%   14.6%    16.3%    19.2%    21.5%     23.9%     26.7%      21.7%    21.6%     22.8%     21.2%     21.1%     22.4%        22.4%      22.9%

YoY '
 Sales                                                        24.3%    56.2%    14.4%     74.0%    66.0%     44.6%       9.2%    16.8%     27.9%      -7.7%     6.3%     15.9%         3.7%       3.6%
 COGS                                                         15.6%    53.3%     5.7%     62.8%    62.9%     36.3%      21.4%    27.8%     24.8%      -6.2%     7.4%     16.1%         3.6%       3.4%
 Gross Profit                                                 45.7%    61.8%    30.5%     94.6%    70.6%     56.7%      -6.3%     2.7%     32.7%     -10.0%     4.7%     15.5%         3.9%       4.0%
 R&D                                                           9.8%    41.8%    20.2%     60.7%    36.3%     39.2%      32.4%    78.7%     33.5%      24.5%    15.3%     22.9%        10.3%       4.1%
 SG&A                                                         21.8%    26.9%    10.3%     46.7%    37.7%     32.1%       7.9%    19.5%     19.5%      -0.9%     7.5%      9.5%         5.0%       2.3%
 EBITDA                                                       76.5%    86.7%    41.4%    120.0%    83.4%     64.4%      -4.7%     3.3%     36.5%     -14.5%     1.9%     13.3%         1.4%       3.8%
 EBIT                                                         79.7%    88.9%    41.0%    120.8%    83.8%     63.5%     -11.3%    -5.0%     35.7%     -15.7%     2.2%     15.6%         2.4%       4.3%
 Pretax Income                                                77.7%    78.7%    34.9%    107.2%    84.5%     63.0%     -10.1%    -4.1%     35.6%     -15.4%     4.4%     13.8%         1.2%       4.3%
 Net Income                                                   75.8%    75.0%    34.6%    129.0%    85.0%     61.0%     -11.3%    -5.3%     35.1%     -14.4%     5.8%     23.1%         3.5%       6.2%
 Diluted EPS                                                  73.4%    72.5%    33.9%    123.4%    82.6%     59.6%     -10.3%     1.9%     43.0%     -10.0%    11.0%     29.2%        10.6%      12.2%

Source: Company Reports, Longbow Research Estimates




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                                                                                                                           Exhibit 9
                                                                                                                     NYSE: AAPL December 7, 2018




     Apple
     Income Statement - Calendar Year                                                                                                 Symbol: AAPL
     ($ Millions)                                                                                                              Last Update: 12/07/18


     Income Statement                                 2011A         2012A     2013A     2014A     2015A     2016A     2017A       2018E      2019E
      Sales                                          127,841       164,687   173,992   199,800   234,988   218,118   239,176     267,039    277,620
      COGS                                            73,618        95,668   108,902   121,368   140,680   134,102   147,254     164,750    170,852
      Gross Profit                                    54,223        69,019    65,090    78,432    94,308    84,016    91,922     102,290    106,768
        R&D                                            2,612         3,633     4,795     6,606     8,576    10,512    12,117      14,873     15,815
        SG&A                                           8,308        10,275    11,043    12,540    14,577    14,292    15,546      17,135     17,589
      Operating Expense                               10,920        13,908    15,838    19,146    23,153    24,804    27,663      32,008     33,404
      EBIT                                            43,303        55,111    49,252    59,286    71,155    59,212    64,259      70,281     73,364
      Other Income (Expense)                             416           847       940       904     1,517     1,767     2,680       1,549      1,200
      Income Before Taxes                             43,719        55,958    50,192    60,190    72,672    60,979    66,939      71,830     74,564
      Taxes                                           10,737        14,211    13,161    15,728    18,941    15,762    16,414      10,690     11,902
      Net Income                                      32,982        41,747    37,031    44,462    53,731    15,762    16,414      10,662     10,662

     Basic Shares                                          6,498   6,563.3   6,394.5   5,978.2   5,682.4   5,405.8   5,170.8       4,861      4,573
     Diluted Shares                                        6,571   6,628.3   6,442.1   6,015.6   5,721.2   5,433.7   5,209.1       4,906      4,619
     GAAP Basic EPS                                        $5.07     $6.36     $5.80     $7.47     $9.48     $8.40     $9.79      $12.63     $13.75
     GAAP Diluted EPS                                      $5.02     $6.30     $5.76     $7.42     $9.41     $8.35     $9.72      $12.51     $13.61

     Share-based compensation expense                 1,289.0      1,865.0   2,389.0   3,070.0   3,776.0   4,388.0   4,880.0       4,744      5,200
     Non-GAAP Net Income                               34,271       43,612    39,420    47,532    57,507    49,605    55,405      65,884     67,862
     Basic Non-GAAP EPS ex SOE                          $5.27        $6.65     $6.18     $7.98    $10.14     $9.21    $10.74      $13.61     $14.88
     Diluted Non-GAAP EPS ex SOE                        $5.21        $6.58     $6.13     $7.93    $10.08     $9.16    $10.66      $13.49     $14.73

     Dividend Per Share                                    $0.00     $0.76     $1.69     $1.85     $2.03     $2.23     $2.46       $2.82      $2.92

     EBIT                                             43,303        55,111    49,252    59,286    71,155    59,212    64,259      70,281     73,364
     Depreciation & Amortization                       2,179         4,144     7,313     8,377    11,636    10,538    10,263      10,260     10,000
     EBITDA                                           45,482        59,255    56,565    67,663    82,791    69,750    74,522      80,541     83,364
     EBITDA Per Share                                  $6.99         $9.03     $8.86    $11.37    $14.60    $12.94    $14.44      $16.63     $18.28

     Margin Analysis
     Incremental Gross Profit Margin                          NM    40.2%     -42.2%    51.7%     45.1%     61.0%     37.5%        37.2%      42.3%
     Gross Profit                                          42.4%    41.9%      37.4%    39.3%     40.1%     38.5%     38.4%        38.3%      38.5%
     R&D                                                    2.0%     2.2%       2.8%     3.3%      3.6%      4.8%      5.1%         5.6%       5.7%
     SG&A                                                   6.5%     6.2%       6.3%     6.3%      6.2%      6.6%      6.5%         6.4%       6.3%
     Operating Expenses                                     8.5%     8.4%       9.1%     9.6%      9.9%     11.4%     11.6%        12.0%      12.0%
     EBITDA                                                35.6%    36.0%      32.5%    33.9%     35.2%     32.0%     31.2%        30.2%      30.0%
     Incremental EBIT Margin                                  NM    32.0%     -63.0%    38.9%     33.7%     70.8%     24.0%        21.6%      29.1%
     EBIT                                                  33.9%    33.5%      28.3%    29.7%     30.3%     27.1%     26.9%        26.3%      26.4%
     Other Income (Expense)                                 0.3%     0.5%       0.5%     0.5%      0.6%      0.8%      1.1%         0.6%       0.4%
     Tax Rate                                              24.6%    25.4%      26.2%    26.1%     26.1%     25.8%     24.5%        14.9%      16.0%
     Net Income                                            25.8%    25.3%      21.3%    22.3%     22.9%      7.2%      6.9%         4.0%       3.8%

     YoY '
      Sales                                                  NM     28.8%       5.7%    21.3%     17.6%      -7.2%     9.7%        11.6%       4.0%
      COGS                                                   NM     30.0%      13.8%    26.9%     15.9%      -4.7%     9.8%        11.9%       3.7%
      Gross Profit                                           NM     27.3%      -5.7%    13.6%     20.2%     -10.9%     9.4%        11.3%       4.4%
      R&D                                                    NM     39.1%      32.0%    81.8%     29.8%      22.6%    15.3%        22.7%       6.3%
      SG&A                                                   NM     23.7%       7.5%    22.0%     16.2%      -2.0%     8.8%        10.2%       2.7%
      EBITDA                                                 NM     30.3%      -4.5%    14.2%     22.4%     -15.8%     6.8%         8.1%       3.5%
      EBIT                                                   NM     27.3%     -10.6%     7.6%     20.0%     -16.8%     8.5%         9.4%       4.4%
      Pretax Income                                          NM     28.0%     -10.3%     7.6%     20.7%     -16.1%     9.8%         7.3%       3.8%
      Net Income                                             NM     26.6%     -11.3%     6.5%     20.8%     -70.7%     4.1%       -35.0%       0.0%
      Diluted EPS                                            NM     25.6%      -8.6%    17.8%     26.8%     -11.3%    16.4%        28.8%       8.7%

     Source: Company Reports, Longbow Research Estimates




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                                                                                                                                                       Exhibit 9
                                                                                                                                                  NYSE: AAPL December 7, 2018




Apple Corp.
Balance Sheet                                                                                                                                                               Symbol: AAPL
($ Millions)                                                                                                                                                         Last Update: 12/07/18

                                                       Dec-15     Mar-16     Jun-16     Sept-16      Dec-16     Mar-17     Jun-17     Sept-17       Dec-17     Mar-18     Jun-18     Sept-18
Balance Sheet                                          1Q16A      2Q16A      3Q16A       4Q16A       1Q17A      2Q17A      3Q17A       4Q17A        1Q18A      2Q18A      3Q18A       4Q18A
Current Assets
  Cash & Equivalents                                   16,689      21,514     18,237     20,484      16,371      15,157     18,571     20,289        27,491     45,059     31,971     25,913
  Short Term Investments                               21,385      33,769     43,519     46,671      44,081      51,944     58,188     53,892        49,662     42,881     38,999     40,388
  Accounts Receivable                                  12,953      12,229     11,714     15,754      14,057      11,579     12,399     17,874        23,440     14,324     14,104     23,186
  Inventories                                           2,451       2,281      1,831      2,132       2,712       2,910      3,146      4,855         4,421      7,662      5,936      3,956
  Trade Receivables                                    11,668       7,595      7,328     13,545      13,920       9,033     10,233     17,799        27,459      8,084     12,263     25,809
  Other Current Assets                                 11,073      10,204     11,132      8,283      12,191      11,367     10,338     13,936        11,337     12,043     12,488     12,087
Total Current Assets                                   76,219      87,592     93,761    106,869     103,332     101,990    112,875    128,645       143,810    130,053    115,761    131,339
  Long Term Securities                                177,665     177,645    169,764    170,430     185,638     189,740    184,757    194,714       207,944    179,286    172,773    170,799
  PP&E                                                 22,300      23,203     25,448     27,010      26,510      27,163     29,286     33,783        33,679     35,077     38,117     41,304
  Goodwill                                              5,202       5,249      5,261      5,414       5,423       5,473      5,661      5,717         5,889          0          0          0
  Other Assets                                         11,898      11,588     11,368     11,963      10,238      10,166     12,594     12,460        15,472     23,086     22,546     22,283
Total Assets                                          293,284     305,277    305,602    321,686     331,141     334,532    345,173    375,319       406,794    367,502    349,197    365,725

Current Liabilities
  Accounts Payable                                     33,312      25,098     26,318     37,294      38,510      28,573     31,915     49,049        62,985     34,311     38,489     55,888
  Deferred Revenue                                      8,989       9,461      8,352      8,080       7,889       7,682      7,608      7,548         8,044      7,775      7,403      7,543
  Other Current Liabilities                            24,032      23,208     20,820     22,027      23,739      23,096     23,304     25,744        26,281     26,756     25,184     32,687
  Short-Term Debt                                       9,759      10,498     15,996     11,605      13,992      13,991     18,475     18,473        18,478     20,478     17,472     20,748
Total Current Liabilities                              76,092      68,265     71,486     79,006      84,130      73,342     81,302    100,814       115,788     89,320     88,548    116,866
  Long-Term Debt                                       53,204      69,374     68,939     75,427      73,557      84,531     89,864     97,207       103,922    101,362     97,128     93,735
  Deferred Revenue, non-current                         3,546       3,322      3,064      2,930       3,163       3,107      2,984      2,836         3,131      3,087      2,878      2,797
  Other Liabilities                                    32,175      33,859     35,572     36,074      37,901      39,470     38,598     40,415        43,754     46,855     45,694     45,180
Total Liabilities                                     165,017     174,820    179,061    193,437     198,751     200,450    212,748    241,272       266,595    240,624    234,248    258,578

Shareholders' Equity
    Common Stock                                       28,253  29,484  30,106  31,251                32,144      33,579  34,445  35,867              36,447  38,044  38,624  40,201
    Retained Earnings                                 101,494 102,021  96,542  96,364               100,001     100,925  98,525  98,330             104,593  91,898  79,436  70,400
    Other, net                                         (1,480) (1,048)   (107)    634                   245        (422)   (545)   (150)               (841) (3,064) (3,111) (3,454)
Total Shareholders' Equity                            128,267 130,457 126,541 128,249               132,390     134,082 132,425 134,047             140,199 126,878 114,949 107,147
Total Liabilities & Shareholders' Equity              293,284 305,277 305,602 321,686               331,141     334,532 345,173 375,319             406,794 367,502 349,197 365,725

Balance Sheet Analysis
DSO                                                       17.9       22.7       25.8       26.7         17.4       22.1       24.1       26.3          21.3       28.2       24.4       27.0
Inventory Turns                                           75.7       51.8       51.1       58.6         79.6       46.0       36.9       32.6          46.9       25.0       19.3       31.4
Days on Hand                                               4.8        7.0        7.1        6.2          4.6        7.9        9.9       11.2           7.8       14.6       18.9       11.6
DPO                                                       69.1       87.0       89.4       99.9         71.8       94.7       98.8      113.1          94.0      117.7      101.1      110.9
Cash Cycle                                               (46.3)     (57.2)     (56.4)     (67.0)       (49.8)     (64.7)     (64.9)     (75.7)        (64.9)     (74.9)     (57.9)     (72.3)

Asset Turnover                                            0.7        0.7        0.6         0.6         0.6        0.6        0.5         0.6          0.6        0.6        0.6         0.7
NOPAT Margin                                            23.8%      20.6%      17.8%       18.6%       22.1%      20.0%      18.3%       19.2%        22.1%      22.2%      20.5%       22.0%
ROA                                                     16.5%      13.9%       9.9%       11.1%       14.3%      12.7%       9.8%       11.2%        13.8%      14.0%      12.2%       15.5%
EquityTurnover                                            1.6        1.6        1.3         1.5         1.6        1.6        1.4         1.6          1.8        1.8        1.8         2.3
ROE                                                     38.9%      32.2%      23.4%       27.3%       35.8%      31.8%      24.9%       30.3%        39.4%      40.7%      36.2%       49.9%
Invested Capital Turnover                                (13.1)      (8.6)      (7.9)       (8.9)      (12.9)      (8.4)      (8.1)      (10.5)       (17.0)     (11.9)     (13.0)      (17.0)
ROIC                                                    -312%      -177%      -141%       -164%       -285%      -168%      -148%       -202%        -374%      -265%      -268%       -374%
Net Debt                                              (152,776) (153,056) (146,585) (150,553)       (158,541) (158,319) (153,177) (153,215)        (162,697) (145,386) (129,143) (122,617)
Net Leverage                                               (1.8)     (1.9)     (2.0)     (2.1)           (2.3)     (2.3)     (2.2)     (2.1)            (2.2)     (1.9)     (1.6)     (1.5)

Debt/Equity                                             49.1%       61.2%      67.1%      67.9%       66.1%       73.5%      81.8%      86.3%         87.3%      96.0%      99.7%     106.8%
Debt/Total Capital                                      32.9%       38.0%      40.2%      40.4%       39.8%       42.4%      45.0%      46.3%         46.6%      49.0%      49.9%      51.7%
Book Value/Share                                       $23.07      $23.66     $23.25     $23.90      $24.99      $25.66     $25.49     $26.03        $27.42     $25.25     $23.54     $22.31
Tangible Book Value/Share                              $22.14      $22.71     $22.28     $22.89      $23.96      $24.61     $24.40     $24.92        $26.27     $25.25     $23.54     $22.31

Source: Company Reports, Longbow Research Estimates




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                                                                                                                                                       Exhibit 9
                                                                                                                                                 NYSE: AAPL December 7, 2018




Apple Corp.
CashFlow Statement                                                                                                                                                            Symbol: AAPL
($ Millions)                                                                                                                                                           Last Update: 12/07/18

                                                              Dec-15     Mar-16     Jun-16     Sept-16    Dec-16     Mar-17     Jun-17     Sept-17    Dec-17     Mar-18     Jun-18     Sept-18
Cash Flow Statement                                           1Q16A      2Q16A      3Q16A       4Q16A     1Q17A      2Q17A      3Q17A       4Q17A     1Q18A      2Q18A      3Q18A       4Q18A
Operating Activities
Net Income                                                    18,361     28,877     36,673      45,687    17,891     28,920     37,637      48,351     20,065     33,887     45,406     59,531
Depreciation & Amortization                                    2,954      5,431      7,957      10,505     2,987      5,319      7,673      10,157      2,745      5,484      8,149     10,903
  Stock-Based Compensation                                     1,078      2,126      3,180       4,210     1,256      2,473      3,666       4,840      1,296      2,644      3,995      5,340
  Deferred income tax expense                                  1,592      3,092      5,191       4,938     1,452      2,822      4,764       5,966    (33,748)   (34,235)   (33,109)   (32,590)
Changes in Working Capital                                     3,478       (462)    (3,303)        484     3,470        254     (5,798)     (5,550)    37,144     35,794     33,880     34,694
    Accounts Receivable                                        3,896      4,620      5,135       1,095     1,697      4,183      3,381      (2,093)    (5,570)     3,523      3,756     (5,322)
    Inventories                                                 (102)        68        518         217      (580)      (778)    (1,014)     (2,723)       434     (2,807)    (1,114)       828
    Other Curent Assets                                          933      6,199      6,166       1,090    (1,821)     3,616      3,312      (9,572)    (9,857)     8,662        (65)    (8,010)
    Accounts Payable                                            (852)    (9,475)    (9,622)      1,791     2,460     (6,862)    (5,212)      9,618     14,588    (13,220)   (11,139)     9,175
    Other Current Liabilities                                   (397)    (1,874)    (5,500)     (3,709)    1,714         95     (6,265)       (780)    37,549     39,636     42,442     38,023
  Other                                                            0          0          0           0         0       (209)         0        (166)       791       (151)      (410)      (444)
Other Operating Activities                                     2,670      5,218      8,371       9,148     2,708      5,086      8,430      10,640    (31,661)   (31,742)   (29,524)   (27,694)
Cash From Operating Activities                                27,463     39,064     49,698      65,824    27,056     39,579     47,942      63,598     28,293     43,423     57,911     77,434

Investing Activities
Purchases of marketable securities                         (47,836)      (86,242) (112,068) (142,428)     (54,272)   (99,821) (123,781) (159,486)     (41,272)   (48,449)   (56,133) (71,356)
Proceeds from maturities/sales of marketable securities     31,776        59,199    84,841 111,794         38,691     72,883    96,094 126,339         30,849     70,826     87,904 103,719
Payments made in connection with business acquisitions, ne     (86)         (140)     (146)     (297)         (17)       (67)     (248)     (329)        (173)      (305)      (431)    (721)
Capital Expenditures                                        (4,006)       (6,605)   (8,757) (12,734)       (3,334)    (6,309)   (8,586) (12,451)       (2,810)    (7,005)   (10,272) (13,313)
Other                                                         (298)         (322)   (2,450)   (2,312)        (190)       (10)       17      (519)        (184)        53     (2,001)  (2,263)
Cash From Investing Activities                             (20,450)      (34,110) (38,580) (45,977)       (19,122)   (33,324) (36,504) (46,446)       (13,590)    15,120     19,067   16,066

Financing Activities
Issuance of Common Stock                                            1        247        247        495          0        273        274        555          0        327        328        669
Excess tax benefits from equity awards                            224        264        391        407        178        225        534        627          0          0          0          0
Taxes paid related to net share settlement of equity awards      (597)      (751)    (1,361)    (1,570)      (629)      (788)    (1,646)    (1,874)    (1,038)    (1,190)    (2,267)    (2,527)
Dividend Payments                                              (2,969)    (5,871)    (9,058)   (12,150)    (3,130)    (6,134)    (9,499)   (12,769)    (3,339)    (6,529)   (10,182)   (13,712)
Repurchase of common stock                                     (6,863)   (13,530)   (23,696)   (29,722)   (10,851)   (18,012)   (25,105)   (32,900)   (10,095)   (32,851)   (53,634)   (72,738)
Proceeds from isuance of term debt, net                             0     15,584     15,484     24,954          0     10,975     18,225     28,662      6,969      6,969        469      6,969
Other Financing Activitities                                   (1,240)      (503)     3,992     (2,897)     2,385      1,879      3,866        352          2       (499)       (10)    (6,537)
Cash From Financing Activities                                (11,444)    (4,560)   (14,001)   (20,483)   (12,047)   (11,582)   (13,351)   (17,347)    (7,501)   (33,773)   (65,296)   (87,876)
Net Change In Cash                                             (4,431)       394     (2,883)      (636)    (4,113)    (5,327)    (1,913)      (195)     7,202     24,770     11,682      5,624
Cash at the Beginning of the Period                            21,120     21,120     21,120     21,120     20,484     20,484     20,484     20,484     20,289     20,289     20,289     20,289
Cash at the End of the Period                                  16,689     21,514     18,237     20,484     16,371     15,157     18,571     20,289     27,491     45,059     31,971     25,913

Free Cash Flow
  Cashflow From Operations                                    27,463     11,601     10,634      16,126    27,056     12,523       8,363     15,656    28,293     15,130     14,488      19,523
  Capital Expenditures                                        (4,006)    (2,599)    (2,152)     (3,977)   (3,334)    (2,975)     (2,277)    (3,865)   (2,810)    (4,195)    (3,267)     (3,041)
Free Cash Flow                                                23,457      9,002      8,482      12,149    23,722      9,548       6,086     11,791    25,483     10,935     11,221      16,482
  Dividend Payments                                           (2,969)    (2,902)    (3,187)     (3,092)   (3,130)    (3,004)     (3,365)    (3,270)   (3,339)    (3,190)    (3,653)     (3,530)
Free Cash Flow (Post-Div)                                     20,488      6,100      5,295       9,057    20,592      6,544       2,721      8,521    22,144      7,745      7,568      12,952
Free Cash Flow Per Diluted Share                               $3.66      $1.10      $0.97       $1.68     $3.86      $1.24       $0.52      $1.64     $4.29      $1.53      $1.54       $2.67

Free Cash Flow - YTD
  Cashflow From Operations                                    27,463     39,064     49,698      65,824    27,056     39,579     47,942      63,598    28,293     43,423      57,911     77,434
  Capital Expenditures                                        (4,006)    (6,605)    (8,757)    (12,734)   (3,334)    (6,309)    (8,586)    (12,451)   (2,810)    (7,005)    (10,272)   (13,313)
Free Cash Flow                                                23,457     32,459     40,941      53,090    23,722     33,270     39,356      51,147    25,483     36,418      47,639     64,121
  Dividend Payments                                           (2,969)    (5,871)    (9,058)    (12,150)   (3,130)    (6,134)    (9,499)    (12,769)   (3,339)    (6,529)    (10,182)   (13,712)
Free Cash Flow (Post-Div)                                     20,488     26,588     31,883      40,940    20,592     27,136     29,857      38,378    22,144     29,889      37,457     50,409
Free Cash Flow Per Diluted Share (Post-Div)                    $3.66      $4.80      $5.83       $7.59     $3.86      $5.16      $5.70       $7.40     $4.29      $5.90       $7.60     $10.40
Free Cash Flow Per Diluted Share (Pre-Div)                     $4.19      $5.86      $7.48       $9.84     $4.45      $6.32      $7.52       $9.87     $4.94      $7.19       $9.67     $13.23

Source: Company Reports, Longbow Research Estimates




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                                                                                                                                                                                       Exhibit 9
                                                                                                                                                                             NYSE: AAPL December 7, 2018




                                                      Peer Valuation Analysis - Supply Chain - Electronics and Industrial Technology (Pt. 1)

                                                                  Price       Target   Potential         52-Week             QTD       YTD               Market Cap                  Average             Dividend      Short Int %
                                       Ticker         Rating     12/06/18      Price    Return      High         Low        Return    Return             ($ Millions)   Shares        Volume      Beta     Yield        of Float
Apple (Sept.)                          AAPL          NEUTRAL     $174.72        NM       NM        $233.47     $150.24       -1.1%     6.0%     AAPL      $846,963      4,847.5     32,466,537    1.10     1.7%          0.9%
Amphenol - (Dec.)                       APH            BUY        $83.92     $98.00     16.8%       $97.56        $80.42     -1.8%     -1.8%    APH       $26,217        312.4       1,361,648    1.03        1.1%        1.5%
Belden - (Dec.)                         BDC          NEUTRAL     $48.96        NM         NM        $87.15        $47.61     -2.9%    -34.5%    BDC       $2,339         47.8         453,328     1.58        0.4%       13.6%
CommScope - (Dec.)                     COMM          NEUTRAL      $17.50       NM         NM        $41.60        $17.20     -1.0%    -53.3%   COMM       $3,419         195.4       1,957,989    1.01         NM         2.8%
Littelfuse - (Dec.)                    LFUS          NEUTRAL     $178.15       NM         NM       $238.11       $163.43     -2.7%     -6.7%   LFUS       $4,538         25.5         180,312     1.11        0.9%        3.3%
Sensata - (Dec.)                         ST            BUY        $45.82     $60.00     30.9%       $57.40        $41.12     0.4%     -10.7%     ST       $7,725         168.6       1,043,955    1.22         NM         5.7%
TE Connectivity - (Sept.)               TEL            BUY        $94.96     $102.00     7.4%      $108.23        $72.60     2.1%     -20.4%    TEL       $33,236        350.0       1,872,002    1.15        2.4%        1.1%
Arrow - (Dec.)                          ARW            BUY        $74.69      $98.00    31.2%       $87.26        $64.04     -1.0%     -6.2%    ARW        $6,618        88.6         493,520     1.30         NM         2.8%
Avnet - (Jun.)                          AVT            BUY        $42.98      $54.00    25.6%       $49.41        $37.11     1.1%      9.3%     AVT        $5,006        116.5        990,724     1.17        1.9%        5.1%
Anixter - (Dec.)                        AXE            BUY        $60.04      $85.00    41.6%       $88.85        $56.25     -0.8%    -20.3%    AXE        $2,047        34.1         178,372     1.31         NM         2.3%
ADI (Oct.)                              ADI          NOT RATED    $89.53       NM        NM        $103.59        $76.62     -1.0%     3.6%     ADI       $27,961        312.3       2,880,721    1.21        2.1%        3.3%
Broadcom (Oct.)                        AVGO           NEUTRAL    $227.24       NM        NM        $275.70       $197.46     -2.1%     -7.8%   AVGO       $98,849        435.0       4,044,917    1.41        3.0%        2.3%
Diodes, Inc. - (Dec.)                  DIOD             BUY       $32.77      $41.00    25.1%       $39.31        $26.09     -1.3%    15.8%    DIOD        $1,674         51.1        334,547     1.19         NM         7.7%
Microchip (Mar.)                       MCHP          NOT RATED   $73.40        NM        NM        $104.20       $60.70      -1.5%    -13.7%   MCHP       $17,940        244.4       3,115,998    1.27        2.0%       16.5%
ON Semi - (Dec.)                        ON              BUY       $16.26      $29.00    78.4%       $27.10        $14.55     -1.1%    -11.8%    ON         $6,982        429.4       6,756,124    1.56         NM         7.0%
Qorvo - (Mar)                          QRVO             BUY       $62.72      $86.00    37.1%       $86.84        $60.79     -2.2%     -3.7%   QRVO        $8,194        130.6       1,604,594    1.61         NM         5.2%
Skyworks - (Sept)                      SWKS             BUY       $70.61     $113.00    60.0%      $115.98        $68.58     -0.2%    -24.3%   SWKS       $12,724        180.2       2,202,794    1.57        2.1%        3.5%
Texas Instruments (Dec.)                TXN             BUY      $97.32      $109.00    12.0%      $120.75       $87.90      1.3%      -5.6%    TXN       $96,249        989.0       5,824,525    1.23        3.2%        1.8%
Vishay Intertech - (Dec.)               VSH           NEUTRAL     $20.22       NM        NM         $26.50        $16.87     0.6%      -1.6%    VSH        $3,093        152.9       1,848,993    1.24        1.7%       10.0%
Peer Average                                                                                                                 -0.8%    -9.9%                $63,778                   2,063,615   1.29

Philly Semi Index                       SOX                      $1,202.83                         $1,464.62    $1,119.37    -0.5%     -3.5%    .SOX-X
Benchmark - S&P 500                     SPX                      $2,695.95                         $2,940.91    $2,532.69    -0.2%     1.0%    .SPX-UT

                                                          Longbow Fiscal Year EPS                            Consensus Fiscal Year EPS                                            Longbow Calendar Year EPS
                                                        EPS                      P/E                 EPS                       P/E                                        EPS                                   P/E
                                       2017A           2018E      2019E        2018E    2019E       2018E         2019E       2018E    2019E               2017A         2018E        2019E      2017A        2018E      2019E
Apple                                  $9.19          $11.87     $13.12         14.7     13.3       $12.25       $13.58       14.3     12.9     AAPL       $9.72        $12.51        $13.61     18.0         14.0       13.6
Amphenol                               $3.12           $3.68      $3.90        22.8      21.5       $3.70         $4.03      22.7      20.8     APH        $3.12         $3.68         $3.90      26.9        22.8        21.5
Belden                                 $5.43           $6.10      $6.42         8.0       7.6       $6.09         $6.43       8.0       7.6     BDC        $5.43         $6.10         $6.42       9.0         8.0         7.6
CommScope                              $2.13           $2.12      $2.10         8.3       8.3       $2.14         $2.15       8.2       8.1    COMM        $2.13         $2.12         $2.10       8.2         8.3         8.3
Littelfuse                             $7.71           $9.56     $10.27        18.6      17.3       $9.57        $10.40      18.6      17.1    LFUS        $7.71         $9.56        $10.27      23.1        18.6        17.3
Sensata                                $3.19           $3.69      $4.11        12.4      11.1       $3.68         $4.08      12.4      11.2      ST        $3.19         $3.69         $4.11      14.4        12.4        11.1
TE Connectivity                        $4.83           $5.62      $5.67        16.9      16.7       $5.61         $5.71      16.9      16.6     TEL        $5.10         $5.48         $5.83      18.6        17.3        16.3
Arrow                                  $7.57           $8.81      $9.64         8.5      7.8        $8.82         $9.12       8.5       8.2     ARW        $7.57         $8.81         $9.64       9.9         8.5        7.8
Avnet                                  $3.25           $3.55      $4.50        12.1      9.6        $3.57         $4.28      12.0      10.0     AVT        $3.26         $4.09         $4.77      13.2        10.5        4.8
Anixter                                $5.16           $5.74      $6.78        10.5      8.9        $5.76         $6.67      10.4       9.0     AXE        $5.16         $5.74         $6.78      11.6        10.5        8.9
ADI                                    $4.73           $5.93       $5.72       15.1      15.6        $5.87        $5.58      15.3      16.0     ADI         $4.93        $5.90         $5.81      18.2        15.2        15.4
Broadcom                              $16.01          $20.84      $22.73       10.9      10.0       $21.02       $22.31      10.8      10.2    AVGO        $16.01       $20.84        $22.73      14.2        10.9
Diodes, Inc.                           $1.37           $2.27       $2.44       14.4      13.5        $2.67        $2.91      12.3      11.3    DIOD         $1.37        $2.27         $2.44      23.9        14.4        13.5
Microchip                             $5.45           $6.57       $7.22        11.2      10.2       $6.29         $7.04      11.7      10.4    MCHP         $5.09        $6.29         $7.04      14.4        11.7        10.4
ON Semi                                $1.46           $1.89       $2.00        8.6       8.1        $1.90        $1.91       8.5       8.5     ON          $1.46        $1.89         $2.00      11.2         8.6         8.1
Qorvo                                  $4.57           $5.15       $5.77       12.2      10.9        $5.66        $6.43      11.1       9.8    QRVO         $4.93        $5.44         $6.19      13.7        12.2        10.9
Skyworks                               $6.46           $7.22       $7.55        9.8       9.4        $6.67        $6.99      10.6      10.1    SWKS         $6.85        $7.14         $7.84      10.9         9.8         9.4
Texas Instruments                      $3.60           $5.49       $5.16       17.7      18.8        $5.57        $5.55      17.5      17.5     TXN         $3.60        $5.49         $5.16      27.0        17.7        18.8
Vishay Intertech                       $1.43           $2.04       $2.13        9.9       9.5        $2.06        $2.21       9.8       9.2     VSH         $1.43        $2.04         $2.13      14.2         9.9         9.5
Peer Average                                                                  12.8x     12.0x                                12.6x     11.8x                                                     15.8x        12.7x      11.8x
Philly Semi Index                    $74.18           $95.29      $97.62       12.7      12.4                                12.7x     12.4x               $74.18        $95.29        $97.62     18.4        12.7        12.4
Benchmark - S&P 500                  $129.66          $156.65    $168.01       17.2      16.0      $156.65       $168.01     17.2x     16.0x              $129.66       $156.65       $168.01     20.8        17.2        16.0

Note: S&P 500 used as a benchmark.
Source: Longbow Research, Company Reports, Factset




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                                                                                                                                                                               Exhibit 9
                                                                                                                                                                       NYSE: AAPL December 7, 2018




                                                                 Peer Valuation Analysis - Supply Chain - Electronics and Industrial Technology (Pt. 2)
                                                                            Longbow Calendar Year Sales                                                            Longbow Calendar Year EBITDA
                                                                                                18E/17A       3-Year   Price to   EV to                   EBITDA                         EV/17A   EV/18E    EV/19E
                                      Ticker          Rating      2017A     2018E     2019E     Growth       CAGR 18E 19E Sales 19E Sales      EV/Share    2017A    2018E     2019E     EBITDA    EBITDA    EBITDA
Apple (Sept.)                         AAPL           NEUTRAL    $239,176   $267,039  $277,620    11.6%         6.2%      3.1x     2.6x         $149.43    $14.44    $16.63   $18.28       10.3x    9.0x      8.2x
Amphenol - (Dec.)                      APH             BUY      $7,011      $8,042      $8,291     14.7%       9.5%      3.2x       3.4x        $91.09     $5.24    $6.15     $6.54     17.4x     14.8x      13.9x
Belden - (Dec.)                        BDC           NEUTRAL    $2,389      $2,603      $2,646     9.0%        1.0%      0.9x       1.3x        $73.54     $8.81   $10.02    $10.36      8.3x      7.3x       7.1x
CommScope - (Dec.)                    COMM           NEUTRAL    $4,561      $4,561      $4,499      0.0%       6.0%      0.8x       1.6x        $36.09     $4.90    $4.58     $4.46      7.4x      7.9x       8.1x
Littelfuse - (Dec.)                   LFUS           NEUTRAL    $1,222      $1,727      $1,777     41.4%      12.8%      2.6x       2.7x       $184.94    $12.69   $16.81    $17.70     14.6x     11.0x      10.4x
Sensata - (Dec.)                        ST             BUY       $3,289      $3,540      $3,606     7.6%      10.9%      2.1x       2.8x        $60.19     $5.01    $5.60     $6.05     12.0x     10.8x      10.0x
TE Connectivity - (Sept.)              TEL             BUY      $13,530     $14,403     $14,306     6.5%       3.6%      2.3x       2.5x       $103.97     $8.25    $8.81     $9.36     12.6x     11.8x      11.1x
Arrow - (Dec.)                         ARW            BUY       $26,813     $29,773     $31,157    11.0%       5.6%      0.2x       0.3x       $108.95    $13.31   $15.78    $16.96      8.2x      6.9x      6.4x
Avnet - (Jun.)                         AVT            BUY       $18,231     $20,084     $21,364    10.2%      -13.5%     0.2x       0.3x        $53.28     $5.98    $7.24     $8.00      8.9x      7.4x      8.0x
Anixter - (Dec.)                       AXE            BUY        $7,927      $8,418      $8,837     6.2%       12.9%     0.2x       0.4x        $95.05    $11.34   $11.38    $12.87      8.4x      8.4x      7.4x
ADI (Oct.)                             ADI        NOT RATED $5,361           $6,211      $6,306    15.9%      21.9%       4.4x      5.5x       $110.69    $10.11   $12.21    $12.15     10.9x      9.1x       9.1x
Broadcom (Oct.)                       AVGO         NEUTRAL   $2,364          $2,520      $4,269     6.6%      16.8%      23.2x     26.2x       $257.59    $3.19    $3.34      $6.45     80.8x     77.1x      39.9x
Diodes, Inc. - (Dec.)                 DIOD           BUY     $1,054          $1,210      $1,274    14.8%       5.8%      1.3x      1.3x         $33.18     $3.79    $4.99     $5.24      8.8x      6.6x      6.3x
Microchip (Mar.)                      MCHP        NOT RATED $3,863           $5,142      $5,802    33.1%      22.4%       3.1x      3.0x        $71.61     $8.48   $12.89    $14.77      8.4x      5.6x       4.8x
ON Semi - (Dec.)                       ON            BUY     $5,388          $5,855      $6,006     8.7%      19.4%      1.2x      1.5x         $20.37    $2.72     $3.15     $3.37      7.5x      6.5x      6.0x
Qorvo - (Mar)                         QRVO           BUY     $2,951          $3,057      $3,292     3.6%       7.8%      2.5x      2.5x         $64.08     $7.23    $7.60     $8.70      8.9x      8.4x      7.4x
Skyworks - (Sept)                     SWKS           BUY     $3,789          $3,829      $4,101     1.1%      13.5%      3.1x      2.8x         $64.78    $8.99     $9.35    $10.28      7.2x      6.9x      10.3x
Texas Instruments (Dec.)               TXN           BUY    $14,961         $15,708     $14,952    5.0%       4.7%       6.4x      6.4x        $97.27     $3.10    $4.15      $4.36     31.4x     23.4x      22.3x
Vishay Intertech - (Dec.)              VSH         NEUTRAL  $2,604           $3,013      $3,117    15.7%      1.5%        1.0x      0.8x        $17.12    $5.61     $5.61     $7.15      3.1x      3.1x       2.4x
Peer Average                                                                                       11.7%       8.9%      3.2x       3.6x                                                14.5x     12.7x     10.5x


                                     BV Equity/      Tangible     Total       Net       Debt to     Net        Cash/   Price-to-    Price/      CY17A     CY17A    CY17A      CY18E    CY18E
                                      Share           BV/Sh       Debt        Debt        Cap     Leverage    Share       BV     Tangible BV     ROA       ROE     ROIC       GM %     EBIT %
Apple                                 $22.10          $22.10    $114,483   ($122,617)    51.7%       NM       $48.91     7.9x        7.9x       15.5%     49.9%     NM        38.3%     26.3%
Amphenol                              $12.97          ($0.19)    $3,259     $2,239       44.6%      1.2x       $3.26     6.5x       NM          13.8%     33.7%     21.0%     32.4%     20.6%
Belden                                $29.09         ($14.69)    $1,504     $1,175       52.0%      2.0x       $6.89     1.7x       NM          10.2%     27.3%     14.6%     40.4%     16.5%
CommScope                              $8.98          ($5.65)    $3,984     $3,631       69.4%      3.9x       $1.80     1.9x       NM           8.9%     35.8%     11.3%     36.8%     17.9%
Littelfuse                            $59.65          $12.24      $701       $173        31.6%      0.4x      $20.72     3.0x      14.5x        10.4%     18.2%     15.9%     40.4%     18.7%
Sensata                               $13.97          ($8.42)    $3,234     $2,422       57.9%      2.7x       $4.81     3.3x       NM          11.2%     31.0%     15.7%     36.5%     23.6%
TE Connectivity                       $30.95           $9.84     $4,000     $3,152       27.0%      1.0x       $2.42     3.1x      9.7x         10.0%     19.4%     14.8%     33.3%     16.9%
Arrow                                 $59.27         $29.26      $3,510     $3,036       40.1%      2.2x      $5.35      1.3x       2.6x        5.6%      18.3%     11.2%     12.4%     4.2%
Avnet                                 $39.68         $31.24      $1,565     $1,199       25.3%      1.5x      $3.14      1.1x       1.4x        6.1%      12.5%     10.1%     12.9%     3.6%
Anixter                               $45.87         $21.43      $1,264     $1,194       44.7%      3.1x      $2.05      1.3x       2.8x        6.1%      18.2%     10.1%     19.6%     4.2%
ADI                                   $33.13         ($6.01)     $7,435     $6,607       41.8%      3.3x      $2.65      2.7x        NM          0.8%       1.6%     0.9%     71.1%     42.2%
Broadcom                              $61.28         ($0.59)    $17,493    $13,201       39.6%      1.3x      $9.87      3.7x        NM         20.3%      39.3%    26.4%     50.8%     29.4%
Diodes, Inc.                          $17.77         $15.17       $179        $21        16.4%      0.1x      $3.08      1.8x      2.2x         11.2%     143.4%   140.7%     35.6%     14.1%
MCHP                                  $13.42         $13.42     $1,758      ($438)       34.9%      (0.1)     $8.99      5.5x       5.5x         1.6%       4.1%     3.0%     60.8%     37.7%
ON Semi                                $7.40          $5.23     $2,715      $1,764       46.1%      1.3x      $2.21      2.2x       3.1x        14.2%      34.2%    19.9%     38.0%     16.4%
Qorvo                                 $35.46         $30.89       $735       $177        13.7%      0.2x      $4.27      1.8x      2.0x         15.9%     20.1%     19.3%     47.4%     26.3%
Skyworks                              $22.74         $15.34        $0      ($1,050)       0.0%       NM       $5.83      3.1x      4.6x         28.9%      28.9%    50.6%     51.0%     36.9%
Texas Instruments                     $10.63          $6.22     $5,067       ($46)       32.5%       NM       $5.17      9.2x      15.6x        34.1%      56.4%    47.1%      5.6%     42.4%
Vishay Intertech                      $10.05          $8.65       $589      ($475)       27.7%       NM       $6.95      2.0x       2.3x        11.7%     25.3%    32.3%      5.6%      16.0%
                                                                                                                         3.3x       5.7x        12.4%     32.5%     25.8%     35.2%     21.8%

Note: S&P 500 used as a benchmark.
Source: Longbow Research, Company Reports, Factset




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                                                                                       Peer Valuation Analysis - Electronic Manufacturing Service Providers
                                                                                   Price           Target          Potential                52-Week                      QTD       YTD              Market Cap               Average                  Dividend Short Int
                                                Ticker           Rating          12/06/18           Price           Return              High        Low                Return    Return             ($ Millions)   Shares     Volume         Beta       Yield  % of Float
           Benchmark                             BHE            Not Rated         $22.74             NM              NM                $32.53     $21.75                -2.8%    -20.6%   BHE         $1,111        48.8      410,124        0.90        NA      2.8%
           Celestica                             CLS            Not Rated         $12.84             NM              NM                $12.59      $9.11               -11.2%     -8.2%    CLS        $1,843       143.5      539,089        0.78        NA      1.3%
           Flex                                 FLEX            Not Rated          $8.47             NM              NM                $19.71      $6.74               -35.4%    -52.9%   FLEX        $4,471       527.8     5,403,517       1.28        NA      2.8%
           Jabil Circuit                         JBL            Not Rated         $24.39             NM              NM                $31.77     $23.04                -9.6%     -6.0%    JBL        $4,316       177.0     1,971,992       1.16       1.3%     4.1%
           Plexus                               PLXS              BUY             $59.25           $71.00           19.8%              $66.78     $52.44                 1.3%     -2.4%   PLXS        $1,956        33.0      165,525        1.04        NA      4.3%
           Sanmina                              SANM            Not Rated         $25.88             NM              NM                $35.55     $22.62                -6.2%    -21.6%   SANM        $1,850        71.5      577,550        1.21        NA      1.8%
           Peer Average                                                                                                                                                -10.7%    -18.6%               $2,591                 1,511,300       1.06
           Philly Semi Index                     SOX                             $1,202.83                                           $1,464.62          $1,119.37      -12.0%    -4.0%     .SOX-X
           Benchmark - S&P500                    SPX                             $2,695.95                                           $2,940.91          $2,532.69       -7.5%     0.8%    .SPX-UT

                                                                    Longbow Fiscal Year EPS                                                   Consensus Fiscal Year EPS                                                                  Calendar Year EPS
                                                                        EPS                                   P/E                            EPS                     P/E                                            EPS                                  P/E                 3-Year Secular
                                                 2017A            2018E     2019E       2018E                        2019E             2018E      2019E       2018E      2019E                        2017A        2018E      2019E          2017A      2018E    2019E      PEG 18E  PEG
           Benchmark - (Dec.)                    $1.61            $1.39     $1.67        16.4                         13.7             $1.39      $1.67        16.4       13.7             BHE        $1.61        $1.39      $1.67           14.1       16.4     13.7         0.2    1.1
           Celestica - (Dec.)                    $1.19            $1.08     $1.26        11.8                         10.2             $1.08      $1.26        11.8       10.2            CLS-T       $1.19        $1.08      $1.26           10.8       11.8     10.2         0.2    0.8
           Flex - (Mar.)                         $0.89            $1.22     $1.46         6.9                          5.8             $1.22      $1.46         6.9        5.8            FLEX        $1.11        $1.09      $1.19            7.6        7.8      7.1         0.6    0.6
           Jabil Circuit - (Aug.)                $2.11            $2.62     $2.97         9.3                          8.2             $2.62      $2.97         9.3        8.2             JBL        $2.28        $2.74      $3.09           10.7        8.9      7.9         0.0    0.8
           Plexus - (Sept.)                      $3.24            $3.24     $3.89        18.3                         15.2             $3.23      $3.23        18.3       18.3            PLXS        $3.18        $3.38      $4.09           18.7       17.5     14.5         0.8    1.4
           Sanmina - (Sept.)                     $2.21            $2.82     $3.24         9.2                          8.0             $2.82      $3.24         9.2        8.0            SANM        $2.70        $2.36      $2.92            9.6       10.9      8.8         0.4    0.7
           Peer Average                                                                             12.0x            10.2x                                             12.0x     10.7x                                                       11.9x      12.2x     10.4x       0.4      0.9

                                                                                                         Calendar Year EBITDA                                                                                                    Calendar Year Sales
                                             Market Cap                                                        EBITDA                                       EV/17A    EV/18E     EV/19E                                                  18E/17A     3-Year Price to EV to
                                             ($ Millions) Ent. Value             EV/Share          2017A       2018E       2019E                            EBITDA    EBITDA     EBITDA                2017A        2018E     2019E      Growth CAGR 18E 18E Sales 18E Sales
           Benchmark                           $1,111      $641.57                $13.14           $2.05       $1.61       $1.91                              6.4       8.2       6.9     BHE        $2,467         $2,540    $2,628       3.0%      -4.1%    0.4     0.3
           Celestica                           $1,843       $1,606                $11.19           $1.47       $1.49       $1.70                              7.6       7.5       6.6      CLS        $6,111        $6,642    $6,468       8.7%       2.8%    0.3     0.2
           Flex                                $4,471       $5,939                $11.25           $1.50       $1.57       $1.71                              7.5       7.1       6.6     FLEX       $25,052       $26,179   $26,793       4.5%      -2.4%    0.2     0.2
           Jabil Circuit                       $4,316       $5,584                $31.55           $3.96       $4.49       $4.90                              8.0       7.0       6.4      JBL       $20,077       $22,860   $24,835      13.9%       7.9%    0.2     0.2
           Plexus                              $1,956     $1,917.87               $58.08           $5.01       $5.61       $6.99                             11.6      10.3       8.3     PLXS        $2,570        $2,961    $3,229      15.2%       0.8%    0.7     0.6
           Sanmina                             $1,850       $2,039                $28.51           $3.61       $3.11        NM                                7.9       NM         NM     SANM        $6,929        $7,219      NM         4.2%       2.5%    0.3     0.3
           Peer Average                         $2,591                                                                                                       8.2x       8.0x      7.0x                                                       8.2%       1.2%      0.3x       0.3x

                                              BV Equity/         Price-to-       Tangible  Price/                    Total               Net                Debt to     Net       Cash/                                                     Sales/      EBIT/
                                               Share                BV            BV/Sh Tangible BV                  Debt               Debt                 Cap      Leverage   Share                 ROA           ROE       ROIC         Sq. Ft.    Sq. Ft.
           Benchmark                           $25.54              0.9            $21.62    1.1                      $207              ($469)                14%         NM      $13.85    BHE         4.0%          6.5%      17.7%       $671.79     $26.43
           Celestica                            $9.45              1.4             $9.14    1.4                      $199              ($237)                13%         NM      $3.04     CLS         5.3%         11.6%      28.1%       $930.06     $36.14
           Flex                                 $5.72              1.5             $2.79    3.0                     $2,941             $1,468                49%        1.1       $2.79   FLEX         5.2%         24.1%      15.9%       $927.85     $24.61
           Jabil Circuit                       $12.97              1.9            $9.38     2.6                     $2,209             $1,268                49%        1.4      $5.32     JBL         5.3%         26.5%      16.9%       $503.11     $18.45
           Plexus                              $27.90               2.1           $27.90    2.1                      $259               ($39)                22%        NM        $9.02   PLXS         7.1%         15.1%      16.8%       $794.29     $35.40
           Sanmina                             $20.60              1.3            $20.60    1.3                      $608               $188                 29%        0.9      $5.87    SANM         4.8%         13.1%      12.3%       $551.33     $20.49
           Peer Average                                            1.5x                             1.9x                                                                                               5.3%        16.2%      18.0%        $729.74     $26.92

           All estimates based off consensus except PLXS
           EPS estimate for FLEX is one year ahead
                                                                                                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 489 of 607




           The 3-Year PEG consists of 3 years of trailing earnings and 1 year of forecasted earnings. The Secular PEG assumes a 7.5% secular growth rate.
           Note: S&P 500 used as a benchmark. BHE estimates are based upon consensus
           Source: Longbow Research, Company Reports, Factset
                                                                                                                                                                                                                                                                                             Exhibit 9




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           Survey                                                                                                                                                                                                                                                                   Page 19
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                                                                                                       Exhibit 9
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                                                                                    Exhibit 9

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                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 501 of 607


                                                                                                                                                                                                                Exhibit 9




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                      
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                                                                                                                                                                                                                                               Exhibit 9




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                                      
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                                                                                                                                                                                                                                                                              Exhibit 9




Page 502
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                                                                                                                                Exhibit 9


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                                                                                                                                       Page 505
           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 507 of 607


                                                                                                                                      Exhibit 9

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                                                                                                                              Exhibit 9

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SE biz front

HD Qualcomm suit threatens iPhone sales in China

BY Zen Soo and Yang Yingzhi in Beijing

WC 452 words

PD 12 Dec 2018

SN South China Morning Post

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CLM intellectual property

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LP

A mainland court order instructing Apple to stop sales of some -iPhones in the
country raises the ante for the United States technology giant in one of its
biggest markets amid revenue pressures and -declining smartphone growth globally.A
statement from US chip maker Qualcomm on Monday said the Fuzhou Intermediate
People's Court had granted its request for two preliminary injunctions against four
units of Apple, ordering them to immediately stop selling models ranging from the
iPhone 6S to the iPhone X.




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The patent infringement suit brought by Qualcomm alleges that Apple's violated
Qualcomm's software patents related to resizing photographs and app management on a
touch screen, and concerns devices sold with -Apple's iOS 11, an older version of
its operating system.



If upheld, the ruling could -affect Apple's revenues as China is the US company's
third-largest market, accounting for about a fifth of its revenues. In its latest
financial year, Apple made more than US$260 billion in -global sales.



Apple's most recent phone models, which include the iPhone XR and the iPhone XS,
are not affected by the ruling as the devices had not been released when the suit
was filed last year.



Apple said in a statement on Monday that "all its iPhone models remain available"
on the mainland and it had filed a request for reconsideration with the court as a
first step to appealing the preliminary injunction.



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                                                                     Exhibit 9
It called Qualcomm's efforts a "desperate move by a company whose illegal practices
are under investigation by regulators around the world", adding that Qualcomm "is
asserting three patents they had never raised -before, including one which has
already been invalidated".



The court order comes amid the ongoing US-China trade war and rising nationalist
sentiment among mainland consumers, with more turning to local smartphone brands
such as Huawei.



"The older iPhone models [included in the court order] still make up a big volume
of iPhone sales in the China market, and if a prolonged ban [is enforced], the
supply chain in China will also be affected," said Kiranjeet Kaur, a senior
research manager with IDC's Asia-Pacific client devices group.



Firms such as Foxconn, AAC Technologies and BYD are among Apple's mainland
suppliers, assembling and supplying components and technology for its products.



Apple could work around the infringement accusations by upgrading all its devices
to a new operating system, according to a research note by China Merchants
Securities in Shanghai.



Additional reporting by Li Tao



Headline of the Online Version: Apple's China headache worsens as court bans iPhone
sales in Qualcomm patent dispute




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HD Apple could cut iPhone production yet again with the iPhone XR to take the
biggest hit.

BY Digit NewsDesk

WC 407 words

PD 23 Dec 2018

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LP

India, Dec. 23 -- Jun Zhang, an analyst at Rosenblatt has issued an investor note
in which he outlines that Apple is likely to further reduce the production of its
2018 iPhone lineup, with the iPhone XR slated to take the biggest hit. Zhang
attributes the second reduction in the iPhone production to the arrest of Huawei
CFO.




TD

Canadian authorities had earlier detained Huawei CFO Meng Wanzhou at the behest of
American authorities. This had prompted the Chinese authorities to issue a stern
warning to the Canadians to release the CFO, or face consequences. The warning came
in the face of the U.S. filing for the extradition of Meng. While the politicians
resort to their own methods of settling the matter, companies in China are offering
incentives to those employees who choose to buy Huawei smartphones instead of
iPhones. It was inevitable that the trade war between the United States and China
would come to impact Apple, which has its biggest manufacturing unit in China, not
to mention, one of the most lucrative markets.



Zhang predicts that Apple will cut the production of the iPhone XR by some 2.5
million units for the March quarter while the iPhone XS and iPhone XS Max
production could be reduced by 1 million and 500,000 units respectively.



Wall Street Journal had last month reported that Apple had cut down on the orders
for both the iPhone XS and the iPhone XS Max as the company struggled to predict
the demand for its most expensive iPhone lineup yet.



The trade war between the US and China isn't the only reason for Apple to be taking
a hit on their stock right now. The 2018 lineup is the most expensive iPhone lineup
yet, with the highest end smartphone costing as much as a down-payment on a car.
The iPhone XR offered a mixed-bag of features, in some ways, feeling like a huge
step backwards even in comparison to the iPhone 8 or the iPhone 8 Plus. With the

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                                                                       Exhibit 9
iPhone XR costing as much as an iPhone 8 Plus, the phone doesn't even offer a dual
camera setup.



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SE Business

HD Apple Hikes Trade-In Value of Older Handsets to Spur China Sales

BY Liao Shumin

WC 346 words

PD 25 Dec 2018

SN Yicai Global

SC YICAIG

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LP

(Yicai Global) Dec. 25 -- American smartphone maker Apple is offering special
trade-in discounts on its latest handsets in China as it looks to compete harder
against rising domestic brands.Customers can now pick up the iPhone XR from
CNY4,399 (USD637) or XS from CNY6,599 when trading in an older handset, giving a
maximum discount of CNY2,100 from standard prices, state-backed China News Service
reported after visiting a Beijing store on Dec. 23.




TD

The offer extends to all older iPhone models, one of the clerks said, recommending
that the trade-in handset be an iPhone 6 or newer version in order to get a larger
discount. "In similar events run previously, the trade-in value of the iPhone 6 was
just CNY600, but it's CNY1,200 this time," she said.



The aim of the game is to prevent the loss of old iPhone users and encourage them
to upgrade for newer handsets, said Fu Liang, a tech sector analyst. The models
being discounted went on sale in China just over three months ago.



"Apple is facing fierce competition around the world," Fu said. "The company
noticed sales falling over the past two years so increased prices, but with the
growth of Chinese brands, sales have declined further and Apple can't sustain its
profit levels with high prices."



China is not the only place where Apple has been having to discount its products in
a bid to increase sales. The firm has been running similar trade-in schemes in the
US as it looks to shift more of its latest models, and offered discounts to
Japanese telecom operators to encourage them to heavily discount the price of the
iPhone XR.



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                                                                     Exhibit 9
The China promotion is only available at brick-and-mortar outlets and is set to end
on Jan. 31, the report added, noting that some stores may offer different amounts
for the trade-in value of older models.



Editor: James Boynton



Click here to view image.




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    CNBC NEWS RELEASES


    CNBC Exclusive: CNBC Transcript: Apple CEO Tim Cook
    Speaks with CNBC’s Josh Lipton Today
    P U B L I S H E D W E D, JA N 2 2 0 1 9 • 6 : 3 7 P M E S T


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    WHEN: Today, Wednesday, January 2, 2019

    WHERE: CNBC’s “Fast Money”


    The following is the unoﬃcial transcript of a CNBC EXCLUSIVE interview with Apple CEO
    Tim Cook Speaks and CNBC’s Josh Lipton on CNBC’s “Fast Money” (M F 5PM – 6PM) today,
    Wednesday, January 2nd. The following is a link to video of the interview on CNBC.com:
    https://www.cnbc.com/video/2019/01/02/apple-tim-cook-revenue-stocks.html.

    All references must be sourced to CNBC.

    SCOTT WAPNER: We do start with that big breaking story. Moments ago, Apple warning on
    its first quarter results. The stock is falling sharply after hours. Our Josh Lipton is at Apple
    headquarters where he just sat down with CEO Tim Cook in an exclusive interview. Stunning
    news to say the least, Josh.

    JOSH LIPTON: Yeah, listen, Scott. Apple coming out, revising that Q1 guidance. As you
    noted, the stock dropping hard. They’re now calling for revenue of about 84 billion, Scott.
    Remember they had previously guided to 89 to 93 billion. I did have the chance to speak
    exclusively to CEO Tim Cook about the quarter, the guidance. Take a listen.                                                  
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    JOSH LIPTON: Tim, thank you so much for taking the time to chat. We appreciate it.


    TIM COOK: Thank you for coming.

    JOSH LIPTON: I want to dig right into the results, Tim, and iPhone revenue specifically.
    Because as you mentioned, that was lower than expected and that accounted for the revenue
    shortfall here. And I want to dig in specifically to the trend you’re seeing in China. Because
    you say something interesting, which it isn’t just the economy there, it’s also these rising trade
    tensions. What did you mean by that, Tim?

    TIM COOK: Yeah. If you look at our results, our shortfall is over 100% from iPhone and it’s
    primarily in greater China. And so as we look at what’s going on in China -- it’s clear that the
    economy begins to slow there for the second half. And what I believe to be the case is the
    trade tensions between the United States and China put additional pressure on their
    economy. And so we saw, as the quarter went on, things like traﬃc in our retail stores, traﬃc
    in our channel partner stores, the reports of the smartphone industry contracting, particularly
    bad in November -- I haven’t seen the December number yet, but I would guess that wouldn
    not be good either. And so that’s what we’ve seen. And now there are a lot of things we can do
    to turn our -- to sort of turn our business around in terms of the, both in China and more
    generally across. We’re focusing on -- if you look at iPhone more at a macro level, the story on
    iPhone is in addition to the emerging market weakness, which is primarily in China, it’s that
    there’s not as many subsidies as there used to be from a carrier point of view. And where that
    didn’t all happen yesterday, for -- if you’ve been out of the market for two or three years and
    you come back, it looks like that to you. FX was a big challenge in the quarter. As interest rate
    hikes have started in the United States, there’s more foreign capital coming in, that makes the
    dollar much stronger and the translation, we knew that was going to be a factor. It aﬀected us
    by about 200 basis points. And then sort of in addition to those two things, we’ve started a
    program worldwide where we dramatically lowered the battery replacement price. And so we
    have sort of a collection of items going on, some that are macroeconomic and some that are
    Apple specific and we’re not going to sit around waiting for the macro to change. I hope that it
    does, and I’m actually optimistic, but we’re going to focus really deeply on the things we can
    control.

    JOSH LIPTON: And let me -- in terms of things that are perhaps that are a little bit out of your
    control though, Tim.

    TIM COOK: Yeah.                                                                                                       
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    JOSH LIPTON: I want to touch on China specifically, and go back to that. Because the trade
    tensions are having an eﬀect you’re seeing on the economy there. But do you see evidence
    that perhaps Apple is also getting caught in the crossfire, in terms of is there evidence that
    Chinese consumers say, “You know what there’s a dispute, there’s tension and they’re taking
    it out on Apple in some way as well”?

    TIM COOK: Well, Certainly apple has not been targeted by the government so let me take
    away any kind of doubt of that right up top. There are reports, sort of sporadic reports, about
    somebody talking about not buying our products because we’re American, maybe a little bit
    on social media, maybe a guy standing in front of a store or something. My personal sense is
    that this is small. Keep in mind that China’s not monolithic. Just like America’s not
    monolithic. You have people with diﬀerent views and diﬀerent ideas. And so do I think
    anybody elected not to buy because of that? I’m sure some people did. But my sense is the
    much larger issue is the slowing of the economy and then this -- the trade tension that’s
    further pressured.

    JOSH LIPTON: And you talk -- given that this was a headwind and more than you expected,
    have you talked, I’m interested, to President Trump or members of the administration? This is
    a big, important American economy. And you’re saying listen, this trade dispute is really
    impacting our business. Have you recently talked to the members of the administration and
    conveyed that?

    TIM COOK: You know, I’m telling our investors first about what we saw last quarter, and that
    is the way it should be. But I’ve had obviously many, many discussions over the course of
    many months to be constructed and to give sort of my perspective on trade and the
    importance of it to the American economy as well. And I feel like I’m -- that I’m being listened
    to in that respect. And so I’m actually encouraged by what I’ve heard most recently coming
    from the U.S. and from China and hopefully we’ll see some changes.

    JOSH LIPTON: But given that those trade tensions, Tim, they do remain heated, given the
    pressure you’re seeing, you’re speaking to traders, investors, and business people now, in the
    quarters ahead, how do you then navigate this?

    TIM COOK: Well, you focus on what you can control. And so when I look at this I say, you
    know, there’s some weakness outside of China as well. I would have liked to have done better
    in some of our developed markets. And so how can we do that? Well, the subsidies are fewer
    these days, that’s true. But we can start or we have started a trade-in program. And we started
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    it primarily because it’s great for the environment. You know, it keeps a unit with someone
    that wants it and the person who wants a new one gets one as well, and it’s great for
    developers and so forth as well. But we haven’t really marketed it very much. And the truth is
    to a consumer the trade-in looks like a subsidy because it lowers the price of the phone that
    you want. And so just let me give you an example of that. And so the retail price of the iPhone
    10R in the United States is $749. But if you happened to trade in a 7+ which many people are
    in order to get that, the price goes all the way down to $449 or less. And so there’s a
    substantial benefit, economic and environmental from trade-in. We’re also working on
    placing ability to do monthly charges in. And so it begins to look like more the traditional way
    of paying for it through the carrier by, you know, taking the rates out for 24 months or so and
    so you wind up getting an incredibly new phone that’s so much better than what you’ve had
    for $20, $30 a month or so. And so we’re doing that. We’re also putting a lot of focus on the
    service side. Our stores are unbelievable at service, and the ability -- people are very worried
    about transferring their data. You know, they’re very worried that this new phone, there will
    be something that they lost in the process, and so we’re putting a lot of emphasis on doing that
    and doing that well. And so those are just some things. The other things, which are not
    diﬀerent than we thought but did aﬀect our revenue in the quarter, are things like we had
    some supply constraints, we had an unprecedented number of new products during the
    quarter, we had new watches, we had new iPad pros. Both of these were constrained for all or
    most of the quarter.

    JOSH LIPTON: Did you think -- I mean, looking back did you think – do you think you tried to
    introduce too much new too fast?

    TIM COOK: No. I think you -- you know, our style, Josh, is we release things when they’re
    ready. And I think that’s the way it should be. If you ever start worrying about cannibalizing
    yourself, you can talk yourself into not doing both things. And so all of our products were
    ready over that period. Now would I have liked some of them to be ready a few months
    earlier? Of course. I would always like that, but generally we’re still going to march down the
    road of shipping things when they’re ready.

    JOSH LIPTON: And let me ask you, Tim, with this release, investors get a lot of information
    and metrics.

    TIM COOK: Yes.


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    JOSH LIPTON: But as you guys spelled out, listen, there’s going be changes in disclosure.
    You’re not going to get the number of iPhones shipped anymore. You guys don’t see that as a
    relevant metric so much in the past. If that is not the data point that investors should be
    focused on, what are the data points that investors should focus on?

    TIM COOK: Yeah, that’s a good question. Look, what we did years ago, actually with Apple
    Watch, we’ve never disclosed units sold. Why? It’s not that we were secretive people. It’s that
    we looked at this is and the watches were wide range in terms of pricing. We knew that
    eventually we would have a cellular watch, there’s a stainless steel versus aluminum, there’s
    even an addition. And so you begin to say, what value is there in adding these things up? I’ve
    made the comparison -- it’s sort of like you and I going to the grocery store and putting things
    in our cart and coming up to the register and the person saying, “How many you got?” It
    doesn’t add together anymore because the price ranges are so wide. So we didn’t do it on
    Watch from the beginning. We’ve never done it on iPod. As we now step back from the phone,
    we have phones being sold in the emerging markets, like an iPhone 6s for around $300. And
    so you’ve got a range from 300 to 1,000 or in some cases over 1,000 depending upon your
    selection of flash and so forth. And so this thing has lost its meaning. And so we felt that at the
    end of the day we were giving investors and sort of pointing them to something as if it had this
    incredible importance to it well beyond what it does. That doesn’t mean we’re never going to
    comment on the units again. If we think that we can better explain results with talking about
    units, I’d be glad to say something about it, but generally to have it on a, you know, every 90
    day clock of releasing this, I think it does the investor a disservice frankly. But now we are
    making additional disclosures as well. Like, for example, we’re going to give the gross margin
    or services business. You know, we’ve never done that before. Services has grown, you know,
    incredible amount. We’re over -- we’re going to have -- report over 10.8 billion and when we
    report later this month for last quarter. That’s a new record.

    JOSH LIPTON: And what drove that, Tim? Any color given? Was it the app store? Was it
    music?

    TIM COOK: This is incredibly exciting for us because so many things hit records in there. The
    app store did. Apple music hit a new record. Apple Pay hit a new record. Our search ad
    product from the app store hit a new record. iCloud hit a new record. And so, you know, it’s
    very wide and each of the geography -- geographies hit a quarterly record. So even in China
    the app store hit a quarterly record. Why is that? It’s because it’s driven by the installed base
    and our installed base grew, you know, nicely year over year in China as well. And as I say in
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    the letter, we’ve picked up 100 more million active devices over the last 12 months     So
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    this is an incredible number. And we’ll have -- we’ve got some interesting things in the
    pipeline on services that, of course, we do on products as well. And so that’s sort of another
    way to grow the company.

    JOSH LIPTON: Final question here, Tim.

    TIM COOK: Yeah.

    JOSH LIPTON: You say you’re going to end the quarter 130 billion in net cash.

    TIM COOK: That’s right.

    JOSH LIPTON: You know, Apple has a history, you do a lot of acquisitions. They tend to be
    though smaller. Biggest was 3 billion for Beats. Do you think maybe given that cash position,
    would Apple be open to maybe shifting how it thinks about acquisitions and doing
    acquisitions that maybe investors would think are bigger, more meaningful?

    TIM COOK: You know, for us, we’ve never changed our view on acquisitions. We’ve never
    said ‘Thou shall not buy a big company,’ or ‘Thou shall not buy a medium company,’ or it has
    to be only in this country or that country. We’ve asked from a strategic point of view and
    asked, what does it do for the customer, what does it do for the user? And so a vast majority
    has been technology and people that we think would bring a better user experience, that
    there’s a feature or something that we could do in the future and that they could help on doing
    that. But that doesn’t -- I’ve always been very clear. It’s -- we look at many, many companies
    including very large companies. We’ve elected so far not to do those because we haven’t
    found one that we said, “wow, that’s a nice intersection of Apple.” But I’d never rule it out. We
    do have a lot of net cash, and I believe the company’s stock is an incredible value and so you
    can bet that we’re going to be buying some stock under the plan that we’ve had out there for
    quite some time.

    JOSH LIPTON: Alright, Tim. Thank you so much for your time today. You were generous.
    Appreciate it.

    TIM COOK: Thank you. It’s good to talk to you, Josh. Always a pleasure.

    JOSH LIPTON: Thank you so much.

    JOSH LIPTON: So Scott, hearing some of the bottom line here for Tim Cook, listen, there
    were some big themes that they just didn’t see coming. They miscalculated. You heard it there
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    talking about China, the economy slowing in China maybe more than they thought. The rising
    trade tensions. Cook saying they’re feeling the pressure from that too. Not just China though.
    He also talked, you heard there, about those developed markets. iPhone upgrades developed
    markets not as strong as they thought. A few reasons they rattled oﬀ: fewer carrier subsidies,
    U.S. dollar strain. They did also, and you heard Cook there mention it, services -- they called
    it a “positive result” in the quarter, their words. Services is an all-time record revenue, $10.8
    billion. One thing to think about though is the relationship between iPhone and services. You
    know, there’s plenty of analysts who argue that the iPhone franchise at least has to stay stable
    and by stable I mean flat, just slightly up. If you’re going to see that continued momentum in
    services so that relationship now, also a question that investors have to have, Scott.

    SCOTT WAPNER: Yes. Josh, thank you. Josh Lipton with that great interview with Tim Cook.

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    TRENDING NOW

                          CDC group says there’s likely link between rare heart inflammation in young people
                          after Covid shot
     1

                          This 33-year-old dogecoin investor refuses to sell despite losing over $167,000 in one
                          day
     2

                          Supreme Court rules for Pennsylvania cheerleader in school free speech case


     3

                          Warren Buffett gives away another $4.1 billion, resigns as trustee at Gates Foundation


     4

                          Stocks making the biggest moves midday: Clover, Under Armour, Ford and more


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    Tommy Chong: Stop Wasting Your Money On CBD
    Tommy Chong’s CBD




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                             &1%&([FOXVLYH&1%&7UDQVFULSW$SSOH&(27LP&RRN6SHDNVZLWK&1%& V-RVK/LSWRQ7RGD\
                                                                                                                             Exhibit 9




KWWSVZZZFQEFFRPFQEFH[FOXVLYHFQEFWUDQVFULSWDSSOHFHRWLPFRRNVSHDNVZLWKFQEFVMRVKOLSWRQWRGD\KWPO                


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Apple Inc.                                                                                                                Exhibit 9
Rare neg pre: cut to guide on weak China,
iPhones; Services better. PO to $195
Reiterate Rating: NEUTRAL | PO: 195.00 USD | Price: 157.92 USD                                              Equity | 02 January 2019



Rare miss but weakness likely to extend beyond Dec qtr                                                      Key Changes
Apple stock is down approx. 7% after market following the negative preannouncement.
Although the trade tensions with China could ease in 1H19, the broader demand                               (US$)                         Previous        Current
weakness and slower upgrade cycles are likely to push units much lower in F19 (we now                       Price Obj.                      220.00           195.00

model 181mn units down from 210mn previously). Our downgrade late last year was                             2019E Rev (m)                 285,466.5       258,596.4

predicated on a weaker China but demand seems to have deteriorated materially over                          2020E Rev (m)                 316,873.4       291,820.9

the past two months. We remain Neutral as we expect further consensus negative                              2021E Rev (m)                 351,106.8       333,716.2

revisions to continue to pressure the stock in the near term, although our scenario                         2019E EPS                        13.86              12.20

analysis suggests the stock is discounting structural declines in hardware and strong                       2020E EPS                        15.26              14.07

services deceleration (Figure 1).                                                                           2021E EPS                        16.98              16.44


Cutting Q1 rev guid. by $7bn, mostly due to China, iPhone
Apple updated revenue guidance of $84bn is $7bn (7.7%) lower than the $91bn +/-$2bn                         Wamsi Mohan
                                                                                                            Research Analyst
midpoint provided in the F4Q18 earnings announcement. Apple noted that over 100% of                         MLPF&S
the y/y rev decline (above $4.3bn / above 60% of $7bn cut) is due to slower sales of the                    +1 646 855 3854
                                                                                                            wamsi.mohan@baml.com
iPhone, Mac, and iPad in China. The company attributed the cut to slow GDP growth in
                                                                                                            Ruplu Bhattacharya
China and China-U.S. trade tensions lowering retail store traffic as well as channel sales,                 Research Analyst
                                                                                                            MLPF&S
with the impact especially high for the iPhone and the general smartphone market. In a                      +1 646 855 0315
further negative, Apple noted that developed markets were impacted by a worse than                          ruplu.bhattacharya@baml.com
expected iPhone upgrade cycle, driven by weaker macro environment, fewer carrier                            Param Singh, CFA
                                                                                                            Research Analyst
subsidies, stronger dollar impacting ASPs, and prolonged use of older models given                          MLPF&S
reduced pricing for iPhone battery replacements. All-in-all, Apple noted that lower                         +1 646 855 4256
                                                                                                            param.singh@baml.com
iPhone sales accounted for all of the revenue guidance shortfall ($7bn) in the quarter.
                                                                                                            Ziv Israel
Revenue ex iPhone grew 19% y/y, in-line with our estimate, with services coming in at                       Research Analyst
$10.8bn (higher than our $10.1bn estimate) and on track to double by 2020, wearables                        MLPF&S
                                                                                                            +1 646 855 2451
growing almost 50% y/y, and iPad up double-digits.                                                          ziv.israel@baml.com

Lowering ests and PO to reflect China, iPhone weakness
We lower our estimates for iPhone units/revenues materially. Our FY19/20/21 EPS
estimates move to $12.20/$14.07/$16.44 from $13.86/$15.26/$16.98 and our new PO                             Stock Data
of $195 is based on approximately (unchanged) 15x our C2019 EPS estimate of $12.6,                          Price                                       157.92 USD
given the slowdown in China/iPhones. Detailed estimate changes outlined in Figure 2.                        Price Objective                             195.00 USD
                                                                                                            Date Established                             2-Jan-2019
Estimates (Sep)                                                                                             Investment Opinion                                  B-2-7
(US$)                                                          2017A    2018A    2019E    2020E    2021E    52-Week Range                       146.59 USD - 233.47
EPS                                                              9.21    11.91   12.20     14.07    16.44
                                                                                                                                                                USD
GAAP EPS                                                         9.21    11.85   12.20     14.07    16.44
EPS Change (YoY)                                               10.8%    29.3%     2.4%    15.3%    16.8%    Mrkt Val (mn) / Shares Out        814,518 USD / 5,157.8
Consensus EPS (Bloomberg)                                                        13.24     14.61    15.99   (mn)
DPS                                                             2.39     2.71      3.06     3.37     3.70   Average Daily Value (mn)                   7162.03 USD
                                                                                                            BofAML Ticker / Ex change                   AAPL / NAS
Valuation (Sep)                                                                                             Bloomberg / Reuters                 AAPL US / AAPL.OQ
                                                               2017A    2018A    2019E    2020E    2021E    ROE (2019E)                                      74.9%
P/E                                                            17.1x    13.3x    12.9x    11.2x     9.6x
                                                                                                            Net Dbt to Eqty (Sep-2018A)                      82.7%
GAAP P/E                                                       17.1x    13.3x    12.9x    11.2x     9.6x
Div idend Yield                                                 1.5%     1.7%     1.9%     2.1%     2.3%
EV / EBITDA*                                                   12.6x    11.0x    11.3x    10.2x     9.1x    Recent BofA Merrill Lynch Global
Free Cash Flow Yield*                                           6.3%     7.9%     7.6%     7.4%     8.5%    Research Reports
* For full definitions of iQ method SM measures, see page 7.

                                                                                                            Title: Subtitle
BofA Merrill Lynch does and seeks to do business with issuers covered in its research reports.
As a result, investors should be aware that the firm may have a conflict of interest that could             Apple Inc.: Lowering estimates to account fo r
affect the objectivity of this report. Investors should consider this report as only a single               China risk, FX headwinds
factor in making their investment decision.
Refer to important disclosures on page 8 to 10. Analyst Certification on page 6. Price Objective            Apple Inc.: Long term winner but near term
Basis/Risk on page 6.                                                                     11947915
                                                                                                            headwinds, Downgrading to Neutral
Timestamp: 02 January 2019 09:30PM EST
                                                                                                                                                           CR


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                                                                                                                                             Exhibit 9
iQprofile Apple Inc.
                           SM



                                                                                                                      Company Sector
                                                                                                                      IT Hardware
iQmethod SM – Bus Performance*
(US$ Millions)                                                   2017A      2018A      2019E      2020E      2021E
Return on Capital Em ploy ed                                    19.1%      22.9%      26.7%      34.9%      33.5%     Company Description
Return on Equity                                                36.9%      49.4%      74.9%     132.8%      85.4%
                                                                                                                      Apple Inc. (AAPL) designs, manufactures, and
Operating Margin                                                28.9%      28.7%      28.2%      28.1%      28.1%
Free Cash Flow                                                  51,147     64,121     61,905     60,495     68,893    markets consumer electronics and computers, and
                                                                                                                      has developed its own proprietary iOS and Mac OS
                                                                                                                      X operating systems and related software
iQmethod SM – Quality of Earnings*                                                                                    platform/ecosystem. Revenues are principally
(US$ Millions)                                                  2017A      2018A      2019E      2020E      2021E     derived from the iPhone line of smartphones,
Cash Realization Ratio                                           1.3x       1.3x       1.3x       1.2x       1.1x
                                                                                                                      hardware sales of the Macintosh family of
Asset Replacement Ratio                                          1.2x       1.2x       1.1x       1.1x       1.3x
Tax Rate                                                        24.5%      18.3%      16.8%      17.0%      17.0%     notebook and desktop computers, iPad tablets, and
Net Debt-to-Equity Ratio                                        71.2%      82.7%     218.7%     168.0%      30.3%     iPod portable digital music players. The company
Interest Cov er                                                   NM         NM         NM         NM         NM      also realizes revenue from software, peripherals,
                                                                                                                      digital media, and services.

Income Statement Data (Sep)
(US$ Millions)                                                   2017A      2018A      2019E      2020E      2021E    Investment Rationale
Sales                                                          229,234    265,595    258,596    291,821    333,716
  % Change                                                        6.3%     15.9%       -2.6%     12.8%      14.4%     We rate Apple a Neutral as near-term risks (1)
Gross Profit                                                    89,063    102,849    100,226    113,555    129,905    iPhone unit pressure from weakening emerging
  % Change                                                        4.7%     15.5%       -2.5%     13.3%      14.4%     markets, (2) iPhone unit elasticity given significant
EBITDA                                                          76,341     87,141     84,700     94,119    105,335    step ups in ASPs, (3) deceleration in services give n
  % Change                                                        2.1%     14.1%       -2.8%     11.1%      11.9%
                                                                                                                      weakening app store trends, (4) expectation of
Net Interest & Other Income                                      2,745      1,716      1,332        633        695
  Net Income (Adjusted)                                         48,351     59,531     56,977     63,370     72,975    supply chain order cuts over the next few months,
  % Chan g e                                                      5.8%     23.1%       -4.3%     11.2%      15.2%     (5) expected negative estimate revisions and (6)
                                                                                                                      negative perception of lack of unit disclosure going
                                                                                                                      forward, are balanced by strong capital return
Free Cash Flow Data (Sep)                                                                                             program and large cash balance that affords
(US$ Millions)                                                    2017A      2018A      2019E      2020E      2021E   optionality
Net Income from Cont Operations (GAAP)                           52,018     63,685     61,798     68,533     78,486
Depreciation & Amortization                                      10,157     10,903     11,728     12,183     11,468
Change in Working Capital                                       (5,550)     34,694    (1,606)    (9,491)    (9,459)
Deferred Tax ation Charge                                         5,966   (32,590)      2,076      2,076      2,076
Other Adjustments, Net                                            1,007        742        979      1,057      1,129
Capital Ex penditure                                           (12,451)   (13,313)   (13,071)   (13,862)   (14,807)   Stock Data
  Free Cash Flow                                                 51,147     64,121     61,905     60,495     68,893
  % Change                                                        -3.7%     25.4%       -3.5%      -2.3%     13.9%    Average Daily Volume                       45,352,276

                                                                                                                      Quarterly Earnings Estimates
Balance Sheet Data (Sep)
                                                                                                                                                  2018              2019
(US$ Millions)                                                   2017A      2018A      2019E      2020E      2021E
                                                                                                                      Q1                         3.89A             4.17E
Cash & Equiv alents                                             20,289     25,913      5,532     18,861     67,307
                                                                                                                      Q2                         2.73A             2.66E
Trade Receivables                                               17,874     23,186     21,465     30,050     36,604
                                                                                                                      Q3                         2.34A             2.31E
Other Current Assets                                            90,482     82,240     82,430     87,741     88,349
                                                                                                                      Q4                         2.91A             3.03E
Property , Plant & Equipment                                    33,783     41,304     55,094     69,889     85,867
Other Non-Current Assets                                       212,891    193,082    119,253     87,335     83,417
  Total Assets                                                 375,319    365,725    283,773    293,876    361,543
Short-Term Debt                                                 18,473     20,748     10,000     10,000     10,000
Other Current Liabilities                                       82,341     96,118     88,338     92,777     90,552
Long-Term Debt                                                  97,207     93,735     93,735     93,735     93,735
Other Non-Current Liabilities                                   43,251     47,977     46,791     46,840     46,849
 Total Liabilities                                             241,272    258,578    238,864    243,351    241,136
    Total Eq uity                                              134,047    107,147     44,910     50,525    120,408
    Total Equity & Liabilities                                 375,319    365,725    283,773    293,876    361,543
* For full definitions of iQ method SM measures, see page 7.




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                                                                                                                                           Exhibit 9
Other drivers to rev decline “playing out as predicted”
Apple reiterated that other factors highlighted in its F4Q18 earnings call are playing out
as predicted, notably 1) later iPhone Xs/Xs Max launch timing creating tough y/y comp,
2) Stronger dollar to lead to 200bps revenue growth headwind in the quarter, 3) supply
constraints limited sales of recently announced new products, with Apple highlighting
the Apple Watch Series 4 and the iPad Pro supplies constrained for most to the entire
quarter, while AirPods and the MacBook Air also constrained.

Charts
Table 1: Guidance comparison
                                          Prior Guidance                New Guidance % Change Consensus BofAML Estimate            Vs. Consensus      Vs. BofAML Estimate
                        Bottom end Hi g h end Mid-p oint
Revenue                   $89bn      $93bn     $91bn                       $84bn            -7.7%    $91bn          $89bn              -8.0%                    -6.0%
Gross margin              38.0%      38.5%     38.3%                       38.0%            -0.3%    38.3%          38.0%              -0.3%                    0.0%
Op eratin g exp enses     $8.7bn     $8.8bn    $8.8bn                      $8.7bn           -0.6%    $8.6bn         $8.5bn             0.9%                     2.3%
Other income/ (exp ense) $300mn     $300mn $300mn                         $550mn            83.3%   $310mn         $300mn              77.4%                    83.1%
Tax rate                  16.5%      16.5%     16.5%                       16.7%            0.2%     16.3%          16.5%              0.4%                     0.2%
Shares out.                                                                4.77bn                    4.79bn         4.77bn             -0.4%                    0.1%
Im p lied EPS                                                              $4.15                     $4.65          $4.51             -10.8%                    -7.9%
Source: Company filings, BofA Merrill Lynch Global Research



Figure 1: AAPL Valuation Scenario Analysis
                                                                              Scenario 1                         Scenario 2                          Scenario 3
 Valuation framework
 Hardware business
 Rev enue grow th rate                                                       Low -single digit                       Flat                          Slighty Negativ e
EBIT margin - outlook                                                                Flat                            Flat                              Declining
 Terminal grow th rate                                                       Low -single digit                       Zero                              Negativ e
 Hardware business value per share                                                  $107                             $85                                 $70


 Services business
 Rev enue grow th rate                                                         High teens                     Decel to mid teens               Decel to mid single digit
 EBIT margin - current                                                              45%                              45%                                 45%
 EBIT margin - outlook                                                         Up 1% y /y                            Flat                                Flat
 Terminal grow th rate                                                       Low -single digit                 Low -single digit                         Zero
 Services business value per share                                                  $122                            $104                                 $75


 Net cash & inv estments as of 4Q18                                                                               $122,617
 European commission pay ment                                                                                     $16,000
 Repatriation related tax ex pense                                                                                $33,589
 Adjusted net cash & inv estments                                                                                 $73,028
 Cash value per share                                                                                              $15.32


 Total value per share                                                              $244                            $204                                $160
 Current stock price                                                            $157.92                           $157.92                              $157.92
 Upside / Dow nside                                                                 54.7%                           29.4%                                1.5%
Source: Company reports, BofA Merrill Lynch Global Research estimates
Note: current prices are as of Jan 2nd, 2019 market close.




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                                                                                                                                               Exhibit 9
Figure 2: BofAML: old vs. new estimates
                                     Old Estimates                                                           New Estimates
           Units (K)               F16           F17           F18        F19        F20        F21        F16           F17          F18        F19        F20        F21
                        iPhone   211,884       216,756      217,722     210,000    217,000    223,000    211,884       216,756      217,722    181,000    200,000    215,000
                          iPad    45,590       43,753        43,535      43,798     43,798     43,798     45,590        43,753       43,535     44,194     44,194     44,194
                          Mac     18,484       19,251        18,209      18,960     19,529     20,114     18,484        19,251       18,209     18,858     19,423     20,006
                          iPod    6,372         5,098         4,078      3,263      2,610      2,088      6,372         5,098        4,078      3,263      2,610      2,088
                 Apple Watch      10,500       14,000        28,200      42,300     50,760     55,836     10,500        14,000       28,200     41,050     49,260     54,111


                                     Old Estimates                                                           New Estimates
            ASP ($)                F16           F17           F18        F19        F20        F21        F16           F17          F18        F19        F20        F21
                        iPhone    $645          $652          $766       $805       $852       $920       $645          $652         $766       $789       $803       $877
                          iPad    $452          $439          $432       $424       $416       $408       $452          $439         $432       $438       $429       $421
                          Mac     $1,235       $1,343        $1,400      $1,388     $1,373     $1,360     $1,235        $1,343       $1,400     $1,380     $1,366     $1,352
                          iPod    $155          $151          $148       $145       $142       $139       $155          $151         $148       $145       $142       $139
                 Apple Watch      $451          $446          $401       $429       $429       $429       $451          $446         $401       $400       $400       $400


                                     Old Estimates                                                           New Estimates
          Revenue ($)              F16           F17           F18        F19        F20        F21        F16           F17          F18        F19        F20        F21
             iPhone rev ($mn)    $136,700     $141,319      $166,699    $169,087   $184,854   $205,137   $136,700      $141,319     $166,699   $142,774   $160,561   $188,612
               iPad rev ($mn)    $20,628       $19,222      $18,805     $18,577    $18,227    $17,885    $20,628       $19,222      $18,805    $19,336    $18,976    $18,620
               Mac rev ($mn)     $22,831       $25,850      $25,484     $26,311    $26,821    $27,347    $22,831       $25,850      $25,484    $26,033    $26,536    $27,056
                 Watch ($mn)      $4,733       $6,250       $11,300     $18,147    $21,776    $23,954     $4,733        $6,250      $11,300    $16,420    $19,704    $21,644
           Services rev ($mn)    $24,348       $29,980      $37,190     $45,979    $56,554    $66,734    $24,348       $29,980      $37,190    $46,657    $57,388    $67,718
    Other rev, ex-Watch ($mn)     $6,399       $6,613        $6,117      $7,365     $8,641    $10,050     $6,399        $6,613       $6,117     $7,377     $8,656    $10,067
 Total Apple Revenue ($mn)       $215,639     $229,234      $265,595    $285,466   $316,873   $351,107   $215,639      $229,234     $265,595   $258,596   $291,821   $333,716
              Total Apple EPS     $8.31         $9.21        $11.91      $13.86     $15.26     $16.98     $8.31         $9.21        $11.91     $12.20     $14.07     $16.44



                                            Old Estimates                                                           New Estimates

                                   F16           F17           F18        F19        F20        F21        F16           F17          F18        F19        F20        F21


             Revenue ($bn)       $215.6        $229.2       $265.6      $285.5     $316.9     $351.1     $215.6        $229.2       $265.6     $258.6     $291.8     $333.7

         Gross Margin (%)        39.1%         38.5%         38.3%      38.8%      38.3%      38.0%      39.1%         38.5%        38.3%      38.3%      38.5%      38.6%

                        EPS       $8.31         $9.21       $11.91      $13.86     $15.26     $16.98      $8.31         $9.21       $11.91     $12.20     $14.07     $16.44
Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                                                                  Exhibit 9
Model
Figure 3: Apple Income Statement
                                                               F2018                                     F2019E
                                                  12/17       3/18         6/18     9/18    12/18E     3/19E        6/19E    9/19E    F2017    F2018   F2019E    F2020E        F2021E
Incom e Statem ent


Revenue ($mn)                                    88293      61137        53265    62900     84202     57113        52887    64394    229234   265595   258596     291821       333716
  iPhone revenue                                 61576      38032        29906    37185     52355     30378        25759    34282    141319   166699    142774    160561       188612
  iPad revenue                                    5862       4113         4741     4089      6498      4084         4701     4052     19222    18805    19336      18976        18620
  Mac revenue                                     6895       5848         5330     7411      7090      5959         5431     7553     25850    25484    26033      26536        27056
  iTunes / Softw are / Services                   8471       9190         9548     9981     10758     11488        11935    12476     29980    37190    46657      57388        67718
  Other Rev                                       5489       3954         3740     4234      7500      5205         5062     6030     12863    17417    23797      28360        31712
Cost of Goods Sold (excl. Stock-based comp.      54129      37458        32594    38565     51897     34917        32172    39384    140171   162746   158370     178266       203811

Gross Profit (excl. Stock-based comp.)           34164      23679        20671    24335     32305     22196        20715    25010    89063    102849   100226     113555       129905

Total Operating Expense (excl. Stock-based c      6594       6437         6708     6872      7578      6017         6654     7005     22879    26611    27255      31618        36039
  R&D (excl. Stock-based comp.)                   2761       2712         3026     3069      3368      2534         3005     3142     9282    11568     12048      13221        14939
  SG&A (excl. Stock-based comp.)                  3833       3725         3682     3803      4210      3484         3649     3864     13597    15043    15207      18397        21100

Operating Income (Pre-Stock-based comp.)         27570      17242        13963    17463     24727     16179        14061    18004    66184    76238     72972      81936        93866


Total Operating Expense (incl. Stock-based c o    7638       7528         7809     7966      8762      7201         7838     8189     26842    30941    31991      36714        41495
  R&D (incl. Stock-based comp.)                   3407       3378         3701     3750      4099      3265         3736     3873     11581   14236     14972      16345        18263
  SG&A (incl. Stock-based comp.)                  4231       4150         4108     4216      4663      3937         4102     4317     15261    16705    17019      20369        23232


Operating Income (Incl. Stock-based comp.)       26274      15894        12612    16118     23277     14729        12611    16554     61344    70898    67172      75716        87226

Total Interest and Other Income/(Expense)          756        274          672      303       554       316          270      192      2745     2005     1332        633          695

Pretax Income (Pre SBC)                          28326      17516        14635    17766     25281     16495        14332    18196     68929   78243     74303      82570        94561

Provision for Income Taxes (Credit)               7299       2542         1945     2484      4171      2804         2436     3093     16911    14269    12505      14037        16075

Net Income (Pre Stock-based comp.)               21027      14974        12690    15282     21110     13691        11895    15103     52018   63974     61798      68533        78486
Stock-based comp. (After tax)                      -962     -1152        -1171     -1157    -1211     -1204        -1204     -1204    -3667    -4443     -4821     -5163        -5511
Net Income (Incl. Stock-based-comp)              20065      13822        11519    14125     19899     12487        10692    13899     48351    59531    56977      63370        72975


Diluted EPS (Pre-Stock-based comp)                 4.08       2.95         2.58     3.15      4.43      2.92         2.57     3.29     9.90    12.79     13.24     15.21        17.68
Diluted EPS (Incl. Stock-based comp)               3.89       2.73         2.34     2.91      4.17      2.66         2.31     3.03     9.21    11.91     12.20     14.07        16.44


Diluted Weighted Average Shares                   5158       5068         4927     4848      4768      4688         4628     4593      5252     5000     4669       4505         4440


Incom e Statem ent (Cont'd)
% Growth Rates
Revenues (Y/Y)                                   12.7%     15.6%        17.3%     19.6%     (4.6%)    (6.6%)       (0.7%)   2.4%      6.3%    15.9%     (2.6%)    12.8%        14.4%
Gross Profit (Y/Y)                               12.4%     13.8%        16.8%     20.8%     (5.4%)    (6.3%)       0.2%     2.8%      4.7%    15.5%     (2.5%)    13.3%        14.4%
Opex (Y/Y)                                       13.9%     17.2%        16.8%     17.4%    14.9%      (6.5%)       (0.8%)   1.9%     10.0%    16.3%      2.4%     16.0%        14.0%
  R&D (Y/Y)                                      21.0%     23.2%        27.6%     26.4%    22.0%      (6.6%)       (0.7%)   2.4%     13.8%    24.6%      4.1%      9.7%        13.0%
  SG&A (Y/Y)                                     9.3%      13.1%         9.2%     11.1%     9.8%      (6.5%)       (0.9%)   1.6%      7.6%    10.6%      1.1%     21.0%        14.7%
Op. Income (Y/Y)                                 12.0%     12.6%        16.7%     22.2%    (10.3%)    (6.2%)       0.7%     3.1%      3.0%    15.2%     (4.3%)    12.3%        14.6%
Pretax Income (Y/Y)                              11.4%     10.2%        17.1%     17.7%    (10.7%)    (5.8%)       (2.1%)   2.4%      5.1%    13.5%     (5.0%)    11.1%        14.5%
Net Income (Y/Y)                                 12.2%     25.3%        32.1%     31.8%     (0.8%)    (9.7%)       (7.2%)   (1.6%)    5.8%    23.1%     (4.3%)    11.2%        15.2%
EPS (Y/Y)                                        15.9%     30.1%        40.4%     41.0%     7.3%      (2.3%)       (1.2%)   3.9%     10.8%    29.3%      2.5%     15.3%        16.8%
Diluted Shares (Y/Y)                             (3.2%)    (3.7%)        (5.9%)   (6.5%)    (7.6%)    (7.5%)       (6.1%)   (5.3%)   (4.5%)   (4.8%)    (6.6%)    (3.5%)       (1.4%)


Revenues (Q/Q)                                   67.9%    (30.8%)       (12.9%)   18.1%    33.9%     (32.2%)       (7.4%)   21.8%
Gross Profit (Q/Q)                               66.9%    (30.8%)       (13.0%)   18.3%    34.6%     (32.7%)       (7.9%)   22.4%
Opex (Q/Q)                                       12.7%     (2.4%)        4.2%     2.4%     10.3%     (20.6%)      10.6%     5.3%
  R&D (Q/Q)                                      13.7%     (1.8%)       11.6%     1.4%      9.7%     (24.8%)      18.6%     4.6%
  SG&A (Q/Q)                                     11.9%     (2.8%)        (1.2%)   3.3%     10.7%     (17.2%)       4.7%     5.9%
Op. Income (Q/Q)                                 92.9%    (37.5%)       (19.0%)   25.1%    41.6%     (34.6%)      (13.1%)   28.0%
Diluted Shares (Q/Q)                             (0.5%)    (1.7%)        (2.8%)   (1.6%)    (1.7%)    (1.7%)       (1.3%)   (0.8%)

Source: Company reports, BofA Merrill Lynch Global Research estimates




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                                                                                                Exhibit 9
Price objective basis & risk
Apple Inc. (AAPL)
Our PO of $195 is based on approximately 15x our C2019 EPS estimate of $12.61. Our
target multiple compares to the long-term historical range of 9-15x (median 12x). We
believe the high end of the historical multiple range is justified given the smoother
iPhone cycles, largely consistent growth in iPhone units and revs (with lower than
historical cyclicality). We also think a 15x multiple is justified given a large cash balance
and opportunity to diversify into new end markets, and increasing mix and diversity of
services.

Upside risks are: gross margin upside from better mix of higher end iPhones, and
tailwind from lower memory costs and lower warranty accruals, a faster than expected
recovery in emerging markets, and faster than expected recovery in China App Store
sales.

Downside risks are: potential trade conflicts, tariffs, and a stronger USD. Other risks are
Apple's continued significant exposure to the iPhone, commoditization in the
smartphone market, intensifying competition in the tablet market, managing beat and
raise expectations for EPS estimates, and requirement to maintain pace of product
innovation.

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US - IT Hardware and Technology Supply Chain Coverage Cluster
                                                                                                                BofA Merrill Lynch
Investment ratin g                   Com p any                                                                  ticker                       Bloomber g symbol                   Anal yst
BUY
                                     Amphenol                                                                   APH                          APH US                              Wamsi Mohan
                                     Arrow Electronics Inc.                                                     ARW                          ARW US                              Param Singh, CFA
                                     Av net Inc.                                                                AVT                          AVT US                              Param Singh, CFA
                                     Flex Ltd.                                                                  FLEX                         FLEX US                             Ruplu Bhattachary a
                                     HP Inc.                                                                    HPQ                          HPQ US                              Wamsi Mohan
                                     International Business Machines Corp.                                      IBM                          IBM US                              Wamsi Mohan
                                     NetApp Inc.                                                                NTAP                         NTAP US                             Wamsi Mohan
                                     Nutanix Inc                                                                NTNX                         NTNX US                             Wamsi Mohan
                                     Pure Storage                                                               PSTG                         PSTG US                             Wamsi Mohan
                                     Sensata Technologies Holdings Plc                                          ST                           ST US                               Wamsi Mohan
                                     TE Connectiv ity Ltd.                                                      TEL                          TEL US                              Wamsi Mohan
                                     Teradata Corporation                                                       TDC                          TDC US                              Wamsi Mohan
                                     Vishay Intertechnology, Inc.                                               VSH                          VSH US                              Ruplu Bhattachary a
                                     Western Digital Corporation                                                WDC                          WDC US                              Wamsi Mohan
NEUTRAL
                                     Apple Inc.                                                                 AAPL                         AAPL US                             Wamsi Mohan
                                     Celestica                                                                  CLS                          CLS US                              Ruplu Bhattachary a
                                     Celestica                                                                  YCLS                         CLS CN                              Ruplu Bhattachary a
                                     Corning Inc.                                                               GLW                          GLW US                              Wamsi Mohan
                                     Jabil Inc.                                                                 JBL                          JBL US                              Ruplu Bhattachary a
                                     Sanmina Corporation                                                        SANM                         SANM US                             Ruplu Bhattachary a
UNDERPERFORM
                                     3D Sy stems Corporation                                                    DDD                          DDD US                              Wamsi Mohan
                                     Hew lett-Packard Enterprise                                                HPE                          HPE US                              Wamsi Mohan
                                     Seagate Technology                                                         STX                          STX US                              Wamsi Mohan
                                     Stratas y s Ltd.                                                           SSYS                         SSYS US                             Wamsi Mohan
                                     Tech Data Corp.                                                            TECD                         TECD US                             Param Singh, CFA



iQ method SM Measures Definitions
Business Performance              Numerator                                                                 Denominator
Return On Capital Employ ed       NOPAT = (EBIT + Interest Income) * (1 - Tax Rate) + Goodwill Amortization Total Assets – Current Liabilities + ST Debt + Accumulated Goodwill
                                                                                                            Amortization
Return On Equity                  Net Income                                                                Shareholders’ Equity
Operating Margin                  Operating Profit                                                          Sales
Earnings Grow th                  Ex pected 5-Year CAGR From Latest Actual                                  N/A
Free Cash Flow                    Cash Flow From Operations – Total Capex                                   N/A
Quality of Earnings
Cash Realization Ratio                     Cash Flow From Operations                                                                  Net Income
Asset Replacement Ratio                    Capex                                                                                      Depreciation
Tax Rate                                   Tax Charge                                                                                 Pre-Tax Income
Net Debt-To-Equity Ratio                   Net Debt = Total Debt, Less Cash & Equivalents                                             Total Equity
Interest Cov er                            EBIT                                                                                       Interest Ex pense
Valuation Toolkit
Price / Earnings Ratio                     Current Share Price                                                                        Diluted Earnings Per Share (Basis As Specified)
Price / Book Value                         Current Share Price                                                                        Shareholders’ Equity / Current Basic Shares
Div idend Yield                            Annualised Declared Cash Dividend                                                          Current Share Price
Free Cash Flow Yield                       Cash Flow From Operations – Total Capex                                                    Market Cap. = Current Share Price * Current Basic Shares
Enterprise Value / Sales                   EV = Current Share Price * Current Shares + Minority Equity + Net Debt +                   Sales
                                           Other LT Liabilities
EV / EBITDA                                Enterprise Value                                                                           Basic EBIT + Depreciation + Amortization
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                                                                                                                                                                                   Exhibit 9
Disclosures
Important Disclosures
AAPL Price Chart
              1-Dec N                                           16-Sepp              19-Jan                                                         17-Jan                                   13-Sepp
               Mohan                                           PO:US$125            PO:US$140                                                      PO:US$220                                PO:US$256
             PO:US$130
                    12-Jan B                                                             8-Feb                                                                        2-Mayy                         29-Oct
                                                                                        PO:US$145                                                                    PO:US$225                      PO:US$235
            240
                                      22-Apr                                                   16-Mar                                                                             10-Jul              2-Nov N
            200                      PO:US$125                                                PO:US$155                                                                          PO:US$230           PO:US$220
            160                        27-Apr                                                            12-Mayy                                                                         21-Augg
                                      PO:US$120                                                         PO:US$180                                                                       PO:US$250
            120

             80

             40

              0
                    1-Jan-16                                                       1-Jan-17                                                       1-Jan-18
             AAPL                  (USD)
                                                               B: Buy, N: Neutral, U: Underperform, PO: Price Objective, NA: No longer valid, NR: No Rating
The Investment Opinion System is contained at the end of the report under the heading "Fundamental Equity Opinion Key". Dark grey shading indicates the security is restricted with the opinion suspended. Medium grey
shading indicates the security is under review with the opinion withdrawn. Light grey shading indicates the security is not covered. Chart is current as of November 30, 2018 or such later date as indicated.


Equity Investment Rating Distribution: Technology Group (as of 31 Dec 2018)
Coverage Universe                                     Count           Percent                                              Inv. Banking Relationships*                                          Count               Percent
Buy                                                       136         54.84%                                               Buy                                                                     80               58.82%
Hold                                                       60         24.19%                                               Hold                                                                    35               58.33%
Sell                                                       52         20.97%                                               Sell                                                                    21               40.38%
Equity Investment Rating Distribution: Global Group (as of 31 Dec 2018)
Coverag e Universe                                    Count           Percent                                              Inv. Bankin g Relationshi ps*                                        Count               Percent
Buy                                                      1586         53.69%                                               Buy                                                                   1017               64.12%
Hold                                                      690         23.36%                                               Hold                                                                   432               62.61%
Sell                                                      678         22.95%                                               Sell                                                                   328               48.38%
* Issuers that were investment banking clients of BofA Merrill Lynch or one of its affiliates within the past 12 months. For purposes of this Investment Rating Distribution, the coverage universe includes only stocks. A
stock rated Neutral is included as a Hold, and a stock rated Underperform is included as a Sell.

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attractiveness for investment relative to other stocks within its Coverage Cluster (defined below). There are three investment ratings: 1 - Buy stocks are expected to have a total
return of at least 10% and are the most attractive stocks in the coverage cluster; 2 - Neutral stocks are expected to remain flat or increase in value and are less attractive than
Buy rated stocks and 3 - Underperform stocks are the least attractive stocks in a coverage cluster. Analysts assign investment ratings considering, among other things, the 0-12
month total return expectation for a stock and the firm’s guidelines for ratings dispersions (shown in the table below). The current price objective for a stock should be
referenced to better understand the total return expectation at any given time. The price objective reflects the analyst’s view of the potential price appreciation (depreciation).
Investment ratin g           Total return expectation (within 12-month p eriod of date of initial ratin g)                 Ratin g s disp ersion g uidelines for coverag e cluster*
            Buy                                                         10%                                                                                70%
           Neutral                                                       0%                                                                                30%
       Underperform                                                     N/A                                                                                 20%
* Ratings dispersions may vary from time to time where BofA Merrill L ynch Research believes it better reflects the investment prospects of stocks in a Coverage Cluster.
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income from such securities and other financial instruments, if any, may fluctuate and that price or value of such securities and instruments may rise or fall and, in some cases, investors may
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                                                                                                          Exhibit 9
                              Last night, Apple negatively preannounced December-quarter results, which is a rare occurrence. We had
                              been cautious on the new iPhone products as well as on Apple’s China business, but the weakness is
                              much more pronounced than we expected. We are lowering estimates and our target price and remain
                              Market Perform on the stock. We need to see more stabilization in the iPhone business before becoming
                              more positive.

                              The biggest surprise was a substantial revenue miss of nearly 10% versus prior expectations that was
                              based solely on lower-than-expected iPhone revenue, especially in Greater China. We estimate that the
                              y/y revenue decline for iPhone was about 15%, as management said revenue outside of iPhone was up
                              19% y/y.

                              The company pointed out a number of factors other than the China and emerging markets weakness,
                              none of which is surprising to us:

                                  x    iPhone upgrades in developed markets were also weaker than expected, likely due to
                                       lengthening replacement rates;

                                  x    Fewer carrier subsidies;

                                  x    Price increases related to a stronger U.S. dollar;

                                  x    Availability of lower-priced replacement batteries;

                                  x    Tough comps (timing differences of products launches y/y); and

                                  x    Supply constraints due to an unusually higher number of products coming to market (Apple
                                       Watch Series 4, iPad Pro, AirPods, MacBook Air).

                              There were some positives in the quarter, as the 19% non-iPhone growth rate was better than the 13%
                              recorded in FY2018. iPad growth of double digits was better than expected, and wearables remain
                              strong. Service revenues of $10.8 billion beat our estimate by $400 million. Gross margin missed by 20
                              bps, and opex was slightly lower than our model. The share count was higher than we expected, and
                              this is odd because the average share price in the December quarter was lower than we had modeled
                              for the buyback program.


                              Lowering Estimates and Target

                              We are lowering our FY2019 revenue and EPS estimates to $266.1 billion and $12.35 from $283.1 billion
                              and $13.63 and our FY2020 revenue and EPS estimates to $282.7 billion and $14.18 from $296.5 billion
                              and $15.30. Our estimates are based on 198 million iPhones in FY2019 and 202 million in FY2020, lower
                              than our prior view of 212 million and 209 million, respectively.

                              We are lowering our target price from $213 to $153. We have reduced our target P/E multiple to 12x,
                              which is a discount to the three-year average of 13x and a premium to the average multiple in FY2016
                              of 11x, the last time the company saw high-single-digit declines in iPhone units.




Apple | Page 3                                                                                                          January 2, 2019
                                                                                                               Page 536
                            Exhibit 4: AAPL Income Statement
                            Fiscal Year Ends Sep 30                                FY2018                                  FY2019E                                  FY2020E
                            (USD & Shares in Millions)              Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E    Sep-19E   Dec-19E   Mar-20E   Jun-20E    Sep-20E         2016A      2017A      2018A       2019E       2020E




           Apple | Page 4
                            Revenue                                  88,293    61,137     53,265    62,900    84,121    62,263    55,806     63,912    88,376    67,707    59,757     66,844       215,639    229,234    265,595     266,102     282,684
                            % Change Y/Y                              12.7%     15.6%      17.3%     19.6%     -4.7%      1.8%       4.8%      1.6%      5.1%      8.7%       7.1%      4.6%          -7.7%      6.3%      15.9%        0.2%        6.2%
                            % Change Q/Q                              67.9%    -30.8%     -12.9%     18.1%     33.7%    -26.0%     -10.4%     14.5%     38.3%    -23.4%     -11.7%     11.9%

                            Cost of Sales                            54,381   37,715     32,844     38,816   52,189    38,578     34,623    39,470    54,648    41,853     37,004    41,410        131,376    141,048    163,756     164,860     174,915
                            % of Revenue                              61.6%    61.7%      61.7%      61.7%    62.0%     62.0%      62.0%     61.8%     61.8%     61.8%      61.9%     61.9%          60.9%      61.5%      61.7%       62.0%       61.9%

                            Gross Profit                             33,912    23,422    20,421     24,084   31,931    23,685     21,183    24,442    33,728    25,854     22,753    25,434         84,263    88,186     101,839     101,242     107,770
                            Gross Margin                              38.4%     38.3%     38.3%      38.3%    38.0%     38.0%      38.0%     38.2%     38.2%     38.2%      38.1%     38.1%          39.1%     38.5%       38.3%       38.0%       38.1%

                            R&D                                       3,407     3,378     3,701      3,750    4,100     3,950      4,050     4,150     4,450     4,350      4,400     4,450         10,045    11,581     14,236      16,250      17,650
                            % of Revenue                               3.9%      5.5%      6.9%       6.0%     4.9%      6.3%       7.3%      6.5%      5.0%      6.4%       7.4%      6.7%           4.7%      5.1%       5.4%        6.1%        6.2%

                            SG&A                                      4,231     4,150     4,108      4,216    4,600     4,450      4,500     4,650     4,900     4,750      4,850     5,000         14,194    15,261     16,705      18,200      19,500
                            % of Revenue                               4.8%      6.8%      7.7%       6.7%     5.5%      7.1%       8.1%      7.3%      5.5%      7.0%       8.1%      7.5%           6.6%      6.7%       6.3%        6.8%        6.9%

                             Total Operating Expenses                 7,638     7,528     7,809      7,966    8,700     8,400      8,550     8,800     9,350     9,100      9,250     9,450         24,239    26,842     30,941      34,450      37,150
                             % of Revenue                              8.7%     12.3%     14.7%      12.7%    10.3%     13.5%      15.3%     13.8%     10.6%     13.4%      15.5%     14.1%          11.2%     11.7%      11.6%       12.9%       13.1%
                             % Change Seq.                            12.1%     -1.4%      3.7%       2.0%     9.2%     -3.4%       1.8%      2.9%      6.3%     -2.7%       1.6%      2.2%           8.2%     10.7%      15.3%       11.3%        7.8%

                            Operating Income                         26,274   15,894     12,612     16,118   23,231    15,285     12,633    15,642    24,378    16,754     13,503    15,984         60,024    61,344     70,898      66,792      70,620
                            Operating Margin                          29.8%    26.0%      23.7%      25.6%    27.6%     24.5%      22.6%     24.5%     27.6%     24.7%      22.6%     23.9%          27.8%     26.8%      26.7%       25.1%       25.0%

                            Interest & Other Income (Expense)          756       274        672       303       550       400        300       300       300       275        250       225          1,348     2,745      2,005       1,550       1,050

                            Pretax Income                            27,030   16,168     13,284     16,421   23,781    15,685     12,933    15,942    24,678    17,029     13,753    16,209         61,372    64,089     72,903      68,342      71,670

                            Income Tax Expense (Benefit)              6,965     2,346     1,765      2,296    3,924     2,588      2,134     2,630     4,072     2,810      2,269     2,675         15,685    15,738     13,372      11,276      11,825
                            Tax Rate                                  25.8%     14.5%     13.3%      14.0%    16.5%     16.5%      16.5%     16.5%     16.5%     16.5%      16.5%     16.5%          25.6%     24.6%      18.3%       16.5%       16.5%

                            Net Income                               20,065    13,822    11,519     14,125   19,857    13,097     10,799    13,312    20,606    14,219     11,484    13,535         45,687    48,351     59,531      57,065      59,844

                            EPS (Diluted)                       $      3.89 $    2.73 $    2.34 $    2.91 $    4.16 $    2.80 $    2.36 $    2.98 $    4.71 $    3.33 $    2.75 $    3.33      $      8.31 $    9.21 $     11.91 $     12.35 $     14.18
                            Weighted Average Shares (Diluted)       5,157.8   5,068.5   4,926.6   4,847.5   4,770.5   4,670.5   4,570.5   4,470.5   4,370.5   4,270.5   4,170.5   4,070.5          5,500.3   5,251.7     5,000.1     4,620.5     4,220.5
                            Change in Share Count                     (25.8)    (89.3)   (141.9)    (79.1)    (77.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)   (100.0)          (292.8)   (248.6)     (251.6)     (379.6)     (400.0)
                                                                                                                                                                                                                                                                        Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 538 of 607

                                                                                                                                                                                                                                                            Exhibit 9




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                            Source: Company Reports and BMO Capital Markets estimates.
                            Exhibit 5: AAPL Product Data
                            Fiscal Year Ends Sep 30                                FY2018                                  FY2019E                                 FY2020E
                            (USD & Units in Millions, except ASP)   Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E   Sep-19E   Dec-19E   Mar-20E   Jun-20E   Sep-20E     2016A     2017A     2018A     2019E     2020E




           Apple | Page 5
                            Revenue                                  88,293    61,137     53,265    62,900    84,121    62,263    55,806    63,912    88,376    67,707    59,757    66,844   215,639   229,234   265,595   266,102   282,684
                            iPhone                                   61,576    38,032     29,906    37,185    52,413    35,366    28,407    34,791    52,779    37,274    29,478    34,302   136,700   141,319   166,699   150,978   153,833
                            iPad                                      5,862     4,113      4,741     4,089     6,446     4,698     4,988     4,232     6,307     4,741     4,743     4,191    20,628    19,222    18,805    20,365    19,982
                            Watch                                     3,295     2,011      1,802     2,398     4,056     2,685     3,124     3,063     5,412     3,572     3,561     3,889     4,600     6,305     9,507    12,927    16,434
                            Mac                                       6,895     5,848      5,330     7,411     7,442     5,972     5,408     7,546     7,437     6,039     5,495     7,622    22,831    25,850    25,484    26,368    26,593
                            iPod                                                                                                                                                                                                           0
                            Services                                  8,471     9,190     9,548      9,981   10,801    11,212    11,553    12,077    12,961    13,342    13,748    14,251    24,348    29,980     37,190    45,642    54,302
                            Other Products                            2,194     1,943     1,938      1,836    2,962     2,331     2,326     2,203     3,480     2,739     2,733     2,588     6,532     6,558      7,910     9,821    11,540

                            Units
                            iPhone                                     77.3      52.2      41.3       46.9     68.0      47.0      38.0      45.0      69.0      49.0      39.0      45.0     211.9     216.8      217.7     198.0     202.0
                            iPad                                       13.2       9.1      11.6        9.7     14.0      10.0      11.0       9.5      14.0      10.0      10.5       9.5      45.6      43.8       43.5      44.5      44.0
                            Watch                                       7.5       4.5       4.0        5.5      9.0       6.0       7.0       7.0      12.0       8.0       8.0       9.0      11.5      15.3       21.5      29.0      37.0
                            Mac                                         5.1       4.1       3.7        5.3      5.2       4.2       3.8       5.4       5.1       4.2       3.8       5.4      18.5      19.3       18.2      18.5      18.4
                            iPod                                                                                                                                                                0.0       0.0        0.0       0.0       0.0

                            ASP
                            iPhone                                      803       728       718        790      775       750       740       770       770       760       750       760       645       652        766       761       761
                            iPad                                        454       456       418        425      470       475       460       450       460       480       460       450       451       444        439       464       462
                            Watch                                       450       450       450        440      460       450       450       440       460       450       450       440       410       417        447       451       451
                            Mac                                       1,351     1,427     1,421      1,402    1,444     1,430     1,416     1,402     1,458     1,443     1,429     1,414     1,241     1,345      1,397     1,423     1,436

                            Gross Profit                             33,912   23,422     20,421     24,102   31,931    23,685    21,183    24,442    33,728    25,854    22,753    25,434    84,263    88,186    101,857   101,242   107,770
                            iPhone                                   25,246   15,593     12,411     15,246   21,332    14,394    11,590    14,195    21,534    15,096    11,879    13,721    59,687    59,143     68,496    61,511    62,230
                            iPad                                      1,172      823        948        818    1,257       916       973       825     1,230       924       925       817     4,245     3,773      3,761     3,971     3,896
                            Watch                                     1,252      764        703        935    1,541     1,047     1,218     1,194     2,111     1,393     1,389     1,517     1,581     2,340      3,655     5,001     6,409
                            Mac                                       1,793    1,491      1,359      1,890    1,935     1,523     1,379     1,924     1,896     1,540     1,401     1,944     6,136     6,786      6,533     6,761     6,781
                            Services                                  3,944    4,304      4,554      4,791    5,184     5,270     5,488     5,797     6,156     6,271     6,530     6,840    11,112    14,636     17,593    21,738    25,798
                            Other Products                              505      447        446        422      681       536       535       507       800       630       628       595     1,502     1,508      1,819     2,259     2,654

                            Gross Margin                              38.4%     38.3%     38.3%      38.3%    38.0%     38.0%     38.0%     38.2%     38.2%     38.2%     38.1%     38.1%     39.1%     38.5%      38.4%     38.0%     38.1%
                            iPhone                                    41.0%     41.0%     41.5%      41.0%    40.7%     40.7%     40.8%     40.8%     40.8%     40.5%     40.3%     40.0%     43.7%     41.9%      41.1%     40.7%     40.5%
                            iPad                                      20.0%     20.0%     20.0%      20.0%    19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     19.5%     20.6%     19.6%      20.0%     19.5%     19.5%
                            Watch                                     38.0%     38.0%     39.0%      39.0%    38.0%     39.0%     39.0%     39.0%     39.0%     39.0%     39.0%     39.0%     34.4%     37.1%      38.4%     38.7%     39.0%
                            Mac                                       26.0%     25.5%     25.5%      25.5%    26.0%     25.5%     25.5%     25.5%     25.5%     25.5%     25.5%     25.5%     26.9%     26.3%      25.6%     25.6%     25.5%
                            Services                                  46.6%     46.8%     47.7%      48.0%    48.0%     47.0%     47.5%     48.0%     47.5%     47.0%     47.5%     48.0%     45.6%     48.8%      47.3%     47.6%     47.5%
                            Other Products                            23.0%     23.0%     23.0%      23.0%    23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%     23.0%      23.0%     23.0%     23.0%
                                                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 539 of 607

                                                                                                                                                                                                                                               Exhibit 9




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                            Source: Company Reports and BMO Capital Markets estimates.
                            Exhibit 6: AAPL Balance Sheet
                            Fiscal Year Ends Sep 30                                 FY2016                                   FY2017                                   FY2018                                  FY2019E                                 FY2020E
                            (USD & Shares in Millions)               Dec-15A   Mar-16A    Jun-16A   Sep-16A   Dec-16A   Mar-17A    Jun-17A   Sep-17A   Dec-17A   Mar-18A    Jun-18A   Sep-18A   Dec-18E   Mar-19E   Jun-19E   Sep-19E   Dec-19E   Mar-20E   Jun-20E   Sep-20E
                            Assets




           Apple | Page 6
                            Cash and equivalents                      16,689    21,514     18,237    20,484    16,371    15,157     18,571    20,289    27,491    45,059     31,971    25,913    53,390    52,272    61,472    72,006   101,600   102,319   112,347   124,264
                            Short-term marketable securities          21,385    33,769     43,519    46,671    44,081    51,944     58,188    53,892    49,662    42,881     38,999    40,388    40,388    40,388    40,388    40,388    40,388    40,388    40,388    40,388
                            Accounts receivable                       12,953    12,229     11,714    15,754    14,057    11,579     12,399    17,874    23,440    14,324     14,104    23,186    14,020    15,912    15,502    19,884    14,729    17,303    16,599    20,796
                            Inventories                                2,451     2,281      1,831     2,132     2,712     2,910      3,146     4,855     4,421     7,662      5,936     3,956     5,219     5,358     5,771     6,140     5,465     5,813     6,167     6,441
                            Other current assets                      22,741    17,799     18,460    21,828    26,111    20,400     20,571    31,735    38,796    20,127     24,751    37,896    30,000    28,000    30,000    38,000    30,000    28,000    30,000    37,000
                              Total current assets                    76,219    87,592     93,761   106,869   103,332   101,990    112,875   128,645   143,810   130,053    115,761   131,339   143,017   141,929   153,132   176,418   192,182   193,823   205,502   228,890
                            Long-term investments                    177,665   177,645    169,764   170,430   185,638   189,740    184,757   194,714   207,944   179,286    172,773   170,799   150,799   130,799   110,799    90,799    70,799    50,799    30,799    10,799
                            Property and equipment                    22,300    23,203     25,448    27,010    26,510    27,163     29,286    33,783    33,679    35,077     38,117    41,304    42,791    44,278    45,765    47,252    48,739    50,226    51,713    53,200
                            Goodwill                                   5,202     5,249      5,261     5,414     5,423     5,473      5,661     5,717     5,889
                            Intangible assets                          3,924     3,843      3,506     3,206     2,848     2,617      2,444     2,298     2,149
                            Other assets                               7,974     7,745      7,862     8,757     7,390     7,549     10,150    10,162    13,323    23,086     22,546    22,283    22,283    22,283    22,283    22,283    22,283    22,283    22,283    22,283
                              Total assets                           293,284   305,277    305,602   321,686   331,141   334,532    345,173   375,319   406,794   367,502    349,197   365,725   358,890   339,289   331,979   336,752   334,003   317,131   310,297   315,172

                            Liabilities
                            Accounts payable                          33,312    25,098     26,318    37,294    38,510    28,573     31,915    49,049    62,985    34,311     38,489    55,888    52,189    40,721    44,241    57,012    54,648    44,178    47,283    59,814
                            Accrued expenses                          24,032    23,208     20,820    22,027    23,739    23,096     23,304    25,744    26,281    26,756     25,184    32,687    32,787    32,887    32,987    33,087    33,187    33,287    33,387    33,487
                            Deferred revenue                           8,989     9,461      8,352     8,080     7,889     7,682      7,608     7,548     8,044     7,775      7,403     7,543     6,136     6,120     6,432     6,679     6,982     7,282     7,464     7,495
                            Commerical paper                           7,259     7,998     12,496     8,105    10,493     9,992     11,980    11,977    11,980    11,980     11,974    11,964    11,964    11,964    11,964    11,964    11,964    11,964    11,964    11,964
                            Current debt                               2,500     2,500      3,500     3,500     3,499     3,999      6,495     6,496     6,498     8,498      5,498     8,784     8,784     8,784     8,784     8,784     8,784     8,784     8,784     8,784
                              Total current liabilities               76,092    68,265     71,486    79,006    84,130    73,342     81,302   100,814   115,788    89,320     88,548   116,866   111,860   100,476   104,408   117,525   115,566   105,495   108,882   121,544
                            Long-term debt                            53,204    69,374     68,939    75,427    73,557    84,531     89,864    97,207   103,922   101,362     97,128    93,735    93,735    93,735    93,735    93,735    93,735    93,735    93,735    93,735
                            Deferred revenue                           3,546     3,322      3,064     2,930     3,163     3,107      2,984     2,836     3,131     3,087      2,878     2,797     2,697     2,597     2,497     2,397     2,297     2,197     2,097     1,997
                            Non-current liabilities                   32,175    33,859     35,572    36,074    37,901    39,470     38,598    40,415    43,754    46,855     45,694    45,180    46,180    47,180    48,180    49,180    50,180    51,180    52,180    53,180
                              Total liabilities                      165,017   174,820    179,061   193,437   198,751   200,450    212,748   241,272   266,595   240,624    234,248   258,578   254,472   243,988   248,820   262,837   261,778   252,607   256,894   270,456

                            Stockholders' Equity                     128,267   130,457    126,541   128,249   132,390   134,082    132,425   134,047   140,199   126,878    114,949   107,147   104,418    95,302    83,160    73,914    72,226    64,524    53,402    44,716

                            Total Liabilities and Stockholders' Eq   293,284   305,277    305,602   321,686   331,141   334,532    345,173   375,319   406,794   367,502    349,197   365,725   358,890   339,289   331,979   336,752   334,003   317,131   310,297   315,172
                                                                                                                                                                                                                                                                                            Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 540 of 607

                                                                                                                                                                                                                                                                                Exhibit 9




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                            Source: Company Reports and BMO Capital Markets estimates.
                            Exhibit 7: AAPL Cash Flow Statement
                            Fiscal Year Ends Sep 30                                               FY2018                                     FY2019E                                     FY2020E
                            (USD & Shares in Millions)                            Dec-17A    Mar-18A    Jun-18A    Sep-18A    Dec-18E    Mar-19E   Jun-19E     Sep-19E    Dec-19E    Mar-20E   Jun-20E     Sep-20E      2016A       2017A       2018A     2019E       2020E
                            Operating Activities




           Apple | Page 7
                            Net income                                             20,065     13,822    11,519      14,125    19,857     13,097     10,799     13,312      20,606     14,219     11,484     13,535     45,687      48,351      59,531    57,065      59,844
                            Depreciation and amortization                           2,745      2,739     2,665       2,754     2,739      2,739      2,739      2,739       2,739      2,739      2,739      2,739     10,505      10,157      10,903    10,956      10,956
                            Share-based compensation expense                        1,296      1,348     1,351       1,345     1,345      1,345      1,345      1,345       1,345      1,345      1,345      1,345      4,210       4,840       5,340     5,380       5,380
                            Deferred income tax expense                           (33,737)      (498)    1,126         519                                                                                              4,938       5,966     (32,590)        0           0
                            Other, net                                                (11)      (140)     (259)        (34)                                                                                                 0        (166)       (444)        0           0
                              Total adjustments                                   (29,707)     3,449     4,883       4,584     4,084       4,084      4,084     4,084       4,084      4,084      4,084      4,084     19,653      20,797     (16,791)   16,336      16,336
                            Accounts receivable, net                               (5,570)     9,093       233      (9,078)    9,166      (1,892)       410    (4,382)      5,154     (2,574)       704     (4,197)     1,095      (2,093)     (5,322)    3,302        (912)
                            Inventories                                               434     (3,241)    1,693       1,942    (1,263)       (139)      (413)     (369)        675       (348)      (354)      (274)       217      (2,723)        828    (2,184)       (302)
                            Vendor non-trade receivables                           (9,660)    19,375    (4,179)    (13,546)    7,896       2,000     (2,000)   (8,000)      8,000      2,000     (2,000)    (7,000)       (51)     (4,254)     (8,010)     (104)      1,000
                            Other current and non-current assets                     (197)      (856)      988        (358)      -           -          -         -           -          -          -          -        1,090      (5,318)       (423)        0           0
                            Accounts payable                                       14,588    (27,808)    2,081      20,314    (3,699)    (11,469)     3,520    12,771      (2,363)   (10,470)     3,105     12,531      1,791       9,618       9,175     1,124       2,802
                            Deferred revenue                                          791       (313)     (581)         59    (1,407)        (16)       312       247         304        300        182          31    (1,554)       (626)        (44)     (864)        816
                            Other current and non-current liabilities              37,549      1,609    (2,149)      1,481       100         100        100       100         100        100        100        100     (2,104)       (154)     38,490       400         400
                              Total changes in operating assets and liabilities    37,935     (2,141)   (1,914)        814    10,793     (11,415)     1,930       366      11,870    (10,992)     1,736      1,191        484      (5,550)     34,694     1,674       3,805

                             Cash generated by operating activities                28,293    15,130     14,488      19,523    34,734      5,766     16,813     17,762      36,560      7,311     17,304     18,810     65,824      63,598      77,434    75,075      79,985

                            Investing Activities
                            Purchase of marketable securities                     (41,272)   (7,177)    (7,684)    (15,223)                                                                                           (142,428)   (159,486)   (71,356)         0          0
                            Proceeds from marketable securities                    30,849    39,977     17,078      15,815    20,000     20,000     20,000     20,000      20,000     20,000     20,000     20,000     111,794     126,339    103,719     80,000     80,000
                            Purchase of long-term investments                                                          -                                                                                                     0           0          0          0          0
                            Purchase of PP&E                                       (2,810)    (4,195)    (3,267)    (3,041)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (3,625)    (12,734)    (12,451)   (13,313)   (14,500)   (14,500)
                            Proceeds from sales of equity instruments                                                  -                                                                                                     0           0          0          0          0
                            Payments for intangible assets                           (154)     (151)       (126)      (290)                                                                                               (814)       (344)      (721)         0          0
                            Other                                                    (203)      256      (2,054)      (262)                                                                                             (1,795)       (504)    (2,263)         0          0
                              Cash used in investing activities                   (13,590)   28,710       3,947     (3,001)   16,375     16,375     16,375     16,375      16,375     16,375     16,375     16,375     (45,977)    (46,446)    16,066     65,500     65,500

                            Financing Activities
                            Proceeds from issuance of common stock                    -          327          1        341        -          300        -          300        -          300        -          300         495         555        669        600        600
                            Excess tax benefits from equity awards                 (1,038)      (152)    (1,077)      (260)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)        407         627     (2,527)      (600)      (600)
                            Dividends                                              (3,339)    (3,190)    (3,653)    (3,530)    (3,482)    (3,409)    (3,837)    (3,753)    (3,190)    (3,117)    (3,501)    (3,417)    (12,150)    (12,769)   (13,712)   (14,482)   (13,226)
                            Repurchase of common stock                            (10,095)   (22,756)   (20,783)   (19,104)   (20,000)   (20,000)   (20,000)   (20,000)   (20,000)   (20,000)   (20,000)   (20,000)    (29,722)    (32,900)   (72,738)   (80,000)   (80,000)
                            Proceeds from issuance of debt, net                     6,971       (502)       500        -                                                                                                22,454      25,162      6,969          0          0
                            Other                                                                  1     (6,511)       (27)                                                                                             (1,967)      1,978     (6,537)         0          0
                              Cash used in financing activities                    (7,501)   (26,272)   (31,523)   (22,580)   (23,632)   (23,259)   (23,987)   (23,603)   (23,340)   (22,967)   (23,651)   (23,267)    (20,483)    (17,347)   (87,876)   (94,482)   (93,226)

                            Cash increase (decrease)                                7,202    17,568     (13,088)    (6,058)   27,477     (1,118)     9,201     10,534      29,594        719     10,028     11,917       (636)       (195)      5,624    46,093      52,258
                            Cash - Beginning                                       20,289    27,491      45,059     31,971    25,913     53,390     52,272     61,472      72,006    101,600    102,319    112,347     21,173      20,537      20,342    25,966      72,059
                            Cash - End                                             27,491    45,059      31,971     25,913    53,390     52,272     61,472     72,006     101,600    102,319    112,347    124,264     20,537      20,342      25,966    72,059     124,317
                                                                                                                                                                                                                                                                                           Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 541 of 607

                                                                                                                                                                                                                                                                               Exhibit 9




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       January 2, 2019
                            Source: Company Reports and BMO Capital Markets estimates.
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                                                                                                                                                                            Exhibit 9
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                                                                                                                      Weak iPhone sales result in $7B shortfall to Q1/
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For important information, please see the Important Disclosures beginning on page 6 of this document.
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                                                                                                              Exhibit 9               Apple
                                                                                                                       Lowering Target Price




                                                   Large installed iPhone base positions Apple for a strong upgrade cycle
                                                   through C2020: Figure 1 on the next page provides our detailed analysis of the
                                                   installed iPhone base, annual iPhone net additions, replacement iPhone sales,
                                                   and replacement rates by different regions of the world. We estimate our 701M
                                                   iPhone installed base of new iPhone users exiting C2018 represents only 44% of
                                                   the 1.6B global premium market smartphone subscribers estimated by the end of
                                                   C2018, according to Gartner. Based on our potentially conservative replacement
                                                   rate and installed base growth assumptions, we estimate Apple could sell roughly
                                                   175M to 225M iPhone units annually based on its growing and loyal installed base
                                                   of new iPhone consumers.

                                                   While we had anticipated a stronger upgrade cycle heading into 2019 from to the
                                                   new XS, XS Max and XR models, we believe the installed iPhone user base
                                                   remains loyal and anticipate lower but stable replacements rates going forward to
                                                   drive steady iPhone sales through C2020. Given the higher priced iPhones, we
                                                   now believe consumers are holding on to their iPhones longer. Therefore, we
                                                   have lowered our replacement rate upgrades from roughly 23% of the new iPhone
                                                   user base (excludes refurbished sales) to roughly 20% of iPhone owners will
                                                   upgrade to a new iPhone in 2019 and 2020.

                                                   While we anticipate product introductions could generate stronger sales in one
                                                   year versus another, we believe Apple’s growing share of the high-end
                                                   smartphone market positions the company with a strong, loyal customer base that
                                                   could enable Apple to maintain the high levels of annual iPhone sales despite the
                                                   higher ASPs for the iPhone XS and XS Max. While we believe some investors will
                                                   point to management’s decision to stop disclosing iPhone, iPad, and Mac unit
                                                   sales as evidence iPhone unit sales have peaked and the weak Q1/F’19 sales
                                                   certainly support this view, we maintain our belief iPhone unit sales will fluctuate
                                                   around 200M units annually based on the loyal installed base.

                                                   We believe Apple has a very loyal consumer base and anticipate steadily rising
                                                   iPhone sales over time even with consumers waiting longer to upgrade iPhones.
                                                   With Apple’s ability to still generate over 175M iPhone sales per year with ASPs
                                                   around $800, we believe this will still drive a strong earnings base for Apple to
                                                   monetize with additional hardware and services sales to its loyal ecosystem of
                                                   customers. With a mature smartphone market, we believe Apple has locked up
                                                   strong share of the premium tier market and will continue to dominate high-end
                                                   smartphones sales and capture the vast majority of smartphone profits for the
                                                   next several years. While the smartphone market is slowing to low single digits
                                                   annual growth, Apple’s dominant profits of the world’s largest consumer
                                                   electronics market is likely to continue. This combined with strong cash returns
                                                   and a growing share of higher margin businesses in Services and Other Products
                                                   lead us to reiterate our BUY rating. Based on our lowered EPS estimates, we
                                                   have lowered our target price from $225 to $190.




Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                               Connectivity Technologies 2

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                                                                                                                                                Exhibit 9                       Apple
                                                                                                                                                              Lowering Target Price




                                                   Figure 1: iPhone installed base, net adds, replacement sales and replacement rates by region
                                                                                       2013       2014            2015        2016       2017        2018 E       2019 E       2020 E
                                                   iPhone Sell-in unit estimates
                                                   iPhone Units (sell-in)             153.5       192.7           231.5       215.4      215.8        203.4        179.6        193.5
                                                   iPhone sell-through estimates by region (millions)
                                                   North America                       50.9       65.9            71.7        72.1       73.3         75.2         65.1         70.0
                                                   Latin America                        6.1        7.2             6.8         7.2        7.5          7.1          6.2          6.7
                                                   Europe                              31.0       35.5            38.3        41.0       45.8         41.8         34.2         36.8
                                                   Greater China                       25.6       50.1            72.4        54.2       47.9         43.9         42.1         45.4
                                                   Japan                               12.0       14.8            14.4        14.9       15.0         15.7         13.0         14.0
                                                   Rest of Asia Pacific                20.9       10.0            16.0        16.0       16.4         13.9         12.6         13.6
                                                   Middle East & Africa                 4.3        5.2             6.2         8.3        9.1          9.4          7.2          7.8
                                                   Total iPhone sell-through          150.8       188.6           225.9       213.7      214.9        207.0        180.3        194.2



                                                   iPhone Channel inventory change          2.7        4.1         4.8        0.8        -2.8         2.2          -0.3         -0.3
                                                   Total iPhone channel inventory          15.3        19.4        24.2       25.0       22.2         24.4         24.1         23.8

                                                                                           2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                   iPhone installed base estimates (millions)
                                                   North America                           92.2          114.4       131.5       142.0      152.0        164.1        174.0        180.1
                                                   Latin America                             9.8          13.9        18.4        21.2       24.2         27.1         29.1         31.3
                                                   Europe                                  78.9           96.3       113.6       123.9      132.5        141.8        147.5        153.4
                                                   Greater China                           68.8           96.3       134.8       159.1      181.4        204.9        219.3        234.6
                                                   Japan                                   21.8           27.4        32.2        34.6       36.7         38.5         40.2         42.1
                                                   Rest of Asia Pacific                    27.7           38.8        53.8        65.6       75.7         87.1         95.8        104.4
                                                   Middle East & Africa                    10.1           15.0        21.4        27.7       32.7         37.6         41.4         45.5
                                                   Total                               309.3          402.1       505.7       574.1      635.1        701.2        747.2        791.3

                                                   iPhone installed base Y/Y growth
                                                   North America                              33%         24%        15%          8%         7%           8%          6%           4%
                                                   Latin America                              70%         42%        32%         16%        14%          12%          8%           8%
                                                   Europe                                     42%         22%        18%          9%         7%           7%          4%           4%
                                                   Greater China                             100%         40%        40%         18%        14%          13%          7%           7%
                                                   Japan                                      57%         26%        17%          8%         6%           5%          5%           5%
                                                   Rest of Asia Pacific                       39%         40%        39%         22%        15%          15%         10%           9%
                                                   Middle East & Africa                       85%         48%        43%         29%        18%          15%         10%          10%
                                                   YoY % change                            51%         30%        26%         14%        11%          10%          7%           6%

                                                                                           2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                            iPhone net adds & replacement sales estimates (in millions):
                                                   North America - net adds                         22.9      22.2      17.2      10.5         9.9         12.2          9.8          6.1
                                                   North America - annual replacement sales         28.0      43.7      53.2      57.9        55.4         45.6         44.3         47.0
                                                   Latin America - net adds                          4.0       4.1       4.4       2.8         3.0          2.9          2.0          2.2
                                                   Latin America -annual replacement sales           2.0       3.0       4.0       4.9         4.5          4.8          5.4          5.8
                                                   Europe - net adds                                23.4      17.4      17.3      10.2         8.7          9.3          5.7          5.9
                                                   Europe - annual replacement sales                 7.6      18.1      22.2      25.0        26.0         25.2         28.4         29.5
                                                   Japan - net adds                                  7.9       5.7       4.8       2.4         2.1          1.8          1.7          1.8
                                                   Japan - annual replacement sales                  4.1       9.1       9.6      11.3        10.4          9.9          9.6          8.0
                                                   Asia Pacific - net adds                          42.1      38.6      53.5      36.1        32.4         34.9         23.1         24.0
                                                   Asia Pacific - annual replacement sales           4.4      24.3      36.5      43.4        56.2         48.8         49.6         56.7
                                                   Middle East & Africa - net adds                   4.7       4.9       6.4       6.3         5.0          4.9          3.8          4.1
                                                   Middle East & Africa - annual replacement s      -0.3       0.3       0.8       1.1         1.5          1.3          1.9          2.1
                                                   Total iPhone Net adds                       104.9      92.8     103.6      68.4        61.0         66.0         46.1         44.1
                                                   Total iPhone annual replacement             45.9      98.6      126.2     143.4       153.9        135.7        139.2        149.1
                                                   Total iPhone annual unit sell-thro 150.8              191.4     229.8     211.9       214.9        201.7        185.3        193.2
                                                   Change in inventory                          2.7       1.3       1.7       3.5         0.8          1.7          -5.7         0.3
                                                   Total iPhone unit sales                     153.5     192.7     231.5     215.4       215.8        203.4        179.6        193.5

                                                                                           2013       2014        2015        2016       2017        2018 E       2019 E       2020 E
                                                   Replacement rate (%)
                                                   North America                               40%         47%        47%         44%        39%          30%          27%          27%
                                                   Latin America                               35%         31%        29%         27%        21%          20%          20%          20%
                                                   Europe                                      14%         23%        23%         22%        21%          19%          20%          20%
                                                   Japan                                       30%         42%        35%         35%        30%          27%          25%          20%
                                                   Asia Pacific                                 8%         25%        27%         23%        25%          19%          17%          18%
                                                   Middle East & Africa                        -6%          3%         6%          5%         5%           4%           5%           5%
                                                   Global iPhone replacement rate            22.4%      31.9%       31.4%      28.4%      26.8%        21.4%        19.9%        20.0%
                                                   Source: Company reports, Canaccord Genuity estimates




Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                                                  Connectivity Technologies 3

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                                                                                                                                                                                                                                                                                              Apple
                                                                                                                                                                                                                                                                            Lowering Target Price




             Figure 2: Apple income statement

                                                                                                                                                 Apple Inc. - AAPL
                                                                                                                                        Consolidated Income Statement
                                                                                                                                   (in millions, except per share information)

                  Period                                 Q1-18 A      Q2-18 A     Q3-18 A     Q4-18 A   Q1-19 E    Q2-19 E   Q3-19 E   Q4-19 E   Q1-20 E    Q2-20 E               Q3-20 E     Q4-20 E   Q1-21 E      FY-18 A     FY-19 E      FY-20 E           CY-18 E    CY-19 E    CY-20 E
                  Date                                  12/31/2017   3/31/2018   6/30/2018   9/30/2018 12/31/2018 3/31/2019 6/30/2019 9/30/2019 12/31/2019 3/31/2020             6/30/2020   9/30/2020 12/31/2020   9/30/2018   9/30/2019    9/30/2020         12/31/2018 12/31/2019 12/31/2020
              Notes to Income Statement
               Net Sales                                   88,293      61,137      53,265      62,900      84,023     57,236     52,394      59,498      87,332      62,142        56,516      61,256     89,663      265,595     253,150       267,245           261,325     256,459      269,576
                  Cost of Sales                            54,381      37,715      32,844      38,816      52,094     35,376     31,951      36,250      53,447      38,242        34,461      37,340     54,817      163,756     155,671       163,490           161,469     157,025      164,859
               Gross Profit                                33,912      23,422      20,421      24,084      31,929     21,860     20,443      23,248      33,884      23,899        22,056      23,916     34,846      101,839      97,479       103,755            99,855      99,434      104,717
                  Research & Development                    3,407       3,378       3,701       3,750       3,900      3,978      4,058       4,139       4,221       4,348         4,435       4,524      4,614       14,236      16,074        17,529            14,729      16,396       17,921
                  Selling, General and Administrative       4,231       4,150       4,108       4,216       4,806      4,278      4,278       4,406       4,758       4,378         4,728       5,106      5,515       16,705      17,767        18,970            17,280      17,719       19,726
                  Operating Expenses                        7,638       7,528       7,809       7,966       8,706      8,256      8,335       8,545       8,980       8,726         9,163       9,630     10,129       30,941      33,841        36,499            32,009      34,115       37,648
               Operating Income                            26,274      15,894      12,612      16,118      23,222     13,604     12,108      14,703      24,904      15,174        12,893      14,286     24,717       70,898      63,638        67,257            67,846      65,319       67,070
                  Other income and expense                    756         274         672         303         550        550        550         550         550         550           550         550        550        2,005       2,200         2,200             1,799       2,200        2,200
               Pre-tax Income                              27,030      16,168      13,284      16,421      23,772     14,154     12,658      15,253      25,454      15,724        13,443      14,836     25,267       72,903      65,838        69,457            68,423      67,519       69,270
                  Provision for income taxes                6,965       2,346       1,765       2,296       3,922      2,123      1,899       2,288       3,818       2,359         2,016       2,225      3,790       13,372      10,232        10,419            10,329      10,128       10,390
               Net Income                                  20,065      13,822      11,519      14,125      19,850     12,031     10,759      12,965      21,636      13,365        11,426      12,611     21,477       59,531      55,605        59,038            59,316      57,391       58,879
               GAAP EPS                                      3.89        2.73        2.34        2.91        4.16       2.56       2.33        2.85        4.81        3.01          2.60        2.90       5.00        11.87       11.90         13.31             12.14       12.55        13.50

                  Basic                                     5,113        5,025       4,882      4,802       4,727      4,652       4,577      4,502       4,452       4,402         4,352       4,302      4,252        4,955       4,614         4,377             4,859        4,545       4,327
                  Fully Diluted Shares                      5,158        5,068       4,927      4,848       4,773      4,698       4,623      4,548       4,498       4,448         4,398       4,348      4,298        5,000       4,660         4,423             4,904        4,591       4,373

              Costs as % Revenue:
                  Cost of Sales                              61.6         61.7        61.7       61.7        62.0       61.8        61.0       60.9         61.2       61.5           61.0       61.0       61.1         61.7         61.5          61.2             61.8         61.2         61.2
                  Gross Profit                               38.4         38.3        38.3       38.3        38.0       38.2        39.0       39.1         38.8       38.5           39.0       39.0       38.9         38.3         38.5          38.8             38.2         38.8         38.8
                  Research & Development                      3.9          5.5         6.9        6.0         4.6        7.0         7.7        7.0          4.8        7.0            7.8        7.4        5.1          5.4          6.3           6.6              5.6          6.4          6.6
                  Selling, General and Administrative         4.8          6.8         7.7        6.7         5.7        7.5         8.2        7.4          5.4        7.0            8.4        8.3        6.2          6.3          7.0           7.1              6.6          6.9          7.3
                  Pro-forma operating margin                 29.8         26.0        23.7       25.6        27.6       23.8        23.1       24.7         28.5       24.4           22.8       23.3       27.6         26.7         25.1          25.2             26.0         25.5         24.9
                  Provision for income taxes                  7.9          3.8         3.3        3.7         4.7        3.7         3.6        3.8          4.4        3.8            3.6        3.6        4.2          5.0          4.0           3.9              4.0          3.9          3.9
                  Tax Rate                                   25.8         14.5        13.3       14.0        16.5       15.0        15.0       15.0         15.0       15.0           15.0       15.0       15.0         18.3         15.5          15.0             15.1         15.0         15.0
                  Net Income                                 22.7         22.6        21.6       22.5        23.6       21.0        20.5       21.8         24.8       21.5           20.2       20.6       24.0         22.4         22.0          22.1             22.7         22.4         21.8
              Quarter/Quarter % change:
                  Sales                                     67.9%       -30.8%      -12.9%      18.1%       33.6%     -31.9%       -8.5%      13.6%        46.8%     -28.8%          -9.1%       8.4%      46.4%
                  Operating Income                          94.2%       -40.2%      -17.8%      23.6%       44.8%     -40.5%      -10.6%      20.5%        66.9%     -38.2%         -14.5%      10.4%      70.3%
              Year/Year % change:
                  Sales                                     12.7%        15.6%       17.3%      19.6%       -4.8%      -6.4%       -1.6%       -5.4%        3.9%       8.6%           7.9%        3.0%       2.7%       15.9%        -4.7%          5.6%             9.3%        -1.9%         5.1%
                  Pro-forma Operating Income                12.5%        12.7%       17.1%      22.9%      -11.6%     -14.4%       -4.0%       -8.8%        7.2%      11.5%           6.5%       -2.8%      -0.8%       15.6%       -10.2%          5.7%             5.6%        -3.7%         2.7%
                  Pro-forma Net Income                      12.2%        25.3%       32.1%      31.8%       -1.1%     -13.0%       -6.6%       -8.2%        9.0%      11.1%           6.2%       -2.7%      -0.7%       23.1%        -6.6%          6.2%            17.4%        -3.2%         2.6%


              For important information, please visit Canaccord Genuity's Online Disclosure Database: https://canaccordgenuity.bluematrix.com/sellside/Disclosures.action                                                                                     T. Michael Walkley
                                                                                                                                                                                                                                                              Canaccord Genuity
                                                                                                                                                                                                                                                              612.332.8069
              Source: Company reports and Canaccord Genuity estimates                                                                                                                                                                                         Updated:         January 2, 2019

             Source: Company reports, Canaccord Genuity estimates. A more detailed financial model, including balance sheet, income statement, and cash flow projections, if available, may be obtained by contacting your Canaccord Genuity Sales Person or the Authoring Analyst, whose contact
             information appears on the front page of this report.
                                                                                                                                                                                                                                                                                                                  Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 548 of 607

                                                                                                                                                                                                                                                                                                      Exhibit 9




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           Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                                                                                                                                                      Connectivity Technologies 4
                                                                                                                                                                                                                                                                                                                                                         Apple
                                                                                                                                                                                                                                                                                                                                   Lowering Target Price




             Figure 3: Apple sales by product category
                                                                                      Apple Quarterly Sales by Product Category                                                                                                                                                        Annual Sales By Product
                                                                                                   (in million USD)                                                                                                                                                                       (in million USD)
                                                                             FY2018 A                                                        FY2019 E                                 FY2020 E                                                         FY2021E        FY18A         FY19E         FY20E         CY18E          CY19E        CY20E
                                                       12/31/2017     3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019       9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020      9/30/2018     9/30/2019     9/30/2020     12/31/2018 12/31/2019 12/31/2020
                                                       Q1-18 A        Q2-18 A         Q3-18 A         Q4-18 E         Q1-19 E         Q2-19 E         Q3-19 E         Q4-19 E         Q1-20 E         Q2-20 E         Q3-20 E         Q4-20 E         Q1-21 E         FY18A         FY19E         FY20E         CY18E         CY19E         CY20E
               iPhone Units                               77.32          52.22           41.30           46.89           63.00           37.80           33.45           40.14           68.24           44.36           38.59           42.84           67.68            217.72        174.40        194.03        203.41        179.64       193.47
               iPhone ASP (adjusting for deferral)           $803           $728            $718            $790            $837            $795            $772            $756            $771            $733            $711            $697            $780           $746          $777          $714          $754          $753        $717
                iPhone ASP reported                          $796           $728            $724            $793            $835            $803            $782            $761            $766            $734            $715            $698            $774           $766          $801         $734 #         $775          $776        $736
                  Current Quarter iPhone Revenue          $60,504        $36,954         $28,825         $36,102         $51,493         $29,313         $25,144         $29,553         $51,272         $31,616         $26,658         $28,981         $51,448       $162,386      $135,503      $138,528       $153,375      $135,282    $138,703
                  Prior Period iPhone Deferred Revenu      $1,072         $1,078          $1,081          $1,083          $1,086          $1,048          $1,016            $997            $980            $958            $938            $931            $921          $4,313        $4,146        $3,807        $4,327        $4,040      $3,748
               Total iPhone Reported Revenue              $61,576        $38,032         $29,906         $37,185         $52,579         $30,361         $26,159         $30,550         $52,253         $32,574         $27,596         $29,912         $52,369       $166,699      $139,649      $142,335       $157,702      $139,323    $142,451
                  Q/Q Growth                              113%           -38%            -21%            24%             41%             -42%            -14%            17%             71%             -38%            -15%             8%             75%
                  Y/Y Growth                              13%            14%             20%             29%             -15%            -20%            -13%            -18%            -1%              7%              5%              -2%             0%                  18%         -16%            2%            6%          -12%            2%
                  %age of Apple Revenue                   70%            62%             56%             59%             63%             53%             50%             51%             60%             52%             49%             49%             58%                  63%           55%           53%           60%         54%          53%


               iPad Units                                    13.17             9.11         11.55              9.70         13.09              8.77            9.04            9.40         14.10              9.44            9.73            9.73         14.59          43.54         40.30         43.00         43.46         41.30        43.49
               iPad ASP                                      $445           $451            $410            $422            $434            $413            $413            $413            $413            $392            $392            $392            $392        $431.95       $421.08       $398.25        $427.65       $413.29     $391.24
                  Current Quarter iPad Revenue             $5,599         $3,931          $4,510          $3,895          $5,424          $3,444          $3,547          $3,689          $5,533          $3,512          $3,618          $3,618          $5,427        $17,934       $16,103       $16,281        $17,760       $16,212     $16,174
                  Prior Period iPad Deferred Revenue         $223           $216            $213            $217            $218            $218            $218            $212            $210            $212            $213            $208            $208           $870          $866          $842          $864          $858        $841
               Total iPad Reported Revenue                 $5,862         $4,113          $4,741          $4,089          $5,642          $3,662          $3,765          $3,901          $5,743          $3,724          $3,830          $3,826          $5,635        $18,805       $16,969       $17,123        $18,585       $17,070     $17,015
                  Q/Q Growth                              21%            -30%            15%             -14%            38%             -35%             3%              4%             47%             -35%             3%              0%             47%
                  Y/Y Growth                               6%             6%              -5%            -15%            -4%             -11%            -21%             -5%             2%              2%              2%              -2%            -2%                  -2%         -10%            1%            -5%          -8%            0%
                  %age of Apple Revenue                    7%             7%              9%              7%              7%              6%              7%              7%              7%              6%              7%              6%              6%                  7%            7%            6%            7%             7%           6%

               Mac Units                                  5.11           4.08            3.72            5.30            5.30            4.56            4.33            5.20            5.25            4.41            4.19            5.02            5.07              18.21         19.38         18.87         18.40         19.33        18.69
               Mac ASP                                     $1,349         $1,434          $1,433          $1,399          $1,357          $1,357          $1,316          $1,408          $1,366          $1,400          $1,358          $1,453          $1,409          $1,371        $1,361        $1,395        $1,406        $1,362      $1,405
                  Current Quarter Mac Revenue           $6,690.52         $5,685          $5,181          $7,411          $7,189          $6,182          $5,697          $7,315          $7,166          $6,171          $5,686          $7,301          $7,153        $24,968       $26,383       $26,324        $25,466       $26,360     $26,311
                  Prior Period Mac Deferred Revenue          $158           $194            $194            $192            $191            $191            $191            $190            $188            $188            $189            $189            $189           $738          $762          $754          $771          $759        $755
               Total Mac Reported Revenue                  $6,895         $5,848          $5,330          $7,411          $7,380          $6,373          $5,888          $7,504          $7,355          $6,359          $5,875          $7,490          $7,342        $25,484       $27,145       $27,079        $25,969       $27,120     $27,066
                  Q/Q Growth                              -4%            -15%             -9%            39%              0%             -14%             -8%            27%             -2%             -14%             -8%            27%             -2%
                  Y/Y Growth                              -5%             0%              -5%             3%              7%              9%             10%              1%              0%              0%              0%              0%              0%                  -1%           7%            0%            2%             4%           0%
                  %age of Apple Revenue                    8%            10%             10%             12%              9%             11%             11%             13%              8%             10%             10%             12%              8%                  10%           11%           10%           10%         11%          10%

               iPod Revenue                                     $42              $5              $5              $4              $3              $2              $0              $0              $0              $0              $0              $0              $0           $56           $5            $0            $17            $2           $0

               Apple watch units                          8.00           5.50            5.64            5.70            12.00           9.00            9.27            9.64            16.39           11.47           11.82           12.29           20.89             24.84         39.91         51.97         28.84         44.30        56.47
               Apple watch ASPs                              $444           $435            $427            $450            $461            $438            $405            $405            $415            $395            $365            $365            $374           $419          $410          $368          $427          $396        $354
                  Current Quarter Watch Revenue            $3,391         $2,282          $2,293          $2,451          $5,295          $3,764          $3,572          $3,715          $6,481          $4,299          $4,078          $4,241          $7,400        $10,416       $16,345       $19,098        $12,321       $17,532     $20,017
                  Prior Period Watch Deferred Revenu            $61            $69             $79             $89             $99          $118            $133            $148            $162            $183            $198            $213            $230           $298          $498          $756          $335          $561        $626
               Total Watch Reported Revenue                $3,452         $2,351          $2,371          $2,540          $5,394          $3,882          $3,705          $3,863          $6,643          $4,481          $4,276          $4,454          $7,630        $10,714       $16,843       $19,854        $12,656       $18,093     $20,841
                  Q/Q Growth                              111%           -32%             1%              7%             112%            -28%             -5%             4%             72%             -33%             -5%             4%             71%
                  Y/Y Growth                              77%            76%             86%             55%             56%             65%             56%             52%             23%             15%             15%             15%             15%                  73%           57%           18%           64%         43%          15%
                  %age of Apple Revenue                    4%             4%              4%              4%              6%              7%              7%              6%              8%              7%              8%              7%              9%                  4%            7%            7%            5%             7%           8%

               Accessories                                 $1,995         $1,597          $1,364          $1,690          $2,195          $1,693          $1,446          $1,791          $2,261          $1,795          $1,533          $1,899          $2,329          $6,647        $7,125        $7,487        $6,846        $7,191      $7,555

               Total Other Products                        $5,489         $3,954          $3,740          $4,234          $7,592          $5,577          $5,151          $5,654          $8,904          $6,276          $5,808          $6,353          $9,958        $17,417       $23,974       $27,341        $19,520       $25,286     $28,396

               Services                                    $8,471         $9,190          $9,548          $9,981         $10,829         $11,263         $11,431         $11,889         $13,078         $13,208         $13,407         $13,675         $14,358        $37,190       $45,412       $53,367        $39,548       $47,660     $54,648

               Deferred Revenue                            $1,519         $1,562          $1,571          $1,584          $1,598          $1,577          $1,557          $1,546          $1,540          $1,541          $1,538          $1,542          $1,548          $6,237        $6,278        $6,160        $6,315        $6,221      $6,168

               Total Apple Revenue                        $88,293        $61,137         $53,265         $62,900         $84,023         $57,236         $52,394         $59,498         $87,332         $62,142         $56,516         $61,256         $89,663       $265,595      $253,150      $267,245       $261,325      $256,459    $269,576
                                                                                                                                                                                                                                                                                                                                                                       Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 549 of 607

                                                                                                                                                                                                                                                                                                                                                           Exhibit 9




             Source: Company reports, Canaccord Genuity estimates




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           Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                                                                                                                                                                                                               Connectivity Technologies 5
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                                                                                                                  Exhibit 9                Apple
                                                                                                                            Lowering Target Price



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  Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                  Connectivity Technologies 6

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                                                                                                                                                                        Exhibit 9                    Apple
                                                                                                                                                                                      Lowering Target Price


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 Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                                                                             Connectivity Technologies 7

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                                                                                                              Exhibit 9               Apple
                                                                                                                       Lowering Target Price


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 Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                              Connectivity Technologies 8

                                                                                                                 Page 551
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                                                                                                                  Exhibit 9               Apple
                                                                                                                           Lowering Target Price


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 Buy unchanged Target Price US$190.00 from US$225.00 | 2 January 2019                                                  Connectivity Technologies 9

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                                                                                                                                                 Exhibit 9
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                                               Additional disclosure for securities traded on EU regulated markets

                                               This disclosure is made for: Apple.
                                               The basis of valuation or methodology used is: PE multiple.
                                               The underlying assumptions used are: the stock will trade on a 12.5x FY20 PE, at the midpoint of
                                               the historical range on a relative basis.
                                               The following is a sensitivity analysis of the above assumptions: If we use a 10x then our price
                                               target goes to $140. If we use a 15x PE then our price target goes to $210.


Figure 1:           Revised P&L

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Source: Atlantic Equities




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                                        Rating and Price Target History for: Apple (AAPL US) as of 0 1 - 0 2 - 2 0 1 9
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                                                                                                                         Exhibit 9
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                                                                                                              Exhibit 9
                                                                                                                 3 January 2019
                                                                                                          Americas/United States
                                                                                                               Equity Research
                                                                                                             Casinos & Gaming




                                               Macau Gaming
                         Research Analysts
                                               WEEKLY ANALYSIS
                         Cameron McKnight
                              212 325 6608
          cameron.mcknight@credit-suisse.com   AAPL Guidance Cut Could Bring License
                         Ben Combes, CFA
                              212 538 2383     Renewal Risk Into Sharper Focus
               ben.combes@credit-suisse.com
                              Sarah Murray     We remain neutral on Macau and Large Cap Gaming, with a theme of
                              212 325 2282     “Overcast, With Rain Possible”. We see a positive long term secular story
              sarah.murray@credit-suisse.com   balanced by near-term caution, and macro, policy and geopolitical risks. While
                                               stocks are trading at or near trough multiples, they’ve typically bottomed on
                                               trough estimates too – and we see limited visibility of revenue cadence. With
                                               our forward indicators pointing to a deceleration of revenue growth in the next
                                               12 months, we’re forecasting flat revenues in 2019 and 2020. Our detailed
                                               Macau slide deck is in our recent initiation deck.
                                               ■ What’s New? (1) AAPL news could weigh on Macau stocks, (2) December
                                                 Macau revenues ahead of consensus, (3) WYNN extends Macau debt to
                                                 2022, (4) Leading indicators drop, with PMIs below 50, and (5) Chinese
                                                 consumer confidence drops.
                                               ■ AAPL Warns of China Slowdown: Shares in AAPL fell sharply in the
                                                 aftermarket, following a cut to sales guidance, citing China weakness as
                                                 the main cause. CEO Tim Cook cited pressure on China retail sales from
                                                 escalating trade tensions and slowing Chinese GDP growth.
                                               ■ China State Press Singled out AAPL in August: We note that China’s
                                                 state press, in the People’s Daily, specifically singled out AAPL last
                                                 Summer. In an August 7 op-ed, titled “Strong Sales of US Brands Including
                                                 Apple give China Bargaining Chips in Trade Row”, the paper noted “the
                                                 Chinese market is vital for many top US brands, giving Beijing more leeway
                                                 to play hardball in the trade conflict.”
                                               ■ AAPL News Could Weigh on Macau Stocks. In our view, AAPL’s news
                                                 could bring Macau license renewal risk into sharper focus. While this risk is
                                                 already front-and-center in investor discussions and is a clear overhang,
                                                 tangible signs of risk (e.g. AAPL) could weigh on stocks. In November, TIF
                                                 warned that slower sales growth was due to weakening Chinese tourism –
                                                 following this news, shares in WYNN and LVS fell 4.3% and 1.2% (versus
                                                 SPX -0.2%), respectively.
                                               ■ December Revenues Beat: Macau gaming revenues were released this
                                                 week, up 17% y/y, vs consensus estimates of 10%, despite an unfavorable
                                                 calendar. Our colleague Kenneth Fong cites the opening of the Hong
                                                 Kong-Zhuhai-Macau Bridge (HZMB) as a driver of increased Mass gaming
                                                 revenue. 4Q18 revenue growth of +9% y/y should bode well for upcoming
                                                 4Q prints.




                                             ■ Visitor Arrivals Rise: Visitor arrivals to Macau were up 15%, aided by the
DISCLOSURE APPENDIX AT THE BACK OF THIS REPORT CONTAINS IMPORTANT DISCLOSURES, ANALYST
CERTIFICATIONS, LEGAL ENTITY DISCLOSURE AND THE STATUS OF NON-US ANALYSTS. US Disclosure: Credit
Suisse does and seeks to do business with companies covered in its research reports. As a result, investors should be aware
that the Firm may have a conflict of interest that could affect the objectivity of this report. Investors should consider this report
as only a single factor in making their investment decision.


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                                                                                      Exhibit 9
                                                                                                3 January 2019
                                opening of the HZMB. Visitors from Mainland China also grew 15%, while
                                those from Hong Kong grew 26%. Over the years, we’ve tended to focus
                                more on revenue reads than visitation, given the significant volatility in
                                spend per visitor.
                             ■ WYNN Extends Debt Maturities to Concession Deadline: Wynn Macau
                               announced that it has pushed back the maturity date of two of its debt
                               issues, with payments beginning in September 2020, and the final amount
                               payable in June 2022, requiring repayment before concessions expire. On
                               the other hand, Sands China recently issued debt with a maturity past the
                               concession date, with a covenant requiring repayment at par if the license
                               is restructured or not renewed.
                             ■ Official PMI Falls Below 50: China’s official PMI was released this week,
                               coming in at 49.4. A read below 50 indicates contraction, and this is the
                               first sub-50 read since July 2016. Domestic demand has further weakened,
                               with new orders at 49.7, down from 50.4. The official PMI coincides with
                               Macau gaming revenues with a strong statistical relationship seen in recent
                               years, as seen in figure 16.
                             ■ Leading Indicator – Caixin PMI: The Caixin PMI is also below 50 for
                               December, at 49.7, its first sub-50 read since May 2017. The Caixin PMI
                               leads Macau Revenues by 4 months, with strong statistical significance.
                               See figures 13 and 14 in the body of the note for further detail.
                             ■ Chinese Consumer Confidence Falls: Chinese consumer confidence fell
                               in December, following an uptick in November, according to a survey we
                               track. In particular, the survey found that softness in the housing market
                               and consumers’ views on the economy led the survey to fall to its second
                               lowest reading since 2017.
                             ■ Macau News: (1) Revised smoking laws in effect as of January 1, and (2)
                               A record 35mm visitors came to Macau in 2018.
                             ■ Macro News: (1) China issues CNY4T of bonds in November, (2) Electric
                               power consumption rose 6.3% y/y, continuing steady growth, and (3) PBoC
                               announces a targeted medium-term lending facility to increase the credit
                               accessibility of SMEs.
                             ■ Continued … The remainder of the note contains our dashboards, forward
                               data revisions and license renewal impact analysis.




Macau Gaming                                                                                               2


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                                                                                                                                                                                        Exhibit 9
                                                                                                                                                                                                              3 January 2019




                                                               Our Leading Indicators – Macau Gaming
                                                               For full background and analysis, please see our recent initiation slide deck, Welcome to
                                                               the Show: Initiating Coverage of Gaming, and our initiation reports on LVS, WYNN and
                                                               MGM.

                                                               1. China Credit Growth
Figure 1: Credit Indicator I: Leads Macau by 12                                                               Figure 2: Credit Indicator II: Leads Macau by 15
Months                                                                                                        Months
 China Credit Indicator I vs Macau Gaming Revenues (12M lag) (monthly, y/y)                                    China Credit Indicator II vs Macau Gaming Revenues (15M lag) (monthly, y/y)

   30%                                      Macau                                            Latest   30%       12%                         China Credit                                                               30%
                                            revenues with                                    Macau                                          Indicator II
                                            12 month lag                                     revs     20%
   20%           China Credit Indicator I                                                                                                                                                                              15%
                                                                                                      10%        6%                                                                                    Macau
                                                                                                                                                                                                       revenues with
   10%                                                                                                0%                                                                                               15 month lag    0%
                                                                                                                 0%
    0%                                                                                                -10%
                                                                                                                                                                                                                       -15%
                                                                                                                                                                                    Latest credit
                                                                                                      -20%
                                                                                                                -6%                                                                 data
  -10%                                                                                Latest credit                                                                                                                    -30%
                                                            R2 = 78%                  data            -30%                                                                 R2 = 58%
  -20%                                                                                                -40%     -12%                                                                                                    -45%
         2014                 2015              2016                 2017               2018                          2013                     2014                     2016                        2017


Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse                                                 Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse



Figure 3: Credit Indicator I: Suggests Macau Growth                                                           Figure 4: Credit Indicator II: Suggests Macau
Could Decelerate                                                                                              Growth Could Decelerate
 China Credit Indicator I vs Macau Gaming Revenues (12M lag) (monthly, y/y)                                    China Credit Indicator II vs Macau Gaming Revenues (15M lag) (monthly, y/y)
                                                                                                                12%                                                                                                    25%
  30%                                                                                                  30%
                         Recent gaming revenue growth has                                                                                                                        Material deceleration in credit       20%
                         been slightly stronger than credit                                            20%                                                                       over past 2 years
  20%                    data (alone) implies                                                                    6%                                                                                                    15%
                                                                                                       10%                                                                                                             10%
  10%                                                                                                                                                                                                                  5%
                                                                                                       0%        0%
               China Credit Indicator I
                                                                                                                                                                                                                       0%
                                                                                                       -10%                     Recent gaming growth has been
   0%                                                                                                                                                                                                                  -5%
                                                                                                                -6%             stronger than credit data (alone)
                                                       Red line = extrapolation of regression, and     -20%                     implies                                                                                -10%
 -10%                                                  potential deceleration in Macau gaming
                                                                                                                                                                                                                       -15%
                                                       revenue growth over next 12 months              -30%                                  Potential deceleration in Macau gaming
                                                                                                               -12%                          revenue growth over next 12-15 months                                     -20%
 -20%                                                                                                  -40%           Jan-16          Jul-16          Jan-17            Jul-17         Jan-18              Jul-18
        2014                 2015               2016                 2017                2018


Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse                                                 Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse



Figure 5: Credit Indicator I: High Statistical                                                                Figure 6: Credit Indicator II: High Statistical
Significance                                                                                                  Significance
 China Credit Indicator I vs Macau Gaming Revenues (12M lag) (monthly, y/y)                                    China Credit Indicator II vs Macau Gaming Revenues (15M lag) (monthly, y/y)

                                                              30%                                                                                                       20%



                                                              20%


                                                              10%
                                                                                                                                                                         0%
                                                                                                                -40%           -30%           -20%            -10%            0%             10%             20%        30%
                                                              0%
   -40%            -30%             -20%        -10%                0%         10%              20%   30%

                                                            -10%                           R2 = 78%
                                                                                                                                                                                             R² = 58%
                                                                                                                                                                       -20%
                                                            -20%


Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse                                                 Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse




Macau Gaming                                                                                                                                                                                                                  3




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                                                        2. China House Prices
Figure 7: China House Prices Lead Macau by 8                                                         Figure 8: China House Prices Could Suggest
Months                                                                                               Decelerating Growth
 China -- House Prices (% yr/yr)                                                                      China House Prices vs Macau Gaming Revenues (8M lag) (monthly, y/y)
                                               Nov 2016: 11% y/y
    12%                                        growth                                                    12%                                                                                                     25%
                                                                                                                    China House Prices
    10%                                                                                                                                                                                                          20%
                                                                                                         10%
     8%                                                                                                                                                                                                          15%
     6%                                                                                                     8%                                                                                                   10%
     4%
                                                                                                                                                                                                                 5%
     2%                                                                                                     6%                                   Macau Gaming
                                                                                                                                                 Revenues                                                        0%
     0%
                                                                                                            4%                                                                                                   -5%
    -2%                                                                          Most recent house
                                                                                 price growth has                                                       Potential deceleration in Macau gaming                   -10%
    -4%                                                                                                     2%              R2 = 88%                    revenue growth over next few months
                                                                                 ticked up                                                                                                                       -15%
    -6%                       April 2015: -6% y/y
                              growth                                                                        0%                                                                                                   -20%
    -8%
                                                                                                              Jan-16           Jul-16          Jan-17           Jul-17          Jan-18           Jul-18
          2011                     2013                 2015                2017


Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse                                        Source: Thomson Reuters, Bloomberg, Macau DICJ, Credit Suisse




                                                        3. China Electricity Consumption and Production
                                                                                                     Figure 10: Electricity consumption leads by 3
Figure 9: Electricity consumption and production                                                     months
                                                                                                      China Electricity Consumption vs Macau Gaming Revenues (3M lag) (monthly, y/y)
   Electricity consumption and production are well followed Chinese
    macro indicators                                                                                  16%                           Macau gaming revenue             Electricity consumption growth has           60%
                                                                                                                                    growth (lagged 3 months)         decelerated in last few months
      – Electricity consumption has been cited as one of the most                                     12%                                                                                                         40%
        reliable indicators of the Chinese economy1, with rail cargo
                                                                                                                                                               Electricity consumption
        volumes and credit growth                                                                      8%                                                                                                         20%

   Production has led Macau by 3 months since 2011, with high
                                                                                                       4%                                                                                                         0%
    significance (83% R2)
      – Consumption also leads by 3 months, but with lower statistical                                 0%                                                                                                         -20%
        significance                                                                                                   R2 = 82%
                                                                                                      -4%                                                                                                         -40%
   Electricity production growth has decelerated in the past few months                                    2011        2012            2013      2014            2015         2016         2017          2018


Source: Company data, Credit Suisse estimates. Note: (1) Source: Reuters, “China’s GDP is            Source: Thomson Reuters, Bloomberg Macau DICJ, Credit Suisse
unreliable: top leader”, 12.06.2010, retrieved 06.12.2018




                                                                                                     Figure 12: Electricity Consumption Leads by 3
Figure 11: Statistically Significant Relationship                                                    Months
 China Electricity Consumption vs Macau Gaming Revenues (3M lag) (monthly, y/y)                        China Electricity Consumption vs Macau Gaming Revenues (3M lag) (monthly, y/y)
                                                                                                      16%                                                                                                         90%
                   60%                                                                                                     Electricity                       Macau gaming revenue growth
                                                                                                      12%                  consumption                       (lagged 3 months)                                    60%
                   40%

                   20%                                                                                 8%                                                                                                         30%

                  0%                                                                                   4%                                                                                                         0%
  -4%        -2%     0%              2%        4%       6%         8%      10%       12%       14%
                -20%                                                                                   0%                                                                                                         -30%

                  -40%                                                  R² = 82%                                        R2 = 61%
                                                                                                       -4%                                                                                                        -60%
                                                                                                             2011       2012            2013       2014           2015         2016         2017          2018
                  -60%

Source: Company data, Credit Suisse estimates                                                        Source: Company data, Credit Suisse estimates




Macau Gaming                                                                                                                                                                                                             4




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                                                              4. China PMI
Figure 13: Caixin China PMI Leads Macau by 4                                                                        Figure 14: Caixin China PMI is Statistically
Months                                                                                                              Significant
 Caixin China PMI vs Macau Gaming Revenues (4M lag) (monthly, y/y)                                                   Caixin China PMI vs Macau Gaming Revenues (4M lag)

   53                                                                                                      40%          40%
                   Caixin China PMI
   52
   51                                                                                                      20%
                                                                                                                        20%
   50
   49
                                                                                                           0%
   48                                         China PMI has tapered off in the last few months                             0%
                                                                                                                                48       48       49        49          50      50         51       51        52         52          53
   47
   46                                                                                                      -20%
                                                                                                                       -20%
                            Macau gaming revenue growth (lagged 4                       R2 = 55%
   45
                            months)                                                                                                                                                                                 R² = 55%
   44                                                                                                      -40%
     Jun-15      Dec-15          Jun-16        Dec-16       Jun-17        Dec-17        Jun-18       Dec-18            -40%


Source: Company data, Credit Suisse estimates                                                                       Source: Company data, Credit Suisse estimates



                                                                                                                    Figure 16: Long Term Coincident Relationship
Figure 15: China PMI                                                                                                Between Macau and Official PMI
                                                                                                                     China Official PMI vs Macau Gaming Revenues (no lag) (monthly, y/y)
   China PMI is a widely followed indicator and broad measure of Chinese
    economic activity (Caixin PMI and official China PMI)                                                             60                                                             66% R2 since late 2015 (end of            120%
                                                                                                                                                          Macau gaming revenue       2014-15 slowdown and worst of
   Both PMIs have been relatively constant over the last few months                                                  58                                  growth (no lag)            Anti-Corruption campaign)                 90%

                                                                                                                      56
   Caixin PMI has led Macau by 4 months since mid-2015, with good                                                                                                                                                             60%
    significance (67% R2)                                                                                             54
                                                                                                                                                                                                                               30%
   Official China PMI has a coincident relationship since 2009                                                       52
                                                                                                                                                                                                                               0%
        – Good statistical significance since late 2015 (67% R2)                                                      50

           Late 2015 marked the trough of the 2014-2015 Macau                                                        48        Official PMI                                                                                   -30%

            recession and the peak of the Chinese government’s anti-                                                  46                                                                                                       -60%
            corruption campaign                                                                                         2010                   2012                  2014                  2016                 2018



Source: Company data, Credit Suisse estimates                                                                       Source: Company data, Credit Suisse estimates



                                                              5. Luxury Goods
Figure 17: Richemont Leads Macau Gaming                                                                             Figure 18: Swiss Watch Exports Coincident with
Revenues                                                                                                            Macau Revenues
 Richemont stock (CFR.S) vs Macau Gaming Revenues (3M lag) (monthly, y/y)                                            Swiss watch exports vs Macau Gaming Revenues (No lag) (monthly, y/y)

 160.0%                                                                                                    120.0%      60%                        Macau significantly underperformed during Anti-
                                          Macau gaming revenue       Some divergence during Anti-
                                          growth (3 month lag)       Corruption Campaign and                                                      Corruption Campaign and 2014/15 Macau                  50% R2 since
 120.0%                                                              2014/15 Macau recession                                                      recession                                                 2016
                                                                                                           80.0%       40%                                                                                                     70%
  80.0%

                                                                                                           40.0%       20%
  40.0%
                                                                                                                                                                                                                               30%

   0.0%                                                                                                                  0%
                                                                                                           0.0%

 -40.0%                                                                                                                                                                                                                        -10%
                                                                                                           -40.0%      -20%
 -80.0%                 Richemont stock (y/y)                                           R2 = 26%
-120.0%                                                                                                    -80.0%      -40%                                                                                                    -50%
       2008               2010               2012              2014              2016               2018                   2008                2010              2012             2014              2016                2018



Source: Company data, Credit Suisse estimates                                                                       Source: Company data, Credit Suisse estimates




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                                                             China Macro Dashboard
Figure 19: China Credit Growth Peaked 14 Months
Ago                                                                                                          Figure 20: Growth of Credit Growth Now Down 6%
 China -- Total Social Financing (CNY, trillions)                                                             China -- Total Social Financing (% yr/yr)
                                                                 Recent Peak: Oct 2017
  25                                                                                                             60%
            Prior Peak: April 2013
                                                                                                                                                                                July 2017: 25% y/y
                                                                                                                         April 2013: 55% y/y                                    growth
  20                                                                                                             40%
                                                                                                                         growth

  15                                                                                                             20%


  10                                                                                                              0%


   5                                                                                                            -20%                      June 2015: -17%
                                                                                                                                           y/y growth                                                 Novt 2018: -6% y/y
                                                                                                                                                                                                      growth
   0                                                                                                            -40%
    2010                     2012                     2014               2016                    2018                  2011                        2013                       2015                     2017


Source: Thomson Reuters, Peoples Bank of China, Credit Suisse                                                Source: Thomson Reuters, Peoples Bank of China, Credit Suisse



Figure 21: China House Price Growth Has Ticked Up                                                            Figure 22: China Electricity Consumption
 China -- House Prices (% yr/yr)                                                                              China -- Electricity Consumption (% yr/yr)
                                                    Nov 2016: 13% y/y
    15%                                             growth                                                       12%
                                                                                                                                                             Mar 2014: 7% y/y growth

    10%                                                                                                                                                                                              Oct 2018: 6% y/y growth
                                                                                                                  8%

       5%
                                                                                                                  4%
       0%
                                                                                         Most recent house
                                                                                         price growth has         0%
    -5%
                                                                                         ticked up                                             Jan 2016: -2% y/y growth
                                April 2015: -6% y/y
                                growth
   -10%                                                                                                          -4%
            2011                     2013                    2015                    2017                              2013                                 2015                            2017


Source: Thomson Reuters, National Bureau of Statistics China, Credit Suisse                                  Source: Thomson Reuters, National Energy Administration, Credit Suisse




Figure 23: Caixin PMI Has Drifted Down in the Last                                                           Figure 24: Official China PMI is Down From Recent
Few Months                                                                                                   Highs
 China -- Caixin PMI                                                                                          China -- Official PMI
                       Dec 2016: 51.9                                           Aug 2017: 51.6
   53                                                                                                           58
                                                                                                                                                                                       Sep 2017: 52.4
   52
                                                                                                                56
   51
                                                                                                                54
   50

   49                                                                                                           52

   48                                                                              Dec 2018: 49.7
                                                                                                                50
   47
                                                                                                                48
   46                                                                                                                                                                                                Dec 2018: 49.4
                                                                                                                                                             Feb 2016: 49.0
                                                                                                                46
   45

   44                                                                                                           44
        2015                             2016                       2017                            2018          2010         2011         2012           2013     2014        2015      2016         2017      2018


Source: Company data, Credit Suisse estimates                                                                Source: Company data, Credit Suisse estimates




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Figure 25: China Export Growth Has Remained                                      Figure 26: Shanghai Composite Index is Down 28%
Reasonably Steady                                                                yr/yr
 China -- Exports (% yr/yr)                                                       China -- Shanghai Composite Index (% yr/yr)

    50%
                                                                                   150%
    40%

    30%                                                                            100%
                                                                                                                                                Market currently
    20%                                                                                                                                         down 28% yr/yr

    10%                                                                             50%

     0%

   -10%                                                                              0%
                                                               Tracking at ~5%
   -20%                                                        y/y
                                                                                   -50%
   -30%                                                                                   2011                   2013           2015     2017                      2019
          2011                2013             2015     2017


Source: Thomson Reuters, China Customs, Credit Suisse                            Source: Thomson Reuters, Credit Suisse




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                                                 Macau Industry Dashboard -- Growth
Figure 27: Gross Gaming Revenues - Growth                                          Figure 28: Visitor Arrivals
 Macau Monthly Reported Revenue Growth Y/Y (%)                                       Macau Visitor Arrival Growth (%)

  40%
                                                                                       25%
  30%                                                                                  20%

                                                                                       15%
  20%
                                                                                       10%
  10%
                                                                                         5%
   0%                                                                                    0%

                                                                                        -5%
 -10%
                                                                                       -10%
 -20%                                                                                     Jan-16               Jul-16              Jan-17              Jul-17               Jan-18                Jul-18
     Mar-16            Sep-16       Mar-17       Sep-17     Mar-18     Sep-18


Source: Macau DICJ, Credit Suisse estimates                                        Source: Macau DSEC, Credit Suisse estimates



Figure 29: Mass Market Revenues - Growth                                           Figure 30: VIP Revenues - Growth
  Mass Market Table Growth (%)                                                       Macau VIP Market Table Growth (%)
    50%                                                                                 60%

    40%
                                                                                        40%

    30%
                                                                                        20%
    20%
                                                                                            0%
    10%

                                                                                       -20%
      0%

    -10%                                                                               -40%
           Jan-16          Jul-16     Jan-17       Jul-17     Jan-18      Jul-18                 Jan-16           Jul-16                 Jan-17             Jul-17                Jan-18                 Jul-18


Source: Macau DICJ, Credit Suisse estimates                                        Source: Macau DICJ, Credit Suisse estimates



Figure 31: Focus on sequential and year-year                                       Figure 32: Market is experiencing trend revenue
growth                                                                             growth
   We track monthly revenues on a seasonally adjusted basis                         Macau Monthly Reported Revenues vs Seasonally Adjusted Expectations (US$bn)
                                                                                        3
     – Good indicator of trend, sequential growth or decline; and good
       momentum indicator
        Year/year results can be misleading and have caused investors                2.5
         to miss inflections in the past
     – ‘Forecast’ upcoming month applying regular seasonality relative to
       the most recently reported months                                                2

        Ahead of this = “trend growth”, below = “trend decline”                                                                                         Gray line above blue line indicates market in trend
                                                                                                                                                         growth
   Current trends are quite strong – and have been sustained for a while
                                                                                      1.5
     – Market averaged 2% mth/mth growth for past 17 months                                 Jan-16           Jul-16             Jan-17             Jul-17              Jan-18               Jul-18


Source: Credit Suisse estimates                                                    Source: Macau DICJ, Credit Suisse estimates




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                                                  Macau Industry Dashboard – Levels
Figure 33: Gross Gaming Revenues                                                                  Figure 34: Visitor Arrivals
  Macau Monthly Reported Revenues (US$bn)                                                           Macau Visitor Arrivals (mm)

  31                                                                                                2.6

  26                                                                                                2.4

  21                                                                                                2.2

  16                                                                                                  2

                                                                                                    1.8
  11
                                                                                                    1.6
   6
                                                                                                    1.4
   1                                                                                                      Jan-16          Jul-16       Jan-17      Jul-17       Jan-18         Jul-18
       Jan-16       Jul-16         Jan-17       Jul-17        Jan-18            Jul-18

Source: Macau DICJ, Credit Suisse estimates                                                       Source: Macau DSEC, Credit Suisse estimates



Figure 35: Mass Market Revenues                                                                   Figure 36: VIP Market Revenues
  Mass Market Table Revenue (MOP$bn)                                                                Macau VIP Market Table Revenue (MOP$bn)
  12                                                                                                18

  11                                                                                                16

  10                                                                                                14

   9                                                                                                12

   8                                                                                                10

   7                                                                                                 8

   6                                                                                                 6
       Jan-16         Jul-16           Jan-17        Jul-17            Jan-18            Jul-18          Jan-16            Jul-16         Jan-17       Jul-17        Jan-18             Jul-18


Source: Macau DICJ, Credit Suisse estimates. Note: includes slots. Based on DICJ reported         Source: Macau DICJ, Credit Suisse estimates. Based on DICJ reported splits, which differs
splits, which differs from company-reported data                                                  from company-reported data




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                                               Our Forecasts
Figure 37: Our Market Revenue Estimates
                                            2014                 2015                 2016                2017                2018E                2019E           2020E
 US$mm
  VIP Turnover                               886,210              452,852              393,436             495,773
    Hold %                                     2.94%                3.16%                3.22%               3.18%
  VIP                                         26,049               14,305               12,671              15,741                17,126                 16,040       15,370
  Mass                                        15,381               12,246               13,292              15,127                17,626                 18,507       19,433
  Slots                                        1,979                1,600                1,597               1,832                 2,100                  2,289        2,404
 Gross Gaming Revenue                         43,408               28,151               27,560              32,700                36,852                 36,836       37,207

 Growth y/y
  VIP                                          -12.0%               -45.1%               -11.4%               24.2%                 8.8%                  -6.3%         -4.2%
  Mass                                          17.9%               -20.4%                 8.5%               13.8%                16.5%                   5.0%          5.0%
  Slots                                          3.1%               -19.2%                -0.1%               14.7%                14.6%                   9.0%          5.0%
 Gross Gaming Revenue                           -2.6%               -35.1%                -2.1%               18.7%                12.7%                   0.0%          1.0%

 Consensus Growth
  VIP                                                                                                                              14.0%                  8.0%
  Mass                                                                                                                             14.8%                  9.8%
  Slots
 Gross Gaming Revenue                                                                                                              14.0%                  8.8%


Source: Company data, Macau DICJ, Credit Suisse estimates. Note: VIP and Mass splits based on company reported revenues, not Macau DICJ classification



Figure 38: Our 1H 2019E Market Revenue Forecasts
 1H 2019 Fcts                                   Act                  Est                   Est                  Est                  Est                   Est            Est
                                           Dec-18                Jan-19               Feb-19               Mar-19                Apr-19              May-19            Jun-19

 GGR (MOPmm)                              26,468                24,947               26,730               25,950                25,471               26,254           22,490

 Growth
   1-year                                   16.6%                 -5.0%               10.0%                   0.0%                -1.0%                   3.0%          0.0%
   2-year                                   31.2%                31.4%                15.7%                 22.2%                26.6%                   15.1%         12.5%
   3-year                                   39.2%                34.5%                33.5%                 40.3%                42.9%                   38.8%         38.4%

 Revenue vs Trend
   Seas Adjusted                          26,262                                     26,486               26,060                24,612               26,882           22,930
   Actual                                 26,468                                     25,839               25,950                25,471               26,254           22,490
   Trend Growth                               0.8%                                     -2.4%                -0.4%                  3.5%                  -2.3%         -1.9%


Source: Company data, Macau DICJ, Credit Suisse estimates




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                                                    Macau Gaming Licenses
Figure 39: Potential Macau License Value for LVS, WYNN and MGM

   Quantifying Potential Cost of License Renewals
   We estimate potential license payments at only 1-5% of equity value, probability weighted

     Limited financial overhang from license renewal                                                           Potential license values and per-share value
      Assuming the current Macau gaming concessions are opened for public                                       Potential License Value (FV) (US$bn)               Potential PV of License Value (Per
       bidding, we conservatively estimate 2022 license values1:                                                10                                                  Share) at 25% Probability (% of eq val)

         – LVS: $5.1bn                                                                                                                                            $12
                                                                                                                                                                                             $9.60
                                                                                                                    8                                                                        (5%)
         – WYNN: $8.0bn
                                                                                                                    6                                               $8
         – MGM: $4.0bn
      In our view, the potential license-related payment or liability for operators is                             4
       relatively limited. We estimate the 2018, probability-adjusted license                                                                                       $4
       values2:                                                                                                     2                                                         $0.70                        $0.70
                                                                                                                                                                              (1%)                         (2%)
         – LVS: $0.70 / share (1% of equity value)                                                              -                                                   $0
         – WYNN: $9.60 / share (5% of equity value)                                                                          LVS        WYNN           MGM                     LVS          WYNN           MGM
         – MGM: $0.70 (2% of equity value)                                                                     Source: Company Data, Credit Suisse Estimates

      Government comments in mid-2017 suggested that Macau licenses would                                     Estimating potential license payments
       be opened up for public bidding or a tender – in this scenario, operators
       could face a “jump ball” in renewing their concessions in 2020-22                                                                                             LVS               WYNN                 MGM
      Our estimates are detailed in the table on the right                                                    2018 Unlevered FCF                                  2,382               1,627               1,053
         – Valued the cash flows from each concession, less the real estate a new                              2023 Unlevered FCF                                  3,093               2,113               1,305
           bidder would have to assume3                                                                        2023-2042 Growth                                       2%                   2%                 2%
                                                                                                               Discount Rate                                         15%                 15%                 15%
         – Valued real estate at a mix of historical cost and replacement value                                PV of 2023-42 Cash Flow                           21,634               14,777               9,128
         – Assumed 2% growth in unlevered free cash flow over a 20-year                                        less Real Estate Value                           (16,500)               (6,750)             (5,300)
           license period from 2023 to 2042                                                                    Excess Value (FV)                                   5,134               8,027               3,828
                                                                                                               Discount Factor                                       1.5                  1.5                 1.5
         – Discounted cash flows back at 15% -- the rate a potential outside
                                                                                                               Excess Value (PV)                                   3,506               5,483               2,614
           bidder might use, given historical revenue volatility, and geopolitical,
                                                                                                               Probability                                           25%                 25%                 25%
           regulatory, and general emerging markets risk
                                                                                                               Prob Weighted PV/Share                              $0.68               $9.56               $0.68

                                                                                                               Source: Company Data, Credit Suisse Estimates

                        Note: (1) Estimated future (2022) value. Gross value at the asset level, not adjusted for minorities or probability weighted. (2) Estimated 2018 value, adjusted for minorities,
                        probability weighted and discounted back at 10%; (3) Assumes complete sale/exit and that trailing gaming revenue-based rent would not be permitted

Source: Company data, Credit Suisse estimates




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Companies Mentioned (Price as of 02-Jan-2019)
Apple Inc (AAPL.OQ, $157.92)
Las Vegas Sands Corp. (LVS.N, $54.16)
Sands China (1928.HK, HK$32.8)
Wynn Macau (1128.HK, HK$16.16)
Wynn Resorts Ltd (WYNN.OQ, $104.4)



                                                                  Disclosure Appendix
Analyst Certification
I, Cameron McKnight, certify that (1) the views expressed in this report accurately reflect my personal views about all of the subject companies and
securities and (2) no part of my compensation was, is or will be directly or indirectly related to the specific recommendations or views expressed in
this report.
As of December 10, 2012 Analysts’ stock rating are defined as follows:
Outperform (O) : The stock’s total return is expected to outperform the relevant benchmark* over the next 12 months.
Neutral (N) : The stock’s total return is expected to be in line with the relevant benchmark* over the next 12 months.
Underperform (U) : The stock’s total return is expected to underperform the relevant benchmark* over the next 12 months.
 *Relevant benchmark by region: As of 10th December 2012, Japanese ratings are based on a stock’s total return relative to the analyst's coverage universe which
consists of all companies covered by the analyst within the relevant sector, with Outperforms representing the most attractive, Neutrals the less attractive, and
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                                                                                           TECHNOLOGY RESEARCH/IT HARDWARE
Apple Inc.                                                                                                            January 3, 2019
(Nasdaq: AAPL)                                                                                     Shebly Seyrafi, CFA/212-618-2185
                                                                                                           sseyrafi@fbnsecurities.com
Outperform| Target: $190

 Company Statistics
                                                                   AAPL: Large Deceleration in Sales to China, but Large
                                                                   Stock Decline Creates Value – Lowering PT to $190
  Price                                             $    142.83

  Ticker Symbol                                           AAPL     x   Lowering PT to $190 as slowing China weighs on shares. We retain our
  Market                                                 Nasdaq        Outperform rating on AAPL but lower our PT from $240 to $190 as the company
                                                                       preannounced negative results for the first time in over 15 years to reflect multiple
  52 wk High                                            $233.47
                                                                       factors, the most significant of which is slower sales from Greater China (where sales of
  52 wk Low                                             $150.24        iPhones, Mac, and iPad accounted for more than 100% of the $4.26B Y/Y revenue
  Market Cap. ($M)                                  $   678,118        decline (but China services hit a record). Last night, the company preannounced FQ1
                                                                       2019 (Dec. 2018) revenue of ~$84B, which represents a Y/Y revenue decline of 5% an d
  Enterprise Value ($M)                             $   555,501
                                                                       is over 8% below consensus of $91.5B. Revenue ex-iPhone grew by a strong 19% Y/Y
  Earnings Per Share                                                   helped by services revenue of $10.8B (+28% Y/Y) and almost 50% Y/Y growth in
  FYE - Sep.         2018A                2019E          2020E
  1Q - Dec..    $     3.89 $                4.18    $      4.63        wearables (such as Apple Watch and AirPods). This implies that iPhone revenue was
  2Q - Mar.     $      2.73 $               2.71    $      3.07        ~$52.3B, down 15% Y/Y (vs. up 29% Y/Y in FQ4) and 17% ($10.5B) below our prior
  3Q - Jun.     $     2.34 $               2.34     $      2.68
  4Q - Sep.     $      2.91 $               2.78    $      3.15        $62.8B estimate. We are lowering our F2019 iPhone unit estimate by 14% from
  Year           $   11.87 $              12.01     $    13.54         223.3M (+3% Y/Y) to 191.2M (-12% Y/Y). We are lowering our F2020 FCF estimate
  Y/Y%                  29%                   1%            13%
                                                                       from $80.6B to $71.6B, but in light of the much lower share price today ($143, down
  Before:         $         11.87    $     13.54    $     15.12
                                                                       36% from $222 on Nov. 2, the time of the its last earnings report), investors are
  P/E                        12.0x          11.9x          10.6x
                                                                       actually getting a much higher estimated FCF yield (10.6% vs. 7.5% on estimated
  Revenue ($M)                                                         F2020 FCF). However, risks to the F2019 outlook have increased.
  FYE - Sep.        2018A                 2019E         2020E
  1Q - Dec..   $   88,293            $   84,038     $   87,564
  2Q - Mar.    $    61,137           $   58,896     $   62,178     x   Stated factors that came in line with expectations. The following stated factors,
  3Q - Jun.    $   53,265            $   53,143     $   56,192
  4Q - Sep.    $   62,900            $   59,933     $   63,013         which contributed to weaker revenue growth, played out roughly in line with
  Year         $ 265,595             $ 256,010      $ 268,948          expectations:
  Y/Y%                 16%                   -4%            5%
  Before:         $       265,595    $   275,286    $   287,239
                                                                        x   Timing of latest iPhones. Unlike last year, when AAPL released its iPhone X
                                                                            in FQ1, this year the company shipped its top models (iPhone Xs and Xs Max) in
                                                                            FQ4, thus robbing some FQ1 business of iPhone sales and therefore creating a
                                                                            more difficult Y/Y comparison.
 VALUATION METHODOLOGY
                                                                        x   Strong US dollar. The strong US dollar created a revenue headwind of ~200bp
 We arrive at our price target using a
 discounted cash flow (DCF) methodology.                                    Y/Y.
                                                                        x   Supply constraints. The company had an unprecedented number of new
 RISKS
                                                                            products launch in FQ1, including the Apple Watch Series 4 and the iPad Pro,
 Investment    risks    include   increased                                 which were constrained during much or all of the quarter. AirPods and MacBook
 competition       from       Android-based                                 Air were also constrained.
 smartphones and tablets and weaker
 consumer spending.                         x                          Stated factors that came in below expectations.
                                                                        x    Economic weakness in emerging markets. AAPL noted that emerging
                                                                             market economic weakness turned out to have a significantly greater impact than
                                                                             expected. This is in line with recent macro reports. For example, the Caixin
                                                                             China General Manufacturing PMI hit 49.7 (below 50 indicates a decline) in Dec.
                                                                             2018, down from 50.2 in November and below market consensus of 50.1. Greater
                                                                             China accounted for over most of the revenue shortfall relative to the company’s
                                                                             guidance.
                                                                   x   Unstated reasons for the miss. In addition to the factors noted above, we believe
                                                                       that the following factors also played a role in the miss:
                                                                        x    Share loss in China. China has been losing share in China to Huawei Oppo,
                                                                             Vivo, and Xiaomi (all private).
                                                                        x    Nationalism in China. We believe that Chinese consumers may be getting
                                                                             irritated by recent trade battles initiated by the Trump administration and are
                                                                             deciding to buy from local manufacturers.
                                                                        x    High-priced iPhones mismatch vs. consumer purchasing power in
                                                                             emerging markets. AAPL’s iPhone ASP, which hit $790 last quarter, are
                                                                             priced too high for many consumers in emerging markets.

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Figure 1: AAPL Income Statement
AAPL Incom e Statem ent ($M)            Q1 17        Q2 17       Q3 17      Q4 17       2017A     Q1 18        Q2 18       Q3 18      Q4 18A      2018A     Q1 19E       Q2 19E     Q3 19E     Q4 19E      2019E         2020E         2021E
GAAP Model                              Dec-16       Mar-17      Jun-17     Sep-17                Dec-17       Mar-18      Jun-18     Sep-18                Dec-18       Mar-19     Jun-19     Sep-19
                                        14-w eek
iPhone Revenue                            54,378      33,249      24,846     28,846     141,319       61,576    38,032      29,906     37,185     166,699       52,259     32,850    26,792     31,448     143,349       144,783       146,230
Y/Y%                                         5%          1%          3%         2%          3%          13%       14%         20%        29%         18%         -15%       -14%      -10%       -15%        -14%            1%            1%
   iPhone Units (M )                        78,290    50,763      41,026     46,677     216,756       77,316    52,217      41,300     46,889     217,722       66,150     45,000    37,000     43,000     191,150       193,062       194,992
   Y/Y%                                         5%       -1%          2%         3%         2%          -1%         3%          1%         0%         0%         -14%       -14%      -10%        -8%        -12%            1%            1%
   Q/Q%                                        73%      -35%        -19%        14%                     66%       -32%        -21%        14%                     41%        -32%      -18%       16%
   Consensus iPhone Units (M)               77,400    52,270      40,700     46,360                             52,400                 47,500
   % above/below consensus                    1.1%     -2.9%        0.8%       0.7%                              -0.3%                  -1.3%
   iPhone ASP                           $     695 $     655 $       606 $      618 $   652        $     796 $     728 $       724 $      793 $   766        $     790 $   730 $   724 $   731 $   750                $      750    $      750
   Y/Y%                                        1%        2%          2%        -1%      1%              15%       11%         20%        28%     17%              -1%      0%      0%     -8%     -2%                        0%            0%
   Q/Q%                                       12%       -6%         -8%         2%                      29%        -9%         -1%       10%                       0%     -8%     -1%       1%
iPad                                         5,533     3,889       4,969      4,831  19,222            5,862     4,113       4,741      4,089  18,805            5,460   3,751   4,660   3,834  17,705                    16,331        15,433
Y/Y%                                         -22%      -12%          2%        14%     -7%                6%        6%         -5%      -15%      -2%             -7%     -9%     -2%     -6%     -6%                       -8%           -5%
Mac                                          7,244     5,844       5,592      7,170  25,850            6,895     5,848       5,330      7,411  25,484            7,952   5,552   5,110   7,282  25,895                    25,635        25,378
Y/Y%                                           7%       14%          7%        25%     13%               -5%        0%         -5%        3%      -1%             15%     -5%     -4%      -2%     2%                       -1%           -1%
Services (w ith Apple Pay)                   7,172     7,041       7,266      8,501  29,980            8,471     9,190       9,548      9,981  37,190           10,801  11,579  12,030  12,476  46,887                    58,123        70,891
Y/Y%                                          18%       18%         22%        34%     23%              18%       31%         31%        17%     24%              28%     26%     26%     25%     26%                       24%           22%
Goal: double from $24B in F16 by F20
Wearables/Hom e/Accessories                  4,024     2,873       2,735      3,231      12,863        5,489     3,954       3,740      4,234      17,417        7,567      5,163     4,550      4,893      22,174        24,077        24,986
Y/Y%                                          -8%       31%         23%        36%         16%          36%       38%         37%        31%         35%          38%        31%       22%        16%         27%            9%            4%
Total Revenue                               78,351    52,896      45,408     52,579     229,234       88,293    61,137      53,265     62,900     265,595       84,038     58,896    53,143     59,933     256,010       268,948       282,918
Y/Y%                                           3%        5%          7%        12%          6%          13%       16%         17%        20%         16%          -5%        -4%        0%        -5%         -4%            5%            5%
Y/Y% adjusted for extra w eek                                                                           21%
Y/Y% - CC
Q/Q%                                          67%       -32%        -14%       16%                      68%       -31%        -13%       18%                      34%       -30%      -10%        13%
Low-end of revenue guidance                 76,000    51,500      43,500     49,000                   84,000    60,000      51,500     60,000                   89,000
High-end of revenue guidance                78,000    53,500      45,500     52,000                   87,000    62,000      53,500     62,000                   93,000
% off low-end of revenue guidance              3%         3%          4%        7%                       5%         2%          3%        5%                      -6%
% between low-end and high-end               118%        70%        95%       119%                     143%       57%         88%       145%                    -124%
Consensus revenue                           77,380    53,060      44,890     50,790     227,410       87,500    61,190      52,300     61,550     264,030       91,490                                     277,910       289,250
% above/below consensus                      1.3%      -0.3%       1.2%       3.5%                     0.9%      -0.1%       1.8%       2.2%        0.6%         -8.1%                                       -7.9%         -7.0%
Total Cost of Sales                         48,175    32,305      27,920     32,648     141,048       54,381    37,715      32,844     38,816     163,756       52,013     35,673    31,975     36,382     156,044       161,326       167,011
Gross Margin $                              30,176    20,591      17,488     19,931      88,186       33,912    23,422      20,421     24,084     101,839       32,024     23,222    21,168     23,551      99,966       107,622       115,907
Y/Y%                                           -1%        3%          9%        12%          5%          12%       14%         17%       21%          15%          -6%        -1%        4%        -2%         -2%            8%            8%
Gross Margin %                               38.5%     38.9%       38.5%      37.9%       38.5%        38.4%     38.3%       38.3%      38.3%       38.3%        38.1%      39.4%     39.8%      39.3%       39.0%         40.0%         41.0%
Y/Y pp change in GM%                         -1.6%     -0.5%        0.5%      -0.1%       -0.6%        -0.1%     -0.6%       -0.2%       0.4%       -0.1%        -0.3%       1.1%      1.5%       1.0%        0.7%          1.0%          1.0%
Q/Q pp change in GM%                          0.5%      0.4%       -0.4%      -0.6%                     0.5%     -0.1%        0.0%       0.0%                    -0.2%       1.3%      0.4%      -0.5%
Low-End of Gross Margin Guidance            38.0%     38.0%       37.5%      37.5%                    38.0%     38.0%       38.0%      38.0%                    38.0%
High-End of Gross Margin Guidance           38.5%     39.0%       38.5%      38.0%                    38.5%     38.5%       38.5%      38.5%                    38.5%
pp above/below high-end of Guidance           0.0%    -0.1%         0.0%     -0.1%                    -0.1%     -0.2%       -0.2%      -0.2%                    -0.4%
Consensus GM%                               38.4%     38.7%       38.3%      38.0%                    38.3%     38.5%       38.3%      38.3%                    38.5%
pp above/below consensus NG GM%              0.1%      0.2%        0.2%      -0.1%                     0.1%     -0.2%        0.0%       0.0%                    -0.4%
Memo: iPhone % of Rev.                      69.4%     62.9%       54.7%      54.9%       61.6%        69.7%     62.2%       56.1%      59.1%       62.8%        62.2%      55.8%      50.4%      52.5%      56.0%         53.8%         51.7%
Memo: Services % Rev.                        9.2%     13.3%       16.0%      16.2%       13.1%         9.6%     15.0%       17.9%      15.9%       14.0%        12.9%      19.7%      22.6%      20.8%      18.3%         21.6%         25.1%
Research and development $                   2,871     2,776       2,937      2,997      11,581        3,407     3,378       3,701      3,750      14,236        4,054      3,952     4,219      4,256      16,482        18,044        19,488
Y/Y%                                          19%       11%         15%        17%         15%          19%       22%         26%        25%         23%          19%        17%       14%        14%         16%            9%            8%
Q/Q%                                          12%       -3%          6%         2%                      14%       -1%         10%         1%                       8%        -3%        7%         1%
Research and development %                   3.7%      5.2%        6.5%       5.7%        5.1%         3.9%      5.5%        6.9%       6.0%        5.4%         4.8%       6.7%      7.9%       7.1%        6.4%          6.7%          6.9%
Selling, general and administrative $        3,946     3,718       3,783      3,814      15,261        4,231     4,150       4,108      4,216      16,705        4,654      4,544     4,437      4,553      18,188        19,461        20,824
Y/Y%                                           3%        9%         10%        10%          8%           7%       12%          9%        11%          9%          10%        10%        8%         8%          9%            7%            7%
Q/Q%                                          13%       -6%          2%         1%                      11%       -2%         -1%         3%                      10%        -2%       -2%         3%
Selling, general and administrative %        5.0%      7.0%        8.3%       7.3%        6.7%         4.8%      6.8%        7.7%       6.7%        6.3%         5.5%       7.7%      8.3%       7.6%        7.1%          7.2%          7.4%
Total Operating Expenses                     6,817     6,494       6,720      6,811      26,842        7,638     7,528        7,809      7,966     30,941       8,708       8,497     8,656      8,810      34,670        37,506        40,312
Y/Y%                                            9%        9%         12%        13%        11%           12%       16%         16%        17%        15%          14%        13%        11%        11%        12%            8%            7%
Q/Q%                                           13%       -5%          3%         1%                      12%       -1%          4%         2%                      9%        -2%         2%         2%
Opex %                                        8.7%     12.3%       14.8%      13.0%       11.7%         8.7%     12.3%       14.7%      12.7%       11.6%       10.4%      14.4%      16.3%      14.7%      13.5%         13.9%         14.2%
Y/Ypp change in Opex%                         0.5%      0.5%        0.6%       0.0%        0.5%         0.0%      0.0%       -0.1%      -0.3%       -0.1%        1.7%       2.1%       1.6%       2.0%       1.9%          0.4%          0.3%
Low-end of opex guidance                     6,900     6,500       6,600      6,700                    7,650     7,600       7,700      7,950                   8,700
High-end of opex guidance                    7,000     6,600       6,700      6,800                    7,750     7,700       7,800      8,050                   8,800
Operating Incom e                           23,359    14,097      10,768     13,120      61,344       26,274    15,894      12,612     16,118      70,898       23,316     14,726    12,512     14,741      65,296        70,116        75,595
Y/Y%                                           -3%        1%          7%        12%         2%           12%       13%         17%        23%        16%          -11%        -7%       -1%        -9%        -8%            7%            8%
Q/Q%                                           99%      -40%        -24%        22%                    100%       -40%        -21%        28%                      45%       -37%      -15%        18%
Operating Margin %                           29.8%     26.7%       23.7%      25.0%       26.8%        29.8%     26.0%       23.7%      25.6%       26.7%        27.7%      25.0%     23.5%      24.6%      25.5%         26.1%         26.7%
Y/Ypp change in Oper. Margin %               -2.0%     -1.0%       -0.1%      -0.1%       -1.1%        -0.1%     -0.7%        0.0%       0.7%       -0.1%        -2.0%      -1.0%     -0.1%      -1.0%      -1.2%          0.6%          0.6%
Other income (expense)                         821       587         540        797       2,745          756       274         672        303       2,005          550       550        550        550       2,200         2,200         2,200
Pretax income                               24,180    14,684      11,308     13,917      64,089       27,030    16,168      13,284     16,421      72,903       23,866     15,276    13,062     15,291      67,496        72,316        77,795
Pretax Margin %                             30.9%     27.8%       24.9%      26.5%       28.0%        30.6%     26.4%       24.9%      26.1%       27.4%        28.4%      25.9%     24.6%      25.5%       26.4%         26.9%         27.5%


Income tax                                   6,289      3,655       2,591      3,203     15,738        6,965      2,346       1,765      2,296     13,372        3,938      2,521      2,155      2,523     11,137        11,932        12,836
Tax rate                                    26.0%      24.9%       22.9%      23.0%      24.6%        25.8%      14.5%       13.3%      14.0%      18.3%        16.5%      16.5%      16.5%      16.5%      16.5%         16.5%         16.5%
Net Incom e                                 17,891    11,029        8,717    10,714      48,351       20,065    13,822      11,519     14,125      59,531       19,928     12,755    10,907     12,768      56,359        60,384        64,959
Net income % rev.                           22.8%     20.9%        19.2%     20.4%       21.1%        22.7%     22.6%       21.6%      22.5%       22.4%        23.7%      21.7%     20.5%      21.3%       22.0%         22.5%         23.0%

WA # Shares - FD (M)                         5,328     5,262       5,233      5,184       5,252        5,158     5,068       4,927      4,848       5,000        4,770      4,712     4,654      4,596       4,683         4,451         4,219
Y/Y%                                          -5%       -5%         -4%        -4%         -5%          -3%       -4%         -6%        -6%         -5%          -8%        -7%       -6%        -5%         -6%           -5%           -5%
Q/Q%                                          -1%       -1%         -1%        -1%                       0%       -2%         -3%        -2%                         0          0         0          0
EPS                                     $    3.36 $     2.10 $      1.67 $     2.07 $     9.19    $    3.89 $     2.73 $      2.34 $     2.91 $    11.87    $     4.18 $    2.71 $    2.34 $      2.78 $    12.01    $    13.54    $    15.36
Y/Y%                                           2%        10%         17%       24%        11%          16%         30%         40%       41%        29%             7%       -1%        0%         -5%         1%          13%           14%
Q/Q%                                         101%       -38%        -21%        24%                    88%        -30%        -14%       25%                       43%      -35%      -13%        19%
Consensus EPS                           $    3.22 $     2.02 $      1.57 $     1.87 $     9.00    $    3.85 $     2.69 $      2.16 $     2.78 $    11.48    $     4.65                                 $    13.29    $    14.64
Cents above/below consensus             $    0.14 $     0.08 $      0.10 $     0.20 $     0.19    $    0.04 $     0.04 $      0.18 $     0.13 $     0.39    $    (0.47)                                $    (1.28)   $    (1.10)


Source: Company reports and FBN Securities estimates




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                                                                                                                                                                                                    Exhibit 9

Figure 2: AAPL Revenue Segmentation
AAPL Revenue Segmentation                Q1 17      Q2 17         Q3 17      Q4 17       2017A      Q1 18        Q2 18       Q3 18     Q4 18A       2018A      Q1 19E       Q2 19E      Q3 19E     Q4 19E      2019E          2020E         2021E
($M)                                     Dec-16     Mar-17        Jun-17     Sep-17                 Dec-17       Mar-18      Jun-18    Sep-18                  Dec-18       Mar-19      Jun-19     Sep-19
Revenues ($ m illions)
iPhone                                  $ 54,378   $ 33,249   $ 24,846      $ 28,846   $ 141,319   $ 61,576     $ 38,032   $ 29,906    $ 37,185   $ 166,699   $ 52,259     $ 32,850    $ 26,792   $ 31,448    $ 143,349   $ 144,783     $ 146,230
iPad                                    $ 5,533    $ 3,889    $ 4,969       $ 4,831    $ 19,222    $ 5,862      $ 4,113    $ 4,741     $ 4,089    $ 18,805    $ 5,460      $ 3,751     $ 4,660    $ 3,834     $ 17,705    $ 16,331      $ 15,433
Mac                                     $ 7,244    $ 5,844    $ 5,592       $ 7,170    $ 25,850    $ 6,895      $ 5,848    $ 5,330     $ 7,411    $ 25,484    $ 7,952      $ 5,552     $ 5,110    $ 7,282     $ 25,895    $ 25,635      $ 25,378
Services (w ith Apple Pay); >$48B in F2 $ 7,172    $ 7,041    $ 7,266       $ 8,501    $ 29,980    $ 8,471      $ 9,190    $ 9,548     $ 9,981    $ 37,190    $ 10,801     $ 11,579    $ 12,030   $ 12,476    $ 46,887    $ 58,123      $ 70,891
Wearables/Home/Accessories              $ 4,024    $ 2,873    $ 2,735       $ 3,231    $ 12,863    $ 5,489      $ 3,954    $ 3,740     $ 4,234    $ 17,417    $ 7,567      $ 5,163     $ 4,550    $ 4,893     $ 22,174    $ 24,077      $ 24,986
Total Revenue                           $ 78,351   $ 52,896   $ 45,408      $ 52,579   $ 229,234   $ 88,293     $ 61,137   $ 53,265    $ 62,900   $ 265,595   $ 84,038     $ 58,896    $ 53,143   $ 59,933    $ 256,010   $ 268,948     $ 282,918

Y/Y % Change
iPhone                                       5%          1%           3%         2%          3%          13%        14%         20%         29%        18%         -15%        -14%        -10%       -15%        -14%            1%            1%
iPad                                       -22%        -12%           2%        14%         -7%           6%         6%         -5%        -15%        -2%          -7%         -9%         -2%        -6%         -6%           -8%           -5%
Mac                                          7%         14%           7%        25%         13%          -5%         0%         -5%          3%        -1%          15%         -5%         -4%        -2%           2%          -1%           -1%
Services                                    18%         18%          22%        34%         23%          18%        31%         31%         17%        24%          28%         26%         26%        25%         26%           24%           22%
Wearables/Home/Accessories                  -8%         31%          23%        36%         16%          36%        38%         37%         31%        35%          38%         31%         22%        16%         27%            9%            4%
Total Revenue                                3%          5%           7%        12%          6%          13%        16%         17%         20%        16%           -5%         -4%         0%         -5%         -4%           5%            5%

Q/Q % Change
iPhone                                      93%        -39%          -25%       16%                     113%        -38%        -21%        24%                     41%        -37%        -18%        17%
iPad                                        30%        -30%           28%       -3%                      21%        -30%         15%       -14%                     34%        -31%         24%       -18%
Mac                                         26%        -19%           -4%       28%                      -4%        -15%         -9%        39%                      7%        -30%         -8%        43%
Services                                    13%         -2%            3%       17%                       0%          8%          4%         5%                      8%          7%          4%         4%
Wearables/Home/Accessories                  70%        -29%           -5%       18%                      70%        -28%         -5%        13%                     79%        -32%        -12%         8%
Total Revenue                               67%        -32%          -14%       16%                      68%        -31%        -13%        18%                     34%        -30%        -10%        13%

% of Revenues
iPhone                                     69.4%      62.9%         54.7%      54.9%       61.6%        69.7%      62.2%       56.1%      59.1%       62.8%        62.2%      55.8%       50.4%      52.5%       56.0%         53.8%         51.7%
iPad                                        7.1%       7.4%         10.9%       9.2%        8.4%         6.6%       6.7%        8.9%       6.5%        7.1%         6.5%       6.4%        8.8%       6.4%        6.9%          6.1%          5.5%
Mac                                         9.2%      11.0%         12.3%      13.6%       11.3%         7.8%       9.6%       10.0%      11.8%        9.6%         9.5%       9.4%        9.6%      12.1%       10.1%          9.5%          9.0%
Services                                    9.2%      13.3%         16.0%      16.2%       13.1%         9.6%      15.0%       17.9%      15.9%       14.0%        12.9%      19.7%       22.6%      20.8%       18.3%         21.6%         25.1%
Wearables/Home/Accessories                  5.1%       5.4%          6.0%       6.1%        5.6%         6.2%       6.5%        7.0%       6.7%        6.6%         9.0%       8.8%        8.6%       8.2%        8.7%          9.0%          8.8%
Total Revenue                             100.0%     100.0%        100.0%     100.0%      100.0%       100.0%     100.0%      100.0%     100.0%      100.0%       100.0%     100.0%      100.0%     100.0%      100.0%        100.0%        100.0%

Apple Watch Model
Apple Watch Units                          4,300      2,400         2,925      3,375      13,000        6,500      3,000       3,600      4,100      17,200        8,200      3,600       4,100      4,500       20,400        21,828        23,356
   Y/Y%                                     -1%        50%           50%        50%         28%          51%        25%         23%        21%         32%          26%        20%         14%        10%          19%            7%            7%
   Disclosed Y/Y%                                     >50%          >50%       >50%                     >50%
   Memo: IDC Estimate:
Apple Watch ASP                       $     445 $       441   $       436 $      432 $      439    $     427 $     423 $         419 $      415 $      422    $     411 $       407 $       402 $      398 $       406    $      390    $      374
Apple Watch Revenue                   $   1,914 $     1,057   $     1,276 $    1,457 $    5,704    $   2,779 $ 1,270 $         1,508 $    1,701 $    7,257    $   3,367 $     1,463 $     1,650 $    1,793 $     8,274    $    8,504    $    8,741
   Y/Y%                                     -3%                       47%        46%        25%          45%       20%           18%        17%        27%          21%         15%          9%         5%         14%            3%            3%
   Disclosed Y/Y%                                                                                            Strong DD
   % of Other Products                      48%         37%           47%        45%        44%          51%       32%           40%        40%        42%          44%         28%        36%         37%        37%            35%          35%
   % of total AAPL revenue                 2.4%        2.0%          2.8%       2.8%       2.5%         3.1%      2.1%          2.8%       2.7%       2.7%         4.0%        2.5%        3.1%       3.0%        3.2%          3.2%          3.1%

Other -Ex Apple Watch Revenue          $ 2,111 $ 1,816 $            1,459 $    1,774 $    7,159    $   2,710 $     2,684 $     2,232 $    2,533 $ 10,160      $   4,200 $     3,700 $     2,900 $    3,100 $ 13,900       $ 15,573      $ 16,245
   Y/Y%                                     -11%        24%            8%        29%         9%          28%         48%         53%        43%      42%            55%         38%         30%        22%      37%            12%            4%
   Q/Q%                                      54%       -14%          -20%        22%                     53%         -1%        -17%        14%                     66%        -12%        -22%         7%
Note: Other Ex-Apple Watch also includes AirPod and Beats
Wearables/Hom e/Accessories            $ 4,024 $ 2,873 $            2,735 $    3,231 $ 12,863      $   5,489 $     3,954 $     3,740 $    4,234 $ 17,417      $   7,567 $     5,163 $     4,550 $    4,893 $ 22,174       $ 24,077      $ 24,986
   Y/Y%                                      -8%        31%           23%        36%      16%            36%         38%         37%        31%      35%            38%         31%         22%        16%      27%             9%            4%


Source: Company reports and FBN Securities estimates




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                                                                                                                                            Exhibit 9

Figure 3: AAPL Balance Sheet
AAPL Balance Sheet ($M)             Q1 18     Q2 18     Q3 18      Q4 18A       Q1 19E       Q2 19E     Q3 19E     Q4 19E      Q1 20E       Q2 20E     Q3 20E     Q4 20E
                                    Dec-17    Mar-18    Jun-18     Sep-18       Dec-18       Mar-19     Jun-19     Sep-19      Dec-19       Mar-20     Jun-20     Sep-20
Assets
Cash & cash equivalents              27,491    45,059     31,971     25,913         28,799    36,904     38,278     33,528         37,167     45,891    47,502     42,444
Marketable securities                49,662    42,881     38,999     40,388         44,886    57,518     59,660     52,257         57,928     71,526    74,037     66,153
Accounts receivable                  23,440    14,324     14,104     23,186         28,000    13,799     14,072     22,092         29,175     14,568    14,879     23,228
Inventories                           4,421     7,662      5,936      3,956          4,208     7,381      5,922      3,769          4,385      7,792     6,262      3,963
Deferred tax assets                       0         0          0          0              0         0          0          0              0          0         0          0
Vendor non-trade receivables         27,459     8,084     12,263     25,809         26,136     7,788     12,235     24,592         27,232      8,222    12,937     25,856
Other current assets                 11,337    12,043     12,488     12,087         10,791    11,602     12,459     11,517         11,243     12,248    13,174     12,109
Total Current Assets                143,810   130,053    115,761    131,339        142,818   134,991    142,627    147,755        167,130    160,248   168,791    173,752

Long-term marketable securities     207,944   179,286    172,773    170,799        170,799   170,799    170,799    192,623        192,623    192,623   192,623    216,007
Property, plant and equipment,net    33,679    35,077     38,117     41,304         32,056    33,791     38,030     39,356         33,401     35,674    40,212     41,378
Goodw ill                             5,889         0          0          0              0         0          0          0              0          0         0          0
Acquired intangible assets            2,149         0          0          0              0         0          0          0              0          0         0          0
Other assets                         13,323    23,086     22,546     22,283         22,000    22,240     22,494     21,232         22,923     23,479    23,785     22,323
Total LT Assets                     262,984   237,449    233,436    234,386        224,855   226,830    231,323    253,211        248,947    251,777   256,620    279,708

Total Assets                        406,794   367,502    349,197    365,725        367,673   361,821    373,950    400,966        416,078    412,024   425,411    453,460

Liabilities & Equity
Accounts payable                     62,985    34,311     38,489     55,888         52,301    33,053     38,401     53,252         54,496     34,895    40,604     55,989
Accrued expenses                     26,281    26,756     25,184     32,687         25,014    25,775     25,126     31,145         26,064     27,212    26,568     32,746
Deferred revenue                      8,044     7,775      7,403      7,543          7,656     7,490      7,386      7,187          7,978      7,907     7,810      7,557
Commercial paper                     11,980    11,980     11,974     11,964         11,964    11,964     11,964     11,964         11,964     11,964    11,964     11,964
Current debt                          6,498     8,498      5,498      8,784          8,784     8,784      8,784      8,784          8,784      8,784     8,784      8,784
Total Current Liabilities           115,788    89,320     88,548    116,866        105,720    87,066     91,661    112,333        109,286     90,762    95,730    117,039

Deferred revenue - non-current        3,131     3,087      2,878      2,797          2,980     2,974      2,871      2,665          3,105      3,140     3,036      2,802
LT Debt                             103,922   101,362     97,128     93,735         93,735    93,735     93,735     93,735         93,735     93,735    93,735     93,735
Other non-current liabilities        43,754    46,855     45,694     45,180         41,645    45,137     45,589     43,049         43,393     47,653    48,205     45,261
Total LT Liabilities                150,807   151,304    145,700    141,712        138,360   141,846    142,196    139,449        140,233    144,528   144,976    141,799

Total Liabilities                   266,595   240,624    234,248    258,578        244,080   228,913    233,857    251,782        249,519    235,290   240,706    258,838

Shareholder's equity                140,199   126,878    114,949    107,147        123,593   132,909    140,093    149,184        166,559    176,734   184,705    194,622
Total Liabilities and Sh. Equity    406,794   367,502    349,197    365,725        367,673   361,821    373,950    400,966        416,078    412,024   425,411    453,460

BALANCE SHEET METRICS
Book value per share               $ 27.18 $ 25.03 $ 23.33 $ 22.10             $   25.91 $ 28.21 $ 30.10 $ 32.46              $   36.70 $ 39.45 $ 41.77 $ 44.60
DSO                                         24       21         24        33           30        21         24        33              30        21         24        33
Q/Q% in A/R                               31%     -39%        -2%       64%          21%      -51%         2%       57%             32%      -50%         2%       56%
Inventory turnover                          49        20        22        39           49        19         22        39              49        19         21        38
Seq. % Change in Inventory              -8.9%    73.3%     -22.5%    -33.4%         6.4%     75.4%     -19.8%    -36.4%           16.3%     77.7%     -19.6%    -36.7%
Gross cash                            285,097   267,226   243,743   237,100       244,483   265,221   268,737   278,408          287,718   310,040   314,162   324,603
Gross Debt                         $ 122,400 $ 121,840 $ 114,600 $ 114,483     $ 114,483 $ 114,483 $ 114,483 $ 114,483        $ 114,483 $ 114,483 $ 114,483 $ 114,483
Net Cash                              162,697   145,386   129,143   122,617       130,000   150,738   154,254   163,925          173,235   195,557   199,679   210,120
Net Cash/Share                     $ 31.54 $ 28.68 $ 26.21 $ 25.29             $ 27.25 $ 31.99 $ 33.14 $ 35.67                $ 38.17 $ 43.65 $ 45.16 $ 48.15
Value of offshore cash taxed at 35%
Gross cash adj. for taxed offshore
Net cash adj. for taxed offshore
Debt/Capital                              47%      49%        50%       52%           48%        46%        45%       43%           41%        39%        38%        37%
Current ratio                              1.2       1.5       1.3       1.1           1.4        1.6        1.6        1.3           1.5        1.8        1.8        1.5
Quick Ratio                                0.9       1.1       1.0       0.8           1.0        1.2        1.2        1.0           1.1        1.5        1.4        1.1
ROE                                    57.2%     43.6%      40.1%     52.7%         64.5%      38.4%      31.1%      34.2%         50.4%      31.1%      25.7%      28.3%

Source: Company reports and FBN Securities estimates




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Disclosure Section
Regulation AC, Analyst Certification
   I, Shebly Seyrafi, certify that the views expressed in the research report accurately reflect my personal views
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the subject securities or issuers.
     No part of my compensation was, is, or will be, directly or indirectly, related to the specific
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or views I have expressed in the research report.
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Analyst owns shares of AAPL.




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Stock Ratings
FBN uses a relative rating system using terms Outperform, Sector Perform, and Underperform. FBN does not
assign ratings of buy, hold, or sell to the stocks covered.
Outperform (O) – The stock’s total return is expected to exceed the average return for the analyst’s sector
coverage universe over the next 6 to 12-month period.
Sector Perform (SP) - The stock’s total return is expected to be in-line with the average return for the analyst’s
sector coverage universe over the next 6 to 12-month period.
Underperform (U) - The stock’s total return is expected to be below the average return for the analyst’s sector
coverage universe over the next 6 to 12-month period.

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                                                                                     Exhibit 9
AAPL Stock Chart




AAPL Price Target and Rating History
Date          Price Target Rating         Date         Price Targ   Rating
     1/3/2019        $190     O             7/27/2016      $120       O
   11/2/2018         $240     O             4/27/2016      $110       O
     8/1/2018        $230     O             1/27/2016      $120       O
     5/2/2018        $200     O             7/22/2015      $150       O
     2/1/2018        $210     O             4/28/2015      $160       O
   11/3/2017         $200     O             3/10/2015      $145       O
     8/2/2017        $180     O             1/28/2015      $140       O
     5/3/2017        $160     O            10/21/2014      $130       O
   3/27/2017         $155     O               9/9/2014     $115       O
     2/1/2017        $145     O             7/23/2014      $110       O
  10/26/2016         $130     O             4/24/2014        $93      O
                                            1/28/2014        $89      O

                                       Ratings Distribution              IB Serv./Past 12 Mos.
    Category                               Count            %                           %
    Outperform (O)                             40        61%                          0%
    Sector Perform (SP)                        22        33%                          0%
    Underperform (U)                            3         5%                          0%
    Unrated                                     1         2%                          0%
    Total                                      66        98%                          0%




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                                                                                                               North America Equity Research
                                                                                                               03 January 2019




                                                                                                               Overweight
 Apple                                                                                                         AAPL, AAPL US
                                                                                                               Price: $157.92
 iPhone Volume Woes Continue on Cyclical
                                                                                                            ▼ Price Target: $228.00
 Headwinds; Remain OW on Services Transformation                                                               Previous: $266.00
 & Leverage of Installed Base
 Apple’s iPhone shipment volumes continued to be challenged by the worsening macro                             Telecom & Networking
 weakness in emerging markets (particularly China), and by elongating replacement                              Equipment/IT Hardware
 cycles in developed markets, the combination of which led to a substantial -8%                                Samik Chatterjee, CFA
                                                                                                                                                                AC

 revision to F1Q19 (Dec-end) revenue guidance. The guidance revision follows an                                (1-212) 622 0798
 already disappointing F1Q19 revenue guide issued in early November. While most                                samik.x.chatterjee@jpmorgan.com
 other headwinds (namely FX, tougher comps based on product launch timing, and                                 J.P. Morgan Securities LLC
 supply chain constraints) contemplated by management already in the guide tracked in                          Joseph Cardoso
 line with expectation, F1Q19 preliminary results tracked substantially lower than                             (1-212) 622-9036
 guidance led by greater economic weakness in EMs and fewer phone upgrades in                                  joseph.cardoso@jpmchase.com
                                                                                                               J.P. Morgan Securities LLC
 DMs. Despite product segments outside of the iPhone tracking in line to better than
 expected, the challenged iPhone shipment outlook is driving our lower earnings                                Bharat Daryani
                                                                                                               (91-22) 6157 3057
 estimates given the firm’s outsized reliance on iPhone revenue and profitability at this
                                                                                                               bharat.daryani@jpmchase.com
 time, even as it continues to successfully execute on a transformation to greater
                                                                                                               J.P. Morgan India Private Limited
 reliance on Services which will provide better visibility to earnings and cash flow.
                                                                                                               Price Performance
 ! Retain Overweight rating focusing on Services transformation, while looking                                     240
   past iPhone volume challenges largely led by cyclical drivers. Apple had already                                220
   embedded various cyclical headwinds, including iPhone launch timing, adverse FX                                 200
                                                                                                               $
   impact (estimated to be 200 bps), and supply chain constraints (for Airpods, Apple                              180
                                                                                                                   160
   Watch, and iPad Pro) in the softer guidance issued in early November. However,                                  140
   headwinds from the economic weakness in EMs drove incremental cyclical                                                Jan-18     Apr-18    Jul-18   Oct-18    Jan-19

   weakness, in addition to a structural driver in elongating replacement cycle for                                                      AAPL share price ($
                                                                                                                                         S&P500 (rebased)
   iPhones in the developed markets ― led in our view by robustness of the product                                                YTD         1m          3m              12m
   and success of the battery replacement plan, both of which are positive for the firm                            Abs            0.1%        -11.6%      -31.1%          -8.3%
                                                                                                                   Rel            0.0%        -2.5%       -17.0%          -1.4%
   long-term, while proving painful near-term. We retain our Overweight rating
   looking past the largely cyclical volume headwinds to focus on the accelerating
   transformation to Services and leverage of the large installed base driving upside
   through a combination of earnings growth and potential multiple re-rating.
 ! Silver linings emphasizing transformation story even amidst a disappointing
   print. Although preliminary F1Q19 results were quite disappointing, we see silver
   linings in: 1) better than expected ~27% y/y growth in Services revenue despite
   moratorium on app approvals in China; 2) strong growth and all-time high count of
   active devices in the installed base; 3) strong growth of ~50% y/y in wearables
   (Watch+ Airpods) demonstrating ability to leverage the large installed base to drive
   ancillary revenues; 4) strong non- iPhone revenue growth of +19% y/y.
 Apple Inc. (AAPL;AAPL US)
 FYE Sep                2016A 2017A 2018A 2019E 2019E 2020E 2020E 2021E 2021E                                 Company Data
                                                      (Prev)   (Curr)   (Prev)   (Curr)   (Prev)   (Curr)     Price ($)                                         157.92
 EPS (pro forma) ($)                                                                                          Date Of Price                                  02-Jan-19
 Q1 (Dec)                      3.18    3.36 3.89 4.85 4.20 5.53 4.87 6.31 5.71                                52-week Range ($)                          233.47-146.59
 Q2 (Mar)                      1.90    2.10 2.73 2.97 2.44 3.36 2.88 3.75 3.71                                Market Cap ($ bn)                                 765.52
 Q3 (Jun)                      1.42    1.67 2.34 2.44 2.12 2.72 2.59 3.04 3.12                                Fiscal Year End                                      Sep
 Q4 (Sep)                      1.67    2.07 2.91 3.28 2.89 3.59 3.31 4.10 3.71                                Shares O/S (mn)                                    4,848
 FY                            8.18    9.19 11.87 13.55 11.65 15.20 13.65 17.20 16.25                         Price Target ($)                                  228.00
 Bloomberg EPS FY ($)          8.27    9.00 11.79     - 13.24     - 14.61     - 15.99                         Price Target End Date                         31-Dec-19
 Source: Company data, Bloomberg, J.P. Morgan estimates.

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                                         03 January 2019                                           Exhibit 9
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        ! Lower EPS estimates by -14% and -10% for FY19 and FY20, respectively;
          price target goes to $228 ($266 prior). Led by the combination of the lower iPhone
          volume shipment outlook and slightly lower margin outlook (led by weaker revenue
          outlook for iPhones), we are lowering our FY19 and FY20 EPS estimates by -14%
          and -10%, respectively. Our out-year estimate for FY21 declines more modestly,
          partly on account of continued strong pace of share buybacks (Apple emphasized its
          target of being net cash neutral long-term) at a lower share price relative to that
          assumed prior driving higher earnings accretion in the out-year. Our December 2019
          price target goes to $228 vs. $266 prior, led by the lower earnings outlook as well as
          modestly lower target P/E multiple (16.6x vs. 17.5x prior) on account of a lower
          earnings multiple attributed to iPhone earnings relative to prior (11.0x vs. 14.0x
          prior).

        ! Updated iPhone volume forecasts. While the $7 bn revenue shortfall relative to
          mid-point of guidance for F1Q19 implies a roughly 9 mn volume shortfall (at $800
          ASP), we estimate part of the shortfall is driven by ASP pressures stemming from
          higher trade-in values offered to customers in recent promotional programs. We are
          now lowering our calendar 2019 volume forecast to 185 mn (-10% y/y) vs. 208 mn
          prior, and calendar 2020 volume forecast to 190 mn vs. 210 mn prior.




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                                  Investment Thesis, Valuation and Risks
                                  Apple (Overweight; Price Target: $228.00)
                                  Investment Thesis
                                  We rate AAPL shares Overweight given our favorable outlook on iPhone and
                                  Services revenues relative to investor expectations, catalysts to accelerate revenue
                                  growth, and upside risk to our base forecast for +17% earnings CAGR. We see
                                  upside on several aspects of the business as well as financials that remain
                                  underappreciated by investors, namely the transformation of the company to
                                  Services, growth in the installed base, technology leadership, and optionality around
                                  capital deployment ― all of which together leads us to expect double digit earnings
                                  growth and a modest re-rating for the shares.
                                  Valuation
                                  We are maintaining our Overweight rating and lowering our December 2019 price
                                  target to $228 (vs. $266 prior). Our December 2019 price target of $228 is predicated
                                  on a 16.6x blended P/E multiple which implies a re-rating from NTM trading
                                  multiple of 13.6x. Our blended P/E is arrived at based on a SOTP methodology using
                                  11.0x P/E for iPhones, Mac and iPad devices, 25.0x for Services and Apple Watch,
                                  and 16.0x for Other Products.
                                  Key assumptions used in formulating the price target are:
                                  ! iPhone: We use an 11.0x P/E multiple for our iPhone earnings estimate in
                                    calendar 2020, modest discount to the 14.0x multiple that industry leader Nokia,
                                    traded at from 2005 to 2010 when the firm had a leadership position in feature
                                    phones.
                                  ! Mac devices: P/E multiple of 11.0x, modest premium to the 9.5x NTM P/E
                                    multiple for competitor HPQ, largely subject to similar industry dynamics,
                                    although with higher profitability.
                                  ! iPad devices: P/E multiple of 11.0x, in line with the multiple we assign for Mac
                                    devices as growth opportunities are limited for both notebooks as well as tablets.
                                    Additionally, we believe increasing consumption of content on smartphones is
                                    likely to substitute purchases of laptops/notebooks as well as tablets in the future.
                                  ! Services: P/E multiple of 25.0x on the Services segment, in line with the average
                                    trading multiple for a peer group of luxury/retail companies (Costco, Estée
                                    Lauder and Home Depot), which are leaders in their respective markets and
                                    derive a stickiness for product sales through customer loyalty in the form of
                                    either membership programs or brand value. We believe the subscription nature
                                    of Apple’s Services segment, with high visibility of revenue and earnings,
                                    warrants it being valued in line with the leading luxury/retail companies.
                                  ! Apple Watch: P/E multiple of 25.0x, roughly in line with the 25.0x target multiple
                                    we use for the Services group, on account of the materially higher room for growth
                                    relative to Apple’s legacy hardware products like iPhone, iPad, and Mac.
                                  ! Other Products: P/E multiple of 16.0x, at a modest premium to the legacy
                                    hardware devices like iPhone, iPad, and Mac on account of higher growth


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                                       opportunities. However, the 16.0x multiple is at a discount to the 25.0x multiple
                                       we use to value Apple Watch on account of lower margins for accessory sales in
                                       a more competitive market.

                                  Table 1: AAPL P/E Based Price Target Analysis
                                  $ in millions, except per share amounts
                                                                            NTM
                                                                            Qtrs 1-4       CY19E        CY20E
                                  JPM Net Income                            53,751         54,888       59,437
                                  JPM EPS                                    $11.65         $12.33       $14.49

                                  P/E Multiple                                    13.6x
                                  JPM P/E Multiple                                           16.6x        16.6x
                                  Total Equity Value                        765,525       913,610      989,335

                                  Average Diluted Share Count               4,847.5       4,756.3       4,333.1
                                  Implied Share Price                        $157.9        $192.0        $228.0

                                  Current Value per Share                    $157.9        $157.9        $157.9
                                  Upside vs. Current                                         22%           44%

                                  Memo:
                                  (-) Net Cash/(Debt)                        94,550        95,712       70,863
                                  Enterprise Value                          670,974       817,899      918,472
                                  JPM EBITDA                                 73,660        75,462       81,928
                                  Implied EV/EBITDA                             9.1x        10.8x        11.2x
                                  Source: J.P. Morgan estimates.


                                  Risks to Rating and Price Target
                                  Industry Downside Risks
                                  Deceleration or contraction in the handset and smartphone market could be
                                  faster than expected
                                  Economic conditions or shifting consumer demand could cause greater-than-
                                  expected deceleration or contraction in the handset and smartphone markets. This
                                  would negatively impact Apple’s prospects for growth, and the shares may fail to
                                  achieve our target price as a result.

                                  Increase in competitive pressures in international markets
                                  Apple is increasingly participating in international markets, such as China and India,
                                  where local players, which are better situated, could leverage their position and pull
                                  on levers such as pricing to make the market more competitive. In addition, tariffs
                                  enacted by local governments may further hurt Apple’s ability to effectively compete
                                  in international markets.

                                  Company-Specific Downside Risks
                                  Investment in new business strategies and acquisitions could be fruitless
                                  Apple has historically invested in new business strategies and acquisitions. As such,
                                  success on these investments has low visibility at this time and could lead to greater-
                                  than-expected liabilities and expense. Additionally, new investments could have a
                                  negative impact on current operations by distracting management.

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                                  Key man risk around departure of chief executive officer
                                  While risks related to departure of management executives appear considerably
                                  lower relative to in the past, we believe the execution on strategic priorities under
                                  CEO Tim Cook’s leadership does still present modest risk to the share price,
                                  although we see a strong group of executives to support business performance
                                  without disruptions.

                                  Litigation with Qualcomm could drive unexpected liabilities
                                  As part of risk mitigation from the ongoing litigation with Qualcomm, Apple has
                                  provisioned what management believes could be worst-case payments to Qualcomm
                                  in the event of an adverse judgement. However, less favorable outcomes with greater
                                  damages awarded to Qualcomm could be a liability for Apple beyond the provisions,
                                  and drive downside to our price target.




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           Table 2: AAPL Summary Table
           $ mns
                                                              1Q - December                        2Q - March                      3Q - June                   4Q- September                            Annual
                                                            2017        2018   2019E           2017         2018 2019E       2017          2018 2019E        2017      2018   2019E      2017     2018     2019E       2020E       2021E
           Revenue                                       78,351       88,293 84,230          52,896       61,137 57,048   45,408        53,265 51,322     52,579 62,900      61,598 229,234    265,595 254,198       271,672     301,541
             % chg y/y                                      4.0%      12.7%     -4.6%          4.6%       15.6%    -6.7%    7.2%         17.3%    -3.6%    12.2%     19.6%     -2.1%    6.6%     15.9%      -4.3%       6.9%       11.0%
           Cost of Sales                                 48,175      54,381 52,122          32,305       37,715 35,401    27,920        32,844 31,788     32,648 38,816      38,221 141,048    163,756 157,533       168,252     186,392
           SG&A                                            3,946        4,231    4,633        3,718        4,150   4,450    3,783         4,108   4,362     3,814     4,216    4,373   15,261   16,705    17,818       18,395      20,705
             as % of sales                                  5.0%        4.8%     5.5%          7.0%        6.8%     7.8%    8.3%          7.7%     8.5%     7.3%      6.7%      7.1%    6.7%      6.3%       7.0%       6.8%        6.9%
           R&D                                             2,871       3,407     4,089        2,776        3,378   3,879    2,937         3,701   3,952     2,997     3,750    4,004   11,581   14,236    15,924       17,090      19,029
             as % of sales                                  3.7%        3.9%     4.9%          5.2%        5.5%     6.8%    6.5%          6.9%     7.7%     5.7%      6.0%      6.5%    5.1%      5.4%       6.3%       6.3%        6.3%
           Operating Income (COI)                        23,359      26,274 23,386          14,097       15,894 13,318    10,768        12,612 11,220     13,120 16,118      14,999    61,344   70,898    62,922       67,935      75,414
             operating margin                              29.8%       29.8%    27.8%        26.7%        26.0% 23.3%      23.7%         23.7% 21.9%       25.0%     25.6%    24.4%    26.8%     26.7%     24.8%       25.0%       25.0%
             bp chg y/y                                 -155 bp         -6 bp -199 bp      -102 bp        -65 bp -265 bp   -14 bp         -4 bp -182 bp    -15 bp     67 bp -127 bp    -89 bp     -7 bp -194 bp         25 bp         0 bp
           Other income/(expense)                            821          756      550          587           274     300      540           672     300       797       303      300   2,745     2,005     1,450       1,100       1,100
           Pre-tax Income                                 24,180      27,030 23,936          14,684       16,168 13,618    11,308        13,284 11,520     13,917 16,421     15,299    64,089   72,903    64,372       69,035      76,514
           Income Tax                                      6,289       6,965     3,949        3,655        2,346   2,247    2,591         1,765   1,901     3,203     2,296    2,524   15,738   13,372    10,621       11,391      12,659
             tax rate %                                   26.0%       25.8%    16.5%         24.9%        14.5% 16.5%      22.9%         13.3% 16.5%       23.0%     14.0%    16.5%    24.6%     18.3%     16.5%       16.5%       16.5%
           Net Income                                     17,891      20,065 19,986          11,029       13,822 11,371     8,717       11,519    9,619   10,714 14,125      12,775    48,351   59,531    53,751       57,644      63,855
           Diluted EPS                                     $3.36       $3.89    $4.20         $2.10        $2.73   $2.44    $1.67         $2.34   $2.12     $2.07     $2.91    $2.89    $9.19   $11.87    $11.65       $13.65      $16.25
           Diluted Shares (avg.)                           5,328       5,158    4,756         5,262        5,068   4,664    5,233         4,927   4,536     5,184     4,848    4,417    5,263     5,016     4,613       4,223       3,929
           EBITDA ex-equity income                       26,346      29,019 25,997          16,429       18,633 15,942    13,122        15,277 13,888     15,604 18,872      17,833    71,501   81,801    73,660       79,425      88,103
             % chg y/y                                     -0.9%      10.1% -10.4%            -0.2%       13.4% -14.4%       3.9%        16.4%    -9.1%     9.1%     20.9%     -5.5%    2.2%     14.4%    -10.0%        7.8%       10.9%
           EBITDA margin                                  33.6%       32.9%     30.9%        31.1%        30.5% 27.9%      28.9%         28.7% 27.1%       29.7%     30.0%    29.0%    31.2%     30.8%     29.0%       29.2%       29.2%
             bp chg y/y                                 -166 bp       -76 bp -200 bp       -151 bp        -58 bp -253 bp   -92 bp        -22 bp -162 bp    -86 bp     33 bp -105 bp   -134 bp    -39 bp -182 bp         26 bp       -2 bp
           Cash                                         246,090 285,097 244,354            256,841      267,226 220,467 261,516       243,743 209,033    268,895 237,100 208,283 268,895       237,100 208,283       180,579     155,028
           Debt                                          87,549 122,400 114,483             98,522      121,840 114,483 108,339       114,600 114,483    115,680 114,483 114,483 115,680       114,483 114,483       114,483     114,483
           Gross Leverage (ttm)                              1.3x        1.7x     1.5x          1.4x         1.6x    1.5x     1.5x          1.5x    1.5x      1.6x      0.9x     1.6x     1.6x     1.4x       1.6x        1.4x        1.3x
           Net Debt                                   (158,541) (162,697) (129,871)      (158,319) (145,386) (105,984) (153,177) (129,143) (94,550) (153,215) (122,617) (93,800) (153,215) (122,617) (93,800)        (66,096)    (40,545)
           Net Leverage (ttm)                               -2.3x       -2.2x    -1.6x         -2.3x       -1.9x    -1.4x   -2.2x         -1.6x    -1.3x    -2.1x     -1.0x     -1.3x   -2.1x     -1.5x      -1.3x       -0.8x       -0.5x
           Operating Cash Flow                           27,056      28,293 24,062          12,523       15,130    2,622    8,363       14,488 14,891     15,656 19,523      26,047    63,598   77,434    67,621       69,286      72,799
           Capital Expenditures                          (3,334)     (2,810) (3,369)        (2,975)      (4,195) (3,138)  (2,277)       (3,267) (2,823)   (3,865) (3,041)    (3,388) (12,451) (13,313) (12,717)      (13,598)    (15,123)
           Free Cash Flow                                 23,722      25,483 20,692           9,548      10,935     (516)   6,086        11,221 12,069    11,791 16,482      22,659    51,147   64,121    54,904       55,687      57,676
           Share repurchases                           (10,851) (10,095) (10,000)           (7,161) (22,756) (20,000)     (7,093) (20,783) (20,000)       (7,795) (19,104) (20,000) (32,900) (72,738) (70,000)       (70,000)    (70,000)
           Source: Company reports and J.P. Morgan estimates
                                                                                                                                                                                                                                                         Case 4:19-cv-02033-YGR Document 197-2 Filed 07/09/21 Page 584 of 607

                                                                                                                                                                                                                                             Exhibit 9




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                                                                                                                                                    Exhibit 9
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Apple: Summary of Financials
Income Statement - Annual                            FY17A      FY18A       FY19E      FY20E   FY21E Income Statement - Quarterly            1Q19E 2Q19E 3Q19E 4Q19E
Revenue                                             229,234 265,595 254,198 271,672 301,541           Revenue                                  84,230 57,048 51,322 61,598
COGS                                              (141,048) (163,756) (157,533) (168,252) (186,392)   COGS                                   (52,122) (35,401) (31,788) (38,221)
Gross profit                                         88,186 101,839 96,665 103,420 115,149            Gross profit                             32,108 21,647 19,534 23,376
SG&A                                               (15,261) (16,705) (17,818) (18,395) (20,705)       SG&A                                    (4,633) (4,450) (4,362) (4,373)
Adj. EBITDA                                          71,501 81,801 73,660 79,425 88,103               Adj. EBITDA                              25,997 15,942 13,888 17,833
D&A                                                (10,157) (10,903) (10,738) (11,490) (12,688)       D&A                                     (2,611) (2,624) (2,669) (2,833)
Adj. EBIT                                            61,344 70,898 62,922 67,935 75,414               Adj. EBIT                                23,386 13,318 11,220 14,999
Net Interest                                               -         -        -         -         -   Net Interest                                  -        -        -        -
Adj. PBT                                             64,089 72,903 64,372 69,035 76,514               Adj. PBT                                 23,936 13,618 11,520 15,299
Tax                                                (15,738) (13,372) (10,621) (11,391) (12,659)       Tax                                     (3,949) (2,247) (1,901) (2,524)
Minority Interest                                          -        -         -         -         -   Minority Interest                             -        -        -        -
Adj. Net Income                                      48,351 59,531 53,751 57,644 63,855               Adj. Net Income                          19,986 11,371 9,619 12,775
Reported EPS                                           9.19     11.87     11.65     13.65     16.25   Reported EPS                               4.20     2.44     2.12     2.89
Adj. EPS                                               9.19     11.87     11.65     13.65     16.25   Adj. EPS                                   4.20     2.44     2.12     2.89
DPS                                                        -         -        -         -         -   DPS                                           -        -        -        -
     Payout ratio                                          -         -        -         -         -        Payout ratio                             -        -        -        -
Shares outstanding                                    5,263     5,016     4,613     4,223     3,929   Shares outstanding                        4,756 4,664 4,536 4,417
Balance Sheet & Cash Flow Statement                 FY17A       FY18A       FY19E      FY20E   FY21E Ratio Analysis                 FY17A FY18A FY19E FY20E FY21E
Cash and cash equivalents                            20,289 25,913 20,000 20,000 20,000 Gross margin                                38.5%     38.3%    38.0%    38.1%    38.2%
Accounts receivable                                  17,874 23,186 23,270 24,672 26,165 EBITDA margin                               31.2%     30.8%    29.0%    29.2%    29.2%
Inventories                                           4,855    3,956    6,795    8,126    9,096 EBIT margin                         26.8%     26.7%    24.8%    25.0%    25.0%
Other current assets                                 85,627 78,284 78,284 78,284 78,284 Net profit margin                           21.1%     22.4%    21.1%    21.2%    21.2%
Current assets                                     128,645 131,339 128,349 131,082 133,545
PP&E                                                 33,783 41,304 43,284 45,392 47,827 ROE                                         36.9%     49.4% 58.3% 89.6% 153.0%
LT investments                                     194,714 170,799 147,895 120,191 94,640 ROA                                       13.9%     16.1% 15.2% 17.4% 20.7%
Other non current assets                             18,177 22,283 22,283 22,283 22,283 ROCE                                        19.9%     24.6% 25.4% 31.7% 40.3%
Total assets                                       375,319 365,725 341,811 318,948 298,296 SG&A/Sales                                6.7%      6.3%   7.0%   6.8%   6.9%
                                                                                                Net debt/equity                     71.2%     82.7% 122.4% 183.7% 294.7%
Short term borrowings                                18,473 20,748 20,748 20,748 20,748
Payables                                             49,049 55,888 55,209 60,942 57,448 P/E (x)                                       17.2      13.3     13.6     11.6      9.7
Other short term liabilities                         33,292 40,230 46,966 44,115 46,329 P/BV (x)                                       6.2       7.4      9.4     13.0     19.4
Current liabilities                                100,814 116,866 122,922 125,806 124,525 EV/EBITDA (x)                               9.4       8.2      9.1      8.4      7.6
Long-term debt                                       97,207 93,735 93,735 93,735 93,735 Dividend Yield                                   -         -        -        -        -
Other long term liabilities                          43,251 47,977 47,977 47,977 47,977
Total liabilities                                  241,272 258,578 264,634 267,518 266,237 Sales/Assets (x)                            0.7       0.7    0.7    0.8    1.0
Shareholders' equity                               134,047 107,147 77,177 51,430 32,059 Interest cover (x)                               -         -      -      -      -
Minority interests                                         -       -        -        -        - Operating leverage                  47.8%     98.2% 262.1% 115.9% 100.1%
Total liabilities & equity                         375,319 365,725 341,811 318,948 298,296
BVPS                                                  25.47    21.36    16.73    12.18     8.16 Revenue y/y Growth                   6.6%     15.9% (4.3%)       6.9%    11.0%
     y/y Growth                                        9.6% (16.1%) (21.7%) (27.2%) (33.0%) EBITDA y/y Growth                        2.2%     14.4% (10.0%)      7.8%    10.9%
Net debt/(cash)                                      95,391 88,570 94,483 94,483 94,483 Tax rate                                    24.6%     18.3% 16.5%       16.5%    16.5%
                                                                                                Adj. Net Income y/y Growth           7.1%     23.1% (9.7%)       7.2%    10.8%
Cash flow from operating activities                  63,598 77,434 67,621 69,286 72,799 EPS y/y Growth                              12.3%     29.2% (1.8%)      17.1%    19.1%
     o/w Depreciation & amortization                 10,157 10,903 10,738 11,490 12,688 DPS y/y Growth                                   -         -      -          -        -
     o/w Changes in working capital                 (5,550) 34,694      3,133      151 (3,744)
Cash flow from investing activities                (46,446) 16,066 (12,717) (13,598) (15,123)
     o/w Capital expenditure                       (12,451) (13,313) (12,717) (13,598) (15,123)
     as % of sales                                     5.4%    5.0%     5.0%     5.0%     5.0%
Cash flow from financing activities                (17,347) (87,876) (83,721) (83,391) (83,226)
     o/w Dividends paid                            (12,769) (13,712) (13,721) (13,391) (13,226)
     o/w Net debt issued/(repaid)                    29,014      432        0        0        0
Net change in cash                                    (195)    5,624 (28,817) (27,704) (25,551)
Adj. Free cash flow to firm                          51,147 64,121 54,904 55,687 57,676
     y/y Growth                                      (3.7%)   25.4% (14.4%)      1.4%     3.6%
Source: Company reports and J.P. Morgan estimates.
Note: $ in millions (except per-share data).Fiscal year ends Sep. o/w - out of which




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                                                                                                                                                 Exhibit 9
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 Apple (AAPL, AAPL US) Price Chart


            385
                              OW $105              OW $142                                                     OW $266

            330                                                                                                             Date        Rating Share Price   Price Target
                        OW $125          OW $114                                                              OW $270                          ($)           ($)
            275                                                                                                             27-Jan-16   OW     99.99         141.00
                   OW $141      OW $107                  OW $165      OW $176                               OW $272         27-Apr-16   OW     104.35        125.00
            220                                                                                                             16-Jun-16   OW     97.14         105.00
 Price($)
                                                                                                                            27-Jul-16   OW     96.67         107.00
            165
                                                                                                                            26-Oct-16   OW     118.25        114.00
                                                                                                                            01-Feb-17 OW       121.35        142.00
            110
                                                                                                                            26-Mar-17 OW       140.64        165.00
            55                                                                                                              02-Aug-17 OW       150.05        176.00
                                                                                                                            27-Sep-18 OW       220.42        272.00
             0                                                                                                              02-Nov-18 OW       222.22        270.00
                  Jan   Apr       Jul     Oct      Jan      Apr        Jul      Oct       Jan   Apr   Jul     Oct     Jan   12-Nov-18 OW       204.47        266.00
                  16     16       16      16       17        17        17       17        18     18   18      18       19

 Source: Bloomberg and J.P. Morgan; price data adjusted for stock splits and dividends.
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Completed    03 Jan 2019 01:04 AM EST                                                                              Disseminated 03 Jan 2019 01:06 AM EST
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                                                                             Global Research                                                 3 January 2019




Apple Inc.                                                                                                                            Equities
Services Good, But China Headwinds Intensifying;                                                                                      Americas
Cutting Target On Negative Pre                                                                                                        Computers

                                                                                                                                    12-month rating                                  Buy
                                                                                                                                    12m price target                           US$180.00
CQ4 neg-pre on weak China demand; services an important silver lining
                                                                                                                                                                       P rior: US$210.00
AAPL announced preliminary FQ1:19 (Mar) results w/revenue ~$84B versus prior $89-
93B guidance due almost wholly to weaker than expected emerging market demand,                                                      Price                                     US$157.92
particularly in China. Despite the ~8% revenue miss, GM of 38% was still at low-end                                                 RIC: AAPL.O BBG: AAPL US
of guide; other line item results imply EPS of ~$4.20 vs Street ~$4.70. The release
implies China revenue declined ~25-30% Y/Y, declines last seen during the iPhone 6S                                                 Trading data and key metrics
                                                                                                                                    52-wk range             US$232.07-146.83
cycle due at that time to very tough iPhone 6 comps. Services notably strong w/revenue
                                                                                                                                    Market cap.                                  US$766bn
$10.8B, or ~$500MM ABOVE our model. While we are cutting AAPL estimates and
                                                                                                                                    Shares o/s                             4,848m (COM)
price target, to us this speaks more about why it is too early to get more +ve on semis.
                                                                                                                                    Free float                                        100%
Results imply ~64MM iPhone units, or ~9-10MM shortfall                                                                              Avg. daily volume ('000)                         42,190
AAPL will no longer discuss iPhone units, but given our view that shortfall was primarily                                           Avg. daily value (m)                       US$8,011.2
iPhone XR-related (see here and here), results imply ~64MM units (vs ~73.5MM guide)                                                 Common s/h equity (09/19E)                  US$77.2bn
and iPhone revenue down ~15% Y/Y – the worst CQ4 for iPhone by far. To that end,                                                    P/BV (09/19E)                                       9.5x
using historical Gartner data, we calculate iPhone units in China were flat to down Q/Q                                             Net debt / EBITDA (09/19E)                           NM
for the first time in a Dec Q, speaking both to the XR demand challenges as well as
                                                                                                                                    EPS (UBS, diluted) (US$)
macroeconomic/trade headwinds. Given the XR-focused weakness, QRVO seems the
                                                                                                                                                       09/19E
most direct supply chain read and ~10MM is consistent w/its negative pre, though our
                                                                                                                                               From         To             % ch       Cons.
procurement estimates still suggested that AAPL's guide had factored much of this in.
                                                                                                                                    Q1E         4.71      4.18              -11        4.65
Estimate changes                                                                                                                    Q2E         2.93      2.70               -8        2.96
                                                                                                                                    Q3E         2.43      2.28               -6        2.45
We are revising F2019 and F2020 revs/EPS from ~$276B/$13.05 and ~$287B/$14.43 to
                                                                                                                                    Q4E         2.98      2.87               -4        3.05
~$262B/$12.03 and ~$273B/$13.42 respectively. We now model C2019 iPhone units
                                                                                                                                    09/19E     13.05     12.03               -8       13.29
of ~185MM or -10% Y/Y and we model modest growth in C2020 to ~187MM.
                                                                                                                                    09/20E     14.43     13.42               -7       14.64
Valuation: PT to $180 on unch'd methodology, but slightly lower HW mult                                                             09/21E     16.35     15.03               -8       16.21
We lower PT from $210 to $180 using an unchanged SOTP valuation methodology that                                                                                       Timothy Arcuri
considers separate multiples for the recurring and non-recurring (iPhone+AppleCare)                                                                                            Analyst
segments. We also apply a lower multiple to the licensing rev. Using 24x recurring                                                                             timothy.arcuri@ubs.com
(MSFT/ADBE comps) and a 1pt lower ~10x to non-recurring due to hw pressures (vs                                                                                      +1-415-352 5676
comps like HPE facing cloud headwind at ~8-9x) yields our new $180 PT. Slower iPhone                                                                                         Munjal Shah
growth ultimately presents services headwinds, but AAPL still has huge untapped                                                                                               Analyst
                                                                                                                                                                 munjal.shah@ubs.com
services rev pool (600mn+ active iPhones pay zero) and new bundle appears very likely.
                                                                                                                                                                    +1-212-713 2113




Highlights (US$m)                              09/16              09/17              09/18             09/19E             09/20E             09/21E             09/22E              09/23E
Revenues                                     215,639            229,234            265,595            261,718            273,463            289,639            305,555             327,840
EBIT (UBS)                                    60,024             61,344             70,898             65,628             68,920             73,098             76,652              82,484
Net earnings (UBS)                            45,610             48,351             59,531             56,002             58,600             62,089             65,056              69,926
EPS (UBS, diluted) (US$)                        8.29               9.21              11.86              12.03              13.42              15.03              16.54               18.16
DPS (US$)                                       2.18               2.35               2.72               3.07               3.37               3.71               4.08                4.49
Net (debt) / cash                            150,553            153,215            122,617             91,467             82,392             81,358             87,375              97,035
Profitability/valuation                        09/16              09/17              09/18             09/19E             09/20E             09/21E             09/22E               09/23E
EBIT margin %                                   27.8               26.8               26.7               25.1               25.2               25.2               25.1                 25.2
ROIC (EBIT) %                                      -                  -                  -                  -                  -                  -                  -                    -
EV/EBITDA (core) x                               6.2                8.1                9.7                8.2                7.9                7.5                7.1                  6.7
P/E (UBS, diluted) x                            12.6               14.9               15.4               13.1               11.8               10.5                9.5                  8.7
Equity FCF (UBS) yield %                         8.6                6.9                6.9                7.8                8.6                9.1                9.5                 10.2
Net dividend yield %                             2.1                1.7                1.5                1.9                2.1                2.3                2.6                  2.8
Source: Company accounts, Thomson Reuters, UBS estimates. UBS adjusted EPS is stated before goodwill-related charges and other adjustments for abnormal and economic items at the analysts'
judgement. Valuations: based on an average share price that year, (E): based on a share price of US$157.92 on 02 Jan 2019 18:42 EST



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                                                                                                                                      Exhibit 9

Apple Inc.                                                                                                         Buy (Price target US$180.00)

UBS Research THESIS MAP a guide to our thinking and what's where in this report

PIVOTAL QUESTIONS           Q: How would iPhones perform in F19?
                            We forecast iPhone revenue to decline 12% in F19 driven by roughly 15% decline in units partially
                            offset by 5% growth in ASPs. Macro uncertainties are impacting demand in emerging markets and
                            developed markets are seeing elongating replacement cycle due to lower carrier subsidies and battery
                            replacements. High retention rates would ultimately lead to upgrades.
                                                                                                                                      "Please specify URL" J

                            Q: Could services drive 3-5% growth for Apple?
                            Services continue to see strong growth and drive overall revenue for Apple. We continue to expect
                            solid 20% growth for the services business. However, our expectation for it to drive overall revenue
                            growth is dependent upon stable hardware sales. Apple's ability to increase services penetration, shift
                            to favorable mix, and potentially new service offerings including bundles could drive further growth.
                                              "UBS Evidence Lab: Hardware as a Recurring Revenue Stream? Raising PT to $250 on Deep Dive" 9/11/2018J

                            Q: Could Apple continue to innovate and what is its incremental TAM opportunity?
                            Apple has ample opportunities to innovate and increase its TAM by at least an incremental $1tn.
                            Some markets Apple is targeting include AR/VR, video streaming, healthcare, autonomous vehicle
                            ecosystem, among others. Some could be introduced in the medium term while others may take time.
                                              "UBS Evidence Lab: Hardware as a Recurring Revenue Stream? Raising PT to $250 on Deep Dive" 9/11/2018J


UBS VIEW                    iPhone demand is weak due to several factors –iPhone XR, China macro/trade issues, FX, emerging
                            markets and longer replacement cycle. However, we continue to view the ecosystem being sticky.
                            Services growth of 20%+ could continue with a huge untapped install base of 600mn+ active iPhone
                            users. Apple could garner a higher multiple once investors start looking beyond the iPhone weakness
                            and services margin disclosure shed light on recurring profits.

EVIDENCE                    Apple lowered its fiscal 1Q guidance due to softness in iPhones, particularly in Greater China and
                            emerging markets. Other products segments in aggregate saw revenue growth of 19% YoY. UBS
                            Evidence Lab Survey in November suggested decline in buying intent with the UK and China intent
                            below that seen during the iPhone 6s cycle. Replacement cycles are still elongating.

WHAT'S PRICED IN?           At 11.6x P/E, the stock is trading below the five-year average multiple and at a discount to S&P. In
                            2016, during the iPhone 6s cycle, the stock traded as low as 9.9x, but services was a much smaller
                            business. Investor expectations for this iPhone cycle are muted. We now forecast iPhone units to
                            decline 15% in F19 and revenue to decline 12%.

UPSIDE / DOWNSIDE              AAPL.O Price                                   US$157.92                       EPS (UBS)   P/E (UBS)     Upside to Downside
SPECTRUM                                                                                                       2019e       Implied          1.3 to 1
                                260
                                240
                                220
                                200
                                180                                                                200.00 =     12.40 x     16.1x       Upside:       +27%
                                                                                                   180.00 =     12.03 x     15.0x       Price Target: +14%
                                160
                                140
                                                                                                   125.00 =     10.22 x     12.2x       Downside:      -21%
                                120
                                100
                                                                                02 Jan        +12 mo.
                                 80
                                                2017             2018           1900           1901


                              Value drivers            iPhone unit       iPhone ASP              Services          Gross margin
                                                           growth            growth       revenue growth

                              $200 upside                 -10.0%               7.0%               25.0%                    39.0%
                              $180 base                   -15.0%               5.0%               21.0%                    38.3%
                              $125 downside               -20.0%               2.0%               18.0%                    38.0%
                              Source: UBS
                                                                                                                                                        moreJ

COMPANY DESCRIPTION         Apple designs, manufactures and markets mobile products, personal computers and media devices.
                            The company's primary hardware product categories include the iPhone, iPad, iPod, and...
                                                                                                                                                       more J




Timothy Arcuri, Analyst, timothy.arcuri@ubs.com, +1-415-352 5676

Apple Inc. 3 January 2019                                                                                                                         2

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                                                                                                              Exhibit 9

Apple Inc.                                                                                                           UBS Research


                                                                                                                          return µ




Valuation changes
We lower our price target to $180 primarily because we apply a lower 10x to the
non-recurring (hardware + AppleCare) business segment versus prior 11x. We
lower the multiple due to weak demand for hardware products. The multiple
compare to roughly 8-9x for HPE, which is primarily a hardware company but faces
some longer-term challenges due to cloud computing.

Figure 1: F2019 estimate and valuation multiple changes

                               EPS              Multiple       Value
                           Old     New       Old        New       Old      New
Non-recurring            $ 11.48 $ 10.27         11         10 $ 131.4 $ 102.7
Recurring                $  2.97 $   3.04        24         24 $    74.3 $   74.2
                                                               $ 205.7 $ 176.9

Source: UBSe


Total revenue growth correlates to iPhone and hence we see the pressure.
However, as services continue to see strong growth, we think the mix effect would
start to be reflected in total revenue. We think disclosure of Services margin could
help.

Figure 2: iPhone vs non-iPhone revenue and growth               Figure 3: iPhone vs non-iPhone revenue growth rates

                                                                  40%

                                                                  30%

                                                                  20%

                                                                  10%

                                                                   0%

                                                                 -10%

                                                                 -20%

                                                                 -30%
                                                                                   iPhone Revenue   Non-iPhone revenue




Source: Company reports, UBSe                                   Source: Company reports, UBSe




Apple Inc. 3 January 2019                                                                                                3

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Figure 4: Forward multiple through the iPhone cycles

  18                    iPhone 5s                    iPhone 6/6+                             iPhone 6s/6s+                           iPhone 7/7+                             iPhone X/8/8+
  17
  16
  15
  14
  13
  12
  11
  10
      9
      8
                                   Jul-14




                                                                          Jul-15




                                                                                                                  Jul-16




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               Jan-14
                        Apr-14


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                                                                                                                                               Apr-17


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                                                                                                                                                                              Jan-18
                                                                                                                                                                                       Apr-18


                                                                                                                                                                                                              Oct-18
                                                                                                                                                                                                                       Jan-19
Source: FactSet




Figure 5: AAPL is trading at 12x NTM P/E…                                                                                                                                    Figure 6: …and at 10x EV/NTM EBITDA

                                                     Apple, Inc. NTM PE                                                                                                                                                          Apple, Inc. EV/NTM EBITDA
                                                                                                                                                                                                                                                                                 Apple, Inc. is trading at 10x
23                                                                                                                           Apple, Inc. is trading at                                                                                                                           EV/EBITDA versus the 10 year
                                                                                                                             12x P/E versus the 10                                16                                                                                             average of 9x
                                                                                                                             year average of 14x
21                                                                                                                                                                                14

19                                                                                                                                                                                12

                                                                                                                                                                                  10
17
                                                                                                                                                                                       8
15                                                                                                                                                                                     6

13                                                                                                                                                                                     4

                                                                                                                                                                                       2
11
                                                                                                                                                                                       0
                                                                                                                                                                                           Dec-08


                                                                                                                                                                                                         Dec-09


                                                                                                                                                                                                                       Dec-10


                                                                                                                                                                                                                                Dec-11


                                                                                                                                                                                                                                         Dec-12


                                                                                                                                                                                                                                                  Dec-13


                                                                                                                                                                                                                                                               Dec-14


                                                                                                                                                                                                                                                                        Dec-15


                                                                                                                                                                                                                                                                                       Dec-16


                                                                                                                                                                                                                                                                                                 Dec-17


                                                                                                                                                                                                                                                                                                           Dec-18
  9
      Jul-10



                          Jul-11



                                            Jul-12



                                                               Jul-13



                                                                               Jul-14



                                                                                                Jul-15



                                                                                                                   Jul-16



                                                                                                                                     Jul-17



                                                                                                                                                        Jul-18




                                                                                                                                                                                                                  EV/ NTM EBITDA                           10 Year Avg EV/ NTM EBITDA
                                                       NTM PE                      10 Year Avg NTM PE

Source: Factset                                                                                                                                                              Source: Factset




Apple Inc. 3 January 2019                                                                                                                                                                                                                                                                       4

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                                                                                                                                                                                                                Exhibit 9

Figure 7: AAPL is trading at a 25% discount to SPX NTM                                                                         Figure 8: …and at 9% discount to Large Cap Tech NTM
P/E…                                                                                                                           P/E
                                     Apple, Inc. Vs. S&P 500 Relative Forward P/E                                                                            Apple, Inc. Vs. Large Cap Tech Relative Forward P/E
                                                                                                                                                                                                                       Apple, Inc. is trading
                                                                                               Apple, Inc. is trading at -                                                                                             at -8.9% discount on
   20%                                                                                         25% discount on a relative
                                                                                               basis vs. the 10-year avg. of
                                                                                                                                  25%                                                                                  a relative basis vs. the
                                                                                                                                                                                                                       5-year avg. of -3.3%
                                                                                               -7%                                20%
   10%
                                                                                                                                  15%
    0%
                                                                                                                                  10%
   -10%                                                                                                                            5%
   -20%                                                                                                                            0%
                                                                                                                                   -5%
   -30%
                                                                                                                                  -10%
   -40%                                                                                                                           -15%
   -50%                                                                                                                           -20%
          Sep-10



                         Sep-11



                                       Sep-12



                                                 Sep-13



                                                                Sep-14



                                                                             Sep-15



                                                                                      Sep-16



                                                                                                      Sep-17



                                                                                                                    Sep-18
                                                                                                                                  -25%
                                                                                                                                  -30%




                                                                                                                                         Dec-13




                                                                                                                                                                 Dec-14




                                                                                                                                                                                 Dec-15




                                                                                                                                                                                                       Dec-16




                                                                                                                                                                                                                        Dec-17




                                                                                                                                                                                                                                                  Dec-18
                   Single Company vs S&P 500          10 Yr Avg Discount/Premium      5 Yr Avg Discount/Premium

                                                                                                                                              Single Company vs Large Cap Tech   10 Yr Avg Discount/Premium     5 Yr Avg Discount/Premium


Source: Factset                                                                                                                Source: Factset




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                                                                                                                         Exhibit 9

Apple Inc.                                                                                                                 UBS Research


UPSIDE / DOWNSIDE SPECTRUM                                                                                                      return µ


                                                                            EPS (UBS)   P/E (UBS)   Upside to Downside
  AAPL.O Price                               US$157.92
                                                                             2019e       Implied       1.3 to 1
   260
   240
   220
   200
   180                                                           200.00 =     12.40 x     16.1x     Upside:       +27%
                                                                 180.00 =     12.03 x     15.0x     Price Target: +14%
   160
   140
                                                                 125.00 =     10.22 x     12.2x     Downside:     -21%
   120
   100
                                               02 Jan        +12 mo.
    80
                  2017             2018        1900           1901


 Value drivers           iPhone unit      iPhone ASP            Services         Gross margin
                             growth           growth     revenue growth

 $200 upside                -10.0%             7.0%              25.0%                   39.0%
 $180 base                  -15.0%             5.0%              21.0%                   38.3%
 $125 downside              -20.0%             2.0%              18.0%                   38.0%
 Source: UBS



Risk to the current share price is heavily skewed (1.3:1) to the upside
Upside (US$200) In our view, key metrics driving Apple's stock price from a
fundamental basis are iPhone units and ASPs, services revenue growth, gross
margin, and share repurchases. In our upside scenario, we assume iPhone units are
down less at 10% in F19 and iPhone ASPs are higher. We also assume higher
service growth at 25% and gross margins 70bps higher at 39%. Higher sales of
iPhones and services would likely increase investors' confidence in the recurring
model and may drive the multiple higher. Our $200 upside scenario is based on
16x F19E EPS of $12.40.

Base (US$180): We currently estimate iPhone units to decline 15% in F19. We
expect iPhone ASPs to increase 5% as average price of new phones is higher than
those a year ago and customers are likely to continue to move up the price curve.
We expect Services revenue growth of 21% and gross margin to be down slightly
to 38.3%. We think the earnings multiple could move higher once investors
recognize the recurring nature of hardware and services businesses. Our $180
price target is based on 15x our F19E EPS estimate of $12.04.

Downside (US$125) Downside scenario is based on iPhone units declining 20%
due to weak demand. Demand shift to older models versus iPhone XR could lead
to lower ASP increase. Softness in Services business may worry investors that were
making an annuity argument on the stock. Gross margin contracts as the mix shifts
to the low end and services mix is lower. Earnings decline to $10.22 and multiple
contracts due to concerns about the sustainability of Apple's hardware business
and a lack of confidence in further services growth. In this scenario we believe the
stock could trade down to $125 based on 12x F19E EPS of $10.22.




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                                                                                                                           Exhibit 9

Apple Inc.                                                                                                                   UBS Research


COMPANY DESCRIPTION                                                                                                                    return µ


                                                                  Revenues by region (%)
Apple designs, manufactures and markets mobile products,
personal computers and media devices. The company's                                                Rest of Asia
primary hardware product categories include the iPhone,                                    Japan
                                                                                                   7%
                                                                                           8%
iPad, iPod, and Mac computers. In addition, the company
sells a variety of related software, services, peripherals, and
third-party digital content and applications via iTunes and                                                                 Americas
                                                                                                                            42%
the App Store. Apple predominately sells to the consumer                   Greater China
segment through its own online and retail stores, as well as               20%

third-party cellular network carriers, wholesalers and
retailers.

Industry outlook                                                                           Europe, India, &
                                                                                           MENA
                                                                                           23%
UBS estimates the smartphone market will grow low-single
                                                                  Source: Company, UBS
digit in 2018 supported mainly by emerging market
demand. Although we believe the market is maturing and
                                                                  Revenue by product segment
may see demand weakness, overall unit growth should                                Other
continue for several more years due to high retention rates                        Products
                                                                                   6%
enjoyed by large vendors that enable them to force the                Services
                                                                      14%
pace of upgrades.


                                                                    Mac
                                                                    10%


                                                                                                                  iPhone
                                                                       iPad                                       63%
                                                                       7%




                                                                  Source: Company, UBS




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                                                                                                                                                                       Exhibit 9

Apple Inc. (AAPL.O)

Income statement (US$m)                                 09/16          09/17            09/18          09/19E        % ch          09/20E         % ch         09/21E           09/22E            09/23E
Revenues                                             215,639         229,234          265,595         261,718         -1.5        273,463          4.5        289,639          305,555           327,840
Gross profit                                          84,263          88,186          101,839         100,339          -1.5       105,283           4.9       111,511          117,639           126,218
EBITDA (UBS)                                           70,529         71,501           81,801          76,644          -6.3        79,906           4.3        84,138           87,820            93,879
Depreciation & amortization                          (10,505)        (10,157)         (10,903)        (11,016)          1.0       (10,986)          -0.3      (11,040)         (11,168)          (11,395)
EBIT (UBS)                                            60,024          61,344           70,898          65,628          -7.4        68,920           5.0        73,098           76,652            82,484
Associates & investment income                              0               0                0               0            -              0            -              0                0                 0
Other non-operating income                                  0               0                0               0            -              0            -              0                0                 0
Net interest                                            1,271          2,745            2,005           1,450         -27.7         1,250         -13.8         1,250            1,250             1,250
Exceptionals (incl goodwill)                                0               0                0               0            -              0            -              0                0                 0
Profit before tax                                     61,295          64,089           72,903          67,078          -8.0        70,170           4.6        74,348           77,902            83,734
Tax                                                  (15,685)        (15,738)         (13,372)        (11,076)         17.2       (11,570)          -4.5      (12,259)         (12,846)          (13,808)
Profit after tax                                      45,610          48,351           59,531          56,002          -5.9        58,600           4.6        62,089           65,056            69,926
Preference dividends                                        0               0                0               0             -             0             -             0                0                 0
Minorities                                                  0               0                0               0             -             0             -             0                0                 0
Extraordinary items                                         0               0                0               0             -             0             -             0                0                 0
Net earnings (local GAAP)                             45,610          48,351           59,531          56,002          -5.9        58,600           4.6        62,089           65,056            69,926
Net earnings (UBS)                                    45,610          48,351           59,531          56,002          -5.9        58,600           4.6        62,089           65,056            69,926
Tax rate (%)                                             25.6            24.6             18.3            16.5        -10.0           16.5          -0.1          16.5             16.5              16.5

Per share (US$)                                        09/16           09/17            09/18          09/19E        % ch          09/20E         % ch          09/21E          09/22E            09/23E
EPS (UBS, diluted)                                      8.29            9.21            11.86           12.03           1.4         13.42          11.6          15.03           16.54             18.16
EPS (local GAAP, diluted)                               8.29            9.21            11.86           12.03           1.4         13.42          11.6          15.03           16.54             18.16
EPS (UBS, basic)                                        8.29            9.21            11.86           12.03           1.4         13.42          11.6          15.03           16.54             18.16
Net DPS (US$)                                           2.18            2.35             2.72            3.07          12.7          3.37          10.0           3.71            4.08              4.49
Cash EPS (UBS, diluted)1                               10.20           11.14            14.03           14.39           2.6         15.94          10.7          17.70           19.38             21.12
Book value per share                                   23.43           25.61            21.75           16.58         -23.7         15.25          -8.1          15.40           17.23             19.71
Average shares (diluted)                            5,500.28        5,251.69         5,018.71        4,656.54          -7.2      4,366.22          -6.2       4,132.07        3,932.29          3,849.98

Balance sheet (US$m)                                   09/16           09/17            09/18          09/19E        % ch          09/20E         % ch         09/21E           09/22E            09/23E
Cash and equivalents                                 237,585         268,895          237,100         205,950         -13.1       196,875           -4.4      195,841          201,858           211,518
Other current assets                                  39,714          54,464           65,038          49,135         -24.5        50,419            2.6       52,479           54,953            57,659
Total current assets                                 277,299         323,359          302,138         255,085         -15.6       247,293           -3.1      248,320          256,810           269,177
Net tangible fixed assets                             27,010          33,783           41,304          41,261          -0.1        41,537            0.7       42,305           43,489            45,338
Net intangible fixed assets                            8,620           8,015            7,582           7,077          -6.7         6,754           -4.6        6,532            6,401             6,270
Investments / other assets                             8,757          10,162           14,701          14,701           0.0        14,701            0.0       14,701           14,701            14,701
Total assets                                         321,686         375,319          365,725         318,125         -13.0       310,285           -2.5      311,857          321,401           335,487
Trade payables & other ST liabilities                 67,401          82,341           96,118          78,468         -18.4        81,085           3.3        85,444           90,676            96,401
Short term debt                                       11,605          18,473           20,748          20,748          0.00        20,748          0.00        20,748           20,748            20,748
Total current liabilities                             79,006         100,814          116,866          99,216         -15.1       101,833           2.6       106,192          111,424           117,149
Long term debt                                        75,427          97,207           93,735          93,735           0.0        93,735           0.0        93,735           93,735            93,735
Other long term liabilities                           39,004          43,251           47,977          47,951          -0.1        48,148           0.4        48,307           48,499            48,708
Preferred shares                                           0               0                0               0             -             0             -             0                0                 0
Total liabilities (incl pref shares)                 193,437         241,272          258,578         240,902          -6.8       243,716           1.2       248,234          253,658           259,593
Common s/h equity                                    128,249         134,047          107,147          77,223         -27.9        66,569         -13.8        63,624           67,743            75,894
Minority interests                                         0               0                0               0             -             0             -             0                0                 0
Total liabilities & equity                           321,686         375,319          365,725         318,125         -13.0       310,285           -2.5      311,857          321,401           335,487

Cash flow (US$m)                                        09/16           09/17           09/18          09/19E        % ch          09/20E         % ch         09/21E          09/22E             09/23E
Net income (before pref divs)                          45,610          48,351          59,531           56,002         -5.9         58,600           4.6        62,089          65,056             69,926
Depreciation & amortization                            10,505          10,157          10,903           11,016          1.0         10,986          -0.3        11,040          11,168             11,395
Net change in working capital                             484          (5,550)         34,694           (1,774)           -          1,531             -         2,457           2,951              3,228
Other operating                                         9,148          10,640        (27,250)            5,234            -          5,469           4.5         5,793           6,111              6,557
Operating cash flow                                    65,747          63,598          77,878           70,479         -9.5         76,587          8.7         81,379          85,286             91,106
Tangible capital expenditure                         (12,734)        (12,451)        (13,313)         (10,469)         21.4       (10,939)         -4.5       (11,586)        (12,222)           (13,114)
Intangible capital expenditure                         (2,499)         (1,068)           (721)               0            -              0            -              0               0                  0
Net (acquisitions) / disposals                       (30,634)        (33,147)          32,363           12,000        -62.9          8,000        -33.3          8,000           8,000              8,000
Other investing                                          (110)            220            (785)               0            -              0            -              0               0                  0
Investing cash flow                                  (45,977)        (46,446)          17,544            1,531        -91.3        (2,939)             -       (3,586)         (4,222)            (5,114)
Equity dividends paid                                (12,150)        (12,769)        (13,712)         (14,210)         -3.6       (14,674)         -3.3       (15,277)        (15,998)           (17,282)
Share issues / (buybacks)                            (29,227)        (32,345)        (72,069)         (77,000)         -6.8       (60,000)         22.1       (55,500)        (51,000)           (51,000)
Other financing                                        (1,163)         (1,247)         (2,527)               0            -              0            -              0               0                  0
Change in debt & pref shares                           (2,500)              0          (6,500)               0            -              0            -              0               0                  0
Financing cash flow                                  (45,040)        (46,361)        (94,808)         (91,210)          3.8       (74,674)         18.1       (70,777)        (66,998)           (68,282)
Cash flow inc/(dec) in cash                          (25,270)        (29,209)             614         (19,200)            -        (1,026)         94.7          7,016          14,067             17,711
FX / non cash items                                    57,189          60,519        (32,409)         (11,950)         63.1         (8,050)        32.6         (8,050)         (8,050)            (8,050)
Balance sheet inc/(dec) in cash                        31,919          31,310        (31,795)         (31,150)          2.0        (9,076)         70.9        (1,034)           6,017              9,661
Source: Company accounts, UBS estimates. (UBS) metrics use reported figures which have been adjusted by UBS analysts.1Cash EPS (UBS, diluted) is calculated using UBS net income adding back depreciation and
amortization.




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Apple Inc. (AAPL.O)

Valuation (x)                                                   09/16             09/17              09/18              09/19E        09/20E       09/21E        09/22E       09/23E
P/E (local GAAP, diluted)                                        12.6              14.9               15.4                13.1          11.8         10.5            9.5          8.7
P/E (UBS, diluted)                                               12.6              14.9               15.4                13.1          11.8         10.5            9.5          8.7
P/CEPS                                                           10.3              12.3               13.0                11.0            9.9          8.9           8.1          7.5
Equity FCF (UBS) yield %                                          8.6               6.9                6.9                  7.8           8.6          9.1           9.5        10.2
Net dividend yield (%)                                            2.1               1.7                1.5                  1.9           2.1          2.3           2.6          2.8
P/BV x                                                            4.5               5.4                8.4                  9.5         10.4         10.3            9.2          8.0
EV/revenues (core)                                                2.0               2.5                3.0                  2.4           2.3          2.2           2.1          1.9
EV/EBITDA (core)                                                  6.2               8.1                9.7                  8.2           7.9          7.5           7.1          6.7
EV/EBIT (core)                                                    7.3               9.4               11.2                  9.6           9.1          8.6           8.2          7.6
EV/OpFCF (core)                                                   7.5              10.8                7.7                  9.7           8.9          8.4           8.0          6.9
EV/op. invested capital                                             -                 -                  -                    -             -            -             -            -

Enterprise value (US$m)                                        09/16              09/17             09/18            09/19E            09/20E       09/21E        09/22E       09/23E
Market cap.                                                  585,849            728,241           930,920           765,596           765,596      765,596       765,596      765,596
Net debt (cash)                                            (145,878)          (151,884)         (137,916)         (137,916)         (137,916)    (137,916)     (137,916)    (137,916)
Buy out of minorities                                              0                  0                 0                 0                 0            0             0            0
Pension provisions/other                                           0                  0                 0                 0                 0            0             0            0
Total enterprise value                                       439,971            576,358           793,004           627,680           627,680      627,680       627,680      627,680
Non core assets                                                    0                  0                 0                 0                 0            0             0            0
Core enterprise value                                        439,971            576,358           793,004           627,680           627,680      627,680       627,680      627,680

Growth (%)                                                      09/16             09/17              09/18              09/19E        09/20E       09/21E        09/22E       09/23E
Revenue                                                           -7.7              6.3               15.9                 -1.5           4.5          5.9           5.5          7.3
EBITDA (UBS)                                                     -14.5              1.4               14.4                 -6.3           4.3          5.3           4.4          6.9
EBIT (UBS)                                                       -15.7              2.2               15.6                 -7.4           5.0          6.1           4.9          7.6
EPS (UBS, diluted)                                               -10.0             11.0               28.8                  1.4         11.6         12.0          10.1           9.8
Net DPS                                                           10.1              8.0               15.5                12.7          10.0         10.0          10.0         10.0

Margins & Profitability (%)                                     09/16             09/17              09/18              09/19E        09/20E       09/21E        09/22E       09/23E
Gross profit margin                                              39.1              38.5               38.3                38.3          38.5         38.5          38.5         38.5
EBITDA margin                                                    32.7              31.2               30.8                29.3          29.2         29.0          28.7         28.6
EBIT margin                                                      27.8              26.8               26.7                25.1          25.2         25.2          25.1         25.2
Net earnings (UBS) margin                                        21.2              21.1               22.4                21.4          21.4         21.4          21.3         21.3
ROIC (EBIT)                                                         -                 -                  -                   -             -            -             -            -
ROIC post tax                                                     NM                  -                  -                   -             -            -             -            -
ROE (UBS)                                                        36.8              36.9               49.4                60.7          81.5         95.4          99.0         97.4

Capital structure & Coverage (x)                                09/16             09/17             09/18               09/19E        09/20E       09/21E        09/22E       09/23E
Net debt / EBITDA                                                 (2.1)             (2.1)             (1.5)                 (1.2)        (1.0)        (1.0)         (1.0)        (1.0)
Net debt / total equity %                                      (117.4)           (114.3)           (114.4)              (118.4)       (123.8)      (127.9)       (129.0)      (127.9)
Net debt / (net debt + total equity) %                             NM                NM                NM                    NM           NM           NM            NM           NM
Net debt/EV %                                                   (34.2)            (26.6)            (15.5)                (14.6)       (13.1)       (13.0)        (13.9)       (15.5)
Capex / depreciation %                                          121.2             122.6             122.1                   95.0         99.6       104.9         109.4        115.1
Capex / revenue %                                                  5.9               5.4               5.0                   4.0          4.0          4.0           4.0          4.0
EBIT / net interest                                                NM                NM                NM                    NM           NM           NM            NM           NM
Dividend cover (UBS)                                               3.8               3.9               4.4                   3.9          4.0          4.1           4.1          4.0
Div. payout ratio (UBS) %                                         26.3              25.6              22.9                  25.5         25.1         24.7          24.7         24.7

Revenues by division (US$m)                                    09/16             09/17              09/18            09/19E           09/20E       09/21E        09/22E       09/23E
Others                                                       215,639           229,234            265,595           261,718          273,463      289,639       305,555      327,840
Total                                                        215,639           229,234            265,595           261,718          273,463      289,639       305,555      327,840

EBIT (UBS) by division (US$m)                                   09/16             09/17             09/18               09/19E        09/20E       09/21E        09/22E       09/23E
Others                                                         60,024            61,344            70,898               65,628        68,920       73,098        76,652       82,484
Total                                                          60,024            61,344            70,898               65,628        68,920       73,098        76,652       82,484
Source: Company accounts, UBS estimates. (UBS) metrics use reported figures which have been adjusted by UBS analysts.




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Forecast returns

Forecast price appreciation                                              +14.0%

Forecast dividend yield                                                     2.0%

Forecast stock return                                                    +16.0%

Market return assumption                                                    7.5%

Forecast excess return                                                     +8.5%



Valuation Method and Risk Statement
Risks to our Apple thesis include (1) product delays or less innovative offerings,
particularly a decline in iPhone unit shipments in F17; (2) macro weakness
dampening product demand, especially in China; (3) reduced product
differentiation resulting in a successful smartphone attack from below; (4)
governments looking to regulate Apple as its power increases, and (5) poor
platform management. We use P/E to derive our price target for Apple.




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12-Month Rating                                     Definition                               Coverage1        IB Services2
Buy                     FSR is > 6% above the MRA.                                                      48%                   24%
Neutral                 FSR is between -6% and 6% of the MRA.                                           37%                   21%
Sell                    FSR is > 6% below the MRA.                                                      15%                   12%
Short-Term Rating                                   Definition                               Coverage   3     IB Services 4


                        Stock price expected to rise within three months from the time
Buy                                                                                                     <1%                   <1%
                        the rating was assigned because of a specific catalyst or event.
                        Stock price expected to fall within three months from the time
Sell                                                                                                    <1%                   <1%
                        the rating was assigned because of a specific catalyst or event.

Source: UBS. Rating allocations are as of 30 September 2018.
1:Percentage of companies under coverage globally within the 12-month rating category.
2:Percentage of companies within the 12-month rating category for which investment banking (IB) services were provided
within the past 12 months.
3:Percentage of companies under coverage globally within the Short-Term rating category.
4:Percentage of companies within the Short-Term rating category for which investment banking (IB) services were provided
within the past 12 months.
KEY DEFINITIONS:Forecast Stock Return (FSR) is defined as expected percentage price appreciation plus gross dividend
yield over the next 12 months. In some cases, this yield may be based on accrued dividends. Market Return Assumption
(MRA) is defined as the one-year local market interest rate plus 5% (a proxy for, and not a forecast of, the equity risk
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reflect any change in the fundamental view or investment case. Equity Price Targets have an investment horizon of 12
months.




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factors such as structure, management, performance record, discount; Neutral: Neutral on factors such as structure,
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discount. Core Banding Exceptions (CBE): Exceptions to the standard +/-6% bands may be granted by the Investment
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UBS Securities LLC: Timothy Arcuri; Munjal Shah.
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Company Name                                Reuters                                  12-month rating                                                   Short-term rating                                                               Price                       Price date

Apple Inc.7, 16                                 AAPL.O                                                                    Buy                                                                     N/A                US$157.92                                   02 Jan 2019

Source: UBS. All prices as of local market close.
Ratings in this table are the most current published ratings prior to this report. They may be more recent than the stock
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Apple Inc. (US$)
                                                                                     Price Target (US$)                                       Stock Price (US$)
                  300

                  200

                  100


                    0
                        01-Nov-15




                                                                         01-Jul-16



                                                                                                  01-Nov-16




                                                                                                                                                  01-Jul-17



                                                                                                                                                                          01-Nov-17




                                                                                                                                                                                                                           01-Jul-18



                                                                                                                                                                                                                                                     01-Nov-18
                                    01-Jan-16

                                                 01-Mar-16

                                                             01-May-16



                                                                                      01-Sep-16



                                                                                                              01-Jan-17

                                                                                                                          01-Mar-17

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                                                                                                                                                              01-Sep-17



                                                                                                                                                                                      01-Jan-18

                                                                                                                                                                                                   01-Mar-18

                                                                                                                                                                                                               01-May-18



                                                                                                                                                                                                                                        01-Sep-18



                                                                                                                                                                                                                                                                 01-Jan-19




               Buy
          No Rating




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                     Date        Stock Price (US$)   Price Target (US$)         Rating
            2015-10-02                     110.38                150.0             Buy
            2015-11-16                     114.18                140.0             Buy
            2015-12-16                     111.34                130.0             Buy
            2016-01-27                      93.42                120.0             Buy
            2016-05-11                      92.51                115.0             Buy
            2016-09-20                     113.57                127.0             Buy
            2017-02-01                     128.75                138.0             Buy
            2017-02-28                     136.99                151.0             Buy
            2017-04-04                     144.77                    -        No Rating
            2017-04-05                     144.02                151.0             Buy
            2017-04-20                     142.44                    -        No Rating
            2017-04-21                     142.27                151.0             Buy
            2017-05-03                     147.06                165.0             Buy
            2017-05-22                     153.99                170.0             Buy
            2017-08-02                     157.14                180.0             Buy
            2017-11-03                      172.5                190.0             Buy
            2018-06-01                     190.24                210.0             Buy
            2018-08-01                      201.5                215.0             Buy
            2018-09-11                     223.85                250.0             Buy
            2018-11-02                     207.48                240.0             Buy
            2018-11-13                     192.23                225.0             Buy
            2018-12-05                     176.69                210.0             Buy
Source: UBS; as of 02 Jan 2019




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